                                                                             Case 11-14019-CSS                                                                              Doc 1-4                     Filed 12/19/11                                                       Page 1 of 29

                                                                                                                                                                                                                                                                                                       Debtor Source System
            Creditor Name / Last Name                          Address 1                                  Address 2                                     Address 3             Address 4          City        State    Zipcode        Country      Business Phone       Fax             Vendor ID                              Duplicate Of    Vendor Type     Vendor Sub-Type                                   Source File                            Loaded Date
                                                                                                                                                                                                                                                                                                            Vendor ID
1ST CLASS HERS RATERS                        14709 JESSICA WAY                                                                                                                            ADELANTO             CA      92301      UNITED STATES                                      CONTRACT_00001                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
24 CARROTS                                   17851 SKY PARK CIRCLE, #F                                                                                                                    IRVINE               CA      92614      UNITED STATES                                         VEN_602351           602351               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
3M CLEAN WATER SOLUTIONS                     1421 EDINGER AVE, SUITE A                                                                                                                    TUSTIN               CA      92780      UNITED STATES                                      CONTRACT_00002          819711               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
4 SEASONS HEATING & AIR CONDITIONING         7650 MARATHON DR., SUITE G & H                                                                                                               LIVERMORE            CA      94550      UNITED STATES                                         VEN_381122           381122               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
4IMPRINT                                     25303 NETWORK PLACE                                                                                                                          CHICAGO              IL    60673-1253   UNITED STATES                                         VEN_452120           452120               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
4S RANCH PLANNING AREA 38, LLC               4490 VON KARMAN AVENUE                                                                                                                       NEWPORT BEACH        CA      92660      UNITED STATES                                        AFFILIATE_021                              No         Vendor         Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
A COMPANY, INC. - LV                         PORTABLE RESTROOMS                              PO BOX 5702                                                                                  BOISE                ID      83705      UNITED STATES                                         VEN_842718           842718               No         Vendor         Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
A D&D DRYWALL, INC.                          10685 ROSELLE STREET                                                                                                                         SAN DIEGO            CA      92121      UNITED STATES                                      CONTRACT_00003                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AICPA                                        PO BOX 10069                                                                                                                                 NEWARK               NJ    07101-3069   UNITED STATES                                         VEN_390702           390702               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A L NORMAN JR CARPENTRY                      11832 STEEL DRIVE                                                                                                                            GARDEN GROVE         CA      92840      UNITED STATES                                         VEN_222439           222439               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A LIVING WATER POOL SPA SERVICE              15942-D LOS SERRANOS C.C. DR., #538                                                                                                          CHINO HILLS          CA      91709      UNITED STATES                                         VEN_828262           828262               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A THYME FOR ALL SEASONS                      PO BOX 230252                                                                                                                                LAS VEGAS            NV      89123      UNITED STATES                                         VEN_448972           448972               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A. L. NORMAN JR.                             11832 STEELE DR.                                                                                                                             GARDEN GROVE         CA      92640      UNITED STATES                                   CMSLITCA_1103527_026                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
A. SOUSA DRYWALL CO., INC.                   PO BOX 2170                                                                                                                                  LOS GATOS            CA      95030      UNITED STATES                                         VEN_829222           829222               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A.D. WILLIAMS TURF SPRAYERS                  25532 WEST SOUTHERN AVE                                                                                                                      BUCKEYE              AZ    85326-5443   UNITED STATES                                         VEN_MF_001                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
A.N. RESTORATION                             10518 CLANCEY AVE                                                                                                                            DOWNEY               CA      90241      UNITED STATES                                         VEN_829038           829038               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A.S.A.P.                                     3170 POLARIS AVE., STE 4                                                                                                                     LAS VEGAS            NV      89102      UNITED STATES                                         VEN_MF_002                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
A-1 DOOR & BUILDING SOLUTIONS                4300 JETWAY COURT                                                                                                                            N. HIGHLANDS         CA      95660      UNITED STATES                                      CONTRACT_00004                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
A-1 FIRE COMPANY                             4830 WEST UNIVERSITY                                                                                                                         LAS VEGAS            NV    89103-3827   UNITED STATES                                      CONTRACT_00005                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
A-1 NATIONAL FIRE CO., INC.                  4830 WEST UNIVERSITY                                                                                                                         LAS VEGAS            NV    89103-3827   UNITED STATES                                         VEN_MF_003                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
A-1 NATIONAL FIRE COMPANY                    DBA: ALL AMERICAN FIRE                          4830 W. UNIVERSITY AVE                                                                       LAS VEGAS            NV    89103-3827   UNITED STATES                                         VEN_821933           821933               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
A-1 PAVEMENT MARKING CO., INC.               3632 VENTANA LANE                                                                                                                            CAMERON PARK         CA      95682      UNITED STATES                                         VEN_762902           762902               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AA EQUIPMENT                                 6361 DEAN MARTIN DR.                                                                                                                         LAS VEGAS            NV      89118      UNITED STATES                                         VEN_MF_004                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ABACUS SECURITY SERVICES, INC.               12631 CRENSHAW BLVD                                                                                                                          HAWTHORNE            CA      90250      UNITED STATES                                         VEN_759113           759113               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ABC LOCKSMITHS                               3981 E. SUNSET RD., SUITE E                                                                                                                  LAS VEGAS            NV      89120      UNITED STATES                                         VEN_817491           817491               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ABDELFATTAH, BASEL                           C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                             KASDANJ. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                               RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                 IRVINE               CA      92612      UNITED STATES                                    CMSLITCA_233522_003                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ABDELFATTAH, SAMAR                           C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                             KASDANJ. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                               RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                 IRVINE               CA      92612      UNITED STATES                                    CMSLITCA_233522_004                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ABELAR, JASON                                2090 HIGHPOINTE DRIVE, #109                                                                                                                  CORONA               CA      92879      UNITED STATES                                         VEN_566071           566071               No         Vendor         Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ABELAR, JASON                                838 HEARST WAY                                                                                                                               CORONA               CA      92882      UNITED STATES                                        EMP_SC_0001                                No         Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
ABELL, CYNTHIA                               PO BOX 2234                                                                                                                                  PAHRUMP              NV      89041      UNITED STATES                                        EMPT_MF_0330                               No         Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
ABS INC.                                     3111 S. VALLEY VIEW BLVD., STE N106                                                                                                          LAS VEGAS            NV    89102-0340   UNITED STATES                                         VEN_MF_005                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ABS INSPECTION GROUP                         PO BOX 18039                                                                                                                                 PHOENIX              AZ      85005      UNITED STATES                                      CONTRACT_00006          517114               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ACACIO, VIRGIL & ANITA                       C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA      90405      UNITED STATES                                    CMSLITCA_173057_029                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ACCENT TILE, INC.                            C/O JOHN I. ADAMS, AGENT                        10838 BELL COURT                                                                             RANCHO CUCAMONGA     CA      91730      UNITED STATES                                    CMSLITCA_365116_023                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ACCOUNTANTS INC.                             FILE 30235                                      PO BOX 60000                                                                                 SAN FRANCISCO        CA      94160      UNITED STATES                                         VEN_244831           244831               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACCURATE CLEANING SYSTEM                     PO BOX 2465                                                                                                                                  HOLLISTER            CA      95024      UNITED STATES                                      CONTRACT_00007                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ACCURATE TERMITE CONTROL                     13865 ALTON PARKWAY, SUITE 110                                                                                                               IRVINE               CA      92618      UNITED STATES                                         VEN_616665           616665               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACE COMMERCIAL PLASTERING, INC.              PO BOX 2660                                                                                                                                  CERES                CA    95307-9224   UNITED STATES                                      CONTRACT_00008                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ACE FIRE SYSTEM, INC.                        2620 WESTERN AVE                                                                                                                             LAS VEGAS            NV      89109      UNITED STATES                                         VEN_MF_006                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ACE HARDWARE                                 1201 S. LOOP ROAD                                                                                                                            PAHRUMP              NV      89048      UNITED STATES                                         VEN_MF_007                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ACE HARDWARE                                 2850 HAMNER AVE                                                                                                                              NORCO                CA      92860      UNITED STATES                                         VEN_531784           531784               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACE HARDWARE OF IRVINE                       14230 CULVER DR.                                                                                                                             IRVINE               CA      92604      UNITED STATES                                         VEN_310885           310885               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACE INDUSTRIAL SUPPLY                        7535 SAN FERNANDO BLVD                                                                                                                       BURBANK              CA    91505-1044   UNITED STATES                                         VEN_MF_008                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ACE INDUSTRIAL SUPPLY, INC.                  7535 SAN FERNANDO BLVD                                                                                                                       BURBANK              CA    91505-1044   UNITED STATES                                         VEN_832211           832211               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACE LATH & PLASTER INC.                      PO BOX 2660                                                                                                                                  CERES                CA    95307-7860   UNITED STATES                                         VEN_287179           287179               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACENAS, EDUARDO & LUCITA                     C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                        SAN DIEGO            CA      92121      UNITED STATES                                     CMSLITCA_96610_026                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ACME GLASS COMPANY                           2499 MARTIN ROAD, SUITE C                                                                                                                    FAIRFIELD            CA      94533      UNITED STATES                                         VEN_243176           243176               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACOM SOLUTIONS, INC.                         2850 E. 29TH STREET                                                                                                                          LONG BEACH           CA      90806      UNITED STATES                                         VEN_457828           457828               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACRIS SOLUTIONS                              23046 AVENIDA DE LA CARLOTA, SUITE 653                                                                                                       LAGUNA HILLS         CA      92653      UNITED STATES                                         VEN_751808           751808               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACT TELECONFERENCING                         PO BOX 975312                                                                                                                                DALLAS               TX    75397-5312   UNITED STATES                                         VEN_639656           639656               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACTION EXPEDITER - COURIER                   C/O LIN-FRAN, LLC                               PO BOX 1004                                                                                  PAHRUMP              NV      89041      UNITED STATES                                         VEN_814231           814231               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACTION EXPEDITER-COURIER                     PO BOX 1004                                                                                                                                  PAHRUMP              NV      89041      UNITED STATES                                         VEN_MF_009                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ACTION MESSENGER SERVICE                     PO BOX 69763                                                                                                                                 LOS ANGELES          CA      90069      UNITED STATES                                         VEN_223204           223204               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ACTION POWER                                 17 VIA BABERA                                                                                                                                RANCHO SANTA MARGARITA
                                                                                                                                                                                                               CA      92688      UNITED STATES                                         VEN_826671           826671               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADAMS BROS. INTERIORS & CABINETS             PO BOX 16006                                                                                                                                 PHOENIX              AZ    85011-6006   UNITED STATES                                         VEN_435160           435160               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADAMS BROTHERS INTERIORS OF NEVADA           DBA CABINET WEST DISTRIBUTERS                   150 CASSIA WAY #100                                                                          HENDERSON            NV      89014      UNITED STATES                                         VEN_744931           744931               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADAMS, ET. AL.                               C/O FRANCIS I. LYNCH (LYNCH, LOPPER & SAZANO, LLP)
                                                                                             1640 ALTA DRIVE #11                                                                          LAS VEGAS            NV      89109      UNITED STATES                                    CMSLITCA_451.034_005                           No         Litigant       California          WLH Combo Litigation Load file Ver 4.XLSX                               12/9/2011
ADAMS, ET. AL.                               C/O J. RANDALL JONES (KEMP, JONES & COULTHARD, LLP)
                                                                                             3800 HOWARD HUGHES PARKWAY 17TH FLOOR                                                        LAS VEGAS            NV      89109      UNITED STATES                                    CMSLITCA_451.034_002                           No         Litigant       California          WLH Combo Litigation Load file Ver 4.XLSX                               12/9/2011
ADAMS, ET. AL.                               C/O JAMES D. CARRAWAY (CARAWAY & ASSOCIATES) 7674 W. LAKE MEAD BLVD., SUITE 215                                                              LAS VEGAS            NV      89128      UNITED STATES                                       CMSLIT_451.034                              No         Litigant       Nevada              WLH Combo Litigation Load file.XLSX                                    10/27/2011
ADAMS, ET. AL.                               C/O ROBERT C. MADDOX (MADDOX, ISAACSON & CISNEROS,
                                                                                             3811 WEST
                                                                                                     LLP) CHARLESTON BLVD. #110                                                           LAS VEGAS            NV      89109      UNITED STATES                                    CMSLITCA_451.034_003                           No         Litigant       California          WLH Combo Litigation Load file Ver 4.XLSX                               12/9/2011
ADAMS, ET. AL.                               C/O SCOTT K. CANEPA (CANEPA RIEDY & RUBINO)     851 SOUTH RAMPART BLVD. #160                                                                 LAS VEGAS            NV      89109      UNITED STATES                                    CMSLITCA_451.034_004                           No         Litigant       California          WLH Combo Litigation Load file Ver 4.XLSX                              12/9/2011
ADAMS, MICHAEL                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                   CMSLITCA_1007968_002                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ADAMS, TAMARA                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                   CMSLITCA_1007968_003                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ADAMS-STREETER CIVIL ENGINEERS               15 CORPORATE PARK                                                                                                                            IRVINE               CA      92606      UNITED STATES                                      CONTRACT_00009                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ADELINA HOA - 559                            C/O EUCLID MANAGEMENT COMPANY                   PO BOX 1510                                                                                  UPLAND               CA    91785-1510   UNITED STATES                                         VEN_791535           791535               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADI, MOHAMMAD                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113                      BEVERLY HILLS        CA      90211      UNITED STATES                                 CMSLITCA_SCV0028445_006                           No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ADKINS                                       C/O DAVID PURSIANO (PURSIANO BARRY LAVELLE & JON)
                                                                                             851 SOUTH RAMPART BLVD. #260                                                                 LAS VEGAS            NV      89145      UNITED STATES                                      CMSLIT_08A576944                             No         Litigant       Nevada              WLH Combo Litigation Load file.XLSX                                    10/27/2011
ADOBE ALARM DBA ADOBE HOME SYSTEMS           1745 W. DEER VALLEY ROAD, SUITE 116                                                                                                          PHOENIX              AZ      85027      UNITED STATES                                      CONTRACT_00010          819999               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ADOBE WEST LANDSCAPING                       8440 ENTERPRISE WAY                                                                                                                          OAKLAND              CA      94621      UNITED STATES                                         VEN_436939           436939               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADP, INC.                                    PO BOX 0500                                                                                                                                  CAROL STREAM         IL    60132-0500   UNITED STATES                                      CONTRACT_00011                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ADS CONSULTING ENGINEERS                     14 MONARCH BAY PLAZA, #476                                                                                                                   DANA POINT           CA      92629      UNITED STATES                                         VEN_819614           819614               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVANCE CONSTRUCTION TECHNOLOGIES            77 BUNSEN                                                                                                                                    IRVINE               CA      92618      UNITED STATES                                         VEN_820017           820017               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVANCED CONSTRUCTION TECHNOLOGIES           77 BUNSEN                                                                                                                                    IRVINE               CA      92618      UNITED STATES                                         VEN_508074           508074               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVANCED ELECTRONIC SOLUTIONS                1830 JOHN TOWERS AVE                                                                                                                         EL CAJON             CA      92020      UNITED STATES                                         VEN_483751           483751               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVANCED MECHANICAL INSULATION, INC.         41769 ENTERPRISE CIRCLE N., #103                                                                                                             TEMECULA             CA      92590      UNITED STATES                                         VEN_632091           632091               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVANCED PROTECTION SYSTEMS                  1950 CORDELL COURT, SUITE 109                                                                                                                EL CAJON             CA      92020      UNITED STATES                                         VEN_245260           245260               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVANTAGE FITNESS PRODUCTS AND ALLIANCE      FUNDING SOLUTIONS                               PO BOX 150990                                                                                OGDEN                UT      84415      UNITED STATES                                         VEN_760632           760632               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ADVENT VISUAL                                4382 E. LA PALMA AVE                                                                                                                         ANAHEIM              CA      92807      UNITED STATES                                         VEN_836916           836916               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AEGIS FIRE SYSTEMS TECHNOLOGY, INC.          500 BOULDER COURT, #A                                                                                                                        PLEASANTON           CA      94566      UNITED STATES                                         VEN_568624           568624               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AEROSCOPIC ENVIRONMENTAL                     1833 DANA ST.                                                                                                                                GLENDALE             CA      91201      UNITED STATES                                         VEN_522423           522423               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AGENT NETWORK STAFFING & R.E. SERVICES       PO BOX 5598                                                                                                                                  MARYSVILLE           CA      95901      UNITED STATES                                         VEN_802880           802880               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AGGIE, INC.                                  2602 W. BASELINE RD., #17                                                                                                                    MESA                 AZ      85202      UNITED STATES                                         VEN_821028           821028               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AGRELIUS, CRAIG                              7385 BOYD AVENUE                                                                                                                             CORONA               CA    92881-4509   UNITED STATES                                        EMP_SC_0002                                No         Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
AHERN RENTALS, INC.                          PO BOX 271390                                                                                                                                LAS VEGAS            NV    89127-1390   UNITED STATES                                         VEN_754996           754996               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AHLSTROM & BAKER                             10621 CALLE LEE SUITE 153                                                                                                                    LOS ALAMITOS         CA      90720      UNITED STATES                                         VEN_425471           425471               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AHMADI, PARWEEN                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA      90405      UNITED STATES                                 CMSLITCA_DEL1100369_011                           No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
AINSLEY PARK NEIGHBORHOOD ASSOCIATION        C/O MERIT PROPERTY MANAGEMENT                   1 POLARIS WAY, SUITE 100                                                                     ALISO VIEJO          CA      92626      UNITED STATES                                         VEN_837177           837177               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AIR WOLF, INC.                               5614 E. MONTE CRISTO AVE                                                                                                                     SCOTTSDALE           AZ      85254      UNITED STATES                                         VEN_828924           828924               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AIRGAS                                       PO BOX 7423                                                                                                                                  PASADENA             CA    91109-7423   UNITED STATES                                         VEN_MF_010                                No         Vendor         Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
AIRGAS                                       PO BOX 7425                                                                                                                                  PASADENA             CA    91109-7425   UNITED STATES                                         VEN_390725           390725               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AIR-INTERNET.COM                             PO BOX 5700                                                                                                                                  PAHRUMP              NV      89041      UNITED STATES                                         VEN_MF_011                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
AIRPLUS OF CALIFORNIA, INC.                  591 N. SMITH, SUITE A                                                                                                                        CORONA               CA      92880      UNITED STATES                                      CONTRACT_00012                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AIRTIGHT                                     8846 SVL BOX                                                                                                                                 VICTORVILLE          CA      92395      UNITED STATES                                         VEN_767148           767148               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AITKEN, BRIAN                                413 E. BAY STREET                                                                                                                            COSTA MESA           CA      92627      UNITED STATES                                       EMP_CORP_0003                               No         Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
AKIN GUMP STRAUSS HAUER & FELD               ATTN HUSHMAND SOHAILI, ESQ.                     2029 CENTURY PARK E, STE 2400                                                                LOS ANGELES          CA      90067      UNITED STATES                                    CONTRACT_ANP_00001                             No         Vendor         Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AKIN GUMP STRAUSS HAUER & FELD LLP           ATTN DAVID SIMONDS, ESQ.                        2029 CENTURY PARK E                                                                          LOS ANGELES          CA      90067      UNITED STATES                                    CONTRACT_ANP_00002                             No         Vendor         Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AKIN, GUMP, STRAUSS, HAUER & FELD, LLP       2029 CENTURY PARK E. STE 2400                                                                                                                LOS ANGELES          CA    90067-3012   UNITED STATES                                         VEN_574899           574899               No         Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                                                            Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AKRAMI, NASRIN & OMAR                        C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA      90405      UNITED STATES                                 CMSLITCA_DEL1100369_010                           No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALARCON SONS, INC.                           5111 GAYHURST AVENUE                                                                                                                         BALDWIN PARK         CA      91706      UNITED STATES                                         VEN_405112           405112               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALARM WATCH                                  2301 AVIATION DR.                                                                                                                            ATWATER              CA      95301      UNITED STATES                                         VEN_823779           823779               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALARMCO                                      2007 LAS VEGAS BLVD. SO.                                                                                                                     LAS VEGAS            NV    89104-2555   UNITED STATES                                      CONTRACT_00013                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALARMCO/INC.                                 2007 LAS VEGAS BLVD.                                                                                                                         SOUTH LAS VEGAS      NV    89104-2555   UNITED STATES                                         VEN_MF_012                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ALB INDUSTRIES                               315 S. SIESTA LANE                                                                                                                           TEMPE                AZ    85281-3030   UNITED STATES                                      CONTRACT_00014          195901               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALBANO, KATHELYN & GENELYN                   C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                        SAN DIEGO            CA      92121      UNITED STATES                                     CMSLITCA_96610_018                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALBERT A. WEBB ASSOCIATES                    3788 MCCRAY STREET                                                                                                                           RIVERSIDE            CA      92506      UNITED STATES                                      CONTRACT_00015                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALBERT FILLMORE DBA: BIRD-B-GONE             1456 WALL STREET                                                                                                                             TRACY                CA      95376      UNITED STATES                                         VEN_678911           678911               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALBERT V. OGRODSKI, JR.                      468 WESTRIDGE CIRCLE                                                                                                                         ANAHEIM              CA      92807      UNITED STATES                                         VEN_804050           804050               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALBERTA MIRISCIOTTI                          PO BOX 1915                                                                                                                                  COSTA MESA           CA      92628      UNITED STATES                                         VEN_843198           843198               No         Vendor         Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                     11/23/2011
ALCAL ARCADE CONTRACTING, INC.               946 N. MARKET BLVD                                                                                                                           SACRAMENTO           CA      95834      UNITED STATES                                      CONTRACT_00016                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALCASID, MARIE                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                 CMSLITCA_CIVRS913725_004                          No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALCASID, ROEHL                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                 CMSLITCA_CIVRS913725_003                          No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALEX MERUELO                                 MERUELO ENTERPRISES, INC.                       9550 FIRESTONE BLVD, SUITE 105                                                               DOWNEY               CA      90241      UNITED STATES                                         VEN_607566           607566               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALEXANDER PROPERTIES CO.                     ONE ANNABEL LANE, SUITE 201                                                                                                                  SAN RAMON            CA      94583      UNITED STATES                                      CONTRACT_00017          838882               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALEXIS CONSTRUCTION CLEAN-UP, INC.           17195 NEWHOPE ST., SUITE 202                                                                                                                 FOUNTAIN VALLEY      CA      92708      UNITED STATES                                         VEN_305058           305058               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALFARO, MARIO                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                 CMSLITCA_CIVRS913725_041                          No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALFARO, RUBY                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                 CMSLITCA_CIVRS913725_042                          No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALI, IRSHAD & FARZANA                        C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA      90405      UNITED STATES                                  CMSLITCA_CA1100369_009                           No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALIANTE MASTER ASSOCIATION                   EXCELLENCE COMMUNITY MGMT                       601 WHITNEY RANCH DR., SUITE B-10                                                            HENDERSON            NV      89014      UNITED STATES                                         VEN_819622           819622               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALISO AIR, INC.                              29736 AVENIDA DE LAS BANDERAS                                                                                                                SANTA MARGARITA      CA      92688      UNITED STATES                                      CONTRACT_00018                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALISO AIR, INC.                              C/O STEVEN D. BAYS, ESQ.                        MARSHALL, FRENCH & DEGRAVE              2030 MAIN STREET, SUITE #600                         IRVINE               CA      92614      UNITED STATES                                    CMSLITCA_365116_070                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALISO AIR, INC.                              C/O TOM LOFTUS, AGENT                           521 NORTH MOUNTAIN VIEW PLACE                                                                FULLERTON            CA      92631      UNITED STATES                                    CMSLITCA_365116_024                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALISO ELECTRIC, INC.                         PO BOX 3941                                                                                                                                  LAGUNA HILLS         CA      92654      UNITED STATES                                      CONTRACT_00019                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALL AMERICAN ASPHALT                         PO BOX 2229                                                                                                                                  CORONA               CA    92878-2229   UNITED STATES                                      CONTRACT_00020                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALL AMERICAN CARPET SERVICES, INC.           DBA: ALL AMERICAN CARPET CARE                   2756 N GREEN VALLEY PKWY #108                                                                HENDERSON            NV      89014      UNITED STATES                                         VEN_245278           245278               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALL GLASS POLISHING                          PO BOX 673                                                                                                                                   ORANGE               CA      92856      UNITED STATES                                         VEN_390739           390739               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALL PURPOSE DOCUMENT DESTRUCTION             13312 RANCHERO ROAD, SUITE 18 PMB55                                                                                                          OAK HILLS            CA      92344      UNITED STATES                                         VEN_739366           739366               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALL STAR BALLOONS, INC.                      PO BOX 95454                                                                                                                                 LAS VEGAS            NV      89193      UNITED STATES                                      CONTRACT_00021          811129               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALL STAR BALLOONS, INC.                      PO BOX 95464                                                                                                                                 LAS VEGAS            NV      89193      UNITED STATES                                         VEN_811129           811129               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALL STAR RENTS                               2525 CLAY BANK ROAD                                                                                                                          FAIRFIELD            CA      94533      UNITED STATES                                         VEN_503804           503804               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALL SYSTEMS                                  12831-A ALCOSTA BLVD                                                                                                                         SAN RAMON            CA      94583      UNITED STATES                                         VEN_602546           602546               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALL TILE & STONE                             11988 CHALLENGER COURT                                                                                                                       MOORPARK             CA      93021      UNITED STATES                                         VEN_586099           586099               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLEGRETTO, FRANCES                          C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA      90405      UNITED STATES                                    CMSLITCA_365116_001                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALLEN DICKINSON'S LANDSCAPE                  PO BOX 638                                                                                                                                   RIO LINDA            CA      95673      UNITED STATES                                         VEN_792036           792036               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLEN DRILLING, INC.                         4015 W. TOMPKINS                                                                                                                             LAS VEGAS            NV      89103      UNITED STATES                                      CONTRACT_00022          523637               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALLEN LISA                                   C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113                      BEVERLY HILLS        CA      90211      UNITED STATES                                   CMSLITCA_20010042_021                           No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALLEN MATKINS LECK GAMBLE & MALLORY          ATTN R. MICHAEL JOYCE, ESQ.                     1900 MAIN STREET, 5TH FLOOR                                                                  IRVINE               CA    92614-7321   UNITED STATES                    949.553.8354    CONTRACT_ANP_00003                             No         Vendor         Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALLEN, DONALD                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113                      BEVERLY HILLS        CA      90211      UNITED STATES                                   CMSLITCA_20010042_020                           No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALLEN,MATKINS,LECK,GAMBLE & MALLORY          501 WEST BROADWAY, 15TH FLOOR                                                                                                                SAN DIEGO            CA      92101      UNITED STATES                                         VEN_231589           231589               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLIANCE HARDWARE & SUPPLY                   9830 NORWALK BLVD, SUITE 198                                                                                                                 SANTA FE SPRINGS     CA      90670      UNITED STATES                                         VEN_483680           483680               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLIANCE MECHANICAL CORPORATION              638 SOUTHERN AVE                                                                                                                             ORANGE               CA      92865      UNITED STATES                                         VEN_643276           643276               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLIANCE MECHANICAL HEATING AND AIR          C/O CSC LAWYERS INCORPORATING SERVICE, AGENT2730 GATEWAY OAKS DRIVE, SUITE #100                                                              SACRAMENTO           CA      92688      UNITED STATES                                    CMSLITCA_365116_025                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALLIANCE MECHANICAL HEATING AND AIR          C/O PATRICK AU, ESQ./HANNAH LEE, ESQ.           BREMER, WHYTE, BROWN & O'MEARA, LLP     21271 BURBANK BLVD., SUITE #110                      WOODLAND HILLS       CA      91367      UNITED STATES                                    CMSLITCA_365116_071                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALLIANCE MECHANICAL HEATING AND AIR          CSC- LAWYERS INCORPORATING SERVICE              2730 GATEWAY OAKS DR., SUITE 100                                                             SACRAMENTO           CA      95833      UNITED STATES                                   CMSLITCA_1103527_027                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALLIANT TAX RESEARCH, INC.                   PO BOX 1723                                                                                                                                  COUR D'ALENE         ID      83816      UNITED STATES                                         VEN_767789           767789               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLIED MASONRY, LLC                          4022 W. LINCOLN ST.                                                                                                                          PHOENIX              AZ      85009      UNITED STATES                                      CONTRACT_00023          631216               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALLIED WASTE SERVICES                        PO BOX 78829                                                                                                                                 PHOENIX              AZ    85062-8829   UNITED STATES                                         VEN_810062           810062               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALLIED WORLD NATIONAL ASSURANCE COMPANY      199 WATER STREET                                                                                                                             NEW YORK             NY      10038      UNITED STATES                                      CONTRACT_00024                               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALLISON, REBECCA                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA      92612      UNITED STATES                                   CMSLITCA_1007968_001                            No         Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALOHA GRADING INC.                           2487 S. GILBERT RD. #106                        PMB 615                                                                                      GILBERT              AZ      85295      UNITED STATES                                      CONTRACT_00025          802901               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALPINE SPRINGS BOTTLED WATER LLC             PO BOX 96535                                                                                                                                 LAS VEGAS            NV      89193      UNITED STATES                                      CONTRACT_00026          818460               No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALPINE SPRINGS/AROMA COFFEE                  PO BOX 96535                                                                                                                                 LAS VEGAS            NV    89193-6535   UNITED STATES                                         VEN_MF_013                                No         Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
ALTAIR HOMEOWNERS ASSOCIATION                C/O HUDSON MANAGEMENT SERVICES                  7847 CONVOY COURT, SUITE 101                                                                 SAN DIEGO            CA      92111      UNITED STATES                                         VEN_794787           794787               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALTON, LLC                                   20151 S.W. BIRCH STREET, SUITE 150                                                                                                           NEWPORT BEACH        CA    92660-1713   UNITED STATES                                         VEN_826187           826187               No         Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALTON, LLC, A CALIFORNIA LIMITED LIABILITY   20151 S.W. BIRCH STREET, SUITE 150                                                                                                           NEWPORT BEACH        CA    92660-1713   UNITED STATES                                      CONTRACT_00027            N/A                No         Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ALVARADO/CARROLL                             C/O DUANE SHINNICK (SHINNICK, RYAN & RANSAVAGE 2881
                                                                                              P.C.) BUSINESS PARK COURT #210                                                              LAS VEGAS            NV      89128      UNITED STATES                                       CMSLIT_451.0061                             No         Litigant       Nevada              WLH Combo Litigation Load file.XLSX                                    10/27/2011
ALVAREZ & MARSAL SECURITIES, LLC             2355 E. CAMELBACK RD., SUITE 805                                                                                                             PHOENIX              AZ      85016      UNITED STATES                                         VEN_841205           841205               No         Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                                                            Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALVAREZ & MARSAL TAXAND, LLC                 600 LEXINGTON AVE, 6TH FLOOR                                                                                                                 NEW YORK             NY      10022      UNITED STATES                                         VEN_841192           841192               No         Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                                                            Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALVAREZ & MARSAL, INC.                       101 E. 52ND STREET, 6TH FLOOR                                                                                                                NEW YORK             NY      10022      UNITED STATES                                         VEN_841213           841213               No         Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                                                            Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ALVAREZ JR., FRANK                           2050 W. TOUGH GIRL                                                                                                                           PAHRUMP              NV      89060      UNITED STATES                                        EMPT_MF_0337                               No         Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
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AMADOR HOMEOWNERS ASSOCIATION                C/O PROFESSIONAL COMMUNITY MANAGEMENT           23726 BIRTCHER DRIVE                                                            LAKE FOREST        CA     92630       UNITED STATES          VEN_771198          771198   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMARAL, KRISTIN                              6208 E CONANT ST                                                                                                                LONG BEACH         CA     90808       UNITED STATES         EMP_SC_0004                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
AMBER ORNAMENTAL IRON                        16101 CONSTRUCTION CIRCLE WEST, #C                                                                                              IRVINE             CA     92714       UNITED STATES          VEN_225752          225752   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMEC GEOMATRIX, INC.                         2101 WEBSTER ST., 12TH FLOOR                                                                                                    OAKLAND            CA   94612-3066    UNITED STATES          VEN_815656          815656   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN ASPHALT & GRADING CO.               2690 N. DECATUR BLVD                                                                                                            LAS VEGAS          NV     89108       UNITED STATES          VEN_253868          253868   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN CAPITAL REALTY PARTNERS, LLC        18022 COWAN, SUITE 265                                                                                                          IRVINE             CA     92614       UNITED STATES          VEN_837142          837142   No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                            Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN CONCRETE                            404 DISCOVERY STREET                                                                                                            SAN MARCOS         CA     92078       UNITED STATES          VEN_248145          248145   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN CONCRETE WASHOUTS, INC.             PO BOX 488                                                                                                                      FOLSOM             CA     95763       UNITED STATES          VEN_619786          619786   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN COURT SURFACING                     3770 STEWART AVE                                                                                                                LOS ANGELES        CA     90066       UNITED STATES          VEN_825686          825686   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN EAGLE BEVERAGES DBA PROMOH2O        7008 E. WILLETTA                                                                                                                SCOTTSDALE         AZ     85257       UNITED STATES          VEN_628050          628050   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN EXTERMINATORS CO.                   139 NORTH MAPLE, SUITE C                                                                                                        CORONA             CA   92880-1772    UNITED STATES          VEN_813976          813976   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN FENCE                               2502 NORTH 7TH AVENUE                                                                                                           PHOENIX            AZ     85099       UNITED STATES       CONTRACT_00029         678209   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AMERICAN FENCE CO.                           PO BOX 19040                                                                                                                    PHOENIX            AZ   85005-9040    UNITED STATES          VEN_678209          678209   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN FENCE CO./AMERICAN RENT A FENCE     PO BOX 19040                                                                                                                    PHOENIX            AZ   85005-9040    UNITED STATES          VEN_195303          195303   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN FENCE COMPANY                       PO BOX 19040                                                                                                                    PHOENIX            AZ   85005-9040    UNITED STATES          VEN_231669          231669   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN FLAG & POLE CO.                     1138 E. VAN BUREN ST.                                                                                                           PHOENIX            AZ     85006       UNITED STATES          VEN_363733          363733   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN FLAG AND POLE                       1138 E. VAN BUREN ST.                                                                                                           PHOENIX            AZ     85006       UNITED STATES       CONTRACT_00030         363733   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AMERICAN INTERNATIONAL                       180 MAIDEN LANE                                                                                                                 NEW YORK           NY     10038       UNITED STATES       CONTRACT_00031                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AMERICAN LEAK DETECTION                      304 N. TOWNSEND, SUITE D                                                                                                        SANTA ANA          CA     92703       UNITED STATES          VEN_303327          303327   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN LEAK DETECTION                      306 NW EL NORTE PARKWAY, #555                                                                                                   ESCONDIDO          CA     92026       UNITED STATES          VEN_838807          838807   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN LEAK DETECTION                      804 N. DODSWORTH AVE                                                                                                            COVINA             CA     91724       UNITED STATES          VEN_840069          840069   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN LEAK DETECTION                      PO BOX 5865                                                                                                                     SAN BERNARDINO     CA     92412       UNITED STATES          VEN_703831          703831   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN LIBERTY ROOFING                     2117 PIEDMONT DR.                                                                                                               MODESTO            CA     95356       UNITED STATES          VEN_822143          822143   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN MARBLE                              1280 N. MELROSE DRIVE                                                                                                           VISTA              CA     92083       UNITED STATES          VEN_358011          358011   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN MEDIA CORPORATION                   6023 MCLEOD DRIVE                                                                                                               LAS VEGAS          NV     89120       UNITED STATES       CONTRACT_00032         372648   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AMERICAN MOTORISTS INSURANCE COMPANY         1 KEMPER DRIVE - 12NW0358                                                                                                       LONG GROVE         IL     60049       UNITED STATES           BOND_060                    No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                       10/27/2011
AMERICAN NETWORK SECURITY                    PO BOX 75940                                                                                                                    LOS ANGELES        CA     90075       UNITED STATES          VEN_836908          836908   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN PAYROLL ASSOCIATION                 660 N. MAIN AVE, SUITE 100                                                                                                      SAN ANTONIO        TX   78205-1217    UNITED STATES          VEN_602407          602407   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN REPROGRAPHICS COMPANY, LLC          DBA: OCB REPROGRAPHICS                          345 CLINTON ST.                                                                 COSTA MESA         CA     92626       UNITED STATES          VEN_590291          590291   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN STATES INSURANCE COMPANY            175 BERKLEY STREET                                                                                                              BOSTON             MA     02116       UNITED STATES           BOND_061                    No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                       10/27/2011
AMERICAN TILE COMPANY                        PO BOX 2226                                                                                                                     FALLBROOK          CA     92088       UNITED STATES          VEN_231685          231685   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN TRIM                                8 ARGONAUT, SUITE 140                                                                                                           ALISO VIEJO        CA     92656       UNITED STATES       CONTRACT_00033                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AMERICAN UNDERGROUND CONTRACTORS             PO BOX 670                                                                                                                      BYRON              CA   94514-0670    UNITED STATES          VEN_272794          272794   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMERICAN WOODMARK CORPORATION                3146 GOLD CAMP DR.                                                                                                              RANCHO CORDOVA     GA     95670       UNITED STATES       CONTRACT_00034                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AMERITECH CREDIT CORPORATION                 2000 W AMERITECH CENTER DR                                                                                                      HOFFMAN ESTATES    IL     60196       UNITED STATES            UCC_014                    No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
AMIAD FILTRATION SYSTEMS                     2220 CELSIUS AVE                                                                                                                OXNARD             CA   93030-5181    UNITED STATES          VEN_MF_015                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
AMPAM RCR COMPANIES                          5165 SCHRILLS ST.                                                                                                               LAS VEGAS          NV     89118       UNITED STATES          VEN_592915          592915   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AMPCO SYSTEM PARKING                         5000 BIRCH STREET, #2                                                                                                           NEWPORT BEACH      CA     92660       UNITED STATES          VEN_385449          385449   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANAHEIM STONE WORKS                          2020 E. HOWELL AVE, SUITE E                                                                                                     ANAHEIM            CA     92806       UNITED STATES          VEN_742434          742434   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANCIENT ART, INC.                            9950 SCRIPPS LAKE DRIVE, SUITE 101                                                                                              SAN DIEGO          CA     92131       UNITED STATES          VEN_809361          809361   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDERSON & HOWARD ELECTRIC, INC.             1791 REYNOLDS AVENUE                                                                                                            IRVINE             CA     92614       UNITED STATES          VEN_398725          398725   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDERSON & KRIGER CLIENT TRUST ACCOUNT       8220 UNIVERSITY AVE, 2ND FLOOR                                                                                                  LA MESA            CA     91942       UNITED STATES          VEN_840384          840384   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDERSON DAVID G & LORETTA J.                C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR    ANAHEIM            CA     92807       UNITED STATES     CMSLITCA_1103527_001              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ANDERSON PLUMBING, HEATING & AIR             1150 N. MARSHALL                                                                                                                EL CAJON           CA     92020       UNITED STATES          VEN_782954          782954   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDERSON, BARBARA                            2125 WHISPERING TRAIL                                                                                                           IRVINE             CA     92602       UNITED STATES          VEN_794808          794808   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDERSON, BARBARA                            51 WATERMAN                                                                                                                     IRVINE             CA     92602       UNITED STATES         EMP_SC_0005                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ANDERSON, KENNETH & DEBRA                    C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_CA1100369_010             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ANDERSONBARON LANDSCAPE ARCHITECTS           88 S. SAN MARCOS PLACE, SUITE 101                                                                                               CHANDLER           AZ     85225       UNITED STATES       CONTRACT_00035         783341   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ANDERSONBARON LANDSCAPE ARCHITECTURE, LL     88 S. SAN MARCOS PLACE, SUITE 101                                                                                               CHANDLER           AZ     85225       UNITED STATES          VEN_783341          783341   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDORRA AT CREEKSIDE HOA                     27644 NEWHALL RANCH RD., SUITE 45                                                                                               VALENCIA           CA     91355       UNITED STATES          VEN_815672          815672   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDREW LAUREN - PHOENIX LLC                  1311 WEST 21ST STREET                                                                                                           TEMPE              AZ     85282       UNITED STATES          VEN_543937          543937   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDREW LAUREN CABINETS                       1311 W. 21ST ST.                                                                                                                TEMPE              AZ     85282       UNITED STATES          VEN_694743          694743   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDREW LAUREN INTERIORS                      13220 CAMBRIDGE ST.                                                                                                             SANTA FE SPRINGS   CA     90670       UNITED STATES       CONTRACT_00036                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ANDREW MORETTI                               PO BOX 263                                                                                                                      JULIAN             CA     92036       UNITED STATES          VEN_820527          820527   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDREW'S GARAGE DOOR & OPENER                4180 W. DESERT INN #A4                                                                                                          LAS VEGAS          NV     89102       UNITED STATES          VEN_190721          190721   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDREWS, GREGORY & DEBRA                     C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_1103791_013              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ANDREWS, JAMES                               17532 THISTLE HILL CT.                                                                                                          RIVERSIDE          CA     92504       UNITED STATES         EMP_SC_0006                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ANDREWS, JAMES R                             6698 VANDERBILT PLACE                                                                                                           ALTA LOMA          CA     91701       UNITED STATES          VEN_238941          238941   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANDY GUMP, INC.                              26954 RUETHER AVE.                                                                                                              SANTA CLARITA      CA     91351       UNITED STATES          VEN_254908          254908   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANFUSO, FRANCIS & SUSAN                      C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_SCV26452_002              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ANN CHATILLON PHOTOGRAPHY                    20132 BAYVIEW AVE                                                                                                               NEWPORT BEACH      CA     92660       UNITED STATES          VEN_692545          692545   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANN MATTESON CONSULTING                      833 DOVER DRIVE, SUITE 21                                                                                                       NEWPORT BEACH      CA     92663       UNITED STATES       CONTRACT_00037                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ANNIBALLI, JOHN & KAREN                      C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_365116_002               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ANSWER PLUS, INC.                            1840 E. SAHARA AVENUE, SUITE 205                                                                                                LAS VEGAS          NV   89104-3743    UNITED STATES          VEN_497213          497213   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANTHEM BLUE CROSS                            2121 N. CALIFORNIA BLVD., SUITE 700                                                                                             WALNUT CREEK       CA     94596       UNITED STATES       CONTRACT_00039                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ANTHONY M. MINOTTI                           1701 BROADWAY ST., #167                                                                                                         VANCOUVER          WA     98663       UNITED STATES          VEN_824157          824157   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ANTOINE, LEASHA                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES   CMSLITCA_DEL1100369_037             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ANWARUZZAMAN, MOHAMMAD                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES   CMSLITCA_DEL1100369_006             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
APCO EQUIPMENT                               3432 NORTH 5TH ST.                                                                                                              NORTH LAS VEGAS    NV     89032       UNITED STATES          VEN_MF_016                   No   Vendor          Equipment Lease     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
APEX CONSULTING GROUP, INC.                  3675 SANTA CLARA CIRCLE                                                                                                         CORONA             CA     92882       UNITED STATES          VEN_823509          823509   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
APOSTOLEC, SHAWNA                            3000 PAIUTE BLVD                                                                                                                PAHRUMP            NV     89061       UNITED STATES         EMP_MF_0183                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
APPLIED PHOTOGRAPHY & GRAPHIC SERVICES       7611 E. CEDAR CREEK WAY                                                                                                         ORANGE             CA     92869       UNITED STATES          VEN_826638          826638   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AQUA BACKFLOW & CHLORINATION INC.            590 WEST MAPLE COURT #D                                                                                                         COLTON             CA     92324       UNITED STATES          VEN_447849          447849   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AQUA POOL & SPA                              PO BOX 598                                                                                                                      RIPON              CA     95366       UNITED STATES          VEN_561027          561027   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AQUINO, ARL & KARL                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES   CMSLITCA_DEL1100369_018             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
AR IRON, LLC                                 1425 ATHOL AVE                                                                                                                  HENDERSON          NV     89015       UNITED STATES       CONTRACT_00040         584157   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AR ORNAMENTAL IRON                           1425 ATHOL AVENUE                                                                                                               HENDERSON          NV     89015       UNITED STATES          VEN_257560          257560   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARBORETA COMMUNITY ASSOCIATION               1275 CENTER COURT DRIVE                                                                                                         COVINA             CA     91724       UNITED STATES          VEN_818849          818849   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARC                                          3325 PEPPER LANE                                                                                                                LAS VEGAS          NV     89120       UNITED STATES          VEN_832536          832536   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARC (AMERICAN REPROGRAPHICS CO., LLC)        345 CLINTON ST.                                                                                                                 COSTA MESA         CA     92626       UNITED STATES          VEN_832261          832261   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARCH INSURANCE COMPANY                       865 SOUTH FIGUEROA ST, SUITE 2700                                                                                               LOS ANGELES        CA     90017       UNITED STATES           BOND_062                    No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                       10/27/2011
ARCH SPECIALTY INSURANCE COMPANY             300 PLAZA THREE, 3RD FLOOR                                                                                                      JERSEY CITY        NJ     07311       UNITED STATES       CONTRACT_00041                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARCHER NORRIS                                PO BOX 8035                                                                                                                     WALNUT CREEK       CA     94596       UNITED STATES          VEN_641887          641887   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARCHITECTURAL ART                            1143 CALLE CHRISTOPHER                                                                                                          ENCINITAS          CA   92024-5516    UNITED STATES          VEN_227441          227441   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARCHITECTURAL PRODUCT RESOURCES, INC.        23151 ALCALDE DR., SUITE C-11                                                                                                   LAGUNA HILLS       CA     92653       UNITED STATES          VEN_614660          614660   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARCHITERRA DESIGN GROUP, INC.                10221-A TRADEMARK ST.                                                                                                           RANCHO CUCAMONGA   CA     91730       UNITED STATES          VEN_636682          636682   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AREAWIDE ANSWERING SERVICE                   5161 CLAYTON ROAD, #D2                                                                                                          CONCORD            CA   94521-3173    UNITED STATES          VEN_620082          620082   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARELLANO DRYWALL                             PO BOX 582993                                                                                                                   ELK GROVE          CA     95758       UNITED STATES       CONTRACT_00042                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARELLANO, DANIEL                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE             CA     92612       UNITED STATES   CMSLITCA_CIVRS913725_005            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ARELLANO, EDITH                              C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE             CA     92612       UNITED STATES   CMSLITCA_CIVRS913725_006            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
AREY JR, WILLIAM                             1130 WEST SIERRA VISTA                                                                                                          PAHRUMP            NV     89060       UNITED STATES         EMP_MF_0184                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ARISTOTLE ELECTRIC                           BOX 35126                                                                                                                       LAS VEGAS          NV     89133       UNITED STATES       CONTRACT_00043         190318   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARIZONA - AMERICAN WATER COMPANY             15626 N. DEL WEBB BLVD                                                                                                          SUN CITY           AZ     85351       UNITED STATES          VEN_553318          553318   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA - AMERICAN WATER COMPANY             19820 N. 7TH STREET, SUITE 201                                                                                                  PHOENIX            AZ     85024       UNITED STATES          VEN_599199          599199   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA CORPORATION COMMISSION               C/O ANNUAL REPORTS-CORPORATIONS DIV.            1300 W. WASHINGTON                                                              PHOENIX            AZ     85007       UNITED STATES          VEN_195101          195101   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA DEPARTMENT OF REAL ESTATE            2910 N 44TH ST, STE 100                                                                                                         PHOENIX            AZ     85018       UNITED STATES          VEN_199486                   No   Vendor          Regulatory Agency   Maintain Creditors                                                     11/9/2011
ARIZONA DEPARTMENT OF REVENUE                ATTN: BUSINESS LICENSE FEE DEPARTMENT           PO BOX 29010                                                                    PHOENIX            AZ     85033       UNITED STATES        CMSTX_194941_1                 No   Taxing AuthorityBusiness License    Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
ARIZONA DEPARTMENT OF REVENUE                ATTN: SALES TAX DEPARTMENT                      PO BOX 29010                                                                    PHOENIX            AZ     85033       UNITED STATES        CMSTX_194941_2                 No   Taxing AuthoritySales Tax           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
ARIZONA DEPARTMENT OF REVENUE                PO BOX 29010                                                                                                                    PHOENIX            AZ     85033       UNITED STATES          VEN_194941          194941   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA DEPT. OF WATER RESOURCES             GROUND WATER MANAGEMENT SUPPORT                 500 N. 3RD ST.                                                                  PHOENIX            AZ   85004-3903    UNITED STATES          VEN_348242          348242   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA DRYWALL CO., INC.                    4120 W. WHITTON                                                                                                                 PHOENIX            AZ     85019       UNITED STATES       CONTRACT_00044         198045   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARIZONA MACHINERY                            11111 W. MCDOWELL RD.                                                                                                           AVONDALE           AZ     85392       UNITED STATES          VEN_MF_017                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
ARIZONA PUBLIC SERVICE                       PO BOX 2906                                                                                                                     PHOENIX            AZ   85062-2906    UNITED STATES          VEN_195506          195506   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA PUBLIC SERVICE                       PO BOX 53933 STATION 4031                                                                                                       PHOENIX            AZ   85072-3933    UNITED STATES       CONTRACT_00045         265826   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARIZONA REGIONAL MULTIPLE LISTING SERVICE,   130 S. PRIEST DRIVE, SUITE 101                                                                                                  TEMPE              AZ   85281-2493    UNITED STATES       CONTRACT_00046         717458   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARIZONA REPUBLIC                             PO BOX 677595                                                                                                                   DALLAS             TX   75267-7595    UNITED STATES          VEN_198002          198002   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARIZONA WHOLESALE SUPPLY COMPANY             PO BOX 2979                                                                                                                     PHOENIX            AZ     85062       UNITED STATES       CONTRACT_00047         195629   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARIZONA-AMERICAN WATER COMPANY               2355 W. PINNACLE PEAK RD., STE. 300                                                                                             PHOENIX            AZ     85027       UNITED STATES       CONTRACT_00048         599199   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARLIE R. WALKER & SONS PAINTING              PO BOX 1049                                                                                                                     OAKLEY             CA     94561       UNITED STATES          VEN_636762          636762   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARMSTRONG PLUMBING, INC.                     2753 CROSBY WAY                                                                                                                 SACRAMENTO         CA     95815       UNITED STATES          VEN_827681          827681   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARMSTRONG, JOSEPH                            4271 W. FLAMINGO                                                                                                                PAHRUMP            NV     89048       UNITED STATES         EMPT_MF_0331                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ARNET ENGINEERING, INC.                      1577 N. MAIN STREET, SUITE A                                                                                                    ORANGE             CA     92867       UNITED STATES          VEN_827753          827753   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARON PHOTOGRAPHY                             26741 PORTOLA PKWY, #1E-460                                                                                                     FOOTHILL RANCH     CA     92610       UNITED STATES          VEN_828801          828801   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARRITT, GARY                                 30185 DEW HURST ST                                                                                                              MENIFEE            CA     92584       UNITED STATES         EMP_SC_0286                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ARRITT, GARY D.                              30185 DEW HURST STREET                                                                                                          MENIFEE            CA     92584       UNITED STATES          VEN_102445          102445   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARROW FENCE CO.                              4025 CINCINNATI AVE                                                                                                             ROCKLIN            CA     95765       UNITED STATES          VEN_708826          708826   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARROWHEAD                                    PO BOX 856158                                                                                                                   LOUISVILLE         KY   40285-6158    UNITED STATES          VEN_716615          716615   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARROWHEAD MOUNTAIN WATER                     PO BOX 856158                                                                                                                   LOUISVILLE         KY   40285-6158    UNITED STATES       CONTRACT_00049         390763   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARROYO POOLS, INC.                           720 W. KATELLA                                                                                                                  ORANGE             CA     92867       UNITED STATES          VEN_639832          639832   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ARTECHE, GREGORY & DEBBIE                    C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_CA1100369_011             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ARTISTIC STAIRS, INC.                        4116 E. SUPERIOR #7                                                                                                             PHOENIX            AZ     85040       UNITED STATES       CONTRACT_00050         195071   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ARUCAN, EDILBERT & MILAGROS                  C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_173057_035               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ASIAN JOURNAL PUBLICATIONS                   1150 WILSHIRE BLVD.                                                                                                             LOS ANGELES        CA     90017       UNITED STATES          VEN_836369          836369   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASPEN INSURANCE UK LIMITED                   30 FENCHURCH STREET                                                                                                             LONDON                  EC3M 3BD     UNITED KINGDOM       CONTRACT_00051                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ASPEN PUBLISHERS, INC.                       4829 INNOVATION WAY                                                                                                             CHICAGO            IL   60682-0048    UNITED STATES          VEN_527902          527902   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASPHALT IMPRESSIONS                          8150 37TH STREET                                                                                                                SACRAMENTO         CA     95824       UNITED STATES          VEN_776693          776693   No   Vendor          Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
ASPREC, FAUSTA                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE             CA     92612       UNITED STATES   CMSLITCA_CIVRS913725_008            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ASPREC, ROMEO                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE             CA     92612       UNITED STATES   CMSLITCA_CIVRS913725_007            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ASSET MANAGEMENT CONSULTANTS                 12841 FITZWATER DRIVE                                                                                                           NOKESVILLE         VA   20181-2734    UNITED STATES          VEN_739526          739526   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASSOCIATED ENGINEERING GROUP, INC.           4206 TECHNOLOGY DRIVE                                                                                                           MODESTO            CA     95356       UNITED STATES       CONTRACT_00052                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ASSOCIATED GENERAL CONTRACTORS               150 N. DURANGO DRIVE, SUITE 100                                                                                                 LAS VEGAS          NV     89145       UNITED STATES          VEN_814590          814590   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASSOCIATED GROUP                             1600 E. MCFADDEN AVENUE                                                                                                         SANTA ANA          CA     92705       UNITED STATES       CONTRACT_00053         392972   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ASSOCIATED MATERIALS DBA ALSIDE SUPPLY       1801 BELL AVE, SUITE 50                                                                                                         SACRAMENTO         CA     95838       UNITED STATES          VEN_786568          786568   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASSOCIATED SOILS ENGINEERING, INC.           2860 WALNUT AVE                                                                                                                 SIGNAL HILL        CA     90755       UNITED STATES       CONTRACT_00054                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ASSOCIATES CLEANING SERVICE                  6829 W. GARFIELD                                                                                                                PHOENIX            AZ     85043       UNITED STATES          VEN_252646          252646   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASSOCIATES PAINTING & CLEANING SERVICE,      6829 W. GARFIELD                                                                                                                PHOENIX            AZ     85043       UNITED STATES       CONTRACT_00055         819251   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ASSURED DOCUMENT DESTRUCTION, INC.           8050 S. ARVILLE ST., SUITE 105                                                                                                  LAS VEGAS          NV     89139       UNITED STATES          VEN_525157          525157   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASTRO BUSINESS TECHNOLOGIES                  PO BOX 100986                                   CCV PAYMENTS                                                                    PASADENA           CA   91189-0986    UNITED STATES          VEN_560690          560690   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ASTRO ELECTRIC, INC.                         PO BOX 847                                                                                                                      AZUSA              CA     91702       UNITED STATES       CONTRACT_00056                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AT&T                                         645 E PLUMB LANE C240                                                                                                           RENO               NV     89502       UNITED STATES       CONTRACT_00057                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AT&T                                         PAYMENT CENTER                                                                                                                  SACRAMENTO         CA   95887-0001    UNITED STATES          VEN_710740          710740   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T                                         PO BOX 105068                                                                                                                   ATLANTA            GA   30348-5068    UNITED STATES       CONTRACT_00058         817811   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AT&T                                         PO BOX 13128                                                                                                                    NEWARK             NJ   07101-5628    UNITED STATES          VEN_752974          752974   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T                                         PO BOX 5012                                                                                                                     CAROL STREAM       IL   60197-5012    UNITED STATES          VEN_820252          820252   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T                                         PO BOX 5019                                                                                                                     CAROL STREAM       IL   60197-5019    UNITED STATES       CONTRACT_00059         390772   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AT&T                                         PO BOX 5025                                                                                                                     CAROL STREAM       IL   60197-5025    UNITED STATES       CONTRACT_00060         719701   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AT&T                                         PO BOX 78225                                                                                                                    PHOENIX            AZ   85062-8225    UNITED STATES          VEN_244478          244478   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T                                         PO BOX 78522                                                                                                                    PHOENIX            AZ   85062-8522    UNITED STATES          VEN_219281          219281   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T                                         PO BOX 9005                                                                                                                     CAROL STREAM       IL   60197-9005    UNITED STATES          VEN_822784          822784   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T                                         PO BOX 989045                                                                                                                   WEST SACRAMENTO    CA   95798-9045    UNITED STATES          VEN_MF_019                   No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
AT&T - PHOENIX                               PO BOX 5019                                                                                                                     CAROL STREAM       IL   60197-5019    UNITED STATES          VEN_390772          390772   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T GLOBAL NETWORK SERVICES, LLC            PO BOX 5091                                                                                                                     CAROL STREAM       IL   60197-5091    UNITED STATES          VEN_812851          812851   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T LONG DISTANCE                           PO BOX 5017                                                                                                                     CAROL STREAM       IL   60197-5017    UNITED STATES       CONTRACT_00061                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
AT&T LONG DISTANCE                           PO BOX 660688                                                                                                                   DALLAS             TX   75266-0688    UNITED STATES          VEN_728211          728211   No   Vendor          Utilities           AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
AT&T MOBILITY                                PO BOX 60017                                                                                                                    LOS ANGELES        CA   90060-0017    UNITED STATES          VEN_791551          791551   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T MOBILITY                                PO BOX 6463                                                                                                                     CAROL STREAM       IL   60197-6463    UNITED STATES          VEN_768343          768343   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T U-VERSE                                 PO BOX 5014                                                                                                                     CAROL STREAM       IL   60197-5014    UNITED STATES          VEN_823154          823154   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
AT&T/SBC                                     PAYMENT CENTER                                                                                                                  SACRAMENTO         CA   95887-0001    UNITED STATES          VEN_711751          711751   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ATHENS BENEFITS INSURANCE SERVICES, INC.     PO BOX 55366                                                                                                                    HAYWARD            CA   94545-0366    UNITED STATES          VEN_403272          403272   No   Vendor          Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ATHERTON, A. CLEGG                           11168 TYROLEAN WAY                                                                                                              SAN DIEGO          CA     92126       UNITED STATES         EMPT_SC_0303                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ATHERTON, CLEGG                              11168 TYROLEAN WAY                                                                                                              SAN DIEGO          CA     92126       UNITED STATES          VEN_782903          782903   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
                                                                                Case 11-14019-CSS                                                                             Doc 1-4                 Filed 12/19/11                                   Page 3 of 29

A-THRONE CO., INC.                             1850 E. 33RD STREET                                                                                                                       LONG BEACH         CA     90807      UNITED STATES                     VEN_826890            826890   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ATIENZA, JAN-MICHAEL & EMEE                    C/O WILLIAM H. NAUMANN, ESQ.                  THE NAUMANN LAW FIRM, PC                  5752 OBERLIN DRIVE, SUITE 105                     SAN DIEGO          CA     92121      UNITED STATES                  CMSLITCA_96610_024                No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
ATKINSON, ANDELSON, LOYA, RUUD & ROMO, ATTN
                                               12800 CENTER COURT DRIVE, SUITE 300                                                                                                       CERRITOS           CA   90703-9364   UNITED STATES   562.653.3333   CONTRACT_ANP_00004                No   Vendor     Contract - ANP    WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ANDREAS CHIALTAS
ATLANTIC COAST DRYWALL                         8518 CHURCH ST., SUITE 5                                                                                                                  GILROY             CA     95020      UNITED STATES                     VEN_749960            749960   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ATLANTIC CONCRETE, INC.                        PO BOX 1772                                                                                                                               GILROY             CA   95021-1772   UNITED STATES                   CONTRACT_00062                   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ATLANTIS GROUP, LLC                            2488 HISTORIC DECATUR ROAD, SUITE 200                                                                                                     SAN DIEGO          CA     92106      UNITED STATES                     VEN_798614            798614   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ATLAS MARBLE & STONE CARE                      1701 E. EDINGER AVENUE, SUITE C14                                                                                                         SANTA ANA          CA     92705      UNITED STATES                     VEN_474505            474505   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ATOMIC PEST CONTROL, LLC                       PO BOX 7131                                                                                                                               MESA               AZ     85216      UNITED STATES                     VEN_817539            817539   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ATRIUM II, ATRIUM III, ATRIUM IV, ATRIUM V,
BENTHAM WHOLESALE HIGH YIELD FUND, CASTLE
                                               C/O CREDIT SUISSE ASSET MANAGEMENT, LLC, COLLATERAL
                                                                                            11 MADISON
                                                                                                   MANAGER
                                                                                                       AVENUE                                                                            NEW YORK           NY     10010      UNITED STATES                    CONTRACT_00063                  No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GARDEN FUNDING, CSAM FUNDING I, CSAM FUNDING
II, CSAM FUNDING III, CSAM FUNDING IV, FIRST
ATWELL - HICKS AZ, LLC                         PO BOX 2981                                                                                                                               ANN ARBOR          MI     48105      UNITED STATES                        VEN_781791         781791   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ATWELL, LLC                                    TWO TOWNE SQUARE, SUITE 700                                                                                                               SOUTHFIELD         MI     48076      UNITED STATES                     CONTRACT_00064        824368   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AUBOL, DUAINE                                  7770 WILDHORSE RD                                                                                                                         PAHRUMP            NV     89061      UNITED STATES                      EMPT_MF_0369                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
AUGUSTINE & ASSOCIATES                         1075 CREEKSIDE RIDGE DR., SUITE 110                                                                                                       ROSEVILLE          CA     95678      UNITED STATES                        VEN_579631         579631   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AUSTIN JOHNSON INTERIORS, INC.                 45 SHIELD                                                                                                                                 IRVINE             CA     92618      UNITED STATES                        VEN_390775         390775   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AUTODESK, INC.                                 PO BOX 894229                                                                                                                             LOS ANGELES        CA   90189-4229   UNITED STATES                        VEN_723575         723575   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AVAKIAN, LORI                                  C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                   CMSLITCA_365116_019              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
AVAKOV, VIOLETTA & ALBERT                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                     SAN DIEGO          CA     92121      UNITED STATES                    CMSLITCA_96610_017              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
AWAD, FAWAZ                                    C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_004              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
AWESOME CONSTRUCTION LLC                       1330 RED ROCK                                                                                                                             PAHRUMP            NV     89048      UNITED STATES                     CONTRACT_00065        722708   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AWT MAINTENANCE                                1431 KENNETH DRIVE                                                                                                                        TUSTIN             CA     92780      UNITED STATES                     CONTRACT_00066                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AXIS SURPLUS                                   11680 GREAT OAKS WAY                            SUITE 500                                                                                 ALPHARETTA         GA     30022      UNITED STATES                     CONTRACT_00067                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AYALA'S EARTHWORK SERVICES                     884 WALNUT DRIVE                                                                                                                          OXNARD             CA     93030      UNITED STATES                        VEN_647955         647955   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AYALA'S LANDSCAPE, MAINTENANCE & CLEANUP       884 WALNUT DRIVE                                                                                                                          OXNARD             CA     93030      UNITED STATES                        VEN_466863         466863   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AYSO REGION 21                                 13435 GLASGOW PLACE                                                                                                                       HAWTHORNE          CA     90250      UNITED STATES                        VEN_789419         789419   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AZ BANNERS                                     8321 E. VIRGINIA                                                                                                                          SCOTTSDALE         AZ     85257      UNITED STATES                        VEN_838541         838541   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AZ COUNTERTOPS, INC.                           1524 WEST BROOKS                                                                                                                          ONTARIO            CA     91762      UNITED STATES                     CONTRACT_00068                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AZAM, SHABBIER & SARA                          C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_DEL1100369_019             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
AZTEC LIGHTING                                 25 S. 48TH AVE                                                                                                                            PHOENIX            AZ     85043      UNITED STATES                     CONTRACT_00069        371135   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AZTEC PAVING, INC.                             9045 OLIVE DRIVE                                                                                                                          SPRING VALLEY      CA     91977      UNITED STATES                        VEN_818081         818081   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AZUSA LAND PARTNERS, LLC                       19 CORPORATE PLAZA DRIVE                                                                                                                  NEWPORT BEACH      CA     92660      UNITED STATES                     CONTRACT_00070          N/A    No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AZUSA LAND PARTNERS, LLC                       PLC AZUSA LAND INVESTMENT, LLC                  C/O PLC LAND COMPANY                    19 CORPORATE PLAZA DRIVE                          NEWPORT BEACH      CA     92660      UNITED STATES   949.729.1214      CONTRACT_00824                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AZUSA LIGHT & WATER                            PO BOX 7030                                                                                                                               ARTESIA            CA   90702-7030   UNITED STATES                        VEN_764895         764895   No   Vendor     Utilities         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
AZUSA LIGHT & WATER                            PO BOX 9500                                                                                                                               AZUSA              CA   91702-9500   UNITED STATES                        VEN_764908         764908   No   Vendor     Utilities         Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
B & F INDUSTRIES, INC.                         6340 MCLEOD DRIVE, SUITE 8                                                                                                                LAS VEGAS          NV     89120      UNITED STATES                     CONTRACT_00071        808704   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
B&L CLEANING SERVICE                           5 BOLINAS COURT                                                                                                                           SACRAMENTO         CA     95823      UNITED STATES                     CONTRACT_00072                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
B&L CLEANING SERVICE                           8698 ELK GROVE BLVD, SUITE 3301                                                                                                           ELK GROVE          CA     95624      UNITED STATES                      VEN_538476_B         538476   No   Vendor     Trade Payable     AP Aging Detail 11-22-11 Ver 2.xls                                     11/23/2011
B.G. ISRAEL CONSTRUCTION, INC.                 C/O DAVID E. DRISCOLL, ESQ.                     DRISCOLL & ASSOCIATES                   6960 MAGNOLIA AVENUE, SUITE #102                  RIVERSIDE          CA     92506      UNITED STATES                   CMSLITCA_365116_072              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
B.G. ISRAEL CONSTRUCTION, INC.                 C/O JOHN H. ISRAEL, AGENT                       2025 ELM COURT                                                                            ONTARIO            CA     91761      UNITED STATES                   CMSLITCA_365116_026              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BACA, JOSEPH                                   2322 JOSEPH DAMON CT.                                                                                                                     TRACY              CA     95377      UNITED STATES                      EMPT_NC_0278                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BACA, JOSEPH                                   C/O CRUM & FORSTER                              PO BOX 14217                                                                              ORANGE             CA     92872      UNITED STATES                  CMSLITCA_PZC00454178              No   Litigant   Undefined         Maintain Creditors                                                     11/23/2011
BACKFLOW APPARATUS & VALVE CO.                 20435 S. SUSANA RD.                                                                                                                       LONG BEACH         CA   90810-1136   UNITED STATES                        VEN_793733         793733   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BACKFLOW SOLUTIONS                             8780 19TH STREET, SUITE 289                                                                                                               RANCHO CUCAMONGA   CA     91701      UNITED STATES                        VEN_825483         825483   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BACKWAGE, INC.                                 DBA: FEDERAL WAGE & LABOR LAW INSTITUTE         7001 WEST 43RD STREET                                                                     HOUSTON            TX     77092      UNITED STATES                        VEN_627284         627284   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BACON, JAY                                     C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_005              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BACON, SHELLY                                  C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_006              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BADGER CONSTRUCTION CORP                       4810 EAST CARTIER AVE                                                                                                                     LAS VEGAS          NV     89115      UNITED STATES                     CONTRACT_00073        734186   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BAE, SUNG                                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                     SAN DIEGO          CA     92121      UNITED STATES                    CMSLITCA_96610_002              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BAKER & MCKENZIE, LLP                          ONE PRUDENTIAL PLAZA                            130 EAST RANDOLPH DRIVE, SUITE 3500                                                       CHICAGO            IL     60601      UNITED STATES   312.698.2031    CONTRACT_ANP_00005               No   Vendor     Contract - ANP    WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BAKER, BAKER & SON                             22201 FISHER ST.                                                                                                                          PERRIS             CA     92570      UNITED STATES                        VEN_543718         543718   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BAKER, JOHN & DONNA                            C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                  CMSLITCA_1103791_014              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BAKULICH, DEBRA                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_DEL1100369_081             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BAL, GURWANT & PARMUIT                         C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_DEL1100369_020             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BALINO, ROMULO & SUSANA                        C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145              NEWPORT BEACH      CA     92660      UNITED STATES                    CMSLITCA_92941_002              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BALLOON AFFAIR                                 8308 ATTICA DR.                                                                                                                           RIVERSIDE          CA     92508      UNITED STATES                        VEN_759261         759261   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BALLOONS GALORE                                PO BOX 2072                                                                                                                               RANCHO CORDOVA     CA     95741      UNITED STATES                        VEN_780254         780254   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BANISTER ELECTRICAL, INC.                      2532 VERNE ROBERTS CIRCLE                                                                                                                 ANTIOCH            CA     94509      UNITED STATES                     CONTRACT_00074                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BANK OF AMERICA                                265 FRANKLIN STREET 7TH FLOOR MAIL CODE MA1-225-07-04
                                                                                               ATTN KATHLEEN M. LUONGO                                                                   BOSTON             MA     02110      UNITED STATES                     CONTRACT_00075                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BANK OF AMERICA M.S.A.                         4490 VON KARMAN AVE                                                                                                                       NEWPORT BEACH      CA     92660      UNITED STATES                        VEN_835905         835905   No   Vendor     Bank              Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BANK OF AMERICA, N.A,.                         200 SOUTH COLLEGE STREET                                                                                                                  CHARLOTTE          NC     28255      UNITED STATES                     CONTRACT_00076                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BANK OF AMERICA, NA, AS TRUSTEE FOR THE        540 W MADISON ST                                                                                                                          CHICAGO            IL     60661      UNITED STATES                         UCC_007                    No   Vendor     UCC               WLH_UCC_To Load_10-25-2011.xlsx                                        10/25/2011
BANK OF THE WEST                               2527 CAMINO RAMON                                                                                                                         SAN RAMON          CA     94583      UNITED STATES                        VEN_686073         686073   No   Vendor     Bank              Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BANK OF THE WEST                               3000 OAK RD STE 400                                                                                                                       WALNUT CREEK       CA     94597      UNITED STATES                         UCC_009                    No   Vendor     UCC               WLH_UCC_To Load_10-25-2011.xlsx                                        10/25/2011
BANK OF THE WEST                               ATTN IRINA GALLEVA                              3000 OAK ROAD, SUITE 400                                                                  WALNUT CREEK       CA     94597      UNITED STATES                       VEN_MF_020                   No   Vendor     Bank              APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
BANK OF THE WEST                               CONSTRUCTION LOAN ADMINISTRATION                ATTN BETH DI RAMOS                      3000 OAK RD                             STE 400   WALNUT CREEK       CA     94597      UNITED STATES   925-933-6719        LENDER_002                   No   Lender     Secured Lenders   WLH_Secured Lenders_10-26-2011.xlsx                                    10/26/2011
BAR B QUE EXPRESS                              11822 BURKE ST.                                                                                                                           SANTA FE SPRINGS   CA     90670      UNITED STATES                        VEN_795211         795211   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BAR HARBOR'S NEWPORT COVE ASSOC.               PO BOX 348600                                                                                                                             SACRAMENTO         CA     95834      UNITED STATES                        VEN_819702         819702   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BARBOUR, CANDICE                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                CMSLITCA_CIVRS913725_044            No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BARBOUR, TROY                                  C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                CMSLITCA_CIVRS913725_043            No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BARKER, CHRISTOPHER & DARLENE                  C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                 CMSLITCA_CA1100369_012             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BARNES, POLLY                                  707 MARIGOLD AVENUE                                                                                                                       CORONA DEL MAR     CA     92625      UNITED STATES                      EMPT_SC_0277                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BARNETT, DWIGHT & KIM                          C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                 CMSLITCA_SCV26452_003              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BARTELL, KEVIN                                 4961 RIDGEWOOD                                                                                                                            PAHRUMP            NV     89061      UNITED STATES                      EMPT_NV_0273                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BARTOK CONTROLS, INC                           520C NORTH MAIN ST., #232                                                                                                                 HEBER CITY         UT     84032      UNITED STATES                       VEN_MF_021                   No   Vendor     Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
BARTOL, RICHARD                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                CMSLITCA_CIVRS913725_001            No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BARTOL, THERESA                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                   IRVINE             CA     92612      UNITED STATES                CMSLITCA_CIVRS913725_002            No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BASER, CRAIG                                   C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113                   BEVERLY HILLS      CA     90211      UNITED STATES                  CMSLITCA_20010042_006             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BASER, LAUREL                                  C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113                   BEVERLY HILLS      CA     90211      UNITED STATES                  CMSLITCA_20010042_007             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BASILE CONSTRUCTION, INC.                      7952 ARMOUR ST.                                                                                                                           SAN DIEGO          CA     92111      UNITED STATES                        VEN_816190         816190   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BASKIEWICZ, STANLEY                            3820 DART ST.                                                                                                                             PAHRUMP            NV     89060      UNITED STATES                      EMPT_MF_0341                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BASLERS FURNITURE                              1826 S. ARGONAUT STREET                                                                                                                   STOCKTON           CA     95208      UNITED STATES                        VEN_824341         824341   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BASSENIAN / LAGONI ARCHITECTS                  2031 ORCHARD DR., SUITE 100                                                                                                               NEWPORT BEACH      CA   92660-0753   UNITED STATES                     CONTRACT_00077                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BAUER, JEFFREY C. & LINDA                      C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                 CMSLITCA_CA1100369_013             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BAY AREA BARRICADE SVC, INC.                   1861 ARNOLD INDUSTRIAL WAY, #1                                                                                                            CONCORD            CA     94520      UNITED STATES                        VEN_541798         541798   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BAY AREA NEWS GROUP                            4000 EXECUTIVE PARKWAY, #200                                                                                                              SAN RAMON          CA     94583      UNITED STATES                        VEN_797566         797566   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BAY SHEET METAL, INC.                          PO BOX 21709                                                                                                                              EL CAJON           CA     92021      UNITED STATES                        VEN_432701         432701   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BAYPORT MORTGAGE, L.P.                         4490 VON KARMAN AVENUE                                                                                                                    NEWPORT BEACH      CA     92660      UNITED STATES                      AFFILIATE_022                 No   Vendor     Affiliate         Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
BEACH DRAPERY WHOLESALE MANUFACTURERS          16692 MILLIKEN AVENUE                                                                                                                     IRVINE             CA     92606      UNITED STATES                        VEN_226691         226691   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEACH REPORTER, INC.                           400 S. SEPULVEDA BLVD, SUITE 247                                                                                                          MANHATTAN BEACH    CA     90266      UNITED STATES                        VEN_819331         819331   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEACOM, KAREN                                  1234 E SANDRA TERRACE                                                                                                                     PHOENIX            AZ     85022      UNITED STATES                       EMP_AZ_0008                  No   Employee   Active            Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BEAR ROOFING, INC.                             C/O JIM GRIZZLE, AGENT                          5727 SORRELL HILLS                                                                        CHINO HILLS        CA     91709      UNITED STATES                 CMSLITCA_MC021755_017              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BEARCOM                                        PO BOX 200600                                                                                                                             DALLAS             TX   75320-0600   UNITED STATES                       VEN_MF_022                   No   Vendor     Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
BEAR'S PEST CONTROL                            PO BOX 1804                                                                                                                               PAHRUMP            NV     89041      UNITED STATES                     CONTRACT_00078        783421   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BEBLA, EMIL & YOLANDA                          C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                   CMSLITCA_173057_032              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BEE KEEPER                                     PO BOX 16604                                                                                                                              PHOENIX            AZ   85011-6604   UNITED STATES                        VEN_199152         199152   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEE MASTER OF LAS VEGAS                        PO BOX 620635                                                                                                                             LAS VEGAS          NV     89162      UNITED STATES                        VEN_489264         489264   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEHIND THE SCENE SOUNDS                        8447 MODENA WAY                                                                                                                           ELK GROVE          CA     95624      UNITED STATES                        VEN_825547         825547   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEHVAND, RAYMOND                               C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                   CMSLITCA_173057_020              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BEL MAR MAINTENANCE                            22950 ARLISS DR.                                                                                                                          GRAND TERRACE      CA     92313      UNITED STATES                        VEN_370061         370061   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BELDEN CONSULTING ENGINEERS                    6670 AMADOR PLAZA RD., SUITE 200                                                                                                          DUBLIN             CA     94568      UNITED STATES                     CONTRACT_00079                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BELFIORE REAL ESTATE CONSULTING                3930 E. RAY ROAD, SUITE 120                                                                                                               PHOENIX            AZ     85044      UNITED STATES                        VEN_790840         790840   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BELL, CHARLOTTE                                128 TORCHWOOD LANE                                                                                                                        LAS VEGAS          NV     89144      UNITED STATES                       EMP_NV_0009                  No   Employee   Active            Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BELL-JONES, CLAUDETTE                          C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_DEL1100369_021             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BELMAR MAINTENANCE SERVICES, INC.              22950 ARLISS DRIVE                                                                                                                        GRAND TERRACE      CA     92313      UNITED STATES                     CONTRACT_00080                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BEMUS LANDSCAPE, INC.                          3120 S. CRODDY WAY                                                                                                                        SANTA ANA          CA   92704-6346   UNITED STATES                        VEN_405251         405251   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BENCHMARK LANDSCAPE, INC.                      12575 STOWE DRIVE                                                                                                                         POWAY              CA     92064      UNITED STATES                        VEN_220652         220652   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BENDER, BRENDA                                 PO BOX 2643                                                                                                                               ORANGE             CA     92859      UNITED STATES                      EMPT_SC_0313                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BENDER, BRENDA J.                              PO BOX 2643                                                                                                                               ORANGE             CA   92859-0643   UNITED STATES                        VEN_715364         715364   No   Vendor     Employee          Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BENDER, PHILIP                                 C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113                   BEVERLY HILLS      CA     90211      UNITED STATES                  CMSLITCA_20010042_019             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BENETRAC                                       2251 SAN DIEGO AVE, SUITE A-150                                                                                                           SAN DIEGO          CA     92110      UNITED STATES                     CONTRACT_00081                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BENGTSON, MARIA                                8325 HYDRA LANE                                                                                                                           LAS VEGAS          NV     89128      UNITED STATES                       EMP_NV_0010                  No   Employee   Active            Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BENICIA PLUMBING                               PO BOX 1095                                     265 CHANNEL COURT                                                                         BENICIA            CA     94510      UNITED STATES                        VEN_229307         229307   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BENNETT, ANDREA                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_DEL1100369_022             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BENNETT, ARCHIE L. JR. & RHONDA R.             C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                 CMSLITCA_CA1100369_014             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BENSON SECURITY SYSTEMS, INC.                  2065 W. OBISPO AVE, SUITE 101                                                                                                             GILBERT            AZ     85233      UNITED STATES                     CONTRACT_00082        776271   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BERLOGAR GEOTECHNICAL CONSULTANTS              5587 SUNOL BLVD.                                                                                                                          PLEASANTON         CA     94566      UNITED STATES                        VEN_229315         229315   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BERLOGAR STEVENS & ASSOC. INC.                 5587 SUNOL BLVD.                                                                                                                          PLEASANTON         CA     94566      UNITED STATES                     CONTRACT_00084                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BERNARDINO, OSCAR V & JEAN P                   C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                    SANTA MONICA       CA     90405      UNITED STATES                 CMSLITCA_CA1100369_015             No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BERTS OFFICE TRAILER RENTALS                   1143 EAST MAIN ST.                                                                                                                        EL CAJON           CA     92021      UNITED STATES                     CONTRACT_00085        231837   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BERTZ, WILLIAM                                 1561 W. CHINA ST.                                                                                                                         PAHRUMP            NV     89048      UNITED STATES                      EMPT_MF_0380                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BEST APPROACH                                  2627 W. BIRCHWOOD CIRCLE, #2                                                                                                              MESA               AZ     85202      UNITED STATES                       VEN_MF_024                   No   Vendor     Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
BEST CUSTOM GARAGE COATINGS, INC.              3045 EDINGER AVE                                                                                                                          TUSTIN             CA     92780      UNITED STATES                        VEN_696992         696992   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEST, BEST & KRIEGER LLP                       PO BOX 1028                                                                                                                               RIVERSIDE          CA     92502      UNITED STATES                        VEN_829020         829020   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BETTER BUSINESS BUREAU OF PHOENIX              4428 NORTH 12TH STREET                                                                                                                    PHOENIX            AZ     85014      UNITED STATES                        VEN_445430         445430   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BETTER HOME SYSTEMS                            26895 ALISO CREEK RD., SUITE B528                                                                                                         ALISO VIEJO        CA     92656      UNITED STATES                     CONTRACT_00086                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BEUS GILBERT PLLC                              4800 NORTH SCOTTSDALE RD., STE. 6000                                                                                                      SCOTTSDALE         AZ   85251-7616   UNITED STATES                        VEN_413471         413471   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BEUTLER CORPORATION                            4700 LANG AVENUE                                                                                                                          MCCLELLAN          CA     95652      UNITED STATES                     CONTRACT_00087                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BEUTLER HEATING AND AIR CONDITIONING DBA       JEFFREY M. STARSKY, AGENT FOR SERVICE           4700 LANG AVENUE                                                                          MCCLELLAN          CA     95652      UNITED STATES                   CMSLITCA_260916_002              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BG ISRAEL CONSTRUCTION                         2025 ELM COURT                                                                                                                            ONTARIO            CA     91761      UNITED STATES                     CONTRACT_00088                 No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BHE MANAGEMENT                                 30011 IVY GLEN, #118                                                                                                                      LAGUNA NIGUEL      CA     92677      UNITED STATES                        VEN_533587         533587   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIA - BALDY VIEW CHAPTER                       8711 MONROE COURT, SUITE B                                                                                                                RANCHO CUCAMONGA   CA     91730      UNITED STATES                        VEN_335679         335679   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIA - BAY AREA                                 101 YGNACIO VALLEY RD.                                                                                                                    WALNUT CREEK       CA     94596      UNITED STATES                        VEN_829281         829281   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIA - ORANGE COUNTY CHAPTER                    17744 SKY PARK CIRCLE, SUITE 170                                                                                                          IRVINE             CA     92614      UNITED STATES                        VEN_390805         390805   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIA OF SAN DIEGO COUNTY                        9201 SPECTRUM CENTER BLVD, #110                                                                                                           SAN DIEGO          CA     92123      UNITED STATES                        VEN_227977         227977   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIA OF SOUTHERN CALIFORNIA                     17744 SKY PARK CIRCLE #170                                                                                                                IRVINE             CA     92614      UNITED STATES                        VEN_497483         497483   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIA/PAC                                        9201 SPECTRUM CENTER BLVD, #110                                                                                                           SAN DIEGO          CA     92123      UNITED STATES                        VEN_814573         814573   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIANCHI PLUMBING COMPANY, INC.                 707 ALDRIDGE RD., SUITE B                                                                                                                 VACAVILLE          CA     95688      UNITED STATES                        VEN_787211         787211   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIC'S COSMETIC PLUS                            19881 BROOKHURST, SUITE C-217                                                                                                             HUNTINGTON BEACH   CA     92646      UNITED STATES                        VEN_663701         663701   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIG HORN CONDOMINIUMS ASSOC.                   C/O VIERRA MOORE                                PO BOX 348600                                                                             SACRAMENTO         CA     95834      UNITED STATES                        VEN_669142         669142   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIG HORN MASTER ASSOC.                         C/O VIERRA MOORE                                PO BOX 348600                                                                             SACRAMENTO         CA     95834      UNITED STATES                        VEN_669151         669151   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIG MIKE'S PLUMBING                            268 WEST CLUSTER STREET                                                                                                                   SAN BERNARDINO     CA     92408      UNITED STATES                        VEN_818144         818144   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIG MOUNTAIN LAND CO LLC                       PO BOX 741                                                                                                                                STAR               ID     83669      UNITED STATES                     CONTRACT_00089        824350   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BILI COMMERCIAL CLEANING                       7632 RHONE LANE                                                                                                                           HUNTINGTON BEACH   CA     92647      UNITED STATES                     CONTRACT_00090        813984   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BILL HALL PHOTOGRAPHY                          444 S. TUSTIN ST., #H-3                                                                                                                   ORANGE             CA     92866      UNITED STATES                        VEN_684781         684781   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BILL’S LANDSCAPING, INC.                       C/O TINA L. SCHONEMAN, ESQ.                     BOHL, NIXON & SCHONEMAN                 2300 KNOLL DRIVE, SUITE #N                        VENTURA            CA     93003      UNITED STATES                 CMSLITCA_MC021755_038              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BILL’S LANDSCAPING, INC.                       C/O WILLIAM E. PURSLEY, AGENT                   42536 4TH STREET EAST                                                                     LANCASTER          CA     93535      UNITED STATES                 CMSLITCA_MC021755_018              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BILTMORE GRAPHICS                              15821 N. 79TH STREET, SUITE 1                                                                                                             SCOTTSDALE         AZ     85260      UNITED STATES                     CONTRACT_00091        426600   No   Vendor     Contract          WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BIOMECHANICAL CONSULTANTS OF CA                4626 SECOND STREET, SUITE 100                                                                                                             DAVIS              CA     95618      UNITED STATES                        VEN_831437         831437   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIRDS AWAY                                     2575 STANWELL DRIVE, SUITE 100                                                                                                            CONCORD            CA     94520      UNITED STATES                        VEN_435371         435371   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BISARRA, GENEROSA R.                           C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                ESQ.      & KRIGER                     1752 EAST AVENUE J, PMB 363                       LANCASTER          CA     93535      UNITED STATES                 CMSLITCA_MC021755_004              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BISARRA, NELSON M.                             C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                ESQ.      & KRIGER                     1752 EAST AVENUE J, PMB 363                       LANCASTER          CA     93535      UNITED STATES                 CMSLITCA_MC021755_003              No   Litigant   California        WLH Combo Litigation Load file.XLSX                                    10/27/2011
BISHOP-REINERTSON, REBA JO                     5730 ALFANO AVENUE                                                                                                                        PAHRUMP            NV     89061      UNITED STATES                      EMPT_NV_0254                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BISON BAY CAFE                                 1260 BISON AVE, SUITE D3                                                                                                                  NEWPORT BEACH      CA     92660      UNITED STATES                        VEN_798649         798649   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BIVINS, JAMIE                                  5120 GRAYSTONE                                                                                                                            PAHRUMP            NV     89061      UNITED STATES                      EMPT_MF_0377                  No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
BK ALLEN & ASSOCIATES, LLC                     1611 S. MELROSE DRIVE, SUITE A323                                                                                                         VISTA              CA     92081      UNITED STATES                        VEN_826654         826654   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BLACK MOUNTAIN RANCH LLC                       16010 CAMINO DEL SUR                                                                                                                      SAN DIEGO          CA     92127      UNITED STATES                        VEN_701675         701675   No   Vendor     Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
BLACK ZIERTEN, JUSTINE                         18568 GARNET LANE                                                                                                                         HUNTINGTON BCH     CA     92648      UNITED STATES                     EMPT_CORP_0328                 No   Employee   Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
                                                                                Case 11-14019-CSS                                                                             Doc 1-4          Filed 12/19/11                             Page 4 of 29

BLACK, JESSICA                                 635 BAKER ST.                                   APT. S102                                                                            COSTA MESA          CA     92626      UNITED STATES         EMP_SC_0011                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BLACK, JUSTINE                                 4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH       CA     92660      UNITED STATES           VEN_390815         390815   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLAKE, JOHN & SARAH                            C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO           CA     92121      UNITED STATES      CMSLITCA_96610_013               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BLAZONA CONCRETE CONSTRUCTION, INC.            525 HARBOR BLVD, SUITE 10                                                                                                            WEST SACRAMENTO     CA     95691      UNITED STATES           VEN_834275         834275   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLISS, HEATHER                                 13769 MANGO DR                                                                                                                       DEL MAR             CA     92014      UNITED STATES         EMP_SC_0012                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BLODGETT, KELLI                                3380 N JOANITA                                                                                                                       PAHRUMP             NV     89060      UNITED STATES         EMP_MF_0185                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BLOOM BIOLOGICAL, INC.                         12400 WILSHIRE BLVD, SUITE 1100                                                                                                      LOS ANGELES         CA     90025      UNITED STATES           VEN_822813         822813   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLOSSOM VALLEY CONSTRUCTION, INC.              PO BOX 611537                                                                                                                        SAN JOSE            CA     95161      UNITED STATES           VEN_435266         435266   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLS COMMUNICATIONS                             6146 N. 35TH AVE., SUITE D                                                                                                           PHOENIX             AZ   85017-1939   UNITED STATES       CONTRACT_00092         725440   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BLUE MOUNTAIN AIR, INC.                        707 ALDRIDGE ROAD, SUITE B                                                                                                           VACAVILLE           CA     95688      UNITED STATES           VEN_538484         538484   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLUE RIBBON STAIRS AND GATEWAY ACCEPTANCE      PO BOX 4053                                                                                                                          CONCORD             CA     94524      UNITED STATES       CONTRACT_00093                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BLUE RIBBON STAIRS, INC                        5860 ALDER AVENUE, SUITE 500                                                                                                         SACRAMENTO          CA   95828-1114   UNITED STATES           VEN_230480         230480   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLUE WAVE POOLS & SPAS                         3016 N. DOBSON RD., #17                                                                                                              CHANDLER            AZ     85224      UNITED STATES           VEN_522335         522335   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLUEWATER ENVIRONMENTAL SERVICES               2075 WILLIAMS ST.                                                                                                                    SAN LEANDRO         CA   94577-2305   UNITED STATES       CONTRACT_00094                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BLUNCK, DOUG                                   15373 INNOVATION DRIVE                          SUITE 380                                                                            SAN DIEGO           CA   92128-3415   UNITED STATES           VEN_417236         417236   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BLUNCK, DOUGLAS                                7753 CAMINITO ENCANTO                           #102                                                                                 CARLSBAD            CA     92009      UNITED STATES         EMP_SC_0013                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BOATMAN, DONNA                                 32 VISTA SOLE                                                                                                                        DANA POINT          CA     92629      UNITED STATES         EMP_SC_0014                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BOB MCGRANN CONSTRUCTION, INC.                 24492 OVERLAKE DR.                                                                                                                   LAKE FOREST         CA     92630      UNITED STATES           VEN_821360         821360   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BOB PALACIOS MASONRY                           87 WILDLIFE DR.                                                                                                                      SIMI VALLEY         CA     93065      UNITED STATES           VEN_252312         252312   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BODMAN, LLP                                    1901 S. ANTOINE ST.                             6TH FLOOR AT FORD FIELD                                                              DETROIT             MI     48226      UNITED STATES           VEN_825310         825310   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BOFA / MERRIL LYNCH MM                         4695 MACARTHUR COURT, SUITE 1600                                                                                                     NEWPORT BEACH       CA     92660      UNITED STATES           BANK_00014                  No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
BOGART, NANCY                                  1940 UPLAND AVENUE                                                                                                                   PAHRUMP             NV     89048      UNITED STATES         EMP_MF_0186                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BOHANNAN, CODY                                 930 MT. CHARLESTON                                                                                                                   PAHRUMP             NV     89048      UNITED STATES         EMPT_MF_0357                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BOKAIE ENGINEERING SOLUTIONS, INC.             20162 BIRCH STREET, SUITE 100                                                                                                        NEWPORT BEACH       CA     92660      UNITED STATES       CONTRACT_00095                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BOLAR HIRSCH & JENNINGS, LLP                   18101 VON KARMAN AVE, #1440                                                                                                          IRVINE              CA     92612      UNITED STATES           VEN_729782         729782   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BOLD ELECTRIC, INC.                            2760 PROSPECT STREET                                                                                                                 CORONA              CA     92881      UNITED STATES           VEN_231888         231888   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BONANZA BEVERAGE COMPANY                       6333 S. ENSWORTH ST.                                                                                                                 LAS VEGAS           NV     89119      UNITED STATES          VEN_MF_025                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
BOND BLACKTOP, INC.                            PO BOX 616                                                                                                                           UNION CITY          CA     94586      UNITED STATES           VEN_449932         449932   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BOND SAFEGUARD INSURANCE COMPANY               900 S. FRONTAGE RD, STE 250                                                                                                          WOODRIDGE           IL     60517      UNITED STATES            BOND_063                   No   Bondholder   Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx       10/27/2011
BO-NINE RANCH                                  PO BOX 1046                                                                                                                          SUN CITY            AZ     85372      UNITED STATES           VEN_693118         693118   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BO-NINE RANCH, LLC                             PO BOX 1046                                                                                                                          SUN CITY            AZ     85372      UNITED STATES       CONTRACT_00096         693118   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BOOKER, PAMELA                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES   CMSLITCA_DEL1100369_023             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BORM ASSOCIATES INC.                           20162 BIRCH ST., SUITE 100                                                                                                           NEWPORT BEACH       CA     92660      UNITED STATES           VEN_224354         224354   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BORRECCO/KILIAN & ASSOCIATES, INC.             1241 PINE STREET                                                                                                                     MARTINEZ            CA     94553      UNITED STATES       CONTRACT_00097                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BORTHWICK GUY BETTENHAUSEN INC. (BGB)          2444 DUPONT DRIVE                                                                                                                    IRVINE              CA     92612      UNITED STATES           VEN_826401         826401   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BOUDREAU PIPELINE CORPORATION                  130 KLUG CIRCLE                                                                                                                      CORONA              CA     92880      UNITED STATES           VEN_724594         724594   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BOULAY CONSTRUCTION                            2272 SIERRA MEADOWS DR., SUITE B                                                                                                     ROCKLIN             CA     95677      UNITED STATES       CONTRACT_00098                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BOYD'S TREE SERVICE                            PO BOX 20122                                                                                                                         SAN JOSE            CA     95160      UNITED STATES           VEN_822469         822469   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRADHURST, CAROL                               C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_CA1100369_016             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRADSHAW, ARTHUR L. & SAMANTHA                 C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_CA1100369_017             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRADY, JEFFREY                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_009            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRADY, JULIE                                   C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_010            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRAGG, PATRICK                                 1671 BOUNDARY PEAK                                                                                                                   LAS VEGAS           NV     89135      UNITED STATES         EMPT_NV_0317                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BRAND NEW HOMES.COM                            PO BOX 39                                                                                                                            CITRUS HEIGHTS      CA     95611      UNITED STATES           VEN_767164         767164   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRANHAM, MARK & JONI                           C/O ISRAEL E. GARCIA, ESQ.                      MILSTEIN, ADELMAN & KREGER, LLP         2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES     CMSLITCA_105271_001               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRAUNSTEIN, DOUGLAS                            270 PARK AVENUE                                                                                                                      NEW YORK            NY     10017      UNITED STATES             UCC_024                   No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                                 10/25/2011
BRAVO UNDERGROUND, INC.                        1183 CENTER POINT DRIVE                                                                                                              HENDERSON           NV     89074      UNITED STATES           VEN_515688         515688   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRAY, STEPHEN & CAROL                          C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES   CMSLITCA_DEL1100369_024             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRAZIER, KERMIT                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA     92612      UNITED STATES     CMSLITCA_1007968_007              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRENLAR INVESTMENTS, INC.                      DBA: FRANK HOWARD ALLEN                         1013 SECOND ST.                                                                      NOVATO              CA     94595      UNITED STATES           VEN_843219         843219   No   Vendor       Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx                       12/8/2011
BRENNAN APPRAISAL SERVICES                     2378 E. VIRGO PLACE                                                                                                                  CHANDLER            AZ     85249      UNITED STATES           VEN_219491         219491   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRENNAN ELECTRIC, INC.                         C/O ROBERT BRENNAN, AGENT                       460 SOUTH STODDARD AVENUE, SUITE#3                                                   SAN BERNARDINO      CA     92401      UNITED STATES    CMSLITCA_MC021755_019              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRENNAN ELECTRIC, INC.                         C/O TED M. LEE, ESQ./GEORGE B. TIHIN, ESQ.      LEE, BAZZO & NISHI, LLP                 2100 MAIN STREET, SUITE #400                 IRVINE              CA     92614      UNITED STATES    CMSLITCA_MC021755_039              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRENTWOOD REPROGRAPHICS                        3361 WALNUT BLVD, SUITE 130                                                                                                          BRENTWOOD           CA     94513      UNITED STATES           VEN_656190         656190   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRETT CHEBITHES                                PO BOX 7634                                                                                                                          NEWPORT BEACH       CA     92658      UNITED STATES           VEN_368657         368657   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BREWER METAL PRODUCTS                          497 EDISON COURT, SUITE C                                                                                                            FAIRFIELD           CA     94534      UNITED STATES           VEN_811111         811111   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIAN OLSON DBA: FURNITURE MEDIC               8988 SIERRA NEVADA WAY                                                                                                               ELK GROVE           CA     95624      UNITED STATES           VEN_819673         819673   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIAN OSCAR BARRY                              2376 TREMONT CT.                                                                                                                     BRENTWOOD           CA     94513      UNITED STATES           VEN_822135         822135   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIDGENET                                      20201 S. W. BIRCH STREET, SUITE 250                                                                                                  NEWPORT BEACH       CA     92660      UNITED STATES           VEN_525827         525827   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIDGESTONE GOLF, INC                          PO BOX 2908                                                                                                                          CAROL STREAM        IL   60132-2908   UNITED STATES          VEN_MF_026                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
BRIDLE CREEK HOA - 593                         C/O EUCLID MANAGEMENT COMPANY                   PO BOX 1510                                                                          UPLAND              CA     91785      UNITED STATES           VEN_745037         745037   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIGHT, GARTH                                  27481 COLDWATER DR                                                                                                                   SANTA CLARITA       CA     91354      UNITED STATES         EMP_SC_0015                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BRIGHT, GARTH                                  4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH       CA     92660      UNITED STATES           VEN_507240         507240   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIGHTCOVE, INC.                               PO BOX 83318                                                                                                                         WOBURN              MA   01813-3318   UNITED STATES           VEN_837118         837118   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRIMM, PAMELA                                  456 E. SAN CARLOS WAY                                                                                                                CHANDLER            AZ     85249      UNITED STATES          EMP_AZ_0016                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BRISON TRACTOR SERVICE                         2713 HUCKLEBERRY ROAD                                                                                                                SANTA ANA           CA     92706      UNITED STATES           VEN_224928         224928   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRITE LITE CLEANER, INC.                       1801 COZY CT.                                                                                                                        MODESTO             CA     95356      UNITED STATES           VEN_407775         407775   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRITT- BERNSTINE, MARCHELLE                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES   CMSLITCA_DEL1100369_025             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BROADRIDGE                                     PO BOX 416423                                                                                                                        BOSTON              MA   02241-6423   UNITED STATES           VEN_798227         798227   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRODY CHEMICAL                                 DEPT: 310                                       PO BOX 30078                                                                         SALT LAKE CITY      UT   84130-0078   UNITED STATES          VEN_MF_027                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
BROOKS BROS UTILITY CONTRACTORS, LLC           2050 E. FIFTH ST., #1                                                                                                                TEMPE               AZ     85281      UNITED STATES       CONTRACT_00099         822776   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BROOKS BROS. UTILITY CONTRACTORS, INC.         1532 E. INDIANOLA                                                                                                                    PHOENIX             AZ     85014      UNITED STATES           VEN_525131         525131   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BROOKS-FEWELL, RENICIA                         8853 CREEKSTONE                                                                                                                      ROSEVILLE           CA     95747      UNITED STATES         EMP_NC_0017                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BROUSSARD, CHERYL                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES   CMSLITCA_DEL1100369_026             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BROWN, MARLON & MICHELLE                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES   CMSLITCA_DEL1100369_027             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BROWN, STEVE                                   24122 CASTILLA LANE                                                                                                                  MISSION VIEJO       CA     92691      UNITED STATES         EMP_SC_0018                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BRUCON CONSTRUCTION                            7910 CAMINO DEL REY                                                                                                                  BONSALL             CA     92003      UNITED STATES           VEN_821731         821731   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRUNNER, MICHAEL STEVEN & ANN MARIE            C/O MICHAEL A. HEARN, ESQ. BROCK NELSON THOMPSON,
                                                                                               LAW ESQ.
                                                                                                    OFFICES OF MICHAEL A. HEARN        ONE POST, SUITE 200                          IRVINE              CA     92618      UNITED STATES     CMSLITCA_406014_001               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BRYAN CAVE LLP                                 PO BOX 503089                                                                                                                        SAINT LOUIS         MO   63150-3089   UNITED STATES           VEN_219387         219387   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BRYANT, DONNA                                  C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA     92612      UNITED STATES     CMSLITCA_1007968_008              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BT CONFERENCING, INC.                          DEPT CH 16650                                                                                                                        PALANTINE           IL   60055-6650   UNITED STATES           VEN_692502         692502   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUCILLA GROUP ARCHITECTURE                     19782 MACARTHUR BLVD, SUITE 270                                                                                                      IRVINE              CA     92612      UNITED STATES           VEN_758524         758524   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUCKMASTER IMAGING SYSTEMS                     PO BOX 34-8330                                                                                                                       SACRAMENTO          CA     95834      UNITED STATES           VEN_455822         455822   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUDGET ELECTRIC                                1204 HOLLY DRIVE                                                                                                                     TRACY               CA     95376      UNITED STATES       CONTRACT_00100                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BUI, TAM                                       800 GRIFFON CT.                                                                                                                      DANVILLE            CA     94583      UNITED STATES        EMP_CORP_0019                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BUILD IT GREEN                                 1434 UNIVERSITY AVE                                                                                                                  BERKELEY            CA     94702      UNITED STATES           VEN_825272         825272   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILD TOPIA, INC.                              155 GIBBS ST., SUITE 520                                                                                                             ROCKVILLE           MD     20850      UNITED STATES           VEN_804842         804842   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDER ADVISORS, LLC                          2712 E. PACIFIC COAST HWY, SUITE 101                                                                                                 CORONA DEL MAR      CA     92625      UNITED STATES           VEN_832499         832499   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDER DIGITAL EXPERIENCE, LLC                PO BOX 202747                                                                                                                        DALLAS              TX   75320-2747   UNITED STATES           VEN_819657         819657   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDER HOMESITE, INC.                         PO BOX 847905                                                                                                                        DALLAS              TX   75284-7905   UNITED STATES           VEN_797486         797486   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDERS DESIGN GROUP                          7350 DEAN MARTIN DRIVE, #310                                                                                                         LAS VEGAS           NV     89139      UNITED STATES       CONTRACT_00101         621907   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BUILDERS DIGITAL EXPERIENCE                    PO BOX 202747                                                                                                                        DALLAS              TX   75320-2747   UNITED STATES       CONTRACT_00102         819606   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BUILDERS DIGITAL EXPERIENCE, LLC               PO BOX 202747                                                                                                                        DALLAS              TX   75320-2747   UNITED STATES           VEN_819606         819606   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDERS MARKETING GROUP                       1151 POMONA ROAD, UNIT O                                                                                                             CORONA              CA     92882      UNITED STATES           VEN_718979         718979   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDERS POWER                                 PO BOX 37                                                                                                                            ORANGE              CA     92856      UNITED STATES           VEN_390839         390839   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDERS SHOWCASE INTERIORS                    9225 BROWN DEER ROAD                                                                                                                 SAN DIEGO           CA     92121      UNITED STATES       CONTRACT_00103                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BUILDERS SHOWCASE INTERIORS OF NEVADA          9225 BROWN DEER ROAD                                                                                                                 SAN DIEGO           CA     92121      UNITED STATES       CONTRACT_00104         242624   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BUILDERS SITE PROTECTION                       1340 SPECIALTY DR., SUITE F                                                                                                          VISTA               CA     92081      UNITED STATES           VEN_798201         798201   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDERS SOURCE                                333 N. DOBSON RD., SUITE 5                                                                                                           CHANDLER            AZ     85224      UNITED STATES           VEN_255716         255716   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUILDERS TERMITE & PEST CONTROL, INC.          3921 E. LA PALMA AVE, SUITE I                                                                                                        ANAHEIM             CA     92807      UNITED STATES       CONTRACT_00105                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BULONE, LUCIA                                  4881 CASTELLO WAY                                                                                                                    PAHRUMP             NV     89061      UNITED STATES         EMPT_MF_0364                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BURDEN, PHILIP                                 5510 E CARRARA POINTE                                                                                                                PAHRUMP             NV     89061      UNITED STATES         EMP_MF_0187                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BUREAU OF WATER POLLUTION CONTROL              901 S. STEWART STREET, SUITE 4001                                                                                                    CARSON CITY         NV   89701-5249   UNITED STATES           VEN_321040         321040   No   Vendor       Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BURGES, SUSAN                                  C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH       CA     92660      UNITED STATES      CMSLITCA_92941_003               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BURKE ENGINEERING CO.                          9700 FACTORIAL WY                                                                                                                    SOUTH EL MONTE      CA   91733-1799   UNITED STATES          VEN_MF_028                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
BURKE, JONATHAN                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA     92612      UNITED STATES     CMSLITCA_1007968_009              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BURKE, RONALD                                  1850 PERSHING AVENUE                                                                                                                 PAHRUMP             NV     89048      UNITED STATES         EMPT_MF_0333                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BURKE, YVETTE                                  C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA     92612      UNITED STATES     CMSLITCA_1007968_010              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
BURNS PACIFIC CONSTRUCTION, INC.               505 E. THOUSAND OAKS BLVD.                                                                                                           THOUSAND OAKS       CA     91360      UNITED STATES           VEN_801975         801975   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BURNS, BARRY                                   724 W. CURRY                                                                                                                         CHANDLER            AZ     85225      UNITED STATES          EMP_AZ_0021                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BURNS, TAMMY                                   4238 E. DOUGLAS AVE                                                                                                                  GILBERT             AZ     85234      UNITED STATES          EMP_AZ_0020                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
BURROW'S CONCRETE, LLC                         4022 W. LINCOLN                                                                                                                      PHOENIX             AZ     85009      UNITED STATES       CONTRACT_00106         238035   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
BURSON CONCRETE CONTRACTORS                    6511 COLUMBUS AVE.                                                                                                                   RIVERSIDE           CA     92504      UNITED STATES           VEN_319206         319206   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BURTECH PIPELINE, INC.                         102 SECOND ST.                                                                                                                       ENCINITAS           CA   92024-3203   UNITED STATES           VEN_259178         259178   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUSINESS SYSTEMS CORPORATION                   1901 NANCITA CIRCLE                                                                                                                  PLACENTIA           CA     92870      UNITED STATES           VEN_219432         219432   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUSINESS WIRE                                  ATTN: ACCOUNTS RECEIVABLE                       PO BOX 39000, DEPT. 34182                                                            SAN FRANCISCO       CA     94139      UNITED STATES           VEN_296956         296956   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUSTAMANTE O'HARA & GAGLIASSO                  333 W. SAN CARLOS ST., SUITE 800                                                                                                     SAN JOSE            CA     95110      UNITED STATES           VEN_538767         538767   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BUSY B'S LOCK AND SAFE                         2654 HAMNER AVE                                                                                                                      CORONA              CA     92860      UNITED STATES           VEN_719251         719251   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
BYRD, GERALD                                   1264 OPERETTA WAY                                                                                                                    LAS VEGAS           NV     89119      UNITED STATES         EMP_NV_0022                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
C & R SYSTEMS, INC.                            1835 CAPITAL ST.                                                                                                                     CORONA              CA     92880      UNITED STATES           VEN_221891         221891   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C & S MATERIAL SPECIALIST, INC.                10311 LOS ALAMITOS BLVD                                                                                                              LOS ALAMITOS        CA     90720      UNITED STATES           VEN_231950         231950   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C & S MATTING                                  271 OTT STREET, SUITE 21                                                                                                             CORONA              CA     92882      UNITED STATES           VEN_580640         580640   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C&H CONCRETE LLC DBA CORONADO CONCRETE         5620 STEPHANIE ST.                                                                                                                   LAS VEGAS           NV   89122-0200   UNITED STATES       CONTRACT_00107         609078   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
C&S INC                                        4210 KIERNAN AVE                                                                                                                     MODESTO             CA     95356      UNITED STATES           VEN_390991         390991   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C&S PIPELINE INC.                              201 N. KINETIC DRIVE                                                                                                                 OXNARD              CA     93030      UNITED STATES           VEN_454379         454379   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C&S SWEEPING SERVICES                          PO BOX 24479                                                                                                                         PHOENIX             AZ     85074      UNITED STATES           VEN_196568         196568   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C. APARICIO CEMENT CONTRACTOR, INC.            506 PHELAN AVENUE                                                                                                                    SAN JOSE            CA     95112      UNITED STATES           VEN_470475         470475   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C. DAVID MCVAY SCHOOL                          3412 E. DUNLAP COURT                                                                                                                 PHOENIX             AZ     85028      UNITED STATES       CONTRACT_00108         695375   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
C. L. QUINN EXECUTIVE SEARCH                   5010 CAMPUS DRIVE, SUITE 100                                                                                                         NEWPORT BEACH       CA     92660      UNITED STATES           VEN_423046         423046   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C. STAGNER ENTERPRISES                         PO BOX 2772                                                                                                                          MISSION VIEJO       CA     92690      UNITED STATES           VEN_390598         390598   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C.A. SKYHOOK, INC.                             4149 CARTAGENA DRIVE, SUITE B                                                                                                        SAN DIEGO           CA     92115      UNITED STATES           VEN_711937         711937   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C.L. RIDGEWAY CONSTRUCTION LP                  2450 W. POPPY AVENUE                                                                                                                 TUCSON              AZ     85704      UNITED STATES           VEN_463179         463179   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
C.W. CONSTRUCTION, INC.                        8380 MAPLE PLACE, STE. 100                                                                                                           RANCHO CUCAMONGA    CA     91730      UNITED STATES       CONTRACT_00109                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
C2 REPROGRAPHICS                               3180 PULLMAN ST                                                                                                                      COSTA MESA          CA     92626      UNITED STATES           VEN_517165         517165   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CABINETEC, INC.                                2711 E. CRAIG RD., SUITE A&B                                                                                                         N. LAS VEGAS        NV     89030      UNITED STATES           VEN_689848         689848   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CABINETS 2000, INC.                            11100 FIRESTONE BLVD.                                                                                                                NORWALK             CA     90650      UNITED STATES       CONTRACT_00110                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CABLE AND CONNECTIVITY SOLUTIONS               4721 HASTINGS PLACE                                                                                                                  LAKE OSWEGO         OR     97035      UNITED STATES           VEN_820480         820480   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CABLE JR., WADE                                1 PINEHURST LANE                                                                                                                     NEWPORT BEACH       CA     92660      UNITED STATES       EMPT_CORP_0257                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CABRAL CHRYSLER JEEP DODGE                     PO BOX 2186                                                                                                                          MANTECA             CA     95336      UNITED STATES           VEN_834486         834486   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CABUGAO, JESSIE & AURORA                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA     90405      UNITED STATES   CMSLITCA_DEL1100369_092             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAGLE, MICKEY                                  2421 THOUSANDAIRE BLVD                                                                                                               PAHRUMP             NV     89048      UNITED STATES         EMP_MF_0188                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CAHILL, JOHN & CINTHIA SPEARS                  C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO           CA     92121      UNITED STATES      CMSLITCA_96610_031               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAINE & WEINER COMPANY, INC.                   PO BOX 5010                                                                                                                          WOODLAND HILLS      CA   91365-5010   UNITED STATES           VEN_827657         827657   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAJUDOY, NELSON                                480 E. HICKORY                                                                                                                       PAHRUMP             NV     89048      UNITED STATES         EMPT_MF_0342                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CAL BANK & TRUST-TAX                           1900 MAIN ST., SUITE 200                                                                                                             IRVINE              CA     92614      UNITED STATES           BANK_00015                  No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
CAL COAST INSPECTION & TESTING                 28630 MT. SHASTA DRIVE                                                                                                               RANCHO PALOS VERDES CA     90275      UNITED STATES       CONTRACT_00111                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CALAVERA HILLS II, LLC                         12865 POINTE DEL MAR, SUITE 200                                                                                                      DEL MAR             CA     92014      UNITED STATES           VEN_833782         833782   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALDWELL, CHARLES                              2585 W. OAKLAND ST.                                                                                                                  CHANDLER            AZ     85224      UNITED STATES          EMP_AZ_0023                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CALIFORNIA BANK & TRUST                        1900 MAIN ST., SUITE 200                                                                                                             IRVINE              CA     92615      UNITED STATES           BANK_00002                  No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
CALIFORNIA BANK & TRUST                        ATTENTION: HELENA MCARRON                       1900 MAIN STREET, SUITE 200                                                          IRVINE              CA     92614      UNITED STATES           VEN_421260         421260   No   Vendor       Bank                Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA BANK & TRUST                        ATTN JAKE LEHMKUHL                              1900 MAIN ST., SUITE 200                                                             IRVINE              CA     92614      UNITED STATES       CONTRACT_00113                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CALIFORNIA CAPITAL INSURANCE                   2300 GARDEN ROAD                                                                                                                     MONTEREY            CA   93940-5326   UNITED STATES       CONTRACT_00114                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CALIFORNIA CHAMBER OF COMMERCE                 1332 N. MARKET BLVD                                                                                                                  SACRAMENTO          CA     95834      UNITED STATES           VEN_285801         285801   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA DEPARTMENT OF FISH AND GAME         PO BOX 47                                                                                                                            YOUNTVILLE          CA     94599      UNITED STATES           VEN_346773         346773   No   Vendor       Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA EQUITY FUNDING, INC.                4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH       CA     92660      UNITED STATES           ENTITY_001                  No   Vendor       Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                              10/27/2011
CALIFORNIA LIVING & ENERGY                     3015 DALE COURT                                                                                                                      CERES               CA     95307      UNITED STATES           VEN_534432         534432   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA MANTEL INC.                         PO BOX 340037                                                                                                                        SACRAMENTO          CA   95834-0037   UNITED STATES           VEN_229391         229391   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA NATIONAL BANK, A NATIONAL BANKING   221 S FIGUEROA ST 3RD FL                                                                                                             LOS ANGELES         CA   90012-2552   UNITED STATES             UCC_001                   No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                                 10/25/2011
CALIFORNIA POOLS & SPAS                        1660 S. ALMA SCHOOL RD. #122                                                                                                         MESA                AZ     85210      UNITED STATES           VEN_378100         378100   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA PREMIER ROOFSCAPES, INC.            PO BOX 460267                                                                                                                        ESCONDIDO           CA     92046      UNITED STATES       CONTRACT_00115                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CALIFORNIA QUIVERS, INC.                       5284 EASTGATE MALL                                                                                                                   SAN DIEGO           CA     92121      UNITED STATES           VEN_679981         679981   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
                                                                               Case 11-14019-CSS                                                                            Doc 1-4           Filed 12/19/11                              Page 5 of 29

CALIFORNIA ROOF SERVICES, INC.                PO BOX 460412                                                                                                                       ESCONDIDO             CA   92046-0412   UNITED STATES          VEN_805491             805491          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA SANITATION LLC                     PO BOX 2732                                                                                                                         POMONA                CA     91769      UNITED STATES          VEN_743269             743269          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA SOCIETY OF CPAS                    PO BOX 44437                                                                                                                        SAN FRANCISCO         CA     94144      UNITED STATES          VEN_272479             272479          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA SOLAR AND PLUMBING                 65 W. EASY STREET, SUITE 103                                                                                                        SIMI VALLEY           CA     93065      UNITED STATES          VEN_566012             566012          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA STATE FRANCHISE TAX BOARD          PO BOX 942857                                                                                                                       SACRAMENTO            CA   94257-0531   UNITED STATES          VEN_219854             219854          No   Vendor       Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA SUB-METERS                         5858 MT. ALIFAN DRIVE, STE. 110                                                                                                     SAN DIEGO             CA     92111      UNITED STATES          VEN_280410             280410          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA VINYL FENCE CO.                    30579 COCHRANE STREET                                                                                                               HIGHLAND              CA     92346      UNITED STATES          VEN_823285             823285          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALIFORNIA WALLBOARD, INC.                    C/O DANIEL LARKIN, AGENT                        42556 8TH STREET EAST                                                               LANCASTER             CA     93535      UNITED STATES    CMSLITCA_MC021755_020                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CALIFORNIA WALLBOARD, INC.                    C/O TINA L. SCHONEMAN, ESQ.                     BOHL, NIXON & SCHONEMAN                2300 KNOLL DRIVE, SUITE #N                   VENTURA               CA     93003      UNITED STATES    CMSLITCA_MC021755_040                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CALL SOURCE                                   PO BOX 60280                                                                                                                        LOS ANGELES           CA   90060-0280   UNITED STATES          VEN_779835             779835          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALLAWAY BY PUKKA                             PO BOX 1427                                                                                                                         LIMA                  OK     45802      UNITED STATES         VEN_MF_029                              No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
CALLAWAY GOLF                                 PO BOX 9002                                                                                                                         CARLSBAD              CA   92018-9002   UNITED STATES         VEN_MF_030                              No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
CAL-SWIM AQUATIC SERVICES, INC                PO BOX 1647                                                                                                                         CHINO                 CA     91708      UNITED STATES          VEN_390848             390848          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CALUB, REYNALDO & VICTORIA                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_028                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAL-WEST LANDSCAPE                            138 NORTH DRIVE                                                                                                                     NORCO                 CA   92860-1637   UNITED STATES       CONTRACT_00116            436921          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAL-WEST MAINTENANCE                          138 NORTH DRIVE                                                                                                                     NORCO                 CA     92860      UNITED STATES       CONTRACT_00117                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAL-WEST NURSERIES, INC.                      138 NORTH DRIVE                                                                                                                     NORCO                 CA   92860-1637   UNITED STATES          VEN_390849             390849          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAL-WEST NURSERIES, INC.                      C/O KEVIN P. KENNEDY, ESQ.                      KENNEDY & SOUZA                        1230 COLUMBIA STREET, SUITE #600             SAN DIEGO             CA     92101      UNITED STATES     CMSLITCA_365116_074                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAL-WEST NURSERIES, INC.                      C/O MICHAEL E. WHITING, AGENT                   138 NORTH DRIVE                                                                     NORCO                 CA     92860      UNITED STATES     CMSLITCA_365116_028                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAL-WEST NURSERIES, INC.                      C/O NORA BOARDMAN, ESQ.                         LAW OFFICES OF MARC JENNINGS           1551 NORTH TUSTIN AVENUE, SUITE #100         SANTA ANA             CA     92705      UNITED STATES     CMSLITCA_365116_029                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CALZADA, GILBERT                              C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                               ESQ.      & KRIGER                    1752 EAST AVENUE J, PMB 363                  LANCASTER             CA     93535      UNITED STATES    CMSLITCA_MC021755_001                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CALZADA, LISETTE                              C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                               ESQ.      & KRIGER                    1752 EAST AVENUE J, PMB 363                  LANCASTER             CA     93535      UNITED STATES    CMSLITCA_MC021755_002                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAM GUARD                                     2175 S. MILLIKEN AVE                                                                                                                ONTARIO               CA     91761      UNITED STATES       CONTRACT_00118            617676          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAMBRIDGE LANE AT COLUMBUS GROVE ASSOC.       30011 IVY GLEN, #118                                                                                                                LAGUNA NIGUEL         CA     92677      UNITED STATES          VEN_782946             782946          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAMBRUZZI, CARLA                              3030 W GALLY RD                                                                                                                     PAHRUMP               NV     89060      UNITED STATES         EMP_MF_0189                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CAMINO CONSTRUCTORS & CONSULTING              3620 N. RANCHO DR., SUITE 104                                                                                                       LAS VEGAS             CA     89130      UNITED STATES          VEN_513754             513754          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAMINO CONSTRUCTORS, LLC                      PO BOX 570818                                                                                                                       LAS VEGAS             NV   89157-0818   UNITED STATES       CONTRACT_00119            513754          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAMPBELL CONCRETE OF NEVADA, INC.             5201 SOUTH POLARIS                                                                                                                  LAS VEGAS             NV     89118      UNITED STATES          VEN_330780             330780          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAMPBELL CONCRETE, INC.                       5201 SOUTH POLARIS                                                                                                                  LAS VEGAS             NV     89118      UNITED STATES          VEN_190246             190246          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAMPBELL, REGGIE & ARNICE                     C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_029                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAMPTON, HELENE                               5741 KENS PL.                                                                                                                       PAHRUMP               NV     89060      UNITED STATES        EMPT_NV_0255                             No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CANAAN, APRIL                                 C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_1103791_001                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CANELA HOA                                    C/O PROFESSIONAL COMMUNITY MANAGEMENT           23726 BIRTCHER DRIVE                                                                LAKE FOREST           CA     92630      UNITED STATES          VEN_774241             774241          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CANNISTRACI LANDSCAPE DESIGN                  4620 EAST MORADA LANE                                                                                                               STOCKTON              CA     95212      UNITED STATES          VEN_390858             390858          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CANNOK, DEBBIE                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS         CA     90211      UNITED STATES    CMSLITCA_20010042_025                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CANOPY LANE ASSOCIATION                       4490 VON KARMAN AVE                                                                                                                 NEWPORT BEACH         CA     92660      UNITED STATES           BOND_001                              No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx       10/27/2011
CANTRELL, KIM                                 17732 SEMINOLE WAY                                                                                                                  YORBA LINDA           CA     92886      UNITED STATES          VEN_704711             704711          No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CANTRELL, KIMBERLEY                           17732 SEMINOLE WAY                                                                                                                  YORBA LINDA           CA     92886      UNITED STATES       EMP_CORP_0024                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CANYON CONCRETE, INC.                         1410 E. MANSE RD.                                                                                                                   PAHRUMP               NV     89048      UNITED STATES          VEN_643321             643321          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CANYON PLUMBING, INC.                         4115 W. BELL DRIVE                                                                                                                  LAS VEGAS             NV     89118      UNITED STATES       CONTRACT_00120            785944          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CANYON PLUMBING, LLC                          4115 W. BELL                                                                                                                        LAS VEGAS             NV   89118-1793   UNITED STATES         VEN_MF_031                              No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
CANYON STATE OIL MAXUM PETROLEUM COMPANY      PO BOX 18988                                                                                                                        PHOENIX               AZ     85005      UNITED STATES         VEN_MF_032                              No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
CAPACITY CONSTRUCTION, INC.                   PO BOX 420040                                                                                                                       SAN DIEGO             CA   92142-0040   UNITED STATES       CONTRACT_00121                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAPITAL CABINETS CORP.                        1435 S. CUCAMONGA AVE                                                                                                               ONTARIO               CA     91761      UNITED STATES          VEN_190473             190473          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAPITAL DRYWALL, INC.                         C/O MARC S. HINES, ESQ., AGENT                  3080 BRISTOL STREET, SUITE #540                                                     COSTA MESA            CA     92626      UNITED STATES     CMSLITCA_365116_030                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAPITAL DRYWALL, INC.                         C/O MARC S. HINES, ESQ./SCOTT M. HALBERSTADT, ESQ.
                                                                                              HINES, SMITH, CARTER, DINCEL, BLAND    3080 BRISTOL STREET, SUITE #540              COSTA MESA            CA     92626      UNITED STATES     CMSLITCA_365116_075                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAPITAL DRYWALL, LP                           2345 W. FOOTHILL BLVD, SUITE 10                                                                                                     UPLAND                CA     91786      UNITED STATES        VEN_390860_B             390860          No   Vendor       Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                              11/23/2011
CAPITAL DRYWALL, LP                           2982 MOMENTUM PLACE                                                                                                                 CHICAGO               IL   60689-5329   UNITED STATES       CONTRACT_00122                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAPITOL COMPLIANCE                            2351 SUNSET BLVD, SUITE 170                                                                                                         ROCKLIN               CA     95765      UNITED STATES          VEN_518029             518029          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAPITOL UTILITY SPECIALISTS                   1989 SHEFFIELD DRIVE                                                                                                                EL DORADO HILLS       CA     95762      UNITED STATES          VEN_819366             819366          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAPO VALLEY FIRESIDE                          26401 VIA DE ANZA                                                                                                                   SAN JUAN CAPISTRANO   CA     92675      UNITED STATES       CONTRACT_00123                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAPTURE CAM MONITORING SYSTEMS                14275 N. 87TH ST.                                                                                                                   SCOTTSDALE            AZ     85260      UNITED STATES       CONTRACT_00124            744018          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAPTURE CAM MONITORING SYSTEMS LLC            14275 N. 87TH ST.                                                                                                                   SCOTTSDALE            AZ     85260      UNITED STATES          VEN_744018             744018          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAR QUEST                                     1301 E. CALVADA BLVD                                                                                                                PAHRUMP               NV     89048      UNITED STATES         VEN_MF_033                              No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
CARBAJAL, GUADALUPE                           1732 W. SAINT ANNE PL.                                                                                                              SANTA ANA             CA     92704      UNITED STATES       EMP_CORP_0025                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CARBONIC SERVICE, INC.                        1920 DE LA CRUZ BLVD                                                                                                                SANTA CLARA           CA     95052      UNITED STATES            UCC_011                              No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                                 10/25/2011
CARDENAS AND COX 2000                         10621 BLOOMFIELD ST., SUITE 1                                                                                                       LOS ALAMITOS          CA     90720      UNITED STATES          VEN_490880             490880          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CARDOSO, CATHY                                1741 NELSON STREET                                                                                                                  SAN LEANDRO           CA     94579      UNITED STATES        EMPT_NC_0298                             No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CARE DYNAMIX, LLC DBA FLU BUSTERS             235 HEMBREE PARK DR., SUITE 300                                                                                                     ROSWELL               GA     30076      UNITED STATES          VEN_795536             795536          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CAREER BUILDER, LLC                           13047 COLLECTION CENTER DRIVE                                                                                                       CHICAGO               IL     60693      UNITED STATES       CONTRACT_00125                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CARESCAPE, INC.                               13370 W. FOXFIRE DR., SUITE 101                                                                                                     SURPRISE              AZ     85374      UNITED STATES       CONTRACT_00126            672739          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CARL BURCHARD                                 5500 GOLDBRUSH ST.                                                                                                                  LAS VEGAS             NV     89130      UNITED STATES          VEN_796011             796011          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CARL WARREN & COMPANY                         PO BOX 25180                                                                                                                        SANTA ANA             CA     92799      UNITED STATES          VEN_678954             678954          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CARLSBAD CHAMBER OF COMMERCE                  5934 PRIESTLY DRIVE                                                                                                                 CARLSBAD              CA     92008      UNITED STATES          VEN_815681             815681          No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CARLSON, BARBEE & GIBSON, INC.                6111 BOLLINGER CANYON RD. #150                                                                                                      SAN RAMON             CA     94583      UNITED STATES       CONTRACT_00127                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CARRERA DRYWALL                               3972 BARBURY PALMS WAY                                                                                                              PERRIS                CA     92511      UNITED STATES          VEN_662320             662320          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CASEY'S CAMPUS CAFE                           4311 JAMBOREE RD.                                                                                                                   NEWPORT BEACH         CA     92660      UNITED STATES          VEN_690398             690398          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CASSLE DOOR CO., INC.                         1236 RENO AVE.                                                                                                                      MODESTO               CA     95351      UNITED STATES          VEN_381085             381085          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CATALINA PACIFIC UNDERGROUND, INC.            214 MAIN STREET, #444                                                                                                               EL SEGUNDO            CA     90245      UNITED STATES       CONTRACT_00128                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CATALINA ROOFING & SUPPLY, INC.               2021 W. WILLIAMS DR.                                                                                                                PHOENIX               AZ     85027      UNITED STATES       CONTRACT_00129            675155          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
CAUTHRON, BLAINE                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES     CMSLITCA_1007968_011                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAUTHRON, TARA                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES     CMSLITCA_1007968_012                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
CAVALIERI, JOSEPH                             1891 E GAMEBIRD RD                                                                                                                  PAHRUMP               NV     89048      UNITED STATES         EMP_MF_0190                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CAZIER, BRYAN                                 2336 W. HORSETAIL TRAIL                                                                                                             PHOENIX               AZ     85085      UNITED STATES         EMP_AZ_0026                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
CB&T - GENERAL                                1900 MAIN ST., SUITE 200                                                                                                            IRVINE                CA     92618      UNITED STATES          BANK_00005                             No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
CBIA                                          1215 ""K"" STREET, SUITE 1200                                                                                                       SACRAMENTO            CA     95814      UNITED STATES          VEN_390870             390870          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CBIA - CMBC                                   1215 ""K"" STREET, SUITE 1200                                                                                                       SACRAMENTO            CA     95814      UNITED STATES          VEN_750039             750039          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CBS OUTDOOR                                   PO BOX 33074                                                                                                                        NEWARK                NJ   07188-0074   UNITED STATES          VEN_706134             706134          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CBS PING                                      7007 COLLEGE BLVD, STE 700                                                                                                          OVERLAND PARK         KS     66211      UNITED STATES         VEN_MF_034                              No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
CBT - GENERAL                                 1900 MAIN ST., SUITE 200                                                                                                            IRVINE                CA     92614      UNITED STATES          BANK_00012                             No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
CBT - WARRANTY                                1900 MAIN ST., SUITE 200                                                                                                            IRVINE                CA     92614      UNITED STATES          BANK_00013                             No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
CBT WLH FBO ULLICO                            1900 MAIN ST., SUITE 200                                                                                                            IRVINE                CA     92614      UNITED STATES          BANK_00018                             No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
CCH INCORPORATED                              PO BOX 4307                                                                                                                         CAROL STREAM          IL   60197-4307   UNITED STATES          VEN_696239             696239          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CCM ENTERPRISES                               10848 WHEATLANDS AVE                                                                                                                SANTEE                CA     92071      UNITED STATES          VEN_571049             571049          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
CCPI, INC. FKA CENTURY CAST PRODUCTS, INC.,
                                              LOUIS GARASI                                   25636 AVENUE STANFOR                                                                 VALENCIA              CA     91355      UNITED STATES     CMSLITCA_1103527_028                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
AND FORMERLY DBA CENTURY MARBLE.
CCS CARRERA CONSTRUCTION SERVICES, INC.       3972 BARBURY PALMS WAY                                                                                                              PERRIS                CA     92571      UNITED STATES          VEN_842048             842048          No   Vendor       Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                            11/23/2011
CCT JANITORIAL, INC.                          1134 ASTER AVE., SUITE J                                                                                                            SUNNYVALE             CA     94086      UNITED STATES       CONTRACT_00130                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CDR CONCRETE, INC.                            C/O JACQUELINE F. STEIN, ESQ.                   FREDRICKSON, MAZEIKA & GRANT, LLP      5720 OBERLIN DRIVE                           SAN DIEGO             CA     92121      UNITED STATES     CMSLITCA_365116_073                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CDR CONCRETE, INC.                            C/O MARC S. HINES, ESQ., AGENT                  3080 BRISTOL STREET, SUITE #540                                                     COSTA MESA            CA     92626      UNITED STATES     CMSLITCA_365116_027                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CDR CONCRETE, INC.                            PO BOX 708                                                                                                                          ANAHEIM               CA   92815-0708   UNITED STATES          VEN_390872             390872          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CDW COMPUTER CENTERS, INC.                    PO BOX 75723                                                                                                                        CHICAGO               IL   60675-5723   UNITED STATES          VEN_459621             459621          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CED                                           860 S. MARGARET ST.                                                                                                                 PAHRUMP               NV     89048      UNITED STATES          VEN_MF_035                             No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                        10/20/2011
CELL-CRETE CORPORATION                        135 E. RAILROAD AVE.                                                                                                                MONROVIA              CA   91016-4652   UNITED STATES       CONTRACT_00131                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CELLPHONE BATTERY WAREHOUSE                   1020 WHISPERING PINES LANE, SUITE F                                                                                                 GRASS VALLEY          CA     95945      UNITED STATES          VEN_804341             804341          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CEN CAL PLASTERING INC.                       1256 W. LATHROP RD.                                                                                                                 MANTEC                CA     95336      UNITED STATES          VEN_831656             831656          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTRAL ARIZONA GROUNDWATER REPLENISHMEN      PO BOX 43020                                                                                                                        PHOENIX               AZ   85080-3020   UNITED STATES          VEN_551793             551793          No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTRAL ARIZONA PROJECT                       PO BOX 42447                                                                                                                        PHOENIX               AZ   85080-2447   UNITED STATES          VEN_581511             581511          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTRAL PRINTERS                              821 E. LA HABRA BLVD.                                                                                                               LA HABRA              CA     90631      UNITED STATES          VEN_229358             229358          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTRAL VALLEY INSULATION                     3588 S. VALLEY VIEW                                                                                                                 LAS VEGAS             NV     89103      UNITED STATES          VEN_643313             643313          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTURY 21 SOLYMAR                            2351 MORENA BLVD                                                                                                                    SAN DIEGO             CA     92110      UNITED STATES          VEN_818777             818777          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTURY LINK                                  330 S. VALLEY VIEW BLVD.                                                                                                            LAS VEGAS             NV     89107      UNITED STATES       CONTRACT_00132                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CENTURY LINK                                  PO BOX 1320                                                                                                                         CHARLOTTE             NC   28201-1320   UNITED STATES          VEN_825521             825521          No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTURY LINK                                  PO BOX 2961                                                                                                                         PHOENIX               AZ   85062-2961   UNITED STATES       CONTRACT_00133     825521/825539/841539   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CENTURY LINK (DALLAS)                         PO BOX 660068                                                                                                                       DALLAS                TX   75266-0068   UNITED STATES          VEN_818128             818128          No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTURY LINK COMMUNICATIONS, INC.             PO BOX 219008                                                                                                                       KANSAS CITY           MO   64121-9008   UNITED STATES          VEN_816165             816165          No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CENTURYLINK                                   PO BOX 29040                                                                                                                        PHOENIX               AZ   85038-9040   UNITED STATES          VEN_841539             841539          No   Vendor       Utilities           Updated Payment and AP Data MML Comparison_12-8-2011.xlsx                     12/8/2011
CENTURYLINK - CONSTRUCTION CLAIMS CENTER      PO BOX 47604                                                                                                                        PLYMOUTH              MN     55447      UNITED STATES          VEN_830979             830979          No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CERAMIC STYLE, INC.                           4066 ALAMO STREET                                                                                                                   RIVERSIDE             CA     92501      UNITED STATES       CONTRACT_00134                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CERRO PLATA ASSOCIATES, LLC                   4490 VON KARMAN AVENUE                                                                                                              NEWPORT BEACH         CA     92660      UNITED STATES         AFFILIATE_023                           No   Vendor       Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                            10/27/2011
CERTIFIED FIRE EXTINGUISHER SERVICE, INC      8710 NORWALK BLVD                                                                                                                   WHITTIER              CA     90606      UNITED STATES          VEN_712948             712948          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CERTIFIED PRODUCTS                            6313 SIERRA COURT                                                                                                                   DUBLIN                CA     94568      UNITED STATES       CONTRACT_00135                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CERVANTES, JUSTIN N.                          C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                              BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM               CA     92807      UNITED STATES     CMSLITCA_1103527_002                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHACON, CECILIA                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_012                      No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHACON, ERWIN                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_011                      No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAFFEY JOINT UNION HIGH SCHOOL DISTRICT      211 W. FIFTH ST.                                                                                                                    ONTARIO               CA   91762-1698   UNITED STATES          VEN_390877             390877          No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAMBER'S GLASS                               8944 MC ATEE ST.                                                                                                                    VALLEY SPRINGS        CA     95252      UNITED STATES          VEN_235432             235432          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAMELEON DESIGN                              1711 WESTCLIFF DRIVE #B                                                                                                             NEWPORT BEACH         CA     92660      UNITED STATES          VEN_834814             834814          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAMPAGNES DELI AND GRILL                     1260 BISON AVENUE, SUITE D3                                                                                                         NEWPORT BEACH         CA     92660      UNITED STATES          VEN_816421             816421          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAMPION DRYWALL INC. OF NV                   2008 SECOND ST.                                                                                                                     NORCO                 CA     92860      UNITED STATES       CONTRACT_00136            717600          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHAMPION FENCE CO.                            640 SOUTH HATHAWAY                                                                                                                  SANTA ANA             CA     92705      UNITED STATES          VEN_390879             390879          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAMPION FENCE COMPANY                        C/O TODD NEUENS, AGENT                          26023 JEFFERSON AVENUE, SUITE #A                                                    MURRIETA              CA     92562      UNITED STATES     CMSLITCA_365116_031                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAMPION PLUMBING                             3923 W. CAMPO BELLO                                                                                                                 GLENDALE              AZ     85308      UNITED STATES          VEN_675147             675147          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAMPION WINDOWS, INC.                        PO BOX 800836                                                                                                                       SANTA CLARITA         CA     91380      UNITED STATES       CONTRACT_00137                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHANG, WALTER                                 C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_173057_010                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAO, PING                                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_079                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAPARRAL BUSINESS CENTER                     C/O KITCHELL PROPERTY MANAGEMENT                1707 E. HIGHLAND AVE, SUITE 100                                                     PHOENIX               AZ     85016      UNITED STATES       CONTRACT_00138            435004          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHAPMAN & COMPANY PEST CONTROL                4727 E. BELL RD., SUITE 45, PMB 102                                                                                                 PHOENIX               AZ     85032      UNITED STATES       CONTRACT_00139            519363          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHARLES HARTMAN & ASSOCIATES                  27127 CALLE ARROYO, SUITE 1904                                                                                                      SAN JUAN CAPISTRANO   CA     92675      UNITED STATES       CONTRACT_00140                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHARLES SHORT                                 6015 W. OQUENDO RD.                                                                                                                 LAS VEGAS             NV     89118      UNITED STATES       CONTRACT_00141            819286          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHARLES W. DAVIDSON CO.                       255 W. JULIAN ST., SUITE 200                                                                                                        SAN JOSE              CA     95110      UNITED STATES          VEN_818321             818321          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHARTER PRINTING, INC.                        1939 BLAIR AVE                                                                                                                      SANTA ANA             CA     92705      UNITED STATES          VEN_822792             822792          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHARTIS INSURANCE COMPANY                     777 S FIGUEROA ST                                                                                                                   LOS ANGELES           CA     90017      UNITED STATES           INS_0033                              No   Vendor       Insurance/Insurer   Insurance Company Additions_12-12-2011.xlsx                                   12/12/2011
CHAS ROBERTS AIR CONDITIONING, INC.           9828 NORTH 19TH AVE                                                                                                                 PHOENIX               AZ     85021      UNITED STATES          VEN_196111             196111          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHATEAU INTERIOR & DESIGN, INC.               10 BUNSEN                                                                                                                           IRVINE                CA     92618      UNITED STATES       CONTRACT_00142                            No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHATEAU INTERIORS & DESIGN INC                10 BUNSEN                                                                                                                           IRVINE                CA     92618      UNITED STATES          VEN_390889             390889          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAUX, AIDA LA                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_084                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAVEZ, ERIC & SOTHARY                        C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_CA1100369_018                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAVEZ, GILBERT                               6304 LYNDSEY ST.                                                                                                                    CORONA                CA     92880      UNITED STATES          VEN_632999             632999          No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHAVEZ, JOSE                                  C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES     CMSLITCA_1007968_013                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAVEZ, MARTHA                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES     CMSLITCA_1007968_014                        No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHAVEZ-ALVAREZ, GILBERT                       6304 LYNDSEY ST                                                                                                                     CORONA                CA     92880      UNITED STATES         EMP_SC_0027                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                     10/21/2011
CHEBITHES, BRETT                              PO BOX 7634                                                                                                                         NEWPORT BEACH         CA     92658      UNITED STATES       CONTRACT_00143            368657          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHECKERS GRILL                                83 WRIGHT BROTHERS AVE                                                                                                              LIVERMORE             CA     94551      UNITED STATES          VEN_390890             390890          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHENG, RUAN & EVA                             C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_030                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHEVRON AND TEXACO BUSINESS CARD SERVICE      PO BOX 70887                                                                                                                        CHARLOTTE             NC   28272-0887   UNITED STATES          VEN_789945             789945          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHEVRON AND TEXACO UNIVERSAL CARD             PO BOX 70995                                                                                                                        CHARLOTTE             NC   28272-0995   UNITED STATES          VEN_832683             832683          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHEVRON, USA                                  PO BOX 70887                                                                                                                        CHARLOTTE             NC   28272-0887   UNITED STATES          VEN_223001             223001          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHHEANG, JANE                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_012                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHICAGO PAINTING, INC.                        3380 W. HACIENDA AVE, SUITE 104                                                                                                     LAS VEGAS             NV     89118      UNITED STATES       CONTRACT_00144            829601          No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
CHICAGO TITLE                                 2365 NORTHSIDE DR., SUITE 600                                                                                                       SAN DIEGO             CA     92108      UNITED STATES          VEN_356921             356921          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHICAGO TITLE COMPANY                         2365 NORTHSIDE DR., #500                                                                                                            SAN DIEGO             CA     92108      UNITED STATES          VEN_752763             752763          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHIEN LEE & ASSOCIATES INC                    871 COLEMAN AVE, #200                                                                                                               SAN JOSE              CA     95110      UNITED STATES          VEN_390893             390893          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHINA POST, INC.                              1022 S. SAN GABRIEL BLVD, #F                                                                                                        SAN GABRIEL           CA     91776      UNITED STATES          VEN_792685             792685          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHINESE DAILY NEWS, INC./WORLD JOURNAL        1588 CORPORATE CENTER DRIVE                                                                                                         MONTEREY PARK         CA     91754      UNITED STATES          VEN_262705             262705          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHING, CLIFTON                                10813 ELK LAKE DR.                                                                                                                  LAS VEGAS             NV     89144      UNITED STATES         EMPT_MF_0381                            No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                     10/21/2011
CHITWOOD, JAMIE                               1656 SILVER SLIPPER                                                                                                                 HENDERSON             NV     89002      UNITED STATES         EMPT_NV_0325                            No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                     10/21/2011
CHITWOOD, KIM                                 1656 SILVER SLIPPER AVE.                                                                                                            HENDERSON             NV     89002      UNITED STATES         EMP_NV_0028                             No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                     10/21/2011
CHOI, SEI HYUN                                C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_CA1100369_066                       No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
CHOICE HEALTHCARE, INC.                       500 N. 56TH ST., SUITE 10                                                                                                           CHANDLER              AZ     85226      UNITED STATES          VEN_557247             557247          No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
CHONG, IL MEE                                 C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                              KASDAN
                                                                                                   J. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                               RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850         IRVINE                CA     92612      UNITED STATES     CMSLITCA_233522_006                         No   Litigant     California          WLH Combo Litigation Load file.XLSX                                           10/27/2011
                                                                               Case 11-14019-CSS                                                                           Doc 1-4                          Filed 12/19/11                           Page 6 of 29

CHONG, SUNG                                   C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                              KASDAN
                                                                                                  J. THOMSON,
                                                                                                      SIMONDSESQ.
                                                                                                              RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                       IRVINE             CA     92612       UNITED STATES    CMSLITCA_233522_005            No   Litigant      California          WLH Combo Litigation Load file.XLSX                                      10/27/2011
CHRIS A. DEKALB                               2795 E. BIDWELL ST., SUITE 100 #248                                                                                                              FOLSOM             CA     95630       UNITED STATES        VEN_724851        724851   No   Vendor        Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx     10/19/2011
CHRIS K. WILSON ENGINEERING                   101 EAST REDLANDS BLVD #297                                                                                                                      REDLANDS           CA     92373       UNITED STATES        VEN_695316        695316   No   Vendor        Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx     10/19/2011
CHRISP COMPANY                                PO BOX 1368                                                                                                                                      FREMONT            CA     94538       UNITED STATES      CONTRACT_00145               No   Vendor        Contract            WLH_Contract Master_12-13-2011.xlsx                                      12/13/2011
CHRISTENSON ADVISORS, LLC                     TWO MID AMERICA PLAZA, SUITE 710                                                                                                                 OAKBROOK TERRACE   IL     60181       UNITED STATES        VEN_841512        841512   No   Vendor        Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx     10/19/2011
CHRISTIAN BROS MECHANICAL                     PO BOX 2126                                                                                                                                      MANTECA            CA     95336       UNITED STATES        VEN_390894        390894   No   Vendor        Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx     10/19/2011
CHRISTIAN BROS. MECHANICAL, INC.              PO BOX 2126                                                                                                                                      MANTECA            CA     95336       UNITED STATES        VEN_385019        385019   No   Vendor        Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx     10/19/2011
CHUBB INSURANCE COMPANY                       801 S FIGUEROA ST                                                                                                                                LOS ANGELES        CA     90017       UNITED STATES          INS_0032                 No   Vendor        Insurance/Insurer   Insurance Company Additions_12-12-2011.xlsx                              12/12/2011
CHUTE SYSTEMS                                 1722 ILLINOIS AVE                                                                                                                                PERRIS             CA     92570       UNITED STATES      CONTRACT_00146               No   Vendor        Contract            WLH_Contract Master_12-13-2011.xlsx                                      12/13/2011
CIBA INSURANCE SERVICES - INSURANCE
                                              655 N CENTRAL AVENUE                           #2100                                                                                             GLENDALE           CA   921203-1443   UNITED STATES      CONTRACT_00147               No   Vendor        Contract            WLH_Contract Master_12-13-2011.xlsx                                      12/13/2011
PURCHASING GROUP (BROKER)
CIBER                                         PO BOX 844140                                                                                                                                    DALLAS             TX   75284-4140    UNITED STATES       VEN_679893         679893   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIG                                           PO BOX 2093                                                                                                                                      MONTEREY           CA     93942       UNITED STATES       VEN_MF_037                  No   Vendor          Trade Payable      APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CIGNA                                         ONE FRONT STREET, SUITE 700                                                                                                                      SAN FRANCISCO      CA     94111       UNITED STATES     CONTRACT_00148                No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CINTAS FIRST AID & SAFETY                     CINTAS FAS LOCKBOX 636525                     PO BOX 636525                                                                                      CINCINNATI         OH   45263-6525    UNITED STATES       VEN_796803         796803   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CINTAS FIRST AID & SAFETY                     PO BOX 636525                                                                                                                                    CINCINNATI         OH     45263       UNITED STATES       VEN_632981         632981   No   Vendor          Trade Payable      AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
CIP AIRPORT INDUSTRIAL/FLEX PORTOLIO LLC      19762 MACARTHUR BLVD, SUITE 300                                                                                                                  IRVINE             CA   92612-2498    UNITED STATES     CONTRACT_00149       695703   No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CIP AIRPORT INDUSTRIAL/FLEX PORTOLIO LLC      FBO GREENWICH CAPITAL FINANCIAL PROD.         FIRST REPUBLIC BANK ACCT#95300011596                                                               PASADENA           CA   91185-2549    UNITED STATES     CONTRACT_00150       695703   No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CIP AIRPORT INDUSTRIAL/FLEX PORTOLIO LLC      FBO GREENWICH CAPITAL FINANCIAL PROD.         FIRST REPUBLIC BANK, DEPT. LA 22549                                                                PASADENA           CA   91185-2549    UNITED STATES       VEN_695703         695703   No   Vendor          Landlord           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIRAULO PLUMBING, INC.                        PO BOX 1509                                                                                                                                      GILROY             CA     95021       UNITED STATES       VEN_621835         621835   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIRCLE G AT THE CHURCH FARM NORTH JOINT       8840 E CHAPARRAL RD, #200                                                                                                                        SCOTTSDALE         AZ     85250       UNITED STATES       ENTITY_002                  No   Vendor          Legal Entity       Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
CISCO SYSTEMS CAPITAL CORPORATION             1111 OLD EAGLE SCHOOL RD                                                                                                                         WAYNE              PA   19087-1453    UNITED STATES       LENDER_004                  No   Lender          Secured Lenders    WLH_Secured Lenders_10-26-2011.xlsx                                   10/26/2011
CISCO SYSTEMS CAPITAL CRP                     PO BOX 41601                                  REF #000000000497072                                                                               PHILADELPHIA       PA   19101-1601    UNITED STATES     CONTRACT_00151       761643   No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CISCO WEBEX LLC                               PO BOX 49216                                                                                                                                     SAN JOSE           CA   95161-9216    UNITED STATES       VEN_824114         824114   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIT TECHNOLOGY FINANCIAL SERVICES             23896 NETWORK PLACE                                                                                                                              CHICAGO            IL   60673-1238    UNITED STATES     CONTRACT_00152       801174   No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CIT TECHNOLOGY FINANCING SERVICES, INC.       10201 CENTURION PKWY N, STE 100                                                                                                                  JACKSONVILLE       FL     32256       UNITED STATES         UCC_016                   No   Vendor          UCC                WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
CIT TECHNOLOGY SERVICES, INC.                 PO BOX 100706                                                                                                                                    PASADENA           CA   91189-0706    UNITED STATES       VEN_225146         225146   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITADEL TILE AND MARBLE                       PO BOX 980065                                                                                                                                    WEST SACRAMENTO    CA     95798       UNITED STATES       VEN_435821         435821   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITIZENS TO ELECT MARY BETH SCOW              326 MEDIC COURT                                                                                                                                  HENDERSON          NV     89014       UNITED STATES       VEN_831146         831146   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITRIX ON LINE DIVISION                       FILE #50264                                                                                                                                      LOS ANGELES        CA   90074-0264    UNITED STATES       VEN_634927         634927   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY CABLE SERVICES, INC.                     PO BOX 11563                                                                                                                                     COSTA MESA         CA     92627       UNITED STATES       VEN_641908         641908   No   Vendor          Trade Payable      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF ANTIOCH                               MARIA ALIOTTI                                 PO BOX 5007                                                                                        ANTIOCH            CA   94531-5007    UNITED STATES       VEN_390899         390899   No   Vendor          Municipality       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF AZUSA                                 213 E. FOOTHILL BLVD.                                                                                                                            AZUSA              CA     91702       UNITED STATES     CONTRACT_00153         N/A    No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF AZUSA                                 ATTN: BUSINESS LICENSE FEE DEPARTMENT         213 E. FOOTHILL BLVD                                                                               AZUSA              CA   91702-2550    UNITED STATES     CMSTX_699835_1                No   Taxing AuthorityBusiness License   Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF AZUSA                                 ATTN: PERMIT FEE DEPARTMENT                   213 E. FOOTHILL BLVD                                                                               AZUSA              CA   91702-2550    UNITED STATES     CMSTX_699835_2                No   Taxing AuthorityPermit Fee         Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF AZUSA                                 ATTN: PLAN CHECK FEE DEPARTMENT               213 E. FOOTHILL BLVD                                                                               AZUSA              CA   91702-2550    UNITED STATES     CMSTX_699835_3                No   Taxing AuthorityPlan Check Fee     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CARLSBAD                              1635 FARADAY AVE                                                                                                                                 CARLSBAD           CA     92008       UNITED STATES       VEN_376690         376690   No   Vendor          Utilities          Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF CARLSBAD                              ATTN: BUSINESS LICENSE FEE DEPARTMENT         1635 FARADAY AVE                                                                                   CARLSBAD           CA     92008       UNITED STATES     CMSTX_376690_1                No   Taxing AuthorityBusiness License   Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CARLSBAD                              ATTN: CFD FEES DEPARTMENT                     1635 FARADAY AVE                                                                                   CARLSBAD           CA     92008       UNITED STATES     CMSTX_376690_2                No   Taxing AuthorityCFD Fees           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CARLSBAD                              ATTN: LOCAL UTILITY FEE DEPARTMENT            1635 FARADAY AVE                                                                                   CARLSBAD           CA     92008       UNITED STATES     CMSTX_376690_3                No   Taxing AuthorityLocal Utility      Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CARLSBAD                              ATTN: PERMIT FEE DEPARTMENT                   1635 FARADAY AVE                                                                                   CARLSBAD           CA     92008       UNITED STATES     CMSTX_376690_4                No   Taxing AuthorityPermit Fee         Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CARLSBAD                              ATTN: PLAN CHECK FEE DEPARTMENT               1635 FARADAY AVE                                                                                   CARLSBAD           CA     92008       UNITED STATES     CMSTX_376690_5                No   Taxing AuthorityPlan Check Fee     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CARLSBAD                              ATTN: SWPPP INSPECTION FEE DEPARTMENT         1635 FARADAY AVE                                                                                   CARLSBAD           CA     92008       UNITED STATES     CMSTX_376690_6                No   Taxing AuthoritySWPPP Inspection Fee
                                                                                                                                                                                                                                                                                                                             Taxing and Regulatory agency payments Update 9-30-11.xlsx              10/21/2011
CITY OF CARLSBAD                              PO BOX 9009                                                                                                                                      CARLSBAD           CA   92018-9009    UNITED STATES       VEN_816771         816771   No   Vendor          Utilities          Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF CHANDLER                              ATTN: BUSINESS LICENSE FEE DEPARTMENT         PO BOX 4008 MS 702                                                                                 CHANDLER           AZ   85244-4008    UNITED STATES     CMSTX_355418_1                No   Taxing AuthorityBusiness License   Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF CHANDLER                              PO BOX 4008 MS 702                                                                                                                               CHANDLER           AZ   85244-4008    UNITED STATES       VEN_355418         355418   No   Vendor          Taxing Authority   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF CHULA VISTA                           276 FOURTH AVE.                                                                                                                                  CHULA VISTA        CA     91910       UNITED STATES        BOND_003                   No   Bondholder      Obligee            WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                    10/27/2011
CITY OF CLAYTON                               6000 HERITAGE TRAIL                                                                                                                              CLAYTON            CA     94517       UNITED STATES     CONTRACT_00154        N/A     No   Vendor          Contract           WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF CLAYTON & OAKHURST GEOLOGICAL
                                              C/O JOHN D. BROGHAMMER, ESQ.                   GREVE, CLIFFORD, WENGEL & PARAS, LLP   2870 GATEWAY OAKS DRIVE, SUITE 210                         SACRAMENTO         CA     95833       UNITED STATES    CMSLITCA_500837_014            No   Litigant      California          WLH Combo Litigation Load file.XLSX                                       11/8/2011
HAZARD ABATEMENT DISTRICT
CITY OF CLAYTON & OAKHURST GEOLOGICAL
                                              C/O LACI JACKSON                               CITY CLERK                             CLAYTON CITY HALL                       6000 HERITAGE TRAIL CLAYTON           CA     94517       UNITED STATES    CMSLITCA_500837_013            No   Litigant      California          WLH Combo Litigation Load file.XLSX                                       11/8/2011
HAZARD ABATEMENT DISTRICT
CITY OF EASTVALE                              12363 LIMONITE AVE, SUITE 910                                                                                                                    EASTVALE           CA     91752       UNITED STATES       VEN_839084         839084   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF EL SEGUNDO                            350 MAIN STREET                                                                                                                                  EL SEGUNDO         CA     90245       UNITED STATES       VEN_826161         826161   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF EL SEGUNDO                            ATTN: BUSINESS LICENSE FEE DEPARTMENT         350 MAIN STREET                                                                                    EL SEGUNDO         CA     90245       UNITED STATES     CMSTX_826161_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF EL SEGUNDO                            ATTN: PERMIT FEE DEPARTMENT                   350 MAIN STREET                                                                                    EL SEGUNDO         CA     90245       UNITED STATES     CMSTX_826161_2                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF ELK GROVE                             8380 LAGUNA PALMS WAY                                                                                                                            ELK GROVE          CA     95798       UNITED STATES     CONTRACT_00155                No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF ELK GROVE                             8401 LAGUNA PALMS WAY                                                                                                                            ELK GROVE          CA     95758       UNITED STATES     CONTRACT_00826                No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF ELK GROVE - PAYMENT PROCESSING        PO BOX 45803                                                                                                                                     SAN FRANCISCO      CA     94145       UNITED STATES       VEN_677011         677011   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF ESCONDIDO                             PO BOX 460009                                                                                                                                    ESCONDIDO          CA   92046-0009    UNITED STATES       VEN_390906         390906   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF FAIRFIELD                             1000 WEBSTER STREET                                                                                                                              FAIRFIELD          CA     94033       UNITED STATES     CONTRACT_00156         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF FAIRFIELD/BUSINESS LICENSE OFC        1000 WEBSTER ST.                                                                                                                                 FAIRFIELD          CA   94533-4883    UNITED STATES       VEN_291320         291320   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF FONTANA                               8353 SIERRA AVE.                                                                                                                                 FONTANA            CA     92335       UNITED STATES     CONTRACT_00157         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF FONTANA                               ATTN: BUSINESS LICENSE FEE DEPARTMENT         8353 SIERRA AVENUE                                                                                 FONTANA            CA     92335       UNITED STATES     CMSTX_222068_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF FONTANA                               ATTN: LOCAL UTILITY FEE DEPARTMENT            8353 SIERRA AVENUE                                                                                 FONTANA            CA     92335       UNITED STATES     CMSTX_222068_2                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF FONTANA                               ATTN: PERMIT FEE DEPARTMENT                   8353 SIERRA AVENUE                                                                                 FONTANA            CA     92335       UNITED STATES     CMSTX_222068_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF GLENDORA                              116 E. FOOTHILL BLVD                                                                                                                             GLENDORA           CA   91741-3383    UNITED STATES       VEN_570978         570978   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF GLENDORA                              ATTN: BUSINESS LICENSE FEE DEPARTMENT         116 E. FOOTHILL BLVD                                                                               GLENDORA           CA   91741-3383    UNITED STATES     CMSTX_587489_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF GLENDORA                              ATTN: LOCAL UTILITY FEE DEPARTMENT            116 E. FOOTHILL BLVD                                                                               GLENDORA           CA   91741-3383    UNITED STATES     CMSTX_587489_2                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF GLENDORA                              ATTN: PERMIT FEE DEPARTMENT                   116 E. FOOTHILL BLVD                                                                               GLENDORA           CA   91741-3383    UNITED STATES     CMSTX_587489_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HAWTHORNE                             4455 W. 126TH STREET                                                                                                                             HAWTHORNE          CA     90250       UNITED STATES     CONTRACT_00158        N/A     No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF HAWTHORNE                             ATTN: BUSINESS LICENSE FEE DEPARTMENT         4455 W. 126TH ST.                                                                                  HAWTHORNE          CA     90250       UNITED STATES     CMSTX_720681_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HAWTHORNE                             ATTN: LOCAL UTILITY FEE DEPARTMENT            4455 W. 126TH ST.                                                                                  HAWTHORNE          CA     90250       UNITED STATES     CMSTX_720681_2                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HAWTHORNE                             ATTN: PERMIT FEE DEPARTMENT                   4455 W. 126TH ST.                                                                                  HAWTHORNE          CA     90250       UNITED STATES     CMSTX_720681_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HAWTHORNE                             ATTN: PLUMBING FEE DEPARTMENT                 4455 W. 126TH ST.                                                                                  HAWTHORNE          CA     90250       UNITED STATES     CMSTX_720681_4                No   Taxing AuthorityPlumbing Fee         Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HAWTHORNE                             ATTN: PROPERTY TAX DEPARTMENT                 4455 W. 126TH ST.                                                                                  HAWTHORNE          CA     90250       UNITED STATES     CMSTX_720681_7                No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HAWTHORNE                             ATTN: RENOVATION FEE DEPARTMENT               4455 W. 126TH ST.                                                                                  HAWTHORNE          CA     90250       UNITED STATES     CMSTX_720681_6                No   Taxing AuthorityRenovation Fee       Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF HENDERSON                             240 WATER STREET                                                                                                                                 HENDERSON          NV     89015       UNITED STATES     CONTRACT_00159       189974   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF HENDERSON                             ATTN: PROPERTY TAX DEPARTMENT                 240 WATER STREET                                                                                   HENDERSON          NV     89015       UNITED STATES     CMSTX_189974_1                No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF IRVINE                                ATTN: ENVIRONMENTAL IMPACT FEE DEPARTMENT     PO BOX 19575                                                                                       IRVINE             CA     92623       UNITED STATES     CMSTX_280209_2                No   Taxing AuthorityEnvironmental Impact Fee
                                                                                                                                                                                                                                                                                                                               Taxing and Regulatory agency payments Update 9-30-11.xlsx              10/21/2011
CITY OF IRVINE                                ATTN: LOCAL UTILITY FEE DEPARTMENT            PO BOX 19575                                                                                       IRVINE             CA     92623       UNITED STATES     CMSTX_280209_1                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF IRVINE                                ATTN: PERMIT FEE DEPARTMENT                   PO BOX 19575                                                                                       IRVINE             CA     92623       UNITED STATES     CMSTX_280209_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF IRVINE                                ATTN: PLAN CHECK FEE DEPARTMENT               PO BOX 19575                                                                                       IRVINE             CA     92623       UNITED STATES     CMSTX_280209_4                No   Taxing AuthorityPlan Check Fee       Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF IRVINE                                ATTN: ZONE CHANGE DEPARTMENT                  PO BOX 19575                                                                                       IRVINE             CA     92623       UNITED STATES     CMSTX_280209_5                No   Taxing AuthorityZone Change          Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF IRVINE                                ONE CIVIC CENTER PLAZA                                                                                                                           IRVINE             CA     92623       UNITED STATES     CONTRACT_00160         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF IRVINE                                PO BOX 19575                                                                                                                                     IRVINE             CA     92623       UNITED STATES       VEN_280209         280209   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF IRVINE - FINANCE DEPT.                PO BOX 19575                                                                                                                                     IRVINE             CA     92623       UNITED STATES       VEN_537650         537650   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF LAKE FOREST                           23161 LAKE CENTER DRIVE                                                                                                                          LAKE FOREST        CA     92630       UNITED STATES        BOND_007                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF LAS VAGAS - SEWER                     DEPARTMENT OF FINANCE & BUSINESS SERVICE      PO BOX 748022                                                                                      LOS ANGELES        CA   90074-8022    UNITED STATES       VEN_324195         324195   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF LAS VEGAS                             400 E. STEWART AVE.                                                                                                                              LAS VEGAS          NV     89101       UNITED STATES        BOND_008                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF LAS VEGAS                             400 STEWART AVENUE                                                                                                                               LAS VEGAS          NV     89101       UNITED STATES     CONTRACT_00161                No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF LAS VEGAS BUILDING DEPARTMENT         400 STEWART AVENUE                                                                                                                               LAS VEGAS          NV     89101       UNITED STATES     CONTRACT_00162       276971   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF LATHROP                               16775 HOWLAND ROAD                                                                                                                               LATHROP            CA     95330       UNITED STATES     CONTRACT_00163         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF LATHROP                               390 TOWNE CENTER DRIVE                                                                                                                           LATHROP            CA     95330       UNITED STATES       VEN_390911         390911   No   Vendor          Utilities            Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
CITY OF MESA                                  20 E. MAIN STREET, SUITE 350                                                                                                                     MESA               AZ     85201       UNITED STATES       VEN_606432         606432   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF MESA                                  ATTN: BUSINESS LICENSE FEE DEPARTMENT         20 E. MAIN STREET, SUITE 350                                                                       MESA               AZ     85201       UNITED STATES     CMSTX_606432_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF MILPITAS                              455 E. CALAVERAS BLVD                                                                                                                            MILPITAS           CA     95035       UNITED STATES       VEN_837581         837581   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF MOORPARK                              799 MOORPARK AVE.                                                                                                                                MOORPARK           CA     93021       UNITED STATES     CONTRACT_00165         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF MOORPARK                              ATTN: BUSINESS LICENSE FEE DEPARTMENT         799 MOORPARK AVENUE                                                                                MOORPARK           CA     93021       UNITED STATES     CMSTX_477714_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF MOORPARK                              ATTN: ZONE APPLICATION FEE DEPARTMENT         799 MOORPARK AVENUE                                                                                MOORPARK           CA     93021       UNITED STATES     CMSTX_477714_2                No   Taxing AuthorityZone Application Fee Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF MOUNTAIN VIEW                         500 CASTRO ST.                                PO BOX 7540                                                                                        MOUNTAIN VIEW      CA     94039       UNITED STATES       VEN_826734         826734   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF NEWPORT BEACH                         ANNUAL BUSINESS LICENSE                       PO BOX 1768                                                                                        NEWPORT BEACH      CA   92658-8915    UNITED STATES       VEN_744114         744114   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF NEWPORT BEACH                         ATTN: BUSINESS LICENSE FEE DEPARTMENT         ANNUAL BUSINESS LICENSE                 PO BOX 1768                                                NEWPORT BEACH      CA   92658-8915    UNITED STATES     CMSTX_744114_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF NEWPORT BEACH                         PO BOX 1935                                                                                                                                      NEWPORT BEACH      CA   92658-0935    UNITED STATES       VEN_220521         220521   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF NEWPORT BEACH - REVENUE DIVISION      PO BOX 3080                                                                                                                                      NEWPORT BEACH      CA   92658-3080    UNITED STATES       VEN_553481         553481   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF NORTH LAS VEGAS                       2200 CIVIC CENTER AVE.                                                                                                                           LAS VEGAS          NV     89030       UNITED STATES        BOND_009                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF NORTH LAS VEGAS                       2829 FORT SUMTER                              ATTN CUSTOMER SERVICE                                                                              N. LAS VEGAS       NV     89030       UNITED STATES     CONTRACT_00166       422191   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF NORTH LAS VEGAS                       2829 FORT SUMTER                                                                                                                                 N. LAS VEGAS       NV     89030       UNITED STATES     CONTRACT_00167                No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF NORTH LAS VEGAS                       ALIANTE, DISTRICT #60                         PO BOX 60559                                                                                       LOS ANGELES        CA   90060-0559    UNITED STATES       VEN_819438         819438   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF NORTH LAS VEGAS                       ATTN: PROPERTY TAX DEPARTMENT                 2200 CIVIC CENTER AVENUE                                                                           NORTH LAS VEGAS    NV     89030       UNITED STATES     CMSTX_498321_1                No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF NORTH LAS VEGAS BUILDING DEPARTMENT   2829 FORT SUMTER                                                                                                                                 N. LAS VEGAS       NV     89030       UNITED STATES     CONTRACT_00168       498321   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF NORTH LAS VEGAS DISTRICT #60          ALIANTE, DISTRICT #60 PO BOX 60559                                                                                                               LOS ANGELES        CA   90060-0559    UNITED STATES     CONTRACT_00169       819438   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF PALO ALTO                             250 HAMILTON AVE                                                                                                                                 PALO ALTO          CA     94301       UNITED STATES       VEN_831138         831138   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF PATTERSON                             PO BOX 667                                                                                                                                       PATTERSON          CA     95363       UNITED STATES       VEN_588705         588705   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF PHOENIX                               ATTN: BUSINESS LICENSE FEE DEPARTMENT         PO BOX 78815                                                                                       PHOENIX            AZ   85062-8815    UNITED STATES     CMSTX_194968_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF PHOENIX                               PO BOX 78815                                                                                                                                     PHOENIX            AZ   85062-8815    UNITED STATES       VEN_194968         194968   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF PITTSBURG                             65 CIVIC AVE.                                                                                                                                    PITTSBURG          CA   94565-3814    UNITED STATES        BOND_010                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF PITTSBURG-UTILITY BILLING DEPT.       PO BOX 1149                                                                                                                                      PITTSBURG          CA     94565       UNITED STATES       VEN_767439         767439   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF RANCHO CUCAMONGA                      10500 CIVIC CENTER DRIVE                                                                                                                         RANCHO CUCAMONGA   CA     91730       UNITED STATES     CONTRACT_00170         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF RANCHO CUCAMONGA                      ATTN: BUSINESS LICENSE FEE DEPARTMENT         PO BOX 807                                                                                         RANCHO CUCAMONGA   CA   91729-0807    UNITED STATES     CMSTX_718186_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF RANCHO CUCAMONGA                      ATTN: LOCAL UTILITY FEE DEPARTMENT            PO BOX 807                                                                                         RANCHO CUCAMONGA   CA   91729-0807    UNITED STATES     CMSTX_718186_2                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF RANCHO CUCAMONGA                      ATTN: PERMIT FEE DEPARTMENT                   PO BOX 807                                                                                         RANCHO CUCAMONGA   CA   91729-0807    UNITED STATES     CMSTX_718186_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF RANCHO CUCAMONGA                      PO BOX 807                                                                                                                                       RANCHO CUCAMONGA   CA   91729-0807    UNITED STATES       VEN_718186         718186   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF RIVERSIDE                             3900 MAIN STREET                                                                                                                                 RIVERSIDE          CA     92522       UNITED STATES       VEN_389044         389044   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF RIVERSIDE                             ATTN: BUSINESS LICENSE FEE DEPARTMENT         3900 MAIN STREET                                                                                   RIVERSIDE          CA     92522       UNITED STATES     CMSTX_389044_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF ROCKLIN                               PO BOX 1380                                                                                                                                      ROCKLIN            CA   95677-7380    UNITED STATES       VEN_305103         305103   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF SAN DIEGO                             1222 FIRST AVE MS 502                                                                                                                            SAN DIEGO          CA     92101       UNITED STATES        BOND_012                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF SAN DIEGO                             1222 FIRST AVENUE                                                                                                                                SAN DIEGO          CA     92101       UNITED STATES     CONTRACT_00171         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF SAN DIEGO                             WATER UTILITIES DEPARTMENT                    CUSTOMER SERVICE SECTION                                                                           SAN DIEGO          CA   92187-0001    UNITED STATES       VEN_232215         232215   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF SAN JOSE                              200 EAST SANTA CLARA STREET                                                                                                                      SAN JOSE           CA     95113       UNITED STATES     CONTRACT_00172         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF SAN JOSE                              801 N. 1ST ST., ROOM 308                                                                                                                         SAN JOSE           CA     95110       UNITED STATES        BOND_013                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF SAN JOSE                              OFFICE OF THE CITY CLERK                      200 EAST SANTA CLARA                                                                               SAN JOSE           CA     95113       UNITED STATES       VEN_301081         301081   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF SAN JOSE - BUSINESS TAX SECTION       PO BOX 45710                                                                                                                                     SAN FRANCISCO      CA   94145-0710    UNITED STATES       VEN_553289         553289   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF SAN MARCOS                            1 CIVIC CENTER DRIVE                                                                                                                             SAN MARCOS         CA     92069       UNITED STATES     CONTRACT_00173         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF SAN RAMON                             2222 CAMINO RAMON                                                                                                                                SAN RAMON          CA     94583       UNITED STATES       VEN_390919         390919   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF SAN RAMON                             PO BOX 5148, 2401 CROW CANYON RD.                                                                                                                SAN RAMON          CA     94583       UNITED STATES        BOND_015                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF SANTA ANA                             20 CIVIC CENTER PLAZA                                                                                                                            SANTA ANA          CA     92701       UNITED STATES     CONTRACT_00174        N/A     No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF SANTA ANA                             20 CIVIC CENTER PLAZA, 3RD FLOOR                                                                                                                 SANTA ANA          CA     92702       UNITED STATES        BOND_016                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF SANTA ANA                             ATTN: BUSINESS LICENSE FEE DEPARTMENT         20 CIVIC CENTER PLAZA                                                                              SANTA ANA          CA     92701       UNITED STATES     CMSTX_828174_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF SANTA ANA                             ATTN: LOCAL UTILITY FEE DEPARTMENT            20 CIVIC CENTER PLAZA                                                                              SANTA ANA          CA     92701       UNITED STATES     CMSTX_828174_2                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF SANTA ANA                             ATTN: PERMIT FEE DEPARTMENT                   20 CIVIC CENTER PLAZA                                                                              SANTA ANA          CA     92701       UNITED STATES     CMSTX_828174_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF SANTA ANA                             ATTN: PLAN CHECK FEE DEPARTMENT               20 CIVIC CENTER PLAZA                                                                              SANTA ANA          CA     92701       UNITED STATES     CMSTX_828174_4                No   Taxing AuthorityPlan Check Fee       Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF SANTA ANA MUNICIPAL UTILITY SERV      20 CIVIC CENTER PLAZA                                                                                                                            SANTA ANA          CA     92702       UNITED STATES       VEN_828502         828502   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF SANTA CLARITA                         23920 VALENCIA BLVD.                          SUITE 302                                                                                          VALENCIA           CA     91355       UNITED STATES        BOND_017                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF SANTEE                                10601 MAGNOLIA AVE.                                                                                                                              SANTEE             CA     92071       UNITED STATES        BOND_018                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF STOCKTON                              PO BOX 201005                                                                                                                                    STOCKTON           CA   95201-9005    UNITED STATES       VEN_652480         652480   No   Vendor          Taxing Authority     AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
CITY OF SURPRISE                              16000 N. CIVIC CENTER PLAZA                                                                                                                      SURPRISE           AZ   85374-7470    UNITED STATES     CONTRACT_00175       266386   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY OF SURPRISE                              ATTN: BUSINESS LICENSE FEE DEPARTMENT         16000 N. CIVIC CENTER DRIVE                                                                        SURPRISE           AZ     85374       UNITED STATES     CMSTX_266386_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF TEMECULA                              32605 TEMECULA PARKWAY, SUITE 100                                                                                                                TEMECULA           CA     92592       UNITED STATES       VEN_827905         827905   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CITY OF TUSTIN                                300 CENTENNIAL WAY                                                                                                                               TUSTIN             CA     92780       UNITED STATES        BOND_019                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
CITY OF TUSTIN                                ATTN: BUSINESS LICENSE FEE DEPARTMENT         300 CENTENNIAL WAY                                                                                 TUSTIN             CA     92780       UNITED STATES     CMSTX_658700_1                No   Taxing AuthorityBusiness License     Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF TUSTIN                                ATTN: LOCAL UTILITY FEE DEPARTMENT            300 CENTENNIAL WAY                                                                                 TUSTIN             CA     92780       UNITED STATES     CMSTX_658700_2                No   Taxing AuthorityLocal Utility        Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF TUSTIN                                ATTN: PERMIT FEE DEPARTMENT                   300 CENTENNIAL WAY                                                                                 TUSTIN             CA     92780       UNITED STATES     CMSTX_658700_3                No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CITY OF TUSTIN                                ATTN: SEWER PLAN CHECK FEE DEPARTMENT         300 CENTENNIAL WAY                                                                                 TUSTIN             CA     92780       UNITED STATES     CMSTX_658700_4                No   Taxing AuthoritySewer Plant Check FeeTaxing and Regulatory agency payments Update 9-30-11.xlsx              10/21/2011
CITY OF YUCAIPA                               34272 YUCAIPA BLVD.                                                                                                                              YUCAIPA            CA     92339       UNITED STATES     CONTRACT_00176         N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CITY TREASURER - SAN DIEGO                    PO BOX 1431                                                                                                                                      SAN DIEGO          CA     92112       UNITED STATES       VEN_297182         297182   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIVIL AIR PATROL MAGAZINE                     SILVER WINGS OVER NEVADA                      1894 US HWY 50 E, STE., 4 #351                                                                     CARSON CITY        NV   89701-3202    UNITED STATES       VEN_MF_038                  No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CIVIL ENGINEERING CONSTRUCTION, INC.          PO BOX 1669                                                                                                                                      LOOMIS             CA     95650       UNITED STATES       VEN_826726         826726   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIVILWISE SERVICES LLC                        1240 E. STATE STREET, SUITE 101                                                                                                                  PAHRUMP            NV     89048       UNITED STATES       VEN_759164         759164   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CIVTECH INC.                                  10605 N. HAYDEN ROAD, SUITE 140                                                                                                                  SCOTTSDALE         AZ     85260       UNITED STATES     CONTRACT_00177       831171   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
                                                                                Case 11-14019-CSS                                                                               Doc 1-4             Filed 12/19/11                            Page 7 of 29

CJ'S BATHTUB REFINISHING & REPAIR, LLC         23003 N. 105TH DRIVE                                                                                                                   PEORIA                AZ     85383      UNITED STATES          VEN_821301         821301   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLAR, RENEE A.                                 C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_CA1100369_008             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CLARK & GREEN ASSOCIATES                       150 PAULARINO AVE, STE 160                                                                                                             COSTA MESA            CA   92626-3318   UNITED STATES          VEN_390935         390935   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY                                   500 S. GRAND CENTRAL PKWY.                                                                                                             LAS VEGAS             NV     89155      UNITED STATES           BOND_021                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                 10/27/2011
CLARK COUNTY ASSESSOR                          500 S. GRAND CENTRAL PARKWAY 2ND FLOOR PO BOX 551401                                                                                   LAS VEGAS             NV   89155-1401   UNITED STATES       CONTRACT_00179        270027   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CLARK COUNTY ASSESSOR                          ATTN: PROPERTY TAX DEPARTMENT                   500 S. GRAND CENTRAL PARKWAY, 2ND FLOOR   PO BOX 551401                                LAS VEGAS             NV   89155-1401   UNITED STATES       CMSTX_270027_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CLARK COUNTY ASSESSOR                          ATTN: SALES TAX DEPARTMENT                      500 S. GRAND CENTRAL PARKWAY, 2ND FLOOR   PO BOX 551401                                LAS VEGAS             NV   89155-1401   UNITED STATES       CMSTX_270027_2                 No   Taxing AuthoritySales Tax           Maintain Creditors                                                    11/11/2011
CLARK COUNTY BUILDING DEPARTMENT               500 S. GRAND CENTRAL PKWY                                                                                                              LAS VEGAS             NV     89155      UNITED STATES          VEN_190932         190932   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY BUSINESS LICENSE                  500 GRAND CENTRAL PKWY., 3RD FLOOR                                                                                                     LAS VEGAS             NV   89155-1810   UNITED STATES          VEN_190334         190334   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY BUSINESS LICENSE                  ATTN: PROPERTY TAX DEPARTMENT                   500 GRAND CENTRAL PKWY., 3RD FLOOR                                                     LAS VEGAS             NV   89155-1810   UNITED STATES       CMSTX_190334_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CLARK COUNTY FIRE DEPARTMENT                   575 E. FLAMINGO RD.                                                                                                                    LAS VEGAS             NV     89119      UNITED STATES          VEN_785864         785864   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY PUBLIC WORKS                      500 SOUTH GRAND CENTRAL                                                                                                                LAS VEGAS             NV     89155      UNITED STATES          VEN_397618         397618   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY SANITATION                        5857 E. FLAMINGO RD.                                                                                                                   LAS VEGAS             NV     89122      UNITED STATES          VEN_191003         191003   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY TREASURER                         500 S. GRAND CENTRAL PARKWAY, 1ST FLOOR                                                                                                LAS VEGAS             NV   89155-1220   UNITED STATES       CONTRACT_00181        191505   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CLARK COUNTY TREASURER                         ATTN: PROPERTY TAX DEPARTMENT                   500 S. GRAND CENTRAL PARKWAY, 1ST FLOOR                                                LAS VEGAS             NV   89155-1220   UNITED STATES       CMSTX_191505_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CLARK COUNTY TREASURER'S OFFICE                ATTN: PROPERTY TAX DEPARTMENT                   CLARK COUNTY IMP DISTRICT NO. 142         FILE 57254                                   LOS ANGELES           CA   90074-7254   UNITED STATES       CMSTX_829290_2                 No   Taxing AuthorityProperty            Maintain Creditors                                                    11/11/2011
CLARK COUNTY TREASURER'S OFFICE                CLARK COUNTY IMP DISTRICT #120                  FILE NO. 57254                                                                         LOS ANGELES           CA   90074-7254   UNITED STATES          VEN_732084         732084   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY TREASURER'S OFFICE                CLARK COUNTY IMP DISTRICT NO. 128               FILE 57254                                                                             LOS ANGELES           CA   90074-7254   UNITED STATES          VEN_631865         631865   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY TREASURER'S OFFICE                CLARK COUNTY IMP DISTRICT NO. 142               FILE 57254                                                                             LOS ANGELES           CA   90074-7254   UNITED STATES          VEN_829290         829290   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY TREASURER'S OFFICE                CLARK COUNTY IMP. DISTRICT NO. 145              FILE 57254                                                                             LOS ANGELES           CA   90074-7254   UNITED STATES          VEN_712892         712892   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY TREASURER'S OFFICE                FILE 57254                                                                                                                             LOS ANGELES           CA   90074-7254   UNITED STATES       CONTRACT_00182        829290   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CLARK COUNTY WATER RECLAMATION DIST.           PO BOX 98526                                                                                                                           LAS VEGAS             NV   89193-8526   UNITED STATES          VEN_557255         557255   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK COUNTY WATER RECLAMATION DISTRICT        PO BOX 98526                                                                                                                           LAS VEGAS             NV   89193-8526   UNITED STATES       CONTRACT_00183        557255   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CLARK PEST CONTROL                             ACCOUNTING OFFICE                               PO BOX 1480                                                                            LODI                  CA   95241-1480   UNITED STATES          VEN_390934         390934   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLARK, BRIAN                                   6074 CORTE ENCINAS                                                                                                                     PLEASANTON            CA     94566      UNITED STATES       EMPT_CORP_0267                 No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
CLARK, MATTHEW                                 1480 LANDMARK                                                                                                                          PAHRUMP               NV     89060      UNITED STATES        EMPT_MF_0336                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
CLARY ROOFING, INC.                            PO BOX 5068                                                                                                                            RIVERSIDE             CA     92517      UNITED STATES          VEN_751939         751939   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLASSIC PARTY RENTALS                          3101 S. HARBOR BLVD                                                                                                                    SANTA ANA             CA     92704      UNITED STATES          VEN_816181         816181   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLAYTON GLASS & ACCESSORIES, INC.              5609 W. LATHAM ST., SUITE 105                                                                                                          PHOENIX               AZ     85043      UNITED STATES          VEN_197771         197771   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLEARVIEW WINDOWS & DOORS, INC.                PO BOX 802242                                                                                                                          SANTA CLARITA         CA     91380      UNITED STATES          VEN_353711         353711   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLEARWATER PIPELINE INC                        PO BOX 357                                                                                                                             PERRIS                CA     92571      UNITED STATES          VEN_390941         390941   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CLEVELAND GOLF/SRIXON                          PO BOX 7270                                                                                                                            NEWPORT BEACH         CA   92658-7270   UNITED STATES         VEN_MF_039                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CLEVELAND, DARLA                               1477 FAIRLANCE DRIVE                                                                                                                   DIAMOND BAR           CA     91789      UNITED STATES       EMP_CORP_0029                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
CLM ELECTRICAL CONTRACTORS, LLC                2140 YUCCA TERRACE AVE                                                                                                                 PAHRUMP               NV     89048      UNITED STATES         VEN_MF_040                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CLUB CAR, INC.                                 15864 COLLECTIONS CENTER DRIVE                                                                                                         CHICAGO               IL     60693      UNITED STATES         VEN_MF_041                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CLUB FORMS                                     100-C BISHOP STREET                                                                                                                    WINSTON-SALEM         NC     27104      UNITED STATES         VEN_MF_042                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CLUSTER TRUCK EVENTS                           6 MOZZONI AISLE                                                                                                                        IRVINE                CA     92606      UNITED STATES          VEN_828511         828511   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CM CONCRETE, INC.                              650 E. EASY STREET                                                                                                                     SIMI VALLEY           CA     93065      UNITED STATES          VEN_714038         714038   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CMA CABLEVISION                                PO BOX 650394                                                                                                                          DALLAS                TX   75265-0394   UNITED STATES          VEN_711726         711726   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CMC GROW                                       PO BOX 4683                                                                                                                            LOGAN                 UT   84323-4683   UNITED STATES         VEN_MF_043                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CMG LANGUAGE SERVICES                          1570 GILBRETH RD.                                                                                                                      BURLINGAME            CA     94010      UNITED STATES          VEN_276947         276947   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CMX, LLC                                       7740 N. 16TH ST., SUITE 100                                                                                                            PHOENIX               AZ     85020      UNITED STATES          VEN_509149         509149   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CNA - WESTERN SURETY                           PO BOX 5077                                                                                                                            SIOUX FALLS           SD   57117-5077   UNITED STATES       CONTRACT_00184                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COAST BUILDING PRODUCTS, INC.                  6700 GOLDEN GATE DRIVE, SUITE D                                                                                                        DUBLIN                CA     94568      UNITED STATES          VEN_509077         509077   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COAST FRAMING, INC.                            215 LEWIS COURT                                                                                                                        CORONA                CA     92882      UNITED STATES       CONTRACT_00185                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COAST WEST PLUMBING OF PARAMOUNT, INC.         C/O DAVID KEEFE, AGENT                          5620 SUGAR PINE DRIVE                                                                  YORBA LINDA           CA     92886      UNITED STATES     CMSLITCA_365116_032              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COAST WEST PLUMBING OF PARAMOUNT, INC.         C/O ELIZABETH P. NADELSON, ESQ.                 LAW OFFICES OF KEVIN PEGAN                ONE MACARTHUR PLACE, SUITE #310              SANTA ANA             CA     92707      UNITED STATES     CMSLITCA_365116_076              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COASTAL CONCRETE INNOVATIONS, INC.             13685 HIGHWAY 8 BUSINESS                                                                                                               EL CAJON              CA     92021      UNITED STATES       CONTRACT_00186                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COASTAL CONSTRUCTION                           10049 IRON MOUNTAIN COURT                                                                                                              ALTA LOMA             CA   91737-6831   UNITED STATES          VEN_301971         301971   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COASTAL CONSTRUCTION & LUMBER                  525 SUNOL STREET                                                                                                                       SAN JOSE              CA     95126      UNITED STATES       CONTRACT_00187                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COBIANCHI, MARK & SANDRA                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_031            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COBRA PAINTING                                 4711 W. OCOTILLO SUITE 5                                                                                                               GLENDALE              AZ     85301      UNITED STATES          VEN_370925         370925   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COCA-COLA BOTTLING COMPANY                     FILE #53158                                     1000 WEST TEMPLE ST                                                                    LOS ANGELES           CA   90074-3158   UNITED STATES         VEN_MF_044                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CODIZ, MAYRA                                   525 FAIRFAX #41                                                                                                                        COSTA MESA            CA     92627      UNITED STATES       EMP_CORP_0030                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COE & VAN LOO CONSULTING ENGINEERS, INC        4550 N. 12TH STREET                                                                                                                    PHOENIX               AZ     85014      UNITED STATES          VEN_195021         195021   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COE AND VAN LOO, LLC                           4550 N. 12TH STREET                                                                                                                    PHOENIX               AZ     85014      UNITED STATES          VEN_482302         482302   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COE VAN LOO LLC                                4550 NORTH 12TH STREET                                                                                                                 PHOENIX               AZ   85014-4291   UNITED STATES       CONTRACT_00188        482302   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COETZEE, DONOVAN                               19532 STARFISH LANE                                                                                                                    HUNTINGTON BEACH      CA     92648      UNITED STATES       EMPT_WLFS_0279                 No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COIT SERVICES OF NORTH BAY INC.                5277 AERO DRIVE                                                                                                                        SANTA ROSA            CA     95403      UNITED STATES          VEN_392012         392012   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COJO LANDSCAPE, INC.                           PO BOX 1323                                                                                                                            FRENCH CAMP           CA   95231-1323   UNITED STATES       CONTRACT_00189                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLBY, PAUL                                    1971 ROYAL OAK                                                                                                                         TUSTIN                CA     92780      UNITED STATES         EMP_SC_0031                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COLDWATER RANCH COMMUNITY ASSOCIATION          4645 E. COTTON GIN LOOP                                                                                                                PHOENIX               AZ     85040      UNITED STATES       CONTRACT_00190        762291   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLE, LAMAR & ROXANNE                          C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_CA1100369_019             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COLEVAN ELECTRIC, INC.                         111 DEERWOOD RD., SUITE 200                                                                                                            SAN RAMON             CA     94583      UNITED STATES       CONTRACT_00191                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLFIN WLH FUNDING, LLC                        2450 BROADWAY, 6TH FLOOR                                                                                                               SANTA MONICA          CA     90404      UNITED STATES       CONTRACT_00192                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLFIN WLH FUNDING, LLC                        ATTN JOY MALLORY                                2450 BROADWAY, 6TH FLOOR                                                               SANTA MONICA          CA     90404      UNITED STATES            UCC_019                   No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
COLFIN WLH FUNDING, LLC                        ATTN JOY MALLORY, ASSISTANT SECRETARY           2450 BROADWAY, 6TH FLOOR                                                               SANTA MONICA          CA     90404      UNITED STATES       CONTRACT_00193                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLFIN WLH FUNDING, LLC                        ATTN LINDA BODENSTEIN                           2450 BROADWAY, 6TH FLOOR                                                               SANTA MONICA          CA     90404      UNITED STATES       CONTRACT_00194                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLFIN WLH LAND ACQUISITIONS, LLC              2450 BROADWAY, 6TH FLOOR                                                                                                               SANTA MONICA          CA     90404      UNITED STATES          VEN_818814         818814   No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                      Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COLFIN WLH LAND ACQUISITIONS, LLC              ATTN KEVIN TRAENKLE                             2450 BROADWAY, 6TH FLOOR                                                               SANTA MONICA          CA     90404      UNITED STATES       CONTRACT_00195                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLLIN STREET BAKERY                           401 W. 7TH AVE                                                                                                                         CORSICANA             TX     75160      UNITED STATES          VEN_641756         641756   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COLLINS, JULIE                                 25965 N 82ND STREET                                                                                                                    SCOTTSDALE            AZ     85255      UNITED STATES         EMP_AZ_0032                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COLLINS, JULIE                                 3025 SOUTH 48TH STREET, SUITE 4                                                                                                        TEMPE                 AZ   85282-3416   UNITED STATES          VEN_429595         429595   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COLLINS, MICHAEL                               5331 E GRAIN MILL                                                                                                                      PAHRUMP               NV     89061      UNITED STATES         EMP_MF_0191                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COLONY CAPITAL, LLC                            ATTN RONALD M SANDERS, ESQ.                     660 MADISON AVE, STE 1600                                                              NEW YORK              NY     10021      UNITED STATES    CONTRACT_ANP_00006                No   Vendor          Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLONY INSURANCE COMPANY                       PO BOX 85122                                                                                                                           RICHMOND              VA   23285-5122   UNITED STATES       CONTRACT_00196                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLOR COUNTRY CONSTRUCTION                     PO BOX 751480                                                                                                                          LAS VEGAS             NV     89136      UNITED STATES       CONTRACT_00197        646135   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLOR FOR ARCHITECTURE                         2433 RUE DE CANNES                                                                                                                     COSTA MESA            CA     92627      UNITED STATES       CONTRACT_00198                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COLUMBIA HIGH YIELD BOND FUND, A SERIES OF
                                               C/O COLUMBIA MANAGEMENT INVESTMENT ADVISERS,707
                                                                                            LLCSECOND AVE., S.                                                                        MINNEAPOLIS           MN     55402      UNITED STATES       CONTRACT_00199                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
COLUMBIA FUNDS SERIES II
COLUMBIA INCOME OPPORTUNITIES FUND, A SERIES
                                               C/O COLUMBIA MANAGEMENT INVESTMENT ADVISERS,707
                                                                                            LLCSECOND AVE., S.                                                                        MINNEAPOLIS           MN     55402      UNITED STATES       CONTRACT_00200                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
OF COLUMBIA FUNDS SERIES II
COLUMBIA VARIABLE PORTFOLIO - HIGH YIELD
                                               C/O COLUMBIA MANAGEMENT INVESTMENT ADVISERS,707
                                                                                            LLCSECOND AVE., S.                                                                        MINNEAPOLIS           MN     55402      UNITED STATES       CONTRACT_00201                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
BOND FUND, A SERIES OF COLUMBIA FUNDS
COLUMBIA VARIABLE PORTFOLIO - INCOME
                                               C/O COLUMBIA MANAGEMENT INVESTMENT ADVISERS,707
                                                                                            LLCSECOND AVE., S.                                                                        MINNEAPOLIS           MN     55402      UNITED STATES       CONTRACT_00202                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
OPPORTUNITIES FUND, A SERIES OF COLUMBIA
COLUMBUS GROVE COMMUNITY ASSOCIATION           1 POLARIS WAY, SUITE 100                                                                                                               ALISO VIEJO           CA     92656      UNITED STATES          VEN_808991         808991   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COLUMBUS SQUARE COMMUNITY ASSOCIATION          1 POLARIS WAY, SUITE 100                                                                                                               ALISO VIEJO           CA     92656      UNITED STATES          VEN_808982         808982   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COLUMBUS SQUARE COMMUNITY ASSOCIATION          C/O MERIT PROPERTY MANAGEMENT, INC.             1 POLARIS WAY, SUITE 100                                                               ALISO VIEJO           CA     92656      UNITED STATES           BOND_022                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                 10/27/2011
COLYER, GREGORY                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_017            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COM TECH COMMUNICATIONS SYSTEMS                4330 W. DESERT INN, STE. C                                                                                                             LAS VEGAS             NV     89102      UNITED STATES          VEN_190300         190300   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMBS, WILLIAM DON & JUANITA                   C/O CHRISTOPHER H. HAGEN, ESQ. RALPH W. PETERS,WARD
                                                                                                ESQ. JACOB
                                                                                                       & HAGEN
                                                                                                             D. LLP
                                                                                                                BELL, ESQ.               440 STEVENS AVENUE, SUITE 350                SOLANA BEACH          CA     92075      UNITED STATES      CMSLITCA_86438_002              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COMCAST                                        PO BOX 34227                                                                                                                           SEATTLE               WA   98124-1227   UNITED STATES          VEN_561852         561852   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMFORT ENGINEERING                            9175 W. FLAMINGO                                                                                                                       LAS VEGAS             NV     89147      UNITED STATES       CONTRACT_00203        190078   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COMMERCIAL WOOD PRODUCTS COMPANY               10019 YUCCA RD.                                                                                                                        ADELANTO              CA     92301      UNITED STATES          VEN_221858         221858   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMMERCIAL WOOD PRODUCTS COMPANY               C/O CRAIG ROBERTS, AGENT                        10019 YUCCA ROAD                                                                       ADELANTO              CA     92301      UNITED STATES    CMSLITCA_MC021755_021             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COMMITTEE TO ELECT STEVE ROSS LAS VEGAS        MAYOR                                           5950 WEST ROSADA WAY                                                                   LAS VEGAS             NV     89130      UNITED STATES          VEN_832190         832190   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMMUNITY - KELLY BORGEN                       1107 E. CHAPMAN AVE, #100                                                                                                              ORANGE                CA     92866      UNITED STATES          VEN_836756         836756   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMNICK, TERRY                                 C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP        19900 MACARTHUR BLVD., STE. 850              IRVINE                CA     92612      UNITED STATES     CMSLITCA_1007968_015             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COMPENDIA                                      17150 VIA DEL CAMPO, #200                                                                                                              SAN DIEGO             CA     92127      UNITED STATES          VEN_785936         785936   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMPETITOR GROUP, INC.                         9477 WAPLES STREET, SUITE 150                                                                                                          SAN DIEGO             CA     92121      UNITED STATES          VEN_819681         819681   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMPLETE VISION FLOORING, INC.                 11545 ALLEN                                                                                                                            TUSTIN RANCH          CA     92782      UNITED STATES          VEN_389001         389001   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COMPUTER PRESENTATION SYSTEMS                  3035 PROSPECT PARK DR., STE. 90                                                                                                        RANCHO CORDOVA        CA     95670      UNITED STATES          VEN_236291         236291   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONCRETE INSIGHTS CORP                         1040 E. HOWELL AVE                                                                                                                     ANAHEIM               CA     92805      UNITED STATES          VEN_824405         824405   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONCRETE SERVICES, INC.                        5541 CAMERON ST.                                                                                                                       LAS VEGAS             NV     89118      UNITED STATES          VEN_716172         716172   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONNELLY, MARY                                 1 PANORAMA CREST AVE                                                                                                                   LAS VEGAS             NV     89135      UNITED STATES       CONTRACT_00205                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CONNELLY, TERRY                                1 PANORAMA CREST AVE                                                                                                                   LAS VEGAS             NV     89135      UNITED STATES       CONTRACT_00206                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CONNELLY, TERRY A.                             500 PILOT ROAD, SUITE G                                                                                                                LAS VEGAS             NV     89119      UNITED STATES          VEN_242165         242165   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONSOL INC                                     7407 TAM O'SHANTER DR, #200                                                                                                            STOCKTON              CA   95210-3370   UNITED STATES          VEN_390954         390954   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONSOLIDATED REPROGRAPHICS                     345 CLINTON STREET                                                                                                                     COSTA MESA            CA     92626      UNITED STATES       CONTRACT_00207                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CONSTRUCTION 70, INC.                          PO BOX 62345                                                                                                                           PHOENIX               AZ     85082      UNITED STATES       CONTRACT_00208        272330   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CONSTRUCTION INSPECTION & TESTING              618 S. MADISON DR.                                                                                                                     TEMPE                 AZ     85281      UNITED STATES          VEN_195573         195573   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONSTRUCTION PROTECTIVE SERVICES               436 W. WALNUT AVENUE                                                                                                                   GARDENA               CA     90248      UNITED STATES          VEN_328410         328410   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONSTRUCTION SITE MANTENANCE, INC.             1814 COMMERCENTER WEST, SUITE G                                                                                                        SAN BERNARDINO        CA     92408      UNITED STATES          VEN_772481         772481   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONSULTING ASSOCIATES OF CA                    1 CASEY GLEN COURT                                                                                                                     CLAYTON               CA     94517      UNITED STATES          VEN_583461         583461   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONSUMNES FIRE DEPARTMENT                      10573 EAST STOCKTON BLVD                                                                                                               ELK GROVE             CA     95624      UNITED STATES          VEN_835577         835577   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTOUR PAVING                                 1085 N MAIN ST, SUITE A                                                                                                                ORANGE                CA     92867      UNITED STATES          VEN_390956         390956   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRA COSTA ASSOCIATION OF REALTORS           PO BOX 5207                                                                                                                            WALNUT CREEK          CA     94596      UNITED STATES          VEN_797646         797646   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRA COSTA COUNTY ASSESSMENT APPEALS         651 PINE STREET, ROOM 106                                                                                                              MARTINEZ              CA     94553      UNITED STATES          VEN_843585         843585   No   Vendor          Taxing Authority    Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
CONTRA COSTA COUNTY FIRE DISTRICT              2010 GEARY RD.                                                                                                                         PLEASANT HILL         CA     94523      UNITED STATES          VEN_319231         319231   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRA COSTA COUNTY TAX COLLECTOR              ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 7002                                                                            SAN FRANCISCO         CA   94120-7002   UNITED STATES       CMSTX_229964_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
CONTRA COSTA COUNTY TAX COLLECTOR              PO BOX 7002                                                                                                                            SAN FRANCISCO         CA   94120-7002   UNITED STATES          VEN_229964         229964   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRA COSTA COUNTY-PUBLIC WORKS DEPT.         255 GLACIER DRIVE                                                                                                                      MARTINEZ              CA   94553-4825   UNITED STATES          VEN_513009         513009   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRA COSTA WATER DISTRICT                    PO BOX H20                                                                                                                             CONCORD               CA   94524-2099   UNITED STATES          VEN_229622         229622   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRACT CARPET CORP                           PO BOX 630                                                                                                                             ANAHEIM               CA     92815      UNITED STATES          VEN_809387         809387   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRACTORS BONDING AND INSURANCE              111 PACIFICA, STE 350                                                                                                                  IRVINE                CA     92618      UNITED STATES           BOND_064                   No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                 10/27/2011
CONTRACTORS STATE LICENSE BOARD                PO BOX 26000                                                                                                                           SACRAMENTO            CA     95826      UNITED STATES          VEN_221591         221591   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CONTRACTORS TERMITE CONTROL, INC.              14870 CENTRAL AVE                                                                                                                      CHINO                 CA     91710      UNITED STATES       CONTRACT_00209                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COOK ENGINEERING, INC.                         3203 FITZGERALD RD.                                                                                                                    RANCHO CORDOVA        CA     95742      UNITED STATES          VEN_756588         756588   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COOK, MARCI                                    C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                    J. THOMSON,
                                                                                                         SIMONDSESQ.
                                                                                                                  RILEY & VAUGHAN LLP    19900 MACARTHUR BOULEVARD, SUITE 850         IRVINE                CA     92612      UNITED STATES     CMSLITCA_233522_002              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COOK, PAUL                                     C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                    J. THOMSON,
                                                                                                         SIMONDSESQ.
                                                                                                                  RILEY & VAUGHAN LLP    19900 MACARTHUR BOULEVARD, SUITE 850         IRVINE                CA     92612      UNITED STATES     CMSLITCA_233522_001              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COOK'S ICE                                     PO BOX 2192                                                                                                                            PAHRUMP               NV     89041      UNITED STATES         VEN_MF_045                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
COOL REFLECTIONS                               PO BOX 96535                                                                                                                           LAS VEGAS             NV   89193-6535   UNITED STATES          VEN_392729         392729   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COOPER ROOFING                                 1200 S. COMMERCE, STE 110                                                                                                              LAS VEGAS             NV     89102      UNITED STATES         VEN_MF_046                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
COOPER ROOFING & SOLAR, LLC                    1200 S. COMMERCE STREET, SUITE 110                                                                                                     LAS VEGAS             NV     89102      UNITED STATES       CONTRACT_00210        825846   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COOPER ROOFING CO., INC.                       1200 S. COMMERCE ST., SUITE 110                                                                                                        LAS VEGAS             NV     89102      UNITED STATES          VEN_355590         355590   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COPY CAT PRINTING CENTER                       3075 POST ROAD                                                                                                                         LAS VEGAS             NV     89120      UNITED STATES          VEN_190203         190203   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COPYRITE                                       12657 ALCOSTA BLVD, SUITE 170                                                                                                          SAN RAMON             CA     94583      UNITED STATES          VEN_778242         778242   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CORBIN CUSTOM TILE, INC.                       C/O DEAN CORBIN, PRESIDENT                      3 NORMANDY COURT                                                                       TRABUCO CANYON        CA     92679      UNITED STATES     CMSLITCA_365116_033              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CORBIN CUSTOM TILE, INC.                       C/O ROBERT L. CLEMONS, JR., ESQ.                PRENOVOST, NORMANDIN, BERGH & DAWE        2122 NORTH BROADWAY, SUITE #200              SANTA ANA             CA     92706      UNITED STATES     CMSLITCA_365116_077              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CORDIS, MISAEL & ELENA                         C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_032            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CORFIELD FELD LLP                              30270 RANCHO VIEJO RD., SUITE F                                                                                                        SAN JUAN CAPISTRANO   CA     92675      UNITED STATES          VEN_828490         828490   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CORNERSTONE CONCRETE, INC.                     255 BENJAMIN DRIVE                                                                                                                     CORONA                CA     92879      UNITED STATES       CONTRACT_00211                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CORNERSTONE VALUATION TECHNOLOGIES             664-A FREEMAN LANE, PMB#143                                                                                                            GRASS VALLEY          CA   95949-9630   UNITED STATES          VEN_498515         498515   No   Vendor          Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
CORNISH & CAREY COMMERCIAL REAL ESTATE         PO BOX 58159                                                                                                                           SANTA CLARA           CA   95052-8159   UNITED STATES          VEN_825125         825125   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CORPORATE AWARDS, INC.                         C/O J. SAWHNEY                                  1158 SO. POINTE PREMIERE                                                               ANAHEIM HILLS         CA     92807      UNITED STATES          VEN_223010         223010   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CORPORATE EXECUTIVE BOARD                      3393 COLLECTIONS CENTER DRIVE                                                                                                          CHICAGO               IL     60693      UNITED STATES          VEN_838364         838364   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CORPORATION SERVICE COMPANY                    PO BOX 13397                                                                                                                           PHILADELPHIA          PA   19101-3397   UNITED STATES          VEN_842494         842494   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
COSTCO WHOLESALE MEMBERSHIP                    PO BOX 34535                                                                                                                           SEATTLE               WA   98124-1535   UNITED STATES          VEN_293860         293860   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COSTELLO, MICHAEL                              6908 VILAMOURA WAY                                                                                                                     ELK GROVE             CA     95757      UNITED STATES         EMP_NC_0035                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COTA, FERNANDO                                 C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC     1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH         CA     92660      UNITED STATES      CMSLITCA_92941_004              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COTTON, TIM                                    2603 CAMINO RAMON, SUITE 150                                                                                                           SAN RAMON             CA   94583-4289   UNITED STATES          VEN_455099         455099   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COTTON, TIM                                    9 CERRO CT                                                                                                                             DANVILLE              CA     94526      UNITED STATES         EMP_NC_0036                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
COUNTY OF LOS ANGELES AGRICULTURAL COMM.       12300 LOWER AZUSA RD.                                                                                                                  ARCADIA               CA     91006      UNITED STATES          VEN_831912         831912   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF LOS ANGELES DEPT.OF PUBLIC WOR       900 SOUTH FREMONT AVE                                                                                                                  ALHAMBRA              CA     91803      UNITED STATES          VEN_759199         759199   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF MONTEREY                             312 E. ALISAL STREET                                                                                                                   SALINAS               CA     93901      UNITED STATES           BOND_023                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                 10/27/2011
COUNTY OF ORANGE/TAX ASSESSOR                  625 N. ROSS ST.                                 CIVIC CENTER PLAZA, BDLG. 11 ROOM 142                                                  SANTA ANA             CA     92701      UNITED STATES           BOND_024                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                 10/27/2011
COUNTY OF RIVERSIDE                            2950 WASHINGTON STREET                                                                                                                 RIVERSIDE             CA     92504      UNITED STATES       CONTRACT_00213         N/A     No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COUNTY OF RIVERSIDE                            4080 LEMON ST                                                                                                                          RIVERSIDE             CA     92501      UNITED STATES          VEN_223642                  No   Vendor          Taxing Authority    Maintain Creditors                                                     11/9/2011
COUNTY OF RIVERSIDE                            PO BOX 1440                                     DEPT. OF BLDG & SAFETY, CNTY ADMIN CNTR 12TH FL                                        RIVERSIDE             CA   92502-1440   UNITED STATES       CONTRACT_00214         N/A     No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
                                                                              Case 11-14019-CSS                                                                           Doc 1-4                   Filed 12/19/11                             Page 8 of 29

COUNTY OF RIVERSIDE                          PO BOX 1440                                                                                                                                RIVERSIDE           CA      92502      UNITED STATES       CONTRACT_00215          N/A     No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COUNTY OF RIVERSIDE - RIVERSIDE COUNTY
                                             2950 WASHINGTON ST.                                                                                                                        RIVERSIDE           CA      92504      UNITED STATES       CONTRACT_00216          N/A     No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TRANSPORTATION DEPT., CONST. ENGINEER
COUNTY OF SACRAMENTO                         10669 COLOMA RD.                                DIVISION OF REVENUE RECOVERY                                                               RANCHO CORDOVA       CA     95670      UNITED STATES           VEN_548068         548068   No   Vendor       Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF SACRAMENTO                         PO BOX 1804                                                                                                                                SACRAMENTO           CA     95812      UNITED STATES           VEN_235424         235424   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF SACRAMENTO-PUBLIC WORKS AGENCY     PO BOX 1587                                                                                                                                SACRAMENTO           CA     95812      UNITED STATES           VEN_733378         733378   No   Vendor       Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF SAN BERNARDINO                     777 EAST RIALTO AVENUE                          AGRICULTURE-WEED ABATEMENT                                                                 SAN BERNARDINO       CA     92415      UNITED STATES           VEN_224151         224151   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF SAN DIEGO                          5201 RUFFIN ROAD,                               SUITE B                                                                                    SAN DIEGO            CA     92128      UNITED STATES            BOND_026                   No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                10/27/2011
COUNTY OF SAN DIEGO                          5201 RUFFIN ROAD, SUITE D                                                                                                                  SAN DIEGO            CA     92123      UNITED STATES       CONTRACT_00217           N/A    No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COUNTY OF SAN DIEGO                          PO BOX 129261                                                                                                                              SAN DIEGO            CA     92112      UNITED STATES           VEN_232389         232389   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY OF VENTURA ENVIRONMENTAL HEALTH       800 SOUTH VICTORIA AVE                                                                                                                     VENTURA              CA   93009-1730   UNITED STATES           VEN_385570         385570   No   Vendor       Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUNTY SANITATION DISTRICTS OF LA COUNTY     1955 WORKMAN MILL RD., ROOM 130                                                                                                            WHITTIER             CA     90607      UNITED STATES           VEN_752771         752771   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COURAGE CONSULTING ENTERPRISES               574 PALO ALTO PLACE                                                                                                                        PLEASANT HILL        CA     94523      UNITED STATES           VEN_831411         831411   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COURAGE SAFETY SYSTEMS LLC                   647 CAMINO DEL LOS MARES, #108                                                                                                             SAN CLEMENTE         CA     92673      UNITED STATES           VEN_656288         656288   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COUTTS BROTHERS, INC.                        PO BOX 1777                                                                                                                                SAN MARCOS           CA     92079      UNITED STATES           VEN_750119         750119   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COVERSON, DREW & LOVELL                      C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES   CMSLITCA_DEL1100369_033             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
COWAN & THOMPSON CONST., INC.                PO BOX 1514                                                                                                                                MARTINEZ             CA     94553      UNITED STATES           VEN_390973         390973   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COX COMMUNICATIONS                           29947 AVENIDA DE LAS BANDERAS                                                                                                              RANCHO SANTA MARGARITA
                                                                                                                                                                                                             CA     92688      UNITED STATES           VEN_532664         532664   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COX COMMUNICATIONS                           PO BOX 53214                                                                                                                               PHOENIX              AZ   85072-3214   UNITED STATES           VEN_805175         805175   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
COX COMMUNICATIONS                           PO BOX 53249                                                                                                                               PHOENIX              AZ   85072-3249   UNITED STATES       CONTRACT_00218         558469   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COX COMMUNICATIONS                           PO BOX 53262                                                                                                                               PHOENIX              AZ   85072-3262   UNITED STATES       CONTRACT_00219         827770   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
COX COMMUNICATIONS, INC.                     PO BOX 53280                                                                                                                               PHOENIX              AZ   85072-3280   UNITED STATES           VEN_372779         372779   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CPR LIVE                                     9428 SWIFT AVE                                                                                                                             FOUNTAIN VALLEY      CA     92708      UNITED STATES           VEN_815269         815269   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CRANE, IMANI                                 C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_1103791_002              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CRAYCROFT, JAMES R                           C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_SCV26452_001              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CREATIVE CRATE                               12340 SEAL BEACH BLVD, STE. B-269                                                                                                          SEAL BEACH           CA     90740      UNITED STATES           OCP - Holden                No   Vendor       Undefined           Email from Holden                                                     12/17/2011
CREATIVE CRATE                               4425 JAMBOREE RD., #115                                                                                                                    NEWPORT BEACH        CA     92660      UNITED STATES           VEN_786584         786584   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CREATIVE DESIGN CONSULTANTS, LLC             2915 REDHILL, SUITE G201                                                                                                                   COSTA MESA           CA     92626      UNITED STATES       CONTRACT_00220                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CREATIVE DESIGN GROUP                        12907 ALCOSTA BOULEVARD                                                                                                                    SAN RAMON            CA     94583      UNITED STATES       CONTRACT_00221                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CREATIVE DESIGN GROUP                        12907H ALCOSTA BOULEVARD                                                                                                                   SAN RAMON            CA     94583      UNITED STATES           VEN_228582         228582   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CREATIVE DESIGN INTERIORS                    737 W. DEL PASO RD.                                                                                                                        SACRAMENTO           CA     95834      UNITED STATES       CONTRACT_00222                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CREATIVE SURFACE SOLUTIONS, INC.             2855 COLEMAN ST.                                                                                                                           N. LAS VEGAS         NV     89032      UNITED STATES           VEN_333227         333227   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CREATIVE TOUCH                               9380 WAPLES ST., SUITE 105                                                                                                                 SAN DIEGO            CA     92121      UNITED STATES           VEN_232418         232418   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CREATIVE TOUCH INTERIORS                     11928 HARLAN RD.                                                                                                                           LATHROP              CA     95330      UNITED STATES           VEN_680018         680018   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CREATIVE TOUCH INTERIORS                     PO BOX 842196                                                                                                                              DALLAS               TX   75284-2196   UNITED STATES           VEN_829572         829572   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CRESLEIGH HOMES ARIZONA, INC.                7006 W. MINER TRAIL                                                                                                                        PEORIA               AZ     85385      UNITED STATES       CONTRACT_00223         749222   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CRIMSON IMAGING SUPPLIES                     4011 PACIFIC COAST HWY                                                                                                                     TORRANCE             CA     90505      UNITED STATES           VEN_796740         796740   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CROCKER, SCOTT & JACLYN                      C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_365116_021               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CROSBY, MICHAEL                              8232 E. WELDON AVE.                                                                                                                        SCOTTSDALE           AZ     85251      UNITED STATES         EMPT_AZ_0324                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
CROSBY, MICHAEL                              C/O ERIC C. SOHLGREN, PARTNER                   PAYNE & FEARS LLP                     4 PARK PLAZA                            SUITE 1100   IRVINE               CA     92614      UNITED STATES         CMSLIT_03370                  No   Litigant     Arizona             WLH Combo Litigation Load file.XLSX                                   10/27/2011
CROSS STATE ELECTRIC INC                     2445 RAILROAD STREET                                                                                                                       CORONA               CA   92880-5419   UNITED STATES           VEN_221903         221903   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CROWN CUSTOM HARDWARE                        704 W. SOUTHERN AVE                                                                                                                        ORANGE               CA     92865      UNITED STATES       CONTRACT_00224                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CROWN SHEET METAL, INC.                      180 VANDER STREET                                                                                                                          CORONA               CA     92880      UNITED STATES           VEN_489328         489328   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CRUZ, ARTURO & PRISCILLA                     C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_020             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CRUZ, JESSIE                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_013            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CRUZ, MARIA                                  C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_015            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CRUZ, RAFAEL                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_014            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CRYSTAL POOL SERVICES                        2930 S. RIMPAU BLVD                                                                                                                        LOS ANGELES          CA     90016      UNITED STATES           VEN_779894         779894   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CS CONSULTING SERVICE,LLC                    8009 CANYON WREN AVE                                                                                                                       LAS VEGAS            NV   89149-4694   UNITED STATES           VEN_570960         570960   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CSC                                          PO BOX 13397                                                                                                                               PHILADELPHIA         PA   19101-3397   UNITED STATES           VEN_538530         538530   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CST ENVIRONMENTAL LP                         404 N. BERRY STREET                                                                                                                        BREA                 CA     92821      UNITED STATES           VEN_827921         827921   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CT CORPORATION SYSTEM                        PO BOX 4349                                                                                                                                CAROL STREAM         IL   60197-4349   UNITED STATES           VEN_219627         219627   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CTN EDUCATIONAL SERVICES, INC                PO BOX 1246                                                                                                                                DRIPPING SPRINGS     TX     78620      UNITED STATES          VEN_MF_047                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CUCAMONGA SCHOOL DISTRICT                    8776 ARCHIBALD AVE                                                                                                                         RANCHO CUCAMONGA     CA     91730      UNITED STATES           VEN_746275         746275   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUCAMONGA VALLEY WATER DISTRICT              PO BOX 51788                                                                                                                               LOS ANGELES          CA   90051-6088   UNITED STATES           VEN_720657         720657   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CULBERTSON, MARIA                            C/O ISRAEL E. GARCIA, ESQ.                      MILSTEIN, ADELMAN & KREGER, LLP       2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_105271_002               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
CULLIGAN INTERNATIONAL                       PO BOX 5277                                                                                                                                CAROL STREAM         IL   60197-5277   UNITED STATES          VEN_MF_048                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
CULTURED MARBLE PRODUCTS                     2701 MERCED ST.                                                                                                                            SAN LEANDRO          CA     94577      UNITED STATES           VEN_366002         366002   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUMMINGS, LINDSAY                            5430 FINESTRA ST                                                                                                                           PAHRUMP              NV     89061      UNITED STATES         EMP_MF_0192                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
CUPCAKES BY KATE                             1525 E. SUNSET ROAD                                                                                                                        LAS VEGAS            NV     89119      UNITED STATES           VEN_830397         830397   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CURRY PRICE COURT                            444 CAMINO DEL RIO SOUTH, #201                                                                                                             SAN DIEGO            CA     92108      UNITED STATES           VEN_786525         786525   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CURTIS CUSTOM POOLS                          3220 RIVERSIDE DRIVE                                                                                                                       CHINO                CA     91710      UNITED STATES           VEN_237972         237972   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CURTIS EXCAVATING & PIPELINE                 141 CASSIA WAY, SUITE A                                                                                                                    HENDERSON            NV     89014      UNITED STATES           VEN_604752         604752   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CURTIS R GUILLOTTE                           C/O 1001 E WT HARRIS BLVD #P188                                                                                                            CHARLOTTE            NC     28213      UNITED STATES             UCC_003                   No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
CUSTOM COFFEE PLAN                           FILE #55172                                                                                                                                LOS ANGELES          CA   90074-5172   UNITED STATES           VEN_720606         720606   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUSTOM FLOW ENTERPRISES, INC.                PO BOX 14308                                                                                                                               PHOENIX              AZ     85063      UNITED STATES           VEN_275784         275784   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUSTOM HEARTH DISTRIBUTORS, INC.             PO BOX 335367                                                                                                                              NORTH LAS VEGAS      NV     89033      UNITED STATES       CONTRACT_00225         468851   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CUSTOM HOME ACCESSORIES                      11300 TRADE CENTER DR., #A                                                                                                                 RANCHO CORDOVA       CA     95742      UNITED STATES       CONTRACT_00226                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
CUSTOM IRON DESIGNS, INC.                    3068 REDONDO AVE                                                                                                                           CAMARILLO            CA     93012      UNITED STATES           VEN_717394         717394   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUSTOM LOCK & KEY                            PO BOX 1754                                                                                                                                TUSTIN               CA     92781      UNITED STATES           VEN_390660         390660   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUSTOM MARBLE                                201 WINMOORE WAY                                                                                                                           MODESTO              CA     95358      UNITED STATES           VEN_839834         839834   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CUSTOMER SERVICE BUILDERS COUNCIL (CSBC)     17744 SKY PARK CIRCLE, SUITE 170                                                                                                           IRVINE               CA     92614      UNITED STATES           VEN_261569         261569   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CVC CONSTRUCTION                             PO BOX 488                                                                                                                                 W. SACRAMENTO        CA   95605-0488   UNITED STATES           VEN_816430         816430   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
CYBUL, RONDOU AND ASSOCIATES, INC.           25115 AVENUE STANFORD #B-126                                                                                                               VALENCIA             CA     91355      UNITED STATES           VEN_425738         425738   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
D & J ELECTRIC                               1130 W. AMARILLO AVE                                                                                                                       PAHRUMP              NV     89048      UNITED STATES           VEN_743162         743162   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
D & SONS GRADING CONSTRUCTION, INC.          6358 ARCHER ST.                                                                                                                            RIVERSIDE            CA     92509      UNITED STATES           VEN_559824         559824   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
D&J ELECTRICAL SERVICES, LLC.                1130 W. AMARILLO                                                                                                                           PAHRUMP              NV     89048      UNITED STATES          VEN_MF_049                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
D&M PAINTING                                 1441 W. 27TH LANE                                                                                                                          PHOENIX              AZ     85009      UNITED STATES       CONTRACT_00227         831664   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
D. B. INSTALLATIONS, INC., DBA BARDON        C/O EDWARD FREEDOM, AGENT                       4540 KEARNY VILLA ROAD, SUITE #211                                                         SAN DIEGO            CA     92123      UNITED STATES     CMSLITCA_365116_034               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
D. B. INSTALLATIONS, INC., DBA BARDON        C/O KEVIN P. KENNEDY, ESQ.                      KENNEDY & SOUZA                       1230 COLUMBIA STREET, SUITE #600                     SAN DIEGO            CA     92101      UNITED STATES     CMSLITCA_365116_078               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
D. L. LONG LANDSCAPING, INC.                 5475 ""G"" STREET                                                                                                                          CHINO                CA   91710-5233   UNITED STATES           VEN_585459         585459   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
D. LAMOREAUX FARMS II                        1955 S. LINDSAY RD.                                                                                                                        GILBERT              AZ     85295      UNITED STATES       CONTRACT_00228           N/A    No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
D. W. YOUNG COMPANY, INC.                    PO BOX 130                                                                                                                                 ALAMO                CA     94507      UNITED STATES           VEN_813183         813183   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
D.P. COATINGS, INC.                          170 CHARLES AVE                                                                                                                            PLEASANT HILL        CA     94523      UNITED STATES       CONTRACT_00229                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
D33 DESIGN & PLANNING, INC.                  18 GOSSAMER PLACE                                                                                                                          LADERA RANCH         CA     92694      UNITED STATES       CONTRACT_00230         811524   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DAHLIN GROUP                                 5865 OWENS DRIVE                                                                                                                           PLEASANTON           CA     94588      UNITED STATES       CONTRACT_00231                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DAHLINE, HEATH & APRIL                       C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_1103791_011              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DAILY BREEZE                                 PO BOX 30790                                                                                                                               LOS ANGELES          CA   90030-0790   UNITED STATES           VEN_739286         739286   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAILY BREEZE                                 PO BOX 6153                                                                                                                                COVINA               CA     91722      UNITED STATES           VEN_818831         818831   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DALE BARKLEY HITCHCOCK DBA HITCHCOCK         41059 STETSON                                                                                                                              HEMET                CA     92544      UNITED STATES    CMSLITCA_MC021755_022              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DAN, MOLNAR,                                 3102 NEW HAMPSHIRE DRIVE                                                                                                                   CORONA               CA     92881      UNITED STATES           VEN_391396         391396   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DANIEL GIMBEL                                5614 E. MONTE CRISTO AVE                                                                                                                   SCOTTSDALE           AZ     85254      UNITED STATES           VEN_820519         820519   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DANIEL MING (MING FAMILY TRUST)              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES   CMSLITCA_DEL1100369_009             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DAUGHERTY, KATHLEEN                          693 NECTAR WAY                                                                                                                             BRENTWOOD            CA     94513      UNITED STATES         EMPT_NC_0280                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DAVE HIGHLAND HVAC TESTING & DIAGNOSTICS     16821 MCPHERSON AVE                                                                                                                        LAKE ELSINORE        CA     92530      UNITED STATES           VEN_719074         719074   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAVE MATIAS                                  PLANT AND PEST CONTROL                          1174 BRIDGEPORT RD.                                                                        CORONA               CA   92882-5848   UNITED STATES           VEN_615857         615857   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAVE NORTON GRADING, INC.                    2744 SURREY LANE                                                                                                                           ESCONDIDO            CA     92029      UNITED STATES           VEN_526361         526361   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAVID FARRIS                                 9941 CENTRAL VALLEY                                                                                                                        LAS VEGAS            NV     89149      UNITED STATES           VEN_831234         831234   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAVID VASQUEZ                                16576 MANASSAS ST.                                                                                                                         SAN DIEGO            CA     92127      UNITED STATES           VEN_559120         559120   No   Vendor       Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                    11/23/2011
DAVID, TONY & CAROLYN                        C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_173057_027               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DAVIES, HEIDI                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES     CMSLITCA_1007968_017              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DAVIES, RUSSEL                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES     CMSLITCA_1007968_016              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DAVIS ENTERPRISE                             PO BOX 1470                                                                                                                                DAVIS                CA     95617      UNITED STATES           VEN_266600         266600   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAVIS, DEBORAH                               4967 E. SEMIFONTE DR.                                                                                                                      PAHRUMP              NV     89061      UNITED STATES         EMP_NV_0256                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DAVIS, ELIZABETH                             314 E. BRIDLE WAY                                                                                                                          GILBERT              AZ     85295      UNITED STATES          EMP_AZ_0038                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DAWN HILL                                    40 VIA MADERA                                                                                                                              RANCHO SANTA MARGARITA
                                                                                                                                                                                                             CA     92688      UNITED STATES           VEN_819059         819059   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DAWSON ELECTRIC                              PO BOX 5190                                                                                                                                CONCORD              CA     94524      UNITED STATES           VEN_229665         229665   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DBC CONSTRUCTION SERVICES, INC.              9572 TOPANGA CANYON BLVD                                                                                                                   CHATSWORTH           CA     91311      UNITED STATES           VEN_827454         827454   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DBL CONSTRUCTION                             380 NORTH LAKEDALE DRIVE                                                                                                                   ANAHEIM              CA     92807      UNITED STATES           VEN_432356         432356   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DC INSTALLATION CORPORATION                  4690 PANORAMIC COURT                                                                                                                       LAS VEGAS            NV     89129      UNITED STATES           VEN_533632         533632   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DD BUILD CONSTRUCTION, INC.                  20 BARBADOS                                                                                                                                ALISO VIEJO          CA     92656      UNITED STATES           VEN_837564         837564   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DDL LIFELIKE BOTANICALS, INC.                303 ORVILLE WRIGHT COURT                                                                                                                   LAS VEGAS            NV     89119      UNITED STATES           VEN_253905         253905   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DE SILVA GATES CONSTRUCTION                  11555 DUBLIN BOULEVARD                                                                                                                     DUBLIN               CA     94568      UNITED STATES           VEN_411547         411547   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEAN & DUNN ROOFING, LLC                     5385 S. CAMERON ST., SUITE 21                                                                                                              LAS VEGAS            NV     89118      UNITED STATES       CONTRACT_00232         646291   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEAN FENCE & GATE, INC.                      220 N. WILLIAM DILLARD DR.                                                                                                                 GILBERT              AZ     85233      UNITED STATES       CONTRACT_00233         826911   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEAN ROOFING CO., INC.                       5525 S. CAMERON                                                                                                                            LAS VEGAS            NV     89118      UNITED STATES           VEN_190351         190351   No   Vendor       Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
DEANE, JEFFREY                               53 SNOWDROP TREE ST                                                                                                                        IRVINE               CA     92606      UNITED STATES         EMP_SC_0039                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DEBELLING CONST., INC.                       42618 4TH ST. EAST                                                                                                                         LANCASTER            CA     93535      UNITED STATES           VEN_329711         329711   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEBELLING CONSTRUCTION, INC.                 C/O KIM HOLMES, AGENT                           32004 CHRYSTALAIRE DRIVE                                                                   LLANO                CA     93544      UNITED STATES    CMSLITCA_MC021755_023              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DEBI'S CLEANING                              420 N. NELLIS BLVD. A3 PMB #183                                                                                                            LAS VEGAS            NV     89110      UNITED STATES       CONTRACT_00234         190799   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEBORAH HAMILTON, INDIVIDUALLY AND AS
                                             C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                             KASDAN
                                                                                                 J. THOMSON,
                                                                                                     SIMONDSESQ.
                                                                                                             RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                 IRVINE              CA      92612      UNITED STATES     CMSLITCA_233522_021               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRUSTEE OF THE HAMILTON FAMILY TRUST DATED
DECK SYSTEMS NEVADA                          6575 S. ARVILLE ST., SUITE B                                                                                                               LAS VEGAS            NV   89118-4325   UNITED STATES       CONTRACT_00235         252857   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DECKER, STEVE                                1370 BRIDGER                                                                                                                               PAHRUMP              NV     89048      UNITED STATES         EMPT_MF_0353                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DECO WEST, INC                               80 N. MOJAVE SUITE #190                                                                                                                    LAS VEGAS            NV     89101      UNITED STATES          VEN_MF_050                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
DECOITE, MILTON L. & ROSARIO                 C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_067             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DEER VALLEY UNIFIED SCHOOL DISTRICT          20402 N. 15TH AVE                                                                                                                          PHOENIX              AZ     85027      UNITED STATES          VEN_816211          816211   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEFORREST JONES INC.                         1787 POMONA ROAD SUITE C                                                                                                                   CORONA               CA     91720      UNITED STATES          VEN_249279          249279   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEL GROSSO FLOOR COVERINGS                   3170 PONDEROSA WAY                                                                                                                         LAS VEGAS            NV     89118      UNITED STATES       CONTRACT_00236         532672   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEL MAR BLUE PRINT CO., INC.                 2201 SAN DIEGUITO DRIVE                                                                                                                    DEL MAR              CA     92014      UNITED STATES          VEN_812404          812404   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEL MAR MASONRY                              26572 NACCOME                                                                                                                              MISSION VIEJO        CA     92691      UNITED STATES          VEN_524568          524568   No   Vendor       Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
DEL MAR MASONRY                              C/O ELIZABETH P. NADELSON, ESQ.                 LAW OFFICES OF KEVIN PEGAN            ONE MACARTHUR PLACE, SUITE #310                      SANTA ANA            CA     92707      UNITED STATES     CMSLITCA_365116_079               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DEL MAR MASONRY                              C/O JAMES CASAS, AGENT                          22442 MANACOR                                                                              MISSIO VIEJO         CA     92692      UNITED STATES     CMSLITCA_365116_035               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DEL SUR COMMUNITY                            C/O MERIT PROPERTY MANAGEMENT                   1 POLARIS WAY, SUITE 100                                                                   ALISO VIEJO          CA     92656      UNITED STATES          VEN_733212          733212   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEL SUR COMMUNITY ASSOCIATION                C/O MERIT PROPERTY MANAGEMENT, INC.             1 POLARIS WAY, SUITE 100                                                                   ALISO VIEJO          CA   92128-3415   UNITED STATES           BOND_027                    No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                10/27/2011
DEL SUR COMMUNITY ASSOCIATION C/O MERIT      C/O MERIT PROPERTY MANAGEMENT, INC.             1 POLARIS WAY, SUITE 100                                                                   ALISO VIEJO          CA   92128-3415   UNITED STATES           BOND_028                    No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                10/27/2011
DELANEY, JOSEPH                              2518 BATON ROUGE DR                                                                                                                        SAN JOSE             CA     95133      UNITED STATES         EMP_NC_0040                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DELAWARE SECRETARY OF STATE                  DIVISION OF CORPORATIONS                        DEPT. 74072                                                                                BALTIMORE            MD   21274-4072   UNITED STATES          VEN_391004          391004   No   Vendor       Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DELISLE, SUSAN                               6431 WILLOW TREE CT                                                                                                                        PAHRUMP              NV     89061      UNITED STATES         EMP_MF_0193                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DELL FINANCIAL SERVICES LLC                  PO BOX 5292                                                                                                                                CAROL STREAM         IL   60197-5292   UNITED STATES       CONTRACT_00237         826961   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DELL FINANCIAL SERVICES, L.P.                14050 SUMMIT DR BLDG A STE 101                                                                                                             AUSTIN               TX     78758      UNITED STATES            UCC_013                    No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
DELL FINANCIAL SERVICES, L.P.                ATTN CHIEF OPERATING OFFICER                    PO BOX 811550                                                                              CHICAGO              IL   60681-1550   UNITED STATES          LENDER_006                   No   Lender       Secured Lenders     WLH_Secured Lenders_10-26-2011.xlsx                                   10/26/2011
DELL MARKETING L.P.                          PO BOX 910916                                                                                                                              PASADENA             CA   91110-0916   UNITED STATES          VEN_391005          391005   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DELLENS, PATRICIA                            C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_017            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DELLENS, TIMOTHY                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                      IRVINE               CA     92612      UNITED STATES   CMSLITCA_CIVRS913725_016            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DELLINGER CONCRETE                           2426 CHESTNUT ST.                                                                                                                          BRENTWOOD            CA     94513      UNITED STATES          VEN_759068          759068   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DELTA COMMUNITY CREDIT UNION                 105 VIRGINIA AVENUE                                                                                                                        ATLANTA              GA     30354      UNITED STATES            UCC_022                    No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
DELTA DIABLO SEWER DISTRICT                  2500 PITTSBURG-ANTIOCH HWY.                                                                                                                ANTIOCH              CA     94509      UNITED STATES           BOND_029                    No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                10/27/2011
DELTA FENCE CO. INC.                         PO BOX 830                                                                                                                                 BRENTWOOD            CA   94513-0988   UNITED STATES          VEN_433201          433201   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DELTA VALLEY SANITATION, INC.                9401 E. STOCKTON BLVD, SUITE 215                                                                                                           ELK GROVE            CA     95624      UNITED STATES       CONTRACT_00238                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEMELLO-MARTIN, DONNA                        C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_173057_009               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DENAULT COMMERCIAL SUPPLY                    23281 ANTONIO PARKWAY                                                                                                                      RANCHO SANTA MARGARITA
                                                                                                                                                                                                             CA     92688      UNITED STATES          VEN_811161          811161   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DENAULT'S HARDWARE #1                        23281 ANTONIO PKWY                                                                                                                         RANCHO SANTA MARGARITA
                                                                                                                                                                                                             CA     92688      UNITED STATES          VEN_391011          391011   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DENNIS BLAZONA CONSTRUCTION, INC.            525 HARBOR BLVD, SUITE 10                                                                                                                  WEST SACRAMENTO      CA     95691      UNITED STATES          VEN_236478          236478   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DENNIS SAGE HOME ENTERTAINMENT               2265 W. DESERT COVE                                                                                                                        PHOENIX              AZ     85029      UNITED STATES       CONTRACT_00239         328348   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DENNIS SAGE HOME ENTERTAINMENT, INC.         2265 W. DESERT COVE                                                                                                                        PHOENIX              AZ     85029      UNITED STATES          VEN_328348          328348   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DENNISON, DEBBIE                             15262 FALCON CREST DR.                                                                                                                     SAN DIEGO            CA     92127      UNITED STATES          VEN_644800          644800   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DENNISON, DEBRA                              15262 FALCON CREST CT                                                                                                                      SAN DIEGO            CA     92127      UNITED STATES         EMP_SC_0041                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DEPARTMENT OF AIR QUALITY & ENVIRONMENT      500 S. GRAND CENTRAL PRKY-PO BOX 555210                                                                                                    LAS VEGAS            NV     89155      UNITED STATES          VEN_693265          693265   No   Vendor       Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF AIR QUALITY AND                500 S. GRAND CENTRAL PARKWAY PO BOX 555210                                                                                                 LAS VEGAS            NV     89155      UNITED STATES       CONTRACT_00240         693265   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
                                                                                Case 11-14019-CSS                                                                       Doc 1-4           Filed 12/19/11                              Page 9 of 29

DEPARTMENT OF CONSERVATION & NATURAL          RESOURCES - DIVISION OF WATER RESOURCES         901 S. STEWART STREET, SUITE 2002                                               CARSON CITY           NV   89701-5250   UNITED STATES          VEN_817766         817766   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF CONSUMER AFFAIRS                PO BOX 942501                                                                                                                   SACRAMENTO            CA   94258-0501   UNITED STATES          VEN_523645         523645   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF INDUSTRIAL RELATIONS            PO BOX 420603                                                                                                                   SAN FRANCISCO         CA     94142      UNITED STATES          VEN_812834         812834   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF INSURANCE                       PO BOX 1139                                                                                                                     SACRAMENTO            CA   95812-1139   UNITED STATES          VEN_721553         721553   No   Vendor          Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF REAL ESTATE                     2501 E. SAHARA AVENUE SUITE 102                                                                                                 LAS VEGAS             NV   89104-4137   UNITED STATES       CONTRACT_00241        298388   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEPARTMENT OF REAL ESTATE                     ATTN: APPRAISAL FEE DEPARTMENT                  PO BOX 187000                                                                   SACRAMENTO            CA   95818-7000   UNITED STATES       CMSTX_229673_1                 No   Taxing AuthorityAppraisal Fee       Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
DEPARTMENT OF REAL ESTATE                     PO BOX 187000                                                                                                                   SACRAMENTO            CA   95818-7000   UNITED STATES          VEN_229673         229673   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF REAL ESTATE                     PO BOX 187002                                                                                                                   SACRAMENTO            CA   95818-7002   UNITED STATES          VEN_219635         219635   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPARTMENT OF TOXIC SUBSTANCES CONTROL        PO BOX 1288                                                                                                                     SACRAMENTO            CA   95812-1288   UNITED STATES          VEN_837548         837548   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DEPENDABLE HEATING & AIR                      1855 N. 1ST STREET, SUITE A                                                                                                     DIXON                 CA     95620      UNITED STATES       CONTRACT_00242                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEROSA, DANNY                                 6875 ESCALLONIA                                                                                                                 ORANGEVALE            CA     95662      UNITED STATES        EMPT_NC_0314                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DESANTIS, IONE                                6260 JONQUIL CT                                                                                                                 PAHRUMP               NV     89061      UNITED STATES         EMP_MF_0194                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DESERT HEAT BMX                               4238 E. DOUGLAS AVE                                                                                                             GILBERT               AZ     85234      UNITED STATES          VEN_826371         826371   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESERT PIPE & SUPPLY                          75-200 MERLE DRIVE                                                                                                              PALM DESERT           CA     92211      UNITED STATES          VEN_835892         835892   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESERT PLASTERING, LLC                        2602 LOSEE RD.                                                                                                                  N. LAS VEGAS          NV     89030      UNITED STATES       CONTRACT_00243        608964   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DESERT SHORE TILE                             4141 WAGON TRAIL                                                                                                                LAS VEGAS             NV     89118      UNITED STATES          VEN_190684         190684   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESIGN ALLIANCE                               303 BROADWAY ST., #204-6                                                                                                        LAGUNA BEACH          CA     92651      UNITED STATES          VEN_816261         816261   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESIGN LIGHTING AND CONTROLS, INC.            1155 W. 23RD STREET, SUITE 3B                                                                                                   TEMPE                 AZ     85282      UNITED STATES          VEN_640817         640817   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESIGN LINE INTERIORS INCORPORATED            1302 CAMINO DEL MAR, SUITE A                                                                                                    DEL MAR               CA     92014      UNITED STATES          VEN_221989         221989   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESIGN MODULARS                               3960 E. ILLINOIS ST.                                                                                                            TUCSON                AZ     85714      UNITED STATES       CONTRACT_00244        735779   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DESIGN TRADITIONS                             813 RANCHO VISSTA DRIVE                                                                                                         PRESCOTT              AZ     86303      UNITED STATES       CONTRACT_00245        437114   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DESIGN TRADITIONS                             813 RANCHO VISTA DRIVE                                                                                                          PRESCOTT              AZ     86303      UNITED STATES          VEN_437114         437114   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESJARDIN, JOSEPH                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE                CA     92612      UNITED STATES    CMSLITCA_1007968_018              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DESJARDIN, VALERIE                            C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE                CA     92612      UNITED STATES    CMSLITCA_1007968_019              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DESMONI PLUMBING                              1850 LOCKSPUR ST.                                                                                                               PAHRUMP               NV     89060      UNITED STATES          VEN_643233         643233   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DESMONI PLUMBING, INC.                        1610 E. DEERSKIN ST.                                                                                                            PAHRUMP               NV   89048-6038   UNITED STATES         VEN_MF_051                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
DESOUZA, RUDY & SANCESCA                      C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_CA1100369_021             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DEVELOPERS INSURANCE COMPANY                  17780 FITCH, STE 200                                                                                                            IRVINE                CA     92614      UNITED STATES           BOND_065                   No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                         10/27/2011
DEVELOPERS MAINTENANCE                        PO BOX 94654                                                                                                                    LAS VEGAS             NV   89193-4654   UNITED STATES       CONTRACT_00246        698040   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEVELOPER'S RESEARCH                          2151 MICHELSON DR., SUITE 190                                                                                                   IRVINE                CA     92612      UNITED STATES       CONTRACT_00247                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEVELOPMENT PLANNING & FINANCIAL GROUP        27127 CALLE ARROYO, SUITE 1910                                                                                                  SAN JUAN CAPISTRANO   CA     92675      UNITED STATES       CONTRACT_00248                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DEVON & DEVON                                 PO BOX 27008                                                                                                                    SALT LAKE CITY        UT     84127      UNITED STATES          VEN_223212         223212   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DGW BUDGET PREPARATION                        24401 SANTA CLARA AVE                                                                                                           DANA POINT            CA     92629      UNITED STATES          VEN_221946         221946   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DH CONSTRUCTION                               4324 ORANGE GROVE AVE, #A                                                                                                       SACRAMENTO            CA     95841      UNITED STATES          VEN_841248         841248   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DHJ & COMPANY                                 1914 ALTURA DRIVE                                                                                                               CORONA DEL MAR        CA     92625      UNITED STATES          VEN_391019         391019   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIABLO STEAM WAY                              1667 AGADIR ST                                                                                                                  CONCORD               CA     94518      UNITED STATES          VEN_391021         391021   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIAMOND GLASS                                 3037 EDINGER AVENUE                                                                                                             TUSTIN                CA     92780      UNITED STATES          VEN_391022         391022   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIAMOND MASONRY                               PO BOX 18185                                                                                                                    PHOENIX               AZ     85005      UNITED STATES       CONTRACT_00249        496405   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIAMOND PATIOS                                5755 W. WIGWAM AVE                                                                                                              LAS VEGAS             NV     89139      UNITED STATES       CONTRACT_00250        409922   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIAZ CONSTRUCTION                             9782 INDIANA AVE                                                                                                                RIVERSIDE             CA     92503      UNITED STATES       CONTRACT_00251                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIAZ CONSTRUCTION COMPANY, INC.               RAMON DIAZ                                      9782 INDIANA AVE.                                                               RIVERSIDE             CA     92503      UNITED STATES    CMSLITCA_1103527_029              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DIEN, DUONG                                   C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_173057_004              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DIEP, SABRINA                                 161 SANTA FE COURT                                                                                                              PLACENTIA             CA     92870      UNITED STATES         EMP_SC_0042                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DIMON, JAMES                                  270 PARK AVENUE                                                                                                                 NEW YORK              NY     10017      UNITED STATES            UCC_025                   No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
DINH, DIANA                                   C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_173057_008              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DIRECT GRADING & PAVING                       3134 NEBULOUS CIRCLE                                                                                                            NO. LAS VEGAS         NV     89032      UNITED STATES          VEN_518395         518395   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIRECT TV                                     PO BOX 60036                                                                                                                    LOS ANGELES           CA   90060-0036   UNITED STATES       CONTRACT_00252                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIRECTV                                       PO BOX 60036                                                                                                                    LOS ANGELES           CA   90060-0036   UNITED STATES         VEN_MF_052                   No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
DISCLOSURE SOURCE                             PO BOX 7134                                                                                                                     SAN FRANCISCO         CA   94120-7134   UNITED STATES          VEN_488000         488000   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DISCOUNT GLASS & MIRRO                        9555 DISTRIBUTION AVE                                                                                                           SAN DIEGO             CA     92121      UNITED STATES          VEN_822178         822178   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DISPLAY COMMUNICATIONS, LLC                   946 E. STOLEN BOULEVARD                                                                                                         CAMP VERDE            AZ     86322      UNITED STATES       CONTRACT_00253        585441   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DISPLAY COMMUNICATIONS, LLC                   946 EAST STOLEN BOULEVARD                                                                                                       CAMP VERDE            AZ     86322      UNITED STATES          VEN_585441         585441   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DISPLAY GRAPHICS, INC.                        16182 GOTHARD STREET, UNIT L                                                                                                    HUNTINGTON BEACH      CA     92647      UNITED STATES       CONTRACT_00254                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DISTINCTIVE MARBLE, INC.                      1239 E. FRANKLIN AVE                                                                                                            POMONA                CA     91766      UNITED STATES       CONTRACT_00255        266984   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIVERSIFIED BUILDER FIREPLACES, LLC           210 N. SUNWAY DRIVE                                                                                                             GILBERT               AZ     85233      UNITED STATES          VEN_790903         790903   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIVERSIFIED BUILDER SUPPLY                    210 N. SUNWAY DRIVE                                                                                                             GILBERT               AZ     85233      UNITED STATES       CONTRACT_00256        194837   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIVERSIFIED BUILDER SUPPLY, INC.              210 N. SUNWAY DRIVE                                                                                                             GILBERT               AZ     85233      UNITED STATES          VEN_194837         194837   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIVERSIFIED PROTECTION SYSTEMS, INC.          4435 WAGON TRAIL AVE                                                                                                            LAS VEGAS             NV     89118      UNITED STATES       CONTRACT_00257        811807   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DIVISION OF ENVIRONMENTAL PROTECTION          2030 E. FLAMINGO ROAD, SUITE 230                                                                                                LAS VEGAS             NV   89119-5163   UNITED STATES          VEN_346351         346351   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIVISION OF WATER RESOURCE                    555 E. WASHINGTON #4200                                                                                                         LAS VEGAS             NV     89101      UNITED STATES          VEN_375574         375574   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DIVISION OF WATER RESOURCES                   555 E WASHINGTON #4200                                                                                                          LAS VEGAS             NV     89101      UNITED STATES       CONTRACT_00258        375574   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DK DIRECT                                     11391 SUNRISE GOLD CIRCLE, #300                                                                                                 RANCHO CORDOVA        CA     95742      UNITED STATES          VEN_816237         816237   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DK1 TILE AND STONE                            24881 ALICIA PARKWAY #E-184                                                                                                     LAGUNA HILLS          CA     92653      UNITED STATES          VEN_804885         804885   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DLA PIPER RUDNICK GRAY CARY US, LLP           400 CAPITAL MALL, SUITE 2400                                                                                                    SACRAMENTO            CA   95814-4428   UNITED STATES          VEN_696802         696802   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DLD INSURANCE BROKERS INC                     17712 MITCHELL NORTH                                                                                                            IRVINE                CA     92614      UNITED STATES          VEN_391029         391029   No   Vendor          Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DMC CONCRETE, INC.                            C/O EMOGENE BETZ                                AGENT FOR SERVICE OF PROCESS         492 QUAIL GLEN DRIVE                       OAKLEY                CA     94561      UNITED STATES     CMSLITCA_500837_009              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
DMC CONCRETE, INC.                            C/O MELISSA WOOD EISENBERG, ESQ.                MURCHISON & CUMMING, LLP             275 BATTERY STREET, SUITE 550              SAN FRANCISCO         CA     94111      UNITED STATES     CMSLITCA_500837_010              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
DMV                                           ATTN: PERMIT FEE DEPARTMENT                     PO BOX 942897                                                                   SACRAMENTO            CA     94297      UNITED STATES       CMSTX_391031_1                 No   Taxing AuthorityPermit Fee          Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
DMX, INC.                                     PO BOX 660557                                                                                                                   DALLAS                TX   75266-0557   UNITED STATES          VEN_778091         778091   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DO, THANH                                     C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_173057_014              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DOCUSIGN, INC.                                1301 2ND AVENUE, SUITE 2000                                                                                                     SEATTLE               WA     98101      UNITED STATES          VEN_838073         838073   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DODDINGTON CONSTRUCTION, INC.                 8561 STANFORD AVE                                                                                                               GARDEN GROVE          CA     92841      UNITED STATES       CONTRACT_00259                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DOMINGUEZ, MARIA G.                           C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_CA1100369_022             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DOMOTOR, FAITH                                8331 POLK CIRCLE                                                                                                                HUNTINGTON BEACH      CA     92646      UNITED STATES         EMP_SC_0043                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DON PRIDMORE & SON                            1305 CAPELL VALLEY ROAD                                                                                                         NAPA                  CA     94558      UNITED STATES          VEN_282319         282319   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DON SPRAGGINS UNDERGROUND                     3410 LA SIERRA AVENUE, #F231                                                                                                    RIVERSIDE             CA     92503      UNITED STATES          VEN_391036         391036   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DONALD ROCHA FOR SAN JOSE CITY COUNCIL        DISTRICT 9                                      1803 COMSTOCK LANE                                                              SAN JOSE              CA     95124      UNITED STATES          VEN_822477         822477   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DONNELL, REBECCA                              C/O LAW OFFICE OF COLEMAN, CHAVEZ & ALLEN       ATTN: JEFF LANTERMAN                 2200B DOUGLAS BOULEVARD, SUITE 125         ROSEVILLE             CA     95661      UNITED STATES      CMSLIT_10100706094              No   Litigant        Nevada              WLH Combo Litigation Load file.XLSX                                   10/27/2011
DOORWAY MANUFACTURING CO                      140 MAPLE STREET, SUITE 102                                                                                                     CORONA                CA     92880      UNITED STATES          VEN_391040         391040   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOORWAY MANUFACTURING COMPANY                 140 MAPLE STREET, SUITE 102                                                                                                     CORONA                CA     92880      UNITED STATES          VEN_232581         232581   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DORADO CONCRETE, INC.                         715 WEST GROVE AVENUE                                                                                                           ORANGE                CA     92866      UNITED STATES          VEN_391041         391041   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DORNBIER ELECTRIC                             PO BOX 132                                                                                                                      EL DORADO HILLS       CA     95623      UNITED STATES          VEN_823787         823787   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOROTHY ALTENHOFF                             3434 ARIES COURT                                                                                                                SANTA ANA             CA     92704      UNITED STATES          VEN_839551         839551   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOUGLAS BENDER & ASSOCIATES                   11860 PIERCE STREET, SUITE 100                                                                                                  RIVERSIDE             CA     92505      UNITED STATES          VEN_409130         409130   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOUGLAS K. AMMERMAN                           57 EMERALD BAY                                                                                                                  LAGUNA BEACH          CA     92651      UNITED STATES          VEN_750936         750936   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOUGLAS, BRANDON                              140 DOMINGO                                                                                                                     PAHRUMP               NV     89060      UNITED STATES        EMPT_MF_0370                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DOUG'S SWEEPING, INC.                         PO BOX 879                                                                                                                      SPRING VALLEY         CA     91976      UNITED STATES          VEN_575023         575023   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOWELL, ANGELA                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_034            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DOWN TO EARTH CONSTRUCTION SERVICES, INC      841 N. STAGE COACH LANE                                                                                                         FALLBROOK             CA     92028      UNITED STATES       CONTRACT_00260                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
DOWNS, RACHLIN & MARTIN, PLLC                 199 MAIN STREET                                 PO BOX 190                                                                      BURLINGTON            VT     05402      UNITED STATES          VEN_417308         417308   No   Vendor          Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOWNSTREAM SERVICES                           2855 PROGRESS PLACE                                                                                                             ESCONDIDO             CA     92029      UNITED STATES          VEN_484640         484640   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DOYLE, BRIAN                                  697 CYPRESS HILLS DR.                                                                                                           ENCINITAS             CA     92024      UNITED STATES         EMP_SC_0044                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DPFG-DISCLOSURE SERVICES, INC.                27127 CALLE ARROYO, SUITE 1910                                                                                                  SAN JUAN CAPISTRANO   CA     92675      UNITED STATES          VEN_795237         795237   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DRI COMMERCIAL                                17182 ARMSTRONG AVE                                                                                                             IRVINE                CA     92614      UNITED STATES          VEN_750961         750961   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DRYWALL WORKS                                 5900 WAREHOUSE WAY                                                                                                              SACRAMENTO            CA     95826      UNITED STATES          VEN_446432         446432   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DSU UTILITY TRENCHING, INC.                   3410 LA SIERRA AVENUE, F231                                                                                                     RIVERSIDE             CA     92503      UNITED STATES          VEN_487031         487031   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DUDEK AND ASSOCIATES                          605 THIRD STREET                                                                                                                ENCINITAS             CA     92024      UNITED STATES          VEN_232602         232602   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DUESING, DENNIS                               641 W. CALVADA BLVD                                                                                                             PAHRUMP               NV     89048      UNITED STATES         EMP_MF_0195                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
DUNHAM ROOFING                                3401 GATO COURT                                                                                                                 RIVERSIDE             CA     92507      UNITED STATES          VEN_730484         730484   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DUNN-EDWARDS CORPORATION                      4885 E 52ND PL                                                                                                                  LOS ANGELES           CA   90040-2884   UNITED STATES          VEN_391050         391050   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
DUNNING, PACENTIA                             C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                    2155 CHICAGO AVE., SUITE 300               RIVERSIDE             CA     92507      UNITED STATES    CMSLITCA_1105650_007              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DUQUE, ALMIRA                                 C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_1103791_003              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
DUSTIN, THOMAS, AN INDIVIDUAL AND AS CO
                                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850            IRVINE                CA     92612      UNITED STATES    CMSLITCA_1007968_077              No   Litigant       California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRUSTEE OF THE THOMAS & JANIS DUSTIN LIVING
DUXFORD ESCROW, INC.                          4490 VON KARMAN AVENUE                                                                                                          NEWPORT BEACH         CA     92660      UNITED STATES          ENTITY_003                  No   Vendor         Legal Entity         Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
DUXFORD FINANCIAL, INC.                       4490 VON KARMAN AVENUE                                                                                                          NEWPORT BEACH         CA     92660      UNITED STATES          ENTITY_004                  No   Vendor         Legal Entity         Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
DUXFORD INSURANCE SERVICES, LLC               4490 VON KARMAN AVENUE                                                                                                          NEWPORT BEACH         CA     92660      UNITED STATES          ENTITY_005                  No   Vendor         Legal Entity         Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
DUXFORD TITLE REINSURANCE CO.                 4490 VON KARMAN AVENUE                                                                                                          NEWPORT BEACH         CA     92660      UNITED STATES          ENTITY_006                  No   Vendor         Legal Entity         Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
DW CONSULTANTS, INC.                          2900 BRISTOL STREET, SUITE C104                                                                                                 COSTA MESA            CA     92626      UNITED STATES       CONTRACT_00261                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
DW NICHOLES & COMPANY, INC.                   819 E. CHESTNUT AVE                                                                                                             ORANGE                CA     92867      UNITED STATES          VEN_825512         825512   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
DYNAMIC HEATING & AIR OF NEVADA, INC.         4745 COPPER SAGE ST.                                                                                                            LAS VEGAS             NV     89115      UNITED STATES          VEN_831218         831218   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
DYNAMIC PLUMBING SYSTEMS, INC. OF NEVADA      4745 COPPER SAGE STREET                                                                                                         LAS VEGAS             NV     89115      UNITED STATES       CONTRACT_00262        657580   No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
DYNAMITE SIGNS, INC.                          29040 N. 44TH ST.                                                                                                               CAVE CREEK            AZ     85331      UNITED STATES          VEN_825053         825053   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
E J FLOW TESTS                                5748 N. 31ST AVE                                                                                                                PHOENIX               AZ     85017      UNITED STATES          VEN_750952         750952   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
E&M CONSULTING                                80 W. 78TH STREET, #230                                                                                                         CHANHASSEN            MN     55317      UNITED STATES          VEN_841715         841715   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
E. ROSEN CONSTRUCTION INC.                    310 N. WESTLAKE BLVD, STE. 100                                                                                                  WESTLAKE VILLAGE      CA     91362      UNITED STATES          VEN_328743         328743   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EAGLE ONE GOLF PRODUCTS                       1201 W. KATELLA AVENUE                                                                                                          ORANGE                CA     92867      UNITED STATES          VEN_478485         478485   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EAGLE SENTRY                                  3595 E. PATRICK LANE, SUITE 1200                                                                                                LAS VEGAS             NV     89120      UNITED STATES          VEN_433244         433244   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EARL FRASER CONSTRUCTION                      22342 GRAND TERRACE                                                                                                             GRAND TERRACE         CA     92324      UNITED STATES          VEN_246326         246326   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EARL K. POWERS CONSTRUCTION                   PO BOX 462808                                                                                                                   ESCONDIDO             CA     92046      UNITED STATES          VEN_310084         310084   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EARTH FORMS, INC.                             475 E. MISSION RD.                                                                                                              SAN MARCOS            CA     92069      UNITED STATES          VEN_517317         517317   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EAST BAY CONSTRUCTION CO INC                  6336 PATTERSON PASS RD.                         SUITE H                                                                         LIVERMORE             CA   94550-9577   UNITED STATES          VEN_391058         391058   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EAST GARRISON PARTNERS I, LLC                 4000 EXECUTIVE PARKWAY, SUITE 250                                                                                               SAN RAMON             CA     94583      UNITED STATES        AFFILIATE_024                 No   Vendor         Affiliate            Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
EASTRIDGE PERSONNEL OF LAS VEGAS              DEPT. 3210                                                                                                                      LOS ANGELES           CA   90084-3210   UNITED STATES          VEN_576253         576253   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EASY LIFT GARAGE DOOR CO.                     2871 HOWE AVENUE                                                                                                                SACRAMENTO            CA     95821      UNITED STATES          VEN_236267         236267   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EASY PICKER GOLF PRODUCTS, INC.               415 LEONARD BLVD.                                                                                                               LEHIGH                FL     33971      UNITED STATES         VEN_MF_053                   No   Vendor         Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
EASY READER                                   832 HERMOSA AVE                                                                                                                 HERMOSA BEACH         CA     90254      UNITED STATES          VEN_770566         770566   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EATON-WATERWORTH, KIMBERLY                    3362 DIABLO CIRCLE                                                                                                              PINOLE                CA     94564      UNITED STATES        EMPT_NC_0281                  No   Employee       Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
ECAM SECURE, INC.                             DBA: CPS SECURITY SOLUTIONS                     436 W. WALNUT ST.                                                               GARDENA               CA     90248      UNITED STATES          VEN_548308         548308   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ECKERT, ROGER                                 C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_173057_001              No   Litigant       California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
ECONOMIC SOLUTIONS, INC.                      438 CAMBRIDGE AVE, SUITE 225                                                                                                    PALO ALTO             CA     94306      UNITED STATES          VEN_839842         839842   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EDCO ENTERPRISES                              9916 RIO VISTA DR.                                                                                                              SACRAMENTO            CA     95837      UNITED STATES          VEN_815904         815904   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EDGE METALWORKS, INC.                         TIMOTHY E. CARY, AGENT                          26055 KAYWOOD TERRACE                                                           ESCONDIDO             CA   92026-8420   UNITED STATES    CMSLITCA_1103527_030              No   Litigant       California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
EDGE POINT                                    10137 CRASHING THUNDER PLACE                                                                                                    NOKESVILLE            VA     20181      UNITED STATES          VEN_839068         839068   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EDINGER ARCHITECTURAL CORPORATION             2827 PRESIDIO DRIVE                                                                                                             SAN DIEGO             CA     92110      UNITED STATES       CONTRACT_00264        492295   No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
EDWARD E. PETERS                              7155 MOORPARK RD.                                                                                                               MOORPARK              CA     93021      UNITED STATES       CONTRACT_00265          N/A    No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
EDWARD L. PACK ASSOCIATES, INC.               1975 HAMILTON AVE., SUITE 26                                                                                                    SAN JOSE              CA     95125      UNITED STATES       CONTRACT_00266                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
EDWARDS, CLARK                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA          CA     90405      UNITED STATES   CMSLITCA_DEL1100369_035            No   Litigant       California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
EFFEX                                         5965 HARRISON DRIVE, SUITE 8                                                                                                    LAS VEGAS             NV     89120      UNITED STATES         VEN_MF_054                   No   Vendor         Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
EFFICIENT LIGHTING & ELECTRIC                 9125 ROSE ST.                                                                                                                   BELLFLOWER            CA     90706      UNITED STATES          VEN_828756         828756   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EISENBERG, LISA                               C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC             5752 OBERLIN DRIVE, SUITE 105              SAN DIEGO             CA     92121      UNITED STATES     CMSLITCA_96610_037               No   Litigant       California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
EISINGER SMITH, INC                           PO BOX 5008                                                                                                                     GOLDEN                CO     80401      UNITED STATES         VEN_MF_055                   No   Vendor         Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
EKNAYAN, LINDA                                3511 BEAM DRIVE                                                                                                                 LAS VEGAS             NV     89139      UNITED STATES         EMP_NV_0045                  No   Employee       Active               Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
ELEAZAR ALDAZ                                 2502 BATON ROUGE DRIVE                                                                                                          SAN JOSE              CA     95133      UNITED STATES          VEN_659041         659041   No   Vendor         Trade Payable        AP Aging Detail 10-20-11 ADDITIONS.xls                                 10/26/2011
ELEGANT BY DESIGN                             10661 ELLIS AVE, SUITE H                                                                                                        FOUNTAIN VALLEY       CA     92708      UNITED STATES          VEN_830178         830178   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELEGANT SURFACES                              551 CARNEGIE ST.                                                                                                                MANTECA               CA     95337      UNITED STATES          VEN_731209         731209   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELI INDUSTRIES, INC.                          8928 FULLBRIGHT AVE                                                                                                             CHATSWORTH            CA     91311      UNITED STATES       CONTRACT_00267                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ELIANT, INC.                                  638 CAMINO DE LOS MARES                         SUITE H130-147                                                                  SAN CLEMENTE          CA     92673      UNITED STATES       CONTRACT_00268        554265   No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ELITE BOBCAT SERVICE, INC. (EBS, INC.)        1320 E. SIXTH ST., #100                                                                                                         CORONA                CA   92879-1700   UNITED STATES       CONTRACT_00269                 No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ELITE WINDOW CORPORATION                      2720 LAND AVE                                                                                                                   SACRAMENTO            CA     95815      UNITED STATES          VEN_738443         738443   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELITE WINDOW CORPORATION                      AND TEXTRON FINANCIAL                           PO BOX 100156                                                                   PASADENA              CA   91189-0132   UNITED STATES          VEN_627137         627137   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELK GROVE POLICE DEPT.                        ATTN: ALARM UNIT                                8400 LAGUNA PALMS WAY                                                           ELK GROVE             CA     95758      UNITED STATES          VEN_743189         743189   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELK GROVE UNIFIED SCHOOL DISTRICT             9510 ELK GROVE-FLORIN RD., ROOM 206                                                                                             ELK GROVE             CA     95624      UNITED STATES          VEN_640761         640761   No   Vendor         Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELKINS, MARC                                  3704 COLEMAN ST                                                                                                                 LAS VEGAS             NV     89032      UNITED STATES        EMPT_NV_0244                  No   Employee       Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
ELLIOTT HOMES, INC.                           502 LISTOWE DR.                                                                                                                 FOLSOM                CA     95630      UNITED STATES          VEN_819665         819665   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELLISON FRAMING INC                           420 BEATRICE COURT, SUITE E                                                                                                     BRENTWOOD             CA     94513      UNITED STATES          VEN_391066         391066   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ELS CONSTRUCTION, INC.                        3329 E. SOUTHERN AVE                                                                                                            PHOENIX               AZ     85040      UNITED STATES       CONTRACT_00270        740906   No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ELTISTE COMPANY                               32221 ALIPAZ, #127                                                                                                              SAN JUAN CAPISTRANO   CA     92675      UNITED STATES          VEN_818881         818881   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMBARQ                                        PO BOX 660068                                                                                                                   DALLAS                TX   75266-0068   UNITED STATES          VEN_728181         728181   No   Vendor         Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMBARQ COMMUNICATIONS                         PO BOX 219008                                                                                                                   KANSAS CITY           MO   64121-9008   UNITED STATES          VEN_780932         780932   No   Vendor         Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMCAS                                         5180 ROSWELL RD., SUITE 100 N.                                                                                                  ATLANTA               GA     30342      UNITED STATES          VEN_754822         754822   No   Vendor         Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
                                                                             Case 11-14019-CSS                                                                              Doc 1-4         Filed 12/19/11                               Page 10 of 29

EMCEE PROMOTIONS, INC.                       27541 BOOTHILL COURT                                                                                                                 LAGUNA HILLS        CA      92653      UNITED STATES          VEN_485706           485706   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMERALD PAVING COMPANY                       6381 INDUSTRY WAY                                                                                                                    WESTMINSTER         CA      92683      UNITED STATES          VEN_752894           752894   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMERGENCY RESTORATION EXPERTS                3045 N. COLORADO ST.                                                                                                                 CHANDLER            AZ      85225      UNITED STATES          VEN_616711           616711   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMPIRE ENGINEERING                           725 ORANGE HILL DRIVE                                                                                                                CORONA              CA      92881      UNITED STATES          VEN_418394           418394   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
EMPIRE INSULATION, INC.                      4211 LATHAM ST.                                                                                                                      RIVERSIDE           CA      92501      UNITED STATES        CONTRACT_00271                  No   Vendor        Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
EMPIRE REFRIGERATION                         1130 CENTER ST.                                                                                                                      PAHRUMP             NV      89048      UNITED STATES          VEN_647058           647058   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ENCINAS, JEFF                                1331 BLACKHORN                                                                                                                       PAHRUMP             NV      89048      UNITED STATES         EMP_MF_0196                    No   Employee      Active               Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
ENERGETIC LATH & PLASTER AND FARMERS & M     116 W. PINE STREET                              ATTN: TRACY MUEGGE                                                                   LODI                CA      95240      UNITED STATES          VEN_543902           543902   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ENERGETIC PAINTING & DRYWALL AND FARMERS     116 W. PINE STREET                              ATTN: TRACY MUEGGE                                                                   LODI                CA      95240      UNITED STATES          VEN_722601           722601   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
ENERGY INSPECTORS CORPORATION                8515 EDNA AVE, SUITE 210                                                                                                             LAS VEGAS           NV      89117      UNITED STATES        CONTRACT_00272         813618   No   Vendor        Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
ENGEL ENTERPRISES LIMITED PARTNERSHIP, E.
RODNEY ENGEL JR. AND JANELLE A.Y. ENGEL,
                                             E. RODNEY ENGEL AND JANELLE A.Y. ENGEL, ENGEL ENTERPRISES,
                                                                                            3001 E. LEHI RD.,
                                                                                                          INC.MESA, AZ 85213                                                      MESA                AZ      85213      UNITED STATES        CONTRACT_00273                  No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRUSTEES OF THE RODNEY ENGEL, JR. AND
JANELLE A.Y. ENGEL FAMILY REVOCABLE LIVING
ENGEL RANCHES A/K/A R & J ENGEL FARMS        3001 E. LEHI RD.                                                                                                                     MESA                 AZ   85004-4406   UNITED STATES         CONTRACT_00274        732295   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ENGEL, EVAN                                  920 E. LUCAS LANE                                                                                                                    PAHRUMP              NV     89060      UNITED STATES          EMP_MF_0197                   No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ENGEO INCORPORATED                           2010 CROW CANYON PLACE, STE. 250                                                                                                     SAN RAMON            CA   94583-4634   UNITED STATES           VEN_229745          229745   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ENTZEL, MICHELLE MARIE                       C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_CA1100369_005             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ENVIRO-GUARD                                 2348 CEBU COURT                                                                                                                      PLACENTIA            CA     92870      UNITED STATES           VEN_725589          725589   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ENVIRON INTERNATIONAL CORPORATION            2010 MAIN ST., SUITE 900                                                                                                             IRVINE               CA     92614      UNITED STATES           VEN_696301          696301   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ENVIRONMENTAL DESIGN, INC.                   3129 SOARING EAGLE LANE                                                                                                              CASTLE ROCK          CA     90109      UNITED STATES         CONTRACT_00275                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ENVIRONMENTAL RISK SPECIALTIES CORPORATI     1600 RIVIERA AVE, SUITE 310                                                                                                          WALNUT CREEK         CA     94596      UNITED STATES           VEN_835112          835112   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ENVIRONMENTAL RISK SPECIALTIES CORPORATION   1600 RIVIERA AVE, SUITE 310                                                                                                          WALNUT CREEK         CA     94596      UNITED STATES         CONTRACT_00276                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EPIC FIRE PROTECTION, INC.                   765 TURTLE POINT WAY                                                                                                                 SAN MARCOS           CA     92069      UNITED STATES           VEN_835104          835104   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EPLASTERING, INC.                            732 WEST GROVE AVE                                                                                                                   ORANGE               CA     92865      UNITED STATES           VEN_820068          820068   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EPOCH TIMES ASSOCIATION, INC.                10755 SCRIPPS POWAY PARKWAY, #528                                                                                                    SAN DIEGO            CA     92131      UNITED STATES           VEN_759084          759084   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EPOCH TIMES INC. LOS ANGELES                 9550 FLAIR DRIVE, SUITE 503                                                                                                          EL MONTE             CA     91731      UNITED STATES           VEN_819323          819323   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EPS GROUP, INC.                              2045 S. VINEYARD AVE, SUITE 101                                                                                                      MESA                 AZ     85210      UNITED STATES         CONTRACT_00277        637458   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EQUITY SHARE TRUST                           C/O 1001 E WT HARRIS BLVD #P188                                                                                                      CHARLOTTE            NC     28213      UNITED STATES             UCC_004                    No   Vendor         UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
ERC DATAPLUS, INC.                           16 THORNHILL ROAD, SUITE 110                                                                                                         LUTHERVILLE          MD     21093      UNITED STATES           VEN_831390          831390   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ERC ROOFING & WATERPROOFING                  216 AVENIDA FABRICANTE, #111                                                                                                         SAN CLEMENTE         CA     92672      UNITED STATES           VEN_608921          608921   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ERIC FIGGE PHOTOGRAPHY, INC.                 PO BOX 80084                                                                                                                         RANCHO SANTA MARGARITA
                                                                                                                                                                                                       CA     92688      UNITED STATES           VEN_391074          391074   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ERICKSON, MELISSA BARNETT                    C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                             ANDERSON
                                                                                                  ESQ. JAKE
                                                                                                         & KRIGER
                                                                                                             J. FATHY, ESQ.          3831 N. FREEWAY BLVD., SUITE 110             SACRAMENTO           CA     95834      UNITED STATES       CMSLITCA_98007_010               No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ERICKSON, TODD L.                            C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                             ANDERSON
                                                                                                  ESQ. JAKE
                                                                                                         & KRIGER
                                                                                                             J. FATHY, ESQ.          3831 N. FREEWAY BLVD., SUITE 110             SACRAMENTO           CA     95834      UNITED STATES       CMSLITCA_98007_009               No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ERIKSSON TILE, INC.                          C/O LEONARD ERIKSSON, AGENT                     400 SPECTRUM CIRCLE                                                                  OXNARD               CA     93030      UNITED STATES     CMSLITCA_MC021755_024              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ERNST & YOUNG LLP                            DEPT 6793                                                                                                                            LOS ANGELES          CA   90084-6793   UNITED STATES           VEN_219766          219766   No   Vendor         Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ERRECA'S, INC.                               PO BOX 640                                                                                                                           LAKESIDE             CA     92040      UNITED STATES           VEN_314704          314704   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ERRECA'S/HANSON SJH                          PO BOX 640                                                                                                                           LAKESIDE             CA     92040      UNITED STATES           VEN_504583          504583   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ESCOBAR, ROSEALEE                            C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                             ANDERSON
                                                                                                  ESQ. JAKE
                                                                                                         & KRIGER
                                                                                                             J. FATHY, ESQ.          4750 DUCKHORN DRIVE                          SACRAMENTO           CA     95834      UNITED STATES      CMSLITCA_20100719_010             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ESCONDIDO OVERHEAD GARAGE DOORS, INC.        440 ENTERPRISE STREET                                                                                                                SAN MARCOS           CA     92078      UNITED STATES           VEN_801511          801511   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ESGIL CORPORATION                            PO BOX 420667                                                                                                                        SAN DIEGO            CA     92142      UNITED STATES           VEN_818101          818101   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ESI/FME, INC.                                1800 E. 16TH ST., UNIT B                                                                                                             SANTA ANA            CA     92701      UNITED STATES           VEN_539760          539760   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ESQUIRE DEPOSITION SOLUTIONS                 PO BOX 79509                                                                                                                         CITY OF INDUSTRY     CA   91716-9509   UNITED STATES           VEN_828764          828764   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ESTANA, JEFFERY & SHIRLEY                    C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH        CA     92660      UNITED STATES       CMSLITCA_92941_005               No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ESTRADA, CHRISTINA                           227 E SOUTH CROSS CREEK                         RD.                                                                                  ORANGE               CA     92869      UNITED STATES          EMP_SC_0046                   No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ESTRELLA FREEWAY/LAKE PLEASANT LIMITED       ATTN MICHAEL A. DINAN, C/O DINAN CAPITAL        3550 N. CENTRAL, AVE., ST. 700                                                       PHOENIX              AZ     85012      UNITED STATES         CONTRACT_00278                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ETIWANDA SCHOOL DISTRICT                     6061 EAST AVE                                                                                                                        ETIWANDA             CA     91739      UNITED STATES           VEN_391075          391075   No   Vendor         Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ETS                                          10 PIDGEON HILL DR., SUITE 200                                                                                                       STERLING             VA     20165      UNITED STATES           VEN_MF_056                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
EUCLID MANAGEMENT COMPANY                    195 N. EUCLID AVE                                                                                                                    UPLAND               CA     91786      UNITED STATES           VEN_391076          391076   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EURODESIGN CABINETS                          13428 BENSON AVE                                                                                                                     CHINO                CA     91710      UNITED STATES           VEN_232696          232696   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EUROPEAN PAVERS SOUTHWEST, INC.              PO BOX 21087                                                                                                                         PHOENIX              AZ   85036-1087   UNITED STATES         CONTRACT_00279        669281   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EVAN R. CARPENTER                            254 N. SANDPIPER CIRCLE                                                                                                              ORANGE               CA     92869      UNITED STATES           VEN_590282          590282   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EVANS BROTHERS, INC.                         7589 NATIONAL DR.                                                                                                                    LIVERMORE            CA     94550      UNITED STATES         CONTRACT_00280                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EVANS RECREATION INSTALLATION INC            PO BOX 42607                                                                                                                         LAS VEGAS            NV   89116-1607   UNITED STATES           VEN_MF_057                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
EVANS RECREATION INSTALLATIONS, INC.         PO BOX 42607                                                                                                                         LAS VEGAS            NV     89116      UNITED STATES           VEN_612197          612197   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EVANS, DANIEL                                C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES       CMSLITCA_96610_036               No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
EVEREST NATIONAL INSURANCE CO.               FILE 57345                                                                                                                           LOS ANGELES          CA   90074-7345   UNITED STATES           VEN_640745          640745   No   Vendor         Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EWING, JOHN B. & KIMBERLY                    C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_CA1100369_023             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
EXCAV. ENG. DBA HILLSIDE RETAINING WALLS     5256 S. MISSION RD., #703                                                                                                            BONSALL              CA     92003      UNITED STATES           VEN_627081          627081   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXCEL CABINETS, INC.                         225 JASON COURT                                                                                                                      CORONA               CA   92879-6199   UNITED STATES         CONTRACT_00281                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EXCEL CABINETS, INC.                         C/O DAVID E. DRISCOLL, ESQ.                     DRISCOLL & ASSOCIATES                   6960 MAGNOLIA AVENUE, SUITE #102             RIVERSIDE            CA     92506      UNITED STATES       CMSLITCA_365116_080              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
EXCEL CABINETS, INC.                         C/O LETISHA NIELSEN, AGENT                      225 JASON COURT                                                                      CORONA               CA     92879      UNITED STATES       CMSLITCA_365116_036              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
EXCEL GRAPHICS                               2021 OMEGA ROAD, SUITE 100                                                                                                           SAN RAMON            CA     94583      UNITED STATES           VEN_820236          820236   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXEC-U-CARE                                  PO BOX 4540                                                                                                                          IOWA CITY            IA     52245      UNITED STATES           VEN_394839          394839   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXECUTIVE ANSWERING SERVICE                  PO BOX 26763                                                                                                                         TEMPE                AZ     85281      UNITED STATES         CONTRACT_00282        544921   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EXECUTIVE APPLIANCE SERVICES                 12808 NUTWOOD                                                                                                                        GARDEN GROVE         CA     92840      UNITED STATES           VEN_711793          711793   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXECUTIVE PLASTERING                         220 COMMERCE PARK COURT                                                                                                              NO. LAS VEGAS        NV     89032      UNITED STATES           VEN_248954          248954   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXECUTIVE PLUMBING, INC.                     C/O JOSH BRADY, ESQ.                            HINES, SMITH, CARTER, DINCEL, BLAND     3080 BRISTOL STREET, SUITE #540              COSTA MESA           CA     92626      UNITED STATES       CMSLITCA_365116_081              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
EXECUTIVE PLUMBING, INC.                     C/O MARC S. HINES, ESQ., AGENT                  3080 BRISTOL STREET, SUITE #540                                                      COSTA MESA           CA     92626      UNITED STATES       CMSLITCA_365116_037              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
EXECUTIVE PLUMBING, INC.                     PO BOX 2439                                                                                                                          CORONA               CA   92878-2439   UNITED STATES           VEN_391080          391080   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXPERT AUTOMOTIVE EQUIPMENT                  4535 DUSTY TRAIL                                                                                                                     NORTH LAS VEGAS      NV   89031-2151   UNITED STATES           VEN_MF_058                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
EXPRESS GLASS COMPANY                        2217 MINDEN WAY                                                                                                                      SACRAMENTO           CA     95835      UNITED STATES           VEN_802919          802919   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EXTERIOR SYSTEMS                             PO BOX 716                                                                                                                           SCOTTSDALE           AZ     85252      UNITED STATES         CONTRACT_00283        197229   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
EYLER PIPELINE CONTRACTORS                   1471 SOUTH O'MALLY LANE                                                                                                              LA HABRA             CA     90631      UNITED STATES           VEN_405198          405198   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EYLER PIPELINE, INC.                         3910 PROSPECT AVE, SUITE J                                                                                                           YORBA LINDA          CA     92886      UNITED STATES           VEN_436867          436867   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
EZ ELECTRIC                                  10636 INDUSTRIAL AVE                                                                                                                 ROSEVILLE            CA     95678      UNITED STATES           VEN_415222          415222   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
E-Z-GO TEXTRON                               26007 NETWORK PLACE                                                                                                                  CHICAGO              IL   60673-1260   UNITED STATES           VEN_MF_059                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
FAIRFIELD MUNICIPAL UTILITIES                1000 WEBSTER STREET                                                                                                                  FAIRFIELD            CA   94533-4883   UNITED STATES           VEN_468931          468931   No   Vendor         Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FAIRMONT NEWPORT BEACH                       4500 MACARTHUR BOULEVARD                                                                                                             NEWPORT BEACH        CA     92660      UNITED STATES           VEN_684983          684983   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FALCONE, NICOLE                              6340 WATERFORD ST                                                                                                                    PAHRUMP              NV     89061      UNITED STATES          EMP_MF_0198                   No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
FAMELY, JEFFREY & MICHELLE                   C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA     92807      UNITED STATES      CMSLITCA_1103527_020              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FARIA DRYWALL, INC.                          8518 CHURCH STREET, SUITE 5                                                                                                          GILROY               CA     95020      UNITED STATES           VEN_383700          383700   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FARMER BROS. CO.                             PO BOX 79705                                                                                                                         CITY OF INDUSTRY     CA   91716-9705   UNITED STATES           VEN_249025          249025   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FARR, LAURA                                  C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_018            No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FARRIS, DAVID                                9941 CENTRAL VALLEY                                                                                                                  LAS VEGAS            NV     89149      UNITED STATES         CONTRACT_00284        831234   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FARRIS, DOROTHY                              10627 OSTEND AVE                                                                                                                     LAS VEGAS            NV     89166      UNITED STATES          EMP_NV_0047                   No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
FAST SIGNS                                   2551 SAN RAMON VALLEY BLVD#113                                                                                                       SAN RAMON            CA     94583      UNITED STATES           VEN_784917          784917   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FAST SIGNS/LANTANA INC.                      624 WATT AVE                                                                                                                         SACRAMENTO           CA     95861      UNITED STATES           VEN_754283          754283   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FAULT LINE FIRE PROTECTION, INC.             7640 NATIONAL DRIVE                                                                                                                  LIVERMORE            CA     94550      UNITED STATES           VEN_836377          836377   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FAULT LINE PLUMBING, INC.                    10101 TELSA RD.                                                                                                                      LIVERMORE            CA     94550      UNITED STATES           VEN_535574          535574   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FCO GILBERT LANDSCAPING COMPANY              998 ADIRONDARK PLACE                                                                                                                 CHULA VISTA          CA     91914      UNITED STATES           VEN_715461          715461   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FED EX                                       PO BOX 7221                                                                                                                          PASADENA             CA   91109-7321   UNITED STATES         CONTRACT_00285        592923   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FED EX KINKO'S                               PO BOX 672085                                                                                                                        DALLAS               TX   75267-2085   UNITED STATES           VEN_711873          711873   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FEDERAL EXPRESS                              PO BOX 7221                                                                                                                          PASADENA             CA   91109-7321   UNITED STATES           VEN_223036          223036   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FEDERAL INSURANCE COMPANY                    15 MOUNTAIN VIEW ROAD                                                                                                                WARREN               NJ     07059      UNITED STATES         CONTRACT_00286                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FEDERAL MAIL BOX                             13555 BOSKEEN RD.                                                                                                                    HERALD               CA     95638      UNITED STATES           VEN_698023          698023   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FEDERAL WAGE & LABOR LAW INSTITUTE           7001 WEST 43RD STREET                                                                                                                HOUSTON              TX     77092      UNITED STATES         CONTRACT_00287                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FENCE AMERICA                                8325 SIENNA AVE                                                                                                                      SACRAMENTO           CA     95828      UNITED STATES           VEN_536251          536251   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FENCEWORKS, INC.                             4051 OCEANSIDE BLVD                                                                                                                  OCEANSIDE            CA     92056      UNITED STATES         CONTRACT_00288                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FENCEWORKS, INC.                             6837 POWER INN RD.                                                                                                                   SACRAMENTO           CA     95828      UNITED STATES           VEN_789072          789072   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FENCEWORKS, INC.                             870 N. MAIN STREET                                                                                                                   RIVERSIDE            CA   92501-1016   UNITED STATES         CONTRACT_00289                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FENCEWORKS, INC. DBA GOLDEN STATE FENCE      FLOYD NIXON                                     870 N. MAIN ST.                                                                      RIVERSIDE            CA     92501      UNITED STATES      CMSLITCA_1103527_031              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FENCEWORKS, INC., DBA GOLDEN STATE FENCE     C/O CRAIG J. SILVER, ESQ./EMILY M. STRAUB, ESQ. THE LAW OFFICES OF CRAIG J. SILVER      20201 SW BIRCH STREET, SUITE #200            NEWPORT BEACH        CA     92660      UNITED STATES       CMSLITCA_365116_082              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FENCEWORKS, INC., DBA GOLDEN STATE FENCE     C/O FLOYD NIXON, AGENT                          870 NORTH MAIN STREET                                                                RIVERSIDE            CA     92501      UNITED STATES       CMSLITCA_365116_038              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FENCING SPECIALISTS                          4500 N. WALNUT RD., SUITE A                                                                                                          N. LAS VEGAS         NV     89081      UNITED STATES         CONTRACT_00290        666494   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FENNEMORE, CRAIG PC                          3003 N. CENTRAL AVE, #2600                                                                                                           PHOENIX              AZ   85012-2913   UNITED STATES           VEN_639672          639672   No   Vendor         Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FERMA CORPORATION                            1265 MONTECITO AVE., SUITE 200                                                                                                       MOUNTAIN VIEW        CA   94043-4506   UNITED STATES         CONTRACT_00291                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FERMOL, INC.                                 2505 ANTHEM VILLAGE DRIVE, #E603                                                                                                     HENDERSON            NV     89052      UNITED STATES           VEN_807162          807162   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FERNANDO, RAYMOND D. & CHARITO               C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_CA1100369_024             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FERRARI, CYNDI                               1 VILLE FRANCHE                                                                                                                      DANA POINT           CA     92629      UNITED STATES          EMP_SC_0048                   No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
FIBER CARE BATHS, INC.                       9832 YUCCA RD.                                                                                                                       ADELANTO             CA     92301      UNITED STATES         CONTRACT_00292                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FIDELITY AND DEPOSIT COMPANY OF MARYLAND     777 S. FIGUEROA ST, STE 3900                                                                                                         LOS ANGELES          CA     90017      UNITED STATES            BOND_066                    No   Bondholder     Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                             10/27/2011
FIDELITY NATIONAL TITLE                      2410 FAIROAKS BLVD, SUITE 110                                                                                                        SACRAMENTO           CA     95825      UNITED STATES           VEN_778031          778031   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIDELITY NATIONAL TITLE                      500 NORTH RAINBOW, SUITE 100                                                                                                         LAS VEGAS            NV     89107      UNITED STATES           VEN_427629          427629   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIDELITY NATIONAL TITLE COMPANY              1300 DOVE STREET, SUITE 310                                                                                                          NEWPORT BEACH        CA     92660      UNITED STATES           VEN_548050          548050   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FINANCIAL CONSTRUCTION INSPECTIONS, INC.     25651 ATLANTIC OCEAN DRIVE                      SUITE A-17                                                                           LAKE FOREST          CA     92630      UNITED STATES           VEN_441164          441164   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FINE LINE CONSTRUCTION                       PO BOX 173                                                                                                                           VALLECITO            CA     95251      UNITED STATES         CONTRACT_00293                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FINE LINE GRADING & LANDSCAPING, INC.        998 ADIRONDACK PLACE                                                                                                                 CHULA VISTA          CA     91914      UNITED STATES           VEN_825635          825635   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FINISH REPAIR SPECIALIST, INC.               40140 WALNUT ST.                                                                                                                     HEMET                CA     92543      UNITED STATES           VEN_595489          595489   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRE PRO LLC                                 PO BOX 620876                                                                                                                        LAS VEGAS            NV     89162      UNITED STATES           VEN_834671          834671   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRE SAFE PLANNING SOLUTIONS                 302 N. EL CAMINO REAL, SUITE 202                                                                                                     SAN CLEMENTE         CA     92672      UNITED STATES           VEN_474581          474581   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRE SPRINKLER SYSTEMS BY RODGERS CONST.     705 E. HARRISON ST., SUITE 200                                                                                                       CORONA               CA     92879      UNITED STATES         CONTRACT_00294                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FIREPLACE DISTRIBUTORS INC.                  4111 FLAT ROCK DR.                                                                                                                   RIVERSIDE            CA     92505      UNITED STATES           VEN_248701          248701   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRESIDE HEARTH & HOME                       4111 FLATROCK DR.                                                                                                                    RIVERSIDE            CA     92505      UNITED STATES           VEN_694031          694031   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRESIDE HEARTH & HOME                       FILE 50583                                                                                                                           LOS ANGELES          CA   90074-0583   UNITED STATES           VEN_720761          720761   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRESIDE HEARTH & HOME TECHNOLOGIES, INC     4111 FLAT ROCK DR.                                                                                                                   RIVERSIDE            CA     92505      UNITED STATES           VEN_714046          714046   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRST AMERICAN NATURAL HAZARD DISCLOSURE     PO BOX 27429                                                                                                                         SANTA ANA            CA     92799      UNITED STATES           VEN_762241          762241   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRST AMERICAN TITLE - CONCORD               1355 WILLOW WAY #100                                                                                                                 CONCORD              CA     94520      UNITED STATES           VEN_290634          290634   No   Vendor         Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
FIRST AMERICAN TITLE CO.                     11512 EL CAMINO REAL, SUITE 350                                                                                                      SAN DIEGO            CA     92130      UNITED STATES           VEN_825328          825328   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRST CHOICE DRYWALL & PAINT                 PO BOX 8906                                                                                                                          ALTA LOMA            CA   91701-8906   UNITED STATES           VEN_391097          391097   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRST CHOICE PAINTING & DRYWALL              PO BOX 8906                                                                                                                          ALTA LOMA            CA     91701      UNITED STATES           VEN_822506          822506   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRST MORTGAGE CORP                          3230 FALLOWFIELD DRIVE                                                                                                               DIAMOND BAR          CA     91765      UNITED STATES           VEN_263919          263919   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FIRST MORTGAGE CORPORATION                   1131 6TH STREET                                                                                                                      ONTARIO              CA     91762      UNITED STATES         CONTRACT_00295                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FIRST MORTGAGE CORPORATION, A CALIFORNIA     C/O LEE & ASSOCIATES - RIVERSIDE, INC.          RICHARD J. ERICKSON                     3340 MISSION INN AVENUE                      RIVERSIDE            CA     92507      UNITED STATES           CMSSL_0001                   No   Lessor/LandlordUndefined           Maintain Creditors                                                    11/11/2011
FIRST QUALITY PAINTING, INC.                 13933 SYCAMORE WAY                                                                                                                   CHINO                CA     91710      UNITED STATES         CONTRACT_00296                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FIRST TRUST ALARM CO.                        2339 TECHNOLOGY PKWY., SUITE E                                                                                                       HOLLISTER            CA     95023      UNITED STATES         CONTRACT_00297                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
FISHER, JUDY                                 C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES       CMSLITCA_173057_002              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FISHER, LINDA L.                             C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                              ESQ.       & KRIGER                    1752 EAST AVENUE J, PMB 363                  LANCASTER            CA     93535      UNITED STATES     CMSLITCA_MC021755_013              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FISHER, ROLAND A.                            C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                              ESQ.       & KRIGER                    1752 EAST AVENUE J, PMB 363                  LANCASTER            CA     93535      UNITED STATES     CMSLITCA_MC021755_012              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FITZGIBBONS, SIERRA                          1840 DORAL CT                                                                                                                        PAHRUMP              NV     89048      UNITED STATES          EMP_MF_0199                   No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
FLAGSTAR BANK                                2600 TELEGRAPH RD.                                                                                                                   BLOOMFIELD HILLS     MI     48302      UNITED STATES           VEN_276681          276681   No   Vendor         Bank                Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FLASH DELIVERY, INC.                         1710 E. INDIAN SCHOOL RD., #102                                                                                                      PHOENIX              AZ     85016      UNITED STATES           VEN_355557          355557   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
FLEIGE, EDWARD                               C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES       CMSLITCA_173057_016              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
FLEMING, CAROL, AN INDIVIDUAL AND AS CO-
                                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA      92612      UNITED STATES      CMSLITCA_1007968_078              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRUSTEE OF THE DALE & CAROL FLEMING LIVING
FLOOR SYSTEMS, INC.                          5130 E. HUNTER AVE                                                                                                                   ANAHEIM             CA      92807      UNITED STATES           VEN_732009          732009   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FLORES, RAYMOND & SOPHIA                     C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH       CA      92660      UNITED STATES       CMSLITCA_92941_006               No   Litigant      California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
FLOYD, KATHERINE                             PO BOX 1555                                                                                                                          LA QUINTA           CA      92247      UNITED STATES          EMP_SC_0049                   No   Employee      Active               Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FOAMTECH INC                                 PO BOX 95665                                                                                                                         LAS VEGAS           NV      89193      UNITED STATES        CONTRACT_00298         268189   No   Vendor        Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FOCUS 360, INC.                              27721 LA PAZ ROAD, SUITE B                                                                                                           LAGUNA NIGUEL       CA      92677      UNITED STATES           VEN_484623          484623   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOCUS MANAGEMENT SERVICES, INC.              3455 CLIFF SHADOW PKWY                          SUITE 220                                                                            LAS VEGAS           NV      89129      UNITED STATES        CONTRACT_00299         824106   No   Vendor        Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FOGLEMAN, DAVID                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA      92612      UNITED STATES      CMSLITCA_1007968_020              No   Litigant      California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
FOGLEMAN, JULEE                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE              CA      92612      UNITED STATES      CMSLITCA_1007968_021              No   Litigant      California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
FOLSOM TECH CONSULTING                       6625 S. VALLEY VIEW BLVD., SUITE 120                                                                                                 LAS VEGAS           NV      89118      UNITED STATES          VEN_MF_060                    No   Vendor        Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
FOLSOM TRIM & FINISH                         PO BOX 280                                                                                                                           FOLSOM              CA    95763-0280   UNITED STATES           VEN_264858          264858   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FONTANA UNIFIED SCHOOL DISTRICT              9680 CITRUS AVENUE                                                                                                                   FONTANA             CA      92335      UNITED STATES           VEN_281990          281990   No   Vendor        Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FONTANA WATER COMPANY                        PO BOX 5970                                                                                                                          EL MONTE            CA    91734-1974   UNITED STATES           VEN_237964          237964   No   Vendor        Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOOTBALL PROMOTIONS OF NEVADA                PO BOX 26756                                                                                                                         LAS VEGAS           NV    89126-0756   UNITED STATES          VEN_MF_061                    No   Vendor        Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
FOOTHILL LIGHTING & SUPPLY                   6957 SPEEDWAY BLVD, SUITE 102                                                                                                        LAS VEGAS           NV      89115      UNITED STATES           VEN_780908          780908   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOOTHILL PRESBYTERIAN HOSPITAL AUXILLARY     250 S. GRAND AVE                                                                                                                     GLENDORA            CA      91741      UNITED STATES           VEN_775674          775674   No   Vendor        Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
                                                                              Case 11-14019-CSS                                                                                Doc 1-4         Filed 12/19/11                                            Page 11 of 29

FOOTHILL\EASTERN TRANSPORTATION CORRIDOR        AGENCY                                          201 E. SANDPOINTE AVE. #200                                                          SANTA ANA           CA    92799-8870   UNITED STATES                        VEN_308822         308822   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOOTHILLS AT CARLSBAD                           C/O THE PRESCOTT COMPANIES                      5966 LA PLACE COURT, SUITE 170                                                       CARLSBAD            CA    92008-8830   UNITED STATES                        VEN_826929         826929   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOOTJOY                                         PO BOX 88111                                                                                                                         CHICAGO             IL    60695-1111   UNITED STATES                       VEN_MF_062                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
FORD FRAMING COMPANY, INC.                      2171 MAPLE PRIVADO                                                                                                                   ONTARIO             CA      91761      UNITED STATES                     CONTRACT_00300                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FORD FRAMING COMPANY, INC.                      C/O JOHN A. FORD, AGENT                         2171 MAPLE PRIVADO                                                                   ONTARIO             CA      91761      UNITED STATES                   CMSLITCA_365116_039              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FORD FRAMING COMPANY, INC.                      C/O KEITH G. BREMER, ESQ./JOHN O'MEARA, ESQ.    BREMER, WHYTE, BROWN & O'MEARA, LLP     21271 BURBANK BLVD., SUITE #110              WOODLAND HILLS      CA      91367      UNITED STATES                   CMSLITCA_365116_083              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FORD TILE, INC.                                 22965 LA CADENA                                                                                                                      LAGUNA HILLS        CA      92653      UNITED STATES                        VEN_518580         518580   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOREMOST SUPERIOR MARBLE CO., INC.              8251 ALPINE AVE                                                                                                                      SACRAMENTO          CA      95826      UNITED STATES                        VEN_690291         690291   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOREST & TERI WALSH                             C/O EUGENE P. HAYDU, ESQ.                       LAW OFFICE OF EUGENE P. HAYDU           965 UNIVERSITY AVENUE, SUITE 222             SACRAMENTO          CA    95825-6736   UNITED STATES                   CMSLITCA_SCV0027927              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FORMA                                           3050 PULLMAN STREET                                                                                                                  COSTA MESA          CA      92626      UNITED STATES                     CONTRACT_00301                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FORT, JOHNNIE                                   C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_DEL1100369_036            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FORTIN, DESIREE                                 3581 S. MALLARD AVENUE                                                                                                               PAHRUMP             NV      89048      UNITED STATES                      EMPT_MF_0329                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FOSTER, AARON                                   4681 MARTIN AVE                                                                                                                      PAHRUMP             NV      89060      UNITED STATES                      EMPT_MF_0378                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FOSTER, BILL                                    C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                                ANDERSON
                                                                                                     ESQ. JAKE
                                                                                                           & KRIGER
                                                                                                               J. FATHY, ESQ.           4750 DUCKHORN DRIVE                          SACRAMENTO          CA      95834      UNITED STATES                  CMSLITCA_20100719_008             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FOSTER, DEANA                                   5153 E. AGIO                                                                                                                         PAHRUMP             NV      89061      UNITED STATES                       EMP_MF_0200                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FOSTERS' GARDENS, INC.                          113 MONTE VISTA AVE                                                                                                                  COSTA MESA          CA    92627-1339   UNITED STATES                        VEN_222076         222076   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOUR STAR CLEANING & RESTORATION                4302 SOLAR WAY                                                                                                                       FREMONT             CA      94538      UNITED STATES                        VEN_603477         603477   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOX DESIGN & PRINT TEAM                         3753 HOWARD HUGHES PKWY, #200                                                                                                        LAS VEGAS           NV      89169      UNITED STATES                        VEN_292269         292269   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FOX, TOM & CHARYL                               C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_DEL1100369_038            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FRAGRANCE CLEANING CO.                          18209 N. 43RD DRIVE                                                                                                                  GLENDALE            AZ      85308      UNITED STATES                     CONTRACT_00302        328381   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FRAMECON, INC.                                  3638 N. RANCHO DRIVE                                                                                                                 LAS VEGAS           NV      89130      UNITED STATES                     CONTRACT_00303        538564   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FRANCHISE TAX BOARD                             PO BOX 942867                                                                                                                        SACRAMENTO          CA    94267-0011   UNITED STATES                        VEN_391103         391103   No   Vendor     Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRANCIS, JOHN                                   425 MEADOWLARK WAY                                                                                                                   LODI                CA      95240      UNITED STATES                       EMP_NC_0050                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FRANCISCO JR., LOUIE                            463 SHADOW OAKS                                                                                                                      IRVINE              CA      92618      UNITED STATES                     EMPT_CORP_0288                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FRANCISCO, LOUIE                                28 NEBRASKA                                                                                                                          IRVINE              CA      92606      UNITED STATES                        VEN_704729         704729   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRANK IOVINO & SONS MASONRY, INC.               DBA IOVINO MASONRY                              9260 EL CAMINO ROAD                                                                  LAS VEGAS           NV      89139      UNITED STATES                     CONTRACT_00304        247409   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FRANK IOVINO & SONS MASONRY, INC.               DBA: IOVINO MASONRY                             9260 EL CAMINO ROAD                                                                  LAS VEGAS           NV      89139      UNITED STATES                        VEN_247409         247409   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRANK MONS & SON CONSTRUCTION DBA FCM           C/O FRANK C. MONS, AGENT                        16659 GRAMERCY PLACE                                                                 GARDENA             CA      90247      UNITED STATES                   CMSLITCA_365116_040              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FRANK MONS & SON CONSTRUCTION DBA FCM           C/O GARY L. WILMOT, ESQ.                        BORTON, PETRINI, LLP                    1320 COLUMBIA STREET, SUITE #210             SAN DIEGO           CA      92101      UNITED STATES                   CMSLITCA_365116_084              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FRANK RADMACHER ASSOCIATE                       14841 YORBA STREET, SUITE 204                                                                                                        TUSTIN              CA      92780      UNITED STATES                     CONTRACT_00305                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FRANKEL, JEFFREY                                1056 OCHO RIOS DR.                                                                                                                   DANVILLE            CA      94526      UNITED STATES                      EMPT_NC_0272                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FRANKLIN COVEY                                  2200 WEST PARKWAY BLVD.                                                                                                              SALT LAKE CITY      UT      84119      UNITED STATES                        VEN_375523         375523   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRANKLIN STRIPING, INC.                         2832 S. 45TH STREET                                                                                                                  PHOENIX             AZ      85040      UNITED STATES                        VEN_534408         534408   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRANKLIN, FRENCHELLE E.                         C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                                MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_CA1100369_025             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FRAZEE PAINT                                    2131 E. JACKSON ST.                                                                                                                  PHOENIX             AZ      85034      UNITED STATES                        VEN_713852         713852   No   Vendor     Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                     11/23/2011
FRAZEE PAINT & WALLCOVERING                     DEPT 2510                                                                                                                            LOS ANGELES         CA    90084-2510   UNITED STATES                        VEN_232784         232784   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FREEDOM ORANGE COUNTY INFORMATION               PO BOX 100052                                                                                                                        PASADENA            CA    91189-0052   UNITED STATES                        VEN_717693         717693   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FREEMAN, ARTHUR                                 PO BOX 2556                                                                                                                          PAHRUMP             NV      89041      UNITED STATES                       EMP_MF_0201                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FREHNER CONSTRUCTION CO.                        4040 FREHNER ROAD                                                                                                                    N. LAS VEGAS        NV      89030      UNITED STATES                        VEN_619727         619727   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRICK, STACY                                    1761 AUGUSTA ST                                                                                                                      PAHRUMP             NV      89048      UNITED STATES                       EMP_MF_0202                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FRISBEE, MARK T. AND CAROLINE L.                C/O WESLEY L. DAVIS, ESQ.                       WESLEY L. DAVIS, APC                    ONE POST, SUITE 200                          IRVINE              CA      92618      UNITED STATES                   CMSLITCA_410092_001              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FRITO-LAY                                       75 REMITTANCE DR. STE 1217                                                                                                           CHICAGO             IL    60675-1217   UNITED STATES                       VEN_MF_063                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
FROMM, CASEY                                    400 ROUND UP CT.                                                                                                                     PAHRUMP             NV      89048      UNITED STATES                       EMP_MF_0203                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
FRONT LINE RESPONSE, LLC                        16315 PIUMA AVE                                                                                                                      CERRITOS            CA      90703      UNITED STATES                      VEN_832982_B         832982   No   Vendor     Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                 10/26/2011
FRONT LINE RESPONSE, LLC                        942 CALLE AMANECER, SUITE A                                                                                                          SAN CLEMENTE        CA      92673      UNITED STATES                      VEN_832982_A         832982   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRONTIER A CITIZENS COMMUNICATIONS CO.          PO BOX 20550                                                                                                                         ROCHESTER           NY    14602-0550   UNITED STATES                        VEN_601076         601076   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRONTIER FENCE CO                               PO BOX 292638                                                                                                                        SACRAMENTO          CA      95829      UNITED STATES                        VEN_236136         236136   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FRONTIER'S MEDIA                                5657 WILSHIRE BLVD, #470                                                                                                             LOS ANGELES         CA      90036      UNITED STATES                        VEN_823816         823816   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FSS ALARMS, INC.                                705 E. HARRISON ST., SUITE 200                                                                                                       CORONA              CA      92879      UNITED STATES                     CONTRACT_00306                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FUERTE, RYAN & JENNIFER                         C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                   CMSLITCA_1103791_010             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
FULL BLOOM & BLOOM FUSION                       PO BOX 657                                                                                                                           CONCORD             CA      94522      UNITED STATES                        VEN_746195         746195   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FUSCOE ENGINEERING, INC.                        16795 VON KARMAN AVE, SUITE 100                                                                                                      IRVINE              CA      92606      UNITED STATES                     CONTRACT_00307                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FUSION - SIGN & DESIGN                          3443 NIKI WAY                                                                                                                        RIVERSIDE           CA      92507      UNITED STATES                     CONTRACT_00308        831672   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
FYDAQ                                           301 1/2 RICHMAN                                                                                                                      FULLERTON           CA      92632      UNITED STATES                        VEN_232813         232813   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
FYDAQ COMPANY, INC.                             301 1/2 S RICHMAN AVE                                                                                                                FULLERTON           CA      92832      UNITED STATES                     CONTRACT_00309                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
G&G CONSTRUCTION                                700 ENTERPRISE COURT                                                                                                                 ATWATER             CA      95301      UNITED STATES                     CONTRACT_00310                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
G. NEIL DIRECT MAIL INC.                        PO BOX 451179                                                                                                                        SUNRISE             FL    33345-1179   UNITED STATES                        VEN_253139         253139   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
G.C. WALLACE                                    1555 SOUTH RAINBOW BLVD.                                                                                                             LAS VEGAS           NV      89102      UNITED STATES                        VEN_312004         312004   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
G.N. PERFORMANCE PLUMBING, INC.                 C/O LLOYD SREDEN, AGENT                         24961 THE OLD ROAD, 2ND FLOOR                                                        STEVENSON RANCH     CA      91381      UNITED STATES                  CMSLITCA_MC021755_025             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
G.W. SURFACES                                   C/O JAMES A. GARVER, AGENT                      2432 PALMA DRIVE                                                                     VENTURA             CA      93003      UNITED STATES                   CMSLITCA_365116_041              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
G1440, INC. DBA G1440, BUILDER1440, BUIL        2031 CLIPPER PARK RD., SUITE 105                                                                                                     BALTIMORE           MD      21211      UNITED STATES                        VEN_828713         828713   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GAAN, JAMES & PARTICIA                          C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_DEL1100369_039            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GABATO, ALFREDO G.                              C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                                MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_CA1100369_026             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GAETOS, FRANCIS & ANNIE                         C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                                MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_CA1100369_027             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GALE INSULATION                                 PO BOX 534451                                                                                                                        ATLANTA             GA    30353-4451   UNITED STATES                        VEN_190537         190537   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GALINDO, GARY                                   2275 TROTTER WAY                                                                                                                     WALNUT CREEK        CA      94596      UNITED STATES                       EMP_NC_0051                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GALLANT ENERGY CONSULTING                       508 W. MISSION AVE, SUITE 201                                                                                                        ESCONDIDO           CA      92025      UNITED STATES                        VEN_815285         815285   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GAM EQUITY SIX INC.                             C/O LUXOR CAPITAL GROUP, LP                     767 FIFTH AVENUE, 19TH FLOOR                                                         NEW YORK            NY      10153      UNITED STATES                     CONTRACT_00311                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GANAHL LUMBER COMPANY                           PO BOX 31                                                                                                                            ANAHEIM             CA    92815-0031   UNITED STATES                        VEN_222105         222105   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GANNON DESIGN                                   360 S. GLASSELL, SUITE A                                                                                                             ORANGE              CA      92866      UNITED STATES                     CONTRACT_00312                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GARCIA, EUNICE                                  C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                 CMSLITCA_DEL1100369_091            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GARCIA, OSCAR & JESSICA                         C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA        CA      90405      UNITED STATES                   CMSLITCA_1103791_009             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GARCIA, STACY                                   11677 TERRITORY RD.                                                                                                                  YUCAIPA             CA      92399      UNITED STATES                       EMP_SC_0270                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GARDNER, VICKI                                  4760 S PARADISO PLACE                                                                                                                PAHRUMP             NV      89061      UNITED STATES                      EMPT_NV_0263                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GARDNER, VICKI                                  5791 E. BADLANDS LN.                                                                                                                 PAHRUMP             NV      89061      UNITED STATES                        VEN_678153         678153   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GARY H. HUNT                                    CALIFORNIA STRATEGIES, LLC                      18800 VON KARMAN AVE, STE 190                                                        IRVINE              CA      92612      UNITED STATES                        VEN_690355         690355   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GARY LEVINSKI, INDIVIDUALLY AND AS GRANTOR TO
                                                C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                                KASDAN
                                                                                                    J. THOMSON,
                                                                                                        SIMONDSESQ.
                                                                                                                RILEY & VAUGHAN LLP     19900 MACARTHUR BOULEVARD, SUITE 850         IRVINE              CA      92612      UNITED STATES                   CMSLITCA_233522_022              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
THE LEVINSKI FAMILY TRUST DATED FEBRUARY 20,
GAST, RANDALL                                   C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES                   CMSLITCA_173057_021              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GATES & RODRIGUEZ BUILDERS, INC.                2100 GOODYEAR AVENUE, SUITE 16                                                                                                       VENTURA              CA     93003      UNITED STATES                        VEN_462459         462459   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GATEWAY CONCRETE, INC.                          6511 COLUMBUS AVE                                                                                                                    RIVERSIDE            CA     92504      UNITED STATES                        VEN_631831         631831   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GATEWAY INSULATION, INC.                        4107 INDUS WAY                                                                                                                       RIVERSIDE            CA     92503      UNITED STATES                     CONTRACT_00313                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GATEWAY INSULATION, INC.                        966 N. AMELIA AVE                                                                                                                    SAN DIMAS            CA     91773      UNITED STATES                        VEN_625887         625887   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GATEWAY PLASTERING, INC.                        1341 W. ARROW HWY                                                                                                                    SAN DIMAS            CA     91773      UNITED STATES                     CONTRACT_00314                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GATEWAY PLASTERING, INC.                        C/O MARC S. HINES, ESQ., AGENT                  3080 BRISTOL STREET, SUITE #540                                                      COSTA MESA           CA     92626      UNITED STATES                   CMSLITCA_365116_042              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GATEWAY PLASTERING, INC.                        C/O MARC S. HINES, ESQ./SCOTT M. HALBERSTADT, ESQ.
                                                                                                HINES, SMITH, CARTER, DINCEL, BLAND     3080 BRISTOL STREET, SUITE #540              COSTA MESA           CA     92626      UNITED STATES                   CMSLITCA_365116_085              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GATHWRIGHT, ERIN                                8637 CENTRAL AVENUE                                                                                                                  ORANGEVALE           CA     95662      UNITED STATES                      EMP_NC_0053                   No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GATOR HOME SYSTEMS, INC.                        40479 ENCYCLOPEDIA CIRCLE                                                                                                            FREMONT              CA     94538      UNITED STATES                     CONTRACT_00315                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GATOR HOME TECH, INC.                           40479 ENCYCLOPEDIA CIRCLE                                                                                                            FREMONT              CA     94538      UNITED STATES                        VEN_521421         521421   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GCSAA                                           1421 RESEARCH PARK DR.                                                                                                               LAWRENCE             KS   66049-3859   UNITED STATES                       VEN_MF_064                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GE APPLIANCE - CONTRACT                         PO BOX 840255                                                                                                                        DALLAS               TX   75284-0255   UNITED STATES                     CONTRACT_00316                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GEHRIG CONSTRUCTION, INC.                       192-B WEST LARCH RD.                                                                                                                 TRACY                CA   95304-1632   UNITED STATES                        VEN_819391         819391   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEMPLER'S                                       PO BOX 5176                                                                                                                          JANESVILLE           WI   53547-5176   UNITED STATES                       VEN_MF_065                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GENER, THERESE                                  4201 MCGRAW                                                                                                                          PAHRUMP              NV     89061      UNITED STATES                      EMPT_MF_0383                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GENERAL BINDING CORPORATION                     PO BOX 71361                                                                                                                         CHICAGO              IL   60694-1361   UNITED STATES                        VEN_306991         306991   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GENERAL CONSTRUCTION SOLUTIONS, INC.            7835 S. RAINBOW, SUITE 11                                                                                                            LAS VEGAS            NV     89139      UNITED STATES                     CONTRACT_00317        795958   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GENERAL CONSTRUCTION WORKS, INC.                7456 REESE ROAD                                                                                                                      SACRAMENTO           CA     95828      UNITED STATES                     CONTRACT_00318                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GENERAL DOOR & TRIM, INC.                       2025 ELM COURT                                                                                                                       ONTARIO              CA     91761      UNITED STATES                     CONTRACT_00319                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GENERAL ELECTRIC CAPITAL CORPORATION            300 E JOHN CARPENTER FRWY STE 204                                                                                                    IRVING               TX   75062-2712   UNITED STATES 800-233-5103          LENDER_005                   No   Lender     Secured Lenders     WLH_Secured Lenders_10-26-2011.xlsx                                    10/26/2011
GENERAL ELECTRIC CAPITAL CORPORATION            PO BOX 31001-0275                                                                                                                    PASADENA             CA   91110-0275   UNITED STATES                     CONTRACT_00320                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GENERAL ELECTRIC CAPITAL CORPORATION            PO BOX 35701                                                                                                                         BILLINGS             MT   59107-5701   UNITED STATES                         UCC_010                    No   Vendor     UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                        10/25/2011
GENERAL ELECTRIC COMPANY                        307 N HURSTBOURNE PKWY C/O JOHN ELKINS                                                                                               LOUISVILLE           KY   40222-8569   UNITED STATES                        VEN_222113         222113   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GENERAL PLUMBING, INC.                          257 WEST 2ND AVENUE #1                                                                                                               MESA                 AZ     85210      UNITED STATES                        VEN_433210         433210   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GENERAL SECURITY INDEMNITY COMPANY OF           199 WATER STREET, SUITE 2100                                                                                                         NEW YORK             NY   10038-3526   UNITED STATES                     CONTRACT_00321                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GENERAL UTILITIES, LLC                          141 CASSIA WAY, SUITE A                                                                                                              HENDERSON            NV     89014      UNITED STATES                        VEN_665301         665301   No   Vendor     Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GENE'S LOCKSMITH                                875 S. BOULDER WAY                                                                                                                   HENDERSON            NV     89015      UNITED STATES                        VEN_727445         727445   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GENEVA LANDSCAPE, INC.                          PO BOX 750628                                                                                                                        LAS VEGAS            NV     89130      UNITED STATES                        VEN_773687         773687   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GENTILE, JOHN & EVA                             C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES                   CMSLITCA_365116_003              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GENTILE, LISA                                   32158 CAMINO CAPISTRANO                         STE A, PMB 349                                                                       SAN JUAN CAPISTRANO  CA     92675      UNITED STATES                       EMP_SC_0054                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GEO TEK, INC.                                   6830 ESCONDIDO ST.                                                                                                                   LAS VEGAS            NV     89119      UNITED STATES                     CONTRACT_00322        302295   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GEOCON, INC.                                    6960 FLANDERS DRIVE                                                                                                                  SAN DIEGO            CA   92121-2974   UNITED STATES                        VEN_232830         232830   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEOKINETICS                                     77 BUNSEN                                                                                                                            IRVINE               CA     92618      UNITED STATES                        VEN_448913         448913   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEOLABS                                         31119 VIA COLINAS, SUITE 502                                                                                                         WESTLAKE VILLAGE     CA   91362-3941   UNITED STATES                        VEN_391126         391126   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEOLOGIX                                        PO BOX 27429                                                                                                                         SANTA ANA            CA     92799      UNITED STATES                        VEN_693960         693960   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEORGE DOORS                                    1407 N. BAXTER ST.                                                                                                                   ANAHEIM              CA     92806      UNITED STATES                     CONTRACT_00323                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GEORGE PETERSON INSURANCE                       101 MORRIS STREET                               #210                                                                                 SEBASTOPOL           CA   95472-3844   UNITED STATES                         INS_0030                   No   Vendor     Insurance/Insurer   WLH_Insurance_10-24-2011.xlsb                                          11/23/2011
GEORGE PLUMBING CO.                             27636 YNEZ ROAD, L-7, #185                                                                                                           TEMECULA             CA     92591      UNITED STATES                        VEN_762961         762961   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEORGE, DAN                                     7740 E DOHENY CT                                                                                                                     ANAHEIM HILLS        CA     92808      UNITED STATES                      EMP_SC_0055                   No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GEORGE, STEVEN                                  3780 LEMONWOOD CRL                                                                                                                   LAS VEGAS            NV     89103      UNITED STATES                      EMP_MF_1001                   No   Employee   Active              Employee Roster Report - password_12-12-2011 Additions.xlsx            12/12/2011
GEORGE, STEVEN                                  4870 SO PRATO WAY                                                                                                                    PAHRUMP              NV     89061      UNITED STATES                      EMPT_NV_0245                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GEOSOILS INC                                    5741 PALMER WAY SUITE D                                                                                                              CARLSBAD             CA     92010      UNITED STATES                        VEN_232848         232848   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEOTECHNICAL & ENVIRONMENTAL CONSULTANTS        7150 PLACID ST.                                                                                                                      LAS VEGAS            NV     89119      UNITED STATES                        VEN_473772         473772   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GEOTECHNICAL STABILIZATION, INC.                1558 STERLING COURT                                                                                                                  ESCONDIDO            CA     92029      UNITED STATES                     CONTRACT_00324                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GEOTEK RESIDENTIAL, LLC                         6835 E. ESCONDIDO ST., SUITE B                                                                                                       LAS VEGAS            NV     89119      UNITED STATES                     CONTRACT_00325        822127   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GEOTEK, INC.                                    4130 FLAT ROCK DRIVE, SUITE 140                                                                                                      RIVERSIDE            CA   92505-5864   UNITED STATES                        VEN_759279         759279   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GERGEN CONSTRUCTION CO                          13831 NEWHOPE                                                                                                                        GARDEN GROVE         CA     92843      UNITED STATES                        VEN_391129         391129   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GIACALONE DESIGN SERVICES, INC.                 5820 STONEBRIDGE MALL RD., SUITE 345                                                                                                 PLEASANTON           CA     94588      UNITED STATES                     CONTRACT_00326                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GIACALONE DESIGN SERVICES, INC.                 5820 STONERIDGE MALL ROAD, SUITE 345                                                                                                 PLEASANTON           CA     94588      UNITED STATES                        VEN_367371         367371   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GIACALONE ELECTRICAL SERVICES, INC.             PO BOX 397                                                                                                                           GILROY               CA   95021-397    UNITED STATES                        VEN_385094         385094   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GIBRALTAR DEVELOP DBA:GIBRALTAR ELECTRIC        1844 W. 149TH STREET                                                                                                                 GARDENA              CA     90249      UNITED STATES                     CONTRACT_00327                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GIBSON, EDMUND & MAI-BRITT                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES                   CMSLITCA_96610_023               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GILL APPRAISAL SERVICES                         PO BOX 3344                                                                                                                          ANTIOCH              CA   94531-3344   UNITED STATES                        VEN_819411         819411   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GILLESPIE MOODY PATTERSON, INC.                 4125 SORRENTO VALLEY BLVD, SUITE D                                                                                                   SAN DIEGO            CA     92121      UNITED STATES                     CONTRACT_00328                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GILLIAM, KAREN                                  14161 WINDJAMMER LANE                                                                                                                WESTMINSTER          CA     92683      UNITED STATES                        VEN_468084         468084   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GINGER MASONRY LP                               8188 LINCOLN AVE, #100                                                                                                               RIVERSIDE            CA     92504      UNITED STATES                        VEN_639744         639744   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GIORDANI, JULIA                                 1528 CHAPARRAL SUMMIT DR.                                                                                                            LAS VEGAS            NV     89117      UNITED STATES                      EMP_NV_0057                   No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GIORDANO, ANNE                                  3080 S SPYGLASS AVE                                                                                                                  PAHRUMP              NV     89048      UNITED STATES                      EMPT_MF_0343                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GIVE EVERY CHILD A CHANCE                       610 COMMERCE COURT                                                                                                                   MANTECA              CA     95336      UNITED STATES                        VEN_827665         827665   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GLASSEY, SHARON                                 C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES                   CMSLITCA_96610_033               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GLENDORA CHAMBER OF COMMERCE                    131 E. FOOTHILL BLVD                                                                                                                 GLENDORA             CA     91741      UNITED STATES                        VEN_624024         624024   No   Vendor     Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GLENDORA UNIFIED SCHOOL DISTRICT                500 N. LORAINE AVE                                                                                                                   GLENDORA             CA     91741      UNITED STATES                        VEN_787843         787843   No   Vendor     Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GLENN B. DORNING, INC.                          1744 EAST HOLT BLVD.                                                                                                                 ONTARIO              CA   91761-2110   UNITED STATES                       VEN_MF_067                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GLIHA, JASON & ADRIANA                          C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH        CA     92660      UNITED STATES                   CMSLITCA_92941_007               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GLOBIC ADVISORS, INC.                           ONE LIBERTY PLAZA, 23RD FLOOR                                                                                                        NEW YORK             NY     10006      UNITED STATES                        VEN_841467         841467   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GLYNN, ALEXANDER                                1531 BRIDGER                                                                                                                         PAHRUMP              NV     89048      UNITED STATES                      EMP_MF_0204                   No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GLYNN, MATTHEW                                  PO BOX 4478                                                                                                                          PAHRUMP              NV     89041      UNITED STATES                      EMP_MF_0205                   No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GMS CONCRETE                                    231 W. UTAH                                                                                                                          LAS VEGAS            NV     89102      UNITED STATES                        VEN_403070         403070   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GMU GEOTECHNICAL, INC.                          23241 ARROYO VISTA                                                                                                                   RANCHO SANTA MARGARITA
                                                                                                                                                                                                          CA     92688      UNITED STATES                     CONTRACT_00329                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GOFFMAN, MCCORMICK & URBAN INC                  23241 ARROYA VISTA                                                                                                                   R. STA MARGRTA       CA     92688      UNITED STATES                        VEN_391137         391137   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOFORTH, DAVID                                  27961 CHAPULIN                                                                                                                       MISSION VIEJO        CA     92692      UNITED STATES                      EMPT_SC_0304                  No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GOLD COUNTRY MEDIA                              PO BOX 5910                                                                                                                          AUBURN               CA     95604      UNITED STATES                        VEN_814549         814549   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLD STAR INSULATION                            4201 SIERRA POINT DRIVE, SUITE 102                                                                                                   SACRAMENTO           CA     95834      UNITED STATES                     CONTRACT_00330                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GOLDEN STATE FENCE CO.                          870 N. MAIN STREET                                                                                                                   RIVERSIDE            CA     92501      UNITED STATES                        VEN_513703         513703   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLDEN STATE FENCE CO.                          891 CORPORATION ST.                                                                                                                  SANTA PAULA          CA     93060      UNITED STATES                        VEN_717491         717491   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLDEN STATE FENCE COMPANY                      4051 OCEANSIDE BLVD.                                                                                                                 OCEANSIDE            CA     92056      UNITED STATES                        VEN_232881         232881   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLDEN STATE LANDSCAPING                        PO BOX 2091                                                                                                                          LIVERMORE            CA     94550      UNITED STATES                        VEN_391142         391142   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLDEN STATE WATER COMPANY                      PO BOX 9016                                                                                                                          SAN DIMAS            CA   91773-9016   UNITED STATES                        VEN_735912         735912   No   Vendor     Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLDSMITH & HULL, APC                           16933 PARTHENIA ST., SUITE 110                                                                                                       NORTHRIDGE           CA     91343      UNITED STATES                        VEN_834267         834267   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOLF INSURANCE SERVICES                         GEORGE PETERESEN INSURANCE                      2440 GOLF RIVER ROAD, STE 290                                                        RANCHO CORDAVA       CA     95670      UNITED STATES                       VEN_MF_068                   No   Vendor     Insurance/Insurer   APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GOLF MAX                                        PO BOX 346                                                                                                                           PATERSON             NJ     07543      UNITED STATES                       VEN_MF_069                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GOLF SAND INC.                                  PMB 385                                         4262 BLUE DIAMOND ROAD STE 102                                                       LAS VEGAS            NV     89139      UNITED STATES                       VEN_MF_070                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
                                                                            Case 11-14019-CSS                                                                            Doc 1-4         Filed 12/19/11                                      Page 12 of 29

GOLF SOUTH WEST                              FILE #51042                                                                                                                       LOS ANGELES          CA   90074-1042    UNITED STATES                    VEN_MF_071                     No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GOLF TODAY LAS VEGAS EDITION                 10040 WEST CHEYENNE, SUITE 170-134                                                                                                LAS VEGAS            NV     89129       UNITED STATES                    VEN_MF_072                     No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GOLF VENTURES WEST                           561 W. SUNSET ROAD                                                                                                                HENDERSON            NV     89011       UNITED STATES                    VEN_MF_073                     No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GOMBERG, ERIC                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP        8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA     90211       UNITED STATES              CMSLITCA_SCV0028445_003              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GOMEZ, RUDDY                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405       UNITED STATES              CMSLITCA_DEL1100369_040              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GONZALES, LEILA                              C/O WILLIAM H. NAUMANN, ESQ.                     THE NAUMANN LAW FIRM, PC            5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121       UNITED STATES                 CMSLITCA_96610_003                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GONZALEZ, BEVERLY                            3361 BUTTERFIELD AVENUE                                                                                                           LA VERNE             CA     91750       UNITED STATES                   EMPT_SC_0258                    No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GOODBY GRADING, INC.                         108 AMAYA DR.                                                                                                                     FOLSOM               CA   95630-2214    UNITED STATES                     VEN_689637           689637   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOODWIN PROCTER LLP                          601 SOUTH FIGUEROA ST., 41ST FLOOR                                                                                                LOS ANGELES          CA     90017       UNITED STATES                     VEN_721457           721457   No   Vendor     Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOOGLE, INC.                                 DEPT. 34256                                      PO BOX 39000                                                                     SAN FRANCISCO        CA     94139       UNITED STATES                     VEN_814557           814557   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOOLD, PATTERSON, ALES & DAY                 4496 SOUTH PECOS ROAD                                                                                                             LAS VEGAS            NV     89121       UNITED STATES                    VEN_MF_074                     No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GORDON, HARRY                                964 W JOHNSTON ST                                                                                                                 COLTON               CA     92324       UNITED STATES                    EMP_SC_0058                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GORDON, HARRY L.                             964 WEST JOHNSTON STREET                                                                                                          COLTON               CA     92324       UNITED STATES                     VEN_499251           499251   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GO-STAFF                                     8798 COMPLEX DRIVE                                                                                                                SAN DIEGO            CA     92123       UNITED STATES                     VEN_629722           629722   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOTHIC LANDSCAPE                             27502 AVENUE SCOTT                                                                                                                VALENCIA             CA     91355       UNITED STATES                     VEN_391145           391145   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GOTHIC LANDSCAPING, INC.                     C/O ADRIENNE D. COHEN, ESQ./KIMBERLY J. SARNI, ESQ.
                                                                                              LAW OFFICES OF ADRIENNE D. COHEN    1551 NORTH TUSTIN AVENUE, SUITE #750         SANTA ANA            CA     92705       UNITED STATES                CMSLITCA_365116_086                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GOTHIC LANDSCAPING, INC.                     C/O ADRIENNE D. COHEN, ESQ./KIMBERLY SARNI, ESQ.LAW OFFICES OF ADRIENNE D. COHEN     1551 NORTH TUSTIN AVENUE, SUITE #750         SANTA ANA            CA     92705       UNITED STATES               CMSLITCA_MC021755_041               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GOTHIC LANDSCAPING, INC.                     C/O J. CLARK LAVINE, AGENT                       27502 AVENUE SCOTT                                                               VALENCIA             CA     91355       UNITED STATES               CMSLITCA_MC021755_026               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GOUVIS ENGINEERING CONSULTING GROUP, INC     2150 E. TAHQUITZ CANYON #9                                                                                                        PALM SPRINGS         CA     92262       UNITED STATES                     VEN_788643           788643   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GRAINGER                                     DEPT 871153821                                   PO BOX 419267                                                                    KANSAS CITY          MO   64141-6267    UNITED STATES                    VEN_MF_075                     No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GRANT THORNTON LLP                           PO BOX 51519                                                                                                                      LOS ANGELES          CA   90051-5819    UNITED STATES                     VEN_585977           585977   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GRAY, DYLAN                                  28 ENCORE COURT                                                                                                                   NEWPORT BEACH        CA     92663       UNITED STATES                   EMPT_SC_0315                    No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GRAYS, CAROLL & SHENANDOAH                   C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405       UNITED STATES                CMSLITCA_1103791_025               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GREAT AMERICAN INSURANCE COMPANY             301 E. FOURTH STREET                                                                                                              CINCINNATI           OH     45202       UNITED STATES                  CONTRACT_00331                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GREAT BASIN DRILLING                         1220 E. MANSE RD.                                                                                                                 PAHRUMP              NV     89048       UNITED STATES                  CONTRACT_00332          629571   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GREAT BASIN DRILLING                         PO BOX 4220                                                                                                                       PAHRUMP              NV     89041       UNITED STATES                    VEN_MF_076                     No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GREAT BASIN DRILLING CO. OF NV, INC.         1220 E. MANSE RD.                                                                                                                 PAHRUMP              NV     89048       UNITED STATES                     VEN_629571           629571   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREAT REPO HOMES                             1700 HAMMER AVE, #110                                                                                                             NORCO                CA     92860       UNITED STATES                     VEN_816229           816229   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREAT WESTERN DRYWALL                        8315 MIRALANI DRIVE                                                                                                               SAN DIEGO            CA     92126       UNITED STATES                     VEN_232901           232901   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREATER SALES & MARKETING COUNCIL            17744 SKY PARK CIRCLE, #170                                                                                                       IRVINE               CA     92614       UNITED STATES                     VEN_835551           835551   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREEN VALLEY SECURITY, INC.                  3800 PATRICK LANE, SUITE 1                                                                                                        LAS VEGAS            NV     89120       UNITED STATES                     VEN_369393           369393   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREEN, LAURA                                 C/O FRED M. ADELMAN, ESQ.                        MILSTEIN ADELMAN, LLP               2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405       UNITED STATES                CMSLITCA_365116_004                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GREEN, SABRA                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405       UNITED STATES              CMSLITCA_DEL1100369_041              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GREENBERG TRAURIG                            1201 ""K"" STREET, SUITE 1100                                                                                                     SACRAMENTO           CA     95814       UNITED STATES                     VEN_696837           696837   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREENER SPACES INC.                          934-C SO. ANDREASEN DR.                                                                                                           ESCONDIDO            CA     92029       UNITED STATES                  CONTRACT_00333                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GREENLAND LANDSCAPE, INC.                    20916 MOONLAKE ST.                                                                                                                WALNUT               CA     91789       UNITED STATES                     VEN_834460           834460   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREER, WILLIAM                               6727 ALPINE BROOKS AVE                                                                                                            LAS VEGAS            NV     89130       UNITED STATES                    EMP_NV_0059                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GREER, WILLIAM (DARREN)                      500 PILOT ROAD, SUITE G                                                                                                           LAS VEGAS            NV     89119       UNITED STATES                     VEN_252304           252304   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREEY/PICKETT                                7051 E. 5TH AVE, SUITE 200                                                                                                        SCOTTSDALE           AZ     85251       UNITED STATES                     VEN_478792           478792   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREGORY A. STEARNS AS TRUSTEE OF THE
                                             C/O CHRISTOPHER H. HAGEN, ESQ. RALPH W. PETERS,WARD
                                                                                             ESQ. JACOB
                                                                                                  & HAGEN
                                                                                                        D. LLP
                                                                                                           BELL, ESQ.             440 STEVENS AVENUE, SUITE 350                SOLANA BEACH         CA      92075      UNITED STATES                 CMSLITCA_86438_001                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GREGORY A. AND CINDY STEARNS LIVING TRUST,
GREMORE, EDEE                                500 PILOT ROAD, SUITE G                                                                                                           LAS VEGAS            NV      89119      UNITED STATES                        VEN_376665        376665   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GREMORE, EDEE                                6132 SANDSTONE MESA DR                                                                                                            LAS VEGAS            NV      89130      UNITED STATES                      EMP_NV_0060                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GREYSTONE HOMES, INC.                        1525 FARADAY AVENUE, STE. 300                                                                                                     CARLSBAD             CA      92008      UNITED STATES                    CONTRACT_00334         N/A     No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GREYSTONE HOMES, INC., A DELAWARE            1525 FARADAY, STE. 300                                                                                                            CARLSBAD             CA      92008      UNITED STATES                  CONTRACT_ANP_00007               No   Vendor     Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GREYSTONE LATH & PLASTERING                  PO BOX 41457                                                                                                                      SAN JOSE             CA      95160      UNITED STATES                        VEN_415409        415409   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GRIFFIN III, JOSEPH                          C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA      92612      UNITED STATES                  CMSLITCA_1007968_024             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GRIFFIN, CAROL                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA      92612      UNITED STATES                  CMSLITCA_1007968_023             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GRIFFIN, CHRIS                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA      92612      UNITED STATES                  CMSLITCA_1007968_022             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GRIFFIN, KIMBERLY                            321 12TH STREET                                 APT #3                                                                            HUNTINGTON BEACH     CA      92648      UNITED STATES                      EMPT_SC_0282                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GRIGGCO                                      PO BOX 2289                                                                                                                       IDAHO FALLS          ID      83403      UNITED STATES                       VEN_MF_077                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GROUT & STONE RESTORATION                    24228 LINNEA COURT                                                                                                                MORENO VALLEY        CA      92553      UNITED STATES                        VEN_835606        835606   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GROVER, CLAY                                 2423 BOUNTY HUNTER CT                                                                                                             HENDERSON            NV      89002      UNITED STATES                      EMPT_NV_0246                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GRUBB & ELLIS LANDAUER VAS                   1551 N. TUSTIN AVE, SUITE 200                                                                                                     SANTA ANA            CA      92705      UNITED STATES                        VEN_831488        831488   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GRUBBS, MIKE                                 4490 VON KARMAN AVENUE                                                                                                            NEWPORT BEACH        CA      92660      UNITED STATES                        VEN_391155        391155   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GRUCE, ELIZABETH                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA      92612      UNITED STATES                  CMSLITCA_1007968_025             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GTI                                          104 OTTER ROAD                                                                                                                    HILTON HEAD ISLAND   SC      29928      UNITED STATES                       VEN_MF_078                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
GTR ENGINEERING                              4643 N. 12TH STREET                                                                                                               PHOENIX              AZ      85014      UNITED STATES                    CONTRACT_00335        522618   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GTR ENGINEERING, LLC                         4643 N. 12TH STREET                                                                                                               PHOENIX              AZ      85014      UNITED STATES                        VEN_522618        522618   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GUARANTEED DOOR SERVICE, INC.                5861 N. 55TH AVE.                                                                                                                 GLENDALE             AZ      85301      UNITED STATES                    CONTRACT_00336        371119   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GUARANTEED SUPPLY                            PO BOX 4170                                                                                                                       PALM SPRINGS         CA      92263      UNITED STATES                    CONTRACT_00337        272815   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GUARDIAN RAINGUTTERS, INC.                   C/O AARON CHENNELLS, AGENT                      5013 CAMINO ESCOLLO                                                               SAN CLEMENTE         CA      92673      UNITED STATES                  CMSLITCA_365116_044              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GUARDIAN RAINGUTTERS, INC.                   C/O DAVID E. DRISCOLL, ESQ.                     DRISCOLL & ASSOCIATES                6960 MAGNOLIA AVENUE, SUITE #102             RIVERSIDE            CA      92506      UNITED STATES                  CMSLITCA_365116_087              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GUERRERO, MANNY                              219 COUNT TURF ST.                                                                                                                PERRIS               CA      92571      UNITED STATES                      EMP_SC_0061                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
GUPTA, VIVEK & LEENA                         C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                  CMSLITCA_173057_039              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GUSTAFSON                                    C/O DONNA GUSTAFSON/LESLIE MARK STOVALL, ESQ.,3216
                                                                                              STOVALL
                                                                                                  WEST&CHARLESTON
                                                                                                         ASSOC.                                                                LAS VEGAS            NV      89102      UNITED STATES                     CMSLIT_CV13176                No   Litigant   Nevada              WLH Combo Litigation Load file.XLSX                                    10/27/2011
GUTIERREZ, FELIPE                            C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                    2155 CHICAGO AVE., SUITE 300                 RIVERSIDE            CA      92507      UNITED STATES                  CMSLITCA_1105650_004             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GUTIERREZ, MARIANA                           C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                    2155 CHICAGO AVE., SUITE 300                 RIVERSIDE            CA      92507      UNITED STATES                  CMSLITCA_1105650_003             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
GUY EVANS, INC.                              PO BOX 10630                                                                                                                      INDIO                CA      92202      UNITED STATES                        VEN_519283        519283   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GUY EVANS, INC.                              PO BOX 42426                                                                                                                      LAS VEGAS            NV      89116      UNITED STATES                        VEN_223669        223669   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
GW GRADING, INC.                             1298 DISTRIBUTION WAY                                                                                                             VISTA                CA      92081      UNITED STATES                        VEN_713844        713844   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
H AND S CONCRETE                             4280 S GREGORY                                                                                                                    PAHRUMP              NV      89048      UNITED STATES                       VEN_MF_079                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
H N R FRAMING SYSTEMS DBA SELECT BUILD       340 RANCHEROS DR., SUITE 172                                                                                                      SAN MARCOS           CA      92069      UNITED STATES                        VEN_232952        232952   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
H&M PIPE & SUPPLY, INC.                      PO BOX 1790-57                                                                                                                    PAHRUMP              NV    89041-4634   UNITED STATES                       VEN_MF_080                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
H2O BACKFLOW SERVICE                         397 RAVENSMERE AVE                                                                                                                LAS VEGAS            NV      89123      UNITED STATES                        VEN_680755        680755   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HABITAT WEST                                 2067 WINERIDGE PLACE, SUITE B                                                                                                     ESCONDIDO            CA      92029      UNITED STATES                        VEN_636607        636607   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HADDY, GARY                                  2008 VIA VINA                                                                                                                     SAN CLEMENTE         CA      92673      UNITED STATES                      EMP_SC_0062                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HADLEY, EDWARD                               12909 W. 98TH ST.                                                                                                                 SCOTTSDALE           AZ      85260      UNITED STATES                       EMP_AZ_0063                 No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HAERING, JOHN                                C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                  CMSLITCA_365116_005              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HAKES SASH & DOOR                            43089 BUSINESS PARK DR.                                                                                                           TEMECULA             CA      92590      UNITED STATES                    CONTRACT_00338                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HALE, RUDY                                   24502 LADERA DR.                                                                                                                  MISSION VIEJO        CA      92691      UNITED STATES                      EMP_SC_0064                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HALE, TONY                                   24502 LADERA STREET                                                                                                               MISSION VIEJO        CA      92691      UNITED STATES                        VEN_391168        391168   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HALL & FOREMAN, INC.                         17782 E. 17TH STREET, SUITE 200                                                                                                   TUSTIN               CA    92780-1947   UNITED STATES                        VEN_530415        530415   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HALL & FOREMAN, INC.                         25152 SPRINGFIELD COURT, SUITE 350                                                                                                SANTA CLARITA        CA    91355-1096   UNITED STATES                        VEN_519275        519275   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HALL, ARTHUR                                 PO BOX 1507                                                                                                                       PAHRUMP              NV      89041      UNITED STATES                      EMP_MF_0206                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HALL, DANIELLE                               C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA      92807      UNITED STATES                  CMSLITCA_1103527_008             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HALTERMAN'S OFFICE SUPPLY                    630 W. ALPINE AVENUE                                                                                                              SANTA ANA            CA    92707-4806   UNITED STATES                        VEN_464921        464921   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HALVORSON VALUATION GROUP                    2351 SUNSET BLVD, SUITE 170-317                                                                                                   ROCKLIN              CA      95765      UNITED STATES                        VEN_791527        791527   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HAMMOND & MASING CONSTRUCTION                PO BOX 504347                                                                                                                     SAN DIEGO            CA      92150      UNITED STATES                        VEN_374985        374985   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HANEFFANT, EDWARD                            C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                              ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA      90211      UNITED STATES                CMSLITCA_SCV0028445_001            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HANK & TONY'S INC                            2477 WATERLOO RD                                                                                                                  STOCKTON             CA      95205      UNITED STATES                        VEN_391173        391173   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HANK'S BISTRO                                14406 S. HAWTHORN BLVD                                                                                                            LAWNDALE             CA      90260      UNITED STATES                        VEN_817774        817774   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HANLEY WOOD MARKET INTELLIGENCE              PO BOX 79415                                                                                                                      CITY OF INDUSTRY     CA    91716-9415   UNITED STATES                        VEN_643452        643452   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HANNEFFANT, MARIA                            C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                              ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA      90211      UNITED STATES                CMSLITCA_SCV0028445_002            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HANNING, JON                                 PO BOX 1139                                                                                                                       PINE GROVE           CA      95665      UNITED STATES                      EMPT_NC_0316                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HANOVER INSURANCE                            440 LINCOLN STREET                                                                                                                WORCESTER            MA   016513-0002   UNITED STATES                    CONTRACT_00339                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HANOVER INSURANCE GROUP                      PO BOX 580045                                                                                                                     CHARLOTTE            NC    28258-0045   UNITED STATES                        VEN_777995        777995   No   Vendor     Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HANSEN, KEVIN & MICHELLE                     C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC             5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA      92121      UNITED STATES                   CMSLITCA_96610_025              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HARDGRAVE, CYNTHIA                           8599 RHOADS CIR                                                                                                                   FOUNTAIN VALLEY      CA      92708      UNITED STATES                     EMP_CORP_0065                 No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HARDGRAVE, CYNTHIA E.                        4490 VON KARMAN AVE.                                                                                                              NEWPORT BEACH        CA      92660      UNITED STATES                        VEN_410704        410704   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARDMAN, KERRIS                              11968 DANVERS CIR                                                                                                                 SAN DIEGO            CA      92128      UNITED STATES                      EMPT_SC_0322                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HARDMAN-SHAFFER, KERRIS LEE                  11968 DANVERS CIRCLE                                                                                                              SAN DIEGO            CA      92128      UNITED STATES                        VEN_102875        102875   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARDWOOD CREATIONS                           800 COLUMBIA STREET, SUITE B                                                                                                      BREA                 CA      92821      UNITED STATES                    CONTRACT_00340                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HARMON, GARY                                 PO BOX 4117                                                                                                                       PAHRUMP              NV      89041      UNITED STATES                      EMPT_MF_0365                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HAROLD H. GREENE                             35 CHURCHILL LANE                                                                                                                 RANCHO MIRAGE        CA      92270      UNITED STATES                        VEN_690363        690363   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARPER, ALFONZIA & BEVERLY                   C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                CMSLITCA_DEL1100369_042            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HARPER'S MODEL HOME MAINTENANCE, INC.        PO BOX 4590                                                                                                                       EL DORADO HILLS      CA      95762      UNITED STATES                        VEN_229850        229850   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARRIS & SLOAN CONSULTING GROUP, INC.        2295 GATEWAY OAKS DRIVE, SUITE 165                                                                                                SACRAMENTO           CA      95833      UNITED STATES                    CONTRACT_00341                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HARRISON DOOR COMPANY                        1951 RAMROD AVENUE                                                                                                                HENDERSON            NV      89014      UNITED STATES                        VEN_242966        242966   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARRISON LANDSCAPE COMPANY                   1951 RAMROD AVE.                                                                                                                  HENDERSON            NV      89014      UNITED STATES                        VEN_308064        308064   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARRISON, NATASHA & TRACEY                   C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                  CMSLITCA_1103791_008             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HARSALI, SUSAN                               4 LA PALOMA DRIVE                                                                                                                 IRVINE               CA      92620      UNITED STATES                     EMP_CORP_0066                 No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HARTE-HANKS INC.,PENNYSAVER                  DEPT. 6082                                                                                                                        LOS ANGELES          CA    90088-6082   UNITED STATES                        VEN_406967        406967   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARTMARK CABINET DESIGN & MFG.INC.           13860 MOUNTAIN AVE                                                                                                                CHINO                CA      91710      UNITED STATES                        VEN_687973        687973   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HARVEST LANDSCAPE ENTERPRISES                PO BOX 3877                                                                                                                       ORANGE               CA    92857-0877   UNITED STATES                        VEN_790381        790381   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HASEY, RAYMOND & JANIE                       C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                CMSLITCA_CA1100369_028             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HASTINGS FARMS COMMUNITY ASSOC.              4645 E. COTTON GIN LOOP                                                                                                           PHOENIX              AZ      85040      UNITED STATES                        VEN_747198        747198   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HATHORN, JEFF & JODIE                        C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                  CMSLITCA_365116_006              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HATTON INSURANCE SERVICES INC                54 CORPORATE PARK                                                                                                                 IRVINE               CA      92714      UNITED STATES                        VEN_221014        221014   No   Vendor     Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HAUL-AWAY CONTAINERS                         PO BOX 186                                                                                                                        STANTON              CA    90680-0186   UNITED STATES                    CONTRACT_00342        229841   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HAWTHORNE CHAMBER OF COMMERCE                12629 CRENSHAW BLVD                                                                                                               HAWTHORNE            CA      90250      UNITED STATES                        VEN_696298        696298   No   Vendor     Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HAWTHORNE EDUCATION FOUNDATION GOLF TOUR     C/O HAWTHORNE SCHOOL DISTRICT                   14120 HAWTHORNE BLVD                                                              HAWTHORNE            CA      90250      UNITED STATES                        VEN_718274        718274   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HAWTHORNE-LAWNDALE MINISTERIAL ASSOC.        3901 W. EL SEGUNDO BLVD                                                                                                           HAWTHORNE            CA      90250      UNITED STATES                        VEN_830434        830434   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HAYES MARTIN ASSOCIATES, INC.                1300 DOVE ST., SUITE 205                                                                                                          NEWPORT BEACH        CA      92660      UNITED STATES                        VEN_651225        651225   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HAYES, PHYLLIS                               1010 INDUSTRIAL RD                              APT 65                                                                            BOULDER CITY         NV      89005      UNITED STATES                      EMPT_NV_0261                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HEARTH & HOMES TECH. DBA:FIRESIDE HEARTH     4111 FLAT ROCK DR.                                                                                                                RIVERSIDE            CA      92505      UNITED STATES                        VEN_706302        706302   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HEARTHSTONE MULTI-ASSET ENTITY B, L. P.      781 LINCOLN AVENUE, SUITE 300                                                                                                     SAN RAFAEL           CA      94901      UNITED STATES                    CONTRACT_00343                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HEARTHSTONE MULTI-ASSET ENTITY B, L.P.       C/O HEARTHSTONE, INC.                           ATTN JEFF BARCY, FAX                 781 LINCOLN AVENUE, SUITE 300                SAN RAFAEL           CA      94901      UNITED STATES   415.257.3619     CONTRACT_00344                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HEARTHSTONE, INC.                            ATTN TRACY T. CARVER                            781 LINCOLN AVENUE, SUITE 300                                                     SAN RAFAEL           CA      94901      UNITED STATES   415.257.3619   CONTRACT_ANP_00008               No   Vendor     Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
HEARTLAND FOOD PRODUCTS, INC.                1900 WEST 47TH PLACE, SUITE 302                                                                                                   WESTWOOD             KS    66205-1815   UNITED STATES                       VEN_MF_081                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
HEATH AVERILL/HEATHCO                        3531 BLAGG                                                                                                                        PAHRUMP              NV      89048      UNITED STATES                       VEN_MF_082                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
HECHT, SOLBERG, ROBINSON & GOLDBERG          600 W. BROADWAY 8TH FLOOR                                                                                                         SAN DIEGO            CA      92101      UNITED STATES                        VEN_233015        233015   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HEFFERN, DOREEN                              7216 TRADING POST LANE                                                                                                            LAS VEGAS            NV      89128      UNITED STATES                      EMPT_NV_0318                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HEFFERN, TIMOTHY                             7216 TRADING POST LANE                                                                                                            LAS VEGAS            NV      89128      UNITED STATES                      EMP_NV_0067                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HEICKLEN, MITCHELL                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                CMSLITCA_DEL1100369_044            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HEINTSCHEL PLASTERING                        475 CORPORATE DR.                                                                                                                 ESCONDIDO            CA      92029      UNITED STATES                        VEN_233023        233023   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HELENA CHEMICAL CO.                          FILE NO. 73801                                  PO BOX 60000                                                                      SAN FRANCISCO        CA    94160-3801   UNITED STATES                       VEN_MF_083                  No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
HELIDORO, JR. JACOBO                         C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA      92807      UNITED STATES                  CMSLITCA_1103527_003             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HELMBOLD, ROLAND                             1890 CHESAPEAKE                                                                                                                   CORONA               CA      92880      UNITED STATES                      EMPT_SC_0305                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HENDERSON, JOHN                              12548 LANTANA                                                                                                                     RANCHO CUCAMONGA     CA      91739      UNITED STATES                      EMP_SC_0068                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HENG, NATHY                                  C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                CMSLITCA_DEL1100369_013            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HENRICHS, KIMBERLY DAWN CLARK                C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                             ANDERSON
                                                                                                  ESQ. JAKE
                                                                                                        & KRIGER
                                                                                                            J. FATHY, ESQ.        3831 N. FREEWAY BLVD., SUITE 110             SACRAMENTO           CA      95834      UNITED STATES                   CMSLITCA_98007_006              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HENRY HARTE ENTERPRISES                      PO BOX 862                                                                                                                        LEMON GROVE          CA      91946      UNITED STATES                        VEN_233031        233031   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HENRY RANCH, LLC                             4490 VON KARMAN AVENUE                                                                                                            NEWPORT BEACH        CA      92660      UNITED STATES                      AFFILIATE_025                No   Vendor     Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
HERITAGE ENERGY GROUP                        470 WALD                                                                                                                          IRVINE               CA    92618-4638   UNITED STATES                        VEN_226288        226288   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HERITAGE INTERIORS                           2501 W. PHELPS ROAD                                                                                                               PHOENIX              AZ      85023      UNITED STATES                        VEN_821917        821917   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HERNANDEZ, CARLOS A.                         C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA      92807      UNITED STATES                  CMSLITCA_1103527_004             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HERNANDEZ, JIMMY                             6061 DARLINGTON AVE.                                                                                                              BUENA PARK           CA      90621      UNITED STATES                      EMP_SC_0069                  No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HERNANDEZ, MARTIN & AURORA                   C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA      90405      UNITED STATES                CMSLITCA_CA1100369_029             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HERNANDEZ, RICHARD                           C/O CRUM & FORSTER                              PO BOX 14217                                                                      ORANGE               CA      92871      UNITED STATES                 CMSLITCA_PZC00427247              No   Litigant   Undefined           Maintain Creditors                                                     11/23/2011
HERNANDEZ, STEVE & LAURIE                    C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA      92807      UNITED STATES                  CMSLITCA_1103527_021             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HERTERICH, BARBARA                           4738 CIELO VISTA WAY                                                                                                              SAN JOSE             CA      95129      UNITED STATES                      EMPT_NC_0291                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HESS, DAN W.                                 C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                              ESQ.      & KRIGER                  1752 EAST AVENUE J, PMB 363                  LANCASTER            CA      93535      UNITED STATES                 CMSLITCA_MC021755_005             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
HESSON, DIXIE                                1131 CABRILLO PARK DR                                                                                                             SANTA ANA            CA      92701      UNITED STATES                     EMP_CORP_0070                 No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HEWLETT, ELECTA                              PO BOX 3530                                                                                                                       PAHRUMP              NV      89041      UNITED STATES                      EMPT_MF_0346                 No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HEWLETT-PACKARD COMPANY                      13207 COLLECTIONS CENTER DRIVE                                                                                                    CHICAGO              IL      60693      UNITED STATES                        VEN_838209        838209   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HEWLETT-PACKARD FINANCIAL SERVICES           200 CONNELL DR                                                                                                                    BERKLEY HEIGHTS      NJ      07922      UNITED STATES                         UCC_020                   No   Vendor     UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                        10/25/2011
HI HO ENTERPRISES                            6601 CROCKETT CIRCLE                                                                                                              LAS VEGAS            NV      89108      UNITED STATES                        VEN_680851        680851   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HI TECH CARPET & RESTORATION                 PO BOX 2497                                                                                                                       ROCKLIN              CA      95677      UNITED STATES                        VEN_626097        626097   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
HICKCOX, W. THOMAS                           PO BOX 5928                                                                                                                       CAREFREE             AZ      85377      UNITED STATES                       EMP_AZ_0071                 No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
HICKSON, VANESSA                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA      92612      UNITED STATES                  CMSLITCA_1007968_026             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
                                                                            Case 11-14019-CSS                                                                        Doc 1-4          Filed 12/19/11                                    Page 13 of 29

HIGH GRADE FORM, INC.                        3175 WILSON AVE                                                                                                                 PERRIS             CA     92504      UNITED STATES                    CONTRACT_00345                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HIGH IMPACT SIGN & DESIGN                    1250 W. CHARLESTON PARK AVE., STE D                                                                                             PAHRUMP            NV     89048      UNITED STATES                      VEN_MF_084                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HIGH LEVEL MARKETING                         1322 MANHATTAN BEACH BLVD                                                                                                       MANHATTAN BEACH    CA     90266      UNITED STATES                       VEN_827761            827761       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HIGH PLACES SERVICES                         1271 W. WILSON                                                                                                                  PAHRUMP            NV     89048      UNITED STATES                      VEN_MF_085                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HIGHVIEW ROOFING COMPANY                     PO BOX 11422                                                                                                                    SAN BERNARDINO     CA     92423      UNITED STATES                       VEN_647103            647103       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HIGHWAY STRIPING & SIGNS                     3425 BUNKERHILL DRIVE, SUITE B                                                                                                  N. LAS VEGAS       NV     89032      UNITED STATES                    CONTRACT_00346           659956       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HIGLEY UNIFIED SCHOOL DISTRICT               2935 S. RECKER RD.                                                                                                              GILBERT            AZ     85297      UNITED STATES                       VEN_532568            532568       No   Vendor         Municipality      Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HIGLEY UNIFIED SCHOOL DISTRICT NO. 60        3391 E. VEST RD.                                                                                                                GILBERT            AZ     85295      UNITED STATES                    CONTRACT_00347           532568       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HILLCREST CONSTRUCTION                       4842 SCHOOL ST.                                                                                                                 YORBA LINDA        CA     92886      UNITED STATES                    CONTRACT_00348                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HILLCREST CONTRACTING                        1467 CIRCLE CITY DRIVE                                                                                                          CORONA             CA   92879-1668   UNITED STATES                       VEN_391188            391188       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HILLIARD, JESSICA                            C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES                CMSLITCA_SCV0028445_015                   No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HIRATA, GARTH                                C/O MARK BOURASSA                                3025 W. SAHARA AVENUE SUITE 105                                                LAS VEGAS          NV     89102      UNITED STATES                     CMSLIT_451.006                       No   Litigant       Nevada            WLH Combo Litigation Load file.XLSX                                   10/27/2011
HIRSCHI MASONRY                              4685 BERG STREET                                                                                                                NORTH LAS VEGAS    NV     89031      UNITED STATES                       VEN_325809            325809       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HIRSCHI MASONRY, LLC                         4120 LOSEE ROAD                                                                                                                 N. LAS VEGAS       NV   89030-3302   UNITED STATES                    CONTRACT_00349           817993       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HI-TECH COMMERCIAL SERVICE                   1840 STELLA LAKE STREET                                                                                                         LAS VEGAS          NV     89106      UNITED STATES                      VEN_MF_086                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HI-TECH GYPSUM, INC.                         501 PARK INDUSTRIAL DR.                                                                                                         LA HABRA           CA     90631      UNITED STATES                       VEN_702475            702475       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HMH ENGINEERS                                1570 OAKLAND RD.                                                                                                                SAN JOSE           CA     95131      UNITED STATES                    CONTRACT_00350                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HO, LARRY                                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_DEL1100369_043                   No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HOFFMAN INSULATION, INC.                     1265 VENTURE LANE                                                                                                               TURLOCK            CA     95380      UNITED STATES                       VEN_701721            701721       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOFFMAN, SANDRA                              C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                  CMSLITCA_173057_018                     No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HOKE OUTDOOR ADVERTISING                     1955 N. MAIN STREET                                                                                                             ORANGE             CA     92865      UNITED STATES                       VEN_391190            391190       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOLLED ENTERPRISES                           PO BOX 2763                                                                                                                     PAHRUMP            NV     89041      UNITED STATES                      VEN_MF_087                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HOLSTROM, WILLIAM R. & JANET N.              C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                              BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR   ANAHEIM            CA     92807      UNITED STATES                  CMSLITCA_1103527_005                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HOLTZ, GARY & MARY                           C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                  CMSLITCA_1103791_012                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HOME AID ORANGE COUNTY                       17744 SKY PARK CIRCLE, SUITE 170                                                                                                IRVINE             CA     92614      UNITED STATES                       VEN_256621            256621       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME BUILDERS ASSOC OF CENTRAL ARIZONA       7740 N. 16TH STREET, SUITE 385                                                                                                  PHOENIX            AZ     85020      UNITED STATES                       VEN_199072            199072       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME BUILDERS ASSOC. OF CENTRAL AZ           7740 N. 16TH ST., SUITE 385                                                                                                     PHOENIX            AZ     85020      UNITED STATES                    CONTRACT_00351           199072       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOME BUILDERS ASSOCATION OF NO. CAL.         PO BOX 5160                                                                                                                     SAN RAMON          CA     94583      UNITED STATES                       VEN_257324            257324       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME BUILDERS MARKETING, INC                 19446 WILLOWCREEK CIRCLE                                                                                                        SUN CITY           AZ     85373      UNITED STATES                       VEN_194984            194984       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME BUILDERS RESEARCH,INC.                  7210 RED CINDER ST.                                                                                                             LAS VEGAS          NV   89131-3319   UNITED STATES                       VEN_190174            190174       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME BUYERS GUIDE                            17780 FITCH STREET, STE. #195                                                                                                   IRVINE             CA     92614      UNITED STATES                       VEN_222228            222228       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME DEPOT                                   301 N HWY 160                                                                                                                   PAHRUMP            NV     89060      UNITED STATES                      VEN_MF_088                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HOME DEPOT CREDIT SERVICES                   DEPT 32-2500728641                               PO BOX 183176                                                                  COLUMBUS           OH   43218-3176   UNITED STATES                       VEN_837097            837097       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME DEPOT CREDIT SERVICES                   DEPT 32-2502541257                               PO BOX 183176                                                                  COLUMBUS           OH   43218-3176   UNITED STATES                       VEN_567111            567111       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME DEPOT/GECF                              PO BOX 6031                                                                                                                     THE LAKES          NV   88901-6031   UNITED STATES                       VEN_233091            233091       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME MASTERS PLUMBING, HEATING & AIR CON     7260 W. AZURE DRIVE, SUITE 140-58                                                                                               LAS VEGAS          NV     89130      UNITED STATES                    CONTRACT_00353           831226       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOME TEAM PEST DEFENSE                       1170 W. NATIONAL DRIVE, SUITE 90                                                                                                SACRAMENTO         CA     95834      UNITED STATES                    CONTRACT_00354                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOME TEAM PEST DEFENSE                       1185 PARK CENTER DRIVE, SUITE A&B                                                                                               VISTA              CA     92081      UNITED STATES                       VEN_707508            707508       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME TEAM PEST DEFENSE                       2585 WEST 10TH STREET                                                                                                           ANTIOCH            CA     94509      UNITED STATES                    CONTRACT_00355                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOME TEAM PEST DEFENSE                       6450 CAMERON ST., SUITE 100                                                                                                     LAS VEGAS          NV     89118      UNITED STATES                       VEN_642450            642450       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME TEAM PEST DEFENSE, INC.                 1120 PALMYRITA, SUITE 210                                                                                                       RIVERSIDE          CA     92507      UNITED STATES                       VEN_645976            645976       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME TEAM PEST DEFENSE, LLC                  1205 S. PARK LANE, #2                                                                                                           TEMPE              AZ     85281      UNITED STATES                       VEN_643129            643129       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOME TRONICS                                 2470 N. DECATUR BLVD, SUITE 120                                                                                                 LAS VEGAS          NV     89108      UNITED STATES                    CONTRACT_00356           471435       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOMELAND INSURANCE COMPANY OF NEW YORK       601 CARLSON PARKWAY                              SUITE 600                                                                      MINNETONKA         MN     55305      UNITED STATES                    CONTRACT_00357                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOMEOWNERS EDUCATION ASSOCIATION, LLC        1600 S. MAIN ST, SUITE 380                                                                                                      WALNUT CREEK       CA     94596      UNITED STATES                       VEN_507055            507055       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOMESITE SERVICES                            101 PULLMAN ST.                                                                                                                 LIVERMORE          CA     94551      UNITED STATES                    CONTRACT_00358                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOMETRONIC                                   2480 N. DECATUR #180                                                                                                            LAS VEGAS          NV     89108      UNITED STATES                      VEN_MF_089                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HONEY BAKED FOOD, INC                        PO BOX 1174                                                                                                                     HOLLAND            OH   43528-0965   UNITED STATES                    CONTRACT_00359                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HONEY BAKED FOODS, INC.                      PO BOX 1174                                                                                                                     HOLLAND            OH   43528-0965   UNITED STATES                       VEN_525641            525641       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOPKINS, ELMA                                1210 VONDELL                                                                                                                    PAHRUMP            NV     89048      UNITED STATES                      EMP_MF_0207                         No   Employee       Active            Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HOPKINS, JACK                                8450 W. CHARLESTON BLVD                          APT #1036                                                                      LAS VEGAS          NV     89117      UNITED STATES                     EMPT_MF_0379                         No   Employee       Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HORIZON                                      4022 PONDEROSA WAY                                                                                                              LAS VEGAS          NV     89118      UNITED STATES                      VEN_MF_090                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HORIZON APPRAISAL SERVICE                    5922 MOUNTAIN MEADOW CT.                                                                                                        SAN JOSE           CA     95135      UNITED STATES                       VEN_822522            822522       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HORIZON COMMUNICATIONS TECHNOLOGIES,INC.     PO BOX 60000, FILE 30541                                                                                                        SAN FRANCISCO      CA     94160      UNITED STATES                       VEN_761563            761563       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HORIZON DISTRIBUTORS, INC.                   PO BOX 52758                                                                                                                    PHOENIX            AZ   85072-2758   UNITED STATES                      VEN_MF_091                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HORIZON'S PAINTING                           PO BOX 4401                                                                                                                     EL DORADO HILLS    CA     95762      UNITED STATES                       VEN_459831            459831       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HORTON, MARGARET                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_027                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HORTSCIENCE                                  325 RAY ST.                                                                                                                     PLEASANTON         CA     94566      UNITED STATES                    CONTRACT_00360                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HOSHIZAKI WESTERN                            790 CHALLENGER ST.                                                                                                              BREA               CA     92821      UNITED STATES                      VEN_MF_092                          No   Vendor         Trade Payable     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
HOSSAINI, LAILUMA & HAMID                    C/O FRED M. ADELMAN, ESQ.                        MILSTEIN, ADELMAN, LLP               2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                  CMSLITCA_500837_005                     No   Litigant       California        WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
HOUCHENS, DUSTIN                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_028                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HOUCHENS, ELAINA                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_029                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HOULIHAN LOKEY CAPITAL, INC.                 1930 CENTURY PARK WEST                                                                                                          LOS ANGELES        CA     90067      UNITED STATES                       VEN_841731            841731       No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                             Undefined         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOWARD ASSOCIATES INC.                       5333 MISSION CENTER ROAD, SUITE 390                                                                                             SAN DIEGO          CA     92108      UNITED STATES                       VEN_460023            460023       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOWARD HUGHES PROPERTIES, INC.               C/O SUMMERLIN MPC                                SUMMERLIN MPC, SDS-12-2922           PO BOX 86                                 MINNEAPOLIS        MN   55486-2922   UNITED STATES                       VEN_728085            728085       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HOYT'S ACE HARDWARE                          7110 ARCHIBALD AVE                                                                                                              RANCHO CUCAMONGA   CA     91701      UNITED STATES                       VEN_331521            331521       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HP FINANCIAL SERVICES                        200 CONNELL DRIVE, SUITE 5000                                                                                                   BERKELEY HEIGHTS   NJ     07922      UNITED STATES                    CONTRACT_00361           836588       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HRP LANDESIGN                                3242 HALLADAY, SUITE 203                                                                                                        SANTA ANA          CA     92705      UNITED STATES                       VEN_560770            560770       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HSP, INC.                                    4490 VON KARMAN AVENUE                                                                                                          NEWPORT BEACH      CA     92660      UNITED STATES                       ENTITY_007                         No   Vendor         Legal Entity      Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
HUANG, YU                                    C/O WILLIAM H. NAUMANN, ESQ.                     THE NAUMANN LAW FIRM, PC             5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES                   CMSLITCA_96610_008                     No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HUBBARD, MARYILYN & SHAWN                    C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_CA1100369_030                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HUBER, MARK & JENNIFER                       C/O WILLIAM H. NAUMANN, ESQ.                     THE NAUMANN LAW FIRM, PC             5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES                   CMSLITCA_96610_020                     No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HUFF, EMERSON                                421 COMSTOCK ST 3                                                                                                               PAHRUMP            NV     89048      UNITED STATES                     EMPT_MF_0335                         No   Employee       Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HUGHEN, MARGO                                2113 CRESTLINE FALLS                                                                                                            LAS VEGAS          NV     89134      UNITED STATES                     EMPT_NV_0323                         No   Employee       Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HUGHEN, MARGO                                500 PIOLET ROAD, SUITE G                                                                                                        LAS VEGAS          NV     89119      UNITED STATES                       VEN_418212            418212       No   Vendor         Employee          Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HUGHES HEATING AND AIR CONDITIONING          PO BOX 2965                                                                                                                     EL CAJON           CA     92021      UNITED STATES                       VEN_231571            231571       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HUGHES, CHRIS                                C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_CA1100369_031                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HUHN, DAYNA E.                               C/O SUZANNE N. PATRON, ESQ.                      MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                 CMSLITCA_SCV26452_004                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HULL, DARRELL                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_030                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HULL, TARA                                   C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES                  CMSLITCA_1007968_031                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HUMPHREY, CHRISTOPHER                        4320 W. JESSE                                                                                                                   PAHRUMP            NV     89048      UNITED STATES                     EMPT_MF_0372                         No   Employee       Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HUNSAKER & ASSOCIATES SAN DIEGO INC.         9707 WAPLES ST.                                                                                                                 SAN DIEGO          CA     92121      UNITED STATES                       VEN_306018            306018       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HUTCHFUL, MINA                               C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                  CMSLITCA_1103791_004                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
HUTCHINSON, GREGORY                          2326 W TALLGRASS TRAIL                                                                                                          PHOENIX            AZ     85085      UNITED STATES                      EMP_AZ_0072                         No   Employee       Active            Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HUTCHISON, DAVID                             811 SOY ST                                                                                                                      PAHRUMP            NV     89060      UNITED STATES                     EMPT_MF_0373                         No   Employee       Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
HUTTING CONSTRUCTION                         1137 TULARE DRIVE                                                                                                               VACAVILLE          CA     95687      UNITED STATES                       VEN_818857            818857       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HUTTON LOVEWELL, INC.                        5253 JERUSALEM COURT, SUITE B                                                                                                   MODESTO            CA     95356      UNITED STATES                    CONTRACT_00362                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
HYATT REGENCY NEWPORT BEACH                  1107 JAMBOREE ROAD                                                                                                              NEWPORT BEACH      CA     92660      UNITED STATES                       VEN_830160            830160       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HYDRO - ARCH                                 980 MARY CREST ROAD, UNIT B                                                                                                     HENDERSON          NV     89014      UNITED STATES                       VEN_475946            475946       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HYLAND BAY SYSTEMS, INC.                     1551 N. DIANE ST.                                                                                                               MESA               AZ   85203-3850   UNITED STATES                       VEN_722311            722311       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HY-LANG ELECTRIC CALIFORNIA INC.             7181 CONSTRUCTION COURT                                                                                                         SAN DIEGO          CA     92121      UNITED STATES                       VEN_233120            233120       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
HYPHEN SOLUTIONS, LTD                        PO BOX 849936                                                                                                                   DALLAS             TX   75284-9936   UNITED STATES                       VEN_658970            658970       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
I.M. CONSTRUCTION, INC.                      7401 GALILEE ROAD, SUITE 300                                                                                                    ROSEVILLE          CA     95678      UNITED STATES                    CONTRACT_00363                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IBARRA, HUMBERTO & ELVIRA                    C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_CA1100369_068                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
IBARRA, JUAN & NORMA                         C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES                CMSLITCA_CA1100369_032                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
IBM CORPORATION                              4111 NORTHSIDE PARKWAY                                                                                                          ATLANTA            CA     30327      UNITED STATES                    CONTRACT_00364                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IBS                                          12201 GAYTON RD., SUITE 100                                                                                                     RICHMOND           VA     23238      UNITED STATES                    CONTRACT_00365                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
I-DEAL LLC                                   PO BOX 26886                                                                                                                    NEW YORK           NY   10087-6886   UNITED STATES                       VEN_840464            840464       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IDEAL PROFESSIONAL CARPET                    3553 E. DOWNING CIRCLE                                                                                                          MESA               AZ     85213      UNITED STATES                       VEN_197966            197966       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IDEAL PROFESSIONAL CLEANING                  3553 E. DOWNING CIRCLE                                                                                                          MESA               AZ     85213      UNITED STATES                    CONTRACT_00366           197966       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IDENTITY MARKETING                           931 E. ELLIOT ROAD #G-2                                                                                                         TEMPE              AZ   85284-1556   UNITED STATES                       VEN_482177            482177       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IES RESIDENTIAL DBA: MITCHELL ELECTRIC       4339 E. UNIVERSITY DR.                                                                                                          PHOENIX            AZ     85034      UNITED STATES                       VEN_774145            774145       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IES RESIDENTIAL INC.                         240 OTT STREET                                                                                                                  CORONA             CA     92882      UNITED STATES                    CONTRACT_00367                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IFRAME CONSTRUCTION, INC.                    7401 GALILEE ROAD, SUITE 300                                                                                                    ROSEVILLE          CA     95678      UNITED STATES                    CONTRACT_00368                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IHAVE5QS                                     6 MOZZONI AVE                                                                                                                   IRVINE             CA     92606      UNITED STATES                       VEN_837151            837151       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IHP INVESTMENT FUND III                      19800 MACARTHUR BLVD. SUITE 700                                                                                                 IRVINE             CA     92612      UNITED STATES                       VEN_474601            474601       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IKON                                         PO BOX 650073                                                                                                                   DALLAS             TX   75265-0073   UNITED STATES                    CONTRACT_00369                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IKON FINANCIAL SERVICES                      PO BOX 650073                                                                                                                   DALLAS             TX   75265-0073   UNITED STATES                      VEN_MF_094                          No   Vendor         Equipment Lease   APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
IKON OFFICE SOLUTIONS                        NORTH WEST DISTRICT - SJO                        PO BOX 31001-0718                                                              PASADENA           CA   91110-0718   UNITED STATES                       VEN_392027            392027       No   Vendor         Equipment Lease   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IKON OFFICE SOLUTIONS                        PO BOX 31001-0743                                                                                                               PASADENA           CA   91110-0743   UNITED STATES                       VEN_268154            268154       No   Vendor         Equipment Lease   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IKON OFFICE SOLUTIONS                        PO BOX 917420                                                                                                                   PASADENA           CA   91109-7420   UNITED STATES                       VEN_249228            249228       No   Vendor         Equipment Lease   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IMAGINATION GRAPHICS                         104 S. ROBSON                                                                                                                   MESA               AZ     85210      UNITED STATES                       VEN_509051            509051       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IMPACT MARKETING (IT'S A MYSTERY)            PO BOX 5115                                                                                                                     FRISCO             TX     75035      UNITED STATES                       VEN_739358            739358       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IMPERIAL IRONWORKS, LLC                      PO BOX 2823                                                                                                                     PEORIA             AZ     85345      UNITED STATES                    CONTRACT_00370           774153       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INDEPENDENT CONSTRUCTION CO.                 3911 LAURA ALICE WAY                                                                                                            CONCORD            CA   94520-8544   UNITED STATES                       VEN_281914            281914       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INDEPENDENT RESTORERS                        4438 JUPITER DRIVE                                                                                                              RIVERSIDE          CA     92505      UNITED STATES                       VEN_710811            710811       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INDUSTRIAL LOCK & SECURITY INC.              401 MAIN ST.                                                                                                                    EL SEGUNDO         CA     90245      UNITED STATES                       VEN_828810            828810       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INDUSTRIAL SWEEPING INC.                     12300 ACADEMY WAY                                                                                                               ARTESIA            CA     90701      UNITED STATES                       VEN_677185            677185       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INFINITY GLASS & GLAZING, INC.               PO BOX 31687                                                                                                                    STOCKTON           CA     95213      UNITED STATES                    CONTRACT_00371                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INLAND GROUP                                 4305 E. LA PALMA AVE                                                                                                            ANAHEIM            CA     92807      UNITED STATES                       VEN_790356            790356       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INLAND VALLEY DAILY BULLETIN                 PO BOX 6141                                                                                                                     COVINA             CA     91722      UNITED STATES                       VEN_392028            392028       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INLAND VALLEY STAIRS, INC.                   111 N. BENSON AVE                                                                                                               UPLAND             CA     91786      UNITED STATES                    CONTRACT_00372                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INLINE STRIPING, INC.                        18121 HUTCHINGS DRIVE                                                                                                           YORBA LINDA        CA     92886      UNITED STATES                       VEN_824835            824835       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INNOVATIVE ACCESS CONTROL                    PO BOX 30275                                                                                                                    LAS VEGAS          NV   89173-0275   UNITED STATES                       VEN_353050            353050       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INNOVATIVE ACCESS CONTROL, INC.              5125 W. OQUENDO RD., SUITE #9                                                                                                   LAS VEGAS          NV     89118      UNITED STATES                       VEN_803209            803209       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INSIGHT GLASS                                4901 PARK ROAD                                                                                                                  BENICIA            CA     94510      UNITED STATES                    CONTRACT_00374                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INSTANT SPACE, INC.                          PO BOX 77338                                                                                                                    CORONA             CA   92877-0111   UNITED STATES                       VEN_517851            517851       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INSTITUTIONAL HOUSING PARTNERS               19800 MACARTHUR BOULEVARD, SUITE 700                                                                                            IRVINE             CA     92612      UNITED STATES                       VEN_227969            227969       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INSURANCE COMPANY OF THE STATE OF            175 WATER STREET                                 18TH FLOOR                                                                     NEW YORK           NY     10038      UNITED STATES                    CONTRACT_00375                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INTEGRATED STUCCO, INC.                      8205 N. 67 AVE                                                                                                                  GLENDALE           AZ     85302      UNITED STATES                    CONTRACT_00376           710686       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INTERFORM COMMERCIAL INTERIORS               3000 EXECUTIVE PARKWAY, #175                                                                                                    SAN RAMON          CA     94583      UNITED STATES                       VEN_720593            720593       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INTERIOR DIMENSIONS, INC.                    LOUIS M. WILSON                                  11752 GARDEN GROVE BLVD.                                                       GARDEN GROVE       CA     92843      UNITED STATES                  CMSLITCA_1103527_032                    No   Litigant       California        WLH Combo Litigation Load file.XLSX                                   10/27/2011
INTERIOR SPECIALISTS                         1630 FARADAY AVE.                                                                                                               CARLSBAD           CA     92008      UNITED STATES                    CONTRACT_00377                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INTERIORS PANACHE, INC.                      PO BOX 1005                                                                                                                     CLAYTON            CA     94517      UNITED STATES                    CONTRACT_00378                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INTERNATIONAL EQUITY RESEARCH CORP           854 MASSACHUSETTS AVE, SUITE 10                                                                                                 CAMBRIDGE          MA     02139      UNITED STATES                       VEN_826646            826646       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INTERNATIONAL FIRE EQUIPMENT CO.             133 OTTO CIRCLE                                                                                                                 SACRAMENTO         CA     95822      UNITED STATES                       VEN_590143            590143       No   Vendor         Trade Payable     AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
INTERNATIONAL PROTECTION & INVESTIGATION     DBA: IPI CORPORATION                             37485 FREMONT BLVD, SUITE C                                                    FREMONT            CA     94536      UNITED STATES                       VEN_802249            802249       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INTERNATIONAL PROTECTION INVESTIGATION DBA   37485 FREMONT BL., SUITE C                                                                                                      FREMONT            CA     94536      UNITED STATES                    CONTRACT_00379                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
INTERNATIONAL WINDOW CORPORATION             5625 E. FIRESTONE BLVD                                                                                                          SOUTH GATE         CA     90280      UNITED STATES                       VEN_821722            821722       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
INTERSTAR COMM CORP                          18017 SKY PARK CIRCLE, SUITE R                                                                                                  IRVINE             CA     92614      UNITED STATES                       VEN_830186            830186       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IPLAN CONSULTING                             4387 E. CAPRICORN PLACE                                                                                                         CHANDLER           AZ     85249      UNITED STATES                    CONTRACT_00380           613536       No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRELL & MANELLA LLP                          1800 AVE. OF THE STARS, #900                                                                                                    LOS ANGELES        CA   90067-4276   UNITED STATES                       VEN_220071            220071       No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                             Undefined         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IRIS ENVIRONMENTAL                           1438 WEBSTER ST., SUITE 302                                                                                                     OAKLAND            CA     94612      UNITED STATES                    CONTRACT_00381                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRON MOUNTAIN                                PO BOX 601002                                                                                                                   PASADENA           CA   91189-1002   UNITED STATES                    CONTRACT_00382        449730/391222   No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRONSHORE SPECIALTY INSURANCE COMPANY        ONE STATE STREET PLAZA, 7TH FLOOR                                                                                               NEW YORK           NY     10004      UNITED STATES                    CONTRACT_00383                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRVINE CHILDREN'S FUND                       14301 YALE AVE                                                                                                                  IRVINE             CA     92604      UNITED STATES                       VEN_742346            742346       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IRVINE COMMUNITY DEVELOPMENT COMPANY         550 NEWPORT CENTER DRIVE                                                                                                        NEWPORT BEACH      CA     92660      UNITED STATES                       VEN_296374            296374       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IRVINE COMMUNITY DEVELOPMENT COMPANY LLC     550 NEWPORT CENTER DRIVE                                                                                                        NEWPORT BEACH      CA     92660      UNITED STATES                    CONTRACT_00384             N/A        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRVINE COMMUNITY DEVELOPMENT COMPANY LLC     ATTN DANIEL C HEDIGAN                            550 NEWPORT CENTER DR                                                          NEWPORT BEACH      CA     92660      UNITED STATES   949-720-2421       LENDER_003                          No   Lender         Secured Lenders   WLH_Secured Lenders_10-26-2011.xlsx                                   10/26/2011
IRVINE POLICE ASSOCIATION                    PO BOX 51448                                                                                                                    IRVINE             CA   92619-1448   UNITED STATES                       VEN_390686            390686       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IRVINE PUBLIC SCHOOLS FOUNDATION             18662 MACARTHUR BLVD, STE 360                                                                                                   IRVINE             CA     92612      UNITED STATES                       VEN_537668            537668       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IRVINE RANCH WATER DISTRICT                  15600 SAND CANYON AVENUE                                                                                                        IRVINE             CA     92619      UNITED STATES                    CONTRACT_00386             N/A        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRVINE RANCH WATER DISTRICT                  PO BOX 57500                                                                                                                    IRVINE             CA   92619-7500   UNITED STATES                       VEN_293211            293211       No   Vendor         Utilities         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
IRVINE RANCH WATER DISTRICT                  PO BOX 57500, 15600 SAND CANYON AVE. IRVINE, CA 92618                                                                           IRVINE             CA     92619      UNITED STATES                        BOND_030                          No   Bondholder     Obligee           WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
IRVINE UNIFIED SCHOOL DISTRICT               5050 BARRANCA PARKWAY                                                                                                           IRVINE             CA     92604      UNITED STATES                    CONTRACT_00387             N/A        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRVINE UNIFIED SCHOOL DISTRICT (SELLER)      ATTN LISA HOWELL                                 5050 BARRANCA PARKWAY                                                          IRVINE             CA     92604      UNITED STATES   949.936.5049     CONTRACT_00388                        No   Vendor         Contract          WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
IRWIN COMMERCIAL FINANCE CORPORATION,        330 120TH AVENUE NE STE 110                                                                                                     BELLEVUE           WA     98005      UNITED STATES                         UCC_018                          No   Vendor         UCC               WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
ISAAC CORRAL GARCIA                          43704 N. 48TH DRIVE                                                                                                             PHOENIX            AZ   85087-3037   UNITED STATES                       VEN_827163            827163       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ISAACSON, VALERIE                            2603 CAMINO RAMON, SUITE 150                                                                                                    SAN RAMON          CA   94583-4289   UNITED STATES                       VEN_483735            483735       No   Vendor         Employee          Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ISAACSON, VALERIE                            4116 CEDAR VALE CT.                                                                                                             FAIRFIELD          CA     94534      UNITED STATES                     EMPT_NC_0274                         No   Employee       Terminated        Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ISEARCH                                      6230 WILSHIRE BLVD, SUITE 97                                                                                                    LOS ANGELES        CA     90048      UNITED STATES                       VEN_824392            824392       No   Vendor         Trade Payable     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
                                                                            Case 11-14019-CSS                                                                                 Doc 1-4           Filed 12/19/11                                Page 14 of 29

ISTAIR, INC.                                  11270 PYRITES WAY                                                                                                                       RANCHO CORDOVA        CA     95670      UNITED STATES         CONTRACT_00389                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
ISUSQUIZA, ELIZABETH                          C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_046            No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
ISUSQUIZA, LUIS                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_045            No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
IVERSON ARCHITECTS                            20280 SW ACACIA ST., #220                                                                                                               NEWPORT BEACH         CA     92660      UNITED STATES            VEN_485546         485546   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
IVERSON ARCHITECTS                            333 SHIPYARD WAY, SUITE B                                                                                                               NEWPORT BEACH         CA     92663      UNITED STATES         CONTRACT_00390        485546   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
IVY NEIGHBORHOOD ASSOCIATION                  C/O BHE MANAGEMENT CORP.                        30011 IVY GLEN, SUITE 118                                                               LAGUNA NIGUEL         CA     92677      UNITED STATES             BOND_031                   No   Bondholder   Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx       10/27/2011
IVY NEIGHBORHOOD ASSOCIATION                  PO BOX 57063                                                                                                                            IRVINE                CA   92619-7063   UNITED STATES            VEN_823269         823269   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
IVY, PETER                                    PO BOX 4251                                                                                                                             PAHRUMP               NV     89041      UNITED STATES           EMP_MF_0208                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
J & B MANUFACTURING CORP., DBA SAN DIEGO      C/ O JOKAY MARTINEZ, AGENT                      1098 DARWIN DRIVE                                                                       OCEANSIDE             CA     92056      UNITED STATES       CMSLITCA_365116_045              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
J & B MANUFACTURING CORP., DBA SAN DIEGO      C/O SUZANNE T. NORRIS, ESQ.                     LAW OFFICES OF MARC JENNINGS             1551 NORTH TUSTIN AVENUE, SUITE #750           SANTA ANA             CA     92705      UNITED STATES       CMSLITCA_365116_088              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
J & D WINDOW CLEANING                         8902 GALLANT DRIVE                                                                                                                      HUNTINGTON BEACH      CA   92646-4627   UNITED STATES            VEN_252793         252793   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J & J ENTERPRISES, INC.                       5920 W. COUGAR AVE                                                                                                                      LAS VEGAS             NV   89139-6996   UNITED STATES            VEN_690494         690494   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J & J MODEL HOME CARE                         10 MEADOW WOOD DRIVE                                                                                                                    TRABUCO CANYON        CA   92679-4738   UNITED STATES            VEN_391226         391226   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J & M INC                                     6700 NATIONAL DRIVE                                                                                                                     LIVERMORE             CA     94550      UNITED STATES            VEN_391227         391227   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J & M KIS CLEANING & JANITORIAL               1667 OBSERVATION WAY                                                                                                                    ANTIOCH               CA     94531      UNITED STATES         CONTRACT_00391                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
J & S PRETREAT CO.                            2962 N. NORFOLK                                                                                                                         MESA                  AZ     85215      UNITED STATES         CONTRACT_00392        451741   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
J. ARNAZ TREE SERVICE                         1593 KOCH LANE                                                                                                                          SAN JOSE              CA     95125      UNITED STATES         CONTRACT_00393                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
J. D. YOUNG                                   100 GOLDENROD AVE                                                                                                                       PERRIS                CA     92570      UNITED STATES            VEN_222922         222922   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J. GINGER MASONRY, LP                         8188 LINCOLN AVE, SUITE 100                                                                                                             RIVERSIDE             CA     92504      UNITED STATES         CONTRACT_00394                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
J. P. MORGAN CHASE BANK, N.A.                 SBLC GROUP                                      21591 NETWORK PLACE                                                                     CHICAGO               IL   60673-1215   UNITED STATES            VEN_647111         647111   No   Vendor       Bank                 Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J. W. LOCK CO., INC.                          520 N. 2ND AVENUE                                                                                                                       COVINA                CA     91723      UNITED STATES            VEN_811516         811516   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J. WILLIAMS STAFFING                          19762 MACARTHUR BLVD., #120                                                                                                             IRVINE                CA     92612      UNITED STATES         CONTRACT_00395        599295   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
J.C. HEATING & AIR CONDITIONING, INC.         PO BOX 1078                                                                                                                             SOQUEL                CA     95073      UNITED STATES            VEN_588887         588887   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J.D. YOUNG CONSTRUCTION, INC.                 PO BOX 2449                                                                                                                             MENIFEE               CA     92586      UNITED STATES         CONTRACT_00396                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
J.L. HARE ASSOCIATES                          1450 N. TUSTIN AVE, SUITE 103                                                                                                           SANTA ANA             CA     92705      UNITED STATES            VEN_391250         391250   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J.L. HARE ASSOCIATES, INC.                    1450 N. TUSTIN AVENUE, SUITE 103                                                                                                        SANTA ANA             CA     92705      UNITED STATES            VEN_384366         384366   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J.T. ROGERS PLUMBING CO.                      2359 KNOLL DRIVE, SUITE B                                                                                                               VENTURA               CA     93003      UNITED STATES            VEN_478688         478688   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J.W. PETERSON PAINTING, INC.                  5750 LA RIBERA ST.                                                                                                                      LIVERMORE             CA     94550      UNITED STATES            VEN_829943         829943   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
J.W.E. CORP.                                  9 MARCONI                                                                                                                               IRVINE                CA     92618      UNITED STATES         CONTRACT_00397                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JACCZAK, SAM                                  100 DECKER WAY                                                                                                                          SAN JOSE              CA     95127      UNITED STATES           EMP_NC_0073                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JACK HENTHORN & ASSOCIATES                    PO BOX 237                                                                                                                              CARLSBAD              CA     92018      UNITED STATES            VEN_762419         762419   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JACKPOT SANITATION SERVICES                   2440 MARCO STREET                                                                                                                       LAS VEGAS             NV     89115      UNITED STATES         CONTRACT_00398        644789   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JACKSON H. MCCANN                             PO BOX 577553                                                                                                                           MODESTO               CA     95357      UNITED STATES            VEN_821386         821386   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JACKSON, DEMARCO TIDUS PECKENPAUGH            2030 MAIN STREET, SUITE 1200                                                                                                            IRVINE                CA     92614      UNITED STATES            VEN_374820         374820   No   Vendor       Professional Fees    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JACOBS BILLBOARD COMPANY                      PO BOX 2680                                                                                                                             BREMERTON             WA     98310      UNITED STATES            VEN_821343         821343   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JACOBS, CHERI                                 1890 CHESAPEAKE                                                                                                                         CORONA                CA     92880      UNITED STATES           EMP_SC_0074                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JACOBS, CHERI                                 4490 VON KARMAN AVENUE                                                                                                                  NEWPORT BEACH         CA     92660      UNITED STATES            VEN_472972         472972   No   Vendor       Employee             Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JAG CONSTRUCTION                              1238 KEYSTONE WAY                                                                                                                       VISTA                 CA     92081      UNITED STATES         CONTRACT_00399                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JAGGERS, BRITTANY                             1951 E. PIOCHE                                                                                                                          PAHRUMP               NV     89048      UNITED STATES          EMPT_MF_0362                  No   Employee     Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JAMES E. DALTON                               61 MISTY ACRES ROAD                                                                                                                     ROLLING HILLS ESTATES CA     90274      UNITED STATES            VEN_338263         338263   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JAMES RIVER INSURANCE COMPANY                 PO BOX 27648                                                                                                                            RICHMOND              VA     23261      UNITED STATES         CONTRACT_00400                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JAMES, JAKARE                                 1250 BOURBON STREET                             APT #3                                                                                  PAHRUMP               NV     89048      UNITED STATES          EMPT_MF_0375                  No   Employee     Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JAMES, JONI M.                                C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                              ANDERSON
                                                                                                   ESQ. JAKE
                                                                                                          & KRIGER
                                                                                                              J. FATHY, ESQ.           3831 N. FREEWAY BLVD., SUITE 110               SACRAMENTO            CA     95834      UNITED STATES        CMSLITCA_98007_003              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JAMIESON, DARELL                              4419 JACKSBORO DR.                                                                                                                      PAHRUMP               NV     89061      UNITED STATES           EMP_MF_0209                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JAMISON, ALEXANDRA                            6461 W ORCHID LN                                                                                                                        CHANDLER              AZ     85226      UNITED STATES           EMP_AZ_0075                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JAMS, INC.                                    PO BOX 512850                                                                                                                           LOS ANGELES           CA   90051-0850   UNITED STATES            VEN_764861         764861   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JASON KENNETH DESIGNS                         5940 S. RAINBOW BLVD                                                                                                                    LAS VEGAS             NV     89118      UNITED STATES            VEN_391240         391240   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JAVY'S TRANSPORT                              1057 TOBIN PLACE                                                                                                                        MANTECA               CA     95337      UNITED STATES            VEN_822434         822434   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JAYAR MANUFACTURING CO                        5225 S. VALLEY VIEW, SUITE 3-6                                                                                                          LAS VEGAS             NV     89118      UNITED STATES         CONTRACT_00401                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JAYAR MANUFACTURING COMPANY                   3700 CYPRESS AVE                                                                                                                        EL MONTE              CA     91731      UNITED STATES         CONTRACT_00402                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JAYAR MANUFACTURING COMPANY                   C/O LISA I. LAWRENCE, ESQ.                      OSMAN & ASSOCIATES                       333 CITY BLVD., WEST, SUITE #255               ORANGE                CA     92868      UNITED STATES       CMSLITCA_365116_089              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JAYAR MANUFACTURING COMPANY                   C/O THERESA ROSALES, AGENT                      16222 PHOEBE AVENUE                                                                     LA MIRADA             CA     90638      UNITED STATES       CMSLITCA_365116_046              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JAYAR MANUFACTURING, INC.                     C T CORPORATION SYSTEM                          818 WEST SEVENTH ST.                                                                    LOS ANGELES           CA     90017      UNITED STATES      CMSLITCA_1103527_033              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JAYCO INDUSTRIES, LLC                         21483 WAALEW RD.                                                                                                                        APPLE VALLEY          CA     92307      UNITED STATES            VEN_770523         770523   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JBZ ARCHITECTURE & PLANNING                   131 INNOVATION DRIVE, SUITE #100                                                                                                        IRVINE                CA     92617      UNITED STATES            VEN_247388         247388   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JEANETTE C. JUSTUS, INC.                      10 SHERWOOD                                                                                                                             NEWPORT BEACH         CA     92660      UNITED STATES         CONTRACT_00403                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JEFFREY G. WAGNER                             1777 N. CALIFORNIA STREET, STE.220                                                                                                      WALNUT CREEK          CA   94596-4180   UNITED STATES            VEN_279531         279531   No   Vendor       Professional Fees    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JENKINS INSURANCE SERVICES, INC.              2552 STANWELL DRIVE                                                                                                                     CONCORD               CA     94520      UNITED STATES            VEN_836131         836131   No   Vendor       Insurance/Insurer    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JENSEN DESIGN & SURVEY, INC.                  1672 DONLON STREET                                                                                                                      VENTURA               CA     93003      UNITED STATES            VEN_391246         391246   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JENSEN, DERALD                                1141 JANET LANE                                                                                                                         PAHRUMP               NV     89060      UNITED STATES          EMPT_MF_0344                  No   Employee     Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JESUS ESTRADA CONSTRUCTION                    1525 S. SACRAMENTO ST.                                                                                                                  LODI                  CA     95240      UNITED STATES            VEN_818486         818486   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JET FLITE INTERNATIONAL                       4310 DONALD DOUGLAS DRIVE, #202                                                                                                         LONG BEACH            CA     90808      UNITED STATES            VEN_825580         825580   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JIM MAHONEY                                   3891 MALIBOU AVE                                                                                                                        PAHRUMP               NV     89061      UNITED STATES           VEN_MF_095                   No   Vendor       Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
JIM SILVA CONCRETE, INC.                      4005 DEEBLE STREET                                                                                                                      SACRAMENTO            CA     95820      UNITED STATES            VEN_235601         235601   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JIMENEZ & SONS TRUCKING                       1404 BAL HARBOR WAY                                                                                                                     SAN JOSE              CA     95122      UNITED STATES            VEN_827358         827358   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JIMENEZ, ILIA                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_016             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JINTI, INC.                                   37 WEST 37TH STREET, 4TH FLOOR                                                                                                          NEW YORK              NY     10018      UNITED STATES            VEN_824780         824780   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JKM HOLDING DBA: PATRICIAN MARBLE CO.         3333 W. OSBORN RD.                                                                                                                      PHOENIX               AZ     85017      UNITED STATES         CONTRACT_00404        768896   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JLC ASSOCIATES                                16835 ALGONQUIN ST., SUITE 495                                                                                                          HUNTINGTON BEACH      CA     92649      UNITED STATES         CONTRACT_00405                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JLC ROOFING, INC.                             PO BOX 6181                                                                                                                             GLENDALE              AZ     85312      UNITED STATES            VEN_331491         331491   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JLS ENVIRONMENTAL SERVICES, INC.              3460 SWETZER RD.                                                                                                                        LOOMIS                CA     95650      UNITED STATES            VEN_599463         599463   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JM APPRAISING                                 115 BURRILL DRIVE                                                                                                                       FOLSOM                CA     95630      UNITED STATES            VEN_826380         826380   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JMJ MASONRY & CONCRETE                        26190 GOLDENWOOD ST.                                                                                                                    SUN CITY              CA     92586      UNITED STATES            VEN_304696         304696   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JNS CONSTRUCTION SERVICES, INC.               PO BOX 2742                                                                                                                             RANCHO CUCAMONGA      CA     91729      UNITED STATES            VEN_785506         785506   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOBING.COM                                    PO BOX 29386                                                                                                                            PHOENIX               AZ     85038      UNITED STATES            VEN_819315         819315   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOE'S SANITATION SERVICE, INC                 PO BOX 1268                                                                                                                             PAHRUMP               NV     89041      UNITED STATES           VEN_MF_096                   No   Vendor       Utilities            APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
JOE'S SANITATION SERVICES, INC.               PO BOX 1268                                                                                                                             PAHRUMP               NV     89041      UNITED STATES            VEN_616833         616833   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOE'S YACHT RESTORATION                       2226 RICE AVE                                                                                                                           WEST SACRAMENTO       CA     95691      UNITED STATES            VEN_816712         816712   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOHN BURNS REAL ESTATE CONSULTING             16485 LAGUNA CANYON RD,STE 130                                                                                                          IRVINE                CA     92618      UNITED STATES         CONTRACT_00406        695519   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JOHN DEVRIES PEST CONTROL                     PO BOX 2721                                                                                                                             CHINO                 CA   91708-2721   UNITED STATES            VEN_572720         572720   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOHN H. NABORS, JR.                           1591 ARCHER ROAD                                                                                                                        SAN MARCOS            CA     92078      UNITED STATES            VEN_365616         365616   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOHN M. NAKASHIMA, ESQ.                       20931 COVENTRY LANE                                                                                                                     LAKE FOREST           CA     92630      UNITED STATES            VEN_827382         827382   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOHN NICOL & ASSOCIATES INC                   1299 NEWELL HILL PLACE, SUITE 301                                                                                                       WALNUT CREEK          CA   94596-5220   UNITED STATES            VEN_391253         391253   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOHN THOMAS GRADING, INC.                     1150 QUARRY ST.                                                                                                                         CORONA                CA     92879      UNITED STATES            VEN_710660         710660   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOHNSON BROTHERS OF NEVADA                    4701 MITCHELL ST                                                                                                                        NORTH LAS VEGAS       NV   89081-2709   UNITED STATES           VEN_MF_097                   No   Vendor       Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
JOHNSON, ALLISON & JAKE                       C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_033             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JOHNSON, BRIAN                                C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES       CMSLITCA_365116_007              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JOHNSON, DEMETRIOUS                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_045             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JOHNSON, KENNITH                              724 BERMUDA DRIVE                                                                                                                       REDLANDS              CA     92374      UNITED STATES           EMP_SC_0076                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JON HANNING                                   1329 WILLOW STREET                                                                                                                      MARTINEZ              CA     94553      UNITED STATES            VEN_391174         391174   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JONAIRE, INC.                                 PO BOX 6644                                                                                                                             PAHRUMP               NV     89041      UNITED STATES           VEN_MF_098                   No   Vendor       Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
JONES, JENNA                                  5600 E. RUSSELL RD                              #1822                                                                                   LAS VEGAS             NV     89122      UNITED STATES          EMPT_MF_0376                  No   Employee     Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JONES, KIRBY                                  C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP             8306 WILSHIRE BLVD., SUITE 1113                BEVERLY HILLS         CA     90211      UNITED STATES      CMSLITCA_20010042_024             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JONES, SCOTT                                  2166 GROUSE DRIVE                                                                                                                       VALLEY SPRINGS        CA     95252      UNITED STATES           EMP_NC_0077                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JONES, THOMAS & SARA M.                       C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_034             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JORDAN, LAURA                                 6123 BAJA DRIVE                                                                                                                         ANAHEIM HILLS         CA     92807      UNITED STATES           EMP_SC_0078                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
JOSEPH R. SCOTT, INC.                         PO BOX 3201                                                                                                                             BEAUMONT              CA     92223      UNITED STATES            VEN_272559         272559   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOSEPHSON-WERDOWATZ & ASSOCIATES, INC.        6370 LUSK BLVD, SUITE F200                                                                                                              SAN DIEGO             CA     92121      UNITED STATES            VEN_817483         817483   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOSHUA GASTON                                 4555 WINTER PLACE ST.                                                                                                                   LAS VEGAS             NV     89122      UNITED STATES            VEN_637423         637423   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOURNEYMAN DBA: DRYWALL PAINTING SERV.        PO BOX 114                                                                                                                              MT. HAMILTON          CA     95140      UNITED STATES            VEN_591453         591453   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JOVEL, CARLOS A.                              C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                              ANDERSON
                                                                                                   ESQ. JAKE
                                                                                                          & KRIGER
                                                                                                              J. FATHY, ESQ.           4750 DUCKHORN DRIVE                            SACRAMENTO            CA     95834      UNITED STATES      CMSLITCA_20100719_002             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JOVEL, VALERIE A.                             C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                              ANDERSON
                                                                                                   ESQ. JAKE
                                                                                                          & KRIGER
                                                                                                              J. FATHY, ESQ.           4750 DUCKHORN DRIVE                            SACRAMENTO            CA     95834      UNITED STATES      CMSLITCA_20100719_001             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JP MORGAN CHASE BANK                          270 PARK AVENUE                                                                                                                         NEW YORK              NY     10017      UNITED STATES              UCC_023                   No   Vendor       UCC                  WLH_UCC_To Load_10-25-2011.xlsx                                                 10/25/2011
JP MORGAN CHASE BANK, N.A.                    300 S. RIVERSIDE PLAZA                                                                                                                  CHICAGO               IL     60606      UNITED STATES            VEN_756465         756465   No   Vendor       Bank                 Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JP MORGAN CHASE BANK, N.A.                    PO BOX 94016                                                                                                                            PALATINE              IL   60094-4016   UNITED STATES            VEN_764781         764781   No   Vendor       Bank                 Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JP MORGAN CHASE BANK, NA                      ATTN NATE CARTER                                201 N CENTRAL AVE, FLOOR 20                                                             PHOENIX               AZ     85004      UNITED STATES       CONTRACT_ANP_00009               No   Vendor       Contract - ANP       WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JP MORGAN CHASE CARD SERVICES                 ATTN: COMMERCIAL CARD                           DEPT. 7121                                                                              CAROL STREAM          IL   60122-7121   UNITED STATES            VEN_822442         822442   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JP MORGAN CHASE, N.A. (CREDIT CARD)           300 SOUTH RIVERSIDE PLAZA                       SUITE IL 1-0199                                                                         CHICAGO               IL   60670-0199   UNITED STATES         CONTRACT_00407        764781   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JP MORGAN INVESTMENT ACCT                     4031 N. SCOTTSDALE RD.                                                                                                                  SCOTTSDALE            AZ     85251      UNITED STATES            BANK_00016                  No   Vendor       Bank                 Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
JPMORGAN CHASE (GILBERT)                      4031 N. SCOTTSDALE RD.                                                                                                                  SCOTTSDALE            AZ     85251      UNITED STATES            BANK_00009                  No   Vendor       Bank                 Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
JPMORGAN CHASE BANK                           4031 N. SCOTTSDALE RD.                                                                                                                  SCOTTSDALE            AZ     85251      UNITED STATES            BANK_00008                  No   Vendor       Bank                 Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
JPMORGAN CHASE BANK C/O JP MORGAN             400 PERIMETER CENTER TERRACE STE 575                                                                                                    ATLANTA               GA     30346      UNITED STATES              UCC_006                   No   Vendor       UCC                  WLH_UCC_To Load_10-25-2011.xlsx                                                 10/25/2011
JPMORGAN CHASE BANK, NA                       ATTN BLOCKED ACCOUNTS                           GLOBAL TS CONTRACTS & DOCUMENTATION      420 W VAN BUREN ST, 9TH FLOOR, STE: IL1-0199   CHICAGO               IL     60606      UNITED STATES       CONTRACT_ANP_00010               No   Vendor       Contract - ANP       WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JPMORGANCHASE BANK, NA                        ATTN KIM EDWARDS                                17875 VON KARMON, FLOOR 2                                                               IRVINE                CA     92614      UNITED STATES         CONTRACT_00408                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JPS SURFACE SOLUTIONS                         9510 TOPANGA CANYON BLVD                                                                                                                CHATSWORTH            CA     91311      UNITED STATES            VEN_734910         734910   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JRO CLEANING                                  3767 E. PINON WAY                                                                                                                       GILBERT               AZ     85234      UNITED STATES         CONTRACT_00409        665310   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
JUAN F. LEONFFU                               3761 ARAPAHO PLACE                                                                                                                      CARLSBAD              CA     92010      UNITED STATES            VEN_829581         829581   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JUDD, WILLIAM                                 C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_032              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
JURUPA COMMUNITY SERVICE DISTRICT             11201 HARREL STREET                                                                                                                     MIRA LOMA             CA     91752      UNITED STATES            VEN_416276         416276   No   Vendor       Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JUSTIN THOMAS APPRAISAL                       2041 DRIFTWOOD CIRCLE                                                                                                                   EL DORADO HILLS       CA     95762      UNITED STATES            VEN_408348         408348   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JVC SUNSCREENS & WINDOWS                      12509 W. COLDWATER SPRING BLVD                                                                                                          AVONDALE              AZ     85323      UNITED STATES            VEN_679818         679818   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
JZMK PARTNERS                                 131 INNOVATION DR., #100                                                                                                                IRVINE                CA     92617      UNITED STATES         CONTRACT_00410                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
K - 7 PIZZA                                   6050 E THOUSANDAIRE BLVD                                                                                                                PAHRUMP               NV     89061      UNITED STATES           VEN_MF_212                   No   Vendor       Trade Payable        Maintain Creditors                                                              11/9/2011
K & B DOOR COMPANY                            3711 WEST SIRIUS AVENUE                                                                                                                 LAS VEGAS             NV     89102      UNITED STATES         CONTRACT_00411        355581   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
K & D CONSTRUCTION LLC                        4367 W. SUNSET RD., BLDG. G, SUITE A                                                                                                    LAS VEGAS             NV     89118      UNITED STATES         CONTRACT_00412        699691   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
K & G WATERING COMPANY                        302 CREST AVENUE                                                                                                                        HUNTINGTON BEACH      CA     92648      UNITED STATES            VEN_403088         403088   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
K & M FINAL PHASE CLEANING, INC.              PO BOX 1087                                                                                                                             TRACY                 CA     95378      UNITED STATES            VEN_686090         686090   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KACCEL COMMUNICATION SERVICES                 4345 PRODUCTION COURT                                                                                                                   LAS VEGAS             NV     89115      UNITED STATES            VEN_279515         279515   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KAELIN, TRACY                                 2006 SADDLE RIDGE AVE                                                                                                                   HENDERSON             NV     89012      UNITED STATES           EMP_NV_0079                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
KAEMPFER CROWELL RENSHAW GRONAUER & FIOR      8345 W. SUNSET ROAD, SUITE 250                                                                                                          LAS VEGAS             NV   89113-2092   UNITED STATES            VEN_814266         814266   No   Vendor       Professional Fees    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KALLOCH, RALPH J. & JUDY A.                   C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_035             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KAMEL, WAEL                                   C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES       CMSLITCA_173057_023              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KAMPLING, MARY                                8575 E. ACAMPO RD.                                                                                                                      ACAMPO                CA     95220      UNITED STATES           EMP_NC_0080                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
KANG, HYEEUN                                  C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_033              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KANG, SEONGMUK                                C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                              KASDAN
                                                                                                   J. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                                 RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850           IRVINE                CA     92612      UNITED STATES       CMSLITCA_233522_007              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KARANZIAS, BILL                               233 KILLEEN WAY                                                                                                                         PLACENTIA             CA     92870      UNITED STATES           EMP_SC_0081                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
KARCHER INTERIOR SYSTEMS, INC.                675 N. ECKHOFF STREET, SUITE F                                                                                                          ORANGE                CA     92868      UNITED STATES         CONTRACT_00413                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
KARJERA, KIRANRAJ                             C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                 SANTA MONICA          CA     90405      UNITED STATES       CMSLITCA_173057_012              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KARP, LEAH                                    11509 VELICATA CT.                                                                                                                      LAS VEGAS             NV     89138      UNITED STATES           EMP_NV_0082                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
KAS SUPPLY, INC.                              12960 BRADLEY STREET                                                                                                                    SYLMAR                CA     91342      UNITED STATES            VEN_273535         273535   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KASDAN, SIMONDS, RILEY & VAUGHAN, LLP         CLIENT TRUST ACCOUNT                            19900 MACARTHUR BLVD, SUITE 850                                                         IRVINE                CA     92612      UNITED STATES            VEN_589986         589986   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KASTLE STAIR, INC.                            7422 MOUNT JOY DR.                                                                                                                      HUNTINGTON BEACH      CA     92648      UNITED STATES            VEN_714716         714716   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KASTLE STAIR, INC.                            C/O ROBERT DE CAMP, AGENT                       8412 CLARKDALE DRIVE                                                                    HUNTINGTON BEACH      CA     92646      UNITED STATES       CMSLITCA_365116_047              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KAZ & ASSOCIATES                              538 STONE ROAD, SUITE I                                                                                                                 BENICIA               CA     94510      UNITED STATES         CONTRACT_00414                 No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
KAZIO, GARY                                   6661 SILVERSTREAM AVE.                          APT 2053                                                                                LAS VEGAS             NV     89107      UNITED STATES          EMPT_NV_0319                  No   Employee     Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
KB HOMES LAS VEGAS, INC.                      5655 BADURA AVE                                                                                                                         LAS VEGAS             NV     89118      UNITED STATES            VEN_829724         829724   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
KCC RESTRUCTURING                             2335 ALASKA AVE                                                                                                                         EL SEGUNDO            CA     90245      UNITED STATES            VEN_842970         842970   No   Vendor       Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                          Updated Payment and AP Data MML Comparison_12-8-2011.xlsx                        12/8/2011
KEBEDE, YITBAREK                              C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP             8306 WILSHIRE BLVD., SUITE 1113                BEVERLY HILLS         CA     90211      UNITED STATES    CMSLITCA_SCV0028445_014             No   Litigant     California           WLH Combo Litigation Load file.XLSX                                             10/27/2011
KEEFE, CYNTHIA                                7663 MARKER RD                                                                                                                          SAN DIEGO             CA     92130      UNITED STATES           EMP_SC_0083                  No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
KEITH HAMILTON, INDIVIDUALLY AND AS TRUSTEE
                                              C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                              KASDAN
                                                                                                  J. THOMSON,
                                                                                                      SIMONDSESQ.
                                                                                                              RILEY & VAUGHAN LLP      19900 MACARTHUR BOULEVARD, SUITE 850           IRVINE               CA      92612      UNITED STATES      CMSLITCA_233522_020               No   Litigant     California           WLH Combo Litigation Load file.XLSX                                           10/27/2011
OF THE HAMILTON FAMILY TRUST DATED NOVEMBER
KEITH SUTTER PHOTOGRAPHY                      853 LINCOLN WAY, SUITE 209                                                                                                              AUBURN               CA      95603      UNITED STATES           VEN_821714          821714   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
KELCO, LLC                                    936 E. JAVELINA AVENUE, SUITE 1                                                                                                         MESA                 AZ      85204      UNITED STATES        CONTRACT_00415         649070   No   Vendor       Contract             WLH_Contract Master_12-13-2011.xlsx                                           12/13/2011
KELLY LEWIS                                   2311 KIDD LANE                                                                                                                          TUSTIN               CA      92782      UNITED STATES           VEN_838920          838920   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
KELLY-MOORE PAINT COMPANY                     2225 MONTE DIABLO AVENUE                                                                                                                STOCKTON             CA      95203      UNITED STATES           VEN_245104          245104   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
KEMMERER, JANET                               8 MICHAEL RD                                                                                                                            LADERA RANCH         CA      92694      UNITED STATES          EMP_SC_0084                   No   Employee     Active               Employee Roster Report - password_To Load_10-21-2011.xlsx                     10/21/2011
KENDRICK, CARLETTE                            C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                IRVINE               CA      92612      UNITED STATES      CMSLITCA_1007968_034              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                           10/27/2011
KENNEDY MASONRY, INC.                         PO BOX 130340                                                                                                                           CARLSBAD             CA      92013      UNITED STATES           VEN_334561          334561   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
KENNETH J. COULTER                            5 WINDSOR                                                                                                                               IRVINE               CA      92620      UNITED STATES           VEN_840051          840051   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
KENT, DONALD W.                               C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                              BOJIC & LIVESAY LLP                      5101 EAST LA PALMA AVENUE, SECOND FLOOR        ANAHEIM              CA      92807      UNITED STATES      CMSLITCA_1103527_012              No   Litigant     California           WLH Combo Litigation Load file.XLSX                                           10/27/2011
KERDUS PLASTERING, INC                        575 SIXTH ST.                                                                                                                           NORCO                CA      92860      UNITED STATES           VEN_793039          793039   No   Vendor       Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx          10/19/2011
                                                                              Case 11-14019-CSS                                                                          Doc 1-4         Filed 12/19/11                             Page 15 of 29

KESMATYAR, MOHAMMAD & MENA                     C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_046             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KEVIN HANLEY PLUMBING                          34933 JOHNSON RD.                                                                                                               AGUA DULCE         CA     91390      UNITED STATES            VEN_818478         818478   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KEVIN TEEL                                     3943 LIMBER PINE RD.                                                                                                            FALLBROOK          CA   92028-8056   UNITED STATES            VEN_814223         814223   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KEY LIGHTING SUPPLY, INC.                      9125 ROSE STREET                                                                                                                BELLFLOWER         CA   90706-6419   UNITED STATES            VEN_483161         483161   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KEYSTONE PACIFIC PROPERTY MANAGMENT, INC       16845 VON KARMAN, #200                                                                                                          IRVINE             CA     92606      UNITED STATES            VEN_377748         377748   No   Vendor       Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
KHANDDWAL, PRANSHU                             C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC              5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_007               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KHANGAB, JOHNNY A. & JOCELYN                   C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_036             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KHONG, DONG & ANNE                             C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_173057_030              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KIEFER CONSTRUCTION LLC                        3951 WINDSONG LANE                                                                                                              PAHRUMP            NV     89048      UNITED STATES            VEN_721490         721490   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KIM, HEECHEOL, & SUNGAE                        C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_047             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KIMBERLEY JOHNSON, CPA                         18 SMOKE TREE DRIVE                                                                                                             LADERA RANCH       CA     92694      UNITED STATES            VEN_602394         602394   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KIMBERLEY, KERRI                               C/O MICHAEL A. HEARN, ESQ. BROCK NELSON THOMPSON,
                                                                                               LAW ESQ.
                                                                                                    OFFICES OF MICHAEL A. HEARN      ONE POST, SUITE 200                       IRVINE             CA     92618      UNITED STATES       CMSLITCA_406014_005              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KIRK, RON W.                                   C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                ESQ.      & KRIGER                   1752 EAST AVENUE J, PMB 363               LANCASTER          CA     93535      UNITED STATES     CMSLITCA_MC021755_006              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KIRK, THERESA A.                               C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                ESQ.      & KRIGER                   1752 EAST AVENUE J, PMB 363               LANCASTER          CA     93535      UNITED STATES     CMSLITCA_MC021755_007              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KITAVEEELAIH, VANSAI & JUDY                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_093             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KLEARY MASONRY, INC.                           4319 ORANGE GROVE AVE, SUITE B                                                                                                  SACRAMENTO         CA     95841      UNITED STATES         CONTRACT_00416                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
KLEINSMITH STAIR & TRIM, INC.                  9966 POSSUM CREEK LANE                                                                                                          EL CAJON           CA     92021      UNITED STATES            VEN_705924         705924   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KLINE, KRISTINA                                PO BOX 27721                                                                                                                    SAN DIEGO          CA     92198      UNITED STATES          EMPT_SC_0300                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KNACK CONSTRUCTION, INC.                       5644 KEARNY MESA RD., SUITE T                                                                                                   SAN DIEGO          CA     92111      UNITED STATES            VEN_679797         679797   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KNAPP, ROGER                                   PO BOX 6442                                                                                                                     PAHRUMP            NV     89041      UNITED STATES          EMPT_MF_0382                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KNIERIEM, ANDREW                               C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP          8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES    CMSLITCA_SCV0028445_012             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KNIERIEM, ANDREW J. & ROSA                     C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_SCV26452_005              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KNIERIEM, ROSA                                 C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP          8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES    CMSLITCA_SCV0028445_013             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KNYE                                           1230 DUTCH FORD ROAD                                                                                                            PAHRUMP            NV     89048      UNITED STATES           VEN_MF_099                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
KO, JOHN                                       C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_047            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KO, TSUNG MIN                                  C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_048            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KOELLER, NEBEKER, CARLSON & HALUCK             PO BOX 19799                                                                                                                    IRVINE             CA   92623-9799   UNITED STATES            VEN_470539         470539   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KOLL CENTER NEWPORT NUMBER A                   PROPERTY ID: 08111, 08114 OR 08115              PO BOX 82551                                                                    GOLETA             CA   93118-2551   UNITED STATES         CONTRACT_00417        390627   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
KOROP, RANDY                                   43435 27TH STREET WEST                                                                                                          LANCASTER          CA     93536      UNITED STATES            VEN_400717         400717   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KOROP, RANDY                                   43435 37TH. ST WEST                                                                                                             LANCASTER          CA     93536      UNITED STATES          EMPT_SC_0306                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KOSTRENICH, SUSANNE L.                         C/O MICHAEL HEARN, ESQ.                         LAW OFFICES OF MICHAEL A. HEARN       ONE POST, SUITE 200                       IRVINE             CA     92618      UNITED STATES         CMSLITCA_306282                No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KOTHER, JIM & MILLER, DEB                      C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_SCV26452_018              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KOVACS, HEATHER                                13030 RIMROCK AVE                                                                                                               CHINO HILLS        CA     91709      UNITED STATES          EMPT_SC_0283                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KPVM-TV                                        PO BOX 2075                                                                                                                     PAHRUMP            NV     89041      UNITED STATES           VEN_MF_100                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
KRAEMER, MARGARET                              711 WELLS ROAD                                                                                                                  PAHRUMP            NV     89060      UNITED STATES          EMPT_MF_0358                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KRAFT WRIGHT LLC                               9445 LA MADRE                                                                                                                   LAS VEGAS          NV     89149      UNITED STATES         CONTRACT_00418        831728   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
KREINHEDER, SHANE                              22291 N. 103RD DR                                                                                                               PEORIA             AZ     85383      UNITED STATES           EMP_AZ_0085                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KRUSE TAPE                                     3200 S. SUSAN STREET                                                                                                            SANTA ANA          CA     92704      UNITED STATES            VEN_799406         799406   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KTGY GROUP, INC.                               17922 FITCH                                                                                                                     IRVINE             CA     92614      UNITED STATES            VEN_343791         343791   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KUMMER KAEMPFER BONNER & RENSHAW               3800 HOWARD HUGHES PKWY                         7TH FLOOR                                                                       LAS VEGAS          NV     89109      UNITED STATES            OCP - Holden                No   Vendor       Undefined           Email from Holden                                                     12/17/2011
KUNST, JAN                                     C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                ESQ.      & KRIGER                   1752 EAST AVENUE J, PMB 363               LANCASTER          CA     93535      UNITED STATES     CMSLITCA_MC021755_014              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KUNST, SIRKKA L.                               C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                ESQ.      & KRIGER                   1752 EAST AVENUE J, PMB 363               LANCASTER          CA     93535      UNITED STATES     CMSLITCA_MC021755_015              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
KUSTOM STAIR & FINISH, INC.                    7422 MOUNT JOY DRIVE                                                                                                            HUNTINGTON BEACH   CA     92648      UNITED STATES         CONTRACT_00419                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
KWAN, SIMON                                    17 SPYROCK                                                                                                                      IRVINE             CA     92602      UNITED STATES         EMPT_CORP_0290                 No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
KWESTNET TECHNOLOGIES                          5032 HOUSTON AVE                                                                                                                LA PALMA           CA     90623      UNITED STATES            VEN_838356         838356   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
KWUN, STEVEN                                   C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_048             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
L I METAL SYSTEMS                              C/O ALEXANDER J. CHEN, ESQ./YARON F. DUNKEL, ESQ.
                                                                                               SCHAFFER, LAX, MCNAUGHTON & CHEN      515 SOUTH FIGUEROA STREET, SUITE #1400    LOS ANGELES        CA     90071      UNITED STATES       CMSLITCA_365116_090              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
L I METAL SYSTEMS                              C/O ROXANNE SINGLETON, AGENT                    9041 BERMUDEZ                                                                   PICO RIVERA        CA     90660      UNITED STATES       CMSLITCA_365116_048              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
L.A. COUNTY SANITATION DISTRICT                PO BOX 4998                                                                                                                     WHITTIER           CA   90607-4998   UNITED STATES            VEN_223554         223554   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
L.I. METAL SYSTEMS                             347 WRIGHT BROTHERS AVE                                                                                                         LIVERMORE          CA     94551      UNITED STATES            VEN_381042         381042   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
L.I. METAL SYSTEMS                             9041 BERMUDEZ STREET                                                                                                            PICO RIVERA        CA     90660      UNITED STATES         CONTRACT_00420                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
L.R. CONTRERAS CONTRACTOR, INC.                2110 N. COUNTRY CLUB DR.                                                                                                        MESA               AZ   85201-1207   UNITED STATES         CONTRACT_00421        823234   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LA COSTA GREENS COMMUNITY ASSOCIATION          C/O WALTERS MANAGEMENT                          9665 CHESAPEAKE DR. SUITE 300                                                   SAN DIEGO          CA     92123      UNITED STATES             BOND_032                   No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
LA JOLLA PACIFIC OF ARIZONA, LTD.              9571 IRVINE CENTER DRIVE                                                                                                        IRVINE             CA     92618      UNITED STATES         CONTRACT_00422        817045   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LA JOLLA PACIFIC OF NEVADA, LTD.               9571 IRVINE CENTER DR.                                                                                                          IRVINE             CA     92618      UNITED STATES         CONTRACT_00423        815883   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LA ROCCA, JAMES                                C/O PAUL TERRY, ESQ. (ANGUIS & TERRY)           1120 N. TOWN CENTER DRIVE SUITE 260                                             LAS VEGAS          NV     89144      UNITED STATES          CMSLIT_451.004                No   Litigant     Nevada              WLH Combo Litigation Load file.XLSX                                   10/27/2011
LABARRE/OKSNEE INSURANCE                       30 ENTERPRISE #180                                                                                                              ALISO VIEJO        CA     92656      UNITED STATES            VEN_471902         471902   No   Vendor       Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LABOR READY, INC.                              PO BOX 31001-0257                                                                                                               PASADENA           CA   91110-0257   UNITED STATES            VEN_249201         249201   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LABOR SYSTEMS                                  PO BOX 1205                                                                                                                     CHANDLER           AZ   85244-1205   UNITED STATES         CONTRACT_00424        702635   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LACERTE SOFTWARE CORP.                         PO BOX 52103                                                                                                                    PHOENIX            AZ   85072-2103   UNITED STATES            VEN_391296         391296   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LACKO, DAVID                                   20730 RIO LINDA ROAD                                                                                                            TEMECULA           CA     92590      UNITED STATES           EMP_SC_0086                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LADERA RANCH MAINTENANCE CORP.                 C/O MERIT PROPERTY MANAGEMENT                   1 POLARIS WAY, SUITE 100                                                        ALISO VIEJO        CA     92656      UNITED STATES            VEN_410085         410085   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAER PEARCE ASSOCIATES                         22892 MILL CREEK DRIVE                                                                                                          LAGUNA HILLS       CA     92653      UNITED STATES            VEN_818232         818232   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAGUNA BIG HORN, LLC                           4000 EXECUTIVE PARKWAY, SUITE 250                                                                                               SAN RAMON          CA     94583      UNITED STATES          AFFILIATE_026                 No   Vendor       Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
LAGUNA GEOSCIENCES, INC.                       31655 COAST HIGHWAY, #A                                                                                                         LAGUNA BEACH       CA     92651      UNITED STATES            VEN_827155         827155   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAHAYE ELECTRICAL                              1241 W. HORN RD.                                                                                                                PAHRUMP            NV     89048      UNITED STATES            VEN_627268         627268   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAKAVAGE, JEANETTE                             4158 E. AGAVE RD                                                                                                                PHOENIX            AZ     85044      UNITED STATES           EMP_AZ_0087                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LAMPS PLUS / CENTENNIAL, INC.                  20250 PLUMMER STREET                                                                                                            CHATSWORTH         CA     91311      UNITED STATES         CONTRACT_00425        194896   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LAMPS PLUS CENTENNIAL                          20250 PLUMMER STREET                                                                                                            CHATSWORTH         CA     91331      UNITED STATES         CONTRACT_00426                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LAMPS PLUS CENTENNIAL - CA                     20250 PLUMMER STREET                                                                                                            CHATSWORTH         CA     91331      UNITED STATES            VEN_392032         392032   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAN, LI                                        C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                               ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                          & KRIGER
                                                                                                              J. FATHY, ESQ.         3831 N. FREEWAY BLVD., SUITE 110          SACRAMENTO         CA     95834      UNITED STATES       CMSLITCA_98007_011               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LAND CONCERN, LTD.                             1750 E. DEERE AVENUE                                                                                                            SANTA ANA          CA     92705      UNITED STATES            VEN_816691         816691   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAND CONCERN, LTD.                             1750 E. DEERE AVE.                                                                                                              SANTA ANA          CA     92705      UNITED STATES         CONTRACT_00427                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LANDMARK AMERICAN INSURANCE COMPANY            945 EAST PACES FERRY ROAD                       SUITE 1800                                                                      ATLANTA            GA   30326-1160   UNITED STATES         CONTRACT_00428                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LANDRUM & BROWN, INC.                          27812 EL LAZO ROAD                                                                                                              LAGUNA NIGUEL      CA   92677-3915   UNITED STATES            VEN_820210         820210   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LANDSCAPE DEVELOPMENT, INC.                    1874 TANDEM WAY                                                                                                                 NORCO              CA     92860      UNITED STATES            VEN_550272         550272   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LANDSCAPE DEVELOPMENT, INC.                    28447 WITHERSPOON PARKWAY                                                                                                       VALENCIA           CA     91355      UNITED STATES            VEN_272639         272639   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LANNY SHEA                                     961 GOLD POINT ROAD                                                                                                             PAHRUMP            NV     89060      UNITED STATES           VEN_MF_101                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LARRY BROWN FOR MAYOR                          6100 ELTON AVE, SUITE 100                                                                                                       LAS VEGAS          NV     89107      UNITED STATES            VEN_831154         831154   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LARRY JACINTO CONSTRUCTION                     PO BOX 615                                                                                                                      MENTONE            CA     92359      UNITED STATES            VEN_246115         246115   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LARRY METHVIN INSTALLATION, INC.               128 N. CLUFF RD.                                                                                                                LODI               CA     95240      UNITED STATES            VEN_247687         247687   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LARRY METHVIN INSTALLATION, INC.               4065 W. MESA VISTA AVE. STE D                                                                                                   LAS VEGAS          NV     89118      UNITED STATES         CONTRACT_00429        312910   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LARRY METHVIN INSTALLATION, INC.               501 KETTERING DRIVE                                                                                                             ONTARIO            CA     91761      UNITED STATES         CONTRACT_00430                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LARRY METHVIN INSTALLATIONS, INC.              C/O LARRY METHVIN, AGENT                        501 KETTERING DRIVE                                                             ONTARIO            CA     91761      UNITED STATES       CMSLITCA_365116_049              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LARRY METHVIN INSTALLATIONS, INC.              LARRY METHVIN                                   501 KETTERING DR.                                                               ONTARIO            CA     91761      UNITED STATES      CMSLITCA_1103527_034              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LARSEN, LA VONN                                168B E. WILSON ST.                                                                                                              COSTA MESA         CA     92627      UNITED STATES         EMP_CORP_0088                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LARSON, HEIDI NOEL                             C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_026              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LAS VEGAS CHAMBER OF COMMERCE                  6671 LAS VEGAS BLVD S STE 300                                                                                                   LAS VEGAS          NV   89119-3290   UNITED STATES           VEN_MF_102                   No   Vendor       Municipality        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LAS VEGAS COPIERS, INC.                        4200 W. DESERT INN RD., #F                                                                                                      LAS VEGAS          NV     89102      UNITED STATES            VEN_823120         823120   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAS VEGAS TOWEL & TISSUE                       PO BOX 94946                                                                                                                    LAS VEGAS          NV     89193      UNITED STATES           VEN_MF_103                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LAS VEGAS VALLEY WATER DISTRICT                1001 S. VALLEY VIEW BLVD.                                                                                                       LAS VEGAS          NV     89153      UNITED STATES         CONTRACT_00431        191257   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LASCO BATHWARE                                 8101 E. KAISER BLVD, SUITE 200                                                                                                  ANAHEIM            CA     92808      UNITED STATES            VEN_392033         392033   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LASCO BATHWARE, INC                            8101 E. KAISER BLVD, SUITE 200                                                                                                  ANAHEIM HILLS      CA     92808      UNITED STATES            VEN_224670         224670   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LASER & COMPUTER OPTIONS, INC.                 1809 W. 4TH STREET                                                                                                              TEMPE              AZ     85281      UNITED STATES            VEN_746291         746291   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LATHON, YVONNE                                 3320 E OAKLAND STREET                                                                                                           GILBERT            AZ     85295      UNITED STATES           EMP_AZ_0089                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LATISYS - IRVINE                               17222 VON KARMAN AVE                                                                                                            IRVINE             CA     92614      UNITED STATES         CONTRACT_00432        825926   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LATISYS - IRVINE                               393 INVERNESS PARKWAY                                                                                                           ENGLEWOOD          CO     80112      UNITED STATES         CONTRACT_00433        825926   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LATITUDE 33 PLANNING & ENGINEERING             4933 PARAMOUNT DRIVE, 2ND FLOOR                                                                                                 SAN DIEGO          CA     92123      UNITED STATES            VEN_553406         553406   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAW OFFICE OF JEFFREY G. WAGNER                1777 N. CALIFORNIA BLVD, #200                                                                                                   WALNUT CREEK       CA   94596-4180   UNITED STATES            VEN_603493         603493   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAW OFFICE OF MICHAEL C. MILLER                530 OAK GROVE AVE, SUITE 106                                                                                                    MENLO PARK         CA     94025      UNITED STATES            VEN_834494         834494   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAW OFFICES OF HOWARD E. HAMANN P.C.           26895 ALISO CREEK RD., SUITE B-460                                                                                              ALISO VIEJO        CA     92656      UNITED STATES            VEN_830725         830725   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAW OFFICES OF JOHN CHAIX IN TRUST FOR L       3001 EAST CAMELBACK RD., SUITE 130                                                                                              PHOENIX            AZ     85016      UNITED STATES            VEN_834451         834451   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAW OFFICES OF MARK J. SKAPIK                  250 W. FIRST STREET, SUITE 330                                                                                                  CLAREMONT          CA     91711      UNITED STATES            VEN_821378         821378   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAW OFFICES OF ROBERT CLAUSEN                  1400 BRISTOL ST. N.,SUITE 145                                                                                                   NEWPORT BEACH      CA   92660-2954   UNITED STATES            VEN_802927         802927   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAWN PATROL                                    PO BOX 530327                                                                                                                   HENDERSON          NV     89053      UNITED STATES            VEN_326254         326254   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAYNE CHRISTENSEN CO.                          9317 PAYSPHERE CIRCLE                                                                                                           CHICAGO            IL     60674      UNITED STATES           VEN_MF_104                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LAYTON, MARY                                   4325 WEST ROME BOULEVARD                        APT #3077                                                                       NORTH LAS VEGAS    NV     89084      UNITED STATES           EMP_NV_0090                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LAZER ELECTRIC                                 4701 E HUNTER AVE                                                                                                               ANAHEIM            CA     92807      UNITED STATES            VEN_391313         391313   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LAZER ELECTRIC, INC.                           C/O DAVID L. CAMERON, AGENT                     15451 CHERBOURG AVENUE                                                          IRVINE             CA     92604      UNITED STATES       CMSLITCA_365116_050              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LAZER ELECTRIC, INC.                           C/O ELIZABETH P. NADELSON, ESQ.                 LAW OFFICES OF KEVIN PEGAN            ONE MACARTHUR PLACE, SUITE #310           SANTA ANA          CA     92707      UNITED STATES       CMSLITCA_365116_091              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LCD AMADOR, LLC                                1156 N. MOUNTAIN AVENUE                                                                                                         UPLAND             CA   91785-0670   UNITED STATES            VEN_820615         820615   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LDB & ASSOCIATES, INC.                         15 STUDEBAKER                                                                                                                   IRVINE             CA     92618      UNITED STATES         CONTRACT_00434                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LE, COLLEEN                                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_049             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEBLANC & ASSOCIATES                           7040 AVENIDA ENCINAS, SUITE 104-291                                                                                             CARLSBAD           CA     92011      UNITED STATES            VEN_283805         283805   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEE & STIRES, INC.                             PO BOX 2124                                                                                                                     MONTCLAIR          CA     91763      UNITED STATES            VEN_328401         328401   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEE, HERNANDEZ, KELSEY, BROOKS, GAROFALO       7575 VEGAS DRIVE, SUITE 150                                                                                                     LAS VEGAS          NV     89128      UNITED STATES            VEN_802484         802484   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEE, HERNANDEZ, LANDRUM, GAROFALO &            BLAKE CLIENT TRUST ACCOUNT                      7575 VEGAS DRIVE, SUITE 150                                                     LAS VEGAS          NV     89128      UNITED STATES            VEN_840405         840405   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEE, JAMES                                     C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                               ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                          & KRIGER
                                                                                                              J. FATHY, ESQ.         4750 DUCKHORN DRIVE                       SACRAMENTO         CA     95834      UNITED STATES      CMSLITCA_20100719_009             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEE, MEY                                       C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_007             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEE, MICHAEL                                   C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_005              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEE, MYONG & SANG                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_050             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEGACY III SR CROW CANYON, LLC                 PO BOX 74869                                                                                                                    CLEVELAND          OH   44194-4869   UNITED STATES            VEN_769531         769531   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEIGH, WENDY                                   4310 S. GRESSA ST                                                                                                               PAHRUMP            NV     89061      UNITED STATES           EMP_MF_0210                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LEIGHTON & ASSOCIATES, INC.                    17781 COWAN                                                                                                                     IRVINE             CA     92780      UNITED STATES            VEN_769995         769995   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEISS, KURT J. & REGINA                        C/O MICHAEL A. HEARN, ESQ. BROCK NELSON THOMPSON,
                                                                                               LAW ESQ.
                                                                                                    OFFICES OF MICHAEL A. HEARN      ONE POST, SUITE 200                       IRVINE             CA     92618      UNITED STATES       CMSLITCA_406014_003              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEKOS ELECTRIC, INC.                           1370 PIONEER WAY                                                                                                                EL CAJON           CA   92020-1626   UNITED STATES            VEN_233365         233365   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEMOS LANDSCAPE COMPANY                        1696 WOODLEAF CIRCLE                                                                                                            ROSEVILLE          CA     95747      UNITED STATES            VEN_811487         811487   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LENNAR CHARITABLE HOUSING FOUNDATION           24800 CHRISANTA DR                                                                                                              MISSION VIEJO      CA     92691      UNITED STATES         CONTRACT_00435          N/A    No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LENNAR HOMES OF CALIFORNIA, INC.               391 N. MAIN ST., SUITE 301                                                                                                      CORONA             CA     92880      UNITED STATES            VEN_634767         634767   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LEONA, TSAI                                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_008             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEONARD ROOFING, INC.                          PO BOX 893730                                                                                                                   TEMECULA           CA   92589-3730   UNITED STATES         CONTRACT_00436                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LESLIE LEVINSKI, INDIVIDUALLY AND AS GRANTOR
                                               C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                   J. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                               RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850      IRVINE             CA     92612      UNITED STATES      CMSLITCA_233522_023               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TO THE LEVINSKI FAMILY TRUST DATED FEBRUARY
LETTO, JOSIE                                   11870 PIERCE ST., SUITE 200                                                                                                     RIVERSIDE          CA     92505      UNITED STATES           VEN_270908          270908   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LETTO, JOSIE                                   1306 JAMESTOWN DRIVE                                                                                                            CHULA VISTA        CA     91913      UNITED STATES          EMP_SC_0091                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LEWIS, WILLIAM & VALERIE                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_051             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LEXINGTON                                      100 SUMMER STREET                                                                                                               BOSTON             MA     02110      UNITED STATES            INS_0011                    No   Vendor       Insurance/Insurer   WLH_Insurance_10-24-2011.xlsb                                         11/23/2011
LEXINGTON INSURANCE COMPANY                    100 SUMMER STREET                                                                                                               BOSTON             MA     02110      UNITED STATES        CONTRACT_00437                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LEXINGTON INSURANCE COMPANY UK                 100 SUMMER STREET                                                                                                               BOSTON             MA     02110      UNITED STATES        CONTRACT_00438                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LEXON INSURANCE COMPANY                        900 S. FRONTAGE RD, STE 250                                                                                                     WOODRIDGE          IL     60517      UNITED STATES            BOND_067                    No   Bondholder   Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                      10/27/2011
LGC VINTNERS GROVE, LLC                        1156 N. MOUNTAIN AVE                                                                                                            UPLAND             CA   91785-0670   UNITED STATES           VEN_825571          825571   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIBERTY BELL ALARM                             5320 S. WATT AVE                                                                                                                SACRAMENTO         CA     95826      UNITED STATES           VEN_744991          744991   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIBERTY HEATING & AIR CONDITIONING, INC.       550 S. MELROSE ST.                                                                                                              PLACENTIA          CA     92870      UNITED STATES           VEN_564851          564851   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIDDIARD, JOANNA                               4901 BIRCH ST.                                                                                                                  NEWPORT BEACH      CA     92660      UNITED STATES           VEN_817504          817504   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIFE INSURANCE COMPANY OF NORTH AMERICA        PO BOX 8500 K 110                                                                                                               PHILADELPHIA       PA   19178-0110   UNITED STATES           VEN_833547          833547   No   Vendor       Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIGHT CONCERN                                  11470 6TH STREET                                                                                                                RANCHO CUCAMONGA   CA     91780      UNITED STATES        CONTRACT_00439                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LIGHTHOUSE FRAMING, INC.                       711 W. 17TH ST., SUITE C-5                                                                                                      COSTA MESA         CA     92627      UNITED STATES           VEN_676182          676182   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIGUTUM-RAMIREZ, PAULINE                       C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_019            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LIKE NU CONCRETE RESTORATION                   26429 RANCHO PARKWAY SOUTH, #120                                                                                                LAKE FOREST        CA     92630      UNITED STATES           VEN_391320          391320   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIN, EVA                                       C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP          8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES    CMSLITCA_SCV0028445_004             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LINC LIGHTING & ELECTRICAL                     152 TECHNOLOGY                                                                                                                  IRVINE             CA     92618      UNITED STATES           VEN_815488          815488   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LINDEMANN, SHANE                               2711 QUINTA                                                                                                                     PAHRUMP            NV     89041      UNITED STATES          EMPT_MF_0339                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LINDEN LITTLE LEAGUE                           PO BOX 132                                                                                                                      LINDEN             CA     95236      UNITED STATES           VEN_821319          821319   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIN-FRAN LLC DBA: PAHRUMP VALLEY ACTION        PO BOX 1004                                                                                                                     PAHRUMP            NV     89041      UNITED STATES           VEN_799676          799676   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIQUID ASSETS                                  2012 W. SUNSET ROAD, SUITE #100                                                                                                 HENDERSON          NV     89014      UNITED STATES           VEN_MF_105                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LIRA, KURT                                     1101 S. RED BUTTE                                                                                                               PAHRUMP            NV     89048      UNITED STATES          EMP_MF_0211                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LITIGATION SERVICES                            1640 W. ALTA DRIVE, SUITE 4                                                                                                     LAS VEGAS          NV     89106      UNITED STATES           VEN_817803          817803   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIU, LUCY                                      C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                               ANDERSON
                                                                                                   ESQ. JAKE
                                                                                                         & KRIGER
                                                                                                             J. FATHY, ESQ.          4750 DUCKHORN DRIVE                       SACRAMENTO         CA     95834      UNITED STATES     CMSLITCA_20100719_005              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LIU, ZHIYI                                     C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_173057_025               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LIUKKONEN TRACTOR SERVICE                      5061 RIVER ROAD                                                                                                                 OAKDALE            CA     95361      UNITED STATES        CONTRACT_00440                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LIUKKONEN TRACTOR SERVICES                     5061 RIVER ROAD                                                                                                                 OAKDALE            CA     95361      UNITED STATES           VEN_383996          383996   No   Vendor       Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
                                                                             Case 11-14019-CSS                                                                                Doc 1-4         Filed 12/19/11                              Page 16 of 29

LIVED IN IMAGES                                112 E. AVENIDA CORNELIO                                                                                                              SAN CLEMENTE       CA     92672       UNITED STATES            VEN_823251         823251   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LIVING WATERS, INC.                            5860 TUSCAN HILL COURT                                                                                                               LAS VEGAS          NV   89141-3895    UNITED STATES         CONTRACT_00441        820623   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LLOYDS OF LONDON                               ONE LIME STREET                                                                                                                      LONDON                  EC3M 7HA     UNITED KINGDOM         CONTRACT_00442                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LMI                                            501 KETTERING DRIVE                                                                                                                  ONTARIO            CA     91761       UNITED STATES            VEN_391323         391323   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LMI LODI - CORP OFFICE                         501 KETTERING DRIVE                                                                                                                  ONTARIO            CA     91761       UNITED STATES            VEN_230560         230560   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOCKTON (BROKER)                               19800 MACARTHUR BLVD                            SUITE 1250                                                                           IRVINE             CA     92612       UNITED STATES             INS_0026                   No   Vendor          Insurance/Insurer   WLH_Insurance_10-24-2011.xlsb                                         11/23/2011
LOCKTON (BROKER) - IRVINE, CA                  19800 MACARTHUR BLVD                            SUITE 1250                                                                           IRVINE             CA     92612       UNITED STATES         CONTRACT_00443                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LOCKTON INSURANCE BROKERS, INC.                PO BOX 92643                                                                                                                         LOS ANGELES        CA   90009-2643    UNITED STATES         CONTRACT_00444        419207   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LOCKTON LFS (BROKER)                           725 S FIGUEROA                                  #3500                                                                                LOS ANGELES        CA   90017-5435    UNITED STATES             INS_0029                   No   Vendor          Insurance/Insurer   WLH_Insurance_10-24-2011.xlsb                                         11/23/2011
LOCKTON LFS (BROKER) - LOS ANGELES, CA         725 S FIGUEROA                                  #3500                                                                                LOS ANGELES        CA   90017-5435    UNITED STATES         CONTRACT_00445                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LODI DOOR                                      3231 W. VIRGINIA AVE                                                                                                                 PHOENIX            AZ     85009       UNITED STATES            VEN_443151         443151   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOESCHER, TRUELY                               12196 CLEARVIEW DR                                                                                                                   VICTORVILLE        CA     92392       UNITED STATES          EMP_SC_0276                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LOFTCO TRIM, INC.                              PO BOX 71310                                                                                                                         PHOENIX            AZ   85050-1310    UNITED STATES            VEN_797988         797988   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOFTCO, INC.                                   PO BOX 71310                                                                                                                         PHOENIX            AZ   85050-1310    UNITED STATES            VEN_315029         315029   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOGO APPAREL, INC.                             5445 DESERT POINT DRIVE, SUITE A                                                                                                     LAS VEGAS          NV     89118       UNITED STATES            VEN_824093         824093   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOGO GOLF CHIPS, INC.                          PO BOX 13116                                                                                                                         PALM DESERT        CA     92255       UNITED STATES           VEN_MF_106                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LOOK PHOTOGRAPHY                               54 TARLETON LANE                                                                                                                     LADERA RANCH       CA     92694       UNITED STATES            VEN_595391         595391   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOOMIS, FARGO & CO.                            DEPT. 0757 PO BOX 120001                                                                                                             DALLAS             TX   75312-0757    UNITED STATES           VEN_MF_107                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
LOPEZ, JAMES                                   C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES    CMSLITCA_CIVRS913725_020            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LOPEZ, MAYRA                                   C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH      CA     92660       UNITED STATES       CMSLITCA_92941_008               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LOPEZ, SANDRA                                  C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES    CMSLITCA_CIVRS913725_021            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LORINE M. HONEYMAN                             2707 MACKINNON RANCH ROAD                                                                                                            CARDIFF            CA     92007       UNITED STATES            VEN_829089         829089   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOS ANGELES COUNTY                             ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 54018                                                                         LOS ANGELES        CA     90054       UNITED STATES         CMSTX_222359_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
LOS ANGELES COUNTY DEPT OF PUBLIC WORKS        PO BOX 7437                                                                                                                          ALHAMBRA           CA   91802-7437    UNITED STATES            VEN_222332         222332   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOS ANGELES COUNTY TAX COLLECTOR               PO BOX 54018                                                                                                                         LOS ANGELES        CA   90054-0018    UNITED STATES            VEN_222359         222359   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOS ANGELES DOWNTOWN NEWS                      1264 W. FIRST ST.                                                                                                                    LOS ANGELES        CA     90026       UNITED STATES            VEN_834697         834697   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOS ANGELES TIMES ( CLASSIFIED )               FILE 51163                                                                                                                           LOS ANGELES        CA   90074-1163    UNITED STATES            VEN_223589         223589   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOU JONES & ASSOCIATES                         1 CORPORATE DRIVE, SUITE 200                                                                                                         LAKE ZURICH        IL   60047-8945    UNITED STATES            VEN_396797         396797   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOUDERMILK, NICOLE                             C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES      CMSLITCA_1103791_006              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LOUIE, LEIGHTON & GERALDINE                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_DEL1100369_052             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LOUPASSAKIS, KRISTEN                           C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH      CA     92660       UNITED STATES       CMSLITCA_92941_013               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LOW, LIEM & JULIE                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_DEL1100369_053             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LOWE'S                                         PO BOX 530954                                                                                                                        ATLANTA            GA   30353-0954    UNITED STATES            VEN_467874         467874   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LOYKO, JENNIFER                                3581 S. TWILIGHT AVE                                                                                                                 PAHRUMP            NV     89048       UNITED STATES          EMP_MF_0212                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LSA ASSOCIATES, INC.                           20 EXECUTIVE PARK, SUITE 200                                                                                                         IRVINE             CA   92614-4731    UNITED STATES         CONTRACT_00446                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LU, MIN                                        C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO          CA     92121       UNITED STATES       CMSLITCA_96610_005               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LUBAWY & ASSOCIATES, INC.                      3034 S. DURANGO, #100                                                                                                                LAS VEGAS          NV     89117       UNITED STATES            VEN_804076         804076   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUDLOW, CHRISTOPHER                            4025 MOSS ROCK CT                                                                                                                    MODESTO            CA     95356       UNITED STATES          EMP_NC_0093                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LUDLOW, CHRISTOPHER W.                         2603 CAMINO RAMON, SUITE 150                                                                                                         SAN RAMON          CA   94583-4289    UNITED STATES            VEN_471911         471911   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUKMAN, MARLINA                                C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO          CA     92121       UNITED STATES       CMSLITCA_96610_034               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LUMAN, GLENN                                   C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES      CMSLITCA_1007968_035              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LUMAN, LAURA                                   C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES      CMSLITCA_1007968_036              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LUMBERMEN'S MUTUAL GROUP                       ONE CORPORATE DRIVE, SUITE 200                                                                                                       LAKE ZURICH        IL   60047-8945    UNITED STATES            VEN_831971         831971   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUNA MARBLE, GRANITE & TILE                    230 E. DYER RD., SUITE P                                                                                                             SANTA ANA          CA     92707       UNITED STATES            VEN_416495         416495   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUNA, FELIPE                                   C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                               ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                           & KRIGER
                                                                                                                J. FATHY, ESQ.         3831 N. FREEWAY BLVD., SUITE 110             SACRAMENTO         CA     95834       UNITED STATES       CMSLITCA_98007_007               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LUNA, FIL                                      19414 N 15TH AVE                                                                                                                     PHOENIX            AZ     85027       UNITED STATES           EMP_AZ_0094                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LUNA, ROSA ELENA                               C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                               ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                           & KRIGER
                                                                                                                J. FATHY, ESQ.         3831 N. FREEWAY BLVD., SUITE 110             SACRAMENTO         CA     95834       UNITED STATES       CMSLITCA_98007_008               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
LUNDSTROM & ASSOCIATES                         5333 MISSION CENTER RD., SUITE 390                                                                                                   SAN DIEGO          CA     92108       UNITED STATES            VEN_233437         233437   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUX, JOHN                                      1182 C DENVER LN                                                                                                                     EL CAJON           CA     92021       UNITED STATES          EMP_SC_0095                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LUXCRAFT AVIATION, INC.                        26286 BUSCADOR                                                                                                                       MISSION VIEJO      CA     92692       UNITED STATES            VEN_825109         825109   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUXE CABINETS, INC.                            43195 BUSINESS PARK DR.                                                                                                              TEMECULA           CA     92590       UNITED STATES            VEN_803532         803532   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LUXOR CAPITAL PARTNERS OFFSHORE MASTER         C/O LCG HOLDINGS, LLC                           767 FIFTH AVENUE, 19TH FLOOR                                                         NEW YORK           NY     10153       UNITED STATES         CONTRACT_00447                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LUXOR CAPITAL PARTNERS, LP                     C/O LCG HOLDINGS, LLC                           767 FIFTH AVENUE, 19TH FLOOR                                                         NEW YORK           NY     10153       UNITED STATES         CONTRACT_00448                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LUXOR SPECTRUM OFFSHORE MASTER FUND, LP        C/O LCG HOLDINGS, LLC                           767 FIFTH AVENUE, 19TH FLOOR                                                         NEW YORK           NY     10153       UNITED STATES         CONTRACT_00449                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LUXOR SPECTRUM, LLC                            C/O LCG HOLDINGS, LLC                           767 FIFTH AVENUE, 19TH FLOOR                                                         NEW YORK           NY     10153       UNITED STATES         CONTRACT_00450                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LUXOR WAVEFRONT, LP                            C/O LCG HOLDINGS, LLC                           767 FIFTH AVENUE, 19TH FLOOR                                                         NEW YORK           NY     10153       UNITED STATES         CONTRACT_00451                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LVA URBAN DESIGN STUDIO, LLC                   120 SOUTH ASH AVE                                                                                                                    TEMPE              AZ     85281       UNITED STATES         CONTRACT_00452        447718   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LYON EAST GARRISON COMPANY I, LLC              4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH      CA     92660       UNITED STATES            ENTITY_008                  No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
LYON REALTY ADVISORS, INC.                     4901 BIRCH STREET                                                                                                                    NEWPORT BEACH      CA     92660       UNITED STATES            VEN_504436         504436   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LYON STUDIOS CORP.                             222 21ST STREET                                                                                                                      NEWPORT BEACH      CA     92663       UNITED STATES            VEN_829118         829118   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LYON TREVISO, LLC                              4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH      CA     92660       UNITED STATES          AFFILIATE_027                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
LYON VISTA DEL MAR 533, LLC                    4000 EXECUTIVE PARKWAY, SUITE 250                                                                                                    SAN RAMON          CA     94583       UNITED STATES          AFFILIATE_028                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
LYON WATERFRONT, LLC                           2711 CENTERVILLE RD, STE 400                                                                                                         WILMINGTON         DE     19808       UNITED STATES            ENTITY_009                  No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
LYON, WILLIAM                                  4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH      CA     92660       UNITED STATES         CONTRACT_00453                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LYON, WILLIAM                                  PO BOX 8858                                                                                                                          NEWPORT BEACH      CA     92658       UNITED STATES         EMP_CORP_0097                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LYON, WILLIAM H.                               4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH      CA     92660       UNITED STATES            VEN_409156         409156   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
LYON, WILLIAM H.                               PO BOX 8858                                                                                                                          NEWPORT BEACH      CA     92658       UNITED STATES         EMP_CORP_0096                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
LYON'S GATE COMMUNITY ASSOCIATION              4645 E. COTTON GIN LOOP                                                                                                              PHOENIX            AZ     85040       UNITED STATES         CONTRACT_00455        695383   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
LYRIS TECHNOLOGIES, INC.                       PO BOX 49023                                                                                                                         SAN JOSE           CA     95161       UNITED STATES            VEN_820535         820535   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
M S CONCRETE CO., INC.                         3840 N. COMMERCE                                                                                                                     N. LAS VEGAS       NV     89032       UNITED STATES            VEN_190967         190967   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
M.J. SCHIFF & ASSOCIATES, INC.                 431 W. BASELINE RD.                                                                                                                  CLAREMONT          CA     91711       UNITED STATES         CONTRACT_00456                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
M.O.A. DEPOSITION REPORTERS                    1100 BUTTE HOUSE ROAD, SUITE 120                                                                                                     YUBA CITY          CA     95991       UNITED STATES            VEN_838559         838559   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
M.R. TANNER CONSTRUCTION                       1327 W. SAN PEDRO ST.                                                                                                                GILBERT            AZ   85233-2403    UNITED STATES         CONTRACT_00457        823103   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MABO INT'L/LIQUID LANDSCAPE, INC.              PO BOX 22141                                                                                                                         SANTA BARBARA      CA     93121       UNITED STATES            VEN_787739         787739   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAC KAY & SOMPS                                5142 FRANKLIN DR., STE. B                                                                                                            PLEASANTON         CA     94588       UNITED STATES            VEN_229981         229981   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MACAYAN, EDDIE & LAURIE                        C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_SCV26452_006              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MACDONALD, IRVIN K. & GLENYS A.                C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                               BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM            CA     92807       UNITED STATES      CMSLITCA_1103527_006              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MACMILLAN, CHARITY                             909 E MONONA                                                                                                                         PHOENIX            AZ     85024       UNITED STATES           EMP_AZ_0098                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MACTEC CLEANUP CORPORATION                     PO BOX 51808                                                                                                                         RIVERSIDE          CA     92517       UNITED STATES         CONTRACT_00458                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MADDUX, ANDER                                  C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES    CMSLITCA_CIVRS913725_049            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MADHIGI, ABDO T. RAHMA                         C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_DEL1100369_054             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MADOLE AND ASSOCIATES                          9302 PITTSBURGH AVE, SUITE 230                                                                                                       RANCHO CUCAMONGA   CA     91730       UNITED STATES            VEN_378716         378716   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MADOLE AND ASSOCIATES, INC                     9302 PITTSBURGH AVE, SUITE 230                                                                                                       RANCHO CUCAMONGA   CA     91730       UNITED STATES            VEN_222367         222367   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MADRANO, JOSE DE JESUS                         1525 S. SACRAMENTO ST.                                                                                                               LODI               CA     95240       UNITED STATES          EMPT_NC_0284                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MADRID, EFREN & PRISCILLA                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO          CA     92121       UNITED STATES       CMSLITCA_96610_030               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MADRIGAL RENTAL, INC                           19897 SMITH ROAD                                                                                                                     PERRIS             CA     92570       UNITED STATES            VEN_385641         385641   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MADSEN, KNEPPERS & ASSOCIATES, INC.            1855 OLYMPIC BLVD, SUITE 310                                                                                                         WALNUT CREEK       CA     94596       UNITED STATES            VEN_701691         701691   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAGIC MAINTENANCE, INC.                        PO BOX 802485                                                                                                                        VALENCIA           CA   91380-2485    UNITED STATES            VEN_224303         224303   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAGIC PAINTING COMPANY                         1572 MILL RUN DRIVE                                                                                                                  ROSEVILLE          CA     95747       UNITED STATES            VEN_498380         498380   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAILING EQUIPMENT SERVICES                     PO BOX 88                                                                                                                            ELK GROVE          CA   95759-0088    UNITED STATES            VEN_662653         662653   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAILING SOURCE                                 1760 MONROVIA AVE, #C-1                                                                                                              COSTA MESA         CA     92627       UNITED STATES            VEN_438184         438184   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAKING CUSTOMERS, INC.                         20131 CRATER CIRCLE                                                                                                                  HUNTINGTON BEACH   CA     92646       UNITED STATES            VEN_834961         834961   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAKO TILE                                      C/O JOHN C. WALLACE, ESQ.                       MACRAE & EDRINGTON                      2677 NORTH MAIN STREET, SUITE #200           SANTA ANA          CA     92705       UNITED STATES       CMSLITCA_365116_092              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MAKO TILE                                      C/O KEITH B. OBYMAKO, AGENT                     5900 WEST SAMPLE ROAD, #301W                                                         CORAL SPRINGS      FL     33067       UNITED STATES       CMSLITCA_365116_051              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MALASKI, KIMO                                  3100 S. AUTUMNWOOD DR.                                                                                                               PAHRUMP            NV     89048       UNITED STATES          EMPT_MF_0356                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MALLO, JENNIFER                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES    CMSLITCA_CIVRS913725_051            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MALLO, JOEL                                    C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES    CMSLITCA_CIVRS913725_050            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MALO GROUP, LLC                                8485 E. MCDONALD DR,SUITE 206                                                                                                        SCOTTSDALE         AZ     85250       UNITED STATES            VEN_765847         765847   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MAMMOTH UNDERGROUND, LLC                       421 W. BONANZA RD.                                                                                                                   LAS VEGAS          NV     89106       UNITED STATES            VEN_787149         787149   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MANANSALA, REGINO & CATALINA                   C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_CA1100369_037             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MANGO CARPET CARE                              PO BOX 2264                                                                                                                          LA MESA            CA     91943       UNITED STATES            VEN_790364         790364   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MANGO, JOSEPH P. & LAURRIE                     C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_CA1100369_001             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MANNIGAN DESIGN, INC.                          1445 LINDA RIDGE RD.                                                                                                                 PASADENA           CA     91103       UNITED STATES         CONTRACT_00460                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MAN'S SAFETY RAIL, INC.                        PO BOX 1556                                                                                                                          GLENDALE           AZ     85311       UNITED STATES         CONTRACT_00461        716674   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MANSE CROSSING, LLC                            PO BOX 90490                                                                                                                         HENDERSON          NV     89009       UNITED STATES         CONTRACT_00462        787771   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MANTECA-LATHROP FIRE DISTRICT                  16775 S HOWLAND RD, #2                                                                                                               LATHROP            CA     95330       UNITED STATES            VEN_391350         391350   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MANTEK                                         PO BOX 971269                                                                                                                        DALLAS             TX   75397-1269    UNITED STATES           VEN_MF_108                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
MAPANAO, ALISA                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_DEL1100369_055             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MAPLES, JONELL                                 C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                               BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM            CA     92807       UNITED STATES      CMSLITCA_1103527_022              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARATHON GENERAL                               130 S. HALE AVENUE                                                                                                                   ESCONDIDO          CA     92029       UNITED STATES            VEN_226536         226536   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARBLE MOUNTAIN PARTNERS, LLC                  4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH      CA     92660       UNITED STATES          AFFILIATE_029                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
MARBLE PALACE                                  711 S. SAN JOAQUIN ST.                                                                                                               STOCKTON           CA     95203       UNITED STATES         CONTRACT_00463                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MARC SZABO                                     50485 VIA AMANTE                                                                                                                     LA QUINTA          CA     92253       UNITED STATES            VEN_522503         522503   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARCOA PUBLISHING, INC.                        PO BOX 509100                                                                                                                        SAN DIEGO          CA   92150-9100    UNITED STATES            VEN_287734         287734   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARIA T. TAPIA                                 10657 W. 50TH STREET                                                                                                                 MIRA LOMA          CA     91752       UNITED STATES            VEN_823533         823533   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARIAN STEWART HONEYMAN                        2424 RAMONA ST.                                                                                                                      PALO ALTO          CA     94301       UNITED STATES            VEN_829097         829097   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARICOPA COUNTY                                2901 W. DURANGO ST.                                                                                                                  PHOENIX            AZ     85009       UNITED STATES             BOND_033                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                               10/27/2011
MARICOPA COUNTY AIR QUALITY                    1001 N. CENTRAL, 1ST FLOOR                                                                                                           PHOENIX            AZ     85004       UNITED STATES            VEN_712956         712956   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARICOPA COUNTY DEPARTMENT OF PLANNING         AND DEVELOPMENT                                 501 N. 44TH ST., 2ND FLOOR                                                           PHOENIX            AZ     85008       UNITED STATES            VEN_253121         253121   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARICOPA COUNTY DEPT. OF TRANSPORTATION        2901 W. DURANGO ST.                                                                                                                  PHOENIX            AZ     85009       UNITED STATES         CONTRACT_00464        308777   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MARICOPA COUNTY RECORDERS OFFICE               111 S. THIRD AVENUE                                                                                                                  PHOENIX            AZ   85003-2281    UNITED STATES            VEN_382045         382045   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARICOPA COUNTY TREASURER                      ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 52133                                                                         PHOENIX            AZ     52138       UNITED STATES         CMSTX_268242_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
MARICOPA COUNTY TREASURER                      PO BOX 52133                                                                                                                         PHOENIX            AZ     52138       UNITED STATES            VEN_268242                  No   Vendor          Taxing Authority    Maintain Creditors                                                     11/9/2011
MARICOPA COUNTY-ENVIRONMENTAL SERVICES         1001 NORTH CENTRAL AVENUE                                                                                                            PHOENIX            AZ     85004       UNITED STATES            VEN_253112         253112   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARIFOSQUE, EDWARD & FELGEN                    C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH      CA     92660       UNITED STATES       CMSLITCA_92941_009               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARIN JR., EFRAIN                              23144 VISTA WAY                                                                                                                      LAKE FOREST        CA     92630       UNITED STATES         EMP_CORP_0099                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MARINA COAST WATER DISTRICT                    11 RESERVATION ROAD                                                                                                                  MARINA             CA   93933-2099    UNITED STATES             BOND_034                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                               10/27/2011
MARINA PLUMBING                                2178 RHEEM DRIVE, SUITE C                                                                                                            PLEASANTON         CA     94588       UNITED STATES            VEN_523258         523258   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARIOS, EVELYN D.                              C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                               ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                           & KRIGER
                                                                                                                J. FATHY, ESQ.         4750 DUCKHORN DRIVE                          SACRAMENTO         CA     95834       UNITED STATES      CMSLITCA_20100719_006             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARIS CONSULTING                               99 E. MIDDLEFIELD RD., APT. 10                                                                                                       MOUNTAIN VIEW      CA   94043-3831    UNITED STATES         CONTRACT_00465                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MARISTELA, LUZ                                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES    CMSLITCA_DEL1100369_090             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARK THOMAS & CO., INC.                        1960 ZANKER RD.                                                                                                                      SAN JOSE           CA     95112       UNITED STATES         CONTRACT_00466                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MARKETSHARE, INC.                              2001 TAROB COURT                                                                                                                     MILPITAS           CA     95035       UNITED STATES            VEN_247732         247732   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARKHAM, CARRIE                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES      CMSLITCA_1007968_038              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARKHAM, STEVEN                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE             CA     92612       UNITED STATES      CMSLITCA_1007968_037              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARRA, REMO                                    C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES       CMSLITCA_173057_019              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARSDEN, CATHERINE                             1134 W. EDGE WATER DR.                                                                                                               GILBERT            AZ     85233       UNITED STATES           EMP_AZ_0100                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MARSH (BROKER)                                 4695 MACARTHUR                                  COURT #700                                                                           NEWPORT BEACH      CA   92660-1862    UNITED STATES             INS_0027                   No   Vendor          Insurance/Insurer   WLH_Insurance_10-24-2011.xlsb                                         11/23/2011
MARSH (BROKER) - NEWPORT BEACH, CA             4695 MACARTHUR                                  COURT #700                                                                           NEWPORT BEACH      CA   92660-1862    UNITED STATES         CONTRACT_00467                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MARSH MANAGEMENT SERVICES, INC.                25252 NETWORK PLACE                                                                                                                  CHICAGO            IL   60673-1252    UNITED STATES            VEN_438221         438221   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARSH RISK & INSURANCE SERVICES                DEPARTMENT #68051                                                                                                                    LOS ANGELES        CA     90088       UNITED STATES         CONTRACT_00468                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
MARSHALL INSTALLATIONS AND WEATHERSTRIP,       SUSAN MARSHALL                                  12814 YUCAIPA CREEK PLACE                                                            YUCAIPA            CA     92399       UNITED STATES      CMSLITCA_1103527_035              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARSHALL, GINNY                                4764 E. LUCERA CT.                                                                                                                   PAHRUMP            NV     89061       UNITED STATES          EMP_MF_1002                   No   Employee        Active              Employee Roster Report - password_12-12-2011 Additions.xlsx           12/12/2011
MARTI, JAIME                                   C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH      CA     92660       UNITED STATES       CMSLITCA_92941_001               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARTIN AVIATION                                19300 IKE JONES ROAD                                                                                                                 SANTA ANA          CA     92707       UNITED STATES            VEN_391358         391358   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARTIN, BILL                                   4765 BRUSNWICK                                                                                                                       MANTICA            CA     95336       UNITED STATES          EMP_NC_0101                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MARTIN, LINDA                                  1527 PARKSIDE CT                                                                                                                     TRACY              CA     95376       UNITED STATES          EMPT_NC_0312                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MARTIN, LINDA                                  2603 CAMINO RAMON, SUITE 150                                                                                                         SAN RAMON          CA   94583-4289    UNITED STATES            VEN_433551         433551   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARTIN, PHILLIP & ROXANNE                      C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES     CMSLITCA_CA1100369_038             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARTINEZ CONSTRUCTION                          3273 TRADE CENTER DRIVE                                                                                                              RIVERSIDE          CA     92507       UNITED STATES            VEN_284752         284752   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARTINEZ CONSTRUCTION CONCRETE                 C/O DAVID MARTINEZ, AGENT                       3273 TRADE CENTER DRIVE                                                              RIVERSIDE          CA     92507       UNITED STATES       CMSLITCA_365116_052              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARTINEZ CONSTRUCTION CONCRETE                 C/O JAMES J. ORLAND, ESQ.                       LAW OFFICES OF JAMES J. ORLAND          3601 ELM AVENUE                              LONG BEACH         CA     90807       UNITED STATES       CMSLITCA_365116_093              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARTINEZ CONSTRUCTION CONCRETE                 C/O STEVEN D. BAYS, ESQ.                        MARSHALL, FRENCH & DEGRAVE              2030 MAIN STREET, SUITE #600                 IRVINE             CA     92614       UNITED STATES       CMSLITCA_365116_053              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARTINEZ, TINA                                 8490 LOXTON CELLARS ST.                                                                                                              LAS VEGAS          NV     89139       UNITED STATES          EMP_NV_0103                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MARTINEZ, WARREN & JAMIE                       C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA       CA     90405       UNITED STATES       CMSLITCA_365116_008              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
MARTIN-JENSEN, KATHLEEN                        3272 WISTERIA TREE ST.                                                                                                               LAS VEGAS          NV     89135       UNITED STATES          EMP_NV_0102                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
MARTIN-JENSEN, KATHLEEN ELIZABETH              500 PILOT ROAD, STE. G                                                                                                               LAS VEGAS          NV     89119       UNITED STATES            VEN_242229         242229   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MARV BLACK MASONRY, INC.                       4045 W. QUAIL AVENUE, # 1                                                                                                            LAS VEGAS          NV     89118       UNITED STATES            VEN_404110         404110   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MASCO CONTRACTOR SERVICES                      13000 KIRKHAM WAY, SUITE 101                                                                                                         POWAY              CA     92064       UNITED STATES            VEN_804332         804332   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
MASCO CONTRACTOR SERVICES OF CALIFORNIA,
                                               CT CORPORATION SYSTEM                         818 WEST SEVENTH ST.                                                                   LOS ANGELES        CA     90017      UNITED STATES       CMSLITCA_1103527_042              No   Litigant       California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
INC. FKA SCHMID INSULATION CONTRACTORS, INC.
                                                                            Case 11-14019-CSS                                                                          Doc 1-4             Filed 12/19/11                               Page 17 of 29

MASCO CONTRACTOR SERVICES OF CALIFORNIA,
                                             C/O CT CORPORATION SYSTEM, AGENT               818 WEST 7TH STREET                                                                  LOS ANGELES         CA      90017      UNITED STATES    CMSLITCA_MC021755_028              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
INC., DBA SCHMID INSULATION
MASING CONSTRUCTION                          1790 LA COSTA MEADOWS DRIVE, SUITE 101                                                                                              SAN MARCOS           CA     92078      UNITED STATES           VEN_818275         818275   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MASLO, PETER                                 2507 WHIPPORLWILL LANE                                                                                                              LAS VEGAS            NV     89121      UNITED STATES         EMPT_NV_0247                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MASONRY INNOVATIONS, INC.                    PO BOX 1624                                                                                                                         WILDOMAR             CA     92595      UNITED STATES        CONTRACT_00469                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MASTERBRAND CABINETS                         PO BOX 75527                                                                                                                        CHICAGO              IL   60675-5527   UNITED STATES        CONTRACT_00470        806397   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MASTERCARE PROTECTION & CLEANING, INC.       22421 GILBERTO, SUITE #B-2                                                                                                          RANCHO SANTA MARGARITA
                                                                                                                                                                                                      CA     92688      UNITED STATES           VEN_257261         257261   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MASTERMAN'S LLP                              11 ""C"" STREET                                                                                                                     AUBURN               MA     01501      UNITED STATES           VEN_837556         837556   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MASTERS SURFACING TECHNOLOGY INC.            11272 CALABASH AVE                                                                                                                  FONTANA              CA     92337      UNITED STATES           VEN_804738         804738   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MATERIAL REPAIR SPECIALIST, INC.             PO BOX 447                                                                                                                          ATWOOD               CA     92811      UNITED STATES           VEN_439734         439734   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MATKAT ENTERPRISES LLC                       1549 ATHOL AVE                                                                                                                      HENDERSON            NV     89011      UNITED STATES           VEN_677281         677281   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MATRIX SURFACES, INC.                        5449 E. LA PALMA                                                                                                                    ANAHEIM HILLS        CA     92807      UNITED STATES        CONTRACT_00471                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MATRIX TILE, INC.                            5449 E. LA PALMA AVE                                                                                                                ANAHEIM              CA     92807      UNITED STATES           VEN_460824         460824   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAUPIN, WILLIAM                              781 SAN LORENZO                                   APT. C                                                                            PAHRUMP              NV     89048      UNITED STATES         EMPT_MF_0350                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MAURER, JOHN L. & KIM                        C/O CHRISTOPHER H. HAGEN, ESQ. RALPH W. PETERS,WARDESQ. JACOB
                                                                                                      & HAGEN
                                                                                                            D. LLP
                                                                                                               BELL, ESQ.           440 STEVENS AVENUE, SUITE 350                SOLANA BEACH         CA     92075      UNITED STATES       CMSLITCA_86438_003              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MAXIM FLOOR SYSTEMS                          1189 N. GROVE ST., BLDG C                                                                                                           ANAHEIM              CA     92806      UNITED STATES           VEN_253817         253817   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAXIM HEALTHCARE SERVICES, INC.              7080 SAMUEL MORSE DRIVE                                                                                                             COLUMBIA             MD     21046      UNITED STATES           VEN_585230         585230   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAXWELL, MAUREEN                             1352 E. VINEDO LANE                                                                                                                 TEMPE                AZ     85284      UNITED STATES          EMP_AZ_0104                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MAY GROUP, INC.                              9340 HAZARD WAY, SUITE A3                                                                                                           SAN DIEGO            CA     92123      UNITED STATES           VEN_329560         329560   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAYER ROOFING, INC.                          C/O JAMES WIESE, AGENT                            1711 ELSER LANE                                                                   ESCONDIDO            CA     92026      UNITED STATES      CMSLITCA_365116_054              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MAYER ROOFING, INC.                          C/O MICHAEL EISENBAUM, ESQ.                       GRAY & DUFFY, LLP                    15760 VENTURA BLVD., 16TH FLOOR              ENCINO               CA     91436      UNITED STATES      CMSLITCA_365116_094              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MAYER ROOFING, INC.                          MARTIN J. STOUT                                   5418 TELEFAIR WAY                                                                 RIVERSIDE            CA   92506-3573   UNITED STATES      CMSLITCA_1103527_036             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MAYER ROOFING, INC.                          PO BOX 462890                                                                                                                       ESCONDIDO            CA     92046      UNITED STATES           VEN_233533         233533   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAYFAIR CONCRETE RESTORATION                 96 TIERRA MONTANOSA                                                                                                                 RANCHO SANTA MARGARITA
                                                                                                                                                                                                      CA     92688      UNITED STATES           VEN_818873         818873   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAYTAG APPLIANCES INC.                       PO BOX 915029                                                                                                                       DALLAS               TX   75391-5029   UNITED STATES           VEN_259320         259320   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAYTAG SALES, INC.                           403 W. 4TH ST. NORTH                                                                                                                NEWTON               IA     50208      UNITED STATES           VEN_686751         686751   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MAZLO, AMANDA                                1410 W HICKORY                                                                                                                      PAHRUMP              NV     89048      UNITED STATES          EMP_MF_0213                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCCABE, LYNN                                 3820 DART ST.                                                                                                                       PAHRUMP              NV     89060      UNITED STATES         EMPT_MF_0347                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCCABE, PATRICK                              15 GOOSE POND ROAD                                                                                                                  LADERA RANCH         CA     92694      UNITED STATES          EMP_SC_0105                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCCARTHY, DENNIS & KAREN                     C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_039             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MCCLAIN, BOOKER                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_014            No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MCDOWELL, SANDRA                             1900 SYCAMORE AVE                                                                                                                   PAHRUMP              NV     89048      UNITED STATES          EMP_MF_0214                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCDUFF/DANIELS, INC.                         1609 E. EDINGER AVE                                                                                                                 SANTA ANA            CA     92705      UNITED STATES           VEN_645984         645984   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MCELMURRY, BRENT                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA     90211      UNITED STATES     CMSLITCA_20010042_014             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MCELMURRY, HALEY                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA     90211      UNITED STATES     CMSLITCA_20010042_015             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MCGRATH, CYNTHIA                             1101 DAYTONA ST.                                                                                                                    PAHRUMP              NV     89048      UNITED STATES         EMPT_MF_0351                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCGRIFF, DEBRA                               10238 DURANGO RIVER CT                                                                                                              FOUNTAIN VALLEY      CA     92708      UNITED STATES        EMP_CORP_0106                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCGUIRE RESEARCH                             2749 MCCLOUD WAY                                                                                                                    ROSEVILLE            CA     95747      UNITED STATES           VEN_823331         823331   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MCH ELECTRIC                                 31084 S. HIGHWAY 33                                                                                                                 TRACY                CA     95304      UNITED STATES        CONTRACT_00472                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MCI METRO ACCESS TRANSMISSION SERVICES       PO BOX DEPT. CH 14206                                                                                                               PALETINI             IL   60055-4206   UNITED STATES           VEN_830135         830135   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MCKINLEY ELEVATOR CORPORATION                17611 ARMSTRONG AVE                                                                                                                 IRVINE               CA     92814      UNITED STATES        CONTRACT_00473                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MCKOWN, CHARLES                              525 KRAMER CT.                                                                                                                      ROSEVILLE            CA     95661      UNITED STATES         EMPT_NC_0275                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCKOWN, DEBRA                                11013 W SHERIDAN ST                                                                                                                 AVONDALE             AZ     85392      UNITED STATES          EMP_AZ_0107                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCMILLEN, MICHAEL                            1941 PORT CARDIFF PL                                                                                                                NEWPORT BEACH        CA     92660      UNITED STATES         EMPT_SC_0301                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MCREYNOLDS, SUZANNE                          34 LAMBERT COURT                                                                                                                    BRENTWOOD            CA     94513      UNITED STATES         EMPT_NC_0285                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MDS CONSULTING                               17320 REDHILL AVE. #350                                                                                                             IRVINE               CA     92614      UNITED STATES        CONTRACT_00474                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MECHANICAL INSULATION SPECIALISTS            2245 N. GREEN VALLEY PKWY, #291                                                                                                     HENDERSON            NV     89014      UNITED STATES           VEN_754970         754970   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MEDIA NATION, LLC                            15137 WOODLAWN AVE                                                                                                                  TUSTIN               CA     92780      UNITED STATES           VEN_793311         793311   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MEDRANO, MARIA                               C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA     90211      UNITED STATES     CMSLITCA_20010042_016             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MEEKER, DENISE                               PO BOX 95152                                                                                                                        LAS VEGAS            NV     89193      UNITED STATES          EMP_NV_0108                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MEGA ENGINEERING, INC.                       12215 HIGHWAY 67                                                                                                                    LAKESIDE             CA     92040      UNITED STATES           VEN_667673         667673   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MEGA WESTERN SALES                           16200 S. MAPLE AVE                                                                                                                  GARDENA              CA     90248      UNITED STATES           VEN_690582         690582   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MELENDREZ, JESUS                             C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES      CMSLITCA_1103791_007             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MELLOMIDA, RICKY                             C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_040             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MELLON GRADING, INC.                         14998 WASHINGTON DRIVE                                                                                                              FONTANA              CA   92335-6268   UNITED STATES           VEN_222383         222383   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MELUKADAVAN, SATISH                          C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES      CMSLITCA_173057_024              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MENARD, PHILLIP                              360 S ORANGE ST.                                                                                                                    ORANGE               CA     92866      UNITED STATES          EMP_SC_0109                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MENARD, SUSAN                                360 SOUTH ORANGE ST.                                                                                                                ORANGE               CA     92866      UNITED STATES        EMP_CORP_0110                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MENGESHA, DINA                               201 E. CHAPMAN AVE #32P                                                                                                             PLACENTIA            CA     92870      UNITED STATES        EMP_CORP_0111                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MERCURY/L.D.O. BLUEPRINT                     3325 PEPPER LANE                                                                                                                    LAS VEGAS            NV     89120      UNITED STATES           VEN_350297         350297   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MERIDIAN GRAPHICS                            2652 DOW AVE                                                                                                                        TUSTIN               CA     92780      UNITED STATES           VEN_757441         757441   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MERIDIAN HILLS COMMUNITY ASSOCIATION         1275 CENTER COURT DRIVE                                                                                                             COVINA               CA     91724      UNITED STATES           VEN_749169         749169   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MERIDIAN INTERIORS                           15235 ALTON PARKWAY, SUITE 200                                                                                                      IRVINE               CA     92618      UNITED STATES           VEN_558813         558813   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MERIDIAN MEDIA GROUP, INC.                   2409 ""J"" STREET                                                                                                                   SACRAMENTO           CA     95816      UNITED STATES           VEN_822805         822805   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MERIT ASSOCIATION SERVICES INC               1 POLARIS WAY, SUITE 100                                                                                                            ALISO VIEJO          CA     92656      UNITED STATES        CONTRACT_00475                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MERIT CONCRETE, INC.                         C/O DANIEL J. SMITH, ESQ. PARRIS H. SCHMIDT, ESQ. BOWMAN & BROOKE                      1741 TECHNOLOGY DRIVE, SUITE 200             SAN JOSE             CA     95110      UNITED STATES      CMSLITCA_500837_007              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
MERIT CONCRETE, INC.                         C/O MELISSA WOOD EISENBERG, ESQ.                  MURCHISON & CUMMING, LLP             275 BATTERY STREET, SUITE 550                SAN FRANCISCO        CA     94111      UNITED STATES      CMSLITCA_500837_008              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
MERIT CONCRETE, INC.                         C/O RAYMOND BANGLE, III                           AGENT FOR SERVICE OF PROCESS         3638 AMERICAN RIVER DRIVE                    SACRAMENTO           CA     95864      UNITED STATES      CMSLITCA_500837_006              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
MERIT MASONRY INC.                           PO BOX 1538                                                                                                                         WILDOMAR             CA     92595      UNITED STATES           VEN_391380         391380   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MERIT PROPERTY MANAGEMENT                    1 POLARIS WAY, SUITE 100                                                                                                            ALISO VIEJO          CA     92656      UNITED STATES        CONTRACT_00476                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MERRILL LYNCH, BANK OF AMERICA CORPORATION   1600 MERRILL LYNCH DR                                                                                                               PENNINGTON           NJ     08534      UNITED STATES        CONTRACT_00477                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MERRIMAK ATM GROUP LLC, CSS                  5420 STATE FARM DRIVE, SUITE B                                                                                                      ROHNERT PARK         CA     94928      UNITED STATES          VEN_MF_109                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
MERS                                         13059 COLLECTIONS CENTER DRIVE                                                                                                      CHICAGO              IL     60693      UNITED STATES           VEN_520815         520815   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MESA FULLY FORMED                            1111 S. SIRRINE ST.                                                                                                                 MESA                 AZ     85210      UNITED STATES           VEN_195813         195813   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MESA INSULATION SPECIALISTS                  748 S. DREW STREET                                                                                                                  MESA                 AZ     85210      UNITED STATES        CONTRACT_00478        523098   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MESA WEATHERSTRIPPING CO.                    PO BOX 27474                                                                                                                        SANTA ANA            CA   92799-7474   UNITED STATES           VEN_819041         819041   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MESIA, VIRGILIO & EMILIA                     C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_056            No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
METLIFE                                      1333 N. CALIFORNIA BLVD, SUITE 170                                                                                                  WALNUT CREEK         CA     94596      UNITED STATES           VEN_819294         819294   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
METROLIST SERVICES                           PO BOX 340340                                                                                                                       SACRAMENTO           CA   95834-0340   UNITED STATES           VEN_261711         261711   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
METZGER, DERRICK                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA     90211      UNITED STATES     CMSLITCA_20010042_001             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
METZGER, JOYCE                               C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113              BEVERLY HILLS        CA     90211      UNITED STATES     CMSLITCA_20010042_002             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MEYER, EDDIE                                 135 RUSTIC COURT                                                                                                                    BREA                 CA     92821      UNITED STATES           VEN_484586         484586   No   Vendor         Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MEYERHOF'S                                   17805 SKY PARK CIRCLE, SUITE A                                                                                                      IRVINE               CA     92614      UNITED STATES           VEN_224071         224071   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MEYERS BUILDER ADVISORS                      2712 EAST PACIFIC COAST HWY, #101                                                                                                   CORONA DEL MAR       CA     92625      UNITED STATES           VEN_834911         834911   No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MEYERS BUILDER ADVISORS, LLC                 2010 CROW CANYON PL. SUITE 450                                                                                                      SAN RAMON            CA     94583      UNITED STATES           VEN_782815         782815   No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MF MAHER                                     490 RYDER ST.                                                                                                                       VALLEJO              CA     94590      UNITED STATES           VEN_267047         267047   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MICHAEL AND ASSOCIATES                       104 S. ROBSON                                                                                                                       MESA                 AZ     85210      UNITED STATES           VEN_475938         475938   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MICHAEL J. KLINEFELTER                       40960 CALIFORNIA OAKS RD., #316                                                                                                     MURRIETA             CA     92562      UNITED STATES           VEN_818427         818427   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MICHAEL REEVES                               2603 CAMINO RAMON, SUITE 150                                                                                                        SAN RAMON            CA   94583-4289   UNITED STATES           VEN_439195         439195   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MICHAEL'S ROOFING COMPANY, INC.              1967 ESSEX COURT                                                                                                                    REDLANDS             CA     92373      UNITED STATES           VEN_246158         246158   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MICKENS, ALVA & JEAN                         C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_041             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MICROSOFT FINANCING CORPORATION              23896 NETWORK PLACE                                                                                                                 CHICAGO              IL   60673-1238   UNITED STATES           VEN_829530         829530   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MICROSOFT LICENSING, GP                      1950 N. STEMMONS FWY., SUITE 5010                                                                                                   DALLAS               TX     75207      UNITED STATES        CONTRACT_00480        836887   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MICROSOFT LICENSING, GP                      DEPT. 551 VOLUME LICENSING                        6100 NEIL ROAD, SUITE 210                                                         RENO                 NV   89511-1137   UNITED STATES        CONTRACT_00481        836887   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MID CENTURY INSURANCE                        4680 WILSHIRE BLVD                                                                                                                  LOS ANGELES          CA     90010      UNITED STATES           VEN_835913         835913   No   Vendor         Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MID VALLEY PAINTING                          15300 S. MCKINLEY AVE                                                                                                               LATHROP              CA     95330      UNITED STATES           VEN_243715         243715   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MID VALLEY PLASTERING                        15300 S. MCKINLEY AVENUE                                                                                                            LATHROP              CA     95330      UNITED STATES           VEN_391386         391386   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MIDAS SERVICES, INC.                         4195 CHINO HILLS PARKWAY, SUITE #137                                                                                                CHINO HILLS          CA     91709      UNITED STATES           VEN_225138         225138   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MID-CENTURY INSURANCE CO.                    C/O SCOTT S. LIN, ESQ.                            LAW OFFICES OF SCOTT S. LIN, P.C.    400 NORTH BRAND BOULEVARD; SUITE 960         GLENDALE             CA     91203      UNITED STATES      CMSLITCA_375251_005              No   Litigant       California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
MID-VALLEY MASONRY                           15300 S. MCKINLEY AVE                                                                                                               LATHROP              CA     95330      UNITED STATES        CONTRACT_00482                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MIER, LUIS & LILIA                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_057            No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MIKE CASSARA MASONRY, INC.                   16891 HARKNESS CIRCLE                                                                                                               HUNTINGTON BEACH     CA     92649      UNITED STATES        CONTRACT_00483                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MIKE MCCALL LANSCAPE                         4749 CLAYTON RD.                                                                                                                    CONCORD              CA     94521      UNITED STATES           VEN_385650         385650   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MIKE SCHEINKER MASONRY                       1173 HARLEY KNOX BLVD                                                                                                               PERRIS               CA   92571-7401   UNITED STATES           VEN_237868         237868   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MIKE SCHEINKER MASONRY, INC.                 WILLIAM B. SULLIVAN                               2330 THIRD AVE.                                                                   SAN DIEGO            CA     92101      UNITED STATES      CMSLITCA_1103527_037             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MILBANK, TWEED, HADLEY & MCCLOY              ATTN MARK SHINDERMAN, ESQ. & NEIL WERTLIEB, ESQ', 601 S FIGUEROA ST, 30TH FLOOR                                                     LOS ANGELES          CA     90017      UNITED STATES      CONTRACT_ANP_00011               No   Vendor         Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MILBANK, TWEED, HADLEY & MCCLOY LLP          601 S. FIGUEROA STREET, 13TH FLOOR                                                                                                  LOS ANGELES          CA   90017-5735   UNITED STATES           VEN_842216         842216   No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MILESTONE TECHNOLOGIES, INC.                 3101 SKYWAY COURT                                                                                                                   FREMONT              CA     94539      UNITED STATES           VEN_841230         841230   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MILETWO CONSULTING, LLC                      8105 IRVINE CENTER DRIVE, SUITE 900                                                                                                 IRVINE               CA     92618      UNITED STATES           VEN_812050         812050   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MILGARD MANUFACTURING, INC.                  2550 N. NEVADA ST.                                                                                                                  CHANDLER             AZ     85249      UNITED STATES        CONTRACT_00484        190326   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MILGARD WINDOWS                              26879 DIAZ RD.                                                                                                                      TEMECULA             CA     92590      UNITED STATES        CONTRACT_00485        563102   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MILLENNIUM DESIGN & CONSULTING SVC. INC.     3200 DANVILLE BLVD, SUITE 250                                                                                                       ALAMO                CA     94507      UNITED STATES           VEN_803401         803401   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MILLER RENTALS                               3990 E. DEWEY DR. #14                                                                                                               LAS VEGAS            NV   89118-2345   UNITED STATES           VEN_259426         259426   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MILLER, ELIZABETH                            6501 S SURRY LANE                                                                                                                   PAHRUMP              NV     89048      UNITED STATES          EMP_MF_0215                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MILLER, MATTHEW                              7700 HAZEMORE CT                                                                                                                    ELK GROVE            CA     95758      UNITED STATES          EMP_NC_0113                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MILLS, CHARLES                               C/O SUZANNE N. PATRON, ESQ.                       MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_SCV26452_020             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MILSTEIN, ADELMAN & KREGER, LLP              2800 DONALD DOUGLAS LOOP NORTH                                                                                                      SANTA MONICA         CA     90405      UNITED STATES           VEN_710045         710045   No   Vendor         Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MINDLEADERS                                  DEPT. L 2987                                                                                                                        COLUMBUS             OH   43260-2987   UNITED STATES        CONTRACT_00486                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MINIMO, NERIA                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES      CMSLITCA_1007968_040             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MINIMO, RUBEN                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES      CMSLITCA_1007968_039             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MINIX, DELORES MINIX & ELMIRA M MOORE        C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_042             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MINUTOLI, ANTHONY                            C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA     92807      UNITED STATES      CMSLITCA_1103527_007             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MION, GUY                                    4744 W VILLA LINDA                                                                                                                  GLENDALE             AZ     85310      UNITED STATES         EMPT_AZ_0268                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MIRAMAR FIRE EQUIPMENT, INC.                 9630 BLACK MOUNTAIN RD., #M                                                                                                         SAN DIEGO            CA     92126      UNITED STATES           VEN_826347         826347   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MIRANDA DELIVERY SERVICE                     1410 W. 14TH STREET, SUITE 101                                                                                                      TEMPE                AZ     85281      UNITED STATES           VEN_818822         818822   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MIRANDA, CASSANDRA                           10 TUMBLEWEED ST                                                                                                                    TRABUCO CANYON       CA     92679      UNITED STATES          EMP_SC_0114                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MIRANDA, CINDY                               1 ERIC STREET                                                                                                                       LADERA RANCH         CA     92694      UNITED STATES           VEN_777346         777346   No   Vendor         Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MISSION EQUITY MANAGEMENT                    12223 HIGHLAND AVE, #106-277                                                                                                        RANCHO CUCAMONGA     CA     91736      UNITED STATES           VEN_817791         817791   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MISSION POOLS                                27439 BOSTIK COURT                                                                                                                  TEMECULA             CA     92590      UNITED STATES           VEN_226528         226528   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MISSION POOLS                                755 W. GRAND AVENUE                                                                                                                 ESCONDIDO            CA     92025      UNITED STATES           VEN_318191         318191   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MISSION POOLS                                755 WEST GRAND AVE.                                                                                                                 ESCONDIDO            CA     92025      UNITED STATES           VEN_233630         233630   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MISSION SHEET METAL                          5380 EAST HUNTER AVENUE                                                                                                             ANAHEIM              CA     92807      UNITED STATES        CONTRACT_00487                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MISSION SHEET METAL, INC.                    C/O BJORN GREEN, ESQ.                             DEMLER, ARMSTRONG & ROWLAND, LLP     4500 EAST PACIFIC COAST HIGHWAY, 4TH FLOOR   LONG BEACH           CA     90804      UNITED STATES      CMSLITCA_365116_095              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MISSION SHEET METAL, INC.                    C/O BRANDI TUCKER, VP                             5380 EAST HUNTER AVENUE                                                           ANAHEIM              CA     92807      UNITED STATES      CMSLITCA_365116_055              No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MISSION VALLEY TILE & MARBLE                 24000 ALICIA PARKWAY #17-225                                                                                                        MISSION VIEJO        CA     92691      UNITED STATES        CONTRACT_00488                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MITCHELL, THOMAS                             1441 GALAXY                                                                                                                         NEWPORT BEACH        CA     92660      UNITED STATES        EMPT_CORP_0243                 No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MIZUNO USA, INC.                             PO DRAWER 101831                                                                                                                    ATLANTA              GA   30392-1831   UNITED STATES          VEN_MF_110                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
MJD CONCRETE WORKS, INC.                     28244 DOROTHY DRIVE                                                                                                                 AGOURA HILLS         CA   91301-2605   UNITED STATES        CONTRACT_00489                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MJW & ASSOCIATES                             440 E. HARRISON ST.                                                                                                                 CORONA               CA     92879      UNITED STATES           VEN_542731         542731   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MOBILE FIRE EXTINGUISHER INC.                610 N. ECKHOFF ST.                                                                                                                  ORANGE               CA     92868      UNITED STATES        CONTRACT_00490                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MOBILE LOCKSMITH                             3211 FRONTIER WAY                                                                                                                   PAHRUMP              NV     89060      UNITED STATES          VEN_MF_111                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
MOBILE MODULAR MANAGEMENT CORP.              PO BOX 45043                                                                                                                        SAN FRANCISCO        CA   94145-5043   UNITED STATES        CONTRACT_00491        230033   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MOCK, ALEXANDER & DAN                        C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES      CMSLITCA_1103791_015             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MODULAR SPACE CORPORATION                    BANK OF AMERICA LOCKBOX SERVICES                  12603 COLLECTION CENTER DR.                                                       CHICAGO              IL     60693      UNITED STATES        CONTRACT_00492        754347   No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MOFFETT MEADOWS PARTNERS, LLC                4490 VON KARMAN AVENUE                                                                                                              NEWPORT BEACH        CA     92660      UNITED STATES         AFFILIATE_030                 No   Vendor         Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
MOGAB ELECTRIC, INC.                         16742 STAGG ST., SUITE 122                                                                                                          VAN NUYS             CA     91406      UNITED STATES        CONTRACT_00493                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MOLNAR, DANIEL                               3102 NEW HAMPSHIRE DR.                                                                                                              CORONA               CA     92881      UNITED STATES          EMP_SC_0115                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MONDELLO, BARBARA                            2034 EVERGREEN AVE.                                                                                                                 SAN LEANDRO          CA     94577      UNITED STATES          EMP_NC_0116                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MONGA, LLC                                   2029 CENTURY PARK EAST, SUITE 1530                                                                                                  LOS ANGELES          CA     90067      UNITED STATES           VEN_830792         830792   No   Bankruptcy Professional
                                                                                                                                                                                                                                                                                                Undefined           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MON-MAY ENTERPRISES, INC.                    2678 S. LILAC AVE                                                                                                                   BLOOMINGTON          CA     92316      UNITED STATES        CONTRACT_00494                 No   Vendor         Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
MONTANA PROMOTIONAL DESIGNS, INC.            PO BOX 5500                                                                                                                         PAHRUMP              NV     89041      UNITED STATES          VEN_MF_112                   No   Vendor         Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
MONTGOMERY, GERALD & SHANNON                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_058            No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MONTZ, LEAH                                  801 FORD LOOP RD                                                                                                                    PAHRUMP              NV     89048      UNITED STATES          EMP_MF_0216                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MOONSTONE INTERACTIVE, INC.                  2010 CROW CANYON PLACE, SUITE 100                                                                                                   SAN RAMON            CA     94583      UNITED STATES           VEN_802716         802716   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MOORE BIOLOGICAL CONSULTANTS                 10330 TWIN CITIES RD., SUITE 30                                                                                                     GALT                 CA     95632      UNITED STATES           VEN_824579         824579   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MOORE EXCAVATING, INC.                       PO BOX 852                                                                                                                          COLFAX               CA     95713      UNITED STATES           VEN_797574         797574   No   Vendor         Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MORA, JOSH                                   20107 AUTUMN OAK PLACE                                                                                                              WILDOMAR             CA     92595      UNITED STATES           VEN_677142         677142   No   Vendor         Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
MORA, JOSHUA                                 20107 AUTUMN OAK PL                                                                                                                 WILDOMAR             CA     92595      UNITED STATES         EMPT_SC_0307                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MORABITO, CARL                               450 BELVUE LANE                                                                                                                     NEWPORT BEACH        CA     92661      UNITED STATES          EMP_SC_0117                  No   Employee       Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MORABITO, CHRISTIAN                          450 BELVUE LANE                                                                                                                     NEWPORT BEACH        CA     92661      UNITED STATES         EMPT_SC_0266                  No   Employee       Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
MORALES, CARLOS A & MARTHA                   C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_043             No   Litigant       California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
                                                                         Case 11-14019-CSS                                                                            Doc 1-4                       Filed 12/19/11                                Page 18 of 29

MORALES, ERICA                             5811 E. ALFANO AVE                                                                                                                             PAHRUMP               NV     89061      UNITED STATES          EMP_NV_0118                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MORAN UTILITY SERVICES, INC.               27127 CALLE ARROYO, SUITE 1904                                                                                                                 SAN JUAN CAPISTRANO   CA     92675      UNITED STATES           VEN_827374         827374   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MORENC, TARA                               4490 VON KARMAN AVENUE                                                                                                                         NEWPORT BEACH         CA     92660      UNITED STATES           VEN_391403         391403   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MORENC, TARA                               97 SANDCASTLE                                                                                                                                  ALISO VIEJO           CA     92656      UNITED STATES          EMP_SC_0119                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MORENO PLUMBING                            157 N. 5TH                                                                                                                                     RIO VISTA             CA     94571      UNITED STATES           VEN_790911         790911   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MORENO TRENCHING                           PO BOX 458                                                                                                                                     RIO VISTA             CA     94571      UNITED STATES           VEN_230025         230025   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOREVILLE, MICHAEL                         C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_365116_018              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MORGAN STANLEY - SMITH BARNEY              2040 MAIN STREET, 6TH FLOOR                                                                                                                    IRVINE                CA     92614      UNITED STATES        CONTRACT_00495                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
MORGAN STANLEY MM ACCOUNT                  2040 MAIN STREET, 6TH FLOOR                                                                                                                    IRVINE                CA     92614      UNITED STATES           BANK_00017                  No   Vendor          Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls   10/27/2011
MORGAN STANLEY SMITH BARNEY                2040 MAIN ST, STE 600                                                                                                                          IRVINE                CA     92614      UNITED STATES        CONTRACT_00496                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
MORRIS, CHRIS                              1601 BELLUNO COURT                                                                                                                             LAS VEGAS             NV     89117      UNITED STATES          EMP_NV_0120                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MORRIS, LYNEE WELCH-MORRIS & RONALD        C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_004            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MORRIS, NICHOLS, ARSHT & TUNNELL           PO BOX 1347                                                                                                                                    WILMINGTON            DE   19899-1347   UNITED STATES           VEN_344444         344444   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MORRISON & FOERSTER, LLP                   PO BOX 60000                                                                                                                                   SAN FRANCISCO         CA   94160-2497   UNITED STATES           VEN_567103         567103   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOSHFEGH, ALIREZA                          C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                 5752 OBERLIN DRIVE, SUITE 105                         SAN DIEGO             CA     92121      UNITED STATES       CMSLITCA_96610_004              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MOSS, FLOYD                                C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                            ESQ.       & KRIGER                     1752 EAST AVENUE J, PMB 363                           LANCASTER             CA     93535      UNITED STATES     CMSLITCA_MC021755_016             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MOTHER NATURE'S HANG-UPS                   105 EILEEN LANE                                                                                                                                CONCORD               CA     94518      UNITED STATES           VEN_391405         391405   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOTIVATIONAL SYSTEMS INC.                  DEPT 8094                                                                                                                                      LOS ANGELES           CA     90084      UNITED STATES           VEN_230050         230050   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUDY, JANICE                              1406 OLIVE AVENUE                                                                                                                              HUNTINGTON BEACH      CA     92648      UNITED STATES           VEN_391407         391407   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUDY, JANICE                              807 S. VICTORIA AVENUE                                                                                                                         CORONA                CA     92879      UNITED STATES          EMP_SC_0121                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MOUNTAIN CASCADE                           PO BOX 5050                                                                                                                                    LIVERMORE             CA     94551      UNITED STATES           VEN_245497         245497   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN FALLS GOLF COURSE, LLC            4496 S PECOS RD                                                                                                                                LAS VEGAS             NV     98121      UNITED STATES           ENTITY_010                  No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                                10/27/2011
MOUNTAIN FALLS GOLF COURSE, LLC            5001 S. CLUBHOUSE DR.                                                                                                                          PAHRUMP               NV     89061      UNITED STATES           VEN_93051           93051   No   Vendor          Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN FALLS HOMEOWNERS ASSOCIATION      C/O TERRA WEST                                  PO BOX 98813                                                                                   LAS VEGAS             NV     89193      UNITED STATES           VEN_745230         745230   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN FALLS, LLC                        4496 S PECOS RD                                                                                                                                LAS VEGAS             NV     98121      UNITED STATES           ENTITY_011                  No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                                10/27/2011
MOUNTAIN FALLS, LLC                        500 PILOT ROAD, SUITE G                                                                                                                        LAS VEGAS             NV     89119      UNITED STATES            VEN_5132           5132    No   Vendor          Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN VIEW GLASS & MIRROR, INC.         9745 FOOTHILL BLVD                                                                                                                             RANCHO CUCAMONGA      CA     91730      UNITED STATES           VEN_803188         803188   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN'S EDGE INFRASTRUCTURE, LLC        3455 CLIFF SHADOWS PARKWAY, SUITE 220                                                                                                          LAS VEGAS             NV     89129      UNITED STATES           VEN_843702         843702   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx                         12/8/2011
MOUNTAIN'S EDGE MARKETING CO-OP, LLC       3455 CLIFF SHADOWS PKWY, SUITE 220                                                                                                             LAS VEGAS             NV     89129      UNITED STATES           VEN_841491         841491   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN'S EDGE MASTER ASSOCIATION         C/O CAPITAL CONSULTANTS MGMT CORP               8360 E. VIA DE VENTURA, SUITE L100                                                             SCOTTSDALE            AZ     85258      UNITED STATES           VEN_832974         832974   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOUNTAIN'S EDGE, LLC                       3455 CLIFF SHADOWS PARKWAY SUITE 220                                                                                                           LAS VEGAS             NV     89129      UNITED STATES        CONTRACT_00497                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
MOVE SALES, INC.                           PO BOX 4455                                     ATTN: ACCTS. RECEIVABLE                                                                        SCOTTSDALE            AZ   85261-4455   UNITED STATES           VEN_720366         720366   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOYNAHAM, GREG                             500 PILOT ROAD, STE. G                                                                                                                         LAS VEGAS             NV     89119      UNITED STATES           VEN_338714         338714   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MOYNAHAN, GREGORY                          4433 JACKBORO DR.                                                                                                                              PAHRUMP               NV     89061      UNITED STATES          EMP_NV_0122                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MR. APPLIANCE                              841 W. FAIRMONT DRIVE, #11                                                                                                                     TEMPE                 AZ     85282      UNITED STATES           VEN_753686         753686   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MR. CRANE, INC.                            647 N. HARITON ST.                                                                                                                             ORANGE                CA   92868-1311   UNITED STATES           VEN_825061         825061   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MR. ELECTRIC                               1155 W. 23RD STREET, SUITE 3B                                                                                                                  TEMPE                 AZ     85282      UNITED STATES           VEN_587315         587315   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MROZ, JOHN                                 5800 MARY LOU                                                                                                                                  PAHRUMP               NV     89061      UNITED STATES         EMPT_MF_0334                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MT DIABLO UNIFIED SCHOOL DISTRICT          1936 CARLOTTA DRIVE                                                                                                                            CONCORD               CA     94519      UNITED STATES           VEN_381317         381317   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MUEHSAM, FREDERICK J. & TAMMY              C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                           MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_CA1100369_044             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MULLEN TILE, INC.                          850-B PARKER STREET                                                                                                                            SANTA CLARA           CA     95050      UNITED STATES           VEN_431572         431572   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MUNIZ PIPELINE CO., INC.                   1807 TANAGER DRIVE                                                                                                                             COSTA MESA            CA     92626      UNITED STATES           VEN_395479         395479   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MUNNS, SHERYL                              1433 ERSKINE AVENUE                                                                                                                            LAS VEGAS             NV     89123      UNITED STATES         EMPT_NV_0248                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MURPHY, SEAN                               1210 VONDELL DR.                                                                                                                               PAHRUMP               NV     89048      UNITED STATES          EMP_MF_0217                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MUSHINSKIE, PATRICK                        C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                       IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_041             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MUSHINSKIE, SHAWN                          C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                       IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_042             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MUSICK, JESSICA                            PO BOX 5287                                                                                                                                    PAHRUMP               NV     89041      UNITED STATES         EMPT_MF_0345                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
MV PRINTING SOLUTIONS                      23531 RIDGE ROUTE DRIVE, SUITE A                                                                                                               LAGUNA HILLS          CA     92653      UNITED STATES           VEN_776790         776790   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MY OFFICE PRODUCTS.COM                     PO BOX 306003                                                                                                                                  NASHVILLE             TN   37230-6003   UNITED STATES           VEN_556244         556244   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MYERS PIPELINE, INC.                       9950 ALDER AVE                                                                                                                                 BLOOMINGTON           CA     92316      UNITED STATES           VEN_719040         719040   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
MYERS, GREGORY                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                       IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_043             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
MYERS, TERESIA                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850                       IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_044             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NAIMI & DILBECK, CHTD TRUST ACCOUNT        6053 S. FORT APACHE RD., SUITE 120                                                                                                             LAS VEGAS             NV     89148      UNITED STATES           VEN_838858         838858   No   Vendor          Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NANBOM ENTERPRISES,INC.DBA ASPEN INSULAT   1940 S. UPLAND AVE                                                                                                                             PAHRUMP               NV     89048      UNITED STATES           VEN_836553         836553   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATHAN & ASSOCIATES, INC.                  7600 E. DOUBLETREE RANCH RD., SUITE 150                                                                                                        SCOTTSDALE            AZ     85258      UNITED STATES        CONTRACT_00498          N/A    No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NATIONAL BENEFITS SERVICES, LLC            8523 S. REDWOOD RD.                                                                                                                            WEST JORDAN           UT     84088      UNITED STATES           VEN_839594         839594   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATIONAL CITY GOLF FINANCE                 NATIONAL CITY COMMERICAL CAPITAL                ATTN LEASE SERVICING/SET UP PROCESSING PO BOX 931034                                           CLEVELAND             OH     44193      UNITED STATES          VEN_MF_113                   No   Vendor          Equipment Lease     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NATIONAL CITY GOLF FINANCE (PNCEF)         NATIONAL CITY COMMERICAL CAPITAL                ATTN LEASE SERVICING/SET UP PROCESSING, PO BOX 931034                                          CLEVELAND             OH     44193      UNITED STATES        CONTRACT_00499                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NATIONAL CONSTRUCTION RENTALS, INC.        1355 FELIPE AVE                                                                                                                                SAN JOSE              CA     95122      UNITED STATES           VEN_734901         734901   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATIONAL ELECTRIC & CABLE, INC.            2300 N. BATAVIA                                                                                                                                ORANGE                CA     92865      UNITED STATES           VEN_751082         751082   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATIONAL NOTARY ASSOCIATION                9350 DE SOTO AVE.                               PO BOX 2402                                                                                    CHATSWORTH            CA   91313-2402   UNITED STATES           VEN_233761         233761   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATIONAL SCHEDULE MASTERS                  PO BOX 1616                                                                                                                                    SAN MARCOS            CA   92079-1616   UNITED STATES        CONTRACT_00500        645950   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NATIONAL SIGNS, LLC                        3830 ROCKBOTTOM STREET                                                                                                                         N. LAS VEGAS          NV     89030      UNITED STATES           VEN_357106         357106   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATIONAL TAX CONSULTING NETWORK            13402 N. SCOTTSDALE RD.                         B-185, SUITE 102                                                                               SCOTTSDALE            AZ     85254      UNITED STATES        CONTRACT_00501        841723   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NATIONAL TAX CONSULTING NETWORK, INC.      13402 N. SCOTTSDALE RD.                         B-185, SUITE 102                                                                               SCOTTSDALE            AZ     85254      UNITED STATES           VEN_841723         841723   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATIONAL UNION FIRE INSURANCE COMPANY      175 WATER STREET                                18TH FLOOR                                                                                     NEW YORK              NY     10038      UNITED STATES        CONTRACT_00502                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NATIONWIDE GOURMETS OF ARIZONA             8399 W. VAN BUREN BLDG 2, ST. 207                                                                                                              TOLLESON              AZ     85353      UNITED STATES        CONTRACT_00503        195004   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NATIONWIDE GOURMETS OF ARIZONA             8399 W. VAN BUREN BLDG 2, SUITE 207                                                                                                            TOLLESON              AZ     85353      UNITED STATES           VEN_195004         195004   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NATOUF, RAHMAN & CARLENA                   C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_059            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NATURES IMAGE, INC.                        20361 HERMANA CIRCLE                                                                                                                           LAKE FOREST           CA     92630      UNITED STATES        CONTRACT_00504                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NAVARRO, PETE                              14021 HUNTERVALE DR.                                                                                                                           CORONA                CA     92880      UNITED STATES          EMP_SC_0123                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NAVARRO, PETE                              9037 YEW ST                                                                                                                                    RANCHO CUCAMONGA      CA     91730      UNITED STATES          EMP_SC_0124                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NCM DEMOLITION & REMEDIATION, LP           404 N. BERRY ST.                                                                                                                               BREA                  CA     92821      UNITED STATES        CONTRACT_00505                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEAL, CHARNETTE                            3 VALMONT WAY                                                                                                                                  LADERA RANCH          CA     92694      UNITED STATES          EMP_SC_0125                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NED CLYDE CONSTRUCTION, INC.               159 MASON CIRCLE                                                                                                                               CONCORD               CA     94520      UNITED STATES        CONTRACT_00506                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NED J. ARAUJO                              1391 CODY COURT                                                                                                                                UPLAND                CA   91786-2123   UNITED STATES           VEN_815234         815234   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEFF, CHRISTOPHER S. & NICOLE M.           C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                           MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_CA1100369_045             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NEJEDLY CONTRACTORS                        121 PINNACLE RIDGE COURT                                                                                                                       DANVILLE              CA     94526      UNITED STATES           VEN_281105         281105   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NELSON DRYWALL PATCH-N-MATCH               4646 IROQUOIS AVE                                                                                                                              LAKEWOOD              CA     90713      UNITED STATES           VEN_644738         644738   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NELSON, HARLEY                             5985 MUSKETEER LANE                                                                                                                            LAS VEGAS             NV     89130      UNITED STATES          EMP_NV_0127                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NELSON, WENDY                              4 CALELLA                                                                                                                                      LAGUNA NIGUEL         CA     92677      UNITED STATES          EMP_SC_0126                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NETWORK PAVERS                             8044 HIGH STREET                                                                                                                               LA MESA               CA     91941      UNITED STATES           VEN_338010         338010   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA BEVERAGE COMPANY                    FILE 50950                                                                                                                                     LOS ANGELES           CA   90074-0950   UNITED STATES          VEN_MF_114                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NEVADA DEPARTMENT OF ENVIRONMENTAL         1771 E. FLAMINGO ROAD SUITE 121-A                                                                                                              LAS VEGAS             NV     89119      UNITED STATES        CONTRACT_00507        503708   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA DEPARTMENT OF TAXATION              ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 52674                                                                                   PHOENIX               AZ   85072-2614   UNITED STATES        CMSTX_189991_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx                         10/21/2011
NEVADA DEPARTMENT OF TAXATION              ATTN: SALES TAX DEPARTMENT                      PO BOX 52674                                                                                   PHOENIX               AZ   85072-2614   UNITED STATES        CMSTX_189991_2                 No   Taxing AuthoritySales Tax           Taxing and Regulatory agency payments Update 9-30-11.xlsx                         10/21/2011
NEVADA DEPARTMENT OF TAXATION              PO BOX 52609                                                                                                                                   PHOENIX               AZ   85072-2609   UNITED STATES          VEN_MF_115                   No   Vendor          Taxing Authority    APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NEVADA DEPARTMENT OF TAXATION              PO BOX 52674                                                                                                                                   PHOENIX               AZ     85072      UNITED STATES        CONTRACT_00508         85072   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA DEPT.OF ENVIRONMENTAL PROTECTION    1771 E. FLAMINGO ROAD,SUITE 121-A                                                                                                              LAS VEGAS             NV     89119      UNITED STATES           VEN_503708         503708   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA DIVISION OF ENVIRONMENTAL PROTECT   901 S. STEWART STREET, SUITE 4001                                                                                                              CARSON CITY           NV     89701      UNITED STATES          VEN_MF_116                   No   Vendor          Regulatory Agency   APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NEVADA DIVISION OF ENVIRONMENTAL           ATTN: PERMIT FEE DEPARTMENT                     1771 E FLAMINGO RD                       STE 121-A                                 STE 121-A   LAS VEGAS             NV     89119      UNITED STATES        CMSTX_503708_1                 No   Taxing AuthorityPermit Fee          Taxing and Regulatory agency payments Update 9-30-11.xlsx                         10/21/2011
NEVADA DIVISION OF HEALTH                  4150 TECHNOLOGY WAY, SUITE 101                                                                                                                 CARSON CITY           NV     89706      UNITED STATES          VEN_MF_117                   No   Vendor          Regulatory Agency   APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NEVADA DIVISION OF HEALTH                  ATTN: PERMIT FEE DEPARTMENT                     405 TECHNOLOGY WAY                       SUITE # 101                                           CARSON CITY           NV     89706      UNITED STATES         CMSTX_NDH_1                   No   Taxing AuthorityPermit Fee          Taxing and Regulatory agency payments Update 9-30-11.xlsx                         10/21/2011
NEVADA LEGAL PRESS                         3301 SOUTH MALIBOU AVENUE                                                                                                                      PAHRUMP               NV   89048-6489   UNITED STATES           VEN_451936         451936   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA LINEN SUPPLY                        3960 W. MESA VISTA AVENUE                                                                                                                      LAS VEGAS             NV     89118      UNITED STATES        CONTRACT_00509        698963   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA POWER CO.                           PO BOX 230                                                                                                                                     LAS VEGAS             NV   89151-0230   UNITED STATES           VEN_410114         410114   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA POWER CO.                           PO BOX 30086                                                                                                                                   RENO                  NV   89520-3086   UNITED STATES           VEN_190617         190617   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA SECRETARY OF STATE                  202 NORTH CARSON STREET                                                                                                                        CARSON CITY           NV     89701      UNITED STATES        CONTRACT_00510        227344   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA SITE SERVICES                       PO BOX 1310                                                                                                                                    PAHRUMP               NV     89041      UNITED STATES        CONTRACT_00511        734098   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA STATE BANK                          BRANCH ADMINISTRATION                           ATTN ESTELLE MCNEIL                      750 E WARM SPRINGS RD                                 LAS VEGAS             NV     89119      UNITED STATES        CONTRACT_00512                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA STATE BANK                          PO BOX 990                                                                                                                                     LAS VEGAS             NV   89125-0990   UNITED STATES        CONTRACT_00513                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA STATE CONTRACTORS BOARD             2310 CORPORATE CIRCLE, SUITE 200                                                                                                               HENDERSON             NV     89074      UNITED STATES           VEN_190465         190465   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA STATE CONTRACTOR'S BOARD            2310 CORPORATE CIRCLE SUITE 200                                                                                                                HENDERSON             NV     89074      UNITED STATES        CONTRACT_00514        190465   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA STATE HEALTH DIVISION               1179 FAIRVIEW DRIVE #101                                                                                                                       CARSON CITY           NV     89701      UNITED STATES        CONTRACT_00515        658857   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA STATE TREASURER, ENVIRON. PROTECT   901 S. STEART STREET, SUITE 4001                                                                                                               CARSON CITY           NV   89701-5249   UNITED STATES           VEN_665299         665299   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA TITLE CO.                           2500 N. BUFFALO #150                                                                                                                           LAS VEGAS             NV     89128      UNITED STATES           VEN_523725         523725   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA WATER SWEEP, INC.                   231 WINDSONG DR.                                                                                                                               HENDERSON             NV   89074-4259   UNITED STATES           VEN_245286         245286   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA WINDOW SUPPLY,INC. DBA ABC WINDOW   1455 COLUMBIA AVE                                                                                                                              RIVERSIDE             CA     92507      UNITED STATES           VEN_801529         801529   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEVADA WINDOW SUPPLY,INC. DBA ABC WINDOW   1455 COLUMBIA AVE                                                                                                                              RIVERSIDE             CA     92507      UNITED STATES        CONTRACT_00516                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEVADA WINDOWS & DOORS, INC.               5417 BANJO ST.                                                                                                                                 LAS VEGAS             NV     89107      UNITED STATES        CONTRACT_00517        827690   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEW CONDOS ONLINE, INC.                    8885 RIO SAN DIEGO DR., SUITE 301                                                                                                              SAN DIEGO             CA     92108      UNITED STATES           VEN_836764         836764   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEW DIRECTIONS SIGN SERVICE                PO BOX 2052                                                                                                                                    MORGAN HILL           CA   95038-2052   UNITED STATES           VEN_230914         230914   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEW ELECTRIC, INC.                         3338 W. VERNON                                                                                                                                 PHOENIX               AZ     85009      UNITED STATES         VEN_758479_B         758479   No   Vendor          Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                                11/23/2011
NEW ELECTRIC, INC.                         7310 W. ROOSEVELT ST., #14                                                                                                                     PHOENIX               AZ     85043      UNITED STATES        CONTRACT_00518        758479   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NEW HOMES MAGAZINE                         181 BUTCHER ROAD                                                                                                                               VACAVILLE             CA   95687-5656   UNITED STATES           VEN_391426         391426   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEW HOMES SECTION                          18892 E. SEAGULL DRIVE                                                                                                                         QUEEN CREEK           AZ     85242      UNITED STATES           VEN_802898         802898   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEW WEST DESIGNS, INC.                     30 RANCHO CIRCLE                                                                                                                               LAKE FOREST           CA     92630      UNITED STATES           VEN_548295         548295   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEWMEYER & DILLION                         895 DOVE STREET, FIFTH FLOOR                                                                                                                   NEWPORT BEACH         CA     92660      UNITED STATES           VEN_225277         225277   No   Vendor          Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEWMEYER & DILLION CLIENT TRUST ACCT       C/O NEWMEYER & DILLION LLP                      895 DOVE ST., 5TH FLOOR                                                                        NEWPORT BEACH         CA     92660      UNITED STATES           VEN_820041         820041   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEWPORT BEACH ASSOCIATION OF REALTORS      401 OLD NEWPORT BLVD, SUITE 100                                                                                                                NEWPORT BEACH         CA     92663      UNITED STATES           VEN_744974         744974   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEWPORT MESA DESIGN                        1835 NEWPORT BLVD, A109, #124                                                                                                                  COSTA MESA            CA     92627      UNITED STATES           VEN_804009         804009   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEXT GEN INTEGRATED SOLUTIONS              7165 BERMUDA RD.                                                                                                                               LAS VEGAS             NV     89119      UNITED STATES           VEN_717634         717634   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEXTG NETWORKS, INC.                       890 TASMAN DRIVE                                                                                                                               MILPITAS              CA     95035      UNITED STATES           VEN_836086         836086   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEXUS IS                                   PO BOX 512167                                                                                                                                  LOS ANGELES           CA   90051-8167   UNITED STATES           VEN_741888         741888   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NEZAT, BYRON                               8308 ANTLER RIDGE AVE                                                                                                                          LAS VEGAS             NV     89149      UNITED STATES         EMPT_NV_0249                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NGNA, INC. DBA BATH TECH                   11609 N. BARON DR.                                                                                                                             FOUNTAIN HILLS        AZ     85268      UNITED STATES           VEN_672712         672712   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NGUOI VIET                                 14771 MORAN ST                                                                                                                                 WESTMINSTER           CA   92683-5599   UNITED STATES           VEN_391436         391436   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NGUYEN, HIEN                               13901 D ERIN ST.                                                                                                                               GARDEN GROVE          CA     92844      UNITED STATES          EMP_SC_0128                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NGUYEN, LINDA                              3717 SEINE COURT                                                                                                                               SAN JOSE              CA     95127      UNITED STATES         EMPT_NC_0327                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NGUYEN, LUAN                               C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                 5752 OBERLIN DRIVE, SUITE 105                         SAN DIEGO             CA     92121      UNITED STATES       CMSLITCA_96610_009              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NGUYEN, MILTON KHUU & HEYEN                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_003            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NGUYEN, TAN                                C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_173057_022              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NGUYEN, TONY                               C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_007            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NGUYEN, VICTOR & HOA                       C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_173057_037              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NIELSEN LUMBER, INC.                       1224 GREENFIELD DRIVE                                                                                                                          EL CAJON              CA     92021      UNITED STATES           VEN_309981         309981   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NIELSON CONSTRUCTION                       PO BOX 927                                                                                                                                     SHINGLE SPRINGS       CA     95682      UNITED STATES           VEN_780861         780861   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NIKKEI WEST                                PO BOX 22400                                                                                                                                   SACRAMENTO            CA     95822      UNITED STATES           VEN_824077         824077   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NINYO & MOORE                              5710 RUFFIN RD.                                                                                                                                SAN DIEGO             CA     92123      UNITED STATES           VEN_690321         690321   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NITTANY LION INVESTMENTS, LLC              2676 W. ALAMO AVE                                                                                                                              LITTLETON             CO     80120      UNITED STATES           VEN_810425         810425   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NO RUSH CHARGE REPROGRAPHICS, INC.         17981 SKY PARK CIRCLE, SUITE Q                                                                                                                 IRVINE                CA     92614      UNITED STATES           VEN_825336         825336   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NOR-CAL FIRE EQUIPMENT                     4508 DANIELLE PLACE                                                                                                                            SALIDA                CA     95368      UNITED STATES           VEN_733360         733360   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NOR-CAL MOVING SERVICES                    2001 MARINA BLVD                                                                                                                               SAN LEANDRO           CA   94577-3204   UNITED STATES           VEN_840923         840923   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NORCO COMPANIES                            PO BOX 4836                                                                                                                                    ANAHEIM               CA     92803      UNITED STATES           VEN_220513         220513   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NORCRAFT COMPANIES                         3020 DENMARK AVE, SUITE 100                                                                                                                    EAGAN                 MN     55121      UNITED STATES        CONTRACT_00519                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NORMAN MASONRY                             PO BOX 1083                                                                                                                                    TRACY                 CA     95378      UNITED STATES           VEN_381376         381376   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NORTH COUNTY TIMES                         PO BOX 742548                                                                                                                                  CINCINNATI            OH   45274-2548   UNITED STATES           VEN_233832         233832   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NORTH STATE BIA                            1536 EUREKA RD.                                                                                                                                ROSEVILLE             CA   95661-3055   UNITED STATES           VEN_756431         756431   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NORTH VALLEY ENTERPRISES, LLC              901 N. GREEN VALLEY PARKWAY #190                                                                                                               HENDERSON             NV   89074-7104   UNITED STATES        CONTRACT_00520                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NORTHBROOK, INC., DBA SIERRA REFINISHING   PO BOX 1560                                                                                                                                    FAIR OAKS             CA     95628      UNITED STATES           VEN_230076         230076   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NORTHERN SAFETY & INDUSTRIAL               PO BOX 4250                                                                                                                                    UTICA                 NY   13504-4250   UNITED STATES          VEN_MF_119                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NORTHERN TOOL & EQUIPMENT                  HSBC BANK USA                                   PO BOX 4160                                                                                    CAROL STREAM          IL   60197-5219   UNITED STATES          VEN_MF_120                   No   Vendor          Equipment Lease     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                            10/20/2011
NORTON, ARNOLD                             C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC    1400 BRISTOL STREET NORTH, SUITE 145                  NEWPORT BEACH         CA     92660      UNITED STATES       CMSLITCA_92941_010              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NOSS, REMINGTON                            C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                           BOJIC & LIVESAY LLP                      5101 EAST LA PALMA AVENUE, SECOND FLOOR               ANAHEIM               CA     92807      UNITED STATES      CMSLITCA_1103527_010             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NOTO, MICHELLE                             C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_SCV26452_007             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NOTO, MICHELLE                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                            ESQ. MALANGA LIBERTINO, LLP             8306 WILSHIRE BLVD., SUITE 1113                       BEVERLY HILLS         CA     90211      UNITED STATES    CMSLITCA_SCV0028445_005            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                               10/27/2011
NTB REALTY ADVISORS, INC.                  32768 BIJAN COURT, SUITE 100                                                                                                                   TEMECULA              CA     92592      UNITED STATES        CONTRACT_00521                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NUNNENKAMP, KURT                           1115 CRESCENT DRIVE                                                                                                                            BRENTWOOD             CA     94513      UNITED STATES           VEN_391448         391448   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NUNNENKAMP, KURT                           2608 CAMEL BACK ROAD                                                                                                                           BRENTWOOD             CA     94513      UNITED STATES          EMP_NC_0129                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                         10/21/2011
NUVIS LANDSCAPE ARCHITECTURE & PLANNING    3151 AIRWAY AVENUE, SUITE J-3                                                                                                                  COSTA MESA            CA   92626-4640   UNITED STATES           VEN_421024         421024   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx              10/19/2011
NV ENERGY                                  7155 LINDELL ROAD                               PO BOX 98910 MSB54RN                                                                           LAS VEGAS             NV     89151      UNITED STATES        CONTRACT_00522                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
NV ENERGY                                  PO BOX 30086                                                                                                                                   RENO                  NV   89520-3086   UNITED STATES        CONTRACT_00523        826591   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                               12/13/2011
                                                                          Case 11-14019-CSS                                                                         Doc 1-4         Filed 12/19/11                                Page 19 of 29

NV ENERGY                                  PO BOX 98910                                                                                                                   LAS VEGAS            NV      89151      UNITED STATES            VEN_825299         825299   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
NYE COUNTY                                 PO BOX 153                                                                                                                     TONOPAH              NV      89049      UNITED STATES        CONTRACT_00524                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY ASSESSOR                        ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 271                                                                     TONOPAH              NV      89049      UNITED STATES         CMSTX_829513_1                 No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
NYE COUNTY ASSESSOR                        ATTN: SALES TAX DEPARTMENT                      PO BOX 271                                                                     TONOPAH              NV      89049      UNITED STATES         CMSTX_829513_2                 No   Taxing AuthoritySales Tax            Maintain Creditors                                                    11/11/2011
NYE COUNTY ASSESSOR                        PO BOX 271                                                                                                                     TONOPAH              NV      89049      UNITED STATES        CONTRACT_00525         829513   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY CLERK                           250 N. HIGHWAY 160 SUITE 1                                                                                                     PAHRUMP              NV      89060      UNITED STATES        CONTRACT_00526         634987   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY PLANNING                        250 N. HIGHWAY 160 SUITE 1                                                                                                     PAHRUMP              NV      89060      UNITED STATES        CONTRACT_00527         631048   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY PUBLIC WORKS                    PO BOX 887                                                                                                                     TONOPAH              NV      89049      UNITED STATES        CONTRACT_00528         691104   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY SHERIFF                         PO BOX 831                                                                                                                     TONOPAH              NV      89049      UNITED STATES        CONTRACT_00529         618783   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY SHERIFF'S DEPT                  PO BOX 831                                                                                                                     TONOPAH              NV      89049      UNITED STATES           VEN_MF_122                   No   Vendor          Municipality         APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
NYE COUNTY SHERRIFF'S DEPARTMENT           ATTN: PERMIT FEE DEPARTMENT                     PO BOX 831                                                                     TONOPAH              NV      89049      UNITED STATES         CMSTX_618783_1                 No   Taxing AuthorityPermit Fee           Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
NYE COUNTY TREASURER                       ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 473                                                                     TONEPAH              NV    89049-0473   UNITED STATES         CMSTX_621915_1                 No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
NYE COUNTY TREASURER                       PO BOX 473                                                                                                                     TONOPAH              NV      89049      UNITED STATES        CONTRACT_00530         621915   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
NYE COUNTY, NEVADA                         250 N. HIGHWAY 160                              SUITE 1                                                                        PAHRUMP              NV      89060      UNITED STATES             BOND_035                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
OAKES, RONALD                              3480 S NATIONAL                                                                                                                PAHRUMP              NV      89048      UNITED STATES          EMP_MF_0218                   No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
OAKLEY SALES CORP.                         FILE 55716                                                                                                                     LOS ANGELES          CA    90074-5716   UNITED STATES           VEN_MF_124                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
OAKRIDGE LANDSCAPE, INC.                   8616 HASKELL AVE                                                                                                               NORTH HILLS          CA      91343      UNITED STATES            VEN_772326         772326   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OAKWOOD CORPORATE HOUSING                  FILE 056739                                                                                                                    LOS ANGELES          CA    90074-6739   UNITED STATES            VEN_753707         753707   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OBC PUBLISHING COMPANY                     22410 HAWTHORNE BLVD, #1                                                                                                       TORRANCE             CA      90503      UNITED STATES            VEN_823496         823496   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OC 19 MASTER FUND L.P. - LCG               C/O LUXOR CAPITAL PARTNERS, LP                  767 FIFTH AVENUE, 19TH FLOOR                                                   NEW YORK             NY      10153      UNITED STATES        CONTRACT_00531                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
OC CONCRETE, INC.                          4308 E. LA PALMA AVE                                                                                                           ANAHEIM              CA      92807      UNITED STATES        CONTRACT_00532                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
OCB REPROGRAPHICS, INC.                    17721 MITCHELL NORTH                                                                                                           IRVINE               CA      92614      UNITED STATES            VEN_244380         244380   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OCCAPA                                     PO BOX 10305                                                                                                                   WESTMINSTER          CA   92685-03056   UNITED STATES            VEN_377967         377967   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OCDI LLC                                   7937 E. GRANADA RD.                                                                                                            SCOTTSDALE           AZ      85257      UNITED STATES            VEN_789515         789515   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
O'DAY CONSULTANTS                          2710 LOKER AVE WEST, SUITE 100                                                                                                 CARLSBAD             CA      92010      UNITED STATES            VEN_815277         815277   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ODDEN, GERALD                              1405 LAZY HILL RANCH WAY                                                                                                       N. LAS VEGAS         NV      89081      UNITED STATES          EMP_NV_0130                   No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ODYSSEY ENVIRONMENTAL CONSULTING, LLC      7224 CRANDEN PARK AVE                                                                                                          LAS VEGAS            NV      89131      UNITED STATES            VEN_801203         801203   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFICE DEPOT                               PO BOX 70001                                                                                                                   SANTA ANA            CA    92725-0001   UNITED STATES            VEN_539815         539815   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFICE DEPOT                               PO BOX 70025                                                                                                                   LOS ANGELES          CA    90074-0025   UNITED STATES            VEN_230121         230121   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFICE DEPOT                               PO BOX 88040                                                                                                                   CHICAGO              IL    60680-1040   UNITED STATES           VEN_MF_125                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
OFFICE OF SECRETARY OF STATE NOTARY        101 N. CARSON STREET                            SUITE 302                                                                      CARSON CITY          NV      89710      UNITED STATES             BOND_036                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
OFFICE SOLUTIONS                           23303 LA PALMA AVENUE                                                                                                          YORBA LINDA          CA      92887      UNITED STATES            VEN_412662         412662   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFICEMART, INC.                           2131 E. BROADWAY, SUITE 31                                                                                                     TEMPE                AZ      85282      UNITED STATES            VEN_646012         646012   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFICIA IMAGING                            7323 ENGINEER RD.                                                                                                              SAN DIEGO            CA      92111      UNITED STATES            VEN_748043         748043   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFSITE DEVELOPMENT, INC.                  1637 W. BROOKS AVE                                                                                                             N. LAS VEGAS         NV      89032      UNITED STATES            VEN_627321         627321   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OFFSITE PRODUCTIONS                        2294 F. NORTH BATAVIA STREET                                                                                                   ORANGE               CA    92865-3108   UNITED STATES            VEN_227125         227125   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OJ INSULATION L.P.                         2061 ALDERGROVE AVE                                                                                                            ESCONDIDO            CA      92029      UNITED STATES            VEN_756684         756684   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OLD WORLD IRON WORKS, LLC                  730 SUSANNA WAY                                                                                                                HENDERSON            NV      89015      UNITED STATES            VEN_696221         696221   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OLDHAM, CONRAD                             5120 GRAYSTONE                                                                                                                 PAHRUMP              NV      89061      UNITED STATES          EMP_MF_0219                   No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
OLDHAM, JOHN                               5120 GRAYSTONE                                                                                                                 PAHRUMP              NV      89061      UNITED STATES          EMPT_MF_0348                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
OLIVA, NELSON & VALERIE                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES    CMSLITCA_DEL1100369_060             No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
OLIVENHAIN WATER DISTRICT                  1966 OLIVENHAIN ROAD                                                                                                           ENCINITAS            CA      92024      UNITED STATES            VEN_440250         440250   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OLIVER, MARTHA                             3866 E. MARLENE DR                                                                                                             GILBERT              AZ      85296      UNITED STATES        EMPT_SWSE_0287                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
OLIVER, MARTHA                             8800 E. CHAPARRAL RD., #260                                                                                                    SCOTTSDALE           AZ      85250      UNITED STATES            VEN_628842         628842   No   Vendor          Employee             Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OLOOMI, MARYANN                            C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES      CMSLITCA_365116_022               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
O'MALLEY, ANTHONY                          4437 POINT BREEZE DRIVE                                                                                                        N. LAS VEGAS         NV      89031      UNITED STATES          EMPT_NV_0320                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
O'MELVENY & MYERS LLP                      PO BOX 894436                                                                                                                  LOS ANGELES          CA    90189-4436   UNITED STATES            VEN_391452         391452   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ON TRAC OVERHEAD DOOR COMPANY, INC.        1430 RICHARDSON ST.                                                                                                            SAN BERNARDINO       CA      92408      UNITED STATES            VEN_660121         660121   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ONCE NEW                                   2031 E. GAMEBIRD RD. #B&C                                                                                                      PAHRUMP              NV      89048      UNITED STATES           VEN_MF_126                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
ONE EIGHTEEN ADVERTISING                   12400 WILSHIRE BLVD, SUITE 540                                                                                                 LOS ANGELES          CA      90025      UNITED STATES            VEN_825504         825504   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ONE SOURCE                                 4847 HOPYARD RD, #4228                                                                                                         PLEASANTON           CA      94588      UNITED STATES            VEN_391466         391466   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
O'NEAL, GREGORY                            C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                      2155 CHICAGO AVE., SUITE 300            RIVERSIDE            CA      92507      UNITED STATES      CMSLITCA_1105650_006              No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
ON-SITE HEALTH, INC.                       ORANGE COUNTY DIVISION                          PO BOX 280                                                                     AGOURA HILLS         CA    91376-0280   UNITED STATES            VEN_481545         481545   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ONTARIO FIRE EXTINGUISHER CO.              2732 S. PARCO AVE                                                                                                              ONTARIO              CA      91761      UNITED STATES            VEN_767156         767156   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA AINSLEY PARK 84, LLC                   10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00533           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA ASHFORD 94, LLC                        10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00534           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA ASTORIA 60, LLC                        10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00535           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA BRIGHTON 17, LLC                       10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00536           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA MARQUIS 89, LLC                        10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00537           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA MAYBECK 69, LLC                        10880 WILSHIRE BLVD, SUITE 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES            VEN_808296         808296   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA MIRABELLA 60, LLC                      10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00538           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA MURPHY RANCH 285, LLC                  4490 VON KARMAN AVE                                                                                                            NEWPORT BEACH        CA      92660      UNITED STATES            VEN_842072         842072   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA RESIDENTIAL INVESTMENTS I, L.P.        10880 WILSHIRE BLVD., STE. 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES        CONTRACT_00539           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORA SUNSET COVE 47, LLC                    10880 WILSHIRE BLVD, SUITE 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES            VEN_808261         808261   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA VERANDAS 53, LLC                       10880 WILSHIRE BLVD, SUITE 1420                                                                                                LOS ANGELES          CA      90024      UNITED STATES            VEN_808325         808325   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA VERANDAS 53, LLC                       4490 VON KARMAN AVE                                                                                                            NEWPORT BEACH        CA      92660      UNITED STATES            VEN_785830         785830   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA VICTORY 125, LLC                       10880 WILSHIRE BLVD,SUITE 1420                                                                                                 LOS ANGELES          CA      90024      UNITED STATES            VEN_789865         789865   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORA VINEYARD 162, LLC                      10880 WILSHIRE BLVD,SUITE 1420                                                                                                 LOS ANGELES          CA      90024      UNITED STATES            VEN_789873         789873   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORACAL SUPPLY COMPANY, INC.                C/O DOUG HUENNEKENS, AGENT                      13041 FAIRMONT AVENUE                                                          SANTA ANA            CA      92705      UNITED STATES      CMSLITCA_365116_056               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
ORACLE CREDIT CORPORATION                  LEASE ADMINISTRATION CENTER                     PO BOX 371992                                                                  PITTSBURGH           PA    15250-7992   UNITED STATES        CONTRACT_00540         790858   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORACLE USA, INC.                           PO BOX 44471                                                                                                                   SAN FRANCISCO        CA    94144-4471   UNITED STATES            VEN_659024         659024   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE COAST MASONRY ACQUISITION CORP      601 N BATAVIA                                                                                                                  ORANGE               CA      92868      UNITED STATES        CONTRACT_00541                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ORANGE COUNTY ASSOC OF REALTOR             25552 LA PAZ ROAD                                                                                                              LAGUNA HILLS         CA      92653      UNITED STATES            VEN_391472         391472   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE COUNTY CLERK                        PO BOX 238                                                                                                                     SANTA ANA            CA      92702      UNITED STATES            VEN_220530         220530   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE COUNTY CLERK - RECORDER             PO BOX 567                                                                                                                     SANTA ANA            CA    92702-0567   UNITED STATES            VEN_841571         841571   No   Vendor          Municipality         Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE COUNTY FIRE AUTHORITY               1 FIRE AUTHORITY RD                                                                                                            IRVINE               CA      92602      UNITED STATES            VEN_391474                  No   Vendor          Municipality         Maintain Creditors                                                     11/9/2011
ORANGE COUNTY PEST                         23182 ALCALDE DRIVE, SUITE J                                                                                                   LAGUNA HILLS         CA      92653      UNITED STATES            VEN_391476         391476   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE COUNTY TAX COLLECTOR                ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 1438                                                                    SANTA ANA            CA      92702      UNITED STATES         CMSTX_223685_1                 No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
ORANGE COUNTY TAX COLLECTOR                PO BOX 1438                                                                                                                    SANTA ANA            CA      92702      UNITED STATES            VEN_223685         223685   No   Vendor          Taxing Authority     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE COURIER, INC.                       3731 WEST WARNER AVENUE                                                                                                        SANTA ANA            CA      92704      UNITED STATES            VEN_391480         391480   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORANGE STAIR & MILLWORK, INC.              11710 STERLING AVENUE                                                                                                          RIVERSIDE            CA      92503      UNITED STATES            VEN_222501         222501   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORCHARD CITY LOCK & SAFE                   2254 S. BASCOM AVE                                                                                                             CAMPBELL             CA      95008      UNITED STATES            VEN_633916         633916   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORCHARD SUPPLY HARDWARE                    PO BOX 659445                                                                                                                  SAN ANTONIO          TX      78265      UNITED STATES            VEN_275240         275240   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ORMISTON'S                                 PO BOX 131                                                                                                                     ELMIRA               CA      95625      UNITED STATES            VEN_828238         828238   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
OROZCO, RUBEN                              C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850         IRVINE               CA      92612      UNITED STATES    CMSLITCA_CIVRS913725_022            No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
OROZCO, SYLVIA                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850         IRVINE               CA      92612      UNITED STATES    CMSLITCA_CIVRS913725_023            No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
OUTDOOR DIMENSIONS                         5325 E. HUNTER AVE                                                                                                             ANAHEIM              CA      92807      UNITED STATES        CONTRACT_00542                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
OUTDOOR SIGN SYSTEMS, INC.                 22603 LA PALMA AVE, #309                                                                                                       YORBA LINDA          CA      92887      UNITED STATES        CONTRACT_00543                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
OWENS, RONALD L. & KAY D.                  C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES      CMSLITCA_365116_009               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
OZIE ELECTRIC, INC.                        667 N. FIRST ST.                                                                                                               SAN JOSE             CA      95112      UNITED STATES            VEN_833563         833563   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
P & H CONSTRUCTION                         1011 S. LAUGHLINGBROOK CT.                                                                                                     ANAHEIM              CA      92808      UNITED STATES            VEN_422318         422318   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PG&E                                       PO BOX 997300                                                                                                                  SACRAMENTO           CA    95899-7300   UNITED STATES            VEN_243264         243264   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
P.R. CONSTRUCTION CO.                      4201 W. CANNOLI CIRCLE                                                                                                         LAS VEGAS            NV      89103      UNITED STATES            VEN_507303         507303   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACE FARMS                                 PO BOX 514                                                                                                                     CHANDLER             AZ      85244      UNITED STATES        CONTRACT_00544           N/A    No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACHECO, ERIC & MICHELE                    C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES      CMSLITCA_1103791_016              No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PACHULSKI STANG ZIEHL & JONES, LLP         10100 SANTA MONICA BLVD, SUITE 1300                                                                                            LOS ANGELES          CA    90067-4100   UNITED STATES            VEN_842700         842700   No   Vendor          Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                 Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
PACIFIC AIRE                               10096 SIXTH ST., #P                                                                                                            RANCHO CUCAMONGA     CA      91730      UNITED STATES        CONTRACT_00545                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC BUILDERS HARDWARE & LIGHTING,INC   2439 CADES WAY                                                                                                                 VISTA                CA      92081      UNITED STATES        CONTRACT_00546                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC BUILDING GROUP                     6364 FERRIS SQUARE                                                                                                             SAN DIEGO            CA      92121      UNITED STATES            VEN_475508         475508   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC COAST DOOR & WINDOW                PO BOX 3402                                                                                                                    VENTURA              CA    93006-3402   UNITED STATES        CONTRACT_00547                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC COAST LANDSCAPE MGMT               24695 MARSH CREEK ROAD                                                                                                         BRENTWOOD            CA      94514      UNITED STATES        CONTRACT_00548                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC CREST PAINTING, DRYWALL & STUCCO   10153 1/2 RIVERSIDE DRIVE, #275                                                                                                TOLUCA LAKE          CA      91602      UNITED STATES            VEN_703591         703591   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC EARTH SCULPTURES                   28562 OSO PARKWAY, SUITE 531                                                                                                   RANCHO SANTA MARGARITA
                                                                                                                                                                                               CA      92688      UNITED STATES            VEN_533579         533579   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC EARTH, INC.                        28562 OSO PARKWAY, SUITE 531                                                                                                   RANCHO SANTA MARGARITA
                                                                                                                                                                                               CA      92688      UNITED STATES            VEN_668027         668027   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC GAS & ELECTRIC - SAC               PO BOX 997300                                                                                                                  SACRAMENTO           CA    95899-7300   UNITED STATES            VEN_391505         391505   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC GRADING AND EROSION CONTROL INC    10541-A PROSPECT AVE                                                                                                           SANTEE               CA      92071      UNITED STATES            VEN_800614         800614   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC INTERWEST BUILDING CONSULTANTS,    1600 S. MAIN ST., SUITE 380                                                                                                    WALNUT CREEK         CA      94596      UNITED STATES        CONTRACT_00549                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC LINE CLEANUP, INC.                 PO BOX 7765                                                                                                                    LAGUNA NIGUEL        CA    92607-7765   UNITED STATES        CONTRACT_00550                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC PRODUCTION PLUMBING                4055 TRAIL CREEK RD.                                                                                                           RIVERSIDE            CA      92505      UNITED STATES        CONTRACT_00551                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC SHORES MASONRY                     1369 WALKER LANE                                                                                                               CORONA               CA      92879      UNITED STATES        CONTRACT_00552                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PACIFIC SHORES MASONRY, INC.               C/O ELIZABETH P. NADELSON, ESQ.                 LAW OFFICES OF KEVIN PEGAN             ONE MACARTHUR PLACE, SUITE #310         SANTA ANA            CA      92707      UNITED STATES      CMSLITCA_365116_096               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PACIFIC SHORES MASONRY, INC.               C/O STEPHEN LANG, FORMER OFFICER                1369 WALKER LANE                                                               CORONA               CA      92879      UNITED STATES      CMSLITCA_365116_057               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PACIFIC STATES PETROLEUM, INC.             PO BOX 2389                                                                                                                    PLEASANT HILL        CA      94523      UNITED STATES            VEN_828692         828692   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PACIFIC STRIPPING CO.                      PO BOX 15533                                                                                                                   LONG BEACH           CA      90815      UNITED STATES            VEN_823226         823226   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PADILLA CONSTRUCTION                       1130 W. TRENTON                                                                                                                ORANGE               CA      92867      UNITED STATES        CONTRACT_00553                  No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PADRE DAM MUNICIPAL WATER DISTRICT         PO BOX 719003                                                                                                                  SANTEE               CA      92071      UNITED STATES        CONTRACT_00554          N/A     No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PADRE DAM MUNICIPAL WATER DISTRICT         PO BOX 719003, 9300 FANITA PKWY.                                                                                               SANTEE               CA      92071      UNITED STATES             BOND_037                   No   Bondholder      Obligee              WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
PADRE DAM MUNICIPAL WATER DISTRICT         PO BOX 719004                                                                                                                  SANTEE               CA    92072-9004   UNITED STATES            VEN_623937         623937   No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAGNINI'S, INC.                            2420 SAND CREEK C-1                             PMB 191                                                                        BRENTWOOD            CA      94513      UNITED STATES            VEN_693804         693804   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAHRUMP AUTO PARTS                         1050 SOUTH DANDELION #101                                                                                                      PAHRUMP              NV      89048      UNITED STATES           VEN_MF_127                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PAHRUMP BUILDING & SAFETY                  1210 EAST ROAD SUITE 1                                                                                                         PAHRUMP              NV      89060      UNITED STATES        CONTRACT_00555         628121   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PAHRUMP FALL FESTIVAL                      C/O KPVM                                        PO BOX 2075                                                                    PAHRUMP              NV      89041      UNITED STATES           VEN_MF_128                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PAHRUMP LIFE MAGAZINE                      1241 E. CALVADA BLVD.                                                                                                          PAHRUMP              NV      89048      UNITED STATES           VEN_MF_129                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PAHRUMP RENTALS, INC.                      101 S. FRONTAGE RD.                                                                                                            PAHRUMP              NV      89048      UNITED STATES           VEN_MF_130                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PAHRUMP RENTALS, INC.                      21 S. FRONTAGE RD.                                                                                                             PAHRUMP              NV      89048      UNITED STATES            VEN_627196         627196   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAHRUMP VALLEY CHAMBER OF COMMERCE         PO BOX 42                                                                                                                      PAHRUMP              NV      89041      UNITED STATES           VEN_MF_131                   No   Vendor          Municipality         APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PAHRUMP VALLEY DISPOSAL                    PO BOX 1268                                                                                                                    PAHRUMP              NV      89041      UNITED STATES        CONTRACT_00556         619882   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PAHRUMP VALLEY DISPOSAL                    PO BOX 1310                                                                                                                    PAHRUMP              NV      89041      UNITED STATES           VEN_MF_132                   No   Vendor          Utilities            APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PAHRUMP VALLEY TIMES                       PO BOX 730                                                                                                                     LAS VEGAS            NV    89125-0730   UNITED STATES           VEN_MF_133                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PALADIN RISK MANAGEMENT, LTD.              3029 BLAZING STAR DR.                                                                                                          THOUSAND OAKS        CA      91362      UNITED STATES            VEN_831470         831470   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PALADIN, CATHLEEN                          PO BOX 984                                                                                                                     CAREFREE             AZ      85377      UNITED STATES           EMP_AZ_0131                  No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PALADINI, BRIAN A.                         C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES     CMSLITCA_SCV26452_008              No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PALAFOX, JAVIER                            22791 SUNROSE COURT                                                                                                            CORONA               CA      92883      UNITED STATES            VEN_799772         799772   No   Vendor          Employee             Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PALAFOX, JAVIER                            27921 MAYWOOD BEND DRIVE                                                                                                       ROMOLAND             CA      92585      UNITED STATES          EMPT_SC_0299                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PALMER, DANIEL                             C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                           KASDAN
                                                                                                J. THOMSON,
                                                                                                    SIMONDSESQ.
                                                                                                            RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850    IRVINE               CA      92612      UNITED STATES      CMSLITCA_233522_017               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PALMER, KIMBERLY                           C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                           KASDAN
                                                                                                J. THOMSON,
                                                                                                    SIMONDSESQ.
                                                                                                            RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850    IRVINE               CA      92612      UNITED STATES      CMSLITCA_233522_018               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PALMYRA PROPERTIES DBA: BETTER HOME SYS.   26895 ALISO CREEK RD., SUITE B528                                                                                              ALISO VIEJO          CA      92656      UNITED STATES            VEN_636623         636623   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAN, YING                                  C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES    CMSLITCA_DEL1100369_061             No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PANACEA SERVICES                           2805 SYNERGY ST.                                                                                                               N. LAS VEGAS         NV      89030      UNITED STATES        CONTRACT_00557         686815   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PANCHAK, DOUGLAS                           C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                           KASDAN
                                                                                                J. THOMSON,
                                                                                                    SIMONDSESQ.
                                                                                                            RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850    IRVINE               CA      92612      UNITED STATES      CMSLITCA_233522_015               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PANCHAK, SHEENA                            C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                           KASDAN
                                                                                                J. THOMSON,
                                                                                                    SIMONDSESQ.
                                                                                                            RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850    IRVINE               CA      92612      UNITED STATES      CMSLITCA_233522_016               No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PANGILINAN, JACQUELINE                     C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES    CMSLITCA_DEL1100369_062             No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PANOZZO, LAWRENCE                          5650 E MANSE RD                                                                                                                PAHRUMP              NV      89061      UNITED STATES          EMPT_MF_0338                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PANTAGES, GILBERT & LUCRECIA               C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH          SANTA MONICA         CA      90405      UNITED STATES      CMSLITCA_1103791_017              No   Litigant        California           WLH Combo Litigation Load file.XLSX                                   10/27/2011
PANTALEON, CHRISTINE                       114 VIA SOVANA                                                                                                                 SANTEE               CA      92071      UNITED STATES          EMPT_SC_0265                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PANTOJA PLASTERING                         205 LINDEN AVE                                                                                                                 GUSTINE              CA      95322      UNITED STATES            VEN_581407         581407   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAOLOZZI, ALBERT                           1701 E. AUGUSTA ST.                                                                                                            PAHRUMP              NV      89048      UNITED STATES          EMP_MF_0220                   No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PAPPAS, MARTY                              2603 CAMINO RAMON SUITE 150                                                                                                    SAN RAMON            CA      94583      UNITED STATES            VEN_415302         415302   No   Vendor          Employee             Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAPPAS, RON                                611 S ORANGE AVE                                                                                                               LODI                 CA      95240      UNITED STATES          EMP_NC_0132                   No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PAQUIN RESEARCH, INC.                      DBA: THE GREGORY CO.                            101 PARKSHORE DRIVE, #191                                                      FOLSOM               CA      95630      UNITED STATES            VEN_541157         541157   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PAR 5 ENTERPRISES, INC.                    409 CLUB COURT                                                                                                                 LAS VEGAS            NV      89144      UNITED STATES           VEN_MF_134                   No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
PARADISE ELECTRICAL SERVICES               1803 SHELTON DRIVE, SUITE 101                                                                                                  HOLLISTER            CA      95023      UNITED STATES            VEN_819964         819964   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARADISE VALLEY DRILLING & CONTRACTING     29834 N.CAVE CREEK RD.#118-272                                                                                                 CAVE CREEK           AZ      85331      UNITED STATES            VEN_779501         779501   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARADISE VALLEY SEPTIC SERVICE             29834 N. CAVE CREEK RD., #118-272                                                                                              CAVE CREEK           AZ      85331      UNITED STATES            VEN_272567         272567   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARAGON SCHMID BUILDING PRODUCTS           PO BOX 3419                                                                                                                    RANCHO CUCAMONGA     CA      91729      UNITED STATES            VEN_506319         506319   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARAMOUNT WINDOWS CORP                     550 W. SOUTHERN AVE                                                                                                            TEMPE                AZ      85282      UNITED STATES        CONTRACT_00558         825918   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
PARASEC                                    PO BOX 160568                                                                                                                  SACRAMENTO           CA    95816-0568   UNITED STATES            VEN_391518         391518   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARENT, DAWN                               14272 SEABRIDGE LANE                                                                                                           SAN DIEGO            CA      92128      UNITED STATES          EMPT_SC_0297                  No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
PARHAM & ASSOCIATES                        1 SOCORRO                                                                                                                      RANCHO SANTA MARGARITA
                                                                                                                                                                                               CA      92688      UNITED STATES            VEN_826937         826937   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARK WEST LANDSCAPE SAN DIEGO, INC.        1011 E. MISSION RD., SUITE C                                                                                                   SAN MARCOS           CA    92069-3039   UNITED STATES            VEN_607831         607831   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
PARKER ROSE DESIGN, INC.                   10075 MESA RIM ROAD, SUITE A                                                                                                   SAN DIEGO            CA      92121      UNITED STATES            VEN_828836         828836   No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
                                                                         Case 11-14019-CSS                                                                                Doc 1-4         Filed 12/19/11                               Page 20 of 29

PARKER, BRIDGET                            9707 CLAYBOURNE COURT                                                                                                                LAS VEGAS            NV     89148      UNITED STATES          EMP_NV_0133                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PARKER, LLOYD & AUDREY                     C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES       CMSLITCA_96610_022               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PARKEROSE, A DESIGN COMPANY                10075 MESA RIM RD., SUITE A                                                                                                          SAN DIEGO            CA     92121      UNITED STATES           VEN_720711          720711   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PARKSIDE COMMUNITY ASSOCIATION             C/O PCM                                         23726 BIRTCHER DRIVE                                                                 LAKE FOREST          CA     92630      UNITED STATES           VEN_837089          837089   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PARSA, JELEH KASRAIE                       C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                           KASDAN
                                                                                                J. THOMSON,
                                                                                                    SIMONDSESQ.
                                                                                                            RILEY & VAUGHAN LLP    19900 MACARTHUR BOULEVARD, SUITE 850         IRVINE               CA     92612      UNITED STATES      CMSLITCA_233522_008               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PARSONS BROS. ROCKERIES, INC.              6600 W. CHARLESTON, SUITE 125                                                                                                        LAS VEGAS            NV     89146      UNITED STATES           VEN_362571          362571   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PASQUINI, RICHARD & DIANE                  C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_SCV26452_009              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PASSIERI, DAVID                            5349 MOONSHADOW ST                                                                                                                   SIMI VALLEY          CA     93063      UNITED STATES          EMPT_SC_0260                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PAT DONOHUE'S FURNITURE REPAIR             39600 LONG RIDGE DRIVE                                                                                                               TEMECULA             CA     92591      UNITED STATES           VEN_818769          818769   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PATCH MASTER DRYWALL                       2191 EMPIRE AVE                                                                                                                      BRENTWOOD            CA     94513      UNITED STATES           VEN_243205          243205   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PATCH N MATCH                              4646 IROQUOIS AVE                                                                                                                    LAKEWOOD             CA     90713      UNITED STATES           VEN_656237          656237   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PATEL, CHANDRANKANT                        C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_024            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PATEL, MITA                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_025            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PATEL, RAHUL & NARTAN                      C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES      CMSLITCA_173057_036               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PATI, HERMELINO AND JOCELYN                C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                           BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA     92807      UNITED STATES      CMSLITCA_1103527_011              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PATRIC COMMUNICATIONS DBA ADVANCED ELECT   1950 CORDELL COURT, SUITE 109                                                                                                        EL CAJON             CA     92020      UNITED STATES           VEN_833803          833803   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PATRIC COMMUNICATIONS DBA ADVANCED         1950 CORDELL COURT, SUITE 109                                                                                                        EL CAJON             CA     92020      UNITED STATES        CONTRACT_00559                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PATRICIAN COMPANY                          6 MOZZONI AISLE                                                                                                                      IRVINE               CA     92606      UNITED STATES           VEN_790313          790313   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PATRICK'S CONSTRUCTION CLEAN UP, INC.      7851 14TH AVE                                                                                                                        SACRAMENTO           CA     95826      UNITED STATES        CONTRACT_00560                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PATRIOT CONTRACTORS, LLC                   7770 W. SPRING MOUNTAIN RD.                                                                                                          LAS VEGAS            NV     89117      UNITED STATES        CONTRACT_00561         815699   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PATRIOT GRADING & ENGINEERING              14998 WASHINGTON DRIVE                                                                                                               FONTANA              CA     92335      UNITED STATES           VEN_811145          811145   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PATTERSON BROTHERS LIGHTING, INC.          PO BOX 2037                                                                                                                          LAKESIDE             CA     92040      UNITED STATES           VEN_397626          397626   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PAUL DESMET                                801 SAN RAMON VALLEY BLVD                                                                                                            DANVILLE             CA     94526      UNITED STATES           VEN_815664          815664   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PAUL HILLIKER AND ASSOCIATES               25401 VIA PIEDRA BLANCA                                                                                                              LAGUNA NIGUEL        CA     92677      UNITED STATES           VEN_763711          763711   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PAULSON, KENNETH                           271 E. SHELBOURNE AVENUE                                                                                                             LAS VEGAS            NV     89123      UNITED STATES          EMP_NV_0134                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PAV-KOTE, INC.                             301 S. RICHMAN AVE                                                                                                                   FULLERTON            CA     92832      UNITED STATES        CONTRACT_00562                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PAXIA PLUMBING, INC.                       3517 JOANNA DRIVE                                                                                                                    MODESTO              CA     95355      UNITED STATES           VEN_761571          761571   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PAXTON, DARREN                             1921 HAIWEE ST., #C                                                                                                                  PAHRUMP              NV     89048      UNITED STATES          EMP_MF_1003                   No   Employee        Active              Employee Roster Report - password_12-12-2011 Additions.xlsx            12/12/2011
PAYAWAL, RANDOLPH                          C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_026            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PAYNE & FEARS                              4 PARK PLAZA, SUITE #1100                                                                                                            IRVINE               CA     92614      UNITED STATES        CONTRACT_00563                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PAZ, MICHAEL                               24582 KINGS VIEW                                                                                                                     LAGUNA NIGUEL        CA     92677      UNITED STATES          EMP_SC_0135                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PAZ, MIKE                                  33282 SEABRIGHT DRIVE                                                                                                                DANA POINT           CA     92629      UNITED STATES           VEN_614627          614627   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PBC CORPORATION DBA: PETKUS BROTHERS       3600 SUNRISE BLVD, SUITE 1                                                                                                           RANCHO CORDOVA       CA     95742      UNITED STATES           VEN_828220          828220   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PBC PAVERS, INC.                           1560 W LAMBERT RD                                                                                                                    BREA                 CA     92821      UNITED STATES           VEN_391526          391526   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PBMIT SOLUTIONS                            PO BOX 51947                                                                                                                         LOS ANGELES          CA   90051-6247   UNITED STATES           VEN_823111          823111   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PCM CONSULTING SERVICES                    23726 BIRTCHER DR.                                                                                                                   LAKE FOREST          CA     92630      UNITED STATES        CONTRACT_00564                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PEACOCK, JOHN & LOUISE                     C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                           MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_CA1100369_046             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PECKHAM, CHASE & KERI                      10055 FIELDTHORN ST.                                                                                                                 SAN DIEGO            CA     92127      UNITED STATES           VEN_843180          843180   No   Vendor          Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                     11/23/2011
PECKHAM, CHASE & KERI                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES       CMSLITCA_96610_019               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PEGASUS MEDIA, INC.                        4151 CLAIREMONT MESA BLVD                                                                                                            SAN DIEGO            CA     92117      UNITED STATES           VEN_820076          820076   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PENDER, KATHLEEN                           C/O ROBERY J. CLAUSEN, ESQ.                     LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145         NEWPORT BEACH        CA     92660      UNITED STATES       CMSLITCA_92941_011               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PENINSULA CORRIDOR JOINT POWERS BOARD      1250 SAN CARLOS AVE.                            PO BOX 3006                                                                          SAN CARLOS           CA   94070-1306   UNITED STATES           VEN_838911          838911   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PENINSULA FLOORS, INC.                     PO BOX 71                                                                                                                            LIVERMORE            CA   94551-0071   UNITED STATES           VEN_391531          391531   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PENINSULA PUBLISHING                       1602 MONROVIA AVE                                                                                                                    NEWPORT BEACH        CA     92663      UNITED STATES           VEN_810089          810089   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PENN RECORDS MANAGEMENT                    3210 S. STANDARD AVE.                                                                                                                SANTA ANA            CA     92705      UNITED STATES           VEN_220783          220783   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PENNINGTON, LESLEY                         28 ENCORE COURT                                                                                                                      NEWPORT BEACH        CA     92663      UNITED STATES          EMP_SC_0136                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PENNINGTON, LESLEY                         4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES           VEN_416364          416364   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PEORIA UNIFIED SCHOOL DISTRICT #11         6330 W. THUNDERBIRD RD.                                                                                                              GLENDALE             AZ     85306      UNITED STATES           VEN_820543          820543   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PEPPER HAMILTON LLP                        1313 MARKET STREET                              HERCULES PLAZA, SUITE 5100                                                           WILMINGTON           DE   19899-1709   UNITED STATES           VEN_843534          843534   No   Vendor          Professional Fees   Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
PERA, MARIO & ROSALIE                      C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_063             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PEREZ, ARIEL & ANN                         C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES      CMSLITCA_365116_010               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PEREZ, ROBERT                              PO BOX 3542                                                                                                                          CAREFREE             AZ     85377      UNITED STATES         EMP_CORP_0138                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PEREZ, SHELLY                              8800 E. CHAPARRAL RD., #260                                                                                                          SCOTTSDALE           AZ     85250      UNITED STATES           VEN_424671          424671   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PEREZ, SHELLY                              PO BOX 3542                                                                                                                          CAREFREE             AZ     85377      UNITED STATES         EMP_CORP_0137                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PERFORMANCE ABATEMENT SERVICES             999 CANAL ST., SUITE B                                                                                                               RICHMOND             CA     94808      UNITED STATES        CONTRACT_00565                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PERLMAN ARCHITECTS OF AZ, INC.             4150 N. DRINKWATER BLVD, SUITE 240                                                                                                   SCOTTSDALE           AZ     85250      UNITED STATES           VEN_422975          422975   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PERMA-GREEN HYDROSEEDING, INC.             7096 HOLSCLAW RD.                                                                                                                    GILROY               CA     95020      UNITED STATES        CONTRACT_00566                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PES ENVIRONMENTAL, INC.                    1682 NOVATO BLVD, SUITE 100                                                                                                          NOVATO               CA   94947-7021   UNITED STATES           VEN_826152          826152   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PETE, NAVARRO,                             9037 YEW STREET                                                                                                                      RANCHO CUCUMONGA     CA     91730      UNITED STATES           VEN_391418          391418   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PETERS, STEPHANIE                          22082 ANTIGUA                                                                                                                        MISSION VIEJO        CA     92692      UNITED STATES        EMPT_CORP_0292                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PETERS, STEPHANIE                          4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES           VEN_238342          238342   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PETERSEN-DEAN INC.                         707 ALDRIDGE ROAD, SUITE A                                                                                                           VACAVILLE            CA     95688      UNITED STATES        CONTRACT_00567                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PETERSEN-DEAN, INC.                        1250 ENTERPRISE COURT                                                                                                                CORONA               CA     92882      UNITED STATES        CONTRACT_00568                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PETERSON BROTHERS CONSTRUCTION, INC.       1560 W. LAMBERT ROAD                                                                                                                 BREA                 CA     92821      UNITED STATES        CONTRACT_00569                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PETERSON CLEANING CO., INC.                8932 GREENBRIAR PLACE                                                                                                                BUENA PARK           CA     90621      UNITED STATES        CONTRACT_00570                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PETERSON CLEANING SERVICE                  8932 GREENBRIAR PL.                                                                                                                  BUENA PARK           CA     90621      UNITED STATES           VEN_226430          226430   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PETERSON GEOTECHNICAL GROUP, LLC           3210 S. GILBERT RD., SUITE 4                                                                                                         CHANDLER             AZ     85286      UNITED STATES           VEN_817782          817782   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PETERSON PAINTING, INC.                    5750 LA RIBERA STREET                                                                                                                LIVERMORE            CA     94550      UNITED STATES           VEN_410157          410157   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PETE'S TIRE BARNS, INC.                    275 EAST MAIN STREET                                                                                                                 ORANGE               MA     01364      UNITED STATES           VEN_MF_135                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PETRA GEOTECHNICAL, INC.                   3190 AIRPORT LOOP, SUITE J-1                                                                                                         COSTA MESA           CA     92626      UNITED STATES        CONTRACT_00571                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PETTY CASH                                 LINDA VICTOR                                    8840 E. CHAPARRAL RD., SUITE 200                                                     SCOTTSDALE           AZ     85250      UNITED STATES           VEN_447777          447777   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PEW & LAKE, PLC                            1744 S. VAL VISTA DR., SUITE 217                                                                                                     MESA                 AZ     85204      UNITED STATES           VEN_508189          508189   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PFEIFER, CHRISTOPHER & KIRSTIE             C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES       CMSLITCA_96610_028               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PGA OF AMERICA                             PO BOX 31089                                                                                                                         PALM BEACH GARDENS   FL   33420-1089   UNITED STATES           VEN_MF_136                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PH VENTURES - SAN JOSE                     4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES           ENTITY_013                   No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
PHC STAIRS                                 1230 SHADOW HAWK DRIVE                                                                                                               SHINGLE SPRINGS      CA     95682      UNITED STATES           VEN_839113          839113   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PHILLIPS, DENISE                           8601 LINCOLN BLVD.                              #4306                                                                                LOS ANGELES          CA     90045      UNITED STATES          EMP_SC_0139                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PH-LP VENTURES                             4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES           ENTITY_012                   No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
PHOENIX ASSOCIATION OF REALTORS            5033 N. 19TH AVE., SUITE 119                                                                                                         PHOENIX              AZ   85015-3294   UNITED STATES        CONTRACT_00572         690241   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PHOENIX INVESTMENT ADVISOR, LLC            420 LEXINGTON AVE., SUITE #2225                                                                                                      NEW YORK             NY     10170      UNITED STATES        CONTRACT_00573                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PHOENIX NEWSPAPERS, INC.                   CUSTOMER ACCOUNTING SERVICES                                                                                                         PHOENIX              AZ   85001-0200   UNITED STATES           VEN_196357          196357   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
PH-RIELLY VENTURES                         4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES           ENTITY_014                   No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
PHYLLIS ABBATE                             328 AVENITA CARMEL, UNIT O                                                                                                           LAGUNA WOODS         CA     92637      UNITED STATES           VEN_MF_137                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PICENO, JOANN                              5 DION                                                                                                                               LAGUNA NIGUEL        CA     92677      UNITED STATES          EMP_SC_0140                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PIERCE, ALEXANDER                          C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES      CMSLITCA_1007968_045              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PIERCE, CHRISTINA                          C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850              IRVINE               CA     92612      UNITED STATES      CMSLITCA_1007968_046              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PIERCE, NEIL                               4543 ROMETTA AVE                                                                                                                     LAS VEGAS            NV     89141      UNITED STATES          EMPT_MF_0371                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PIERSON, HAROLD                            C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                SAN DIEGO            CA     92121      UNITED STATES       CMSLITCA_96610_032               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PINAL COUNTY TREASURER                     ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 729                                                                           FLORENCE             AZ   85132-0729   UNITED STATES         CMSTX_734995_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx              10/21/2011
PINAL COUNTY TREASURER                     PO BOX 729                                                                                                                           FLORENCE             AZ   85132-0729   UNITED STATES           VEN_734995          734995   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PINEDA, ANTHONY & ESPERANZA                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_064             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PING                                       PO BOX 52450                                                                                                                         PHOENIX              AZ   85072-2450   UNITED STATES           VEN_MF_138                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PINNACLE BUILDERS INC                      3620 INDUSTRIAL BLVD, SUITE 10                                                                                                       W. SACRAMENTO        CA   95691-6501   UNITED STATES        CONTRACT_00574                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PINNACLE PLASTERING, INC.                  8325 63RD ST.                                                                                                                        RIVERSIDE            CA     92509      UNITED STATES        CONTRACT_00575                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PISANO, SAMUEL P.                          C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                           BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR      ANAHEIM              CA     92807      UNITED STATES      CMSLITCA_1103527_013              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PITNEY BOWES GLOBAL FINANCIAL SERVICES     PO BOX 371887                                                                                                                        PITTSBURGH           PA   15250-7887   UNITED STATES        CONTRACT_00576         732391   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PITNEY BOWES, INC.                         PO BOX 371896                                                                                                                        PITTSBURGH           PA   15250-7896   UNITED STATES           VEN_830776          830776   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PITTSBURG DISPOSAL SERVICE                 PO BOX 5397                                                                                                                          CONCORD              CA   94524-0397   UNITED STATES           VEN_841774          841774   No   Vendor          Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                 10/26/2011
PJ'S SUPERMARKET, INC.                     PO BOX 1778                                                                                                                          PAHRUMP              NV     89041      UNITED STATES           VEN_777469          777469   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PLACER COUNTY                              ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 7790                                                                          AUBURN               CA   95604-7790   UNITED STATES         CMSTX_432508_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx              10/21/2011
PLACER COUNTY                              PO BOX 7790                                                                                                                          AUBURN               CA   95604-7790   UNITED STATES           VEN_432508          432508   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PLACER COUNTY ASSOCIATION OF REALTORS      4750 GROVE ST.                                                                                                                       ROCKLIN              CA     95677      UNITED STATES           VEN_803217          803217   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PLACER COUNTY WATER AGENCY                 PO BOX 45808                                                                                                                         SAN FRANCISCO        CA   94145-0808   UNITED STATES           VEN_638223          638223   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PLACER LUMBER                              7401 GALILEE ROAD, SUITE 300                                                                                                         ROSEVILLE            CA     95678      UNITED STATES        CONTRACT_00577                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PLAMBECK, WILLIAM J. & BEVERLY J.          C/O FRED M. ADELMAN, ESQ.                       MILSTEIN, ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH               SANTA MONICA         CA     90405      UNITED STATES      CMSLITCA_500837_004               No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
PLANETAIR TURF PRODUCTS, LLC               1065 24TH AVE SW                                                                                                                     OWATONNA             MN     55060      UNITED STATES           VEN_MF_139                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PLATINUM ENT. DBA PLATINUM PAINTERS, LLC   5808 W. MARYLAND AVE                                                                                                                 GLENDALE             AZ     85301      UNITED STATES           VEN_824325          824325   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PLATINUM FIRE PROTECTION                   PO BOX 132708                                                                                                                        BIG BEAR LAKE        CA     92315      UNITED STATES           VEN_841758          841758   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PLC/LYON WATERFRONT RESIDENTIAL, LLC       4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES          AFFILIATE_031                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
PLUMBING CONCEPTS, INC.                    22951 LA PALMA AVE                                                                                                                   YORBA LINDA          CA     92887      UNITED STATES        CONTRACT_00578                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PLUMBING CONCEPTS, INC.                    2445 RAILROAD ST.                                                                                                                    CORONA               CA     92880      UNITED STATES          VEN_438301_B         438301   No   Vendor          Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                     11/23/2011
PLUMS CAFE & CATERING                      369 E. 17TH STREET                                                                                                                   COSTA MESA           CA     92627      UNITED STATES           VEN_415361          415361   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PMC CONSULTING                             76 MERCANTILE WAY #809                                                                                                               LADERA RANCH         CA     92694      UNITED STATES        CONTRACT_00579                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PNC EQUIPMENT FINANCE                      ATTN LEASE SERVICING                            PO BOX 931034                                                                        CLEVELAND            OH     44193      UNITED STATES           VEN_MF_140                   No   Vendor          Equipment Lease     APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
POCO VERDE LANDSCAPE, INC.                 520 W. WARNER RD.                                                                                                                    TEMPE                AZ     85284      UNITED STATES        CONTRACT_00580         281480   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PODBIELSKI, CLIFFORD                       615 MARTHA WAY                                                                                                                       ROSEVILLE            CA   956781273    UNITED STATES          EMP_NC_0141                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
POMERADO PUBLISHING                        C/O BANK OF AMERICA                             FILE 749154                                                                          LOS ANGELES          CA   90074-9154   UNITED STATES           VEN_791412          791412   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
POOLE & ASSOCIATES, INC.                   1329 N. RAVEN                                                                                                                        MESA                 AZ   85207-3844   UNITED STATES        CONTRACT_00581         367515   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PORTOLA SPRINGS COMMUNITY ASSOCIATION      C/O KEYSTONE PACIFIC PROPERTY MGMT.             16845 VON KARMAN AVE, SUITE 200                                                      IRVINE               CA     92606      UNITED STATES           VEN_734371          734371   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
POWER FACTOR, INC.                         5706 LONE TREE BLVD                                                                                                                  ROCKLIN              CA     95765      UNITED STATES           VEN_538468          538468   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
POWER PLUS                                 1210 N. RED GUM STREET                                                                                                               ANAHEIM              CA     92806      UNITED STATES           VEN_832712          832712   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
POWER PLUS AND PACIFIC BUSINESS CAPITAL    PO BOX 19067                                                                                                                         IRVINE               CA   92623-9067   UNITED STATES           VEN_234051          234051   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
POWER SWEEPERS & MORE, INC.                2357 N. SANTIAGO BLVD                                                                                                                ORANGE               CA     92867      UNITED STATES           VEN_814821          814821   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRAVEDNIKOV, GREGORY                       C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                       2155 CHICAGO AVE., SUITE 300                 RIVERSIDE            CA     92507      UNITED STATES      CMSLITCA_1105650_005              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PRECAST INNOVATIONS                        2004 S. YALE ST., SUITE C                                                                                                            SANTA ANA            CA     92704      UNITED STATES           VEN_834283          834283   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRECISION GOLF EYEWEAR                     PRECISION SPORT EYEWEAR                         2990 GULF BREEZE PARKWAY                                                             GULF BREEZE          FL     32563      UNITED STATES           VEN_MF_141                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PRECISION PLANNING                         4000 EXECUTIVE PARKWAY, SUITE 150                                                                                                    SAN RAMON            CA     94583      UNITED STATES           VEN_391560          391560   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRECISION STAIRS                           485 BITRITTO WAY, UNIT F                                                                                                             MODESTO              CA     95356      UNITED STATES        CONTRACT_00583                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PRECISION WATER REMEDIATION, INC.          4731 W. WHISPERING WIND DR.                                                                                                          GLENDALE             AZ     85310      UNITED STATES           VEN_710694          710694   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PREFERRED COATINGS, INC.                   27071 CABOT RD., SUITE 105                                                                                                           LAGUNA HILLS         CA     92653      UNITED STATES           VEN_518459          518459   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PREFERRED FRAMING, INC.                    9225 CHARLES SMITH AVENUE                                                                                                            RANCHO CUCAMONGA     CA   91730-5507   UNITED STATES           VEN_225971          225971   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PREFERRED FRAMING, INC.                    JAMES E. POST                                   9225 CHARLES SMITH AVE.                                                              RANCHO CUCAMONGA     CA     91730      UNITED STATES      CMSLITCA_1103527_038              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PREFERRED INSULATION CONTRACTORS, INC.     1691 JENKS DRIVE                                                                                                                     CORONA               CA     92880      UNITED STATES        CONTRACT_00584                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PREMIERE GLOBAL SERVICES                   1268 PAYSPHERE CIRCLE                                                                                                                CHICAGO              IL     60674      UNITED STATES           VEN_821941          821941   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PREMIERE GLOBAL SERVICES                   PO BOX 404351                                                                                                                        ATLANTA              GA   30384-4351   UNITED STATES           VEN_831445          831445   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PREMIUM ASSIGNMENT CORPORATION             151 KALMUS DRIVE, SUITE C220                                                                                                         COSTA MESA           CA     92626      UNITED STATES           VEN_830750          830750   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRESLEY CMR, INC.                          4490 VON KARMAN AVENUE                                                                                                               NEWPORT BEACH        CA     92660      UNITED STATES           ENTITY_015                   No   Vendor          Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
PRESSURE PRO, INC.                         681 COLONIAL DRIVE                                                                                                                   CORONA               CA     92882      UNITED STATES           VEN_820050          820050   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRESSURE WORKS CONCRETE RESTORATION & CO   PO BOX 416                                                                                                                           GILBERT              AZ     85299      UNITED STATES        CONTRACT_00585         811532   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PRESTIGE FLAG                              591 CAMINO DO LA REINA #917                                                                                                          SAN DIEGO            CA     92108      UNITED STATES           VEN_MF_142                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PRETEND CITY                               29 HUBBLE                                                                                                                            IRVINE               CA   92618-4209   UNITED STATES           VEN_569900          569900   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRINTELLIGENT                              2580 S. DECKER LAKE BLVD, SUITE 200                                                                                                  SALT LAKE CITY       UT     84119      UNITED STATES           VEN_533481          533481   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRO CLEAN                                  PO BOX 18250                                                                                                                         PHOENIX              AZ   85005-8250   UNITED STATES        CONTRACT_00586                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PRO COAT, INC.                             1131 N. CITRUS ST.                                                                                                                   ORANGE               CA     92867      UNITED STATES        CONTRACT_00587                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PRO FLAME PAHRUMP                          31 E. WILSON ROAD                                                                                                                    PAHRUMP              NV     89048      UNITED STATES           VEN_MF_144                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PRO GRADING, INC.                          6358 ARCHER ST.                                                                                                                      RIVERSIDE            CA     92509      UNITED STATES           VEN_711742          711742   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRO SERV PLUMBING & DRAIN                  3012 ENTERPRISE                                                                                                                      COSTA MESA           CA     92626      UNITED STATES           VEN_223491          223491   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROCEDURE ENGINEERS, INC.                  8901 RESEARCH DRIVE, SUITE 200                                                                                                       IRVINE               CA     92618      UNITED STATES           VEN_613675          613675   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROCIDA LANDSCAPE, INC.                    8465 SPECIALTY CIRCLE                                                                                                                SACRAMENTO           CA     95828      UNITED STATES        CONTRACT_00588                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PRODUCTION PLUS PLUMBING, INC.             312 DAWSON DRIVE                                                                                                                     CAMARILLO            CA     93012      UNITED STATES           VEN_641289          641289   No   Vendor          Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                 10/26/2011
PROFANCIK, BRIAN                           16 TANGO LANE                                                                                                                        LADERA RANCH         CA     92694      UNITED STATES         EMP_CORP_0142                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PROFESSIONAL APPRAISAL SERVICES            7510 LILLA PLACE                                                                                                                     WEST HILLS           CA     91304      UNITED STATES           VEN_835593          835593   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROFESSIONAL COMMUNICATIONS NETWORK        6774 MAGNOLIA AVE                                                                                                                    RIVERSIDE            CA     92506      UNITED STATES           VEN_472833          472833   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROFESSIONAL COMMUNITY MANAGEMENT          23726 BIRTCHER DRIVE                                                                                                                 LAKE FOREST          CA   92630-1771   UNITED STATES           VEN_223116          223116   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROFESSIONAL FINDERS, INC.                 10908 COURTHOUSE RD., #102-246                                                                                                       FREDERICKSBURG       VA     22408      UNITED STATES           VEN_828211          828211   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROFESSIONAL FLOORING SERVICES             PO BOX 788                                                                                                                           TEMECULA             CA     92593      UNITED STATES           VEN_830127          830127   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROFESSIONAL JET, INC.                     11 RICHMOND HILL                                                                                                                     LAGUNA NIGUEL        CA     92677      UNITED STATES           VEN_819690          819690   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROFESSIONAL MOVERS, INC.                  4022 W. TURNEY AVE., SUITE A-7                                                                                                       PHOENIX              AZ     85019      UNITED STATES        CONTRACT_00589         574936   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PROFIT CONCEPTS INTERNATIONAL              100 W. BROADWAY, SUITE 200                                                                                                           LONG BEACH           CA     90802      UNITED STATES           VEN_365472          365472   No   Vendor          Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                 10/26/2011
PROFLAME                                   31 E. WILSON RD.                                                                                                                     PAHRUMP              NV     89041      UNITED STATES        CONTRACT_00590         695720   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PROFORMA PRINTING CORPORATION              PO BOX 51925                                                                                                                         LOS ANGELES          CA   90051-6225   UNITED STATES           VEN_355477          355477   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
                                                                               Case 11-14019-CSS                                                                            Doc 1-4                         Filed 12/19/11                                      Page 21 of 29

PROGRAMMED TIMING                              PO BOX 1616                                                                                                                                       SAN MARCOS            CA   92079-1616   UNITED STATES                       VEN_643444           643444   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROGRESSIVE BUSINESS PUBLICATIONS              PO BOX 3019                                                                                                                                       MALVERN               PA     19355      UNITED STATES                       VEN_268331           268331   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROJECT APPROVAL SERVICES                      14843 EDEN MILLS PLACE                                                                                                                            SAN DIEGO             CA     92131      UNITED STATES                       VEN_467954           467954   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRO-LINE PLASTERING, INC.                      C/O RN VENNEKOLT, AGENT                         92 CORPORATE PARK SUITE #C276                                                                     IRVINE                CA     92606      UNITED STATES                  CMSLITCA_365116_058                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PRO-LINE PLASTERING, INC.                      C/O ROBERT L. CLEMONS, ESQ.                     PRENOVOST, NORMANDIN, BERGH & DAWE    2122 NORTH BROADWAY, SUITE #200                             SANTA ANA             CA     92706      UNITED STATES                  CMSLITCA_365116_097                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PROMENADE AT SPECTRUM HOMEOWNER ASSOC.         3944 MURPHY CANYON RD., #C-205                                                                                                                    SAN DIEGO             CA     92123      UNITED STATES                       VEN_742371           742371   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRO-SCAPE INC.                                 510 VENTURE STREET                                                                                                                                ESCONDIDO             CA     92029      UNITED STATES                       VEN_464180           464180   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PROTECTION ONE                                 PO BOX 5714                                                                                                                                       CAROL STREAM          IL   60197-5714   UNITED STATES                    CONTRACT_00591          224135   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PROTEX, THE PT XPERTS LLC                      3206 S. FAIR LANE                                                                                                                                 TEMPE                 AZ   85282-3120   UNITED STATES                    CONTRACT_00592          675139   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PROTO-II WALL SYSTEMS                          41800 CASCADES COURT                                                                                                                              TEMECULA              CA     92591      UNITED STATES                       VEN_391576           391576   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PRUDENTIAL OVERALL SUPPLY                      PO BOX 11210                                                                                                                                      SANTA ANNA            CA     92711      UNITED STATES                    CONTRACT_00593                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
PUBLIC STORAGE                                 2200 E. MCFADDEN AVE                                                                                                                              SANTA ANA             CA     92705      UNITED STATES                       VEN_575251           575251   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PUBLIC STORAGE                                 2590 SAN RAMON                                                                                                                                    SAN RAMON             CA     94583      UNITED STATES                       VEN_434458           434458   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PUEBLA, MONICA                                 C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                     2155 CHICAGO AVE., SUITE 300                                RIVERSIDE             CA     92507      UNITED STATES                  CMSLITCA_1105650_002               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PUEBLA, VICTOR                                 C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                     2155 CHICAGO AVE., SUITE 300                                RIVERSIDE             CA     92507      UNITED STATES                  CMSLITCA_1105650_001               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PUFFER, RICHARD                                20462 WHITETREE CIRCLE                                                                                                                            HUNTINGTON BEACH      CA     92646      UNITED STATES                      EMP_SC_0143                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
PULAMARASETTY, CHAKRADHAR                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC              5752 OBERLIN DRIVE, SUITE 105                               SAN DIEGO             CA     92121      UNITED STATES                   CMSLITCA_96610_011                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PUMP SYSTEMS                                   5833 QUEENSTOWN WAY                                                                                                                               LAS VEGAS             NV     89110      UNITED STATES                       VEN_MF_146                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PUNTANILLA, CORAZON & FRANCIS                  C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                  CMSLITCA_173057_031                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PURCELL MURRAY COMPANY                         185 PARK LANE                                                                                                                                     BRISBANE              CA     94005      UNITED STATES                       VEN_427645           427645   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PURCELL WESTERN STATES                         FILE 56129                                                                                                                                        LOS ANGELES           CA   90074-6129   UNITED STATES                       VEN_MF_147                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
PURCHASE ADVANTAGE/ALBERTSONS                  PO BOX 790073                                                                                                                                     ST. LOUIS             MO   63179-0073   UNITED STATES                       VEN_695623           695623   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PURCHASE POWER                                 PO BOX 371874                                                                                                                                     PITTSBURGH            PA   15250-7874   UNITED STATES                       VEN_830784           830784   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PURETEC WATER SERVICES                         7440 S. PRIEST DR.                                                                                                                                TEMPE                 AZ     85283      UNITED STATES                       VEN_658806           658806   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
PURI, PREM & KAMLESH                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                CMSLITCA_DEL1100369_099              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
PWC & ASSOCIATES                               3300 IRVINE AVE, SUITE 330                                                                                                                        NEWPORT BEACH         CA     92660      UNITED STATES                       VEN_518619           518619   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUALITY CARPET & UP                            5700 NEGRIL AVE                                                                                                                                   LAS VEGAS             NV     89130      UNITED STATES                       VEN_840659           840659   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUALITY CONTROL DOCUMENTS, LLC                 800 SAN ANTONIO ROAD, SUITE 2                                                                                                                     PALO ALTO             CA     94303      UNITED STATES                       VEN_831429           831429   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUALITY DOOR & TRIM                            741 S. AIRPORT WAY                                                                                                                                STOCKTON              CA     95205      UNITED STATES                       VEN_762267           762267   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUALITY INTERIORS, INC.                        104 S. MAPLE STREET                                                                                                                               CORONA                CA   92880-1704   UNITED STATES                    CONTRACT_00594                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
QUALITY PLASTERING                             104 MAPLE STREET, STE 1007                                                                                                                        CORONA                CA     91720      UNITED STATES                       VEN_392045           392045   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUEEN CREEK INVESTORS, LLC                     2152 S. VINEYARD STREET, SUITE 105                                                                                                                MESA                  AZ     85210      UNITED STATES                    CONTRACT_00595          787877   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
QUEEN CREEK JOINT VENTURE, LLC                 8840 EAST CHAPARRAL, SUITE 200                                                                                                                    SCOTTSDALE            AZ     85250      UNITED STATES                      AFFILIATE_032                  No   Vendor     Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                     10/27/2011
QUEEN CREEK JV LLC                             8840 EAST CHAPARRAL, SUITE 200                                                                                                                    SCOTTSDALE            AZ     85250      UNITED STATES                        VEN_3151             3151    No   Vendor     Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUEEN, DOUGLAS                                 690 E. MT. CHARLESTON DR                        N                                                                                                 PAHRUMP               NV     89048      UNITED STATES                      EMPT_MF_0368                   No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
QUEJADO, ARBERT & GRACE K                      C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                 CMSLITCA_CA1100369_047              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
QUEST DISCOVERY SERVICES                       PO BOX 49051                                                                                                                                      SAN JOSE              CA   95161-9051   UNITED STATES                       VEN_828781           828781   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUIK RESPONSE                                  16315 PIUMA AVE                                                                                                                                   CERRITOS              CA     90703      UNITED STATES                       VEN_634652           634652   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QUINTANA, SUZANNE                              5415 FINESTRA ST                                                                                                                                  PAHRUMP               NV     89061      UNITED STATES                      EMP_MF_0221                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
QUORLES, DARNELL                               C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                 CMSLITCA_CA1100369_003              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
QURESHI, SAMI & AKHTAR                         C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                 CMSLITCA_CA1100369_048              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
QWEST                                          PO BOX 29039                                                                                                                                      PHOENIX               AZ     85038      UNITED STATES                       VEN_784044           784044   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QWEST                                          PO BOX 69040                                                                                                                                      PHOENIX               AZ   85038-9040   UNITED STATES                       VEN_428576           428576   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
QWIK RESPONSE                                  16315 PIUMA ST.                                                                                                                                   CERRITOS              CA     90703      UNITED STATES                       VEN_639605           639605   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
R & C MASONRY, INC.                            1527 STARR DRIVE, SUITE T                                                                                                                         YUBA CITY             CA     95993      UNITED STATES                    CONTRACT_00596                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
R & J ENGEL FARM                               3001 E. LEHI RD.                                                                                                                                  MESA                  AZ     85213      UNITED STATES                       VEN_732295           732295   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
R&J ENGEL FARMS                                3001 E. LEHI RD.                                                                                                                                  MESA                  AZ     85213      UNITED STATES                    CONTRACT_00597          732295   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
R&R FABRICATIONS, INC.                         13438 LAMBERT RD.                                                                                                                                 WHITTIER              CA     90605      UNITED STATES                    CONTRACT_00598                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
R&R PRODUCTS, INC                              3334 EAST MILBER STREET                                                                                                                           TUCSON                AZ     85714      UNITED STATES                       VEN_MF_148                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
R. STEWART HONEYMAN, JR.                       PO BOX 2206                                                                                                                                       PALM BEACH            FL     33480      UNITED STATES                       VEN_829071           829071   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
R.A.M.M. CORPORATION                           3348 N. BUCYRUS - ERIE                                                                                                                            N. LAS VEGAS          NV     89030      UNITED STATES                    CONTRACT_00599          722329   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
R.C. WENDT PAINTING, INC.                      21612 SURVEYOR CIRCLE                                                                                                                             HUNTINGTON BEACH      CA     92646      UNITED STATES                  CMSLITCA_1103527_039               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
R.C. WENDT PAINTING, INC.                      C/O ELIZABETH P. NADELSON, ESQ.                 LAW OFFICES OF KEVIN PEGAN            ONE MACARTHUR PLACE, SUITE #310                             SANTA ANA             CA     92707      UNITED STATES                  CMSLITCA_365116_098                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
R.C. WENDT PAINTING, INC.                      C/O JN MONTGOMERY, AGENT                        362 MAGNOLIA STREET                                                                               COSTA MESA            CA     92627      UNITED STATES                 CMSLITCA_MC021755_030               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
R.C. WILLEY HOME FURNISHINGS                   2301 SOUTH 300 WAY                                                                                                                                SALT LAKE CITY        UT     84115      UNITED STATES                       VEN_806101           806101   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
R.E.M. CONCEPTS, INC. DBA ABC WINDOW CO.       ELLEN HEGWER                                    16 PLUMBAGO                                                                                       IRVINE                CA     92620      UNITED STATES                  CMSLITCA_1103527_041               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
R.E.M. CONCEPTS, INC., DBA ABC WINDOW CO.      C/O ELLEN HEGWER, AGENT                         16 PLUMBAGO                                                                                       IRVINE                CA     92620      UNITED STATES                  CMSLITCA_365116_060                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
R.E.M. CONCEPTS, INC., DBA ABC WINDOW CO.      C/O KURT U. CAMPBELL, ESQ./NICHOLAS D. BRAUNS, ESQ.
                                                                                               KLINEDINST PC                         501 WEST BROADWAY, SUITE #600                               SAN DIEGO             CA     92101      UNITED STATES                  CMSLITCA_365116_099                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
R.H. DUPPER LANDSCAPING INCORPORATED           1020 W. RANCH ROAD, SUITE 105                                                                                                                     TEMPE                 AZ   85284-2011   UNITED STATES                    CONTRACT_00601          416372   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
R.M. EQUIPMENT, INC.                           18652 FLORIDA ST.,SUITE 360                                                                                                                       HUNTINGTON BEACH      CA     92648      UNITED STATES                       VEN_391618           391618   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
R/S SERVICE & SUPPLY                           10227 N. EL MIRAGE RD.                                                                                                                            EL MIRAGE             AZ     85335      UNITED STATES                    CONTRACT_00602          375398   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RACKSPACE HOSTING                              PO BOX 730759                                                                                                                                     DALLAS                TX   75373-0759   UNITED STATES                    CONTRACT_00603          810767   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RADER, NILES                                   PO BOX 9102                                                                                                                                       PAHRUMP               NV     89060      UNITED STATES                      EMP_MF_0222                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
RAE CHARLES FAMILY TRUST, THE                  C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC              5752 OBERLIN DRIVE, SUITE 105                               SAN DIEGO             CA     92121      UNITED STATES                   CMSLITCA_96610_039                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RAFAEL CONCRETE                                7120 RAFAEL RIDGE WAY                                                                                                                             LAS VEGAS             NV     89119      UNITED STATES                    CONTRACT_00604          835921   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RAFAEL FLORES                                  29950 WHITE SAIL PLACE                                                                                                                            CANYON LAKE           CA     92587      UNITED STATES                       VEN_838532           838532   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RAFAEL FRAMERS                                 7120 RAFAEL RIDGE WAY                                                                                                                             LAS VEGAS             NV     89119      UNITED STATES                    CONTRACT_00605          839543   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RAGS 2 RICH'S, INC.                            81 VIA MARBRISA                                                                                                                                   SAN CLEMENTE          CA     92673      UNITED STATES                       VEN_820594           820594   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RAIN 2 DAY, INC.                               4740 INDUSTRY PARK COURT                                                                                                                          LAS VEGAS             NV     89115      UNITED STATES                       VEN_696941           696941   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RAINBOW MUNICIPAL WATER DISTRICT               3707 OLD HIGHWAY 395                                                                                                                              FALLBROOK             CA   92028-9372   UNITED STATES                       VEN_244451           244451   No   Vendor     Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RAINBOW MUNICIPAL WATER DISTRICT               PO BOX 2500                                                                                                                                       FALLBROOK             CA   92088-2500   UNITED STATES                       VEN_397669           397669   No   Vendor     Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RAINBOW POOLS                                  2880 N NELLIS BLVD, STE A                                                                                                                         LAS VEGAS             NV   89115-3411   UNITED STATES                       VEN_MF_149                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RAINMAN WATER TRUCK SERVICE                    140 W. BARBARA AVE                                                                                                                                PAHRUMP               NV     89060      UNITED STATES                    CONTRACT_00606          662549   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RAJE BLINDS                                    7350 DEAN MARTIN DR., SUITE 310                                                                                                                   LAS VEGAS             NV     89139      UNITED STATES                    CONTRACT_00607          716009   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RAMKUL/PANGPRASERTGUL, NALINRAT & JINDAW       859 N. MOUNTAIN AVE APT 5F                                                                                                                        UPLAND                CA     91796      UNITED STATES                       VEN_838971           838971   No   Vendor     Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                 10/26/2011
RAMOS, JOEY & EDITHA                           C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                 CMSLITCA_CA1100369_049              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RAMSEY BACKFLOW & PLUMBING                     11626 STERLING AVE, SUITE D                                                                                                                       RIVERSIDE             CA     92503      UNITED STATES                       VEN_763737           763737   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RANCHO MERCADO INVESTMENT LIMITED              ATTN ANDREW W. KUNASEK, C/O MERCADO MANAGEMENT, 7320 E.
                                                                                                    INC.
                                                                                                       SHOEMAN LN.                                                                               SCOTTSDALE            AZ     85251      UNITED STATES                    CONTRACT_00608                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RANCHO MISSION VIEJO RODEO LLC                 PO BOX 9                                                                                                                                          SAN JUAN CAPISTRANO   CA     92693      UNITED STATES                       VEN_457140           457140   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RANDAZZO ENTERPRISES, INC.                     13550 BLACKIE RD.                                                                                                                                 CASTROVILLE           CA   95012-3200   UNITED STATES                    CONTRACT_00609                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RANDI, PAUL                                    546 TYLER AVENUE                                                                                                                                  LIVERMORE             CA     94550      UNITED STATES                      EMPT_NC_0294                   No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
RANDOLP, GARRETTE                              6848 GORDON COURT                                                                                                                                 STOCKTON              CA     95219      UNITED STATES                       VEN_391588           391588   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RANDOLPH, GARRETTE                             6848 GORDON CT.                                                                                                                                   STOCKTON              CA     95219      UNITED STATES                      EMP_NC_0144                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
RANDOLPH, RODNEY                               13411 S 208TH DRIVE                                                                                                                               BUCKEYE               AZ     85326      UNITED STATES                      EMPT_AZ_0269                   No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
RANDOM LENGTHS                                 PO BOX 867                                                                                                                                        EUGENE                OR   97440-0867   UNITED STATES                       VEN_391589           391589   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RANDOM LENGTHS PUBLICATIONS, INC               PO BOX 867                                                                                                                                        EUGENE                OR   97440-0867   UNITED STATES                       VEN_195266           195266   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RANDY & BETTY COLLINS                          2200 WINERY RD.                                                                                                                                   PAHRUMP               NV     89048      UNITED STATES                       VEN_817598           817598   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RANEY ET. AL.                                  C/O PAUL TERRY, ESQ. (ANGUIS & TERRY)           1120 N. TOWN CENTER DRIVE SUITE 260                                                               LAS VEGAS             NV     89144      UNITED STATES                     CMSLIT_451.0035                 No   Litigant   Nevada              WLH Combo Litigation Load file.XLSX                                    10/27/2011
RANSOM, CHAROLETTA                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                             IRVINE                CA     92612      UNITED STATES                CMSLITCA_CIVRS913725_028             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RANSOM, MARLON                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP    19900 MACARTHUR BLVD., STE. 850                             IRVINE                CA     92612      UNITED STATES                CMSLITCA_CIVRS913725_027             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RATTS, STEVE                                   11870 PIERCE ST., SUITE 200                                                                                                                       RIVERSIDE             CA     92505      UNITED STATES                       VEN_303221           303221   No   Vendor     Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RATTS, STEVE                                   13547 HAVASU ROAD                                                                                                                                 APPLE VALLEY          CA     92308      UNITED STATES                      EMPT_SC_0308                   No   Employee   Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
RB CONSTRUCTION, INC.                          893 BOGGS TERRACE                                                                                                                                 FREMONT               CA     94539      UNITED STATES                    CONTRACT_00610                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RBF CONSULTING                                 14725 ALTON PARKWAY                                                                                                                               IRVINE                CA   92618-2027   UNITED STATES                       VEN_812391           812391   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RBF CONSULTING                                 40810 COUNTY CENTER DR., SUITE 100                                                                                                                TEMECULA              CA   92591-6022   UNITED STATES                    CONTRACT_00611                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RBF CONSULTING                                 DOUGLAS J. FROST                                14725 ALTON PARKWAY                                                                               IRVINE                CA     92618      UNITED STATES                  CMSLITCA_1200040445                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RBM CONSTRUCTION, INC.                         6227 RUTLAND AVE.                                                                                                                                 RIVERSIDE             CA     92503      UNITED STATES                       VEN_278539           278539   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RBM CONSTRUCTION, INC.                         ROBERTO RENDON RANGEL                           10543 GRAMERCY PLACE                                                                              RIVERSIDE             CA     92505      UNITED STATES                  CMSLITCA_1103527_040               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RBP OF ARIZONA, INC., DBA GLAZING INDUSTRIES   C/O JOHN H. PODESTA, AGENT                      643 BAIR ISLAND ROAD, SUITE #400                                                                  REDWOOD CITY          CA     94063      UNITED STATES                 CMSLITCA_MC021755_029               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RC WENDT PAINTING                              21612 SURVEYOR CIRCLE                                                                                                                             HUNTINGTON BEACH      CA     92646      UNITED STATES                       VEN_222885           222885   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RC WENDT PAINTING CONTRACTORS                  21612 SURVEYOR CIR                                                                                                                                HUNTINGTON BCH        CA     92646      UNITED STATES                       VEN_391592           391592   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RCC HOLDINGS, LLC DBA: CABINET WEST            150 CASSIA WAY, SUITE 100                                                                                                                         HENDERSON             NV     89014      UNITED STATES                    CONTRACT_00612          826988   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RCR PLUMBING & MECHANICAL, INC.                12620 MAGNOLIA AVENUE                                                                                                                             RIVERSIDE             CA     92503      UNITED STATES                       VEN_246238           246238   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RCR PLUMBING & MECHANICAL, INC.                5165 SCHRILLS ST.                                                                                                                                 LAS VEGAS             NV     89118      UNITED STATES                    CONTRACT_00614          190254   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RCR PLUMBING AND MECHANICAL, INC.              C/O CT CORPORATION SYSTEM, AGENT                818 WEST 7TH STREET                                                                               LOS ANGELES           CA     90017      UNITED STATES                 CMSLITCA_MC021755_031               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
READE & ASSOCIATES                             4560 S. DECATUR BLVD,SUITE 201                                                                                                                    LAS VEGAS             NV     89103      UNITED STATES                       VEN_669011           669011   No   Vendor     Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
READE & ASSOCIATES CLIENT TRUST ACCOUNT        4560 S. DECATUR BLVD                                                                                                                              LAS VEGAS             NV     89103      UNITED STATES                       VEN_840931           840931   No   Vendor     Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REAL ESTATE ECONOMICS                          8961 RESEARCH DR., #200                                                                                                                           IRVINE                CA     92618      UNITED STATES                       VEN_391595           391595   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REAL ESTATE GUIDE                              PO BOX 87                                                                                                                                         BRENTWOOD             CA     94513      UNITED STATES                       VEN_838188           838188   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REAL ESTATE TEMPS                              2465 CAMPUS DRIVE 1ST FLOOR                                                                                                                       IRVINE                CA   92612-1502   UNITED STATES                    CONTRACT_00615          236216   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
REALTY WEST, INC.                              5325 S. POLARIS AVE, SUITE 500                                                                                                                    LAS VEGAS             NV     89118      UNITED STATES                       VEN_286109           286109   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REBEL PARTY RENTALS                            4215 BERTSOS DR.                                                                                                                                  LAS VEGAS             NV     89103      UNITED STATES                       VEN_MF_150                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RED BULL DIST. SOUTHERN NEVADA                 3975 MONACO PARKWAY, UNIT A                                                                                                                       DENVER                CO     80207      UNITED STATES                       VEN_MF_151                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RED LION MFG., INC                             PO BOX 12816                                                                                                                                      PHILADELPHIA          PA   19176-0816   UNITED STATES                       VEN_MF_152                    No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RED ROCK WINDOW CLEANING, INC.                 5000 WEST OAKEY, UNIT C-12                                                                                                                        LAS VEGAS             NV     89146      UNITED STATES                       VEN_752780           752780   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RED ROSE INC. DBA: PETERSENDEAN ROOFING        4530 N. WALNUT RD.                                                                                                                                N. LAS VEGAS          NV     89081      UNITED STATES                       VEN_800850           800850   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REDDY, RAJU & RACHANA                          C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                  CMSLITCA_173057_038                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
REDMOND, GREGORY S. & PHYLLIS O.               C/O FRED M. ADELMAN, ESQ.                       MILSTEIN, ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                  CMSLITCA_500837_003                No   Litigant   California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
REEB DEVELOPMENT CONSULTING                    10457 HARVEST VIEW WAY                                                                                                                            SAN DIEGO             CA     92128      UNITED STATES                       VEN_275670           275670   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REECE STAIR                                    PO BOX 280                                                                                                                                        FOLSOM                CA   95763-0280   UNITED STATES                       VEN_813212           813212   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REED AND DAVIDSON                              3699 WILSHIRE BLVD, SUITE 1290                                                                                                                    LOS ANGELES           CA     90010      UNITED STATES                       VEN_220775           220775   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REED THOMAS CO., INC.                          1025 N. SANTIAGO ST.                                                                                                                              SANTA ANA             CA     92701      UNITED STATES                       VEN_647138           647138   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REED, HARRY & DENAE                            C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                              SANTA MONICA          CA     90405      UNITED STATES                CMSLITCA_DEL1100369_100              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
REEF CENTRA POINT B1-5                         PO BOX 511525                                                                                                                                     LOS ANGELES           CA   90051-8080   UNITED STATES                       VEN_776853           776853   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REEVES MASONRY, INC.                           978 CENTER ST.                                                                                                                                    RIVERSIDE             CA     92507      UNITED STATES                       VEN_679931           679931   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REEVES, MICHAEL                                2800 KILLARNEY DR                                                                                                                                 SAN PABLO             CA     94806      UNITED STATES                      EMP_NC_0145                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
REEVES, SALLEENA                               4980 E LAUTE                                                                                                                                      PHARUMP               NV     89061      UNITED STATES                      EMP_MF_0223                    No   Employee   Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
REGAL CINEMEDIA                                C/O CORPORATE BOX OFFICE                        7132 REGAL LANE                                                                                   KNOXVILLE             TN     37918      UNITED STATES                       VEN_644391           644391   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REGAL CULTURED MARBLE                          1239 E. FRANKLIN AVE                                                                                                                              POMONA                CA     91766      UNITED STATES                       VEN_391599           391599   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REGAL CULTURED MARBLE, INC.                    1239 E. FRANKLIN AVE                                                                                                                              POMONA                CA     91766      UNITED STATES                    CONTRACT_00617                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
REGAL CULTURED MARBLE, INC.                    C/O KENYON M. YOUNG, ESQ.                       BRAGG & KULUVA                        610 WEST ASH STREET, SUITE #1105                            SAN DIEGO             CA     92101      UNITED STATES                  CMSLITCA_365116_100                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
REGAL CULTURED MARBLE, INC.                    C/O PHILLIIP K. BLACK, AGENT                    1239 EAST FRANKLIN AVENUE                                                                         POMONA                CA     91766      UNITED STATES                 CMSLITCA_MC021755_032               No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
REGAL CULTURED MARBLE, INC.                    C/O SUZANNE T. NORRIS, ESQ.                     LAW OFFICES OF MARC JENNINGS          1551 NORTH TUSTIN AVENUE, SUITE #750                        SANTA ANA             CA     92705      UNITED STATES                  CMSLITCA_365116_062                No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
REGENCY CABINETS                               667 HI TECH PARKWAY                                                                                                                               OAKDALE               CA     95361      UNITED STATES                       VEN_381173           381173   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REGENT LAND INVESTMENTS LLC (OWNER)            C/O STARK OFFSHORE MANAGEMENT, LLC              ATTN JOSEPH LUKAS                     3600 SOUTH LAKE DRIVE                                       ST FRANCIS            WI     53231      UNITED STATES   414.294.7625     CONTRACT_00618                   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
REGENT LAND INVESTMENTS LLC, A DELAWARE
                                               11990 SAN VICENTE BLVD., STE. 200                                                                                                                 LOS ANGELES           CA     90049      UNITED STATES                      CONTRACT_00619         N/A     No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
LIMITED LIABILITY COMPANY
REGENT PROPERTIES, INC.                        ATTN JEFFREY A. DINKIN                         11990 SAN VICENTE BLVD., SUITE 200                                                                  LOS ANGELES          CA     90049      UNITED STATES   310.806.9801     CONTRACT_ANP_00012               No   Vendor     Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
REGISTRAR OF CONTRACTORS                       9821 BUSINESS PARK DRIVE                                                                                                                           SACRAMENTO           CA   95827-1703   UNITED STATES                         VEN_783391         783391   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REICHERT, SCOTT D.                             C/O SUZANNE N. PATRON, ESQ.                    MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                               SANTA MONICA         CA     90405      UNITED STATES                   CMSLITCA_SCV26452_021             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
REIS, THOMAS & PATRICIA A.                     C/O SUZANNE N. PATRON, ESQ.                    MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                               SANTA MONICA         CA     90405      UNITED STATES                   CMSLITCA_SCV26452_010             No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RELIABLE CONTRACTORS, INC.                     C/O MICHAEL A. LOISEL                          AGENT FOR SERVICE OF PROCESS           RELIABLE CONTRACTORS, INC.               16834 SAUSALITO DR. WHITTIER             CA     90603      UNITED STATES                    CMSLITCA_410092_002              No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RELIABLE GRAPHICS, INC.                        15013 CALIFA STREET                                                                                                                                VAN NUYS             CA   91411-3170   UNITED STATES                         VEN_760712         760712   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RELIABLE OFFICE SUPPLY                         PO BOX 105529                                                                                                                                      ATLANTA              GA   30348-5529   UNITED STATES                         VEN_368569         368569   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RELIABLE RECOVERY SERVICE                      23679 CALABASAS ROAD, SUITE 275                                                                                                                    CALABASAS            CA     91302      UNITED STATES                         VEN_843569         843569   No   Vendor     Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
RELIABLE TECH CONSULTING                       5234 E. HERRERA DRIVE                                                                                                                              PHOENIX              AZ     85054      UNITED STATES                         VEN_842689         842689   No   Vendor     Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
REPOWER SPECIALISTS LTD                        84500 SERVIS BERRY LN                                                                                                                              EUGENE               OR     97405      UNITED STATES                        VEN_MF_153                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
REPUBLIC ELECTRIC, INC.                        3820 HAPPY LANE                                                                                                                                    SACRAMENTO           CA     95827      UNITED STATES                      CONTRACT_00620        740826   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
REPUBLIC SERVICES OF SOUTHERN NEVADA           PO BOX 78829                                                                                                                                       PHOENIX              AZ   85062-8829   UNITED STATES                      CONTRACT_00621        435987   No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RESERVE ACCOUNT                                PO BOX 223648                                                                                                                                      PITTSBURGH           PA   15250-2648   UNITED STATES                         VEN_418175         418175   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RESERVE DATA ANALYSIS INC.                     2761 E. BRIDGEPORT PARKWAY                                                                                                                         GILBERT              AZ     85295      UNITED STATES                         VEN_412718         412718   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RESIDENTIAL DESIGN SERVICES                    4900 E. HUNTER AVE                                                                                                                                 ANAHEIM              CA     92807      UNITED STATES                      CONTRACT_00622                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RESIDENTIAL ELECTRIC ASSOCIATES                123 ROSE DRIVE                                                                                                                                     FULLERTON            CA     92833      UNITED STATES                      CONTRACT_00623                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RESIDENTIAL FIRE SYSTEMS, INC.                 2871 E. VIA MARTENS                                                                                                                                ANAHEIM              CA     92806      UNITED STATES                      CONTRACT_00624                 No   Vendor     Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
RESOURCE CONCEPTS, INC.                        340 N. MINNESOTA ST.                                                                                                                               CARSON CITY          NV   89703-4152   UNITED STATES                         VEN_649117         649117   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
REVIEW-JOURNAL LAS VEGAS SUN                   PO BOX 920                                                                                                                                         LAS VEGAS            NV   89125-0920   UNITED STATES                        VEN_MF_154                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RFM SUPPLY CO., INC                            301 S. OXBOW AVE., UNITS 1 & 2                                                                                                                     PAHRUMP              NV     89048      UNITED STATES                        VEN_MF_155                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RHINOS TURF EQUIPMENT, NORTH                   3531 N. RANCHO                                                                                                                                     LAS VEGAS            NV     89130      UNITED STATES                        VEN_MF_156                   No   Vendor     Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
RIA GROUP                                      TAX & ACCOUNTING-R&G                           PO BOX 71687                                                                                        CHICAGO              IL   60694-1687   UNITED STATES                         VEN_391611         391611   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
RICH, RANDY                                    C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP          8306 WILSHIRE BLVD., SUITE 1113                              BEVERLY HILLS        CA     90211      UNITED STATES                  CMSLITCA_SCV0028445_007            No   Litigant   California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
RICHARD A. RICCIARDI                           12861 HAZEL AVE                                                                                                                                    GARDEN GROVE         CA     92841      UNITED STATES                         VEN_239581         239581   No   Vendor     Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
                                                                            Case 11-14019-CSS                                                                           Doc 1-4         Filed 12/19/11                             Page 22 of 29

RICHARD BARTLETT PAINTING & DRYWALL          4067 HAVERFORD AVE.                                                                                                              RIVERSIDE          CA     92507      UNITED STATES           VEN_224629          224629   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RICHARD L. VALDEZ                            31805 TEMECULA PARKWAY, SUITE 129                                                                                                TEMECULA           CA     92592      UNITED STATES           VEN_821706          821706   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RICHARD LOPEZ CONSTRUCTION                   3940 CALIFORNIA AVE, #B                                                                                                          NORCO              CA     92860      UNITED STATES           VEN_568675          568675   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RICHARDS, LAYTON & FINGER                    ONE RODNEY SQUARE                               PO BOX 551                                                                       WILMINGTON         DE     19899      UNITED STATES           VEN_728982          728982   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RICK ENGINEERING COMPANY                     5620 FRIARS ROAD                                                                                                                 SAN DIEGO          CA   92110-2596   UNITED STATES         CONTRACT_00625                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RICOH                                        PO BOX 4245                                                                                                                      CAROL STREAM       IL   60197-4245   UNITED STATES         CONTRACT_00626        841475   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RICOH AMERICAS CORPORATION                   5 DEDRICK PLACE                                                                                                                  WEST CALDWELL      NJ     07006      UNITED STATES         CONTRACT_00627                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RICOH AMERICAS CORPORATION                   PO BOX 35701                                                                                                                     BILLINGS           MT   59107-5701   UNITED STATES             UCC_021                    No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
RIDDIO CONSTRUCTION COMPANY, INC.            5870 88TH ST.                                                                                                                    SACRAMENTO         CA     95828      UNITED STATES           VEN_236232          236232   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIDGEWAY, TERRY & VERENA JOHNSON             C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_050             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RIDOUT ROOFING COMPANY                       621-A WILLIAMS STREET                                                                                                            SAN LEANDRO        CA     94577      UNITED STATES           VEN_415185          415185   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIGGS DISTRIBUTING, INC.                     1755 ROLLINS RD.                                                                                                                 BURLINGAM          CA     94010      UNITED STATES         CONTRACT_00628                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RIGHELLIS PC                                 2328 TIMBERLINE WAY                                                                                                              LAS VEGAS          NV     89117      UNITED STATES           VEN_653693          653693   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RILEY DESIGN ASSOCIATES                      2272 CAMINO RAMON, SUITE 100                                                                                                     SAN RAMON          CA     94583      UNITED STATES           VEN_811153          811153   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIM ROCK ENGINEERING LLC                     7473 W. LAKEMEAD BLVD, SUITE 100                                                                                                 LAS VEGAS          NV     89128      UNITED STATES         CONTRACT_00629        821407   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RINDERKNECHT, STEVEN                         6290 VICKIANN ROAD                                                                                                               PAHRUMP            NV     89048      UNITED STATES          EMP_MF_0224                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
RIOS, FRANK & SIGRID                         C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_018              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RISING SUN PLUMBING, LLC                     121 CORPORATE PARK DR. STE 110                                                                                                   HENDERSON          NV     89074      UNITED STATES           VEN_536462          536462   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RISLEY, JEFFREY                              C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                              ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES      CMSLITCA_20010042_008             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RISLEY, KARI                                 C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                              ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES      CMSLITCA_20010042_009             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RISPER-SIMPSON, DEBRA                        C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_065             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RITUMBAN, TESSIE                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_048              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RITUMBAN, VIRGILIO                           C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_047              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RIVER CITY BUILDING SUPPLY, INC.             PO BOX 981298                                                                                                                    W. SACRAMENTO      CA     95798      UNITED STATES           VEN_826718          826718   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIVERA COMPANY                               C/O ALICIA RIVERA                               AGENT FOR SERVICE OF PROCESS           502 5TH STREET                            OAKLEY             CA     94561      UNITED STATES       CMSLITCA_500837_011              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
RIVERA COMPANY                               C/O KARIN LANDRY, ESQ.                          VAN DE POEL & LEVY, LLP                1600 S. MAIN PLAZA, SUITE 325             WALNUT CREEK       CA     94596      UNITED STATES       CMSLITCA_500837_012              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    11/8/2011
RIVERA GRADING, INC.                         502 5TH ST.                                                                                                                      OAKLEY             CA     94561      UNITED STATES         CONTRACT_00630                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RIVERA, ANGELO & JEANNE                      C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_019              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RIVERA, MARK & RUTH                          C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_021               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RIVERA, RUBEN & GLORIA                       C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_SCV26452_011              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RIVERA'S IRON WORKS (NO.COUNTY ENTERP.)      2534 S. SANTA FE AVE                                                                                                             VISTA              CA     92084      UNITED STATES           VEN_567390          567390   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIVERSIDE COUNTY                             ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 12005                                                                     RIVERSIDE          CA     92502      UNITED STATES         CMSTX_223466_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
RIVERSIDE COUNTY FLOOD CONTROL DISTRICT      1995 MARKET STREET                                                                                                               RIVERSIDE          CA     92501      UNITED STATES           VEN_223191          223191   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIVERSIDE COUNTY FLOOD CONTROL DISTRICT      ATTN: PROPERTY TAX DEPARTMENT                   1995 MARKET STREET                                                               RIVERSIDE          CA     92501      UNITED STATES         CMSTX_223191_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
RIVERSIDE COUNTY TAX COLLECTOR               PAUL MCDONNELL                                  PO BOX 12005                                                                     RIVERSIDE          CA   92502-2205   UNITED STATES           VEN_223466          223466   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RIVERSIDE COUNTY TREASURER                   PO BOX 12010                                                                                                                     RIVERSIDE          CA   92502-2210   UNITED STATES           VEN_830741          830741   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RMA GROUP                                    6293 SAN IGNACIO AVE., SUITE A                                                                                                   SAN JOSE           CA     95119      UNITED STATES         CONTRACT_00631                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RMA GROUP OF NORTHERN CALIFORNIA, INC.       257 WRIGHT BROTHERS AVE                                                                                                          LIVERMORE          CA     94551      UNITED STATES           VEN_819956          819956   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RMA GROUP, INC.                              12130 SANTA MARGARITA COURT                                                                                                      RANCHO CUCAMONGA   CA     91730      UNITED STATES           VEN_246131          246131   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RMC COMMUNICATIONS                           5678 LA COSTA CANYON CT SUITE 105                                                                                                LAS VEGAS          NV     89139      UNITED STATES           VEN_MF_157                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
ROBBINS PLUMBING                             10765 LAUREL AVENUE                                                                                                              SANTA FE SPRINGS   CA     90670      UNITED STATES         CONTRACT_00632                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ROBERGE, BRENDA                              400 S. FLOWER ST. #25                                                                                                            ORANGE             CA     92868      UNITED STATES         EMP_CORP_0146                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ROBERGE, BRENDA G.                           PETTY CASH CUSTODIAN                            4490 VON KARMAN AVENUE                                                           NEWPORT BEACH      CA     92660      UNITED STATES           VEN_238369          238369   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROBERT D. VICKERY                            30 COSTA BRAVA                                                                                                                   LAGUNA NIGUEL      CA     92677      UNITED STATES           VEN_819631          819631   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROBERT PALACIOS MASONRY, INC.                2189 LATHAM ST.                                                                                                                  SIMI VALLEY        CA     93065      UNITED STATES           VEN_722249          722249   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROBERT S. WOODS                              511 S. CALLE DE CASAS                                                                                                            ANAHEIM            CA     92807      UNITED STATES           VEN_819649          819649   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROBERTS JR., JOHN                            6946 SEABORN ST.                                                                                                                 LAKEWOOD           CA     90713      UNITED STATES          EMPT_SC_0309                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ROBERTS, GREG & SUSAN                        C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_365116_011              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROBERTS, JOHN                                6946 SEABORN ST.                                                                                                                 LAKEWOOD           CA     90713      UNITED STATES           VEN_510529          510529   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROBINSON, ANNIE ROXINE                       C/O NEIL S. STEINER, ESQ.                       STEINER & LIBO, P.C.                   433 NORTH CAMDEN DRIVE, SUITE 730         BEVERLY HILLS      CA     90210      UNITED STATES      CMSLITCA_1108922_001              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
ROBINSON, COLLEEN                            C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_001               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROBINSON, RAY & MYRNA                        C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_020              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROBINSON, RICHARD                            213 VIA FIRENZE                                                                                                                  NEWPORT BEACH      CA     92663      UNITED STATES         EMP_CORP_0147                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ROBINSON, RICK                               213 VIA FIRENZE                                                                                                                  NEWPORT BEACH      CA     92663      UNITED STATES           VEN_391622          391622   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROBLES, RICK E.                              C/O ISRAEL E. GARCIA, ESQ.                      MILSTEIN, ADELMAN & KREGER, LLP        2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_105271_003              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROCKLIN UNIFIED SCHOOL DISTRICT              2615 SIERRA MEADOWS DR.                                                                                                          ROCKLIN            CA     95677      UNITED STATES           VEN_673791          673791   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROCKWAY PRECAST                              3840 N BRUCE ST                                                                                                                  NORTH LAS VEGAS    NV     89030      UNITED STATES         CONTRACT_00633        522378   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ROCKWELL DRYWALL, INC.                       1341 W. ARROW HIGHWAY                                                                                                            SAN DIMAS          CA     91773      UNITED STATES         CONTRACT_00634                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RODRIGUEZ, ALMA                              1280 104TH AVE.                                                                                                                  OAKLAND            CA     94603      UNITED STATES          EMP_NC_0148                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
RODRIGUEZ, RANDY                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_052            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RODRIGUEZ, WANDA                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_053            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROEL CONSTRUCTION CO., INC.                  3366 KURTZ STREET                                                                                                                SAN DIEGO          CA     92110      UNITED STATES           VEN_234211          234211   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROGERS GRADING                               PO BOX 8658                                                                                                                      FOUNTAIN VALLEY    CA   92728-8658   UNITED STATES         CONTRACT_00635                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ROGER'S POOL SERVICE                         5282 ACACIA AVE                                                                                                                  GARDEN GROVE       CA     92845      UNITED STATES           VEN_807154          807154   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROMERO, FRANCISCA                            C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                      2155 CHICAGO AVE., SUITE 300              RIVERSIDE          CA     92507      UNITED STATES      CMSLITCA_1105650_009              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROMERO, WILFREDO                             C/O KARIN N. KUEMERLE, ESQ.                     ANDERSON & KRIGER                      2155 CHICAGO AVE., SUITE 300              RIVERSIDE          CA     92507      UNITED STATES      CMSLITCA_1105650_008              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROMERO'S GARDENING                           2114 SOUTH CEDAR ST.                                                                                                             SANTA ANA          CA     92707      UNITED STATES           VEN_826881          826881   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROOMS INTERIORS, INC.                        920 GARDENIA WAY                                                                                                                 CORONA DEL MAR     CA     92625      UNITED STATES           VEN_829732          829732   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROOT, ROBERT & KIMBERLY                      C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_173057_034              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROSABELLA COMMUNITY ASSOC.-558               C/O EUCLID MANAGEMENT CO.                       PO BOX 1510                                                                      UPLAND             CA   91785-1510   UNITED STATES           VEN_786613          786613   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROSANDER, KARL                               C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                             ANDERSON
                                                                                                  ESQ. JAKE
                                                                                                        & KRIGER
                                                                                                            J. FATHY, ESQ.          3831 N. FREEWAY BLVD., SUITE 110          SACRAMENTO         CA     95834      UNITED STATES       CMSLITCA_98007_002               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROSANDER, ROSANNA                            C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                             ANDERSON
                                                                                                  ESQ. JAKE
                                                                                                        & KRIGER
                                                                                                            J. FATHY, ESQ.          3831 N. FREEWAY BLVD., SUITE 110          SACRAMENTO         CA     95834      UNITED STATES       CMSLITCA_98007_001               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROSE, ALEN & KAREN                           C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_365116_012              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROSEN, JAMES                                 C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_365116_020              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROSENBLAD, ARNIE L.                          C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_038               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROTARY CLUB OF HAWTHORNE                     PO BOX 154                                                                                                                       HAWTHORNE          CA   90251-0154   UNITED STATES           VEN_829054          829054   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROTH STAFFING COMPANIES, INC.                FILE 50988                                                                                                                       LOS ANGELES        CA   90074-0988   UNITED STATES           VEN_369254          369254   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROTO ROOTER - MODESTO                        2924 WEST HATCH RD.                                                                                                              MODESTO            CA     95358      UNITED STATES           VEN_508197          508197   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROTO-ROOTER                                  195 MASON CIRCLE                                                                                                                 CONCORD            CA     94520      UNITED STATES           VEN_230252          230252   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROTO-ROOTER - STOCKTON                       4228 NEWTON RD.,SUITE A                                                                                                          STOCKTON           CA     95205      UNITED STATES           VEN_391629          391629   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROTO-ROOTER SERVICE & PLUMBING               24971 AVENUE STANFORD                                                                                                            VALENCIA           CA   91355-1278   UNITED STATES           VEN_466898          466898   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROUCIS, JOHN B.                              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_066             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ROUTE 66 ROOFING CO., INC.                   PO BOX 9610                                                                                                                      SAN BERNARDINO     CA     92427      UNITED STATES           VEN_575269          575269   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROYAL REPORTING SERVICES, INC.               1333 HOWE AVE, SUITE 228                                                                                                         SACRAMENTO         CA     95825      UNITED STATES           VEN_832691          832691   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ROYAL, KENNETH & DAWN                        C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_365116_013              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RR DONNELLEY RECEIVABLES, INC.               PO BOX 100112                                                                                                                    PASADENA           CA   91189-0001   UNITED STATES           VEN_502756          502756   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RSI - LAMCO INC. DBA RSI PROF. BUILDER       11350 RIVERSIDE DRIVE                                                                                                            MIRA LOMA          CA     91752      UNITED STATES           VEN_569871          569871   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RSI PROFESSIONAL CABINETS SOLUTION           11350 RIVERSIDE DRIVE                                                                                                            MIRA LOMA          CA     91752      UNITED STATES           VEN_771737          771737   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RSP, INC.                                    121 CORPORATE DR. #110                                                                                                           HENDERSON          NV     89074      UNITED STATES           VEN_682638          682638   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RT/DT, INC., DBA THOMAS PLUMBING             ROBERT THOMAS, AGENT FOR SERVICE                1671 VINEYARD DR.                                                                ANTIOCH            CA     94509      UNITED STATES       CMSLITCA_260916_003              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RTS SYSTEMS & DESIGN                         7026 KOLL CENTER PKWY., SUITE 230                                                                                                PLEASANTON         CA     94566      UNITED STATES         CONTRACT_00636                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RUDE, PATRICK & MELISSA                      C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_067             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RUGGERI-JENSEN-AZAR & ASSOC                  4690 CHABOT DRIVE, SUITE 200                                                                                                     PLEASANTON         CA     94588      UNITED STATES           VEN_391633          391633   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RUMMEL CONSTRUCTION INC.                     7520 E. ADOBE DR.                                                                                                                SCOTTSDALE         AZ     85255      UNITED STATES         CONTRACT_00637        495218   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
RUSSELL, KIMBERLY                            28 HELENA                                                                                                                        IRVINE             CA     92604      UNITED STATES         EMP_CORP_0149                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
RUTAN & TUCKER, LLP                          611 ANTON BLVD., SUITE 1400                                                                                                      COSTA MESA         CA     92626      UNITED STATES           VEN_271652          271652   No   Vendor          Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
RUTEBUKA, ELLEN                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_050              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RUTEBUKA, OBED                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_049              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
RW GARAGE DOOR COMPANY                       845 DAVIS STREET                                                                                                                 VACAVILLE          CA     95687      UNITED STATES           VEN_434343          434343   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
S & S TILE AND STONE INSTALLATION, INC.      PO BOX 173                                                                                                                       VALLECITO          CA     95251      UNITED STATES           VEN_720391          720391   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
S & W WATERPROOFING, INC.                    1227 W. 225TH STREET                                                                                                             TORRANCE           CA     90502      UNITED STATES         CONTRACT_00638                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
S L STATE & ASSOCIATES                       172 CANYON LAKE WAY                                                                                                              SAN RAMON          CA     94583      UNITED STATES           VEN_462601          462601   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
S&K NELLIS PAINTING                          1478 WHARTON WAY                                                                                                                 CONCORD            CA     94521      UNITED STATES         CONTRACT_00639                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
S&SJ                                         21015 N. 53RD AVE                                                                                                                GLENDALE           AZ     85308      UNITED STATES         CONTRACT_00640        716164   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SA VENTURA, VANES                            C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_037            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SAADAT, WAHID & FEROZAN                      C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                             BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR   ANAHEIM            CA     92807      UNITED STATES      CMSLITCA_1103527_014              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SACRAMENTO A-1 DOOR                          PO BOX 214446                                                                                                                    SACRAMENTO         CA     95821      UNITED STATES           VEN_391639          391639   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SACRAMENTO ARTISTIC CONCRETE, INC.           961 WASHINGTON BLVD, SUITE 605                                                                                                   ROSEVILLE          CA     95678      UNITED STATES           VEN_826179          826179   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SACRAMENTO BEE                               PO BOX 11967                                                                                                                     FRESNO             CA   93776-1967   UNITED STATES           VEN_235045          235045   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SACRAMENTO BUILDING PRODUCTS                 PO BOX 534446                                                                                                                    ATLANTA            GA   30353-4446   UNITED STATES           VEN_535582          535582   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SACRAMENTO COUNTY TAX COLLECTOR              ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 508                                                                       SACRAMENTO         CA   95812-0508   UNITED STATES         CMSTX_235176_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SACRAMENTO COUNTY TAX COLLECTOR              PO BOX 508                                                                                                                       SACRAMENTO         CA   95812-0508   UNITED STATES           VEN_235176          235176   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SACRAMENTO MUNICIPAL UTILITY DISTRICT        6201 S. STREET, BOX 15555                       (S.M.U.D.)                                                                       SACRAMENTO         CA     95852      UNITED STATES           VEN_235088          235088   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SADDLEBACK COMMUNICATIONS                    PO BOX 171230                                                                                                                    SAN ANTONIO        TX     78217      UNITED STATES         CONTRACT_00641        435215   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SADDLEBACK GOLF CARS                         23252 VIA CAMPO VERDE                                                                                                            LAGUNA WOODS       CA     92637      UNITED STATES           VEN_422043          422043   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAELEE, SENG                                 C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                             MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_006             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SAFE 'N SECURE GARAGE DOOR (DBA BESSER)      25172 ARTIC OCEAN, SUITE 106                                                                                                     LAKE FOREST        CA     92630      UNITED STATES           VEN_696811          696811   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAFE 'N SECURE GARAGE DOOR SPECIALISTS       25172 ARCTIC OCEAN DRIVE, #106                                                                                                   LAKE FOREST        CA     92630      UNITED STATES           VEN_616024          616024   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAFECO INSURANCE COMPANY OF AMERICA          330 NORTH BRAND, STE 500                                                                                                         GLENDALE           CA     91207      UNITED STATES            BOND_068                    No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
SAFEGUARD SECURITY SERVICES                  PO BOX 5870                                                                                                                      SCOTTSDALE         AZ   85261-5870   UNITED STATES           VEN_244208          244208   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAFETY COMPLIANCE COMPANY                    21270 BOX SPRINGS RD., #207                     PO BOX 9760                                                                      MORENO VALLEY      CA     92557      UNITED STATES           VEN_585125          585125   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAFETY RAILS OF CALIFORNIA, INC.             34150 ANTELOPE ROAD, #H                                                                                                          MURRIETA           CA   92563-2430   UNITED STATES         CONTRACT_00642                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SAFETY RAILS OF NEVADA                       3447 RINGSTAR RD.                                                                                                                LAS VEGAS          NV     89030      UNITED STATES         CONTRACT_00643        247353   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SAFETY-KLEEN                                 PO BOX 7170                                                                                                                      PASADENA           CA   91109-7170   UNITED STATES           VEN_MF_158                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SAFEWAY, INC.                                5918 STONERIDGE MALL RD.                        TAX DIVISION                                                                     PLEASANTON         CA     94588      UNITED STATES           VEN_806098          806098   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAGER, PAMELA                                5820 E GRAINMILL                                                                                                                 PAHRUMP            NV     89061      UNITED STATES          EMP_MF_0225                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SAHAKIAN, ERIK                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_053              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SAHAKIAN, JUANITA                            C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_054              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SAITTA TRUDEAU                               1541 E. WAHKIAKUM AVE                                                                                                            PAHRUMP            NV     89048      UNITED STATES           VEN_MF_159                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SALES & MARKETING COUNCIL OF SO. CALIF.      25108 MARGUERITE PARKWAY, B-518                                                                                                  MISSION VIEJO      CA     92692      UNITED STATES           VEN_255901          255901   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SALESTRAQ TM                                 8813 BRIAR BAY DRIVE                                                                                                             LAS VEGAS          NV     89131      UNITED STATES         CONTRACT_00644        321613   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SALINAS, GABRIELA                            C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_052              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SALINAS, JOANA                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_051              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SALLEE, DAVID                                PO BOX 6564                                                                                                                      PAHRUMP            NV     89041      UNITED STATES          EMPT_MF_0363                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SALT RIVER COMMUNITY PROPERTY DEVELOPMENT
                                             CHAPARRAL BUSINESS CENTER C/O KITCHELL PROPERTY
                                                                                         1707 MANAGEMENT
                                                                                              E. HIGHLAND AVE, SUITE 100                                                      PHOENIX            AZ     85016      UNITED STATES        CONTRACT_00645         435004   No   Vendor         Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
AND ASSET MANAGEMENT COMPANY
SALT RIVER PIMA-MARICOPA INDIAN COMM.        ATTN: BUSINESS LICENSE FEE DEPARTMENT           C/O KITCHELL DEVP. CO. PROPERTY MGT.   1707 E. HIGHLAND, SUITE 100               PHOENIX            AZ     85016      UNITED STATES        CMSTX_419362_1                  No   Taxing AuthorityBusiness License    Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SALT RIVER PIMA-MARICOPA INDIAN COMM.        C/O KITCHELL DEVP. CO. PROPERTY MGT.            1707 E. HIGHLAND, SUITE 100                                                      PHOENIX            AZ     85016      UNITED STATES          VEN_419362           419362   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SALT RIVER PROJ AGRICULTURAL IMPROVEMENT &   PO BOX 52025                                                                                                                     PHOENIX            AZ   85072-2025   UNITED STATES           BOND_039                     No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
SALT RIVER PROJECT                           PO BOX 2950                                                                                                                      PHOENIX            AZ     85062      UNITED STATES          VEN_195856           195856   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SALT RIVER PROJECT                           PO BOX 52025                                                                                                                     PHOENIX            AZ     85072      UNITED STATES       CONTRACT_00646          534192   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SALTZBERG, MARVIN & ELIZABETH                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_068             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SALVADOR, SONIA                              151 CINNAMON TEAL                                                                                                                ALISO VIEJO        CA     92656      UNITED STATES        EMP_CORP_0150                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SAM HILL & SONS, INC.                        PO BOX 5670                                                                                                                      VENTURA            CA     93005      UNITED STATES          VEN_455865           455865   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAM'S CLUB                                   PO BOX 530981                                                                                                                    ATLANTA            GA   30353-0981   UNITED STATES          VEN_464382           464382   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAM'S CLUB DIRECT                            PO BOX 530930                                                                                                                    ATLANTA            GA   30353-0930   UNITED STATES          VEN_225867           225867   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAMS VENTURE, LLC                            1900 AVENUE OF THE STARS, SUITE 320                                                                                              LOS ANGELES        CA     90067      UNITED STATES       CONTRACT_00647            N/A    No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SAMUELSON, KIMBERLY                          1741 TUSTIN AVE                                 APT. 14C                                                                         COSTA MESA         CA     92627      UNITED STATES         EMPT_NV_0251                   No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SAN BERNARDINO COUNTY - TAX COLLECTOR        ATTN: PROPERTY TAX DEPARTMENT                   DICK LARSEN - TREASURER                172 W. THIRD STREET, 1ST FLOOR            SAN BERNARDINO     CA   92415-0360   UNITED STATES        CMSTX_341673_1                  No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SAN BERNARDINO COUNTY - TAX COLLECTOR        DICK LARSEN - TREASURER                         172 W. THIRD STREET, 1ST FLOOR                                                   SAN BERNARDINO     CA   92415-0360   UNITED STATES          VEN_341673           341673   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN CARLOS COMMUNITY ASSOCIATION             4490 VON KARMAN AVE                                                                                                              NEWPORT BEACH      CA     92660      UNITED STATES           BOND_040                     No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
SAN CARLOS COMMUNITY ASSOCIATION             C/O KEYSTONE PACIFIC PROPERTY MGMT. INC.        16845 VON KARMAN #200                                                            IRVINE             CA     92606      UNITED STATES          VEN_770099           770099   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN DIEGO COUNTY TAX COLLECTOR               1600 PACIFIC HIGHWAY, ROOM 162                                                                                                   SAN DIEGO          CA     92101      UNITED STATES          VEN_358838           358838   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN DIEGO COUNTY TAX COLLECTOR               ATTN: PROPERTY TAX DEPARTMENT                   1600 PACIFIC HIGHWAY, ROOM 162                                                   SAN DIEGO          CA     92101      UNITED STATES        CMSTX_358838_1                  No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SAN DIEGO GAS & ELECTRIC                     8316 CENTURY PARK COURT                                                                                                          SAN DIEGO          CA     92123      UNITED STATES          VEN_288711           288711   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN DIEGO GAS & ELECTRIC                     PO BOX 25111                                                                                                                     SANTA ANA          CA   92799-5111   UNITED STATES          VEN_234333           234333   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN FRANCISCO CHRONICLE                      PO BOX 7268                                                                                                                      SAN FRANCISCO      CA     94120      UNITED STATES          VEN_502983           502983   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN GABRIEL VALLEY NEWSPAPER                 PO BOX 6147                                                                                                                      COVINA             CA     91722      UNITED STATES          VEN_791383           791383   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN JOAQUIN CO. TAX                          ATTN: PROPERTY TAX DEPARTMENT                   PO BOX 2169                                                                      STOCKTON           CA     95201      UNITED STATES        CMSTX_391654_1                  No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SAN JOAQUIN CO. TAX                          PO BOX 2169                                                                                                                      STOCKTON           CA     95201      UNITED STATES          VEN_391654           391654   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN JOSE BLUE                                835 W. JULIAN ST.                                                                                                                SAN JOSE           CA     95126      UNITED STATES          VEN_373253           373253   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
                                                                          Case 11-14019-CSS                                                                        Doc 1-4           Filed 12/19/11                             Page 23 of 29

SAN JOSE UNIFIED SCHOOL DISTRICT            855 LENZEN AVE                                                                                                                 SAN JOSE           CA     95126      UNITED STATES           VEN_819403          819403   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN JOSE WATER COMPANY                      110 WEST TAYLOR ST.                                                                                                            SAN JOSE           CA     94583      UNITED STATES            BOND_041                    No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
SAN JOSE WATER COMPANY                      374 WEST SANTA CLARA STREET                                                                                                    SAN JOSE           CA     95196      UNITED STATES         CONTRACT_00648          N/A    No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SAN JOSE WATER COMPANY                      PO BOX 229                                                                                                                     SAN JOSE           CA   95103-0229   UNITED STATES           VEN_602458          602458   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN MARINO MASONRY, INC.                    4501 E. LA PALMA AVE, #200                                                                                                     ANAHEIM            CA     92807      UNITED STATES           VEN_539727          539727   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAN MIGUEL VILLAGE, LLC                     4490 VON KARMAN AVENUE                                                                                                         NEWPORT BEACH      CA     92660      UNITED STATES          AFFILIATE_033                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
SANCHEZ, GILBERT & NIDA                     C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_051             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SANCHEZ, MARK                               439 N LA JOLLA                                                                                                                 LOS ANGELES        CA     90048      UNITED STATES          EMP_SC_0151                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SANCHEZ, PEGGY                              4385 EILEEN ST                                                                                                                 RIVERSIDE          CA     92504      UNITED STATES        EMPT_CORP_0253                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SANCO PIPELINES, INC.                       368 E. CAMPBELL AVE, SUITE 200                                                                                                 CAMPBELL           CA     95008      UNITED STATES           VEN_391660          391660   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SANDERS, CRAIG                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_055              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SANDERS, KELLY                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_056              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SANDOVAL, ELENA                             C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_052             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SANTA ANA UNIFIED SCHOOL DISTRICT           1601 E. CHESTNUT AVE                                                                                                           SANTA ANA          CA     92701      UNITED STATES           VEN_830952          830952   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SANTA CLARA COUNTY TAX COLLECTOR            ATTN: PROPERTY TAX DEPARTMENT                   COUNTY GOVT. CENTER, EAST WING       70 W. HEDDING ST.                         SAN JOSE           CA   95110-1767   UNITED STATES         CMSTX_309251_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SANTA CLARA COUNTY TAX COLLECTOR            COUNTY GOVT. CENTER, EAST WING                  70 W. HEDDING ST.                                                              SAN JOSE           CA   95110-1767   UNITED STATES           VEN_309251          309251   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SANTA FE PLASTER                            620 ALPINE WAY                                                                                                                 ESCONDIDO          CA     92029      UNITED STATES           VEN_744042          744042   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SANTOS, RONALD                              C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_173057_006              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SANTY                                       6710 E. CAMELBACK RD., SUITE 100                                                                                               SCOTTSDALE         AZ     85251      UNITED STATES           VEN_747913          747913   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SAPETTO GROUP, INC.                         231 E. MEMORY LANE                                                                                                             SANTA ANA          CA     92705      UNITED STATES         CONTRACT_00649                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SARA BLAKE                                  10095 FIELDTHORN ST.                                                                                                           SAN DIEGO          CA     92127      UNITED STATES           VEN_843411          843411   No   Vendor          Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                    11/23/2011
SATAPATHY, AMIYA                            C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_173057_026              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SATTLEY, RYAN                               23740 HAYES AVE                                                                                                                MURRIETA           CA     92562      UNITED STATES           VEN_683711          683711   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SATTLEY, RYAN                               559 SUMMERHOLLY DRIVE                                                                                                          SAN MARCOS         CA     92078      UNITED STATES          EMP_SC_0152                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SAVAGE, CRAIG                               24176 ZANCON                                                                                                                   MISSION VIEJO      CA     92692      UNITED STATES         EMP_CORP_0153                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SAVANNAH DESIGN GROUP, LLC                  130 EAST GRAND AVE.                                                                                                            ESCONDIDO          CA     92025      UNITED STATES         CONTRACT_00650        371557   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SC DESIGN                                   42142 ROICK DRIVE                                                                                                              TEMECULA           CA     92590      UNITED STATES           VEN_518483          518483   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCARLA, ALEXANDER                           515 E. CAREFREE HWY                             #429                                                                           PHOENIX            AZ     85085      UNITED STATES          EMPT_AZ_0289                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SCHAAF & WHEELER                            100 N. WINCHESTER BLVD., SUITE 200                                                                                             SANTA CLARA        CA   95050-6566   UNITED STATES           VEN_493301          493301   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCHAAF, JAMES                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_057              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SCHAAF, LORI                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_058              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SCHAEFFER LAW                               3200 N. CENTRAL AVE, 23RD FLOOR                                                                                                PHOENIX            AZ     85012      UNITED STATES           VEN_830098          830098   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCHAUFFER, GARY E & PAULA                   C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                            BOJIC & LIVESAY LLP                  5101 EAST LA PALMA AVENUE, SECOND FLOOR   ANAHEIM            CA     92807      UNITED STATES      CMSLITCA_1103527_023              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SCHEDULING CONSULTANTS, INC.                13 CORPORATE PLAZA SUITE 150                                                                                                   NEWPORT BEACH      CA     92660      UNITED STATES           VEN_391667          391667   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCHILLING CORPORATION                       697 GREENFIELD DRIVE                                                                                                           EL CAJON           CA   92021-2983   UNITED STATES           VEN_234384          234384   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCHILLING PARADISE CORP                     697 GREENFIELD DRIVE                                                                                                           EL CAJON           CA     92021      UNITED STATES           VEN_821749          821749   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCHLINK, CLIFFORD JAMES                     C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_004             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SCHUCK & SONS CONSTRUCTION, INC.            8205 N. 67TH AVE                                                                                                               GLENDALE           AZ     85302      UNITED STATES           VEN_542070          542070   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCHULZ, THOMAS                              106 MUIR LANE                                                                                                                  ALAMO              CA     94507      UNITED STATES          EMP_NC_1006                   No   Employee        Active              Employee Roster Report - password_12-12-2011 Additions.xlsx           12/12/2011
SCM CONSTRUCTION, INC.                      1030 N. MOUNTAIN AVE, #203                                                                                                     ONTARIO            CA     91762      UNITED STATES         CONTRACT_00652                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SCOFIELD, DEAN & DENISE                     C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_SCV26452_012              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SCOLARI TILE & CO., INC.                    318 E. KETTLEMAN LANE                                                                                                          LODI               CA     95240      UNITED STATES           VEN_383726          383726   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCOTT & SONS WEED CONTROL                   PO BOX 276205                                                                                                                  SACRAMENTO         CA     95827      UNITED STATES         CONTRACT_00653                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SCOTT DEVELOPMENT CONSULTANTS, INC.         5 THOMAS MELLON CIRCLE, SUITE 108                                                                                              SAN FRANCISCO      CA     94134      UNITED STATES           VEN_541966          541966   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCOTT JOHNSON CONSULTING ENGINEERS, LLC     2030 W. BASELINE RD.,#182-223                                                                                                  PHOENIX            AZ     85041      UNITED STATES           VEN_817547          817547   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCOTT PLUMBING, INC.                        PO BOX 3553                                                                                                                    WHITTIER           CA     90605      UNITED STATES           VEN_818435          818435   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCOTT, DANIEL                               10229 CARRETA DR                                                                                                               SANTEE             CA     92071      UNITED STATES          EMPT_SC_0310                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SCOTT, DAVID                                161 E. PECHSTEIN RD                                                                                                            PAHRUMP            NV     89060      UNITED STATES          EMPT_MF_0359                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SCOTT, HAYDEN R. & KATHY                    C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_053             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SCOTT, JEFFREY                              3270 W. LAURENCE                                                                                                               PAHRUMP            NV     89048      UNITED STATES          EMP_MF_0226                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SCOTTBLUE REPROGRAPHICS                     133 W. FIRST AVE.                                                                                                              MESA               AZ     85210      UNITED STATES           VEN_446643          446643   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCREEN PRINT ETC.                           1081-E NORTH SHEPARD ST.                                                                                                       ANAHEIM            CA     92806      UNITED STATES           VEN_828529          828529   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCRIBE COMMUNICATIONS                       5090 SHOREHAM PLACE, SUITE 112                                                                                                 SAN DIEGO          CA     92122      UNITED STATES           VEN_778779          778779   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SCRIPPS MESA SCREEN & GLASS                 2630 ROSEHILL ROAD                                                                                                             ESCONDIDO          CA     92025      UNITED STATES           VEN_234405          234405   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SDG ARCHITECTS INC                          3361 WALNUT BLVD, STE 120                                                                                                      BRENTWOOD          CA     94513      UNITED STATES         CONTRACT_00654                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SEABRIGHT INSURANCE                         1320 WILLOW PASS ROAD, SUITE 700                                                                                               CONCORD            CA     94520      UNITED STATES         CONTRACT_00655                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SEABRIGHT INSURANCE COMPANY                 681 S PARKER ST                                                                                                                ORANGE             CA     92868      UNITED STATES             INS_0031                   No   Vendor          Insurance/Insurer   Insurance Company Additions_12-12-2011.xlsx                           12/12/2011
SEAGER, DAVID                               10221 CRYSTAL ARCH AVE                                                                                                         LAS VEGAS          NV     89129      UNITED STATES          EMP_NV_0154                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SEBRING, DELBURT & DIANA                    C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_021              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SECRETARY OF STATE                          1700 W. WASHINGTON, 7TH FLOOR                                                                                                  PHOENIX            AZ     85007      UNITED STATES           VEN_273480          273480   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SECRETARY OF STATE                          PO BOX 944230                                                                                                                  SACRAMENTO         CA   94244-2300   UNITED STATES           VEN_220855          220855   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SECRETARY OF STATE NEVADA                   202 NORTH CARSON STREET                                                                                                        CARSON CITY        NV   89701-4201   UNITED STATES           VEN_MF_160                   No   Vendor          Taxing Authority    APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SECRETARY OF STATE NEVADA                   ATTN: PERMIT FEE DEPARTMENT                     202 NORTH CARSON ST.                                                           CARSON CITY        NV     89701      UNITED STATES         CMSTX_227344_1                 No   Taxing AuthorityPermit Fee          Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
SECRETARY OF STATE NOTARY PUBLIC DIVISION   1230 J STREET                                                                                                                  SACRAMENTO         CA     95814      UNITED STATES            BOND_042                    No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
SECURITY CONTRACTOR SERVICES, INC.          170 N. 28TH STREET                                                                                                             SAN JOSE           CA     95116      UNITED STATES           VEN_818806          818806   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SECURITY TITLE AGENCY                       3636 N. CENTRAL AVE, 3RD FLOOR                                                                                                 PHOENIX            AZ     85012      UNITED STATES           VEN_266407          266407   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SECURITY TITLE AGENCY                       7901 N. 16TH ST., SUITE 225                                                                                                    PHOENIX            AZ     85020      UNITED STATES           VEN_842232          842232   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
SECURITY TITLE AGENCY                       8840 E. CHAPARRAL, #275                                                                                                        SCOTTSDALE         AZ     85250      UNITED STATES           VEN_703523          703523   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SECURITY TITLE AGENCY - TRUST DEPT.         3636 N. CENTRAL AVE, 3RD FLOOR                                                                                                 PHOENIX            AZ     85012      UNITED STATES           VEN_712905          712905   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SECURITY-GARAGE DOOR, INC.                  1630-A W. 11TH STREET                                                                                                          UPLAND             CA     91786      UNITED STATES         CONTRACT_00656                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SEDHA, MANVINDER                            C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_094             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SEDIG MASONRY, INC.                         PO BOX 1647                                                                                                                    WILDOMAR           CA     92595      UNITED STATES           VEN_732172          732172   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SEE'S CANDIES                               PO BOX 93024                                                                                                                   LONG BEACH         CA   90809-3024   UNITED STATES           VEN_298038          298038   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SEGURA, EDWARD                              C/O CHRISTOPHER H. HAGEN, ESQ. RALPH W. PETERS,WARD
                                                                                             ESQ. JACOB
                                                                                                   & HAGEND. LLP
                                                                                                             BELL, ESQ.          440 STEVENS AVENUE, SUITE 350             SOLANA BEACH       CA     92075      UNITED STATES       CMSLITCA_86438_004               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SELECT BUILD CONCRETE - CONSTRUCTION        6840 W. FRIER DRIVE                                                                                                            GLENDALE           AZ     85303      UNITED STATES           VEN_778189          778189   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SELECT BUILD NEVADA, INC.                   6255 RANGE ROAD                                                                                                                LAS VEGAS          NV     89115      UNITED STATES         CONTRACT_00657        787157   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SELECT PLASTERING, INC.                     240 N. JOY STREET                                                                                                              CORONA             CA     92879      UNITED STATES           VEN_840499          840499   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SEQUOIA INSURANCE COMPANY                   10933 TRADE CENTER DRIVE #108                                                                                                  RANCHO CORDOVA     CA     95670      UNITED STATES           VEN_MF_161                   No   Vendor          Insurance/Insurer   APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SERAFINA COMMUNITY ASSOCIATION              C/O EUCLID MANAGEMENT                           195 N. EUCLID AVE, SUITE 100                                                   UPLAND             CA     91786      UNITED STATES           VEN_735251          735251   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SEROV, PHILIP                               3231 RANCHO PARADISO                                                                                                           PAHRUMP            NV     89060      UNITED STATES          EMPT_MF_0367                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SERVICE SOLUTIONS                           PO BOX 2783                                                                                                                    CARLSBAD           CA     92018      UNITED STATES           VEN_800278          800278   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SERVPRO OF LAGUNA HILLS/LAGUNA NIGUEL/RA    19661 DESCARTES                                                                                                                FOOTHILL RANCH     CA     92610      UNITED STATES           VEN_831162          831162   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SEVERN, COLIN                               2552 WESTMINSTER AVENUE                                                                                                        COSTA MESA         CA     92627      UNITED STATES         EMP_CORP_0155                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SHADY TRAILS COMMUNITY ASSOCIATION          1156 NORTH MOUNTAIN AVE.                                                                                                       UPLAND             CA   91786-3633   UNITED STATES            BOND_043                    No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
SHADY TRAILS COMMUNITY ASSOCIATION          C/O MERIT PROPERTY MANAGEMENT                   1 POLARIS WAY, #100                                                            ALISO VIEJO        CA     92656      UNITED STATES           VEN_792669          792669   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHAIKH, ASHRAF                              C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_173057_003              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHAMMAMA, HAMILA                            C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_005             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHAMROCK OFFICE SOLUTIONS, INC.             6908 SIERRA COURT, SUITE A                                                                                                     DUBLIN             CA     94568      UNITED STATES           VEN_534230          534230   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHARICO ENTERPRISES, INC.                   PO BOX 5460                                                                                                                    SUN CITY WEST      AZ   85376-5369   UNITED STATES           VEN_606281          606281   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHASTA LANDSCAPING, INC.                    1340 DESCANSO AVE                                                                                                              SAN MARCOS         CA     92069      UNITED STATES         CONTRACT_00658                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SHEBIAM, AHMAD                              C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC             5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_012               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHEENA BUFFI                                4860 PACINI CT                                                                                                                 PAHRUMP            NV     89061      UNITED STATES           VEN_MF_162                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SHELTON BROTHERS LANDSCAPE                  PO BOX 1593                                                                                                                    GILBERT            AZ     85299      UNITED STATES         CONTRACT_00659        460074   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SHELTON CONSTRUCTION CO, INC.               12802 VALLEY VIEW, STE 9                                                                                                       GARDEN GROVE       CA     92845      UNITED STATES         CONTRACT_00660                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SHERWIN WILLIAMS                            FINANCIAL SERVICE CENTER                        11840 N. 28TH DR., SUITE 101                                                   PHOENIX            AZ   85029-3345   UNITED STATES           VEN_361789          361789   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHIMAKAWA-ANDERSON, DANIEL                  2460 S. MNT. CHARLESTON                                                                                                        PAHRUMP            NV     89048      UNITED STATES          EMPT_MF_0374                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SHINNICK & RYAN LLP LYON CROSSROADS TRST    1810 STATE STREET                                                                                                              SAN DIEGO          CA     92101      UNITED STATES           VEN_819930          819930   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHIVERS INC. DBA COLD STONE CREAMERY        9350 W. SAHARA AVE, SUITE 140                                                                                                  LAS VEGAS          NV     89117      UNITED STATES           VEN_722409          722409   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHORE CONSULTING, INC.                      13101 PENINSULA DR.                                                                                                            AUBURN             CA     95602      UNITED STATES           VEN_667905          667905   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHOUSE, JEFFREY                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES      CMSLITCA_20010042_022             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHOUSE, NINA                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES      CMSLITCA_20010042_023             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHOWTIME TILE                               1876 DEL AMO BLVD, SUITE D                                                                                                     TORRANCE           CA     90501      UNITED STATES         CONTRACT_00661                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SHOWTIME TILE & MARBLE                      1876 DEL AMO BLVD, SUITE D                                                                                                     TORRANCE           CA     90501      UNITED STATES           VEN_358141          358141   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHOWTIME TILE AND MARBLE                    JAMES ALLEN SALLEE                              1876 DEL AMO BLVD., SUITE D                                                    TORRANCE           CA     90501      UNITED STATES      CMSLITCA_1103527_043              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHRED-IT                                    5159 COMMERCIAL CIRCLE, SUITE A                                                                                                CONCORD            CA     94520      UNITED STATES           VEN_638004          638004   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SHUEN, THOMAS & PEGGY                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_069             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHUMAN, NAVDEEP                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES    CMSLITCA_SCV0028445_010             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SHUMAN, SONPREET                            C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES    CMSLITCA_SCV0028445_011             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SIEMENS FINANCIAL SERVICES, INC.            200 SOMERSET CORPORATE BLVD                                                                                                    BRIDGEWATER        NJ     08807      UNITED STATES             UCC_012                    No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
SIERRA AIR CONDITIONING, INC.               4210 W. PATRICK LANE                                                                                                           LAS VEGAS          NV     89118      UNITED STATES         CONTRACT_00662        716834   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIERRA CONCRETE DESIGN, INC.                2110 S. ANNE STREET                                                                                                            SANTA ANA          CA     92704      UNITED STATES           VEN_327628          327628   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA LUMBER & FENCE CO.                   7849 STOCKTON BLVD.                                                                                                            SACRAMENTO         CA     95823      UNITED STATES           VEN_235846          235846   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA OFFICE SOLUTIONS                     4710 LONGLEY LANE                                                                                                              RENO               NV   89502-5952   UNITED STATES           VEN_829919          829919   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA OFFICE SOLUTIONS                     DEPT. #1608                                                                                                                    DENVER             CO   80291-1608   UNITED STATES           VEN_781265          781265   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA OFFICE SOLUTIONS                     PO BOX 790448                                                                                                                  ST. LOUIS          MO   63179-0448   UNITED STATES         CONTRACT_00663        795229   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIERRA PACIFIC ELECTRIC                     2542 AVALON ST                                                                                                                 RIVERSIDE          CA     92509      UNITED STATES           VEN_391691          391691   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA PACIFIC ELECTRICAL CONTRACTING       2542 AVALON STREET                                                                                                             RIVERSIDE          CA     92509      UNITED STATES           VEN_222711          222711   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA PAINTING                             PO BOX 732                                                                                                                     ESCONDIDO          CA     92025      UNITED STATES           VEN_349544          349544   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA PRECAST INC.                         1 LIVE OAK AVE                                                                                                                 MORGAN HILL        CA     95037      UNITED STATES           VEN_391692          391692   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA REFINISHING                          PO BOX 1560                                                                                                                    FAIR OAKS          CA     95628      UNITED STATES           VEN_391693          391693   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA SPRINGS                              PO BOX 660579                                                                                                                  DALLAS             TX   75266-0579   UNITED STATES           VEN_379680          379680   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA WES DRYWALL, INC.                    3340 SWETZER RD., STE. A                                                                                                       LOOMIS             CA     95650      UNITED STATES           VEN_236072          236072   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIERRA WES WALL SYSTEMS                     3340 SWETZER RD., SUITE C                                                                                                      LOOMIS             CA     95650      UNITED STATES         CONTRACT_00664                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIGMANET, INC.                              PO BOX 515259                                                                                                                  LOS ANGELES        CA   90051-6559   UNITED STATES           VEN_834056          834056   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIGN CRAFT                                  375 MERIDIAN AVE                                                                                                               SAN JOSE           CA     95126      UNITED STATES         CONTRACT_00665                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIGN TECHNOLOGY, INC.                       1700 ENTERPRISE BLVD., SUITE F                                                                                                 WEST SACRAMENTO    CA     95691      UNITED STATES         CONTRACT_00666                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIGNS WEST OUTDOOR, LLC                     5325 S. POLARIS AVE, SUITE 500                                                                                                 LAS VEGAS          NV     89118      UNITED STATES           VEN_330763          330763   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIGNS WEST, INC.                            5325 S. POLARIS AVE, SUITE 500                                                                                                 LAS VEGAS          NV     89118      UNITED STATES           VEN_190596          190596   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SILVA PLUMBING                              PO BOX 4554                                                                                                                    MODESTO            CA     95352      UNITED STATES         CONTRACT_00667                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SILVER STATE FAIR HOUSING COUNCIL           PO BOX 3935                                                                                                                    RENO               NV     89505      UNITED STATES           VEN_842742          842742   No   Vendor          Municipality        Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
SILVER STATE FIREPLACES, INC.               3555 W. QUAIL AVE, SUITE A                                                                                                     LAS VEGAS          NV     89118      UNITED STATES         CONTRACT_00668        688693   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SILVER STATE GOLF CARTS                     350 SUNPAC CR. STE #1                                                                                                          HENDERSON          NV     89011      UNITED STATES           VEN_MF_164                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SILVER STATE SPECIALTIES, LLC               4030 INDUSTRIAL CENTER DR., SUITE 501                                                                                          N. LAS VEGAS       NV     89030      UNITED STATES         CONTRACT_00669        806039   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SILVER WOOD LANDSCAPE CONST.                1111 BAKER STREET                                                                                                              COSTA MESA         CA   92626-4114   UNITED STATES         CONTRACT_00670                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SILVERBERG, LAURA                           11930 BANNER DR. #74                                                                                                           GARDEN GROVE       CA     92843      UNITED STATES          EMP_SC_0156                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SILVESTRE, ARMAND                           C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP   19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_054            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SILVIA, SARAH                               4835 ALIANO PLAZA                                                                                                              YORBA LINDA        CA     92886      UNITED STATES          EMP_SC_0157                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SIMON, ROGER                                C/O ROGER SIMON, S.R. FINANCIAL                 PO BOX 6132                                                                    INCLINE VILLAGE    NV     89450      UNITED STATES         CMSLIT_451.0057                No   Litigant        Nevada              WLH Combo Litigation Load file.XLSX                                   10/27/2011
SIMONEAUX, JEREMY & GRETCHEN                C/O MICHAEL A. HEARN, ESQ. BROCK NELSON THOMPSON,
                                                                                            LAW ESQ.
                                                                                                 OFFICES OF MICHAEL A. HEARN     ONE POST, SUITE 200                       IRVINE             CA     92618      UNITED STATES       CMSLITCA_406014_002              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SIMPKIN, RANA                               6531 OAKGROVE CIRCLE                                                                                                           HUNTINGTON BEACH   CA     92647      UNITED STATES         EMP_CORP_0158                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SIMPKIN, RANA E.                            6531 OAKGROVE CIRCLE                                                                                                           HUNTINGTON BEACH   CA     92647      UNITED STATES           VEN_617553          617553   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SIMPLEXGRINNELL                             DEPT. CH 10320                                                                                                                 PALATINE           IL   60055-0320   UNITED STATES           VEN_MF_165                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SIMPLOT PARTNERS                            DEPT. #1136                                                                                                                    LOS ANGELES        CA   90084-1136   UNITED STATES           VEN_MF_166                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SIMPSON NORTON                              PO BOX 52534                                                                                                                   PHOENIX            AZ   85072-2534   UNITED STATES           VEN_MF_167                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SIMPSON, JR., KEVIN                         3941 N BLAGG                                                                                                                   PAHRUMP            NV     89060      UNITED STATES          EMP_MF_0227                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SIMS, GREGORY & VICKIE                      C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_CA1100369_054             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SINCERE, LISA                               C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES      CMSLITCA_20010042_018             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SINCERE, VICTOR                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP         8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS      CA     90211      UNITED STATES      CMSLITCA_20010042_017             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SING TAO DAILY                              17069 GREEN DRIVE                                                                                                              INDUSTRY           CA     91745      UNITED STATES           VEN_295419          295419   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SINGER, MAUREEN                             PO BOX 6669                                                                                                                    LAGUNA NIGUEL      CA   92607-6669   UNITED STATES         EMP_CORP_0159                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SINGH, BIKRAM                               C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES       CMSLITCA_173057_017              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SINGH, BILLY                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_070             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SINGH, PRASHANT                             C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                            ANDERSON
                                                                                                 ESQ. JAKE
                                                                                                        & KRIGER
                                                                                                             J. FATHY, ESQ.      4750 DUCKHORN DRIVE                       SACRAMENTO         CA     95834      UNITED STATES      CMSLITCA_20100719_007             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SIRIUS                                      PO BOX 78211                                                                                                                   PHOENIX            AZ     85062      UNITED STATES           VEN_MF_168                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SIRIUS COMPUTER SOLUTIONS, INC.             613 N.W. LOOP 410, SUITE 1000                                                                                                  SAN ANTONIO        TX     78216      UNITED STATES         CONTRACT_00672        822400   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIRIUS COMPUTER SOLUTIONS, INC.             PO BOX 202289                                                                                                                  SAN ANTONIO        TX   75320-2289   UNITED STATES         CONTRACT_00673        822400   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SIRIUS RADIO                                PO BOX 78211                                                                                                                   PHOENIX            AZ     85062      UNITED STATES         CONTRACT_00674                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SITE ONE SERVICES, INC.                     21 ALAMO SQUARE                                                                                                                ALAMO              CA     94507      UNITED STATES           VEN_827956          827956   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SITELAB                                     2223 AVENIDA DE LA PLAYA                                                                                                       LA JOLLA           CA     92037      UNITED STATES           VEN_806055          806055   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SITESCAPES, INC.                            3190-B AIRPORT LOOP DRIVE                                                                                                      COSTA MESA         CA     92626      UNITED STATES           VEN_681951          681951   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SITEWORK MGMT, INC.                         PO BOX 195                                                                                                                     ALAMO              CA     94507      UNITED STATES         CONTRACT_00675                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
                                                                           Case 11-14019-CSS                                                                            Doc 1-4            Filed 12/19/11                             Page 24 of 29

SITRICK BRINCKO GROUP, LLC                  1840 CENTURY PARK EAST #800                                                                                                        LOS ANGELES          CA     90067      UNITED STATES           VEN_843251             843251       No   Vendor          Bankruptcy Professional
                                                                                                                                                                                                                                                                                                                            Updated Payment and AP Data MML Comparison_12-8-2011.xlsx               12/8/2011
SITUS ASSET MANAGEMENT LLC                  4665 SOUTHWEST FREEWAY                                                                                                             HOUSTON              TX     77027      UNITED STATES           VEN_840472             840472       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SJ & B GROUP, INC.                          115 W. LACADENA DR, SUITE 200                                                                                                      RIVERSIDE            CA     92501      UNITED STATES           VEN_747180             747180       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SKELLY PEST CONTROL                         7457 PURITAN AVENUE                                                                                                                LAS VEGAS            NV     89123      UNITED STATES         CONTRACT_00676           342107       No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SKINOMI                                     11546 E. WASHINGTON BLVD, #D                                                                                                       WHITTIER             CA     90606      UNITED STATES           VEN_822565             822565       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SKY RIVER COMMUNICATIONS, INC.              9370 CHESAPEAKE DR., SUITE 150                                                                                                     SAN DIEGO            CA     92123      UNITED STATES           VEN_652607             652607       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SKYLINE CONSTRUCTION SERVICES, INC.         26741 PORTOLA PARKWY, SUITE 1E-292                                                                                                 FOOTHILL RANCH       CA     92610      UNITED STATES         CONTRACT_00677                        No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SLY, JOHN                                   PO BOX 6010                                                                                                                        PAHRUMP              NV     89041      UNITED STATES          EMP_MF_0228                          No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
SMALL BUSINESS ACTION COMMITTEE             PAC #1270683                                    32302 CAMINO CAPISTRANO, SUITE 214                                                 SAN JUAN CAPISTRANO  CA     92675      UNITED STATES           VEN_829492             829492       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SMARDON, SALLY                              590 W. TOMAHAWK CT.                                                                                                                PAHRUMP              NV     89060      UNITED STATES          EMPT_MF_0340                         No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
SMART SIGN                                  32 COURT ST., SUITE 2200                                                                                                           BROOKLYN             NY     11201      UNITED STATES           VEN_829521             829521       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SMART SYSTEMS TECHNOLOGIES                  9 GOODYEAR                                                                                                                         IRVINE               CA     92618      UNITED STATES           VEN_465801             465801       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SMART, BARBARA A.                           C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                             ESQ.      & KRIGER                      1752 EAST AVENUE J, PMB 363               LANCASTER            CA     93535      UNITED STATES     CMSLITCA_MC021755_009                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMART, JAMES S.                             C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                             ESQ.      & KRIGER                      1752 EAST AVENUE J, PMB 363               LANCASTER            CA     93535      UNITED STATES     CMSLITCA_MC021755_008                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMC - SOUTHERN CALIFORNIA                   26651 CARRETAS DRIVE                                                                                                               MISSION VIEJO        CA     92691      UNITED STATES           VEN_829062             829062       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SMITH, ADRIAN & BROOKE I.                   C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                            BOJIC & LIVESAY LLP                      5101 EAST LA PALMA AVENUE, SECOND FLOOR   ANAHEIM              CA     92807      UNITED STATES      CMSLITCA_1103527_015                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMITH, ANGELA                               973 FINN WAY                                                                                                                       BRENTWOOD            CA     94513      UNITED STATES          EMP_NC_0161                          No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
SMITH, BRADLEY                              7835 E. CACTUS RD.                                                                                                                 SCOTTSDALE           AZ     85260      UNITED STATES        EMPT_CORP_0252                         No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
SMITH, DONALD C.                            C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_071                    No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMITH, MERIDEE                              C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP             8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS        CA     90211      UNITED STATES      CMSLITCA_20010042_011                    No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMITH, RICHARD                              C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA         CA     90405      UNITED STATES       CMSLITCA_173057_011                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMITH, ROGER A.                             C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_CA1100369_055                    No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMITH, TINA                                 36 TEA GARDEN                                                                                                                      IRVINE               CA     92620      UNITED STATES         EMP_CORP_0160                         No   Employee        Active               Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
SMITH, TODD                                 C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP             8306 WILSHIRE BLVD., SUITE 1113           BEVERLY HILLS        CA     90211      UNITED STATES      CMSLITCA_20010042_010                    No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMOUSE, COLEEN                              C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850           IRVINE               CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_056                   No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SMOUSEL, FRANK                              C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850           IRVINE               CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_055                   No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SNELL & WILMER                              ONE ARIZONA CENTER                                                                                                                 PHOENIX              AZ   85004-2202   UNITED STATES           VEN_433691             433691       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SNELL, JOSEPH                               PO BOX 5677                                                                                                                        PAHRUMP              NV     89041      UNITED STATES          EMPT_MF_0360                         No   Employee        Terminated           Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
SNGA                                        2625 N GREEN VALLEY PARKWAY, SUITE 100                                                                                             HENDERSON            NV     89014      UNITED STATES           VEN_MF_169                          No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
SO CAL MASONRY                              22516 AVENIDA EMPRESA                                                                                                              RANCHO SANTA MARGARITA
                                                                                                                                                                                                    CA     92688      UNITED STATES         CONTRACT_00678                        No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SO. CAL. SANDBAGS, INC.                     12620 BOSLEY LANE                                                                                                                  CORONA               CA   92883-6358   UNITED STATES         CONTRACT_00679                        No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOA                                         DBA SALES OFFICE ACCESSORIES I                  7211 PATTERSON DRIVE                                                               GARDEN GROVE         CA     92841      UNITED STATES           VEN_391710             391710       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SO-CAL FRAMERS, INC.                        C/O KIMBERLY A. MICHAELS, AGENT                 42307 4TH STREET EAST                                                              LANCASTER            CA     93535      UNITED STATES     CMSLITCA_MC021755_033                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOFTMIRAGE, INC.                            17922 FITCH, 1ST FLOOR                                                                                                             IRVINE               CA     92614      UNITED STATES           VEN_821001             821001       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOIL-TECH                                   6420 S. CAMERON DR., SUITE 207                                                                                                     LAS VEGAS            NV     89118      UNITED STATES           VEN_706231             706231       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOKOLIC, ADAM                               C/O MICHAEL A. HEARN, ESQ. BROCK NELSON THOMPSON,
                                                                                            LAW ESQ.
                                                                                                 OFFICES OF MICHAEL A. HEARN         ONE POST, SUITE 200                       IRVINE               CA     92618      UNITED STATES       CMSLITCA_406014_004                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOLANO                                      ATTN: PROPERTY TAX DEPARTMENT                   675 TEXAS STREET                         SUITE 1900                                FAIRFIELD            CA     94533      UNITED STATES         CMSTX_391712_1                        No   Taxing AuthorityProperty             Taxing and Regulatory agency payments Update 9-30-11.xlsx              10/21/2011
SOLANO COUNTY TAX COLLECTOR                 675 TEXAS STREET, SUITE 1900                                                                                                       FAIRFIELD            CA   94533-6337   UNITED STATES           VEN_391712             391712       No   Vendor          Taxing Authority     Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
SOLIS, RICHARD                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850           IRVINE               CA     92612      UNITED STATES      CMSLITCA_1007968_059                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOLIS, RICHELLE                             C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP       19900 MACARTHUR BLVD., STE. 850           IRVINE               CA     92612      UNITED STATES      CMSLITCA_1007968_060                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOLOMON, GEORGIA                            C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_DEL1100369_072                    No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOLON FIRE CONTROL                          3190 LUYUNG DRIVE                                                                                                                  RANCHO CORDOVA       CA     95742      UNITED STATES           VEN_482011             482011       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SONDAD INDUSTRIES                           9600-C ANTELOPE OAKS CT.                                                                                                           ROSEVILLE            CA     95747      UNITED STATES           VEN_236241             236241       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SONG, LI LAN XIAO                           C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                            ANDERSON
                                                                                                 ESQ. JAKE
                                                                                                       & KRIGER
                                                                                                           J. FATHY, ESQ.            3831 N. FREEWAY BLVD., SUITE 110          SACRAMENTO           CA     95834      UNITED STATES       CMSLITCA_98007_005                      No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SONORAN AIR, INC.                           WHISPERING WIND CORPORATE CENTER                2225 W. WHISPERING WIND DR., SUITE 108                                             PHOENIX              AZ     85085      UNITED STATES         CONTRACT_00680           194757       No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SONORAN ENVIRONMENTAL, LLC                  936 E. JAVELINA AVE, SUITE 1                                                                                                       MESA                 AZ     85204      UNITED STATES           VEN_732341             732341       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SONORAN ROOFING, INC.                       4161 CITRUS AVE.                                                                                                                   ROCKLIN              CA   95677-4008   UNITED STATES           VEN_236187             236187       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SORIANO, ARCADE                             C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                            MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_CA1100369_056                    No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOUNDPATH                                   3280 PEACHTREE RD. NW, SUITE 1000                                                                                                  ATLANTA              GA     30305      UNITED STATES           VEN_797620             797620       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTH COAST EROSION CONTROL, INC.           12479 CAMPO ROAD                                                                                                                   SPRING VALLEY        CA     91978      UNITED STATES           VEN_511311             511311       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTH COAST SPECIALTY SYSTEMS, INC.         7966 ARJONS DRIVE, SUITE C                                                                                                         SAN DIEGO            CA     92126      UNITED STATES           VEN_818099             818099       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTH COAST WATERPROOFING                   7966 ARJONS DRIVE, SUITE C                                                                                                         SAN DIEGO            CA     92126      UNITED STATES           VEN_614571             614571       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTH PLACER MUNICIPAL UTILITY DIST.        5807 SPRINGVIEW DR.                                                                                                                ROCKLIN              CA     95677      UNITED STATES           VEN_638215             638215       No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTH PLACER ROOFING COMPANY, INC.          4161 CITRUS AVE                                                                                                                    ROCKLIN              CA     95677      UNITED STATES           VEN_533405             533405       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTH WEST ENERGY SYSTEMS                   PO BOX 11475                                                                                                                       SAN BERNARDINO       CA     92423      UNITED STATES           VEN_749020             749020       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHCOAST CABINETS, INC.                   755 PINE FALLS AVENUE                                                                                                              WALNUT               CA     91789      UNITED STATES           VEN_225058             225058       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN CALIFORNIA EDISON                  2131 WALNUT GROVE AVE                                                                                                              ROSEMEAD             CA     91770      UNITED STATES           VEN_248305                          No   Vendor          Utilities            Maintain Creditors                                                     11/9/2011
SOUTHERN CALIFORNIA EDISON                  OAR PAYMENT PROCESSING                          MISCELLANEOUS PAYMENTS, G-44 G01         PO BOX 800                                ROSEMEAD             CA     91771      UNITED STATES           VEN_743218             743218       No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN CALIFORNIA EDISON                  PO BOX 600                                      BILLING                                                                            ROSEMEAD             CA     91771      UNITED STATES           VEN_234528             234528       No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN CALIFORNIA EDISON COMPANY          PO BOX 600                                                                                                                         ROSEMEAD             CA   91771-0001   UNITED STATES           VEN_220994             220994       No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN CALIFORNIA GAS CO.                 ML 7110, PO BOX 2007                                                                                                               MONTEREY PARK        CA   91754-0957   UNITED STATES           VEN_743226             743226       No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN CALIFORNIA REGIONAL RAIL AUTH.     700 S. FLOWER ST. SUITE 2600                                                                                                       LOS ANGELES          CA   90017-4101   UNITED STATES           VEN_684772             684772       No   Vendor          Regulatory Agency    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN DESIGN LANDSCAPE CORP.             394 E. COUGAR AVE                                                                                                                  LAS VEGAS            NV     89119      UNITED STATES           VEN_606580             606580       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN NEVADA HEALTH DISTRICT             625 SHADOW LANE                                                                                                                    LAS VEGAS            NV     89106      UNITED STATES           VEN_734143             734143       No   Vendor          Regulatory Agency    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN NEVADA HOME BUILDERS ASSOC.        3685 PECOS MCLEOD                                                                                                                  LAS VEGAS            NV     89121      UNITED STATES           VEN_580674             580674       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHERN WINE AND SPIRITS                   PO BOX 19299                                                                                                                       LAS VEGAS            NV   89132-0299   UNITED STATES           VEN_MF_170                          No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
SOUTHWEST ARCHITECTURAL BUILDERS, INC.      3826 NORTH 3RD STREET                                                                                                              PHOENIX              AZ     85012      UNITED STATES           VEN_625991             625991       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST CONSTRUCTION CO., INC.            2909 RAINBOW VALLEY BLVD.                                                                                                          FALLBROOK            CA     92028      UNITED STATES           VEN_244777             244777       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST CONSULTING GROUP, INC.            294 LA MOREE RD.                                                                                                                   SAN MARCOS           CA   92078-2550   UNITED STATES           VEN_418204             418204       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST FINISH & SUPPLY                   PO BOX 3998                                                                                                                        ONTARIO              CA   91761-0991   UNITED STATES           VEN_225066             225066       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST FINISH & SUPPLY, INC.             C/O MICHAEL K. DANLEY, AGENT                    2131 SOUTH HELLMAN AVENUE, SUITE #D                                                ONTARIO              CA     91761      UNITED STATES     CMSLITCA_MC021755_034                     No   Litigant        California           WLH Combo Litigation Load file.XLSX                                    10/27/2011
SOUTHWEST GAS CORP                          10851 N. BLACK CANYON HIGHWAY                                                                                                      PHOENIX              AZ     85250      UNITED STATES           VEN_725554             725554       No   Vendor          Utilities            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST GAS CORP.                         PO BOX 98512                                                                                                                       LAS VEGAS            NV   89193-8512   UNITED STATES         CONTRACT_00681                        No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOUTHWEST GAS CORP.                         PO BOX 98890                                                                                                                       LAS VEGAS            NV   89150-0101   UNITED STATES         CONTRACT_00682        190887/196226   No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOUTHWEST GLAZING                           5620 STEPHANIE ST.                                                                                                                 LAS VEGAS            NV     89122      UNITED STATES           VEN_564711             564711       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST GROUND CONTROL                    255 E. CORPORATE PLACE                                                                                                             CHANDLER             AZ     85225      UNITED STATES           VEN_784870             784870       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SOUTHWEST GROUNDWATER CONSULTANTS INC.      3033 N. 44TH STREET, STE # 120                                                                                                     PHOENIX              AZ     85018      UNITED STATES         CONTRACT_00683           348146       No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOUTHWEST INSPECTION & TESTING              441 COMMERCIAL WAY                                                                                                                 LA HABRA             CA     90631      UNITED STATES         CONTRACT_00684                        No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOUTHWEST MASONRY                           4107 W. CHEYENNE AVE, SUITE A                                                                                                      N. LAS VEGAS         NV     89032      UNITED STATES         CONTRACT_00685           683905       No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOUTHWEST STONE & TILE                      2943 N. LAMB BLVD                                                                                                                  LAS VEGAS            NV     89115      UNITED STATES         CONTRACT_00686           454184       No   Vendor          Contract             WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
SOUTHWEST TREES & TURF                      PO BOX 12507                                                                                                                       LAS VEGAS            NV   89112-0507   UNITED STATES           VEN_MF_171                          No   Vendor          Trade Payable        APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                 10/20/2011
SPANKY'S PORTABLE SERVICES, INC.            1925 PALOMAR OAKS WAY, SUITE 204                                                                                                   CARLSBAD             CA     92008      UNITED STATES           VEN_620867             620867       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SPARKLETTS DRINKING WATER CO.               PO BOX 660579                                                                                                                      DALLAS               TX   75266-0579   UNITED STATES           VEN_234536             234536       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SPEC. 10 INC. EXTERIOR SYSTEMS              PO BOX 716                                                                                                                         SCOTTSDALE           AZ     85252      UNITED STATES           VEN_504604             504604       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SPECIALIZED DESIGNERS SERVICE               2109 S. WRIGHT ST., #A                                                                                                             SANTA ANA            CA     92705      UNITED STATES           VEN_831189             831189       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SPECIALTY EMPORIUM                          37 DEERCHASE RD.                                                                                                                   WEST SENECA          NY     14224      UNITED STATES           VEN_830151             830151       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SPECIALTY STEEL                             520 E. GOETZ AVE                                                                                                                   SANTA ANA            CA     92707      UNITED STATES           VEN_561836             561836       No   Vendor          Trade Payable        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
SPECTRUM 90 INVESTORS LLC, A DELAWARE
                                            4490 VON KARMAN AVENUE                                                                                                             NEWPORT BEACH       CA      92660      UNITED STATES        CONTRACT_00687              N/A        No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                     12/13/2011
LIMITED LIABILITY COMPANY
SPECTRUM 90 INVESTORS, LLC                  4490 VON KARMAN AVENUE                                                                                                             NEWPORT BEACH       CA      92660      UNITED STATES         AFFILIATE_034                         No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                      10/27/2011
SPENCER, CHRISTOPHER                        C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH             SANTA MONICA        CA      90405      UNITED STATES    CMSLITCA_DEL1100369_095                    No   Litigant        California          WLH Combo Litigation Load file.XLSX                                     10/27/2011
SPICER, MARK                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113            BEVERLY HILLS       CA      90211      UNITED STATES     CMSLITCA_20010042_012                     No   Litigant        California          WLH Combo Litigation Load file.XLSX                                     10/27/2011
SPICER, SHANNON                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                             ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113            BEVERLY HILLS       CA      90211      UNITED STATES     CMSLITCA_20010042_013                     No   Litigant        California          WLH Combo Litigation Load file.XLSX                                     10/27/2011
SPRING FRESH CARPET                         2451 E. FALCON STREET                                                                                                              PAHRUMP             NV    89048-6376   UNITED STATES          VEN_MF_172                           No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
SPRING FRESH CARPET & UPHOLSTERY CLEAN      2451 E. FALCON ST.                                                                                                                 PAHRUMP             NV      89048      UNITED STATES           VEN_695332             695332       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
SPRINGBROOK REALTY ADVISORS, INC.           1300 N. BRISTOL ST., SUITE 100                                                                                                     NEWPORT BEACH       CA      92660      UNITED STATES           VEN_668123             668123       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
SPRINT                                      ACCT # 754132620                                PO BOX 4181                                                                        CAROL STREAM        IL    60197-4181   UNITED STATES          VEN_MF_174                           No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
SPRINT                                      ACCT # 7755376553                               PO BOX 600670                                                                      JACKSONVILLE        FL    32260-0670   UNITED STATES          VEN_MF_173                           No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
SPRINT                                      ACCT # 923747425                                PO BOX 219100                                                                      KANSAS CITY         MO    64121-9100   UNITED STATES          VEN_MF_175                           No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
SPRINT                                      ACCT # 923747429                                PO BOX 219100                                                                      KANSAS CITY         MO    64121-9100   UNITED STATES          VEN_MF_176                           No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
SPRINT                                      PO BOX 4181                                                                                                                        CAROL STREAM        IL    60197-4181   UNITED STATES           VEN_779510             779510       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
SPS (STRATEGIC PENSION SERVICES, INC.)      18301 VON KARMAN AVE, SUITE 210                                                                                                    IRVINE              CA      92612      UNITED STATES           VEN_631806             631806       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
SPURGIESZ, SCOTT & MELISSA                  C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105              SAN DIEGO           CA      92121      UNITED STATES      CMSLITCA_96610_027                       No   Litigant        California          WLH Combo Litigation Load file.XLSX                                     10/27/2011
STAINLESS GENIUS                            950 N. TUSTIN AVE                                                                                                                  ANAHEIM             CA      92807      UNITED STATES           VEN_830451             830451       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STAJETS                                     19300 IKE JONES RD.                                                                                                                SANTA ANA           CA      92707      UNITED STATES           VEN_814240             814240       No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx               12/8/2011
STALLION MOUNTAIN HOA                       C/O MARK BOURASSA                               3025 W. SAHARA AVENUE SUITE 105                                                    LAS VEGAS           NV      89102      UNITED STATES        CMSLIT_451.0022                        No   Litigant        Nevada              WLH Combo Litigation Load file.XLSX                                     10/27/2011
STANDARD & POOR'S RATINGS GROUP             2542 COLLECTION CENTER DRIVE                                                                                                       CHICAGO             IL      60693      UNITED STATES           VEN_221073             221073       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STANDARD COFFEE SERVICE COMPANY             PO BOX 364896                                                                                                                      N. LAS VEGAS        NV      89036      UNITED STATES           VEN_221129             221129       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STANDARD EXTERIORS, INC.                    575 6TH STREET                                                                                                                     NORCO               CA      92860      UNITED STATES        CONTRACT_00688                         No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                     12/13/2011
STANDARD PACIFIC HOMES                      6710 N. SCOTTSDALE RD., #150                                                                                                       SCOTTSDALE          AZ      85253      UNITED STATES           VEN_703451             703451       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STANDARD PACIFIC OF ARIZONA, INC.           6710 N. SCOTTSDALE RD., STE. 150                                                                                                   SCOTTSDALE          AZ      85253      UNITED STATES        CONTRACT_00689            703451       No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                     12/13/2011
STANDARD PACIFIC OF ARIZONA, INC.           ATTN MS. CAROL GRUMLEY AND MS. CONNIE DEAN      6710 N. SCOTTSDALE RD., STE. 150                                                   SCOTTSDALE          AZ      85253      UNITED STATES        CONTRACT_00690                         No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                     12/13/2011
STANTEC CONSULTING SERVICES, INC.           13980 COLLECTIONS CENTER DRIVE                                                                                                     CHICAGO             IL      60693      UNITED STATES           VEN_688677             688677       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STAPLES                                     DEPT LA 1368                                    PO BOX 83689                                                                       CHICAGO             IL    60696-3689   UNITED STATES           VEN_221081             221081       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STAPLES                                     DEPT.00-05250758                                PO BOX 183174                                                                      COLUMBUS            OH    43218-3174   UNITED STATES          VEN_MF_177                           No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
STAPLES ADVANTAGE                           DEPT. LA                                        PO BOX 83689                                                                       CHICAGO             IL    60696-3689   UNITED STATES           VEN_826363             826363       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STAR BUILDERS SUPPLY                        961 GRAND AVENUE                                                                                                                   SAN MARCOS          CA      92078      UNITED STATES           VEN_410093             410093       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STAR NURSERY                                5380 BLUE DIAMOND RD.                                                                                                              LAS VEGAS           NV      89139      UNITED STATES          VEN_MF_178                           No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                  10/20/2011
STARPOINTE VENTURES                         19700 FAIRCHILD ROAD, #240                                                                                                         IRVINE              CA      92612      UNITED STATES           VEN_840376             840376       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STASZAK, MARGARET                           2529 VERA CRUZ CIR                                                                                                                 HENDERSON           NV      89074      UNITED STATES          EMP_NV_0162                          No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx               10/21/2011
STATE BOARD OF EQUALIZATION                 ATTN: SALES TAX DEPARTMENT                      PO BOX 942879                                                                      SACRAMENTO          CA    94279-3535   UNITED STATES        CMSTX_227053_1                         No   Taxing AuthoritySales Tax           Taxing and Regulatory agency payments Update 9-30-11.xlsx               10/21/2011
STATE BOARD OF EQUALIZATION                 PO BOX 942879                                                                                                                      SACRAMENTO          CA    94279-3535   UNITED STATES           VEN_227053             227053       No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx    10/19/2011
STATE FARM GENERAL INSURANCE COMPANY        C/O BONNIE A. MILUSO, ESQ.                      GROTEFELD, HOFFMAN, SCHLEITER, GORDON & OCHOA
                                                                                                                                    505 SANSOME
                                                                                                                                           LLP   STREET, SUITE 1950            SAN FRANCISCO       CA      94111      UNITED STATES      CMSLITCA_260916_001                      No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                                12/8/2011
STATE INSULATION                            4204 PRODUCTION CT.                                                                                                                N. LAS VEGAS        NV      89115      UNITED STATES        CONTRACT_00691            504612       No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                     12/13/2011
STATE INSULATION, INC., DBA WESTERN
                                            C/O HAROLD M. MOORE, AGENT                      8305 MIRALANI DRIVE                                                                SAN DIEGO           CA      92126      UNITED STATES      CMSLITCA_365116_063                      No   Litigant        California          WLH Combo Litigation Load file.XLSX                                     10/27/2011
INSULATION, INC., DBA WESTERN SPECIALTIES
STATE INSULATION, INC., DBA WESTERN
                                            C/O JOHN H. PODESTA, ESQ.                       BRANSON, BRINKOP, GRIFFITH & STRONG      643 BAIR ISLAND ROAD, SUITE #400          REDWOOD CITY        CA      94063      UNITED STATES      CMSLITCA_365116_101                      No   Litigant        California          WLH Combo Litigation Load file.XLSX                                     10/27/2011
INSULATION, INC., DBA WESTERN SPECIALTIES
STATE INSULATION, LLC                       3616 W. WHITTON AVE                                                                                                                PHOENIX             AZ      85019      UNITED STATES           VEN_799781             799781       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE OF ARIZONA                            800 W. WASHINGTON                               6TH FLOOR                                                                          PHOENIX             AZ      85007      UNITED STATES            BOND_045                           No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                  10/27/2011
STATE OF CALIF, DEPT OF TRANSPORTATION      1820 ALHAMBRA BLVD                              PO BOX 168043                                                                      SACRAMENTO          CA      95816      UNITED STATES           VEN_296331             296331       No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE OF CALIFORNIA                         25300 DANA POINT HARBOR                                                                                                            DANA POINT          CA      92629      UNITED STATES           VEN_811495             811495       No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE OF CALIFORNIA - DEPT OF HOUSING       & COMMUNITY DEVELOPMENT                         PO BOX 1979                                                                        SACRAMENTO          CA    95812-1979   UNITED STATES           VEN_225787             225787       No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE OF CALIFORNIA/CONTRACTORS LICENSE     9821 BUSINESS PARK DRIVE                                                                                                           SACRAMENTO          CA      95827      UNITED STATES            BOND_046                           No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                  10/27/2011
STATE OF CALIFORNIA/DRE                     320 W. 4TH ST.                                  SUITE 350                                                                          LOS ANGELES         CA      90013      UNITED STATES            BOND_047                           No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                  10/27/2011
STATE OF NEVADA                             6600 W. CHARLESTON BLVD.                        SUITE 132                                                                          LAS VEGAS           CA    89126-0990   UNITED STATES            BOND_048                           No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                  10/27/2011
STATE OF NEVADA                             PO BOX 52614                                                                                                                       PHOENIX             AZ      85072      UNITED STATES        CONTRACT_00692            603856       No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STATE OF NEVADA, NOTARY DIVISION            9670 GATEWAY DRIVE                              SUITE 100                                                                          RENO                NV      89521      UNITED STATES            BOND_049                           No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                  10/27/2011
STATE OF NEVADA-DEPARTMENT OF TAXATION      PO BOX 52685                                                                                                                       PHOENIX             AZ      85072      UNITED STATES           VEN_735971             735971       No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE WATER RESOURCES CONTROL BOARD         ATTN: STORM WATER                               PO BOX 100                                                                         SACRAMENTO          CA    95812-1888   UNITED STATES           VEN_225939             225939       No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE WATER RESOURCES CONTROL BOARD         DIVISION OF WATER QUALITY                       ATTN: STORM WATER PERMIT UNIT            PO BOX 1977                               SACRAMENTO          CA    95812-1977   UNITED STATES           VEN_230367             230367       No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATE WATER RESOURCES CONTROL BOARD         SCP PROGRAM                                     PO BOX 1888                                                                        SACRAMENTO          CA    95812-1888   UNITED STATES           VEN_235539             235539       No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STATEWIDE LIGHTING                          800 E. SAHARA                                                                                                                      LAS VEGAS           NV      89104      UNITED STATES        CONTRACT_00693            398987       No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STAUDERMAYER, PETER & ELIZABETH             C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC                 5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO           CA      92121      UNITED STATES       CMSLITCA_96610_029                      No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
STAUFFER’S LANDSCAPE, INC.                  MYRA STAUFFER                                   411 BUSINESS CENTER CT.                                                            REDLANDS            CA      92373      UNITED STATES      CMSLITCA_1103527_044                     No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
STAUFFER'S LANDSCAPE. INC.                  PO BOX 7518                                                                                                                        REDLANDS            CA      92375      UNITED STATES        CONTRACT_00694                         No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STEAMATIC OF SOUTHERN NEVADA                2851 SYNERGY DRIVE                                                                                                                 N. LAS VEGAS        NV      89030      UNITED STATES        CONTRACT_00695            547997       No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STEEL MOUNTAIN CONSTRUCTION                 PO BOX 21209                                                                                                                       EL CAJON            CA    92021-6317   UNITED STATES           VEN_234552             234552       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STENERSON CONSTRUCTION                      PO BOX 462247                                                                                                                      ESCONDIDO           CA      92046      UNITED STATES           VEN_273877             273877       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STEPHANIE CHIEN                             92 KEEPSAKE                                                                                                                        IRVINE              CA      92618      UNITED STATES           VEN_837863             837863       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STERLING ELECTRIC, INC.                     18845 VAN BUREN #10A                                                                                                               RIVERSIDE           CA      92508      UNITED STATES           VEN_669222             669222       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STERLING GROUP                              1600 H STREET, LOFT 405                                                                                                            SACRAMENTO          CA      95814      UNITED STATES           VEN_235483             235483       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STERLING NEVADA LLC                         2825 COLEMAN ST.                                                                                                                   N. LAS VEGAS        NV      89032      UNITED STATES        CONTRACT_00696            826953       No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STERLING PLUMBING, INC.                     3111 W. CENTRAL AVE                                                                                                                SANTA ANA           CA      92704      UNITED STATES        CONTRACT_00697                         No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STEVE COOKE                                 65 PINE AVE, #129                                                                                                                  LONG BEACH          CA      90802      UNITED STATES           VEN_840641             840641       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STEVE WALLACE                               9145 ALTA LOMA DRIVE                                                                                                               ALTA LOMA           CA      91701      UNITED STATES           VEN_621886             621886       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STEVE WOLFF AND ASSOCIATES, INC.            9602 SANTIAGO BLVD.                                                                                                                VILLA PARK          CA      92867      UNITED STATES        CONTRACT_00698                         No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STEVEN MONTES SPECIAL EVENTS, PARTNERSHI    4327 OLD DUBLIN RD.                                                                                                                CASTRO VALLEY       CA      94552      UNITED STATES           VEN_825491             825491       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STEVENS JR., RUSSELL                        1040 ENCHANTED MESA                                                                                                                PAHRUMP             NV      89048      UNITED STATES          EMP_MF_0229                          No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
STEVENS, FERRONE & BAILEY ENGINEERING       1600 WILLOW PASS COURT                                                                                                             CONCORD             CA      94520      UNITED STATES           VEN_578460             578460       No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
                                                                            Case 11-14019-CSS                                                                             Doc 1-4                    Filed 12/19/11                                Page 25 of 29

STEVE'S APPLIANCE SERVICE                    712 E. FAIRVIEW                                                                                                                               SAN GABRIEL           CA     91776      UNITED STATES            VEN_398717         398717   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STEWART & SUNDELL CONCRETE                   1760 W. BROOKS AVENUE                                                                                                                         N. LAS VEGAS          NV     89030      UNITED STATES            VEN_190369         190369   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STONE, ETC.                                  14815 S. BROADWAY                                                                                                                             GARDENA               CA     90248      UNITED STATES            VEN_591550         591550   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STONE, MARCIA                                18 BARNEBURG                                                                                                                                  DOVE CANYON           CA     92679      UNITED STATES          EMPT_SC_0302                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
STONEHENGE DESIGNS                           10801 N. 24TH AVE, SUITE 118                                                                                                                  PHOENIX               AZ     85029      UNITED STATES            VEN_573909         573909   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STONEHENGE DESIGNS (FISHER DISTRIBUTING)     1725 W. WILLIAMS DRIVE, SUITE 11                                                                                                              PHOENIX               AZ     85027      UNITED STATES        CONTRACT_00699         573909   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STONESCAPE PAVERS, INC.                      4610 WYNN RD., SUITE B                                                                                                                        LAS VEGAS             NV     89103      UNITED STATES        CONTRACT_00700         420187   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STRANGE AND CHALMERS                         924 LEMON STREET                                                                                                                              VALLEJO               CA     94590      UNITED STATES            VEN_230383         230383   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STRATEGIC MARKET SOLUTIONS DBA AIR           3419 E. UNIVERSITY DR.                                                                                                                        PHOENIX               AZ     85034      UNITED STATES        CONTRACT_00701         827471   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STRATEGIC MARKET SOLUTIONS DBA: AIR MKTG     3419 E. UNIVERSITY DRIVE                                                                                                                      PHOENIX               AZ     85034      UNITED STATES            VEN_827471         827471   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STRATEGIC SYSTEMS & TECHNOLOGY CORP.         3820 MANSELL ROAD, SUITE 280                                                                                                                  ALPHARETTA            GA     30022      UNITED STATES            VEN_826689         826689   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STREAMLINE FINISHES, INC.                    27071 CABOT RD., #105                                                                                                                         LAGUNA HILLS          CA     92653      UNITED STATES        CONTRACT_00702                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
STREET, ERIC & PAULINE                       C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_057             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
STRIZIC, ROY A. & BARBARA M.                 C/O ISRAEL E. GARCIA, ESQ.                       MILSTEIN, ADELMAN & KREGER, LLP         2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_105271_004               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
STRUCTURAL OBSERVATION GROUP, INC.           12152 WOODLAWN AVE                                                                                                                            SANTA ANA             CA     92705      UNITED STATES            VEN_588588         588588   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STRUCTURES DESIGN GROUP                      2 CORPORATE PARK, SUITE 106                                                                                                                   IRVINE                CA   92606-5103   UNITED STATES            VEN_398805         398805   No   Vendor       Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
STUCCO WORKS                                 5900 WAREHOUSE WAY                                                                                                                            SACRAMENTO            CA     95826      UNITED STATES            VEN_381106         381106   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STUCCO WORKS INC                             5900 WAREHOUSE WAY                                                                                                                            SACRAMENTO            CA     95826      UNITED STATES            VEN_391751         391751   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STUDIO BLUE REPROGRAPHICS, INC.              7132-A JOHNSON DRIVE                                                                                                                          PLEASANTON            CA     94588      UNITED STATES            VEN_230375         230375   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
STUFFLEBEAM, RONALD                          2081 TIAWAH                                                                                                                                   PAHRUMP               NV     89048      UNITED STATES          EMP_MF_0230                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SUACILLO, MICHAEL & JENNIFER                 C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_073             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SUAREZ, MIGUEL PALTAO & ELEANOR              C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_002             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SUKUMARAN, SHEELA                            C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_173057_013               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SULIAMANI, SEYAMAK & PARVIN                  C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_173057_033               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SULLIVAN GROUP REAL ESTATE ADVISORS          12555 HIGH BLUFF DRIVE, SUITE 210                                                                                                             SAN DIEGO             CA     92130      UNITED STATES            VEN_663672         663672   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUMMERLIN SOUTH COMMUNITY ASSOC.             10801 W. CHARLESTON, 3RD FLOOR                                                                                                                LAS VEGAS             NV   89135-1200   UNITED STATES            VEN_308953         308953   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUMMIT LAND PARTNERS LLC                     430 32ND STREET, SUITE 200                                                                                                                    NEWPORT BEACH         CA     92663      UNITED STATES            VEN_827180         827180   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUMMIT LAND PARTNERS SUB I, LLC              430 32ND STREET, SUITE 200                                                                                                                    NEWPORT BEACH         CA     92663      UNITED STATES            VEN_830362         830362   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUMMIT PLASTERING, INC.                      4501 E. LA PALMA AVE, #200                                                                                                                    ANAHEIM               CA     92807      UNITED STATES            VEN_735189         735189   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUN BLUEPRINT INC.                           2822 32ND STREET, SUITE #3                                                                                                                    PHOENIX               AZ     85008      UNITED STATES            VEN_189341         189341   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUN CAT SKYLIGHTS, LLC                       4485 EMERALD AVE                                                                                                                              LAS VEGAS             NV   89120-2126   UNITED STATES        CONTRACT_00703         628887   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SUN CITY LANDSCAPES, INC.                    4270 W. PATRICK                                                                                                                               LAS VEGAS             NV   89118-6858   UNITED STATES        CONTRACT_00704         310068   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SUN PLUMBING CO., INC.                       MARK S. SIEGEL, ESQ.                             ABT & SIEGEL                            401 WEST A STREET, SUITE 1730                        SAN DIEGO             CA     92101      UNITED STATES      CMSLITCA_1103527_045              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SUNAHARA, JEFFREY                            C/O BARRY C. VAUGHAN, ESQ.                       KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_029            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SUNAHARA, WENDY                              C/O BARRY C. VAUGHAN, ESQ.                       KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_030            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SUNBELT TILE, INC.                           23211 LA PALMA AVE.                                                                                                                           YORBA LINDA           CA     92887      UNITED STATES            VEN_281130         281130   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNDEVIL RESTORATION                         3125 N. 82ND STREET                                                                                                                           MESA                  AZ     85207      UNITED STATES            VEN_591402         591402   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNESYS, LLC                                 185 TITUS AVENUE                                                                                                                              WARRINGTON            PA     18976      UNITED STATES            VEN_836094         836094   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNRISE CARPENTRY INC.                       375 N STEPHANIE ST, BLDG 13                                                                                                                   HENDERSON             NV     89014      UNITED STATES           VEN_MF_179                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SUNRISE CARPENTRY, INC.                      PO BOX 95787                                                                                                                                  LAS VEGAS             NV   89193-5787   UNITED STATES        CONTRACT_00705         582477   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SUNRISE ELECTRICAL CONTRACTING, INC.         1713 OHARA CANYON RD.                                                                                                                         SANTA PAULA           CA     93060      UNITED STATES            VEN_703865         703865   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNRISE PAVING                               5562 MOUNTAIN VISTA STREET                                                                                                                    LAS VEGAS             NV     89120      UNITED STATES            VEN_305998         305998   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNSET COVE OWNER'S ASSOCIATION              C/O MENAS REALTY                                 4990 MISSION BLVD                                                                            SAN DIEGO             CA     92109      UNITED STATES            VEN_769899         769899   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNSET FIRE PROTECTION LLC                   PO BOX 355218                                                                                                                                 NORTH LAS VEGAS       NV     89033      UNITED STATES           VEN_MF_180                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SUNSET LAND COMPANY, LLC                     ONE ANNABEL LANE, SUITE 201                                                                                                                   SAN RAMON             CA     94583      UNITED STATES        CONTRACT_00706         391762   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SUNSET RANCHOS INVESTORS, LLC                1508 EUREKA RD., SUITE 250                                                                                                                    ROSEVILLE             CA     95661      UNITED STATES            VEN_678225         678225   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNSTATE EQUIPMENT CO.                       PO BOX 52581                                                                                                                                  PHOENIX               AZ   85072-2581   UNITED STATES            VEN_391763         391763   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUNSTATE FIRE PROTECTION, INC.               PO BOX 86324                                                                                                                                  PHOENIX               AZ   85080-6324   UNITED STATES        CONTRACT_00707         638258   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SUPERIOR ONSITE SERVICES                     237 BENT AVE                                                                                                                                  SAN MARCOS            CA     92078      UNITED STATES            VEN_818241         818241   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUPNET JR., THOMAS                           3620 CUEN CT                                                                                                                                  SAN JOSE              CA     95136      UNITED STATES          EMP_NC_0163                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SUPRA, A UTC FIRE AND SECURITY COMPANY       PO BOX 504528                                                                                                                                 ST. LOUIS             MO   63150-4528   UNITED STATES        CONTRACT_00708           N/A    No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SURE SERVE INC.                              PO BOX 2193                                                                                                                                   CONCORD               CA     94521      UNITED STATES            VEN_824384         824384   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SURE WEST                                    PO BOX 1110                                                                                                                                   ROSEVILLE             CA   95678-8110   UNITED STATES            VEN_495023         495023   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SURE-TRACK                                   3130 S. HARBOR BLVD, SUITE 100                                                                                                                SANTA ANA             CA     92704      UNITED STATES            VEN_416487         416487   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUSAN H. CRAWFORD                            2225 ROBLES AVE                                                                                                                               SAN MARINO            CA     91108      UNITED STATES            VEN_829100         829100   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUSAN W. CASE, INC.                          917 GLENNEYRE ST., #7                                                                                                                         LAGUNA BEACH          CA     92651      UNITED STATES            VEN_838575         838575   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SUWANDY, WILLY                               C/O WILLIAM H. NAUMANN, ESQ.                     THE NAUMANN LAW FIRM, PC                5752 OBERLIN DRIVE, SUITE 105                        SAN DIEGO             CA     92121      UNITED STATES       CMSLITCA_96610_035               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SUZANNE'S CATERING                           9121 ATLANTA AVENUE #227                                                                                                                      HUNTINGTON BEACH      CA     92646      UNITED STATES            VEN_221196         221196   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SWANSON & ASSOCIATES                         17055 VIA DEL CAMPO, SUITE 100                                                                                                                SAN DIEGO             CA     92127      UNITED STATES        CONTRACT_00709                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
SWANSON, ADAM                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_061              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SWANSON, MARIA                               C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_062              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SWAPP, SCOTT                                 5612 SUPER BOWL DR                                                                                                                            LAS VEGAS             NV     89110      UNITED STATES          EMP_NV_0164                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SWARTZ, SHANE & ABBE                         C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_058             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SWEENIE, BRIDGET                             114 VIA CANDELARIA                                                                                                                            COTO DE CAZA          CA     92679      UNITED STATES          EMPT_SC_0242                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
SWEET SEPTIC SYSTEMS, INC.                   5701 MOTHER LODE DR.                                                                                                                          PLACERVILLE           CA     95667      UNITED STATES            VEN_807111         807111   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SWIMS-STORM WATER INSPECTION & MAINTENAN     PO BOX 1627                                                                                                                                   DISCOVERY BAY         CA     94505      UNITED STATES            VEN_828721         828721   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SWOPE, EVELYN                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113                      BEVERLY HILLS         CA     90211      UNITED STATES    CMSLITCA_SCV0028445_008             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SWOPE, STEVEN                                C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                               ESQ. MALANGA LIBERTINO, LLP            8306 WILSHIRE BLVD., SUITE 1113                      BEVERLY HILLS         CA     90211      UNITED STATES    CMSLITCA_SCV0028445_009             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SWOPE, STEVEN & EVELYN                       C/O SUZANNE N. PATRON, ESQ.                      MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_SCV26452_013              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SWRCB                                        ATTN: AFRS                                       PO BOX 1888                                                                                  SACRAMENTO            CA   95812-1888   UNITED STATES            VEN_391767         391767   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SWRCB/SW FEES                                SWRCB ACCOUNTING OFFICE                          PO BOX 1888                                                                                  SACRAMENTO            CA   95812-1888   UNITED STATES            VEN_391768         391768   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SYCAMORE CC, INC.                            4490 VON KARMAN AVENUE                                                                                                                        NEWPORT BEACH         CA     92660      UNITED STATES            ENTITY_016                  No   Vendor       Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
SYMONDS, DAVID & MARJORIES                   C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_074             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
SYNTHETIC PROS                               PO BOX 2017                                                                                                                                   ELK GROVE             CA     95759      UNITED STATES            VEN_460867         460867   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SYNTROL                                      2120 MARCH RD., #A                                                                                                                            ROSEVILLE             CA     95747      UNITED STATES            VEN_827673         827673   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
SYSCO FOOD SVCS OF LAS VEGAS                 PO BOX 93537                                                                                                                                  LAS VEGAS             NV     89193      UNITED STATES           VEN_MF_181                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
SYSTEMS & SPACE, INC.                        500 BOULDER COURT, SUITE B                                                                                                                    PLEASANTON            CA     94566      UNITED STATES            VEN_685871         685871   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
T & M FRAMING, INC.                          1224 GREENFIELD DRIVE                                                                                                                         EL CAJON              CA     92021      UNITED STATES            VEN_259186         259186   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
T MCGEE ELECTRIC, INC.                       C/O F. PHILLIP HOSP, ESQ./REBECCA N. HERMAN, ESQ.HOSP, GILBERT, BERGSTEN & HOUGH         301 NORTH LAKE AVENUE, SUITE #410                    PASADENA              CA     91101      UNITED STATES      CMSLITCA_365116_103               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
T MCGEE ELECTRIC, INC.                       C/O STEVE DONALD, AGENT                          2390 SOUTH RESERVOIR STREET                                                                  POMONA                CA     91766      UNITED STATES      CMSLITCA_365116_065               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
T MCGEE ELECTRIC, INC.                       PO BOX 1111                                                                                                                                   CHINO                 CA     91708      UNITED STATES            VEN_222834         222834   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
T' MCGEE ELECTRIC, INC.                      STEVE DONALD                                     2390 S. RESERVOIR ST.                                                                        POMONA                CA     91766      UNITED STATES      CMSLITCA_1103527_046              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
T.C.CONSTRUCTION                             10540 PROSPECT                                                                                                                                SANTEE                CA     92071      UNITED STATES            VEN_234595         234595   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TACOS DON JORGE                              8693 VENICE BLVD                                                                                                                              LOS ANGELES           CA     90034      UNITED STATES            VEN_830717         830717   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TAD CONSULTING, INC.                         1401 N. BATAVIA #103                                                                                                                          ORANGE                CA     92867      UNITED STATES        CONTRACT_00710                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TAD ENGINEERING                              4633 E. BOND AVE                                                                                                                              ORANGE                CA     92869      UNITED STATES            VEN_567445         567445   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TAILORED MASONRY OF CALIFORNIA               2619 W. EDINGER, SUITE F-1                                                                                                                    SANTA ANA             CA   92704-3501   UNITED STATES            VEN_362600         362600   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TALAMANTEZ, RALPH                            C/O SUZANNE N. PATRON, ESQ.                      MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_SCV26452_022              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TALLEY METAL FABRICATION                     PO BOX 850                                                                                                                                    SAN JACINTO           CA   92581-0850   UNITED STATES        CONTRACT_00711                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TAN, HOWARD                                  C/O SUZANNE N. PATRON, ESQ.                      MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_SCV26452_014              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TANEY ENGINEERING                            6030 S. JONES BLVD, SUITE 100                                                                                                                 LAS VEGAS             NV     89118      UNITED STATES        CONTRACT_00712         476893   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TARSHIS, DOTTIE                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_064              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TARSHIS, MURRAY                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_063              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TASK ENGINEERING                             3707 N. 7TH ST., SUITE 235                                                                                                                    PHOENIX               AZ     85014      UNITED STATES        CONTRACT_00713         515021   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TATE, CHARLES                                4271 FLAMINGO                                                                                                                                 PAHRUMP               NV     89048      UNITED STATES          EMPT_MF_0332                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
TAYLOR DIVERSIFIED, INC.                     2057 ALDERGROVE AVE                                                                                                                           ESCONDIDO             CA     92029      UNITED STATES            VEN_534521         534521   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TAYLOR MADE GOLF COMPANY, INC                FILE 56431                                                                                                                                    LOS ANGELES           CA   90074-6431   UNITED STATES           VEN_MF_182                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
TAYLOR TRIM & SUPPLY INC                     2061 ALDERGROVE AVE                                                                                                                           ESCONDIDO             CA     92029      UNITED STATES            VEN_391778         391778   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TAYLOR, ALLAN                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_065              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TAYLOR, SUZAN                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.    KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                      IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_066              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TAYLORED FLEET SOLUTIONS                     6430 SCHIRLLS STREET                                                                                                                          LAS VEGAS             NV     89118      UNITED STATES           VEN_MF_183                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
TC WEATHERSTRIP INC.                         PO BOX 3220                                                                                                                                   ONTARIO               CA   91761-7775   UNITED STATES            VEN_829257         829257   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TD SPORTS, INC. SPORT COURT OF SO. CAL.      21 W. EAST ST., #107                                                                                                                          SIMI VALLEY           CA     93065      UNITED STATES            VEN_765716         765716   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEAM HEATING & AIR CONDITIONING, INC.        42266 REMINGTON AVE                                                                                                                           TEMECULA              CA     92590      UNITED STATES            VEN_408479         408479   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TED BURTONS UNDERGROUND, INC.                PO BOX 3291                                                                                                                                   BEAUMONT              CA     92223      UNITED STATES            VEN_659999         659999   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEEN CHALLENGE OF SO. CALIFORNIA, INC.       3841 W. 130TH STREET                                                                                                                          HAWTHORNE             CA     90250      UNITED STATES            VEN_833791         833791   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEEVAN, JOHN                                 C/O ROBERY J. CLAUSEN, ESQ.                      LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145                 NEWPORT BEACH         CA     92660      UNITED STATES       CMSLITCA_92941_012               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TEHRANI, ELHAM                               C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                              KASDAN
                                                                                                   J. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                               RILEY & VAUGHAN LLP    19900 MACARTHUR BOULEVARD, SUITE 850                 IRVINE                CA     92612      UNITED STATES      CMSLITCA_233522_010               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TEHRANI, MOJTABA                             C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                              KASDAN
                                                                                                   J. THOMSON,
                                                                                                       SIMONDSESQ.
                                                                                                               RILEY & VAUGHAN LLP    19900 MACARTHUR BOULEVARD, SUITE 850                 IRVINE                CA     92612      UNITED STATES      CMSLITCA_233522_009               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TEICHERT CONSTRUCTION                        PO BOX 13557                                                                                                                                  SACRAMENTO            CA   95853-9935   UNITED STATES            VEN_262895         262895   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEICHERT CONSTRUCTION                        PO BOX 700                                                                                                                                    LINCOLN               CA   95648-0700   UNITED STATES            VEN_568659         568659   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEJAS UNDERGROUD, LLC                        4129 W. CHEYENNE AVE. STE A                                                                                                                   N. LAS VEGAS          NV     89030      UNITED STATES            VEN_190414         190414   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TELE PACIFIC                                 PO BOX 526015                                                                                                                                 SACRAMENTO            CA   95852-6015   UNITED STATES        CONTRACT_00714         553140   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TELEPACIFIC COMMUNICATIONS                   PO BOX 93865                                                                                                                                  LAS VEGAS             NV   89193-3865   UNITED STATES        CONTRACT_00715         835091   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TEMCON CONCRETE CONSTRUCTION CO., INC.       8989 S. HARDY ROAD                                                                                                                            TEMPE                 AZ     85284      UNITED STATES        CONTRACT_00716         244419   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TEMECULA GLASS & MIRROR                      41755 RIDER WAY #2                                                                                                                            TEMECULA              CA     92590      UNITED STATES            VEN_424794         424794   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEMP POWER SYSTEMS, INC.                     625 E. FEE ANA STREET                                                                                                                         PLACENTIA             CA     92870      UNITED STATES            VEN_244435         244435   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEMPLE, TAMMY                                51 MOONRISE WAY                                                                                                                               HENDERSON             NV     89074      UNITED STATES          EMP_NV_0165                   No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
TEREGIS, MIKE                                29211 COUNTRY HILLS RD.                                                                                                                       SAN JUAN CAPISTRANO   CA     92675      UNITED STATES           EMP_SC_0166                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
TEREGIS, MIKE                                4490 VON KARMAN AVE                                                                                                                           NEWPORT BEACH         CA     92660      UNITED STATES            VEN_638119         638119   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TERRA CONTRACTING                            5980 W. COUGAR AVE                                                                                                                            LAS VEGAS             NV     89139      UNITED STATES        CONTRACT_00717         604744   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TERRA FIRMA LANDSCAPE CO                     9520 CANDIDA ST.                                                                                                                              SAN DIEGO             CA     92126      UNITED STATES            VEN_234675         234675   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TERRA WEST PROPERTY MANAGEMENT               6655 S. CIMARRON RD.,STE. 200                    ATTN: HOA ACCOUNTING DEPT.                                                                   LAS VEGAS             NV     89113      UNITED STATES            VEN_191396         191396   No   Vendor       Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
TERRADAN CONSTRUCTION, INC.                  380 CARROL COURT, SUITE J                                                                                                                     BRENTWOOD             CA     94513      UNITED STATES            VEN_755614         755614   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TERRADO, FERDINAND & MARIANEL                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_075             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TERRELL, THOMAS C. & JANET C.                C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                              MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                       SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_059             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TERRY, GRACE                                 C/O ALAN BRAYTON, ESQ. KATHERIN Y. LEE, ESQ.     BRAYTON PURCELL LLP                     222 RUSH LANDING ROAD                  PO BOX 6169   NOVATO                CA   94948-6169   UNITED STATES      CMSLITCA_275467_004               No   Litigant     California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
TERRYBERRY MANUFACTURING JEWELERS            2033 OAK INDUSTRIAL DRIVE, N.E.                  PO BOX 502                                                                                   GRAND RAPIDS          MI   49501-0502   UNITED STATES            VEN_293376         293376   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TEXTRON                                      26007 NETWORK PLACE                                                                                                                           CHICAGO               IL   60673-1260   UNITED STATES           VEN_MF_184                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
TEXTRON FINANCIAL CORPORATION                11575 GREAT OAKS WAY #210                                                                                                                     ALPHARETTA            GA     30022      UNITED STATES              UCC_008                   No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
TFC TEXTRON                                  DEPT AT-40219                                                                                                                                 ATLANTA               GA   31192-2019   UNITED STATES           VEN_MF_185                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
THE AMERICAN INSURANCE COMPANY               777 SAN MARIN DR, STE SM3, C88                                                                                                                NOVATO                CA     94998      UNITED STATES             BOND_069                   No   Bondholder   Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
THE ARGONAUT                                 PO BOX 11209                                                                                                                                  MARINA DEL REY        CA     90295      UNITED STATES            VEN_775017         775017   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE ARIZONA REPUBLIC                         PO BOX 54449                                                                                                                                  LOS ANGELES           CA   90054-0449   UNITED STATES            VEN_195637         195637   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE BARRICADE COMPANY, LLC                   5980 W. COUGAR AVE                                                                                                                            LAS VEGAS             NV     89139      UNITED STATES        CONTRACT_00718         828537   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE BLUEPRINT SHOP                           7133 DUBLIN BLVD                                                                                                                              DUBLIN                CA     94568      UNITED STATES            VEN_391786         391786   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE BOURASSA LAW GROUP CLIENT TRUST ACCT     3025 W. SAHARA AVE, SUITE 105                                                                                                                 LAS VEGAS             NV     89102      UNITED STATES            VEN_825096         825096   No   Vendor       Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE BRIDGES GOLF CLUB                        9000 S. GALE RIDGE RD.                                                                                                                        SAN RAMON             CA     94582      UNITED STATES            VEN_842726         842726   No   Vendor       Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
THE BRIDLE CREEK HOMEOWNERS ASSOCIATION      4490 VON KARMAN AVE                                                                                                                           NEWPORT BEACH         CA     92660      UNITED STATES             BOND_050                   No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
THE BUGMAN                                   525 N. SHEPARD STREET                                                                                                                         ANAHEIM               CA     92806      UNITED STATES            VEN_390643         390643   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE CATERING TEAM                            PO BOX 2504                                                                                                                                   SANTA FE SPRINGS      CA     90670      UNITED STATES            VEN_839826         839826   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE COAST NEWS GROUP                         PO BOX 232550                                                                                                                                 ENCINITAS             CA   92023-2550   UNITED STATES            VEN_793792         793792   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE COMMONS HOMEOWNERS ASSOCIATION           C/O TERRA WEST                                   6655 S. CIMARRON RD., SUITE 200                                                              LAS VEGAS             NV     89113      UNITED STATES            VEN_838567         838567   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE CROSSINGS HOMEOWNERS ASSOCIATION         C/O TERRA WEST PROPERTY MGMT.                    6655 S. CIMARRON RD., SUITE 200                                                              LAS VEGAS             NV     89113      UNITED STATES            VEN_841504         841504   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE DAILY REPUBLIC                           PO BOX 47                                                                                                                                     FAIRFIELD             CA     94533      UNITED STATES            VEN_335126         335126   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE DOOR COMPANY                             2251 IVY STREET                                                                                                                               CHICO                 CA     95928      UNITED STATES            VEN_771825         771825   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE FOLIAGE GROUP                            1612 ORCHARD DRIVE                                                                                                                            NEWPORT BEACH         CA     92660      UNITED STATES        CONTRACT_00719                  No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE FOOTHILLS AT CARLSBAD HOMEOWNERS
                                             12865 POINTE DEL MAR WAY                       SUITE 200                                                                                      DEL MAR               CA     92014      UNITED STATES           BOND_051                     No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
ASSOCIATION, A CALIFORNIA NONPROFIT MUTUAL
THE GALLOWAY GROUP                           17 RAVEN LANE                                                                                                                                 ALISO VIEJO           CA     92656      UNITED STATES          VEN_391789           391789   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE GARAGE DOOR & FIREPLACE CENTER           7500 SAN JOAQUIN STREET                                                                                                                       SACRAMENTO            CA   95820-2141   UNITED STATES          VEN_786605           786605   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE GARDENS OWNERS ASSOCIATION               4490 VON KARMAN AVE                                                                                                                           NEWPORT BEACH         CA     92660      UNITED STATES           BOND_052                     No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                     10/27/2011
THE GARDENS OWNERS ASSOCIATION               C/O FAS                                        PO BOX 69                                                                                      WHITESBORO            TX     76273      UNITED STATES          VEN_828705           828705   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE GAS COMPANY                              PO BOX C                                                                                                                                      MONTEREY PARK         CA     91756      UNITED STATES          VEN_225904           225904   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE GRAHAM CONSULTING GROUP                  2723 CROW CANYON RD.                                                                                                                          SAN RAMON             CA     94583      UNITED STATES          VEN_838778           838778   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE GREGORY GROUP                            101 PARKSHORE DRIVE, SUITE 191                                                                                                                FOLSOM                CA     95630      UNITED STATES          VEN_400910           400910   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE HELSING GROUP INC                        2000 CROW CANYON PLACE, SUITE 380                                                                                                             SAN RAMON             CA     94583      UNITED STATES          VEN_391791           391791   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE HOOD CLEANING COMPANY                    2112 KIRKLAND AVE                                                                                                                             LAS VEGAS             NV     89102      UNITED STATES          VEN_MF_186                    No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
THE IRVINE COMPANY                           DEPT. #1420                                    EXECUTIVE PARK 111-BLDG 36                                                                     LOS ANGELES           CA   90084-1420   UNITED STATES          VEN_642636           642636   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE IRVINE LAND COMPANY LLC                  ATTN CINDY DAILY                               550 NEWPORT CENTER DRIVE                                                                       NEWPORT BEACH         CA   92660-7011   UNITED STATES      CONTRACT_ANP_00013                No   Vendor       Contract - ANP      WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE JASPER COMPANIES                         C/O ROBERT F. JASPER, AGENT                    2970 GRACE LANE                                                                                COSTA MESA            CA     92626      UNITED STATES      CMSLITCA_365116_064               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
                                                                              Case 11-14019-CSS                                                                           Doc 1-4                     Filed 12/19/11                               Page 26 of 29

THE JASPER COMPANIES                           C/O STEVEN D. BAYS, ESQ.                        MARSHALL, FRENCH & DEGRAVE             2030 MAIN STREET, SUITE #600                          IRVINE               CA     92614      UNITED STATES      CMSLITCA_365116_102               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
THE KOREA TIMES L.A., INC.                     4525 WILSHIRE BLVD                                                                                                                           LOS ANGELES          CA     90010      UNITED STATES           VEN_768811          768811   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE KOREA TIMES SAN FRANCISCO                  8134 CAPWELL DRIVE                                                                                                                           OAKLAND              CA     94621      UNITED STATES           VEN_823761          823761   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE LIGHT BULB GUY                             PO BOX 4170                                                                                                                                  PALM SPRINGS         CA     92263      UNITED STATES           VEN_823470          823470   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE MASONRY GROUP AND MADISON CAP FUNDIN       30 S. WACKER DRIVE, SUITE 3700                                                                                                               CHICAGO              IL     60606      UNITED STATES           VEN_758444          758444   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE MASONRY GROUP AND MADISON CAP FUNDING      30 S. WACKER DRIVE, SUITE 3700                                                                                                               CHICAGO              IL     60606      UNITED STATES        CONTRACT_00720                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE MASONRY GROUP OR MADISON CAP FUNDIN        30 S. WACKER DRIVE, SUITE 3700                                                                                                               CHICAGO              IL     60606      UNITED STATES           VEN_757724          757724   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE MODEL KEEPERS, INC.                        1611 S. MELROSE DRIVE SUITE A320                                                                                                             VISTA                CA     92081      UNITED STATES        CONTRACT_00721                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE PACIFIC CLUB                               4110 MACARTHUR BLVD.                                                                                                                         NEWPORT BEACH        CA     92660      UNITED STATES           VEN_435194          435194   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE PATCHWORKS OF ARIZONA, INC.                26955 N. 160TH STREET                                                                                                                        SCOTTSDALE           AZ     85262      UNITED STATES           VEN_842769          842769   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
THE PLANNING ASSOCIATES                        3151 AIRWAY AVENUE, SUITE R-1                                                                                                                COSTA MESA           CA     92626      UNITED STATES        CONTRACT_00722                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE PRESCOTT COMPANIES                         5966 LA PLACE CT., SUITE 170                                                                                                                 CARLSBAD             CA     92008      UNITED STATES           VEN_487023          487023   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE PRESSURE GROUT COMPANY                     1975 NATIONAL AVE                                                                                                                            HAYWARD              CA   94545-1709   UNITED STATES           VEN_733992          733992   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE PROFESSIONAL GOLFERS' ASSOC.               PO BOX 30017                                                                                                                                 TAMPA                FL   33630-3017   UNITED STATES          VEN_MF_187                    No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
THE REDHAWK COMPANIES, INC.                    1285 SANTA RITA RD.                                                                                                                          TEMPLETON            CA     93465      UNITED STATES           VEN_637482          637482   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE REDHAWK COMPANIES, INC.                    PO BOX 80905                                                                                                                                 RANCHO SANTA MARGARITA
                                                                                                                                                                                                                 CA   92688-0905   UNITED STATES           VEN_423679          423679   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE RYNESS COMPANY                             ATTNETION: PATTI LOMAS                          801 SAN RAMON VALLEY BLVD.                                                                   DANVILLE             CA     94526      UNITED STATES           VEN_317112          317112   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE SACRAMENTO BEE                             PO BOX 11967                                                                                                                                 FRESNO               CA   93776-1967   UNITED STATES           VEN_221022          221022   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE STONE GROUP                                120 SPRING STREET                                                                                                                            PLEASANTON           CA     94566      UNITED STATES           VEN_391803          391803   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE SUN NEWSPAPER GROUP                        PO BOX 6247                                                                                                                                  SAN BERNARDINO       CA     92412      UNITED STATES           VEN_816721          816721   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE TILE FIX, INC.                             940 AMANDA LANE                                                                                                                              LA HABRA             CA     90631      UNITED STATES           VEN_772369          772369   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THE TORO COOMPANY - NSN                        39398 TREASURY CENTER                                                                                                                        CHICAGO              IL   60694-9300   UNITED STATES          VEN_MF_188                    No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
THE UNIVERSAL GROUP                            22233 N. 23RD AVE                                                                                                                            PHOENIX              AZ     85027      UNITED STATES        CONTRACT_00723         814565   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE WALL COMPANY                               1476 W. HARVARD AVE                                                                                                                          GILBERT              AZ     85233      UNITED STATES        CONTRACT_00724         840413   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THE WILLIAM HARWELL LYON SEPARATE PROPERTY     C/O RICHARD M. SHERMAN, JR. ESQ.                IRELL & MANELLA LLP                    840 NEWPORT CENTER DRIVE                  SUITE 400   NEWPORT BEACH        CA     92660      UNITED STATES          STOCK_00001                        Shareholder     Undefined           Maintain Creditors                                                    12/13/2011
THE YARD LUMBER & FENCE                        112 SOUTH RIVERSIDE DRIVE                                                                                                                    MODESTO              CA     95354      UNITED STATES           VEN_391807          391807   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THOMAS PLUMBING                                1671 VINEYARD DRIVE                                                                                                                          ANTIOCH              CA     94509      UNITED STATES        CONTRACT_00725                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THOMAS REPROGRAPHICS                           PO BOX 740967                                                                                                                                DALLAS               TX   75374-0967   UNITED STATES           VEN_350596          350596   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THOME, ALICE                                   8401 INDIGO SKY AVENUE                                                                                                                       LAS VEGAS            NV     89129      UNITED STATES          EMP_NV_0167                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
THOMPSON ELECTRIC                              811 SAN RAMON VALLEY BLVD, SUITE 102                                                                                                         DANVILLE             CA     94526      UNITED STATES           VEN_510684          510684   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THOMPSON, KENNETH                              C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA         CA     90405      UNITED STATES    CMSLITCA_CA1100369_060              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
THOMPSON, MARK                                 C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                       IRVINE               CA     92612      UNITED STATES     CMSLITCA_1007968_067               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
THOMPSON, RAYANNE                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                       IRVINE               CA     92612      UNITED STATES     CMSLITCA_1007968_068               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
THOMPSON, TAYLOR                               4120 E. WINTERWOOD ROAD                                                                                                                      PAHRUMP              NV   89048-6514   UNITED STATES         EMPT_MF_0355                   No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
THOMPSON, VERONICA                             10445 ARTESIA BLVD                              #49A                                                                                         BELLFLOWER           CA     90706      UNITED STATES        EMPT_CORP_0293                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
THOMSON FINANCIAL                              PO BOX 5137                                                                                                                                  CAROL STREAM         IL   60197-5137   UNITED STATES           VEN_623208          623208   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THOMSON REUTERS (MARKETS) LLC                  PO BOX 5136                                                                                                                                  CAROL STREAM         IL   60197-5136   UNITED STATES           VEN_819024          819024   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THORNTON STEEL & IRONWORKS                     1323 SO. STATE COLLEGE PARKWAY                                                                                                               ANAHEIM              CA     92806      UNITED STATES        CONTRACT_00726                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THORPE DESIGNS, INC.                           PO BOX 1149                                                                                                                                  BRENTWOOD            CA     94513      UNITED STATES        CONTRACT_00727                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THREE D ALARM COMPANY                          4690 E SECOND ST, #4                                                                                                                         BENICIA              CA     94510      UNITED STATES           VEN_391814          391814   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THREE D ELECTRIC COMPANY                       4690 EAST SECOND ST., STE. 4                                                                                                                 BENICIA              CA     94510      UNITED STATES        CONTRACT_00728                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THREE SISTERS PROPERTIES                       19 CORPORATE PLAZA                                                                                                                           NEWPORT BEACH        CA     92660      UNITED STATES        CONTRACT_00729          N/A     No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THREE SIXTY AT SOUTH BAY ASSOCIATION           4490 VON KARMAN AVE                                                                                                                          NEWPORT BEACH        CA     92660      UNITED STATES            BOND_053                    No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
THREE SIXTY AT SOUTH BAY ASSOCIATION           C/O MERIT PROPERTY MANAGEMENT                   1 POLARIS WAY, SUITE 100                                                                     ALISO VIEJO          CA     92656      UNITED STATES           VEN_830207          830207   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
THROWER, CHRIS & SHANNA                        C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA         CA     90405      UNITED STATES     CMSLITCA_1103791_022               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
THURSTON ELEVATOR CONCEPTS                     307 S. VERMONT AVE, SUITE F                                                                                                                  GLENDORA             CA     91741      UNITED STATES        CONTRACT_00730                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
THURSTON ELEVATOR CONCEPTS                     830 N. VERNON AVE                                                                                                                            AZUSA                CA     91702      UNITED STATES           VEN_747104          747104   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIBERTI FENCE CO.                              4975 ROGERS STREET                                                                                                                           LAS VEGAS            NV     89118      UNITED STATES           VEN_280305          280305   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIERRA ESTE HOMEOWNERS ASSOCIATION             6628 SKY POINTE DR., #280                                                                                                                    LAS VEGAS            NV     89131      UNITED STATES           VEN_800868          800868   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIFFANY BROS CARPET & UPHOLSTERY CLEANIN       13291 RAINIER CIRCLE                                                                                                                         WESTMINSTER          CA     92683      UNITED STATES           VEN_227176          227176   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIFFER, VIOLA                                  C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113                       BEVERLY HILLS        CA     90211      UNITED STATES     CMSLITCA_20010042_003              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TIGER TECHNOLOGY SOLUTIONS, INC.               1300 BRISTOL ST., SUITE 100                                                                                                                  NEWPORT BEACH        CA     92660      UNITED STATES           VEN_707532          707532   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TILE TRENDS                                    1311 LAWRENCE DR.                                                                                                                            NEWBURY PARK         CA     91320      UNITED STATES           VEN_324128          324128   No   Vendor          Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                10/26/2011
TIMBERLAKE CABINET COMPANY                     3146 GOLD CAMP DR.                                                                                                                           RANCHO CORDOVA       CA     95670      UNITED STATES        CONTRACT_00731                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TIME VALUE SOFTWARE                            PO BOX 50250                                                                                                                                 IRVINE               CA   92619-9809   UNITED STATES           VEN_792108          792108   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIME WARNER CABLE                              PO BOX 60506                                                                                                                                 CITY OF INDUSTRY     CA   91716-0506   UNITED STATES           VEN_753598          753598   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIME WARNER CABLE LLC                          PO BOX 60074                                                                                                                                 CITY OF INDUSTRY     CA   91716-0074   UNITED STATES           VEN_831630          831630   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TIMOTHY A. HOBBS AND MICHELLE L. HOBBS AS
TRUSTEES OF THE TIMOTHY A. HOBBS AND           C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH,
                                                                                            ANDERSON
                                                                                                 ESQ. JAKE
                                                                                                       & KRIGER
                                                                                                           J. FATHY, ESQ.             4750 DUCKHORN DRIVE                                   SACRAMENTO          CA      95834      UNITED STATES     CMSLITCA_20100719_003              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
MICHELLE L. HOBBS REVOCABLE FAMILY TRUST
TINCO SHEET METAL, INC.                        958 N. EASTERN AVE                                                                                                                           LOS ANGELES         CA      90063      UNITED STATES        CONTRACT_00732                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TINSMAN, JASON & SHAWN                         C/O FRED M. ADELMAN, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES      CMSLITCA_365116_014               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TIP TOP MODELS                                 1213 W. BAY AVE                                                                                                                              NEWPORT BEACH       CA      92661      UNITED STATES           VEN_740789          740789   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TITAN OUTDOOR, LLC                             850 THIRD AVE                                                                                                                                NEW YORK            NY      10022      UNITED STATES           VEN_837804          837804   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TITAN SHEET METAL, INC.                        180 VANDER STREET                                                                                                                            CORONA              CA      92880      UNITED STATES        CONTRACT_00733                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TITAN STAIRS & TRIM, INC.                      5325 S. VALLEY VIEW                                                                                                                          LAS VEGAS           NV      89118      UNITED STATES        CONTRACT_00734         190756   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TITLEIST                                       PO BOX 88112                                                                                                                                 CHICAGO             IL    60695-1112   UNITED STATES          VEN_MF_189                    No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
TIVOLI LLC                                     4535 W. RUSSELL RD., SUITE 1                                                                                                                 LAS VEGAS           NV      89118      UNITED STATES           VEN_837100          837100   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TJM PAINTING INC.                              5808 W. MARYLAND AVE                                                                                                                         GLENDALE            AZ      85301      UNITED STATES           VEN_459719          459719   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TKACH, VLADIMIR                                C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES     CMSLITCA_SCV26452_015              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TKG VACA SIGNS, LLC                            C/O JORDEX MANAGEMENT, INC.                     PO BOX 503                                                                                   RODEO               CA      94572      UNITED STATES           VEN_542061          542061   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TL FABRICATIONS, LP                            13727 EXCELSIOR DRIVE                                                                                                                        SANTA FE SPRINGS    CA      90670      UNITED STATES           VEN_602642          602642   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TMAX GEAR                                      PO BOX 360286                                                                                                                                PITTSBURGH          PA    15250-6286   UNITED STATES          VEN_MF_190                    No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
T-MOBILE                                       PO BOX 51843                                                                                                                                 LOS ANGELES         CA    90051-6143   UNITED STATES          VEN_MF_191                    No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
T-MOBILE USA, INC.                             PO BOX 51843                                                                                                                                 LOS ANGELES         CA    90051-6143   UNITED STATES        CONTRACT_00736         783367   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TMP SERVICES, INC.                             425 S. RANCHO AVENUE                                                                                                                         COLTON              CA      92324      UNITED STATES           VEN_474476          474476   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
T-N-T GRADING, INC.                            268 REDEL RD.                                                                                                                                SAN MARCOS          CA      92078      UNITED STATES           VEN_350625          350625   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOM, STANLEY & MAY                             C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES    CMSLITCA_DEL1100369_076             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOMKINS INDUSTRIES, INC., DBA LASCO BATHWARE   C T CORPORATION SYSTEM                          818 WEST SEVENTH ST.                                                                         LOS ANGELES         CA      90017      UNITED STATES      CMSLITCA_1103527_047              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOMKINS INDUSTRIES, INC., DBA LASCO BATHWARE   C/O CT CORPORATION SYSTEM, AGENT                818 WEST 7TH STREET                                                                          LOS ANGELES         CA      90017      UNITED STATES     CMSLITCA_MC021755_035              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOMKINS INDUSTRIES, INC., DBA LASCO BATHWARE   C/O JEFFREY B. STOLTZ, ESQ.                     LEWIS, BRISBOIS, BISGAARD & SMITH      221 NORTH FIGUEROA STREET, SUITE #1200                LOS ANGELES         CA      90012      UNITED STATES     CMSLITCA_MC021755_042              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TONG, JONES & SANDRA                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES    CMSLITCA_DEL1100369_077             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOP CAT CONSTRUCTION, LLC                      6340 MCLEOD DRIVE, SUITE 5                                                                                                                   LAS VEGAS           NV      89120      UNITED STATES           VEN_645941          645941   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOP FLIGHT INDUSTRIES, INC.                    22651 LAMBERT ST., SUITE 105                                                                                                                 LAKE FORREST        CA      92630      UNITED STATES           VEN_502748          502748   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOP GRADE CONSTRUCTION, INC.                   324 EARHART WAY                                                                                                                              LIVERMORE           CA      94550      UNITED STATES        CONTRACT_00737                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TOP NOTCH PLUMBING, HEATING & AIR COND.        23215 TEMESCAL CANYON RD., SUITE B                                                                                                           CORONA              CA      92883      UNITED STATES           VEN_563751          563751   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOPNOTCH SERVICES, INC.                        9260 EL CAMINO ROAD                                                                                                                          LAS VEGAS           NV      89139      UNITED STATES        CONTRACT_00738         827711   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TORRENT RESOURCES                              1509 E. ELWOOD ST.                                                                                                                           PHOENIX             AZ      85040      UNITED STATES        CONTRACT_00739         818259   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TORRES, ALEXANDER                              31959 VIOLET DR                                                                                                                              WINCHESTER          CA      92596      UNITED STATES          EMP_SC_0168                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
TORRES, ALEXANDER A.                           31959 VIOLET DRIVE                                                                                                                           WINCHESTER          CA      92596      UNITED STATES           VEN_391828          391828   No   Vendor          Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TORRES, LUIS                                   C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                    J. THOMSON,
                                                                                                        SIMONDSESQ.
                                                                                                                RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                  IRVINE              CA      92612      UNITED STATES      CMSLITCA_233522_011               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TORRES, MICHELLE                               C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                    J. THOMSON,
                                                                                                        SIMONDSESQ.
                                                                                                                RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                  IRVINE              CA      92612      UNITED STATES      CMSLITCA_233522_012               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOTAH, ISA & IBTISAM                           C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES    CMSLITCA_CA1100369_061              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOTAL SAFETY INC.                              9555 DEL WEBB BLVD                                                                                                                           LAS VEGAS           NV    89134-8317   UNITED STATES        CONTRACT_00740         471312   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TOTAL SECURE SHREDDING                         PO BOX 81669                                                                                                                                 SAN DIEGO           CA    92138-1669   UNITED STATES           VEN_802724          802724   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOTAL SIGN SYSTEMS                             6275 W. POST ROAD                                                                                                                            LAS VEGAS           NV      89118      UNITED STATES        CONTRACT_00741         817862   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TOUCH UP, INC., DBA T & R PAINTING & DRYWALL   C/O HAGAI RAPAPORT, AGENT                       7115 VALJEAN AVENUE                                                                          VAN NUYS            CA      91406      UNITED STATES      CMSLITCA_365116_066               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOUCH UP, INC., DBA T & R PAINTING & DRYWALL   C/O STEVEN D. BAYS, ESQ.                        MARSHALL, FRENCH & DEGRAVE             2030 MAIN STREET, SUITE #600                          IRVINE              CA      92614      UNITED STATES      CMSLITCA_365116_104               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TOUCHTONE SOFTWARE INTERNATIONAL               PO BOX 5719                                                                                                                                  IRVINE              CA    92616-5719   UNITED STATES           VEN_274378          274378   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOUCH-UP DOC, INC.                             PO BOX 77112                                                                                                                                 CORONA              CA      92877      UNITED STATES           VEN_399912          399912   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOWEL & TISSUE OF LAS VEGAS                    PO BOX 94946                                                                                                                                 LAS VEGAS           NV    89193-4946   UNITED STATES           VEN_592819          592819   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOWN & COUNTRY ROOFING, INC.                   2155 ELKINS WAY, SUITE H                                                                                                                     BRENTWOOD           CA      94513      UNITED STATES           VEN_230404          230404   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOWN OF GILBERT                                90 E. CIVIC CENTER DRIVE                                                                                                                     GILBERT             AZ      85292      UNITED STATES            BOND_054                    No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                        10/27/2011
TOWN OF GILBERT                                UTILITY DEPARTMENT                              PO BOX 52653                                                                                 PHOENIX             AZ    85072-2653   UNITED STATES           VEN_455179          455179   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOWN OF GILBERT POLICE DEPARTMENT              75 E. CIVIC CENTER DR.                                                                                                                       GILBERT             AZ      85296      UNITED STATES           VEN_782891          782891   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOWN OF PAHRUMP                                400 N. HIGHWAY 160                                                                                                                           PAHRUMP             NV      89060      UNITED STATES          VEN_MF_193                    No   Vendor          Taxing Authority    APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
TOWN OF PAHRUMP                                400 N. NEVADA HIGHWAY 160                                                                                                                    PAHRUMP             NV      89060      UNITED STATES        CONTRACT_00742         666540   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TOWN OF PAHRUMP                                ATTN: PERMIT FEE DEPARTMENT                     400 N. NEVADA HIGHWAY 160                                                                    PAHRUMP             NV      89060      UNITED STATES        CMSTX_666540_2                  No   Taxing AuthorityPermit Fee          Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
TOWN OF PAHRUMP                                ATTN: PROPERTY TAX DEPARTMENT                   400 N. NEVADA HIGHWAY 160                                                                    PAHRUMP             NV      89060      UNITED STATES        CMSTX_666540_1                  No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
TOWN OF QUEEN CREEK                            22350 S. ELLSWORTH RD.                                                                                                                       QUEEN CREEK         AZ      85242      UNITED STATES           VEN_320071          320071   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TOWN OF QUEEN CREEK - UTILITIES                22350 S. ELLSWORTH RD.                                                                                                                       QUEEN CREEK         AZ    85142-9311   UNITED STATES           VEN_834013          834013   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TRABUCO OAKS STEAKHOUSE                        PO BOX 440                                                                                                                                   TRABUCO CANYON      CA      92678      UNITED STATES           VEN_391831          391831   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TRACKING ONLY (BROKER) - WRITTEN THROUGH
                                               101 MORRIS STREET                              #210                                                                                          SEBASTOPOL          CA    95472-3844   UNITED STATES        CONTRACT_00743                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
GEORGE PETERSON INSURANCE
TRACY, ROBERT                                  5430 GRAIN MILL RD                                                                                                                           PAHRUMP             NV      89061      UNITED STATES          EMPT_MF_0366                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
TRADEMARK VISUAL, INC.                         3732 E. UNIVERSITY DRIVE                                                                                                                     PHOENIX             AZ      85034      UNITED STATES           VEN_807146          807146   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRAFFIC CONTROL AND SAFETY DEVICES, INC.       5380 CAMERON ST., SUITE 10                                                                                                                   LAS VEGAS           NV      89118      UNITED STATES           VEN_817029          817029   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRAFFIC CONTROL SERVICE, INC.                  PO BOX 4180                                                                                                                                  FULLERTON           CA      92804      UNITED STATES           VEN_254633          254633   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRAN, ANNIE                                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES    CMSLITCA_DEL1100369_096             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRAN, IRINA TRINH                              3480 CASHMERE ST                                                                                                                             DANVILLE            CA      94506      UNITED STATES          EMP_NC_0169                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
TRANSPACIFIC MANAGEMENT SERVICE                15661 RED HILL AVE, SUITE 201                   ATTN: CORPORATE ACCOUNTING                                                                   TUSTIN              CA    92780-7300   UNITED STATES           VEN_487040          487040   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRANSPORTATION CORRIDOR AGENCIES               125 PACIFICA, SUITE 100                                                                                                                      IRVINE              CA      92618      UNITED STATES           VEN_297220          297220   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRAPEZA CDO X, LTD.                            C/O TRAPEZA CAPITAL MANAGEMENT, LLC, COLLATERAL 712 MANAGER
                                                                                                   5TH AVENUE, 10TH FLOOR                                                                   NEW YORK            NY      10019      UNITED STATES        CONTRACT_00744                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRAPEZA CDO XI, LTD.                           C/O TRAPEZA CAPITAL MANAGEMENT, LLC, COLLATERAL 712 MANAGER
                                                                                                   5TH AVENUE, 10TH FLOOR                                                                   NEW YORK            NY      10019      UNITED STATES        CONTRACT_00745                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRAPEZIUM CONSULTING GROUP LLC                 7898 E. ACOMA DRIVE, SUITE 100                                                                                                               SCOTTSDALE          AZ      85260      UNITED STATES        CONTRACT_00746         826398   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRAVELERS CASUALTY AND SURETY CO. OF AME       33650 6TH AVENUE, SUITE 200                                                                                                                  FEDERAL WAY         WA    98003-6754   UNITED STATES           VEN_820981          820981   No   Vendor          Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TREGLIA, BRITTANY                              121 E DOMINGO                                                                                                                                PAHRUMP             NV      89048      UNITED STATES          EMP_MF_0231                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
TREK INSURANCE SOLUTIONS, INC.                 16141 SWINGLEY RIDGE ROAD, SUITE 100                                                                                                         CHESTERFIELD        MO      63017      UNITED STATES           VEN_820009          820009   No   Vendor          Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRENCHERS WEST CONSTRUCTION COMPANY            128 E. DYER RD., SUITE F                                                                                                                     SANTA ANA           CA    92707-3715   UNITED STATES           VEN_227707          227707   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRI VALLEY DRYWALL                             PO BOX 1537                                                                                                                                  BRENTWOOD           CA      94513      UNITED STATES           VEN_245411          245411   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRIBUNE INTERACTIVE                            14891 COLLECTIVE CENTER DRIVE                                                                                                                CHICAGO             IL    60693-0148   UNITED STATES           VEN_823832          823832   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRICE, JACOB                                   5701 ALDERWOOD AVE.                                                                                                                          PAHRUMP             NV      89060      UNITED STATES          EMPT_MF_0354                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx              10/21/2011
TRI-CORE SURVEYING, LLC                        6761 W. CHARLESTON                                                                                                                           LAS VEGAS           NV      89146      UNITED STATES           VEN_828254          828254   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRI-COUNTY LOCKSMITH                           2502 HILLROSE PLACE                                                                                                                          OXNARD              CA      93036      UNITED STATES           VEN_413534          413534   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
TRILOGY PLUMBING, INC.                         184 E. LIBERTY AVE                                                                                                                           ANAHEIM             CA      92801      UNITED STATES           VEN_576261          576261   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRIMCO FINISH INC                              3130 W. HARVARD STREET                                                                                                                       SANTA ANA           CA      92704      UNITED STATES        CONTRACT_00747                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRINCHERO CONSTRUCTION, INC.                   12860 SYCAMORE AVENUE                                                                                                                        SAN MARTIN          CA      95046      UNITED STATES           VEN_554441          554441   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRINH, LONG                                    C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES      CMSLITCA_173057_015               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRINH, MARC                                    C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                       IRVINE              CA      92612      UNITED STATES    CMSLITCA_CIVRS913725_031            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRINH, THAO                                    C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                       IRVINE              CA      92612      UNITED STATES    CMSLITCA_CIVRS913725_032            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRI-STAR INTERIORS                             20800 DEARBORN ST.                                                                                                                           CHATSWORTH          CA      91311      UNITED STATES           VEN_779801          779801   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRITON ENGINEERING                             6757 W. CHARLESTON BLVD, SUITE B                                                                                                             LAS VEGAS           NV      89146      UNITED STATES        CONTRACT_00748         819420   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRITON GRADING AND PAVING LLC                  4220 ARCATA WAY, BLDG B, STE 1                                                                                                               N. LAS VEGAS        NV      89030      UNITED STATES           VEN_642468          642468   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRIUMPH SHEET METAL, INC.                      C/O HERMAN K. AUSLANDER, AGENT                  5322 VALLECITO AVENUE                                                                        WESTMINSTER         CA      92683      UNITED STATES     CMSLITCA_MC021755_036              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRIUMPH SHEET METAL, INC.                      C/O STEVEN D. BAYS, ESQ.                        MARSHALL, FRENCH & DEGRAVE             2030 MAIN STREET, SUITE #600                          IRVINE              CA      92614      UNITED STATES      CMSLITCA_365116_105               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRI-VALLEY MECHANICAL INC.                     28261 SIERRA CROSS AVE.                                                                                                                      CANYON COUNTRY      CA      91387      UNITED STATES           VEN_457879          457879   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRODDEN, ANGELITA M.                           C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES     CMSLITCA_CA1100369_062             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TROMP, JESSIKA L.                              C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                               BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR               ANAHEIM             CA      92807      UNITED STATES      CMSLITCA_1103527_016              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRUE AIR MECHANICAL                            550 S. MELROSE ST.                                                                                                                           PLACENTIA           CA      92870      UNITED STATES          VEN_832755_B         832755   No   Vendor          Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                     11/23/2011
TRUE AIR MECHANICAL                            5576 E. LA PALMA AVE                                                                                                                         ANAHEIM             CA      92807      UNITED STATES        CONTRACT_00749                  No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TRUE VALUE HARDWARE                            115 LYSTRA CT                                                                                                                                SANTA ROSA          CA      95403      UNITED STATES           VEN_391848          391848   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRUE VIEW WINDOWS                              3745 E. ILLINI ST., #2                                                                                                                       PHOENIX             AZ      85040      UNITED STATES           VEN_811815          811815   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TRUJILLO, RAL & CHERYL-LYN                     C/O SUZANNE N. PATRON, ESQ.                     MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES     CMSLITCA_SCV26452_016              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TRUST ACCOUNT OF THE LAW OFFICES OF            ALAN M. MAYER, INC.                             1120 NYE STREET, #200                                                                        SAN RAFAEL          CA      94901      UNITED STATES           VEN_825070          825070   No   Vendor          Professional Fees   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TSAI, WAI SEUNG LIU                            C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES    CMSLITCA_DEL1100369_078             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TSAO, DAVID                                    C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                        SANTA MONICA        CA      90405      UNITED STATES      CMSLITCA_173057_007               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TUB PROS, INC.                                 2101 E. BONANZA RD.                                                                                                                          LAS VEGAS           NV      89101      UNITED STATES        CONTRACT_00750         749097   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                    12/13/2011
TUCKER, KELLI                                  C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                               BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR               ANAHEIM             CA      92807      UNITED STATES      CMSLITCA_1103527_009              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
TUNSTILL PLASTERING, INC.                      8347 63RD ST.                                                                                                                                RIVERSIDE           CA      92509      UNITED STATES           VEN_223976          223976   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx   10/19/2011
TUNSTILL PLASTERING, INC.                      C/O JIM TUNSTILL, AGENT                         8347 63RD AVENUE                                                                             RIVERSIDE           CA      92509      UNITED STATES     CMSLITCA_MC021755_037              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                    10/27/2011
                                                                              Case 11-14019-CSS                                                                         Doc 1-4                         Filed 12/19/11                              Page 27 of 29

TUNSTILL PLASTERING, INC.                      JIM L. TUNSTILL                                 8347 63RD AVE.                                                                                 RIVERSIDE           CA     92509      UNITED STATES      CMSLITCA_1103527_048              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TURF EQUIPMENT SUPPLY CO.                      4022 PONDEROSA WAY                                                                                                                             LAS VEGAS           NV     89118      UNITED STATES           VEN_MF_194                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
TURN KEY TUBS                                  PO BOX 4218                                                                                                                                    RIVERSIDE           CA     92504      UNITED STATES         CONTRACT_00751                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TURNER OUTDOOR ADVERTISING, INC.               4318 PINELL STREET                                                                                                                             SACRAMENTO          CA     95838      UNITED STATES            VEN_750864         750864   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TURNER RIVERWALK - 3, LLC                      C/O KRAUS MGMT. SERVICES, INC.                  670 W. 17TH STREET, SUITE C4                                                                   COSTA MESA          CA     92627      UNITED STATES         CONTRACT_00752        693290   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TURNER, ADAM                                   271 VIA CIMA CT                                                                                                                                DANVILLE            CA     94526      UNITED STATES          EMP_NC_0170                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
TURNER, DELORES                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_DEL1100369_015             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TURQUEZA, DERICK & MADONNA                     C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_DEL1100369_080             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TUSTIN PUBLIC SCHOOLS FOUNDATION               150 EL CAMINO REAL, #140                                                                                                                       TUSTIN              CA     92780      UNITED STATES            VEN_561895         561895   No   Vendor          Municipality        Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
TUSTIN UNIFIED SCHOOL DISTRICT                 300 S. ""C"" STREET                                                                                                                            TUSTIN              CA     92780      UNITED STATES            VEN_431767         431767   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
TUSTIN VILLAS PARTNERS, LLC                    4490 VON KARMAN AVENUE                                                                                                                         NEWPORT BEACH       CA     92660      UNITED STATES          AFFILIATE_035                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
TUSTIN VISTAS PARTNERS, LLC                    4490 VON KARMAN AVENUE                                                                                                                         NEWPORT BEACH       CA     92660      UNITED STATES          AFFILIATE_036                 No   Vendor          Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
TUTTLE, MERVIN & JEANNE                        C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES     CMSLITCA_CA1100369_063             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
TW TELECOM HOLDINGS, INC.                      PO BOX 172567                                                                                                                                  DENVER              CO   80217-2567   UNITED STATES         CONTRACT_00753        825660   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TW TELECOM HOLDINGS, INC. ATTN: GENERAL        7 MASON                                                                                                                                        IRVINE              CA     92618      UNITED STATES         CONTRACT_00754                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
TYGOR CONSTRUCTION INC,                        23011 MOULTON PARKWAY, #I-3                                                                                                                    LAGUNA HILLS        CA     92653      UNITED STATES         CONTRACT_00755                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
U & Q GENERAL MAINTENANCE                      1582 TEAL CLUB DRIVE                                                                                                                           OXNARD              CA     93030      UNITED STATES            VEN_480972         480972   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U S TRADEMARK COMPLIANCE SERVICE               2632 S. 83RD AVENUE, SUITE 100-101                                                                                                             PHOENIX             AZ     85043      UNITED STATES            VEN_837599         837599   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U.S. ARMY CORPS OF ENGINEERS                   911 WILSHIRE BLVD.                                                                                                                             LOS ANGELES         CA   90017-3401   UNITED STATES             BOND_056                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                         10/27/2011
U.S. ARMY CORPS OF ENGINEERS                   PO BOX 532711                                   ATTN CESPL-CO-R-200200338-DPS                                                                  LOS ANGELES         CA     90053      UNITED STATES         CONTRACT_00756          N/A    No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
U.S. BANK                                      CM - 9690                                                                                                                                      ST. PAUL            MN   55170-9690   UNITED STATES            VEN_102138         102138   No   Vendor          Bank                Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U.S. BANK                                      PO BOX 790401                                                                                                                                  ST. LOUIS           MO   63179-0401   UNITED STATES            VEN_759105         759105   No   Vendor          Bank                Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U.S. BANK NATIONAL ASSOCIATION                 180 EAST FIFTH STREET                           ATTN CORPORATE TRUST DEPARTMENT                                                                ST PAUL             MN     55101      UNITED STATES            SCHD_0002                   No   Vendor          Bank                Maintain Creditors                                                    11/11/2011
U.S. BUREAU OF RECLAMATION                     PO BOX 60000                                    FILE #91547                                                                                    SAN FRANCISCO       CA   94160-1547   UNITED STATES            VEN_576595         576595   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U.S. DEPARTMENT OF FISH AND WILDLIFE SERVICE   3310 EL CAMINO AVE.                             SUITE 130                                                                                      SACRAMENTO          CA   95821-6340   UNITED STATES             BOND_057                   No   Bondholder      Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                         10/27/2011
U.S. KIDS GOLF                                 PO BOX 105334                                                                                                                                  ATLANTA             GA   30321-5334   UNITED STATES           VEN_MF_195                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
U.S. POSTAL SERVICE                            10923 PROGRESS CT.                                                                                                                             RANCHO CORDOVA      CA     95673      UNITED STATES            VEN_258167         258167   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U.S. POSTAL SERVICE                            1133 CAMELBACK STREET                                                                                                                          NEWPORT BEACH       CA   92660-9998   UNITED STATES            VEN_274520         274520   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
U.S. POSTMASTER                                233 E. SOUTHERN                                                                                                                                TEMPE               AZ     85282      UNITED STATES            VEN_199822         199822   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UC ADVANTAGE, INC.                             PO BOX 2068                                                                                                                                    MISSION VIEJO       CA     92690      UNITED STATES            VEN_702715         702715   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UCS TRENCHING, INC.                            PO BOX 1926                                                                                                                                    CORONA              CA   92878-1926   UNITED STATES            VEN_735795         735795   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UGM CITATAH, INC. DBA UGMC                     13220 CAMBRIDGE ST.                                                                                                                            SANTE FE SPRINGS    CA     90670      UNITED STATES         CONTRACT_00757                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ULLICO CASUALTY COMPANY                        1625 EYE ST NW                                                                                                                                 WASHINGTON          DC     20006      UNITED STATES         CONTRACT_00758                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ULLICO CASUALTY COMPANY                        2600 WEST OLIVE AVE, 5TH FLOOR                                                                                                                 BURBANK             CA     91505      UNITED STATES             BOND_070                   No   Bondholder      Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                                         10/27/2011
ULTIMATE DRYWALL L.L.C.                        4731 W. WHISPERING WIND DR.                                                                                                                    GLENDALE            AZ     85310      UNITED STATES            VEN_291215         291215   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ULTIMATE FIRE SYSTEMS, INC.                    7012 RAWLEY WAY                                                                                                                                ELK GROVE           CA     95757      UNITED STATES            VEN_842064         842064   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
ULTIMATE INFORMATION SYSTEMS                   PO BOX 2923                                                                                                                                    PEORIA              AZ   85380-2923   UNITED STATES            VEN_395946         395946   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ULTRA-WALL, INC                                2535 W. WOODLAND DRIVE                                                                                                                         ANAHEIM             CA     92801      UNITED STATES         CONTRACT_00759                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNDERWRITERS AT LLOYDS (XL)                    200 WEST MAIN STREET                                                                                                                           FRANKFORT           KY   40601-1806   UNITED STATES         CONTRACT_00760                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNION BANK OF CALIFORNIA, MA                   PO BOX 85643                                                                                                                                   SAN DIEGO           CA     92186      UNITED STATES            VEN_834689         834689   No   Vendor          Bank                Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNION TRIBUNE PUBLISHING CO.                   PO BOX 121546                                                                                                                                  SAN DIEGO           CA   92112-5546   UNITED STATES            VEN_234755         234755   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED ASSET RECOVERY                          4361 1/2 30TH STREET                                                                                                                           SAN DIEGO           CA     92104      UNITED STATES            VEN_836895         836895   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED PHOENIX FIRE FIGHTERS ASSOC. INC.       61 E. COLUMBUS AVENUE                                                                                                                          PHOENIX             AZ     85012      UNITED STATES            VEN_816683         816683   No   Vendor          Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED RENTALS                                 FILE 51122                                                                                                                                     LOS ANGELES         CA   90074-1122   UNITED STATES         CONTRACT_00761        398776   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNITED RENTALS NORTHWEST, INC.                 FILE 51122                                                                                                                                     LOS ANGELES         CA   90074-1122   UNITED STATES            VEN_667964         667964   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED RENTALS NW                              FILE 51122                                                                                                                                     LOS ANGELES         CA   90074-1122   UNITED STATES            VEN_452883         452883   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED SITE SERVICES                           2401 S. 15TH AVENUE                                                                                                                            PHOENIX             AZ     85007      UNITED STATES            VEN_804324         804324   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED SITE SERVICES OF CALIFORNIA, INC.       PO BOX 53267                                                                                                                                   PHOENIX             AZ   85072-3267   UNITED STATES         CONTRACT_00762        689899   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNITED SITE SERVICES, INC.                     PO BOX 53267                                                                                                                                   PHOENIX             AZ   85072-3267   UNITED STATES         CONTRACT_00763                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNITED STATES FIRE INSURANCE COMPANY           305 MADISON AVENUE                                                                                                                             MORRISTOWN          NJ     07960      UNITED STATES         CONTRACT_00764                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNITED STATES POSTAL SERVICE                   16960 BERNARDO CTR. DR.                                                                                                                        RANCHO BERNARDO     CA   92128-9998   UNITED STATES            VEN_317104         317104   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITED SUBCONTRACTORS, INC.                    4216 NORTH PECOS ROAD, SUITE 105                                                                                                               N. LAS VEGAS        NV     89115      UNITED STATES         CONTRACT_00765        825281   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UNITED TIMES, INC.                             13921 HONEY RIDGE LANE                                                                                                                         CHINO HILLS         CA     91709      UNITED STATES            VEN_223167         223167   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNITY COURIER SERVICE                          3231 FLETCHER DRIVE                                                                                                                            LOS ANGELES         CA     90065      UNITED STATES            VEN_784941         784941   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNIVERSAL UTILITIES                            22233 N. 23RD AVE                                                                                                                              PHOENIX             AZ     85027      UNITED STATES            VEN_702707         702707   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UNTAMED FLORAL DESIGNS                         1966 ROHN ROAD                                                                                                                                 ESCONDIDO           CA     92025      UNITED STATES            VEN_697901         697901   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
URBAN ARENA                                    3195 REDHILL AVE, LOFT ""F""                                                                                                                   COSTA MESA          CA     92627      UNITED STATES         CONTRACT_00766                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
URBAN ENVIRONMENTAL & SAFETY CONSULT.          16458 BOLSA CHICA, #135                                                                                                                        HUNTINGTON BEACH    CA     92649      UNITED STATES            VEN_653431         653431   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
US BANCORP OFFICE EQUIPMENT FINANCE            1310 MADRID ST., SUITE 101                                                                                                                     MARSHALL            MN   56258-4002   UNITED STATES            VEN_452955         452955   No   Vendor          Equipment Lease     Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
US BANK                                        1301 DOVE ST.                                   STE. 101                               ATTN: REAL ESTATE GROUP                                 NEWPORT BEACH       CA     92660      UNITED STATES            SCHD_0001                   No   Vendor          Bank                Maintain Creditors                                                    11/11/2011
US BANK NATIONAL ASSOCIATION                   555 SW OAK ST                                                                                                                                  PORTLAND            OR     97204      UNITED STATES              UCC_002                   No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
US BANK NATIONAL ASSOCIATION                   ATTN REAL ESTATE GROUP                          1301 DOVE ST STE 101                                                                           NEWPORT BEACH       CA     92660      UNITED STATES           LENDER_001                   No   Lender          Secured Lenders     WLH_Secured Lenders_10-26-2011.xlsx                                   10/26/2011
US BANKCORP                                    1310 MADRID ST, STE 101                                                                                                                        MARSHALL            MN     56258      UNITED STATES              UCC_017                   No   Vendor          UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                       10/25/2011
US DEPARTMENT OF FISH & GAME                   2800 COTTAGE WAY, RM W-2605                                                                                                                    SACRAMENTO          CA     95825      UNITED STATES         CONTRACT_00767          N/A    No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
US FIBERGLASS                                  5401 S. WILSON DRIVE                                                                                                                           CHANDLER            AZ     85249      UNITED STATES         CONTRACT_00768        456841   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
US FOODSERVICE                                 PO BOX 101076                                                                                                                                  PASADENA            CA   91189-1076   UNITED STATES           VEN_MF_196                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
US POSTMASTER                                  3435 THOUSAND OAKS BLVD                                                                                                                        THOUSAND OAKS       CA     91362      UNITED STATES            VEN_769952         769952   No   Vendor          Regulatory Agency   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
US WASTE INDUSTRIES                            6601 W. ORANGEWOOD AVE.                                                                                                                        GLENDALE            AZ     85301      UNITED STATES         CONTRACT_00769        757417   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
US YELLOW PAGE DIRECTORY.COM                   119 ROCKLAND CTR, #67                                                                                                                          NANUET              NV     10954      UNITED STATES           VEN_MF_198                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
USA FACT (CORP., SC, NC, AZ, NV)               6200 BOX SPRINGS BLVD                                                                                                                          RIVERSIDE           CA     92507      UNITED STATES         CONTRACT_00770                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
USAA CASUALTY INSURANCE COMPANY                C/O BRIAN J. FERBER, ESQ.                       LAW OFFICES OF BRIAN J. FERBER, INC.   5611 FALLBROOK AVENUE                                   WOODLAND HILLS      CA     91367      UNITED STATES      CMSLITCA_1107168_001              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
USA-FACT                                       6200 BOX SPRINGS BLVD                                                                                                                          RIVERSIDE           CA     92507      UNITED STATES            VEN_550299         550299   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
USC LUSK CENTER FOR REAL ESTATE                331 LEWIS HALL                                                                                                                                 LOS ANGELES         CA   90089-0626   UNITED STATES            VEN_524373         524373   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
USGA                                           PO BOX 5008                                                                                                                                    HAGERSTOWN          MD   21741-5008   UNITED STATES           VEN_MF_197                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
UTILICO                                        4129 W. CHEYENNE AVE, SUITE B                                                                                                                  LAS VEGAS           NV     89032      UNITED STATES            VEN_652295         652295   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UTILITIES INC.                                 PO BOX 11025                                                                                                                                   LEWISTON            ME   04243-9476   UNITED STATES         CONTRACT_00771        621034   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UTILITIES INC. OF CENTRAL NEVADA               1240 E. STATE STREET, SUITE 115                                                                                                                PAHRUMP             NV     89048      UNITED STATES            VEN_684684         684684   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
UTILITIES, INC OF CENTRAL NEVADA               4310 PARADISE ROAD                                                                                                                             LAS VEGAS           NV     89109      UNITED STATES         CONTRACT_00772                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UTILITIES, INC. OF CENTRAL NEVADA              PO BOX 11025                                                                                                                                   LEWISTON            ME   04243-9476   UNITED STATES           VEN_MF_199                   No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
UTILITY CONSULTANTS OF ORANGE COUNTY           23101 MOULTON PARKWAY, STE. 202                                                                                                                LAGUNA HILLS        CA     92653      UNITED STATES         CONTRACT_00773                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
UTILITY SPECIALISTS SOUTHWEST, INC.            4429 MORENA BLVD.                                                                                                                              SAN DIEGO           CA     92117      UNITED STATES         CONTRACT_00774                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
V.W. DIG, INC.                                 4302 E. SUPERIOR AVE                                                                                                                           PHOENIX             AZ     85040      UNITED STATES         CONTRACT_00775        555727   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
V7 PICACHO FARMS GENERAL PARTNERSHIP           131 W. 1ST ST., SUITE A                                                                                                                        MESA                AZ     85201      UNITED STATES         CONTRACT_00776          N/A    No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VAHHZZ FLORAL DESIGN                           708 TURTLE CREST DRIVE                                                                                                                         IRVINE              CA     92603      UNITED STATES            VEN_817571         817571   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VAKULICH, DEBRA                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_DEL1100369_101             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VALDIVIA, CARLOS & KRISTY                      C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105                           SAN DIEGO           CA     92121      UNITED STATES       CMSLITCA_96610_015               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VALENTE CONCRETE INC                           255 BENJAMIN DRIVE                                                                                                                             CORONA              CA     92879      UNITED STATES            VEN_391863         391863   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALENZUELA, ALBERTA                            C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_033            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VALENZUELA, APRIL                              4081 S. WHIRLWIND AVE                                                                                                                          PAHRUMP             NV     89048      UNITED STATES          EMP_MF_0232                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VALENZUELA, CELIA                              C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_034            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VALLECITOS WATER DISTRICT                      201 VALLECITOS DE ORCO                                                                                                                         SAN MARCOS          CA     92069      UNITED STATES            VEN_234376         234376   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALLEY AIR CONDITIONING & HEATING              PO BOX 93061                                                                                                                                   LAS VEGAS           NV     89193      UNITED STATES            VEN_260451         260451   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALLEY CASEWORKS, INC.                         585 VERNON WAY                                                                                                                                 EL CAJON            CA     92020      UNITED STATES            VEN_225761         225761   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALLEY CREST                                   4021 WEST CAREY AVE                                                                                                                            N. LAS VEGAS        NV     89032      UNITED STATES            VEN_807197         807197   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALLEY CREST LANDSCAPE MAINTENANCE             PO BOX 57515                                                                                                                                   LOS ANGELES         CA   90074-7515   UNITED STATES           VEN_MF_200                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
VALLEY CREST LANDSCAPE, INC.                   8450 MIRAMAR PLACE                                                                                                                             SAN DIEGO           CA     92121      UNITED STATES         CONTRACT_00777        505210   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VALLEY CREST TREE COMPANY - SPECIMEN           9500 FOOTHILL BL.                                                                                                                              SUNLAND             CA     91040      UNITED STATES         CONTRACT_00778                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VALLEY DUCT TESTING                            2272 SIERRA MEADOWS DRIVE, SUITE A                                                                                                             ROCKLIN             CA     95677      UNITED STATES            VEN_832181         832181   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALLEY ELECTRIC ASSN., INC.                    PO BOX 237                                                                                                                                     PAHRUMP             NV   89041-0237   UNITED STATES         CONTRACT_00779        622150   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VALLEY ELECTRIC ASSOCIATION                    PO BOX 237                                                                                                                                     PAHRUMP             NV   89041-0237   UNITED STATES           VEN_MF_201                   No   Vendor          Utilities           APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
VALLEY PACIFIC CONCRETE, INC.                  27580 TABB LANE                                                                                                                                MENIFEE             CA     92584      UNITED STATES            VEN_724711         724711   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALLEYCREST LANDSCAPE MAINTENANCE, INC.        PO BOX 57515                                                                                                                                   LOS ANGELES         CA   90074-7515   UNITED STATES         CONTRACT_00780        757370   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VALMORES, BERT & CHASTITY                      C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_DEL1100369_082             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VALUABLE VIEWS LANDSCAPE                       11760 TERRABELLA ST.                                                                                                                           LAKE VIEW TERRACE   CA     91342      UNITED STATES            VEN_736923         736923   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VALUE APPLIANCE REPAIR                         421 RIVERSIDE AVE, SUITE B                                                                                                                     ROSEVILLE           CA     95678      UNITED STATES            VEN_675286         675286   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VAN DORN ABED LANDSCAPE ARCHITECTS, INC.       81 14TH ST.                                                                                                                                    SAN FRANCISCO       CA     94103      UNITED STATES         CONTRACT_00781                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VAN DYK ENGINEERING, INC                       2621 WHITE ROAD                                                                                                                                IRVINE              CA     92614      UNITED STATES            VEN_391867         391867   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VAN ETTEN, ROBERT                              C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                    J. THOMSON,
                                                                                                        SIMONDSESQ.
                                                                                                                RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                    IRVINE              CA     92612      UNITED STATES       CMSLITCA_233522_013              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VAN ETTEN, THERESA                             C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                               KASDAN
                                                                                                    J. THOMSON,
                                                                                                        SIMONDSESQ.
                                                                                                                RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850                    IRVINE              CA     92612      UNITED STATES       CMSLITCA_233522_014              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VAN HOOK, SHARI                                C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES    CMSLITCA_DEL1100369_001             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VAN METER, CYNTHIA                             8652 PARADA CT                                                                                                                                 ROSEVILLE           CA     95747      UNITED STATES          EMPT_NC_0326                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VAN TRAN, JAMES                                C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.
                                                                                               BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR                 ANAHEIM             CA     92807      UNITED STATES      CMSLITCA_1103527_017              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VAN WAGNER, CHERYL                             C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_058            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VAN WAGNER, DALE                               C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_057            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VANDER TOOLEN ASSOCIATES LANDSCAPE ARCH.       855 BORDEAUX WAY, SUITE 240                                                                                                                    NAPA                CA     94558      UNITED STATES            VEN_592974         592974   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VANDER TOOLEN ASSOCIATES, INC.                 855 BORDEAUX WAY, SUITE 240                                                                                                                    NAPA                CA     94558      UNITED STATES         CONTRACT_00782                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VANDER VEEN, VICKI                             2516 MARILYN STREET                                                                                                                            WYOMING             MI     49519      UNITED STATES          EMPT_AZ_0264                  No   Employee        Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VANSANDT, CHERYL                               C/O ALAN BRAYTON, ESQ. KATHERIN Y. LEE, ESQ.    BRAYTON PURCELL LLP                    222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO              CA   94948-6169   UNITED STATES       CMSLITCA_275467_002              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
VANSANDT, KEVIN                                C/O ALAN BRAYTON, ESQ. KATHERIN Y. LEE, ESQ.    BRAYTON PURCELL LLP                    222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO              CA   94948-6169   UNITED STATES       CMSLITCA_275467_005              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
VANSANDT, SUSAN                                C/O ALAN BRAYTON, ESQ. KATHERIN Y. LEE, ESQ.    BRAYTON PURCELL LLP                    222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO              CA   94948-6169   UNITED STATES       CMSLITCA_275467_003              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
VANSANDT, TIMOTHY                              C/O ALAN BRAYTON, ESQ. KATHERIN Y. LEE, ESQ.    BRAYTON PURCELL LLP                    222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO              CA   94948-6169   UNITED STATES       CMSLITCA_275467_001              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
VANSLAMBROOK, DEBRA                            C/O FRED M. ADELMAN, ESQ.                       MILSTEIN, ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA        CA     90405      UNITED STATES       CMSLITCA_500837_001              No   Litigant        California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
VARGAS FOR MAYOR 2011 FPPC #1340234            11981 S. YORK AVE                                                                                                                              HAWTHORNE           CA     90250      UNITED STATES            VEN_842224         842224   No   Vendor          Trade Payable       Updated Payment and AP Data MML Comparison_12-8-2011.xlsx              12/8/2011
VASQUEZ, ADRIAN                                C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_035            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VASQUEZ, DAVID                                 C/O WILLIAM H. NAUMANN, ESQ.                    THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105                           SAN DIEGO           CA     92121      UNITED STATES       CMSLITCA_96610_006               No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VAUGHT, CLAYTON                                9 TWINFLOWER                                                                                                                                   LADERA RANCH        CA     92694      UNITED STATES          EMP_SC_0171                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VAZZANA UNDERGROUND CONSTRUCTION               1414 INDUSTRIAL ROAD                                                                                                                           LAS VEGAS           NV     89102      UNITED STATES         CONTRACT_00783        799991   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VCA CODE GROUP                                 2200 W. ORANGEWOOD AVE, #155                                                                                                                   ORANGE              CA     92868      UNITED STATES            VEN_831031         831031   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VEA CHARITABLE FOUNDATION                      PO BOX 237                                                                                                                                     PAHRUMP             NV     89041      UNITED STATES           VEN_MF_202                   No   Vendor          Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
VECTOR CORROSION TECHNOLOGIES, INC.            3814 3RD AVENUE                                                                                                                                FARGO               ND   58102-3900   UNITED STATES            VEN_833344         833344   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VEDIKA HEMRAJANI                               23 GRANDVIEW                                                                                                                                   IRVINE              CA     92603      UNITED STATES            VEN_832704         832704   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VELASQUEZ ENGINEERING COMPANY                  PO BOX 9310                                                                                                                                    VALLEJO             CA     94591      UNITED STATES            VEN_525173         525173   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VELOCITY CONSTRUCTION, INC.                    309 YOUNG COURT                                                                                                                                POMONA              CA     91766      UNITED STATES            VEN_736747         736747   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VENDLEY, CHRISTOPHER                           C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113                         BEVERLY HILLS       CA     90211      UNITED STATES      CMSLITCA_20010042_004             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VENDLEY, GWENDOLYN                             C/O TERESA A. LIBERTINO, ESQ. GERALD B. MALANGA,LATTIE
                                                                                                ESQ. MALANGA LIBERTINO, LLP           8306 WILSHIRE BLVD., SUITE 1113                         BEVERLY HILLS       CA     90211      UNITED STATES      CMSLITCA_20010042_005             No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VENTURA COUNTY TAX COLLECTOR                   ATTN: PROPERTY TAX DEPARTMENT                   LAWRENCE L. MATHENEY                   800 SOUTH VICTORIA AVENUE                               VENTURA             CA   93009-1290   UNITED STATES         CMSTX_341665_1                 No   Taxing AuthorityProperty            Taxing and Regulatory agency payments Update 9-30-11.xlsx             10/21/2011
VENTURA COUNTY TAX COLLECTOR                   LAWRENCE L. MATHENEY                            800 SOUTH VICTORIA AVENUE                                                                      VENTURA             CA   93009-1290   UNITED STATES            VEN_341665         341665   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VENTURA COUNTY WATER WORKS                     W & S SERVICES                                  PO BOX 250                                                                                     MOORPARK            CA     93020      UNITED STATES            VEN_481553         481553   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VENTURA, STEVE                                 C/O BARRY C. VAUGHAN, ESQ.                      KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_036            No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VERDE, LLC                                     601 EAST ALTON AVE                                                                                                                             SANTA ANA           CA   92705-5607   UNITED STATES            VEN_555962         555962   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERDUGO CONCRETE SPECIALIST                    8664 TROY ST.                                                                                                                                  SPRING VALLEY       CA     91977      UNITED STATES            VEN_777557         777557   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERIZON CALIFORNIA                             PO BOX 920041                                                                                                                                  DALLAS              TX   75392-0041   UNITED STATES            VEN_416217         416217   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERIZON CALIFORNIA                             PO BOX 9688                                                                                                                                    MISSION HILLS       CA   91346-9688   UNITED STATES            VEN_667930         667930   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERIZON ONLINE                                 PO BOX 12045                                                                                                                                   TRENTON             NJ   08650-2045   UNITED STATES            VEN_770558         770558   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERIZON WIRELESS                               PO BOX 660108                                                                                                                                  DALLAS              TX   75266-0108   UNITED STATES         CONTRACT_00784        744149   No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VERIZON WIRELESS                               PO BOX 9622                                                                                                                                    MISSION HILLS       CA   91346-9622   UNITED STATES            VEN_594232         594232   No   Vendor          Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERMEERSCH, DAVID                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES      CMSLITCA_1007968_069              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VERMMERSCH, DORIS                              C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.   KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850                         IRVINE              CA     92612      UNITED STATES      CMSLITCA_1007968_070              No   Litigant        California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
VERMONT DEPARTMENT OF BANKING INSURANCE        SECURITIES AND HEALTHCARE ADMINISTRATION        89 MAIN STREET, DRAWER 20                                                                      MONTPELIER          VT   05620-3101   UNITED STATES            VEN_423855         423855   No   Vendor          Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERMONT DEPARTMENT OF TAXES                    TAXPAYER SERVICES DIVISION                      133 STATE STREET                                                                               MONTPELIER          VT   05601-0547   UNITED STATES            VEN_443143         443143   No   Vendor          Taxing Authority    Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VEROS, JOHN                                    4902 E. MARCONI AVE                                                                                                                            SCOTTSDALE          AZ     85254      UNITED STATES           EMP_AZ_0172                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VERRIPS CONSTRUCTION, INC.                     3135 CLAYTON ROAD, SUITE 206                                                                                                                   CONCORD             CA     94519      UNITED STATES            VEN_245518         245518   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERTI-CRETE                                    PO BOX 1183                                                                                                                                    FERNLEY             NV     89408      UNITED STATES            VEN_763104         763104   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VERZANI, JOSEPH                                4980 E LAUTE                                                                                                                                   PAHRUMP             NV     89061      UNITED STATES          EMP_MF_0233                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VETERAN EROSION SERVICES LLC                   PO BOX 20741                                                                                                                                   PHOENIX             AZ     85036      UNITED STATES            VEN_832481         832481   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VETTER, GERALD                                 3921 S PERCHERON AVE                                                                                                                           PAHRUMP             NV     89048      UNITED STATES          EMP_MF_0234                   No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VICTOR, LINDA                                  2931 E. WHISPERING WIND DRIVE                                                                                                                  PHOENIX             AZ     85024      UNITED STATES           EMP_AZ_0173                  No   Employee        Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
VICTORY FIRE PROTECTION                        387 LUNA COURT                                                                                                                                 BRENTWOOD           CA     94513      UNITED STATES         CONTRACT_00785                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VICTORY PATIO FURNITURE                        95 TECHNOLOGY WEST                                                                                                                             IRVINE              CA     92618      UNITED STATES            VEN_732156         732156   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
VICTORY SHEET METAL, INC.                      204 WEST CARLETON, SUITE #B                                                                                                                    ORANGE              CA     92867      UNITED STATES         CONTRACT_00786                 No   Vendor          Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
VIERRA MOORE, INC.                             PO BOX 348600                                                                                                                                  SACRAMENTO          CA   95834-8600   UNITED STATES            VEN_370052         370052   No   Vendor          Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
                                                                            Case 11-14019-CSS                                                                                 Doc 1-4                    Filed 12/19/11                                Page 28 of 29

VIGEN ONANY & ASSOCIATES, INC.               2535 FOOTHILL BLVD, SUITE 101                                                                                                                     LA CRESCENTA          CA     91214      UNITED STATES            VEN_759050         759050   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VILLA & SONS PAINTING & DETAIL               961 FOOTHILL RD.                                                                                                                                  HOLLISTER             CA     95023      UNITED STATES            VEN_560892         560892   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VILLA, JAIME & MATILDE                       C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                       2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES      CMSLITCA_1103791_023              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VILLAGES AT VISTA DEL MAR ASSOCIATION        4490 VON KARMAN AVE                                                                                                                               NEWPORT BEACH         CA     92660      UNITED STATES             BOND_058                   No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx       10/27/2011
VILLAGES AT VISTA DEL MAR HOA                C/O CFM, INC.                                     1001 GALAXY WAY, SUITE 200                                                                      CONCORD               CA   94520-5735   UNITED STATES            VEN_750080         750080   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VILLALPANDO, ROSE MARY                       655 W 6TH STREET UNIT C                                                                                                                           TUSTIN                CA     92780      UNITED STATES           EMP_SC_0174                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
VILLELLA, DANIEL & JANET                     C/O FRED M. ADELMAN, ESQ.                         MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES       CMSLITCA_365116_015              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VINTAGE AT ARBORETA ASSOCIATION              C/O TRANSPACIFIC MANAGEMENT SERVICE               15661 RED HILL AVE, SUITE 201                                                                   TUSTIN                CA     92780      UNITED STATES            VEN_824333         824333   No   Vendor       Municipality        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VINTAGE DESIGN, INC.                         C/O STEVEN D. BAYS, ESQ.                          MARSHALL, FRENCH & DEGRAVE              2030 MAIN STREET, SUITE #600                            IRVINE                CA     92614      UNITED STATES       CMSLITCA_365116_106              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VINTAGE DESIGN, INC.                         C/O TIMOTHY P. BUCKLEY, AGENT                     22895 EASTPARK DRIVE                                                                            YORBA LINDA           CA     92887      UNITED STATES       CMSLITCA_365116_068              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VINTAGE PLASTERING, INC.                     240 N. JOY ST.                                                                                                                                    CORONA                CA     92879      UNITED STATES            VEN_721596         721596   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VINTAGE ROOFING & SOLAR CO., INC.            PO BOX 9310                                                                                                                                       SAN BERNARDINO        CA   92427-0610   UNITED STATES         CONTRACT_00787                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
VINTNER'S GROVE HOA                          C/O PROFESSIONAL COMMUNITY MANAGEMENT             23726 BIRTCHER DRIVE                                                                            LAKE FOREST           CA     92630      UNITED STATES            VEN_774250         774250   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VIP LIMOUSINES & COACHES, INC.               420 W. CENTRAL                                                                                                                                    SANTA ANA             CA     92707      UNITED STATES            VEN_435186         435186   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VIP PROMOTIONAL PRODUCTS                     32 LYON RIDGE                                                                                                                                     ALISO VIEJO           CA     92656      UNITED STATES            VEN_586195         586195   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VISAYA, ALDRIN                               C/O BARRY C. VAUGHAN, ESQ.                        KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_038            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VISTA PAINT CORPORATION                      2020 E. ORANGETHORPE AVE                                                                                                                          FULLERTON             CA   92831-5327   UNITED STATES            VEN_506239         506239   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VISTE, ANNARIZA                              C/O BARRY C. VAUGHAN, ESQ.                        KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_040            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VISTE, JERONIMO                              C/O BARRY C. VAUGHAN, ESQ.                        KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES    CMSLITCA_CIVRS913725_039            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VLS HOLDINGS, INC. DBA MAID PRO              313 JUDAH ST., #3                                                                                                                                 ROSEVILLE             CA     95678      UNITED STATES            VEN_809424         809424   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VO, BICH THAO THI VO                         C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR                 ANAHEIM               CA     92807      UNITED STATES      CMSLITCA_1103527_018              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
VOGEL'S PLUMBING & BACKFLOW, INC.            4051 CENTER AVE                                                                                                                                   NORCO                 CA     92860      UNITED STATES            VEN_826970         826970   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VON HOFFMANN ENTERPRISES                     10100 FAIR OAKS BLVD, SUITE E                                                                                                                     FAIR OAKS             CA     95628      UNITED STATES            VEN_803487         803487   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
VORTEX WESTERN SALES & SERVICE OFFICE        9106 PULSAR CT., UNIT #C                                                                                                                          LAS VEGAS             NV     89113      UNITED STATES           VEN_MF_203                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
VPOINT                                       1009 WHITNEY RANCH DR.                                                                                                                            HENDERSON             NV     89014      UNITED STATES            VEN_602386         602386   No   Vendor       Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                          10/26/2011
VSP                                          3333 QUALITY DRIVE                                                                                                                                RANCHO COROVA         CA     95670      UNITED STATES         CONTRACT_00788                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
W.T. COOK CONSTRUCTION, INC.                 350 E. CAMINO DIABLO RD.                                                                                                                          BRENTWOOD             CA   94513-4500   UNITED STATES            VEN_335484         335484   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WADLEY, RICHARD E.                           C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_083             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WAGE WORKS                                   PO BOX 1928                                                                                                                                       VISTA                 CA   92085-1928   UNITED STATES            VEN_821651         821651   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WALKER CONSTRUCT.,INC.DBA WALKER WINDOWS     2200 S. DUPONT DRIVE                                                                                                                              ANAHEIM               CA     92806      UNITED STATES            VEN_736894         736894   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WALKER CONSTRUCTION DBA WALKER WINDOWS       2200 S. DUPONT DRIVE                                                                                                                              ANAHEIM               CA     92806      UNITED STATES            VEN_524390         524390   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WALKER FURNITURE                             301 S. MARTIN LUTHER KING BLVD                                                                                                                    LAS VEGAS             NV     89106      UNITED STATES            VEN_829249         829249   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WALKER WINDOWS                               2200 S. DUPONT DR.                                                                                                                                ANAHEIM               CA     92806      UNITED STATES         CONTRACT_00789                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WALKER, ALONZO & RHONDA                      C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_064             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WALKER, FRED                                 5240 ACQUA LANE                                                                                                                                   PAHRUMP               NV     89061      UNITED STATES           EMP_MF_0235                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WALL COMPANY, THE                            1476 W. HARVARD AVE                                                                                                                               GILBERT               AZ     85233      UNITED STATES            VEN_840413         840413   No   Vendor       Trade Payable       AP Aging Detail 10-20-11 ADDITIONS.xls                                          10/26/2011
WALLACE-KUHL & ASSOCIATES, INC.              3050 INDUSTRIAL BLVD.                                                                                                                             WEST SACRAMENTO       CA     95691      UNITED STATES            VEN_245171         245171   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WALLDESIGN, INC.                             2350 S.E. BRISTOL                                                                                                                                 NEWPORT BEACH         CA     92660      UNITED STATES         CONTRACT_00790                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WALLIS, PAUL A.                              C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH, ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                           & KRIGER
                                                                                                               J. FATHY, ESQ.          3831 N. FREEWAY BLVD., SUITE 110                        SACRAMENTO            CA     95834      UNITED STATES       CMSLITCA_98007_004               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WALLS, THOMAS                                1612 LAZY HILL RANCH WAY                                                                                                                          LAS VEGAS             NV     89081      UNITED STATES           EMP_NV_0175                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WALSH JR., JAMES                             6300 MONTCLAIR ST                                                                                                                                 PAHRUMP               NV     89061      UNITED STATES           EMP_MF_0236                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WALTERS WHOLESALE ELECTRIC CO                200 N. BERRY STREET                                                                                                                               BREA                  CA     92821      UNITED STATES         CONTRACT_00791                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WALTERS WHOLESALE ELECTRIC CO.               DENIS EVERT                                       2825 TEMPLE AVE.                                                                                SIGNAL HILL           CA     90755      UNITED STATES      CMSLITCA_1103527_049              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WALTERS WHOLESALE ELECTRIC, INC.             C/O DENIS EVERT, AGENT                            2825 TEMPLE AVENUE                                                                              SIGNAL HILL           CA     90755      UNITED STATES       CMSLITCA_365116_069              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WALTERS WHOLESALE ELECTRIC, INC.             C/O JERID R. MAYBAUM, ESQ.                        JACKS & MAYBAUM, LLP                    811 WILSHIRE BLVD., SUITE #975                          LOS ANGELES           CA     90017      UNITED STATES       CMSLITCA_365116_107              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WALTON, CHYENNE                              C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_002             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WANG, CHARLES                                C/O ROBERY J. CLAUSEN, ESQ.                       LAW OFFICES OF ROBERT J. CLAUSEN, APC   1400 BRISTOL STREET NORTH, SUITE 145                    NEWPORT BEACH         CA     92660      UNITED STATES       CMSLITCA_92941_014               No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WANG, WILLIAM                                C/O CLAYTON M. ANDERSON, ESQ. MATTHEW R. SCHOECH, ANDERSON
                                                                                                    ESQ. JAKE
                                                                                                           & KRIGER
                                                                                                               J. FATHY, ESQ.          4750 DUCKHORN DRIVE                                     SACRAMENTO            CA     95834      UNITED STATES      CMSLITCA_20100719_004             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WARD, HAYLEY                                 5170 E. LA TERRA AVE                                                                                                                              PAHRUMP               NV     89061      UNITED STATES           EMP_MF_0237                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WARD, JAMES                                  3051 PITTMAN STREET                                                                                                                               PAHRUMP               NV     89060      UNITED STATES           EMP_MF_1004                  No   Employee     Active              Employee Roster Report - password_12-12-2011 Additions.xlsx                     12/12/2011
WARD, JOHN J. AND TANIA                      C/O FRED M. ADELMAN, ESQ., LEE JACKSON, ESQ.      MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES         CMSLITCA_52762                 No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WARD, SR. DERICK                             C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_089             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WARE DISPOSAL CO., INC.                      PO BOX 8089                                                                                                                                       NEWPORT BEACH         CA     92658      UNITED STATES         CONTRACT_00792        633140   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WARE MALCOMB                                 10 EDELMAN                                                                                                                                        IRVINE                CA     92618      UNITED STATES         CONTRACT_00793                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WARE TILE & MARBLE, INC.                     14107 DINARD AVE                                                                                                                                  SANTA FE SPRINGS      CA     90670      UNITED STATES         CONTRACT_00794                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WARNER WATER WORKS, INC.                     PO BOX 1381                                                                                                                                       MORENO VALLEY         CA   92556-1381   UNITED STATES            VEN_234886         234886   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WARNER, RENEE                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_072              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WARNER, SHAWN                                C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_071              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WARREN, AMANDA                               C/O JOHN GOLDSTEIN, ESQ.                          BRAYTON PURCELL LLP                     222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO                CA   94948-6169   UNITED STATES       CMSLITCA_275063_001              No   Litigant     California          WLH Combo Litigation Load file Ver 4.XLSX                                       12/8/2011
WARREN, PAUL                                 C/O JOHN GOLDSTEIN, ESQ.                          BRAYTON PURCELL LLP                     222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO                CA   94948-6169   UNITED STATES       CMSLITCA_275063_002              No   Litigant     California          WLH Combo Litigation Load file Ver 4.XLSX                                       12/8/2011
WARREN'S HOMEWORK                            PO BOX 80090                                                                                                                                      LAS VEGAS             NV     84180      UNITED STATES            VEN_622141         622141   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WASHINGTON, MELVIN & VERA                    C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES    CMSLITCA_DEL1100369_085             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WASTE MANAGEMENT OF ARIZONA - PHOENIX        PO BOX 78251                                                                                                                                      PHOENIX               AZ   85062-8251   UNITED STATES            VEN_340021         340021   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WASTE MANAGEMENT OF SAN DIEGO (CPS)          PO BOX 78251                                                                                                                                      PHOENIX               AZ   85062-8251   UNITED STATES            VEN_232303         232303   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WATERWAYS POOL SERVICE & REPAIRS             PO BOX 1727                                                                                                                                       ONTARIO               CA   91702-0727   UNITED STATES            VEN_769557         769557   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WATERWORKS                                   HD SUPPLY WATERWORKS, LTD                         FILE #56214                                                                                     LOS ANGELES           CA   90074-6214   UNITED STATES           VEN_MF_204                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
WATR-TYTE                                    PO BOX 1782                                                                                                                                       BRENTWOOD             CA     94513      UNITED STATES         CONTRACT_00795                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WATSON, YVETTE                               C/O JOHN GOLDSTEIN, ESQ.                          BRAYTON PURCELL LLP                     222 RUSH LANDING ROAD                     PO BOX 6169   NOVATO                CA   94948-6169   UNITED STATES       CMSLITCA_275063_003              No   Litigant     California          WLH Combo Litigation Load file Ver 4.XLSX                                       12/8/2011
WAXIE SANITARY SUPPLY                        PO BOX 81006                                                                                                                                      SAN DIEGO             CA   92138-1006   UNITED STATES            VEN_391888         391888   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WAYNE E SWISHER CEMENT CONT                  2620 E 18TH ST                                                                                                                                    ANTIOCH               CA     94509      UNITED STATES            VEN_391889         391889   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WDI INTERNATIONAL, INC.                      C/O JOHN H. WALSH, ESQ. THOMAS R. KELLEHER, ESQ.W ALSH MCKEAN FURCOLO LLP                 625 BROADWAY, SUITE 1402                                SAN DIEGO             CA     92121      UNITED STATES       CMSLITCA_375251_004              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WEBER, JAMES                                 C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_073              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WEBER, TANYA                                 C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP      19900 MACARTHUR BLVD., STE. 850                         IRVINE                CA     92612      UNITED STATES      CMSLITCA_1007968_074              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WEBSITEMOVERS.COM, INC.                      18530 MACK AVE, SUITE 406                                                                                                                         GROSSE POINTE FARMS   MI     48236      UNITED STATES            VEN_826144         826144   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEECH, TYLER                                 PO BOX 1062                                                                                                                                       GILBERT               AZ     85299      UNITED STATES          EMPT_AZ_0262                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WEIR, TREVOR                                 PO BOX 5255                                                                                                                                       PAHRUMP               NV     89041      UNITED STATES           EMP_MF_0238                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WEISGERBER, WILLI & ALEXANDRA                C/O ISRAEL E. GARCIA, ESQ. AARON M. GLADSTEIN, ESQ.
                                                                                               MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES     CMSLITCA_CA1100369_065             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WEISSMAN APPRAISALS, INC.                    PO BOX 371120                                                                                                                                     LAS VEGAS             NV   89137-1120   UNITED STATES            VEN_312514         312514   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WELLS FARGO BANK                             2420 E. SUNSET RD.                                                                                                                                LAS VEGAS             NV     89120      UNITED STATES            BANK_00011                  No   Vendor       Bank                Schedule B2 - Check Saving or other Financial Accounts Information Template.xls 10/27/2011
WELLS FARGO BANK                             2501 S. RAINBOW ST.                                                                                                                               LAS VEGAS             NV     89193      UNITED STATES            VEN_244347         244347   No   Vendor       Bank                Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WELLS FARGO BANK MINNESOTA, NA AS TRUSTEE    751 KASOTA AVENUE, STE MDC                                                                                                                        MINNEAPOLIS           MN     55414      UNITED STATES              UCC_005                   No   Vendor       UCC                 WLH_UCC_To Load_10-25-2011.xlsx                                                 10/25/2011
WELLS FARGO FUNDING                          4800 W. WABASH AVE                                ATTN: FINANCIAL PROCESSING 12509                                                                SPRINGFIELD           IL     62711      UNITED STATES            VEN_590063         590063   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WELLS, VERNON                                6320 N. CAPISTRANO                                                                                                                                PAHRUMP               NV     89060      UNITED STATES           EMP_MF_1005                  No   Employee     Active              Employee Roster Report - password_12-12-2011 Additions.xlsx                     12/12/2011
WELSH, ERIKO                                 C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                 ESQ.      & KRIGER                    1752 EAST AVENUE J, PMB 363                             LANCASTER             CA     93535      UNITED STATES     CMSLITCA_MC021755_011              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WELSH, ROBERT R.                             C/O CLAYTON M. ANDERSON, ESQ. GORDON C. MEARS,ANDERSON
                                                                                                 ESQ.      & KRIGER                    1752 EAST AVENUE J, PMB 363                             LANCASTER             CA     93535      UNITED STATES     CMSLITCA_MC021755_010              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WENDY GRIMMETT                               8480 LONON COURT                                                                                                                                  ORANGEVALE            CA     95662      UNITED STATES            VEN_828730         828730   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WERCO, INC.                                  8392 S. GILES                                                                                                                                     LAS VEGAS             NV     89123      UNITED STATES            VEN_333518         333518   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESCH, STEPHEN & JENNIFER                    C/O FRED M. ADELMAN, ESQ.                         MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES       CMSLITCA_365116_016              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WEST COAST DOOR & MOULDING                   1211 FLYNN RD., #103                                                                                                                              CAMARILLO             CA     93012      UNITED STATES         CONTRACT_00796                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WEST COAST DRYWALL & CO., INC. DBA WEST      1610 W. LINDEN ST.                                                                                                                                RIVERSIDE             CA     92507      UNITED STATES            VEN_805503         805503   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEST COAST INTERIORS,INC. DBA WEST COAST     1611 SEVENTH ST.                                                                                                                                  RIVERSIDE             CA     92507      UNITED STATES            VEN_815007         815007   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEST COAST PAINTING                          1611 SEVENTH STREET                                                                                                                               RIVERSIDE             CA     92507      UNITED STATES            VEN_391898         391898   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEST COAST PROPERTY CONSULTANTS              8801 KENNEMAR DR.                                                                                                                                 SAN DIEGO             CA     92121      UNITED STATES            VEN_247644         247644   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEST COAST PROPERTY CONSULTANTS, INC.        8801 KENNEMAR DR.                                                                                                                                 SAN DIEGO             CA     92121      UNITED STATES            VEN_245788         245788   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEST PARK HOMEOWNERS ASSOCIATION             C/O THOROUGHBRED MANAGEMENT                       2555 W. CHEYENNE AVE                                                                            N. LAS VEGAS          NV     89032      UNITED STATES            VEN_698883         698883   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WEST, HOWARD                                 PO BOX 4751                                                                                                                                       PAHRUMP               NV     89041      UNITED STATES           EMP_MF_0239                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WESTBROOK, MARILYN                           PO BOX 7612                                                                                                                                       NEWPORT BEACH         CA     92658      UNITED STATES         EMPT_CORP_0259                 No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WEST-CAL CONCRETE, INC.                      4868 PASADENA AVE                                                                                                                                 SACRAMENTO            CA     95841      UNITED STATES            VEN_843235         843235   No   Vendor       Trade Payable       AP Aging Detail 11-22-11 Ver 2.xls                                              11/23/2011
WESTCOR CONSTRUCTION                         5620 STEPHANIE ST.                                                                                                                                LAS VEGAS             NV     89122      UNITED STATES         CONTRACT_00797        355629   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WESTERN ALLIED CORPORATION                   12046 E. FLORENCE AVE                                                                                                                             SANTA FE SPRINGS      CA     90670      UNITED STATES         CONTRACT_00798        795261   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WESTERN ESPRESSO                             2140 BENSLEY ST.                                                                                                                                  HENDERSON             NV     89044      UNITED STATES            VEN_830400         830400   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN EXTERMINATOR COMPANY                 108 W. WYOMING AVE.                                                                                                                               LAS VEGAS             NV     89102      UNITED STATES            VEN_277561         277561   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN INSULATION                           1015 N. MARKET BLVD, SUITE 11                                                                                                                     SACRAMENTO            CA     95834      UNITED STATES            VEN_391902         391902   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN LITHOGRAPHICS                        3187-B AIRWAY AVE                                                                                                                                 COSTA MESA            CA     92626      UNITED STATES            VEN_785514         785514   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN MUNICIPAL WATER DISTRICT             PO BOX 7000                                                                                                                                       ARTESIA               CA   90702-7000   UNITED STATES            VEN_403643         403643   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN ORGANICS                             PO BOX 25406                                                                                                                                      TEMPE                 AZ   85285-5406   UNITED STATES           VEN_MF_205                   No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                          10/20/2011
WESTERN PACIFIC PIPELINE CORP.               1122 N. 2ND STREET                                                                                                                                EL CAJON              CA     92021      UNITED STATES            VEN_502959         502959   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN POTTERY, LLC                         C/O HUNG PHAM, ESQ.                               SPRINGEL & FINK, LLP                    535 ANTON BOULEVARD, 9TH FLOOR                          COSTA MESA            CA     92626      UNITED STATES       CMSLITCA_375251_003              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WESTERN POTTERY, LLC                         C/O MICHELLE I. MORELLI, ESQ. TINA J. ARCIAGA, ESQ.FREDRICKSON, MAZEIKA & GRANT LLP       5720 OBERLIN DRIVE                                      SAN DIEGO             CA     92121      UNITED STATES       CMSLITCA_375251_002              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WESTERN STATES COMPANIES                     4129 W. CHEYENNE, SUITE B                                                                                                                         N. LAS VEGAS          NV     89032      UNITED STATES            VEN_252540         252540   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTERN SURETY COMPANY                       101 S PHILLIPS AVENUE                                                                                                                             SIOUX FALLS           SD   57104-6735   UNITED STATES             BOND_071                   No   Bondholder   Carrier             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx       10/27/2011
WESTERN TECHNOLOGIES, INC                    8305 WASHINGTON PL NE                                                                                                                             ALBUQUERQUE           NM     87113      UNITED STATES         CONTRACT_00799        194052   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WESTERN UTILITIES                            PO BOX 1164                                                                                                                                       LAKESIDE              CA     92040      UNITED STATES            VEN_321728         321728   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTLAND, BRANDON & SCOTT                    C/O FRED M. ADELMAN, ESQ.                         MILSTEIN ADELMAN, LLP                   2800 DONALD DOUGLAS LOOP NORTH                          SANTA MONICA          CA     90405      UNITED STATES       CMSLITCA_365116_017              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WEST-LITE SUPPLY CO.                         12951 166TH ST.                                                                                                                                   CERRITOS              CA     90703      UNITED STATES         CONTRACT_00800        730450   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WESTON/MASON HYPERACTIVE                     3130 WILSHIRE BLVD, SUITE 400                                                                                                                     SANTA MONICA          CA     90403      UNITED STATES            VEN_560809         560809   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTPAC AIR COND., INC.                      1610 NORTH MAPLE                                                                                                                                  CORONA                CA   92880-1706   UNITED STATES         CONTRACT_00801                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WESTPARK VILLAS & WESTPARK COURTYARD HOA     C/O TERRA WEST PROPERTY MANAGEMENT                PO BOX 98813                                                                                    LAS VEGAS             NV     89193      UNITED STATES            VEN_724877         724877   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTYE GROUP WEST, INC.                      PO BOX 100683                                                                                                                                     PASADENA              CA   91189-0683   UNITED STATES            VEN_549159         549159   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WESTY'S SOIL COMPACTING CO., INC.            4116 N. 51ST PLACE                                                                                                                                PHOENIX               AZ     85018      UNITED STATES         CONTRACT_00802        672721   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WHEELER CONSTRUCTION, INC.                   PO BOX 5277                                                                                                                                       PHOENIX               AZ     85010      UNITED STATES            VEN_244427         244427   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WHILLOCK CONTRACTING, INC.                   PO BOX 2322                                                                                                                                       LA MESA               CA   91943-2322   UNITED STATES            VEN_423089         423089   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WHIPPLE FAMILY TRUST, THE                    C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.BOJIC & LIVESAY LLP                     5101 EAST LA PALMA AVENUE, SECOND FLOOR                 ANAHEIM               CA     92807      UNITED STATES      CMSLITCA_1103527_024              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                             10/27/2011
WHIPPLE, DENISE                              6949 PACIFIC COST ST.                                                                                                                             LAS VEGAS             NV     89148      UNITED STATES          EMPT_NV_0321                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WHIRLPOOL CORPORATION                        412 N. PETERS ROAD                                                                                                                                KNOXVILLE             TN     37922      UNITED STATES         CONTRACT_00803        224451   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WHIRLPOOL CORPORATION                        PO BOX 36000                                                                                                                                      KNOXVILLE             TN     37930      UNITED STATES            VEN_234958         234958   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WHIRLPOOL NATIONAL                           PO BOX 88129                                                                                                                                      CHICAGO               IL   60695-1129   UNITED STATES            VEN_747905         747905   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WHITE CAP INDUSTRIES, INC.                   DEPT 0998                                                                                                                                         LOS ANGELES           CA   90088-0998   UNITED STATES            VEN_234966         234966   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WHITENER GRAPHICS                            3186 AIRWAY AVE, #F2                                                                                                                              COSTA MESA            CA     92626      UNITED STATES            VEN_799001         799001   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WHITNEY RANCH VILLAGE 5, LLC                 4000 EXECUTIVE PARKWAY, SUITE 250                                                                                                                 SAN RAMON             CA     94583      UNITED STATES          AFFILIATE_037                 No   Vendor       Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                              10/27/2011
WHITTEMORE, BRITTANY                         37916 AMBERLEAF CT                                                                                                                                MURRIETA              CA     92562      UNITED STATES          EMPT_SC_0295                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WHITTEMORE, JOSEPH                           37916 AMBERLEAF CT.                                                                                                                               MURRIETA              CA     92562      UNITED STATES           EMP_SC_0176                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WHITTON FRAMING, INC.                        PO BOX 8790                                                                                                                                       MESA                  AZ     85214      UNITED STATES         CONTRACT_00804        781290   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WHITTON PLUMBING                             PO BOX 8790                                                                                                                                       MESA                  AZ     85214      UNITED STATES         CONTRACT_00805        245227   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WHL 1976 T, LLC                              PO BOX 8858                                                                                                                                       NEWPORT BEACH         CA     92658      UNITED STATES         CONTRACT_00806        401040   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WHO'S CALLING                                PO BOX 3675                                                                                                                                       SEATTLE               WA     98124      UNITED STATES            VEN_742477         742477   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WIGGINS, KEVIN                               4750 SO PARADISO PL                                                                                                                               PAHRUMP               NV     89061      UNITED STATES          EMPT_MF_0349                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WILCOX PROFESSIONAL                          1055 S. 63RD AVE                                                                                                                                  PHOENIX               AZ     85043      UNITED STATES         CONTRACT_00807        792554   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WILCOX PROFESSIONAL SERVICES, LLC            1055 S. 63RD AVE                                                                                                                                  PHOENIX               AZ     85043      UNITED STATES            VEN_792554         792554   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILL HARE, JR.                               535 E. PALMYRA AVE                                                                                                                                ORANGE                CA     92866      UNITED STATES            VEN_777451         777451   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM A. GUTHRIDGE & SONS, INC.            22343 LA PALMA AVE., STE. 102                                                                                                                     YORBA LINDA           CA     92887      UNITED STATES            VEN_223386         223386   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM HEZMALHALCH ARCHITECTS               2850 REDHILL AVE, SUITE 200                                                                                                                       SANTA ANA             CA   92705-5543   UNITED STATES         CONTRACT_00808                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WILLIAM HEZMALHALCH ARCHITECTS, INC.         2850 REDHILL AVE, SUITE 200                                                                                                                       SANTA ANA             CA   92705-5543   UNITED STATES            VEN_384358         384358   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, A DELAWARE CORPORATION   4490 VON KARMAN AVENUE                                                                                                                            NEWPORT BEACH         CA     92660      UNITED STATES            ENTITY_017                  No   Vendor       Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                              10/27/2011
WILLIAM LYON HOMES, INC.                     GENERAL OPERATING ACCOUNT                         4490 VON KARMAN                                                                                 NEWPORT BEACH         CA     92660      UNITED STATES            VEN_234069         234069   No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, INC.                     ORANGE COUNTY DIVISION                            4490 VON KARMAN AVENUE                                                                          NEWPORT BEACH         CA     92660      UNITED STATES             VEN_1700           1700    No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, INC.                     SAN DIEGO DIVISION                                15373 INNOVATION DRIVE, SUITE 300                                                               SAN DIEGO             CA     92128      UNITED STATES            VEN_234077         234077   No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, INC.                     SOUTHERN CALIFORNIA COASTAL REGION                4490 VON KARMAN                                                                                 NEWPORT BEACH         CA     92660      UNITED STATES            VEN_244291         244291   No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, INC. - CANELA            4490 VON KARMAN AVENUE                                                                                                                            NEWPORT BEACH         CA     92660      UNITED STATES             VEN_1015           1015    No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, INC. - NEVADA            500 PILOT ROAD, SUITE G                                                                                                                           LAS VEGAS             NV     89119      UNITED STATES             VEN_5100           5100    No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON HOMES, INC., A CALIFORNIA       4490 VON KARMAN AVENUE                                                                                                                            NEWPORT BEACH         CA     92660      UNITED STATES            ENTITY_018                  No   Vendor       Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                              10/27/2011
WILLIAM LYON HOMES, INC.-SOLLARA             4490 VON KARMAN AVENUE                                                                                                                            NEWPORT BEACH         CA     92660      UNITED STATES             VEN_1013           1013    No   Vendor       Intercompany        Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAM LYON MORTGAGE                        ATTN CORPORATE PROPERTY MANAGEMENT                450 AMERICAN STREET, MAIL STOP SV3-59                                                           SIMI VALLEY           CA     93065      UNITED STATES         CONTRACT_00809                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WILLIAM LYON MORTGAGE, LLC                   4490 VON KARMAN AVENUE                                                                                                                            NEWPORT BEACH         CA     92660      UNITED STATES          AFFILIATE_038                 No   Vendor       Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                              10/27/2011
WILLIAM LYON SOUTHWEST, INC.                 2 N CENTRAL AVE, #2200                                                                                                                            PHOENIX               AZ   85004-4406   UNITED STATES            ENTITY_019                  No   Vendor       Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                              10/27/2011
WILLIAMS SANITARY SERVICE                    PO BOX 20                                                                                                                                         BRENTWOOD             CA     94513      UNITED STATES            VEN_647293         647293   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
WILLIAMS, DEBORAH                            11304 PONDHURST WAY                                                                                                                               RIVERSIDE             CA     92505      UNITED STATES           EMP_SC_0177                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WILLIAMS, NICOLE                             8682 CAMEL CIRCLE                                                                                                                                 HUNTINGTON BEACH      CA     92647      UNITED STATES          EMPT_SC_0296                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WILLIAMS, VELMA                              1721 HEATHER                                                                                                                                      TUSTIN                CA     92780      UNITED STATES          EMPT_SC_0311                  No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx                       10/21/2011
WILLIS ENGINEERING, INC.                     21410 N. 19TH AVE, SUITE 106                                                                                                                      PHOENIX               AZ     85027      UNITED STATES         CONTRACT_00810        817037   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                             12/13/2011
WILLIS INSURANCE SERVICES OF LOS ANGELES     PO BOX 100065                                                                                                                                     PASADENA              CA   91189-0065   UNITED STATES            VEN_828545         828545   No   Vendor       Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx            10/19/2011
                                                                           Case 11-14019-CSS                                                                          Doc 1-4           Filed 12/19/11                             Page 29 of 29

WILLIS, JEFFREY & MARY                     C/O ISRAEL E. GARCIA, ESQ.                        MILSTEIN, ADELMAN & KREGER, LLP        2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_105271_005              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WILMAR CONTRACTING                         4525 W. HACIENDA, SUITE 1                                                                                                          LAS VEGAS          NV     89118      UNITED STATES        CONTRACT_00811        801481   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
WILSON, BEREATHER                          C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_088            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WILSON, LOUISE                             C/O SUZANNE N. PATRON, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_SCV26452_019             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WIMBERLY, JORDAN                           1531 AMARILLO AVE.                                                                                                                 PAHRUMP            NV     89048      UNITED STATES          EMP_MF_0240                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
WIMMER, YAMADA & CAUGHEY                   3067 FIFTH AVE.                                                                                                                    SAN DIEGO          CA   92103-5840   UNITED STATES            VEN_379233        379233   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WINCHESTER, RACHEL                         4910 S. RIPOSO CT.                                                                                                                 PAHRUMP            NV     89061      UNITED STATES          EMPT_NV_0250                 No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
WINDES & MCCLAUGHRY ACCOUNTANCY CORP       PO BOX 87                                                                                                                          LONG BEACH         CA   90801-0087   UNITED STATES            VEN_813600        813600   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WINGER, KEVIN                              C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR   ANAHEIM            CA     92807      UNITED STATES      CMSLITCA_1103527_025             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WIRTZ BEVERAGE NEVADA BEER                 FILE 50335                                                                                                                         LOS ANGELES        CA   90074-0335   UNITED STATES           VEN_MF_206                  No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
WIRTZ BEVERAGE NEVADA SPIRITS              FILE 50329                                                                                                                         LOS ANGELES        CA   90074-0329   UNITED STATES           VEN_MF_207                  No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
WIST OFFICE PRODUCTS                       PO BOX 24118                                                                                                                       TEMPE              AZ   85285-4118   UNITED STATES            VEN_522327        522327   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WITHERSPOON, DIANE                         C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_076             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WITHERSPOON, JIM                           C/O JOHN B. FOSS, ESQ. SCOTT J. THOMSON, ESQ.     KASDAN SIMONDS RILEY & VAUGHAN LLP     19900 MACARTHUR BLVD., STE. 850           IRVINE             CA     92612      UNITED STATES      CMSLITCA_1007968_075             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WLH ENTERPRISES                            4490 VON KARMAN AVENUE                                                                                                             NEWPORT BEACH      CA     92660      UNITED STATES            ENTITY_020                 No   Vendor       Legal Entity        Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
WLH/WB RAINBOW VALLEY PROPERTIES JV, LLC   8840 EAST CHAPARRAL, SUITE 200                                                                                                     SCOTTSDALE         AZ     85250      UNITED STATES          AFFILIATE_039                No   Vendor       Affiliate           Legal Entity Contact Sheet_To Load_10-27-2011.xlsx                    10/27/2011
WOLLBORG/MICHELSON PERSONNEL               PO BOX 26470                                                                                                                       SAN FRANCISCO      CA     94126      UNITED STATES            VEN_391920        391920   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WOLTERS KLUWER                             8832 INNOVATION WAY                                                                                                                CHICAGO            IL     60682      UNITED STATES            VEN_711902        711902   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WONG, YEE LOK & SOPHIE                     C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_086            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WOOD RODGERS, INC.                         3301 ""C"" STREET                                                                                                                  SACRAMENTO         CA     95816      UNITED STATES            VEN_515741        515741   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WOODBRIDGE VILLAGE ASSOCIATION             31 CREEK ROAD                                                                                                                      IRVINE             CA   92604-4799   UNITED STATES        CONTRACT_00812          N/A    No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
WOODBURN, WHITNEY                          342 REBECCA AVENUE                                                                                                                 VISTA              CA     92084      UNITED STATES          EMP_SC_0178                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
WOODBURN, WHITNEY T.                       342 REBECCA AVE                                                                                                                    VISTA              CA     92084      UNITED STATES            VEN_240291        240291   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WOODBURY EAST COMMUNITY                    C/O PCM                                           23726 BIRTCHER DR.                                                               LAKE FOREST        CA     92630      UNITED STATES             BOND_059                  No   Bondholder   Obligee             WLH - ALL Divisions 9-30-2011 REVISED 10-18-2011 - OBLIGEE ADDRESSES.xlsx
                                                                                                                                                                                                                                                                                                                                                                                    10/27/2011
WOODBURY EAST COMMUNITY ASSOCIATION        C/O PROFESSIONAL COMMUNITY MANAGEMENT             23726 BIRTCHER DR.                                                               LAKE FOREST        CA     92630      UNITED STATES            VEN_823277        823277   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WOODS, AUTUMN                              PO BOX 4763                                                                                                                        PAHRUMP            NV   89041-4763   UNITED STATES          EMPT_MF_0352                 No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
WOODY WOODS                                2894 BRANCH CREEK COURT                                                                                                            LAS VEGAS          NV     89135      UNITED STATES           VEN_MF_211                  No   Vendor       Trade Payable       Maintain Creditors                                                     11/3/2011
WORLD JOURNAL LA, LLC                      1588 CORPORATE CENTER DR.                                                                                                          MONTEREY PARK      CA     91754      UNITED STATES            VEN_828465        828465   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WORLD RESTORATION, INC.                    938 W. BARKLEY AVE, SUITE C                                                                                                        ORANGE             CA     92868      UNITED STATES            VEN_341323        341323   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WP INDUSTRIES, INC.                        C/O MICHELLE I. MORELLI, ESQ. TINA J. ARCIAGA, ESQ.FREDRICKSON, MAZEIKA & GRANT LLP      5720 OBERLIN DRIVE                        SAN DIEGO          CA     92121      UNITED STATES      CMSLITCA_375251_001              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WRA ENVIRONMENTAL CONSULTANTS              2169-G EAST FRANCISCO BLVD                                                                                                         SAN RAFAEL         CA     94901      UNITED STATES            VEN_667841        667841   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WRA ENVIRONMENTAL CONSULTANTS, INC.        2169-G E. FRANCISCO BL.                                                                                                            SAN RAFAEL         CA     94901      UNITED STATES        CONTRACT_00813                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
WRIGHT ENGINEERS                           2 VENTURA, SUITE 200                                                                                                               IRVINE             CA     92618      UNITED STATES            VEN_633844        633844   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WRIGHT STRUCTURAL ENGINEERING, INC.        7425 PEAK DRIVE                                                                                                                    LAS VEGAS          NV     89128      UNITED STATES        CONTRACT_00814        451160   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
WRIGHT, DONALD                             PO BOX 5793                                                                                                                        PAHRUMP            NV     89041      UNITED STATES          EMP_MF_0241                  No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
WRIGHT, FREDDIE & KALONDRA                 C/O LEE JACKSON, ESQ. JONATHAN STAFFELDT, ESQ.MILSTEIN ADELMAN, LLP                      2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_1103791_024             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WRIGHT, GAIL D                             C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_087            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
WRIGHT, LIDIA                              12922 OXFORD DRIVE                                                                                                                 LA MIRADA          CA     90638      UNITED STATES         EMP_CORP_0179                 No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
WRIGHT, LIDIA                              4490 VON KARMAN AVENUE                                                                                                             NEWPORT BEACH      CA     92660      UNITED STATES            VEN_432495        432495   No   Vendor       Employee            Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WULFENSTEIN CONSTRUCTION CO.               PO BOX 38                                                                                                                          PAHRUMP            NV     89041      UNITED STATES        CONTRACT_00815        629618   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
WWF AIR, LLC                               4901 BIRCH STREET                                                                                                                  NEWPORT BEACH      CA     92660      UNITED STATES            VEN_768378        768378   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
WYNN, ANN                                  C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_097            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
XAVIER CAMPOS FOR CITY COUNCIL             1209 ADRIAN WAY                                                                                                                    SAN JOSE           CA     95122      UNITED STATES            VEN_821685        821685   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
XEROX CORPORATION                          PO BOX 7405                                                                                                                        PASADENA           CA   91109-7405   UNITED STATES        CONTRACT_00816        545650   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
XL ENGINEERING, INC.                       11875 DUBLIN BL., SUITE A106                                                                                                       DUBLIN             CA     94568      UNITED STATES        CONTRACT_00817                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
XL ENGINEERING, LLC                        11875 DUBLIN BLVD, SUITE A106                                                                                                      DUBLIN             CA     94568      UNITED STATES            VEN_814531        814531   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
XO WINDOWS, LLC                            3910 E. WIER AVE                                                                                                                   PHOENIX            AZ     85040      UNITED STATES        CONTRACT_00818        802548   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
XPEDITE SYSTEMS, LLC                       1268 PAYSPHERE CIRCLE                                                                                                              CHICAGO            IL     60674      UNITED STATES            VEN_831007        831007   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
YAMAGUCHI, ANN & RICHARD                   C/O WILLIAM H. NAUMANN, ESQ.                      THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_014              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YAMAMOTO, THUAN & JOHN                     C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_173057_028              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YAMANAKA, TOMONARI                         C/O FRED M. ADELMAN, ESQ. SUZANNE PATRON, ESQ. MILSTEIN ADELMAN, LLP                     2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_173057_005              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YAN, TIMOTHY & CINDY                       C/O ISRAEL GARCIA, ESQ. RAQUEL A. FLAHERTY, ESQ.MILSTEIN ADELMAN, LLP                    2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES    CMSLITCA_DEL1100369_098            No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YBET, INC.                                 3613 S. EASTERN AVE                                                                                                                LAS VEGAS          NV     89109      UNITED STATES        CONTRACT_00819        727314   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
YELLOWPAGES.COM                            PO BOX 601141                                                                                                                      PASADENA           CA   91189-1141   UNITED STATES           VEN_MF_209                  No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
YENE, DEAVAH                               C/O MICHAEL A. HEARN, ESQ. BROCK NELSON THOMPSON, LAW ESQ.
                                                                                                  OFFICES OF MICHAEL A. HEARN       ONE POST, SUITE 200                       IRVINE             CA     92618      UNITED STATES      CMSLITCA_406014_006              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YESHARIM, RONNIE & WENDY                   C/O KENNETH S. KASDAN ESQ. JOHN B. FOSS, ESQ. SCOTT
                                                                                             KASDAN
                                                                                                  J. THOMSON,
                                                                                                      SIMONDSESQ.
                                                                                                              RILEY & VAUGHAN LLP   19900 MACARTHUR BOULEVARD, SUITE 850      IRVINE             CA     92612      UNITED STATES      CMSLITCA_233522_019              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YI, CHAE SUN                               C/O SUZANNE N. PATRON, ESQ.                       MILSTEIN ADELMAN, LLP                  2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES     CMSLITCA_SCV26452_017             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
YOST, LIOUDMILA                            4885 S BIENTIAN WAY                                                                                                                PAHRUMP            NV     89061      UNITED STATES          EMPT_MF_0361                 No   Employee     Terminated          Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
YOUNG & ASSOCIATES, INC.                   183 N. HILL AVE                                                                                                                    PASADENA           CA     91106      UNITED STATES            VEN_634759        634759   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
YOUNGER BROTHERS CONSTRUCTION              8525 N. 75TH AVENUE                                                                                                                PEORIA             AZ     85345      UNITED STATES        CONTRACT_00820        812033   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
YOUNGER BROTHERS DOOR & TRIM               3910 E. WIER AVE                                                                                                                   PHOENIX            AZ     85040      UNITED STATES        CONTRACT_00821        812025   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
YUCAIPA VALLEY WATER DISTRICT              PO BOX 730                                                                                                                         YUCAIPA            CA     92399      UNITED STATES            VEN_632868        632868   No   Vendor       Utilities           Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
YUNGINGER, BARBARA                         457 E TONTO PLACE                                                                                                                  CHANDLER           AZ     85249      UNITED STATES           EMP_AZ_0180                 No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ZACARIAS, VIRGILIO & ELVIRA                C/O WILLIAM H. NAUMANN, ESQ.                      THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_016              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ZAFARI, AMIN & NAHIDA                      C/O FRED M. ADELMAN, ESQ.                         MILSTEIN, ADELMAN, LLP                 2800 DONALD DOUGLAS LOOP NORTH            SANTA MONICA       CA     90405      UNITED STATES      CMSLITCA_500837_002              No   Litigant     California          WLH Combo Litigation Load file Ver 4.XLSX                              12/8/2011
ZAIST, MATTHEW                             74 BELL PASTURE RD.                                                                                                                LADERA RANCH       CA     92694      UNITED STATES         EMP_CORP_0181                 No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ZEE MEDICAL                                1721-A JUNCTION AVENUE                                                                                                             SAN JOSE           CA   95161-0878   UNITED STATES            VEN_591429        591429   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZEE MEDICAL COMPANY                        PO BOX 22                                                                                                                          FAIR OAKS          CA     95628      UNITED STATES            VEN_303255        303255   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZEE MEDICAL SERVICE CO.                    1618 W. OAKEY BLVD.                                                                                                                LAS VEGAS          NV   89102-2612   UNITED STATES            VEN_392737        392737   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZEE MEDICAL SERVICE COMPANY                16631 BURKE LANE                                                                                                                   HUNTINGTON BEACH   CA     92647      UNITED STATES            VEN_222949        222949   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZEE MEDICAL SERVICES, INC                  PO BOX 781525                                                                                                                      INDIANAPOLIS       IN   46278-8525   UNITED STATES            VEN_199865        199865   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZEE MEDICAL, INC.                          PO BOX 781525                                                                                                                      INDIANAPOLIS       IN   46278-8525   UNITED STATES            VEN_539639        539639   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZEEWEB                                     PO BOX 461                                                                                                                         LAGUNA BEACH       CA     92652      UNITED STATES            VEN_838583        838583   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZHANG, GUOQUING                            C/O WILLIAM H. NAUMANN, ESQ.                      THE NAUMANN LAW FIRM, PC               5752 OBERLIN DRIVE, SUITE 105             SAN DIEGO          CA     92121      UNITED STATES       CMSLITCA_96610_010              No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ZIELINSKI, DORIS                           2301 ORANGE AVE                                                                                                                    COSTA MESA         CA     92627      UNITED STATES         EMP_CORP_0182                 No   Employee     Active              Employee Roster Report - password_To Load_10-21-2011.xlsx             10/21/2011
ZILLA CONSULTING, LLC                      3670 W. OQUENDO ROAD                                                                                                               LAS VEGAS          NV     89117      UNITED STATES        CONTRACT_00822        819358   No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ZILLOW, INC.                               1301 SECOND AVENUE, 31ST FLOOR                                                                                                     SEATTLE            WA     98101      UNITED STATES            VEN_837871        837871   No   Vendor       Trade Payable       Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
ZIPLOCAL                                   ATTN LINDA CARTER - TIMIPANOGAS                   135 S MOUNTAIN WAY DR                                                            OREM               UT     84058      UNITED STATES           VEN_MF_210                  No   Vendor       Trade Payable       APPaymentDetail100109.100111.2_To Load_10-20-2011.xlsx                10/20/2011
ZUNIGA, ARTURO B. & SHEILA D.              C/O GEORGE D. BOJIC, ESQ. ANTHONY L. LIVESAY, ESQ.BOJIC & LIVESAY LLP                    5101 EAST LA PALMA AVENUE, SECOND FLOOR   ANAHEIM            CA     92807      UNITED STATES      CMSLITCA_1103527_019             No   Litigant     California          WLH Combo Litigation Load file.XLSX                                   10/27/2011
ZURICH AMERICAN INSURANCE COMPANY          1400 AMERICAN LANE                                                                                                                 SCHAUMBURG         IL   60196-1056   UNITED STATES        CONTRACT_00823                 No   Vendor       Contract            WLH_Contract Master_12-13-2011.xlsx                                   12/13/2011
ZURICH NORTH AMERICA                       8734 PAYSPHERE CIRCLE                                                                                                              CHICAGO            IL     60674      UNITED STATES            VEN_639031        639031   No   Vendor       Insurance/Insurer   Historical Disbursements Data Collection Template_10-19-2011_v1.xlsx  10/19/2011
